Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 1 of 622




                  Exhibit 1
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 2 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 3 of 622
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 4 of 622




   INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES




                          In the arbitration proceeding between

                              KOCH MINERALS SÁRL
                                  First Claimant
                                   (“KOMSA”)

                    KOCH NITROGEN INTERNATIONAL SÁRL
                              Second Claimant
                                  (“KNI”)

                                           and


                  THE BOLIVARIAN REPUBLIC OF VENEZUELA
                                Respondent


                             ICSID CASE No. ARB/11/19


_____________________________________________________________________________________


                                     AWARD
______________________________________________________________________________


                              Members of the Tribunal:
                             V.V. Veeder, President, QC
                            Hon. Marc Lalonde PC, OC, QC
                            Professor Zachary Douglas QC


                         Secretary to the Arbitration Tribunal:
                                 Mairée Uran Bidegain


                     Date of dispatch to the Parties: 30 October 2017
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 5 of 622




                                        TABLE OF CONTENTS




PART I:      THE ARBITRATION ............................................................................................ 1

PART II:     THE PARTIES’ DISPUTE ................................................................................. 21

PART III:    THE PRINCIPAL ISSUES ................................................................................. 37

PART IV:     THE PRINCIPAL LEGAL TEXTS .................................................................... 52

PART V:      THE PRINCIPAL FACTS .................................................................................. 66

PART VI:     JURISDICTION ISSUES ................................................................................. 106

PART VII:    EXPROPIATION ISSUES ................................................................................ 133

PART VIII:   NON-EXPROPRIATION ISSUES ................................................................... 152

PART IX:     COMPENSATION ISSUES .............................................................................. 172

PART X:      SUMMARY AND CONCLUSIONS .................................................................. 262

PART XI:     INTEREST AND COSTS .................................................................................. 263

PART XII:    THE OPERATIVE PART ................................................................................. 272




                                                         i
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 6 of 622




                             ABBREVIATED TERMS

                           Organic Law for the Development of Petrochemical Activities (16
2009 Petrochemical Law
                           June 2009) (C-8)

Arbitration Rules          ICSID Rules of Procedure for Arbitration Proceedings of 2006

Barrientos WS1             Witness Statement of Victor D. Barrientos (28 February 2013)

                           Second Witness Statement of Victor D. Barrientos (30 December
Barrientos WS2
                           2013)

                           Offering Circular - Bond Offering of $250,000,000 between
Bond Offering Circular
                           FertiNitro Finance Inc and FertiNitro (8 April 1998) (C-115)

C-[#]                      Claimants’ Exhibit

                           Special Certificates of Tax Refunds (Certificados Especiales de
CERTs
                           Reembolso Tributario)

CLA-[#]                    Claimants’ Legal Authority

Cls. Mem.                  Claimants’ Memorial (4 June 2012)

Cls. PHB                   Claimants’ Post-Hearing Brief (30 January 2015)

Cls. Rej.                  Claimants’ Rejoinder on Jurisdiction (14 March 2014)

                           Claimants’ Reply on the Merits and Counter-Memorial on
Cls. Reply
                           Jurisdiction (2 September 2013)

                           FertiNitro Report from the Statutory Auditor and Consolidated
Comisario Report
                           Financial Statements (7 September 2006) (C-63)

                           Engineering, Procurement and Construction Contract by and
EPC Contract
                           between FertiNitro and Snamprogetti (8 April 1998) (C-24)

Esty ER1                   Expert Report of Benjamin C. Esty (23 August 2013)


Esty ER2                   Second Expert Report of Benjamin C. Esty (14 March 2014)

                           Decree 7,713 (10 October 2010) (Official Gazette No. 380,113 of
Expropriation Decree
                           11 October 2010) (C-9)

                           Expropriation Law for Public or Social Benefit (1 July 2002)
Expropriation Law          (Official Gazette of the Republic No. 37,475 of 1 July 2002) (R-
                           9, R-53, C-140)



                                         ii
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 7 of 622




                            Joint venture companies Fertilizantes Nitrogenados de Oriente,
                            SA; Fertilizantes Nitrogenados de Oriente, CEC; Fertilizantes
FertiNitro
                            Nitrogenados de Venezuela, SRL, and Fertilizantes Nitrogenados
                            de Venezuela, FertiNitro, CEC

                            Hearing on Jurisdiction, Merits, and examination of Fact
First (September) Hearing   Witnesses, held on 8 September 2014 and from 10 to 12
                            September 2014

                            Advantis Report entitled “Valoracíon de FertiNitro” (May 2011)
First Advantis Report
                            (R-86)

Flores ER1                  Expert Report of Daniel Flores (28 February 2013)

Flores ER2                  Second Expert Report of Daniel Flores (3 March 2014)

Flórez WS1                  Witness Statement of Edgar A. Flórez (28 February 2013)

Giles ER1                   Expert Report of Tim Giles (2 June 2012)

Giles ER2                   Second Expert Report of Tim Giles (30 August 2013)

Gwaltney WS1                Witness Statement of Brent W. Gwaltney (30 May 2012)

                            Second Witness Statement of Brent W. Gwaltney (20 August
Gwaltney WS2
                            2013)

Historical Claims           KOMSA’s claims regarding tax related measures and VAT credits

ICSID Convention            Convention on the Settlement of Investment Disputes Between
                            States and Nationals of Other States (18 March 1965)

ICSID or the Centre         International Centre for Settlement of Investment Disputes

                            Joint Investors Agreement by and among Pequiven, Koch Oil SA,
JIA                         Snamprogetti Netherlands BV, and Polar Uno, CA (8 April 1998)
                            (C-18)

KNI                         Koch Nitrogen International Sàrl

KOMSA                       Koch Minerals Sàrl

                            KOMSA Draft Memorandum of Understanding (non-dated) (C-
KOMSA Draft MOU
                            92)

Municipal Decree            Decree D.A.M.S.B.-042-A-2006 (14 November 2006) (C-48)

                            Ordinance for Taxes on Industrial, Commercial, Service or
Municipal Ordinance
                            Similar Economic Activities (29 December 2005) (C-45)


                                          iii
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 8 of 622




Nunez WS1                     Witness Statement of Carolina Nuñez (28 February 2013)

                              Offtake Agreement by and among Pequiven, IPSL and Koch Oil
Offtake Agreement
                              SA as Buyers and FertiNitro as Seller (8 April 1998) (C-19).

Parra WS1                     Witness Statement of Melquíades A. Parra (29 May 2012)

PDVSA                         Petróleos de Venezuela, S.A.

                              Pequiven Draft Memorandum of Understanding (non-dated) (C-
Pequiven Draft MOU
                              93)

R-[#]                         Respondent’s Exhibit

                              Counter-Memorial of the Bolivarian Republic of Venezuela
Resp. C-Mem.
                              (Merits) (28 February 2013)

                              Post-Hearing Brief of the Bolivarian Republic of Venezuela (30
Resp. PHB
                              January 2015)

Resp. Preliminary             Preliminary Objections of the Bolivarian Republic of Venezuela
Objections                    to the Jurisdiction of the Arbitral Tribunal (28 February 2013)

                              Rejoinder of the Bolivarian Republic of Venezuela (Merits) (3
Resp. Rej.
                              March 2014)

                              Reply on Jurisdictional Objections of the Bolivarian Republic of
Resp. Reply on Jurisdiction
                              Venezuela (3 March 2014)

RfA                           Claimants’ Request for Arbitration (28 June 2011)

RLA-[#]                       Respondent’s Legal Authority

Sanders ER1                   Expert Report of Richard Sanders (30 May 2012)

Sanders ER2                   Second Expert Report of Richard Sanders (27 August 2013)

                              Organic Law on Science, Technology and Innovation (effective as
Science and Technology Law
                              of 1 January 2006) (C-43)

                              Hearing on Merits and Quantum and examination of Expert
Second (November) Hearing
                              Witnesses, held on 23 to 26 November 2014

                              Advantis Report entitled “Valoracíon de FertiNitro” (July 2011)
Second Advantis Report
                              (C-157)

Sorlie WS2                    Second Witness Statement of Jim Sorlie (26 July 2013)

Third (June) Hearing          Reconstitution Hearing held on 9 to 10 June 2016


                                            iv
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 9 of 622




Tr. Day. [#page. line(s)]
                            Transcripts of Hearings
(Speaker(s))

Tribunal or Arbitral
                            Arbitral Tribunal constituted on 8 November 2011
Tribunal

Urea Decree                 Decree 5,218 (26 February 2007) (C-80)

                            Joint Resolution by the Ministry of the People’s Power for
                            Agriculture and Land, the Ministry of the People’s Power for
Urea Resolution             Light Industry and Trade, and the Ministry of the People’s Power
                            for Energy and Petroleum (Official Gazette No. 38,674) (3 May
                            2007) (C-82)

                            Law of Partial Reform of the Law on Value Added Tax (11 August
VAT Law
                            2004) (C-55)

                            Second Witness Statement of Aníbal Villarroel (30 December
Villarroel WS2
                            2013)




                                          v
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 10 of 622




                               LEGAL MATERIALS

                           Asian Agricultural Products Limited v. Democratic Socialist
AAPL v. Sri Lanka          Republic of Sri Lanka, ICSID Case No ARB/87/3, Award (27 June
                           1990) (RLA-42)

                           Abaclat and others (formerly Giovanna A. Beccara and others) v.
Abaclat v. Argentina       The Argentine Republic, ICSID Case No. ARB/07/5, Decision on
                           Jurisdiction and Admissibility (4 August 2011) (RLA-31)

                           ADC Affiliate Limited and ADC & ADMC Management Limited
ADC Affiliate v. Hungary   v. Republic of Hungary, ICSID Case No. ARB/03/16, Award (27
                           September 2006) (CLA-16)

                           Ambiente Ufficio S.p.A. and others v. Argentine Republic, ICSID
Ambiente Ufficio v.        Case No. ARB/08/9 (formerly Giordano Alpi and others v.
Argentina                  Argentine Republic), Decision on Jurisdiction and Admissibility
                           (8 February 2013) (CLA-90)

                           Autopista Concesionada de Venezuela, C.A. v. Bolivarian
Autopista v. Venezuela     Republic of Venezuela, ICSID Case No. ARB/00/5, Award (23
                           September 2003) (RLA-60)

                           Azurix Corp. v. Argentine Republic, ICSID Case No. ARB/01/12,
Azurix v. Argentina
                           Award (14 July 2006) (CLA-43)

                           Bayindir Insaat Turizm Ticaret Ve Sanayi A.Ş. v. Islamic Republic
Bayindir v. Pakistan       of Pakistan, ICSID Case No. ARB/03/29, Decision on Jurisdiction
                           (14 November 2005) (CLA-11)

                           BG Group Plc. v. Republic of Argentina UNCITRAL, Final
BG Group v. Argentina
                           Award, (24 December 2007) (CLA-37)

                           Biwater Gauff (Tanzania) Ltd. v. United Republic of Tanzania,
Biwater v. Tanzania
                           ICSID Case No. ARB/05/22, Award (18 July 2008) (CLA-24)

                           Burlington Resources, Inc. v. Republic of Ecuador, ICSID Case
Burlington v. Ecuador      No. ARB/08/5, Decision on Reconsideration and Award (7
                           February 2017)

                           Caratube International Oil Company LLP v. The Republic of
Caratube v. Kazakhstan     Kazakhstan, ICSID Case No. ARB/08/12, Award (5 June 2012)
                           (RLA-107)

                           Chevron Corporation and Texaco Petroleum Corporation v. The
Chevron v. Ecuador         Republic of Ecuador, UNCITRAL, Final Award (31 August 2011)
                           (CLA-63)




                                         vi
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 11 of 622




                              Chorzów Factory Case (Germany v Poland), PCIJ Series A, No.
Chorzów Factory Case
                              17, Decision on Merits (13 September 1928) (CLA-49)

                              CME Czech Republic B.V. v. Czech Republic, UNCITRAL, Partial
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                              Award (13 September 2001) (CLA-14)

                              CMS Gas Transmission Company v. Argentine Republic, ICSID
CMS v. Argentina
                              Case No. ARB/01/8, Award (12 May 2005) (CLA-36) (CLA-130)

                              ConocoPhillips Petrozuata B.V., ConocoPhillips Hamaca B.V.
                              and ConocoPhillips Gulf of Paria B.V. v. Bolivarian Republic of
ConocoPhillips v. Venezuela
                              Venezuela, ICSID Case No. ARB/07/30, Decision on Jurisdiction
                              and the Merits (3 September 2013) (CLA-155)

                              Československá Obchodní Banka, A.S. v. Slovak Republic, ICSID
CSOB v. Slovak Republic       Case No. ARB/97/4, Decision on Objections to Jurisdiction (24
                              May 1999) (RLA-5)

                              Daimler Financial Services A.G. v. Argentine Republic, ICSID
Daimler v. Argentina
                              Case No. ARB/05/1, Decision on Annulment (7 January 2015)

                              G. R. Delaume, ICSID and the Transnational Financial
Delaume, ICSID Arbitration
                              Community (1986) (CLA-96)

                              Deutsche Bank AG v. The Democratic Socialist Republic of Sri
Deutsche Bank v. Sri Lanka    Lanka, ICSID Case No. ARB/09/02, Award (31 October 2012)
                              (CLA-100)

                              EDF (Services) Ltd. v. Romania, ICSID Case No. ARB/05/13,
EDF v. Romania
                              Award (8 October 2009) (RLA-85)

                              El Paso Energy International Company v. The Argentine
El Paso v. Argentina          Republic, ICSID Case No. ARB/03/15, Award (31 October 2011)
                              (CLA-52)

                              Electrabel S.A. v. The Republic of Hungary, ICSID Case No.
Electrabel v. Hungary         ARB/07/19, Decision on Jurisdiction, Applicable Law and
                              Liability (30 November 2012) (RLA-110)

                              Elettronica Sicula S.p.A. (ELSI) (United States of America v.
ELSI
                              Italy), ICJ, Judgment, (20 July 1989) (CLA-41)

                              EnCana Corporation v. Republic of Ecuador, UNCITRAL,
EnCana v. Ecuador
                              Award (3 February 2006) (RLA-71)

                              Fedax N.V. v. The Republic of Venezuela, ICSID Case No.
Fedax v. Venezuela
                              ARB/96/3, Decision on Jurisdiction (11 July 1997) (CLA-142)




                                           vii
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 12 of 622




                            Flughafen Zürich A.G. and Gestión e Ingeniería IDC S.A. v.
Flughafen v. Venezuela      Bolivarian Republic of Venezuela, ICSID Case No. ARB/10/19,
                            Award (18 November 2014) (RLA-154)

                            GAMI Investments, Inc. v. United Mexican States, UNCITRAL,
GAMI v. Mexico
                            Award (15 November 2004) (RLA-64)

                            GEA Group Aktiengesellschaft v. Ukraine, ICSID Case No.
GEA Group v. Ukraine
                            ARB/08/16, Award (31 March 2011) (RLA-30)

                            Gemplus S.A., SLP, S.A. and Gemplus Industrial, S.A. de C.V. v.
Gemplus v. Mexico           United Mexican States, ICSID Cases Nos. ARB(AF)/04/3 and
                            ARB(AF)/04/4, Award (16 June 2010) (CLA-54)

                            Glamis Gold, Ltd. v. United States of America, UNCITRAL,
Glamis v. USA
                            Award, (8 June 2009) (RLA-83)

                            Global Trading Res. Corp. and Globex Int’l v. Ukraine, ICSID
Global Trading v. Ukraine
                            Case No. ARB/09/11, Award (1 December 2010) (RLA-27)

                            Gold Reserve Inc. v. Bolivarian Republic of Venezuela, ICSID
Gold Reserve v. Venezuela
                            Case No. ARB(AF)/09/1, Award (22 September 2014) (CLA-156)

Gotanda – Compound          John Yukio Gotanda, Compound Interest in International Disputes
Interest                    (2003) (CLA-61)

                            HICEE B.V. v. Slovak Republic, UNCITRAL, Partial Award (23
HICEE v. Slovakia
                            May 2011)

                            Hulley Enterprises Limited (Cyprus) v. The Russian Federation,
Hulley v. Russia
                            PCA Case No. AA 226, Final Award (18 July 2014) (CLA-152)

                            ICSID, Convention on the Settlement of Investment Disputes
                            between States and Nationals of Other States: Documents
ICSID Convention History
                            Concerning the Origin and the Formulation of the Convention,
                            Volume II, Part 1 (1968) (RLA-6)

ICSID Convention: A         Christoph H. Schreuer et al., The ICSID Convention: A
Commentary                  Commentary (2d ed. 2009) (RLA-21) (RLA-106) (CLA-3)

                            Inmaris Perestroika Sailing Maritime Services GmbH and others
Inmaris v. Ukraine          v. Ukraine, ICSID Case No. ARB/08/8, Decision on Jurisdiction
                            (8 March 2010) (CLA-91)

                            Joy Mining Machinery Limited v. Arab Republic of Egypt, ICSID
Joy Mining v. Egypt         Case No. ARB/03/11, Award on Jurisdiction (6 August 2004)
                            (RLA-10)




                                         viii
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 13 of 622




                            Kardassopoulos v. Republic of Georgia, ICSID Case No.
Kardassopolous v. Georgia   ARB/05/18 and ARB/07/15, Award (28 February 2010) (CLA-
                            20)

                            Ronald S. Lauder v. Czech Republic, UNCITRAL, Final Award
Lauder v. Czech Republic
                            (3 September 2001) (CLA-45)

                            Joseph Charles Lemire v. Ukraine, ICSID Case No. ARB/06/18,
Lemire Award
                            Award (28 March 2011) (RLA-89)

                            Joseph Charles Lemire v. Ukraine, ICSID Case No. ARB/06/18,
Lemire v. Ukraine           Decision on Jurisdiction and Liability (14 January 2010) (CLA-
                            89)

                            Renée Rose Levy de Levi v. The Republic of Peru, ICSID Case No.
Levi v. Peru
                            ARB/10/17, Award (26 February 2014) (CLA-150)

                            LG&E Energy Corp., LG&E Capital Corp. and LG&E
                            International Inc. v. Argentine Republic, ICSID Case No.
LG&E v. Argentina
                            ARB/02/1, Decision on Liability (3 October 2006) (CLA-39)
                            (RLA-123)

                            Libyan American Oil Company (LIAMCO) v. Libyan Arab
LIAMCO v. Libya
                            Republic, Award, 20 I.L.M. 1 (12 April 1977) (RLA-37)

                            F.A. Mann, British Treaties for the Promotion and Protection of
Mann – British Treaties     Investments, 52 British Yearbook of International Law 241 (1981)
                            (CLA-86)

                            F. A. Mann, Further Studies in International Law - Compound
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                            Interest as an Item of Damage (1990) (CLA-60)

Mann – Legal Aspect of
                            F.A. Mann, The Legal Aspect of Money (4th ed, 1982)
Money

Marboe - Calculation of     Irmgard Marboe, Calculation of Compensation and Damages in
Compensation                International Investment Law, (2009) (CLA-137)

                            Methanex Corporation v. United States of America, UNCITRAL,
Methanex v. USA             Final Award of the Tribunal on Jurisdiction and Merits (3 August
                            2005)

                            Malaysian Historical Salvors Sdn Bhd v. Malaysia, ICSID Case
MHS v. Malaysia             No. ARB/05/10, Decision on Application for Annulment (16
                            April 2009) (RLA-23)




                                          ix
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 14 of 622




                             Mobil Cerro Negro Ltd v. Petróleos de Venezuela, S.A. and
Mobil v. PDVSA               PDVSA Cerro Negro, S.A., ICC Case No. 15416/JRF/CA, Final
                             Award (23 December 2011) (EO-45)

                             Mytilineos Holdings SA v. State Union of Serbia & Montenegro
Mytilineos v. Serbia         and Republic of Serbia, UNCITRAL, Partial Award on
                             Jurisdiction (8 September 2006) (CLA-92)

                             National Grid P.L.C. v. Argentine Republic, UNCITRAL, Award
National Grid v. Argentina
                             (3 November 2008) (CLA-32)

                             Noble Ventures, Inc. v. Romania, ICSID Case No. ARB/01/11,
Noble Venture v. Romania
                             Award (12 October 2005) (RLA-67).

                             Occidental Exploration and Production Co. v. Republic of
Occidental UNCITRAL          Ecuador, UNCITRAL (LCIA), Case No. UN 3467, Final Award
                             (1 July 2004) (CLA-27)

                             Occidental Petroleum Corporation and Occidental Exploration
Occidental v. Ecuador        and Production Company v. The Republic of Ecuador, ICSID
                             Case No. ARB/06/11, Award (5 October 2012) (CLA-129)

Ooestergetel v. Slovak       Oostergetel v. Slovak Republic, UNCITRAL, Decision on
Republic                     Jurisdiction (30 April 2010) (CLA-147)

                             Pantechniki S.A. Contractors & Engineers v. Republic of Albania,
Pantechniki v. Albania
                             ICSID Case No. ARB/07/21, Award (30 July 2009) (CLA-97)

                             Sergei Paushok, CJSC Golden East Company and CJSC
                             Vostokneftegaz Company v. Government of Mongolia,
Paushok v. Mongolia
                             UNCITRAL, Award on Jurisdiction and Liability (28 April 2011)
                             (RLA-94)

                             Víctor Pey Casado and President Allende Foundation v. Republic
Pey Casado v. Chile          of Chile, ICSID Case No. ARB/98/2, Award (8 May 2008) (RLA-
                             102)

                             Philip Morris Brand Sàrl, Philip Morris Products S.A. and Abal
Philip Morris Award          Hermanos S.A. v. Oriental Republic of Uruguay, ICSID Case No.
                             ARB/10/7, Award (8 July 2016)

                             Philip Morris Brand Sàrl, Philip Morris Products S.A. and Abal
Philip Morris v. Uruguay     Hermanos S.A. v. Oriental Republic of Uruguay, ICSID Case No.
                             ARB/10/7, Decision on Jurisdiction (2 July 2013) (CLA-144)

                             Phoenix Action v. Czech Republic, ICSID Case No. ARB/06/05,
Phoenix v. Czech Republic
                             Award (15 April 2009) (RLA-22)



                                           x
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 15 of 622




                            PSEG Global Inc. and Konya Ilgin Elektrik Üretim ve Ticaret
PSEG Global v. Turkey       Limited Sirketi v. Republic of Turkey, ICSID Case No. ARB/02/5,
                            Award (19 January 2007) (CLA-40)

                            Quiborax S.A. and Non Metallic Minerals S.A. v. Plurinational
Quiborax Award              State of Bolivia, ICSID Case No. ARB/06/2, Award (16
                            September 2015) (RLA-157)

                            Quiborax S.A., Non Metallic Minerals S.A. and Allan Fosk Kaplún
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                            Decision on Jurisdiction (27 September 2012) (RLA-33)

                            Sergey Ripinsky and Kevin Williams, Damages in International
Ripinsky - Damages
                            Investment Law (2008) (CLA-53) (CLA-134)

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Romak v. Uzbekistan
                            Award (26 November 2009) (RLA-24)

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Rosinvest v. Russia
                            (079/2005), Final Award (12 September 2010) (CLA-9)

                            Saba Fakes v. Republic of Turkey, ICSID Case No. ARB/07/20,
Saba Fakes v. Turkey
                            Award (14 July 2010) (RLA-26)

                            Salini Costruttori S.P.A. and Italstrade S.P.A. v. Kingdom of
Salini v. Morocco           Morocco, ICSID Case No. ARB/00/4, Decision on Jurisdiction
                            (16 July 2001) (RLA-7)

                            Saluka Investments BV (The Netherlands) v. Czech Republic,
Saluka v. Czech Republic
                            UNCITRAL, Partial Award (17 March 2006) (CLA-19)

                            Compañía del Desarrollo de Santa Elena S.A. v. Republic of Costa
Santa Elena v. Costa Rica   Rica, ICSID Case No. ARB/96/1, Award (17 February 2000)
                            (CLA-136)

                            S.D. Myers, Inc. v. Canada, UNCITRAL, Partial Award (13
SD Myers v. Canada
                            November 2000) (RLA-52)

                            SGS Société Générale de Surveillance S.A. v. Republic of
SGS v. Paraguay             Paraguay, ICSID Case No. ARB/07/29, Decision on Jurisdiction
                            (10 February 2010) (RLA-25)

                            Siemens A.G. v. Argentine Republic, ICSID Case No. ARB/02/8,
Siemens v. Argentina
                            Award (6 February 2007) (CLA-15)

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Sistem v. Kyrgyz            Republic, ICSID Case No. ARB(AF)/06/1, Award (9 September
                            2009)


                                          xi
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 16 of 622




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Southern Pacific v. Egypt     Republic of Egypt, ICSID Case No. ARB/84/3, Award (20 May
                              1992) (CLA-12)

                              Standard Chartered Bank v. The United Republic of Tanzania,
Standard Chartered v.
                              ICSID Case No. ARB/10/12, Award (2 November 2012) (RLA-
Tanzania
                              109)

                              Técnicas Medioambientales Tecmed S.A. v. United Mexican States,
Técnicas v. Mexico
                              ICSID Case No. ARB(AF)/00/2, Award (29 May 2003) (CLA-28)

                              Ibrahim Shihata & Antonio Parra, The Experience of the
The Experience of ICSID       International Centre for Settlement of Investment Disputes, 14
                              ICSID Rev.–F.I.L.J. 299 (1999) (RLA-4)

                              The First 50 Years of ICSID, Zachary Douglas, “Property Rights
The First 50 Years of ICSID
                              as the Object of an Expropriation” (2016)

The Norwegian Shipowners’     The Norwegian Shipowners’ Case (Norway v. USA), RIAA (13
Case                          October 1922)

                              International Thunderbird Gaming Corp. v. United Mexican
Thunderbird v. Mexico         States, UNCITRAL (NAFTA), Award (26 January 2006) (CLA-
                              31)

                              Agreement between the Swiss Confederation and the Republic of
Treaty                        Venezuela on the Reciprocal Promotion and Protection of
                              Investments (18 November 1993) (CLA-1)

                              Ulysseas, Inc. v. The Republic of Ecuador, UNCITRAL, Final
Ulysseas v. Ecuador
                              Award (12 June 2012) (RLA-108)

                              Venezuela Holdings, B.V. and others v. Bolivarian Republic of
Venezuela Holdings v.
                              Venezuela, ICSID Case No. ARB/07/27, Award (9 October 2014)
Venezuela
                              (RLA-153)

                              Compañía de Aguas del Aconquija S.A. and Vivendi Universal
Vivendi v. Argentina          S.A. v. Argentine Republic, ICSID Case No. ARB/97/3, Award (21
                              November 2000)

Waste Management v.           Waste Management, Inc. v. United Mexican States, ICSID Case
Mexico                        No. ARB(AF)/00/3, Award (30 April 2004) (CLA-34)




                                           xii
           Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 17 of 622




                                         PART I: THE ARBITRATION



           Introduction
1.1        This arbitration concerns a dispute submitted to the International Centre for Settlement of
           Investment Disputes (“ICSID” or the “Centre”) on the basis of the Agreement between the
           Swiss Confederation and the Government of the Republic of Venezuela on the Reciprocal
           Promotion and Protection of Investments dated 18 November 1993, which entered into
           force on 30 November 1994 (the “BIT” or “Treaty”), and the Convention on the Settlement
           of Investment Disputes between States and Nationals of Other States dated 18 March 1965,
           which entered into force on 14 October 1966 (the “ICSID Convention”).

           The Parties
1.2        The First Claimant: Koch Minerals Sàrl is a company incorporated under the laws of
           Switzerland. It was initially named Koch Oil SA, but changed its name to Koch Minerals
           SA on 11 April 2003 and its corporate form from S.A. to Sàrl on 20 March 2009. 1 For ease
           of reference, the First Claimant and its prior designations are here referred to collectively
           as “KOMSA” or “Koch”.

1.3        The Second Claimant: Koch Nitrogen International Sàrl is also a company incorporated
           under the laws of Switzerland. For ease of reference, the Second Claimant is here referred
           to as “KNI”.

1.4        Both KOMSA and KNI are “nationals of another Contracting State” as defined in Article
           25(2)(b) of the ICSID Convention. Switzerland signed the Convention on 22 September
           1967, deposited its instrument of ratification on 15 May 1968 and the Convention entered
           into force for Switzerland on 14 June 1968.




1
    Claimants’ Request for Arbitration (“RfA”) (28 June 2011), n. 22; Extract from the Registre du Commerce du Canton
    de Fribourg for Koch Minerals, SA, Historical Data from 5 November 1998 to 1 April 2009, certified on 6 May 2011;
    Extract from Registre du Commerce du Canton de Fribourg for Koch Minerals, Sàrl, registration date 24 January
    1972 and Extract with Potential Deletions (C-3); Request for registration for the Registre du Commerce du Canton
    de Fribourg for transformation of Koch Minerals, SA to Koch Minerals, Sàrl, registration date 20 March 2009 (C-
    16).


                                                           1
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 18 of 622




1.5   The Claimants’ Legal Representatives: The Claimants were represented in this proceeding
      by Mr J. Kory Parkhurst, representative of the Koch Companies Public Sector, LLC, of
      Wichita, Kansas, USA; and by Mr Robert Volterra, Mr Graham Coop, Mr Giorgio
      Mandelli, Mr Stephen Fietta (until 7 December 2015), Mr Ashique Rahman (until 7
      December 2015), Ms. Zuzana Morháčová, Ms Jessica Pineda and Mr Govert Coppens of
      the law firm Volterra Fietta of London, United Kingdom; and Mr Mark Beckett of the law
      firm Cooley LLP of New York, NY, USA; and Ms Christina Hioureas of the law firm
      Chadbourne & Parke LLP of New York, NY, USA (until March 2016). .

1.6   The Respondent: The Respondent is the Bolivarian Republic of Venezuela. For ease of
      reference, the Respondent is here called “Venezuela” or the “Respondent”.

1.7   The Respondent is a Contracting State to the ICSID Convention. It signed the Convention
      on 18 August 1993, deposited its instrument of ratification on 2 May 1995 and the
      Convention entered into force for the Respondent on 1 June 1995

1.8   The Respondent’s Legal Representatives: The Respondent was represented in this
      proceeding by Dr Reinaldo Enrique Muñoz Pedrosa, Procurador General de la República
      (E) of the Procuraduría General de la República in Caracas, Venezuela; and Mr Christopher
      Ryan, Mr Thomas B. Wilner, Ms Katia Yannaca-Small (until April 2017) of the law firm
      Shearman & Sterling LLP of Washington D.C., USA; and Ms. Anna Tevini and Mr
      Guillermo Salcedo Salas from the same law firm in NYC, NY, USA and Paris, France,
      respectively; and Mr José Pertierra, of The Law Office of José Pertierra of Washington,
      D.C., USA.

1.9   FertiNitro: The Claimants allege that in March 1998, a series of joint venture companies
      were formed for the purposes of implementation of their investment in Venezuela. These
      companies included Fertilizantes Nitrogenados de Oriente, SA; Fertilizantes Nitrogenados
      de Oriente, CEC; Fertilizantes Nitrogenados de Venezuela, SRL, and Fertilizantes
      Nitrogenados de Venezuela, FertiNitro, CEC.           These joint venture companies are
      collectively referred to as “FertiNitro” or “the Fertinitro Companies.” None of these joint
      venture companies are parties to this arbitration or legally represented before this Tribunal.




                                                2
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 19 of 622




1.10   Koch José Cayman Limited: Koch José Cayman Limited is company organised under the
       laws of the Cayman Islands, as a subsidiary of Koch (“Koch José”). KOMSA held its
       interest in the FertiNitro Companies through Koch José. Koch José is not a party to this
       arbitration, nor legally represented before this Tribunal.

1.11   Petroquímica de Venezuela, SA: The Venezuelan company Petroquímica de Venezuela,
       SA (also known as “Pequiven”) is a wholly-owned subsidiary of PDVSA, the Respondent’s
       State-owned oil company. Neither of these companies is a party to this arbitration or
       legally represented before this Tribunal.

       The Request for Arbitration
1.12   On 28 June 2011, the Claimants filed a request for arbitration before ICSID (the “Request”
       or “Request for Arbitration”).

1.13   On 19 July 2011, the Secretary-General of ICSID registered the Request in accordance
       with Article 36(3) of the ICSID Convention and notified the Parties of the registration. In
       the Notice of Registration, the Secretary-General invited the Parties to proceed to constitute
       an Arbitral Tribunal as soon as possible in accordance with Rule 7(d) of ICSID’s Rules of
       Procedure for the Institution of Conciliation and Arbitration Proceedings (the “ICSID
       Arbitration Rules”).

       The Arbitration Tribunal
1.14   On 19 August 2011, the Claimants informed the Secretariat that they maintained their
       proposal made in the Request that the Tribunal consist of three arbitrators, one arbitrator
       to be appointed by each Party and the third, who would be the president of the Tribunal,
       appointed by agreement of the Parties. In this letter the Claimants also appointed the Hon
       Marc Lalonde, a national of Canada, as arbitrator and requested that the Chairman of the
       Administrative Council appoint any arbitrators not appointed pursuant to ICSID
       Convention Article 38 and Rule 4(1) of the ICSID Arbitration Rules.

1.15   On 23 September 2011, the Secretariat confirmed that, in the absence of any agreement
       between the Parties within 60 days after the registration of the Request, the Tribunal would




                                                   3
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 20 of 622




       be constituted pursuant to Article 37(2)(b) of the ICSID Convention and Rule 2(3) of the
       ICSID Arbitration Rules.

1.16   On 27 September 2011, the Secretariat informed the Parties that Mr Lalonde had accepted
       his appointment as arbitrator.

1.17   On 13 October 2011, the Respondent appointed Justice Florentino Feliciano, a national of
       the Philippines, as arbitrator.

1.18   By letter of 18 October 2011, the Secretariat informed the Parties that Mr Feliciano had
       accepted his appointment as arbitrator and confirmed that, further to the Claimants’ request
       and in the absence of the constitution of the Tribunal within 90 days of the Request’s
       registration, the Chairman of the Administrative Council, under Article 38 of the ICSID
       Convention, would appoint the President of the Tribunal in consultation with the Parties.

1.19   The Chairman of the ICSID Administrative Council, through ICSID’s Secretary-General,
       proposed three arbitrators for the Parties’ consideration by letter dated 28 October 2011.

1.20   On 31 October 2011, the Claimants informed the Secretariat that the Parties had reached
       an agreement to appoint Mr V.V. Veeder, a national of the United Kingdom, as the
       President of the Tribunal. On 4 November 2011, Mr Veeder accepted his appointment as
       President of the Tribunal.

1.21   On 8 November 2011, the Secretary-General notified the Parties that all three arbitrators
       had accepted their appointments and that the Tribunal was therefore constituted on that
       date, in accordance with ICSID Arbitration Rule 6(1). Ms Mairée Uran-Bidegain, ICSID
       Legal Counsel, was designated to serve as Secretary of the Tribunal.

1.22   First Disqualification Proposal: On 24 December 2013, the Respondent filed a proposal
       for the disqualification of Mr Feliciano as a member of the Tribunal (the “First
       Disqualification Proposal”). This was the first of two separate attempts to disqualify
       members of the Tribunal.

1.23   On 29 December 2013, the ICSID Secretariat notified the Parties that the proceedings were
       suspended pursuant to ICSID Arbitration Rule 9(6) and transmitted a schedule for the



                                                4
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 21 of 622




       Parties to submit further observations on the First Disqualification Proposal. In that same
       letter, it was noted that according to Procedural Order No. 6, the Respondent’s Rejoinder
       was due by 30 December 2013. The Respondent was therefore invited by the Tribunal to
       proceed with its written submission on the previously scheduled date in order to minimise
       any disruption to the arbitration.

1.24   By letter of 30 December 2013, the Respondent stated that it was not in a position to accept
       the invitation described above.

1.25   The Claimants filed observations on the First Disqualification Proposal on 26 December
       2013 and 15 January 2014. The Respondent filed further comments on its proposal on 8
       January 2014. On 1 February 2014, Mr Feliciano furnished written explanations pursuant
       to ICSID Arbitration Rule 9(3). On 1, 6 and 7 February 2014, the Claimants and the
       Respondent filed additional comments.

1.26   On 10 February 2014, Mr Veeder and Mr Lalonde (the “Unchallenged Arbitrators”)
       notified the ICSID Secretariat that they were “equally divided” within the meaning of
       Article 58 of the ICSID Convention and ICSID Arbitration Rule 9(4), for reasons
       “unrelated to [the] merits or demerits” of the First Disqualification Proposal. On the same
       date, ICSID’s Secretary-General transmitted the Unchallenged Arbitrators’ notice to the
       Parties and informed them that the decision on the First Disqualification Proposal would
       be made by the Chairman of the Administrative Council, in accordance with Article 58 of
       the ICSID Convention and ICSID Arbitration Rule 9.

1.27   On 24 February 2014, after considering the written submissions made by the Parties and
       the observations of Mr Feliciano, the Chairman of the Administrative Council decided to
       reject the Respondent’s Proposal to Disqualify Mr Feliciano. The Chairman’s written
       decision was transmitted to the Parties and the Tribunal. These arbitration proceedings
       resumed on that same day.

1.28   Second Disqualification Proposal: On 29 March 2014, shortly before the hearing fixed to
       take place in Paris, the Respondent proposed the disqualification of all three Members of
       the Tribunal (the “Second Disqualification Proposal”). On that same date, the ICSID
       Secretariat notified the Parties that the arbitration proceedings were suspended pursuant to


                                                5
           Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 22 of 622




           ICSID Arbitration Rule 9(6). It also transmitted a schedule for the Parties to submit further
           observations on the Second Disqualification Proposal.

1.29       The Claimants submitted their observations on the Second Disqualification Proposal on 1
           and 15 April 2014. The Respondent filed further comments on its Second Disqualification
           Proposal on 16 April 2014.

1.30       On 8 April 2014, the Secretariat transmitted to the Parties the respective statements of
           Mr Veeder, Mr Lalonde and Mr Feliciano on the Second Disqualification Proposal (the
           “Arbitrators’ Statements”).

1.31       On 30 April 2014, after considering the Parties’ observations and the Arbitrators’
           statements, the Chairman of the Administrative Council issued a Decision rejecting the
           Respondent’s Second Disqualification Proposal. The Chairman decided (inter alia) that:

             “[A]t the heart of the Respondent’s argument is its discontent with a provisional
             ruling taken by the Tribunal in order to decide on a procedural question. The
             mechanism set forth under Article 57 of the ICSID Convention and Arbitration Rule
             9 seeking to safeguard the integrity of the proceeding is not a mechanism for
             reconsideration of adverse rulings. Absent any objective circumstances, the mere
             existence of an adverse ruling in and of itself, is insufficient to prove a manifest lack
             of impartiality or independence, as required by Articles 14 and 57 of the ICSID
             Convention.” 2

1.32       These arbitration proceedings resumed on that same day, namely 30 April 2014.

           The Arbitral Procedure
1.33       First Meeting: On 21 December 2011, the Tribunal held its First Session with the Parties
           by telephone conference call. The Parties confirmed that the Members of the Tribunal had
           been validly appointed. It was agreed (inter alia) that the applicable ICSID Arbitration
           Rules would be those in effect from 10 April 2006, that the procedural languages would be
           English and Spanish and that the place of these arbitration proceedings would be
           Washington, DC, USA, with all such matters to be memorialised in a later procedural order




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    Decision on the Proposal for Disqualification of the Arbitral Tribunal (30 April 2014), Paragraph 100.


                                                            6
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 23 of 622




       including the Minutes of the First Session. The Parties also agreed that these arbitration
       proceedings would comprise a written phase and an oral phase. The Parties were unable at
       that time to agree on a full schedule for the jurisdictional/merits phase(s) of these
       proceedings.

1.34   On 2 January 2012, the Tribunal issued its Procedural Order No. 1 requiring the Claimants
       to file a full memorial of their case on 2 April 2012.

1.35   On 16 February 2012, in response to the Respondent’s written application dated 2 February
       2012, the Tribunal issued its Procedural Order No. 2, suspending these arbitration
       proceedings for a two-month period (starting on 2 February 2012 and ending on 2 April
       2012), due to the regrettable death in January 2012 of the Attorney General of Venezuela,
       Dr Carlos Escarrá. The Tribunal’s procedural order also provided that the Claimants’
       Memorial should now be filed on 2 June 2012.

1.36   On 18 May 2012, the Tribunal sent to the Parties its draft Procedural Order No. 3, Minutes
       of the First Session and Schedule of Written Pleadings and requested the Parties’ written
       comments on these drafts. Between 31 May 2012 and 28 June 2012, the Parties submitted
       written comments on the Tribunal’s draft schedule.

1.37   On 3 July 2012, having considered the Parties’ submissions, the Tribunal issued its
       Procedural Order No. 3, Minutes of the First Session and Schedule of Written Pleadings,
       in which it fixed the procedural calendar for the arbitration.

1.38   The Tribunal’s schedule for the written phase was subsequently amended on 15 August
       2012 by agreement of the Parties, and on 22 November 2012, 18 December 2012, 29 May
       2013 and 26 February 2014, pursuant to Procedural Orders of the Tribunal Nos. 4, 5, 6 and
       7 respectively, upon the application of a Party or as a result of the Respondent’s two
       disqualification proposals (described above).

1.39   Bifurcation. Considering the Respondent’s various applications for extensions to the
       deadline to submit its counter-memorial, the Tribunal further decided in Procedural Order
       No. 4 dated 22 November 2012, that any jurisdictional objections would be joined to the
       merits pursuant to ICSID Arbitration Rule 41.



                                                 7
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 24 of 622




1.40   The schedule for the oral phase was originally fixed by the Tribunal in Procedural Order
       No. 6 of 29 May 2013 and subsequently amended by the Tribunal following a joint
       application by the Parties, whereby the Parties agreed to amend the original hearing dates
       but could not agree on new hearing dates.

1.41   On 13 March 2014, the Tribunal decided that the Hearing would be held in Paris, France,
       in two separate sessions: the first hearing starting on 31 March 2014 and ending no later
       than 4 April 2014 (mid-day); and the second session starting on 19 May 2014 and ending
       no later than 23 May 2014.

1.42   On 29 March 2014, the first part of the hearing scheduled to start in Paris on 31 March
       2014 was adjourned as a consequence of the Respondent’s Second Disqualification
       Proposal. The final dates for the oral phase of this proceeding were re-fixed orally by the
       Tribunal on 19 May 2014, and further confirmed in the Tribunal’s Procedural Order No. 9
       of 4 August 2014.

1.43   The Claimants’ Submissions: As regards the written phase of the arbitration, the Claimants
       filed (i) their Memorial on 4 June 2012, (ii) their Reply on the Merits and Counter-
       Memorial on Jurisdiction on 2 September 2013 and (iii) their Rejoinder on Jurisdiction on
       14 March 2014.

1.44   The Respondent’s Submissions: The Respondent filed (i) its Counter-Memorial on the
       Merits and its Preliminary Objections to the Jurisdiction of the Arbitral Tribunal on 28
       February 2013, and (ii) its Rejoinder on the Merits and its Reply on Jurisdiction on 3 March
       2014.

1.45   The Claimants’ Testimony: The Claimants adduced signed written statements from the
       following factual witnesses:

          Brent W. Gwaltney, statements dated 30 May 2012, 20 August 2013 and 23 May 2014;

          Jim Sorlie, statements dated 29 May 2012, 26 July 2013 and 28 May 2014; and

          Melquiades A. Parra, statements dated 29 May 2012 and 12 August 2013.




                                                8
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 25 of 622




1.46   The Claimants also adduced signed expert reports from:

          Benjamin Esty, expert reports dated 23 August 2013 and 14 March 2014;

          Tim Giles, export reports dated 2 June 2012 and 30 August 2013; and

          Richard S. Sanders, expert reports dated 30 May 2012 and 27 August 2013.

1.47   The Respondent’s Testimony: The Respondent adduced signed written statements from the
       following factual witnesses:

          Anibal Villarroel, statements dated 28 February 2013 and 30 December 2013;

          Carolina Nuñez, statements dated 28 February 2013 and 30 December 2013;

          Edgar Flórez, statements dated 28 February 2013 and 30 December 2013;

          Victor Barrientos, statements dated 28 February 2013 and 30 December 2013, and

          Francisco Toro, statement dated 30 December 2013 (later withdrawn by the
           Respondent, as explained below).

1.48   The Respondent also adduced signed expert reports from Daniel Flores (of Econ One)
       dated 28 February 2013 and 3 March 2014.

1.49   Procedural Meetings: Further to the Tribunal’s Procedural Order No. 5, the Tribunal held
       a procedural conference call with the Parties on 6 March 2013 to discuss the need, scope
       and timing of any document production and the dates of the proposed two-week hearing.

1.50   On 19 May 2014, upon the resumption of these arbitration proceedings (following the
       rejection of the Respondent’s Second Disqualification Proposal) the Tribunal held a
       procedural meeting with the Parties in Paris, at the offices of the World Bank (“the Paris
       Procedural Meeting”). Mr Veeder, Mr Lalonde and the Parties’ legal representatives
       attended the procedural meeting in person; and Mr Feliciano attended by video-link from
       the offices of the World Bank in Manila. (Mr Feliciano had recently suffered an accident
       and had been medically forbidden to travel to Paris). The Paris Procedural Meeting was




                                               9
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 26 of 622




       conducted without objections from the Parties. It was recorded, with the verbatim transcript
       (corrected) issued to the Parties on 20 May 2014.

1.51   In addition, the President of the Tribunal, with the Parties, and the Secretary of the
       Tribunal, held pre-hearing organisational meetings by telephone conference calls on 24
       March 2014 and 25 August 2014.

1.52   The First (September) Hearing: As regards the oral phase of this arbitration, the first
       hearing on jurisdiction and merits, including the examination of witnesses, took place at
       the World Bank in Paris, France on 8 September and subsequently from 10-12 September
       2014 (the “First (September) Hearing”).

1.53   In addition to the Tribunal and its Secretary, the following persons were present at this First
       (September) Hearing:

1.54   For the Claimants: Mr J. Kory Parkhurst, legal representative of KOMSA & KNI; Mr
       Robert Volterra, Mr Stephen Fietta, Mr Ashique Rahman, Mr Ernesto J. Féliz De Jesús,
       Ms Zuzana Morháčová, Ms Jessica Pineda, and Ms Zsófia Young, of the law firm of
       Volterra Fietta. Mr Mark Beckett, Ms Christina Hioureas, Mr Christian Urrutia and Mr
       Ariel Meyerstien, of the law firm of Chadbourne & Parke LLP. The Claimants’ witnesses
       and experts were also present: Mr Brent Gwaltney, Mr Melquíades A. Parra, Mr Jim Sorlie
       and Mr Richard Sanders. (Mr Gwaltney, Mr Parra and Mr Sorlie were examined during the
       First (September) Hearing).

1.55   For the Respondent: Mr Christopher Ryan, Ms Katia Yannaca-Small, Ms Anna Tevini, Mr
       Peik Mäkelä, Mr Guillermo Salcedo Salas, Mr Agustín Acosta Cárdenas, Ms Evelyn
       Wiese, Mr Ricardo Alarcón Sierra and Ms Victoria Cadiz (all of the law firm of Shearman
       & Sterling); and Mr Isaias Medina (PDVSA). The Respondent’s witnesses were also
       present: Mr Aníbal Villarroel, Mr Edgar Flórez (FertiNitro); Mr Víctor Barrientos
       (Pequiven). Messrrs Villaroel, Flores and Barrientos, were examined during the First
       (September) Hearing, as described below.

1.56   Witnesses examined during the First (September) Hearing were, in alphabetical order:

          Victor Barrientos, Day 3 (11 September 2014), at 09:03:19ff


                                                 10
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 27 of 622




          Edgar Flórez, Day 4 (12 September 2014), at 10:55:18ff

          Brent Gwaltney, Day 2 (10 September 2014), at 09:17:20ff

          Melquíades A. Parra, Day 2 (10 September 2014), at 11:08:13ff

          Jim Sorlie, Day 2 (10 September 2014), at 12:48:22ff

          Anibal Villarroel, Days 3 & 4 (11 and 12 September 2014), at 14:24:06ff and
           09:00:12ff.

1.57   The Second (November) Hearing: A second hearing on the merits and quantum, including
       the examination of the Parties’ expert witnesses, took place at the International Dispute
       Resolution Centre, in London, UK, from 23 to 26 November 2014 (the “Second
       (November) Hearing”).

1.58   In addition to the Tribunal and its Secretary, the following were present at this Second
       (November) Hearing:

1.59   For the Claimants: Mr J. Kory Parkhurst; Messrs. Jeff Brenner and Kevin Barb of KOMSA
       & KNI; Mr Robert Volterra, Mr Stephen Fietta, Mr Giorgio Mandelli, Mr Ashique
       Rahman, Ms Zuzana Morháčová, Ms Jessica Pineda, and Ms Zsófia Young, of the law firm
       of Volterra Fietta; Mr Mark Beckett, Ms Christina Hioureas, and Mr Christian Urrutia, of
       the law firm of Chadbourne & Parke LLP. The Claimants’ expert witnesses were also
       present: Mr Richard Sanders, Mr Tim Giles and Ms Jessica Resch. (Mr Sanders and Mr
       Giles were examined during the November Hearing).

1.60   For the Respondent: Mr Thomas Wilner, Christopher Ryan, Ms Katia Yannaca-Small, Ms
       Anna Tevini and Ms Evelyn Wiese of the law firm of Shearman & Sterling. The
       Respondent’s expert witnesses were also present: Mr Daniel Flores, Mr Ettore Komi and
       Mr Mark Khouzam. (Mr Flores was examined during the November Hearing).

1.61   Witnesses examined during the Second (November) Hearing were, in alphabetical order:

          Daniel Flores, Days 2 & 3 (24 and 25 November 2014), at 12:51:02ff and 09:28:03ff

          Tim Giles, Day 2 (24 November 2014), at 09:30:03ff


                                              11
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 28 of 622




              Richard Sanders, Day 1 (23 November 2014), at 14:09:03ff.

1.62       Both the First (September) and Second (November) Hearings were recorded by verbatim
           transcript in English and Spanish, available to the Parties. 3

           Other Procedural Matters
1.63       The Submission of Additional Documents: By letter of 12 March 2014, the Claimants
           requested that the Tribunal order the Respondent to produce: (a) a witness statement and
           an expert report submitted by the Respondent in Gambrinus Corp. v. Bolivarian Republic
           of Venezuela (ICSID Case No. ARB/11/31) (the “Gambrinus Arbitration”), made by a
           witness and an expert who also submitted a statement and a report on behalf of the
           Respondent in this case, and (b) a jurisdictional decision rendered in Longreef Investments
           A.V.V. v. Bolivarian Republic of Venezuela (ICSID Case No. ARB/11/5). The Claimants
           further requested permission from the Tribunal to introduce into the evidential record ten
           new documents (the “Additional Documents”), which they sent to the Tribunal and the
           Respondent along with their request.

1.64       On 14 March 2014, the Respondent objected to the Claimants’ request and requested in
           response that, if the Tribunal were to accede to the Claimants’ request, the first week of the
           hearing (as then scheduled) should be moved to 19 May 2014 so as to give the Respondent
           sufficient time to prepare a response. The Claimants opposed the Respondent’s request on
           16 March 2014. The Respondent replied on 17 March 2014, reiterating its request that the
           first week of the scheduled hearing be postponed to May 2014, and submitting that failure
           to provide such further time would infringe upon the Respondent’s due process and
           procedural rights. The Respondent further stated that it reserved all its rights in this respect.

1.65       On 18 March 2014, the Tribunal decided upon the Claimants’ request of 12 March 2014
           (the “18 March Decision”).           In this decision, the Tribunal rejected the Claimants’
           application regarding the Gambrinus documentation and the Longreef decision.




3
    References to all transcripts of hearings below are made thus: “First (September) Hearing D1.10” denotes Day 1,
    page 10 of the transcript.


                                                         12
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 29 of 622




1.66   As to the Additional Documents, being the third application in the Claimant’s request, the
       Tribunal decided (inter alia) as follows:

         “As regards the third application, given that this documentation is said by the
         Claimants to respond directly in rebuttal to the Respondent’s (delayed) Rejoinder of
         3 March 2014, the Tribunal here orders its admission de bene esse for the purpose
         only of allowing the Tribunal to read the documentation in order to decide the
         Claimants’ application and the Respondent’s opposition (i.e. not as ‘evidence’).
         The Tribunal also orders the Claimant’s third application (with the Respondent’s
         opposition) to be argued more fully during the Parties’ opening oral submissions at
         the outset of the first week’s hearing in Paris beginning on Monday, 31 March 2014.
         In the event (which should not here be assumed) that the Tribunal should then decide
         to admit into evidence any part of this documentation, the Parties should be ready
         for any consequential order, including any response from the Respondent as regards
         further submissions and rebuttal evidence.”

1.67   On 21 March 2014, the Claimants made a second request to the Tribunal for permission to
       submit six additional documents into the evidential record (the “New Documents”).

1.68   On 24 March 2014, the Tribunal, represented by its President, held a pre-hearing
       organisational meeting with the Parties and the Secretary of the Tribunal, by telephone
       conference call. The Respondent reiterated that it was participating in this call with “full
       reservation of its rights.” The President noted (inter alia) that he could not by himself alone
       decide the disputed admissibility of the Claimants’ application of 21 March 2014 without
       his co-arbitrators and that the Tribunal expected the Respondent to comment on the
       Claimants’ application regarding Mr Toro on the first day of the scheduled hearing.

1.69   On 25 March 2014, the Respondent objected to the Claimants’ 21 March 2014 application
       and to the 18 March Decision, arguing that it prejudiced its due process rights. The
       Respondent further alleged that the Tribunal’s Procedural Order No. 3 obliged the
       Claimants to argue the relevance of each document before submitting it to the Tribunal and
       that the Respondent should be accorded sufficient time to provide counter-arguments and
       evidence on the relevance of each disputed document. The Respondent requested again
       that the merits phase of the Hearing be postponed until 19 May 2014, and it further reserved
       all its rights with respect to the facts surrounding the Claimants’ applications and the
       Tribunal’s decisions. The Claimants opposed the Respondent’s request on 26 March 2014.


                                                   13
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 30 of 622




1.70   The Admissibility of the Written Statement of Mr Toro: On 19 March 2014, the Claimants
       requested that the written statement of Mr Francisco Toro (the “Toro Statement”) be struck
       from the evidential record, on the grounds that, inter alia, Mr Toro had passed away before
       his statement was submitted to the Tribunal, and he was therefore not available for cross-
       examination at the Hearing. The Tribunal invited the Respondent to comment on this
       application by 24 March 2014.

1.71   On Thursday, 27 March 2014, the Tribunal issued Procedural Order No. 8, deciding (inter
       alia) the following:

         “To require all pending procedural applications to be raised with the Tribunal
         during the Parties’ opening submissions on 31 March 2014, including […]: (i) the
         submission of additional documents into the evidential record; (ii) the hearing
         schedule and the Claimants’ latest application for 15 minutes’ direct examination;
         (iii) the Respondent’s application for an adjournment of the hearing; and (iv) the
         admissibility of the witness statement of Mr Francisco Toro; and without the Tribunal
         prejudging any of these applications, the Parties shall prepare for the five-day
         hearing to the fullest extent, including all preparations on the provisional assumption
         that any or all of these applications may be refused by the Tribunal on 31 March
         2014.”

1.72   On 29 March 2014, as already summarised above, the Respondent submitted its Second
       Disqualification Proposal, which was subsequently rejected by the Chairman of the
       Administrative Tribunal on 30 April 2014. As also summarised above, the effect of this
       Second Disqualification Proposal was to cause the abandonment of the scheduled hearing
       in Paris.

1.73   The Respondent filed additional exhibits and correspondence regarding the Toro Statement
       on 28 May 2014, followed by the Claimants’ supplementary witness statements of Brent
       Gwaltney and Jim Sorlie on 29 May 2014. The Claimants also submitted correspondence
       regarding the Toro Statement on 9 June 2014, to which the Respondent replied on 13 June
       2014, followed by the Claimants’ application on 26 July 2014.

1.74   On 5 September 2014, the Tribunal issued its Procedural Order No. 10, whereby it decided
       (inter alia):




                                                14
           Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 31 of 622




              “a. To permit the Respondent to withdraw from the evidential record the proffered
              witness statement of Mr Toro dated 30 December 2013 (as a result of which it shall
              not be treated as evidence in these arbitration proceedings); and
              b. To reserve its decision for the time being over any adverse inferences to be drawn
              from the withdrawal of the Toro Statement and the non-production by the Respondent
              of Mr Toro’s witness statement(s) in the Gambrinus arbitration under Procedural
              Order No.9.”

1.75       On 19 December 2014, the Respondent transmitted to the Secretariat the Parties agreed
           redactions to the Respondent’s Rejoinder and Second EconOne Expert Report that resulted
           from Respondent’s withdrawal of the Toro Statement from the record as indicated above.
           On 22 December 2014, the Claimants confirmed their agreement with the transmitted
           redactions, stating in that same communication that they believed further redactions were
           appropriate and necessary, to which the Respondent replied on 29 December 2014.

1.76       Following the reconstitution of the Tribunal as indicated below, on 17 May 2016, the
           Claimants submitted an additional application to the Tribunal reiterating their request that
           additional redactions be applied to the Respondent’s Rejoinder and the Second EconOne
           Expert Report by Dr Flores. This was followed by Respondent’s response of 1 June 2016
           and the Tribunal’s Procedural Order No. 11, of 8 June 2016 ruling on this matter, as
           explained below.

1.77       The Advantis Reports: By letter dated 12 March 2014, the Claimants applied to the Tribunal
           for permission to introduce into the evidential record a valuation report by Advantis
           (known as the Second Advantis Report). The Claimants’ letter stated, in material part: 4

              “Respondent’s Advantis valuation report of FertiNitro: This document was
              referenced in the Claimant’s Reply [paragraph 105] and Mr Brent Gwaltney’s
              Second Witness Statement at paragraph 40 and is clearly relevant to the
              Respondent’s valuation of FertiNitro in this proceeding. In its Rejoinder [paragraph
              228], the Respondent makes reference to the alleged good-faith negotiations, in the
              course of which it presented the document (on a non-without prejudice and
              confidential basis) to the Claimants. Given that it is already referenced in the
              Claimants’ submissions, was created for the Respondent and, therefore, is already in



4
    Claimants’ letter to the Arbitral Tribunal of 12 March 2014, p. 4.


                                                            15
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 32 of 622




             the Respondent’s possession, there can be no prejudicial effect in admitting the
             exhibit at this stage. Furthermore, such evidence of the Respondent’s previous
             valuations of FertiNitro should clearly be relevant to the Tribunal’s assessment of
             the Respondent’s purported valuation in this proceeding.” (Footnote omitted)

1.78       The Claimants’ application was disputed by the Respondent’s letter of 14 March 2014, to
           which the Claimants responded by letter of 16 March 2014 and to which the Respondent
           responded in turn by letter of 17 March 2014.

1.79       By its instruction letter of 18 March 2014, the Tribunal decided to examine the disputed
           document for itself, for the time being de bene esse only. (The Tribunal there also indicated
           that the dispute between the Parties would be discussed further with the Parties during the
           forthcoming hearing, then scheduled to start on 31 March 2014; but later suspended
           following the Respondent’s Second Disqualification Proposal).

1.80       Subsequently, during the Paris Procedural Meeting on 19 May 2014, the Parties agreed
           upon the admission of this document into the evidential record, with others. 5 This Second
           Advantis Report was designated as C-157, comprising of three pages under the title
           “Special Document” with five pages of annexes, submitted in the original Spanish with an
           English translation. The Respondent submitted, with the Claimants’ agreement, the First
           Advantis Report designated as R-86, comprising of 22 pages of the report, the emails from
           Advantis to Pequiven and from Pequiven to the Fertinitro shareholders of 18 and 19 May
           2011, respectively, transmitting the report, and five pages of annexes in the original
           Spanish.

1.81       Post-Hearing and Costs Submissions: The Parties filed simultaneous post-hearing briefs
           on 30 January 2015. The Parties filed their submissions on costs on 13 February 2015.

1.82       Mr Feliciano regrettably died in December 2015, at a time when the Tribunal’s
           deliberations had not been fully completed.




5
    See Procedural Order No. 9, Paragraphs 17 and 18; Claimants’ email message of 28 May 2014; Respondent’s email
    message of 28 May 2014.


                                                        16
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 33 of 622




       The Rule 12 Resumption of the Proceedings
1.83   By letter from the ICSID Secretariat of 16 December 2015, resulting from the death of Mr
       Feliciano and the vacancy on the Tribunal, these arbitration proceedings were suspended
       pursuant to ICSID Arbitration Rule 10(2).

1.84   By letter dated 1 February 2016, the ICSID Secretariat notified the Parties that the vacancy
       created in the Tribunal resulting from the death of Mr Feliciano had been filled with the
       appointment of Professor Zachary Douglas QC as co-arbitrator made by the Respondent
       and, further, that, in accordance with ICSID Arbitration Rule 12, these proceedings
       resumed as from 1 February 2016 from the point it had reached at the time the vacancy
       occurred.

1.85   By its Procedural Order No. 11 of 8 June 2016, the Tribunal addressed the Claimant’s
       application of 17 May 2016, opposed by the Respondent’s letter dated 1 June 2016, to
       redact certain references to Mr Toro in the Respondent’s Rejoinder and its Second
       EconOne expert report by Dr Flores adduced by the Respondent. The Tribunal decided to
       order parts of the requested redactions from the Rejoinder and the report, as there set out,
       subject to further order.

1.86   Before the Third (June) Hearing, the Tribunal sent to the Parties non-exhaustive lists of
       issues and topics to be addressed at that Hearing. These lists are set out in Part III below.

1.87   The Third (June) Hearing: Pursuant to ICSID Arbitration Rule 12, an oral hearing was held
       at the IDRC in London, United Kingdom on 9 and 10 June 2016, recorded by verbatim
       transcript available to the Parties. The procedure for this Reconstitution Hearing was set
       by the Tribunal’s letter of 29 April 2016 to the Parties.

1.88   In addition to the Tribunal and its Secretary, the following persons were present at this
       Third (June) Hearing:

1.89   For the Claimants: Mr Jeff Brenner and Mr J. Kory Parkhurst (legal representatives of
       KOMSA & KNI); Mr Robert Volterra, Mr Graham Coop, Mr Govert Coppens, Ms Jessica
       Pineda, Ms Zusana Morháčová, Ms Isabella Sif and Ms Chiara Atzeni of the law firm of
       Volterra Fietta; and Mr Mark Beckett of the law firm Chadbourne & Parke.



                                                17
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 34 of 622




1.90       For the Respondent: Mr Christopher Ryan, Mr Thomas Wilner, Ms Anna Tevini, Mr David
           Earnest, Mr Guillermo Salcedo Salas, Ms Evelyn Wiese (all of the law firm of Shearman
           & Sterling).

1.91       The Third (June) Hearing was recorded by verbatim transcript in English and Spanish,
           available to the Parties.

1.92       On 30 June 2016, the Parties completed their respective responses to the Claimants’ Tables
           1 to 4 of agreements and disagreements between Mr Giles and Dr Flores, their expert
           witnesses on quantum, as requested by the Tribunal at the Third (June) Hearing. 6 The
           Parties submitted their respective updated claims for costs by written submissions dated 8
           and 12 July 2016. By several email messages dated 12 and 26 July 2016, the Parties
           submitted their respective tables on interest.

1.93       By letter dated 7 July 2016, the Respondent objected to the admissibility of certain parts
           of the presentational slides used by the Claimants during their closing oral submissions at
           the Reconstituted Hearing. At the Tribunal’s request, the Claimants responded to the
           Respondent’s objections by letter dated 22 July 2016. The Tribunal decided to reserve its
           decision on the Respondent’s objection until this Award. It has decided to reject that
           objection, conscious also that these objected parts play no material part in the reasons for
           or result of this Award.

1.94       Closing: This proceeding was closed on August 31, 2017, pursuant to ICSID Arbitration
           Rule 38(1).




6
    Third (June) Hearing D2.110-111.


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        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 35 of 622




        The Parties’ Claims for Relief
1.95    The Claimants’ Requests: The Claimants claim, as finally pleaded in Section VI of their
        Post-Hearing Brief (as also confirmed by the Claimants’ Reply on the Merits and Counter-
        Memorial on Jurisdiction, Paragraph 601), requested that the Tribunal render an Award:

             a. Declaring that the Respondent has violated Articles 4, 6 and 11 of the Treaty;

             b. Ordering that the Respondent pay to KOMSA compensation for the expropriation
                 of its investment and historical losses in the amount of US$ 444.6 million (as at 30
                 January 2015, subject to adjustment as at the date of the Award); 7

             c. Ordering that the Respondent pay to KNI compensation for the expropriation of its
                 investment in the amount in the amount of US$ 227.8 million (as at 30 January
                 2015; subject to adjustment as at the date of the Award); 8

             d. Declaring that the Respondent’s expropriation of the Claimants’ investments was
                 unlawful;

             e. Ordering such other damages or relief that the Tribunal deems appropriate for the
                 unlawful character of the Respondent’s expropriation and other violations of the
                 BIT;

             f. Ordering that the Respondent pay interest on the amounts that the Tribunal awards
                 to the Claimants (including costs and interest), at the LIBOR three-month US
                 Dollar rate plus 2%, compounded on a quarterly basis, from the date of the award
                 until full payment of the amount of the award by the Respondent;

             g. Ordering that the Respondent pay the costs of the arbitration, including all the fees
                 and expenses of ICSID and the Tribunal and all the legal costs and expenses
                 incurred by the Claimants, apportioned between the Claimants in the ratio in which



7
  Updated figure as included in the Claimants’ Post Hearing Brief. The compensation requested in Claimants’ Reply
  on the Merits and Counter-Memorial on Jurisdiction for KOMSA amounts to US$ 432.7 million as of 31 August
  2013.
8
  Updated figure as included in the Claimants’ Post Hearing Brief. The compensation requested in Claimants’ Reply
  on the Merits and Counter-Memorial on Jurisdiction for KNI amounts to USD 220.8 million as of 31 August 2013.


                                                       19
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 36 of 622




                 they are awarded compensation, with interest calculated in accordance with
                 paragraph [f], directly above; and

             h. Ordering such other and further relief as the Tribunal deems appropriate.

1.96    In their Rejoinder on Jurisdiction, 9 the Claimants requested that the Tribunal “dismiss the
        Respondent’s objections to jurisdiction in their entirety and that the costs for the
        jurisdictional proceedings be awarded to the Claimants.”

1.97    The Respondent’s Requests: The Respondent, as finally pleaded in its Rejoinder on the
        Merits 10 and in its Post-Hearing Brief, 11 claims the following relief from the Tribunal:

           “(i) declaring that KNI’s interests in the Offtake Agreement do not constitute an
           investment within the meaning of Article 25 of the ICSID Convention and/or Article
           1(2) of the Venezuela-Switzerland BIT and, thus, are not within the jurisdiction of the
           Arbitral Tribunal;
           (ii) dismissing KNI’s claims in their entirety for lack of jurisdiction;
           (iii) declaring that the Republic has not breached any of the standards of protection
           under the Venezuela-Switzerland BIT;
           (iv) dismissing all of the Claimants’ claims;
           (v) awarding the Republic all costs and fees incurred in this arbitration, including
           reasonable attorneys’ fees and expert fees;
           (vi) granting the Republic any other relief the Arbitral Tribunal determines to be
           appropriate.”




9
   Cls. Rej., Paragraph 93.
10
   Resp. Rej., Paragraph 531.
11
   Resp. PHB, Paragraph 273.


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      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 37 of 622




                            PART II: THE PARTIES’ DISPUTE



      Introduction
2.1   Inevitably, as these arbitration proceedings progressed, the issues arising from the Parties’
      original dispute became more complex and significantly more numerous, extending
      originally from an ostensible dispute largely about quantum (in regard to KOMSA’s
      expropriation claim at the First Session) to a major dispute about jurisdiction, liability,
      compensation, interest and costs by the time of this Award.

2.2   The Tribunal here summarises only the Parties’ respective cases as to jurisdiction, liability
      and quantum. Other parts of the Parties’ respective cases are addressed later in this Award.

      The Claimant’s Case
2.3   Jurisdiction: In summary, as to jurisdiction, the Claimants contend that the Tribunal has
      jurisdiction over the merits of the Parties’ investment dispute in this arbitration. The
      Claimants submit that the dispute arises from several violations by the Respondent of its
      obligations under the Treaty and the Claimants’ corresponding rights (including the
      Claimants’ rights under customary international law) entitling the Claimants to full
      compensation for the losses that the Claimants have suffered as a direct result of the
      Respondent’s violations of the Treaty.

2.4   The Claimants contend that the Claimants and the Respondent have each consented in
      writing to refer such an investment dispute to arbitration in accordance with the ICSID
      Convention, as expressed in Article 25 of the ICSID Convention and Article 9 of the
      Treaty. The Claimants contend that the Respondent’s written consent became effective
      upon the entry into force of the Treaty on 30 November 1994, duly accepted by the
      Claimants with their Request for Arbitration of 28 June 2011.

2.5   The Claimants contend that the Parties’ dispute comprises an “investment dispute” between
      a Contracting Party and investors of another Contracting Party and falls within the scope
      of the Respondent’s consent under Article 25 of the ICSID Convention and Article 1(1)




                                               21
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 38 of 622




           (defining “investors”), Article 1(2) (defining “investment”) and Article 9(5) of the
           Treaty. 12

2.6        The Claimants submit that both KOMSA and KNI are companies constituted under the
           laws of Switzerland and are accordingly “investors” as defined in Article 1(1)(b) of the
           Treaty. The Claimants also submit that KOMSA and KNI possessed “investments” in
           Venezuela, as defined in Article 1(2) of the Treaty. In particular, the Claimants submit
           that: (i) KOMSA, through Koch José, held an interest in the equity of FertiNitro, thereby
           constituting an “investment” under the Treaty; and (ii) KNI held an interest in the Offtake
           Agreement between KNI and FertiNitro, 13 constituting rights to performance under a
           contract and thereby an “investment” under the Treaty.

2.7        The Claimants contend that there is a “dispute” between the Claimants and the Respondent
           in respect of the Respondent’s failure to comply with its obligations under the Treaty
           towards the Claimants’ investments in Venezuela, including the Respondent’s
           expropriation of KOMSA’s interest in FertiNitro and KNI’s interest in the Offtake
           Agreement, together with the Respondent’s failure to provide any compensation to the
           Claimants.

2.8        Accordingly, so the Claimants conclude, there is an “investment dispute” between a
           Contracting Party and investors of the other Contracting Party that falls within the scope
           of the Respondent’s consent to arbitration under the Treaty and the ICSID Convention.

2.9        The Claimants contend that they requested consultations with the Respondent – to no avail.
           On 9 November 2010, Mr Steve Packebush (of KOMSA) sent a letter to Mr Saúl Ameliach
           (President of Pequiven), copied to His Excellency Rafael Ramírez (the Respondent’s
           Minister of Energy and Petroleum) to notify formally the Respondent of the investment
           dispute between the Claimants and the Respondent relating (as the Claimants contended)




12
     Agreement between the Swiss Confederation and the Republic of Venezuela on the Reciprocal Promotion and
     Protection of Investments (18 November 1993) (“Treaty”) (CLA-1).
13
     Offtake Agreement by and among Pequiven, IPSL, and Koch Oil SA as Buyers and FertiNitro as Seller, dated 8
     April 1998 (“Offtake Agreement”) (C-19).


                                                       22
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 39 of 622




           to the Respondent’s violations of the Treaty. 14           The Claimants there proposed that
           representatives of the Claimants should meet representatives of the Respondent “to
           commence discussions and consult as to how Venezuela will compensate Koch for the loss
           of its investments in Venezuela.” The Claimants contend that Pequiven failed to make any
           offer to the Claimants of compensation for the Respondent’s violations of the Treaty. The
           Claimants then instructed their legal representatives (Latham & Watkins) to submit to the
           Respondent a further request for consultations, by letter of 20 January 2011 to the
           Respondent’s President, copied to (inter alios) the Respondent’s Attorney General. 15
           Subsequently, according to the Claimants, meetings were held between representatives of
           the Claimants and the Respondent, producing no satisfactory result to either Claimant.

2.10       Accordingly, the Claimants conclude that they did request and hold consultations with the
           Respondent in order to arrive at an amicable settlement of the Parties’ dispute, as required
           by the Treaty. The Claimants further conclude that they also waited until the expiry of the
           ‘cooling-off’ period required under Article 9(2) of the Treaty, thereupon becoming entitled
           to submit the Parties’ dispute to ICSID for arbitration, as they did with their Request for
           Arbitration of 28 June 2011 and, further, that this Tribunal has jurisdiction to decide the
           Parties’ dispute.

2.11       Liability: In summary, as to liability, the Claimants contend that the Respondent violated
           its obligations in the Treaty causing loss and damage to each of the Claimants and their
           investments.

2.12       The Claimants contend that during the 1990s, Venezuela was actively pursuing a policy of
           encouraging foreign investment, in particular in its hydrocarbon and petrochemicals
           industries.    At this time, Pequiven (as the Respondent’s state-owned petrochemical
           company) was seeking foreign partners to participate in the development of a fertilizer
           plant in José in the Venezuelan state of Anzoátegui.




14
     Letter from Mr Steve Packebush, KOMSA to Mr Saúl Ameliach, Pequiven SA (9 November 2010) (RfA, Exh. 6).
15
     Letter from Robert Volterra, Latham & Watkins to President Hugo Rafael Chávez Frías (20 January 2011) (RfA,
     Exh. 7).


                                                        23
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 40 of 622




2.13    In 1997, KOMSA was selected as a foreign partner with the requisite expertise to
        participate in the development of the proposed fertilizer plant and to market the fertilizer
        to be manufactured by the proposed plant. KOMSA and Pequiven proceeded to enter into
        a joint venture for the construction and operation of two ammonia and two granular urea
        plants in José (the “FertiNitro Plant”) and the marketing and sale of the ammonia and urea
        produced at the Plant.

2.14    In March 1998, a series of joint venture companies were formed for the purpose of
        implementing the project. These were the FertiNitro Companies (here collectively called
        “FertiNitro”). External funding for the development of the FertiNitro Plant was secured
        on the understanding that the offtake from the Plant would be sold to KNI, Pequiven and
        International Petrochemical Sales Limited (a subsidiary of Pequiven) on the terms
        contained in the Offtake Agreement. According to the Claimants, from the outset, the
        Offtake Agreement was integral to the Claimants’ investments.

2.15    Once external funding for the development of the Plant had been secured, Pequiven,
        KOMSA, Snamprogetti Netherlands BV (“Snamprogetti”) and Polar José Investments,
        Limited (“Polar”) entered into a series of agreements in respect of the project. These
        agreements included: (i) the “Joint Investors’ Agreement” dated 8 April 1998 between
        Pequiven, KOMSA, Snamprogetti and Polar, 16 which provided (inter alia) that FertiNitro
        would be 35% owned by Koch José, 35% owned by Pequiven, 20% owned by
        Snamprogetti and 10% owned by Polar; (ii) the “Offtake Agreement” dated 8 April 1998,17
        which granted to KOMSA the right to purchase a guaranteed quantity of ammonia and urea
        produced by FertiNitro at a discounted price for a 20-year term (KOMSA, through Koch
        José, later owned 25% of the equity in FertiNitro; and KOMSA’s rights under the Offtake
        Agreement later vested in KNI) and (iii) the “EPC Contract” dated 8 April 1998, 18 for the




16
   Joint Investors’ Agreement by and among Pequiven, Koch Oil SA, Snamprogetti Netherlands BV, and Polar Uno,
   CA (8 April 1998) (“JIA”) (C-18).
17
   Offtake Agreement (C-19).
18
   Engineering, Procurement and Construction Contract by and between FertiNitro and Snamprogetti (8 April 1998)
   (C-24).


                                                      24
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 41 of 622




       construction of the Plant between FertiNitro, CEC and Snamprogetti as the main
       contractor.

2.16   Construction of the Plant commenced in May 1998 and was completed in December 2001
       when FertiNitro granted the provisional acceptance certificate to Snamprogetti. Earlier, in
       May 2001, FertiNitro had commenced commercial production at the Plant. The Claimants
       submit that, other than certain periods of interruption (for example when PDVSA failed to
       provide methane gas or Pequiven failed to provide electricity to the Plant), commercial
       production at the Plant continued until the Respondent expropriated FertiNitro on 11
       October 2010, as summarised below.

2.17   The Claimants contend that the Respondent took unlawful measures against the Claimants’
       investments in violation of the Treaty, which have caused the Claimants to suffer
       considerable losses. These measures culminated on 11 October 2010 in the expropriation
       of KOMSA’s interest in FertiNitro and the expropriation of KNI’s interest in the Offtake
       Agreement. The Respondent failed to provide to the Claimants any compensation for its
       expropriation of their investments. In brief, the Claimants list the Respondent’s unlawful
       measures against the Claimants’ investments, in violation of Articles 4(1), 4(2), 6, and
       11(2) of the Treaty, as follows.

2.18   New and Increased Taxes: The Respondent imposed on FertiNitro a series of new taxes
       and tax increases with the object and effect of diverting its profits to the Respondent. This
       is the first of KOMSA’s “Historical Losses”.

2.19   These new taxes eroded the profitability of FertiNitro and deprived KOMSA of the
       economic benefits of its investments. These taxes and tax increases were directly contrary
       to KOMSA’s legitimate expectations on which it relied when deciding to invest in
       FertiNitro. For example, in December 2005, the Respondent imposed a Narcotic and
       Psychotropic Substances Tax on FertiNitro that obliged FertiNitro to allocate funds to
       specified social programs or to provide to the Respondent 1% of FertiNitro’s annual net
       income. At about this time, the Respondent further enacted the Organic Law on Science,




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        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 42 of 622




        Technology and Innovation. 19 It obliged FertiNitro, beginning on 1 January 2006, to
        allocate funds to specified scientific development programs or to provide to the Respondent
        0.5% of its gross income generated in Venezuela. Further, the municipal tax applicable to
        FertiNitro was increased in 2006 from 1% to 2% and in 2007 to 2.4% of FertiNitro’s
        turnover. These measures, particularly when considered cumulatively, negatively affected
        the profitability of FertiNitro at the expense of KOMSA and to the benefit of the
        Respondent.

2.20    VAT: The Respondent failed promptly or at all to provide to FertiNitro VAT rebates to
        which they were entitled. This is the second of KOMSA’s “Historical Losses”.

2.21    In May 1999, the Respondent enacted the Value Added Tax (“VAT”) Law. 20 This law
        provided for a zero rate tax for exporters and granted to such exporters the right to recover
        Special Tax Rebate Certificates (“CERTs”) in respect of VAT paid on the purchase or
        import of goods and services. Under the VAT law, the taxpayer would submit a request to
        the tax administration of the Respondent, the “SENIAT” (abbreviated from the Spanish
        “Servicio Nacional Integrado de Administración Aduanera y Tributaria”); and the
        SENIAT would then issue a “CERT” (abbreviated from the Spanish, “Certificados
        Especiales de Reembolso Tributario”). The taxpayer could then use its CERTs to pay any
        federal revenue taxes (including income tax and VAT) or assign them to third parties for
        similar purposes. FertiNitro paid substantial amounts of VAT to the Respondent during
        the course of its operations. In respect of these payments, FertiNitro duly submitted
        requests to the SENIAT.

2.22    However, from about 2005 onwards, the SENIAT unreasonably and arbitrarily delayed the
        issue of CERTs to FertiNitro. This delay resulted in losses to FertiNitro particularly when
        the CERTs were paid after considerable delay during which local inflation - increased and
        the Venezuelan Bolivar was devalued against hard currencies (including the US Dollar).
        The Respondent also failed to provide to FertiNitro a substantial amount of VAT rebates




19
   Organic Law on Science, Technology and Innovation (effective as of 1 January 2006) (“Science and Technology
   Law”) (C-43).
20
   Law of Partial Reform of the Law on Value Added Tax (11 August 2004) (C-55).


                                                     26
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 43 of 622




         despite its obligation to do so. This arbitrary conduct by the Respondent further eroded the
         profitability of FertiNitro at the expense of KOMSA (and its other non-State shareholders),
         to the benefit of the Respondent.

2.23     Urea Decree and Urea Resolution: The Respondent issued a Urea Decree and a subsequent
         Urea Resolution that obliged FertiNitro to sell urea to the Respondent (through Pequiven)
         at substantially below production costs and market values, as summarised below. This is
         the third of KOMSA’s “Historical Losses”.

2.24     On 26 February 2007, the President of the Respondent signed Decree 5,218 (the “Urea
         Decree”). 21 The Urea Decree was published in the Official Gazette No. 38,638 on 6 March
         2007 and took effect on that date.                Article 2 of the Urea Decree provided that:
         “Manufacturers, suppliers […] exporters of nitrogenous fertilizers […] are required to
         supply these on a priority basis to the national market, in accordance with the price
         regulations established for their sale.” Article 3 provided that the prices would be
         established by joint resolutions of the Ministries of Agriculture and Land, Light Industries
         and Trade and Energy and Petroleum.

2.25     Pursuant to Article 3 of the Urea Decree, the Respondent’s Ministries of Agriculture, Light
         Industries and Trade and Energy and Petroleum issued a joint resolution (the “Urea
         Resolution”). 22 It was published in the Official Gazette No. 38,674 on 2 May 2007. The
         Urea Resolution provided (inter alia) that Pequiven was solely authorised to administer the
         delivery of urea in accordance with the Urea Decree and that Pequiven could purchase “the
         urea it requires to cover the needs of the Nation, from any manufacturer established in the
         country, at the maximum bulk sales price at the plant gate of Bs. 155,200/MT.” 23

2.26     The sales prices at which FertiNitro was obliged to sell urea to Pequiven were substantially
         less than the costs of production of urea incurred by FertiNitro. Other than Pequiven,




21
   Decree 5,218 (26 February 2007) (“Urea Decree”) (C-80).
22
   Joint Resolution by the Ministry of the People’s Power for Agriculture and Land, the Ministry of the People’s Power
    for Light Industry and Trade, and the Ministry of the People’s Power for Energy and Petroleum (3 May 2007)
    (“Urea Resolution”) (C-82).
23
   Urea Resolution (C-82), Art. 10.


                                                         27
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 44 of 622




       FertiNitro was the sole manufacturer and exporter of urea in Venezuela. Accordingly, the
       Urea Decree and the Urea Resolution were aimed by the Respondent directly at FertiNitro
       and compelled FertiNitro to divert urea to the Respondent (through Pequiven) at prices that
       were below production costs. The quantity of urea that the Respondent (through Pequiven)
       could purchase from FertiNitro at the price set in the Urea Resolution was unlimited.

2.27   Subsequently, as required by the Urea Decree and the Urea Resolution, FertiNitro sold
       substantial quantities of urea to Pequiven at prices significantly below its production costs.
       These arbitrary and discriminatory measures by the Respondent eroded the profitability of
       FertiNitro at the expense of the Claimants (and the other non-State shareholders), to the
       benefit of the Respondent.

2.28   Interference - FertiNitro: The Respondent (acting through Pequiven) progressively
       interfered in the management and operation of FertiNitro.

2.29   KOMSA invested in FertiNitro with the legitimate expectation that its investment was a
       commercial venture in which KOMSA and Pequiven would be equal partners. KOMSA
       had a legitimate expectation that any control that Pequiven might have over FertiNitro
       would be balanced by KOMSA’s control over FertiNitro. KOMSA had a legitimate
       expectation that FertiNitro would be operated as a commercial enterprise for the generation
       of profits for all its shareholders.

2.30   From around 2006, the Respondent, acting through Pequiven, proceeded to interfere in the
       management and operation of FertiNitro and ultimately assumed control over FertiNitro.
       The Respondent’s strategy culminated in the expropriation of FertiNitro by the Respondent
       on 11 October 2010.

2.31   Expropriation - FertiNitro: The Respondent expropriated FertiNitro on 11 October 2010
       with no compensation, in breach of Article 6 of the Treaty.

2.32   On 10 October 2010, the President of the Respondent announced the expropriation of
       FertiNitro on his weekly television broadcast “Aló Presidente”. During this broadcast, the
       President signed what appeared to be a decree providing for the expropriation of




                                                28
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 45 of 622




        FertiNitro. 24 On 11 October 2010, Decree Number 7713 dated 10 October 2010 was
        published in Official Gazette No. 380.113.34.                It provided for the expropriation of
        FertiNitro (the “Expropriation Decree”). 25

2.33    The Expropriation Decree includes the following provisions: Article 1 provides for the
        mandatory acquisition by the Respondent of the assets of FertiNitro; Articles 2, 3 and 5
        specifically task Pequiven with the role of carrying out the expropriation of FertiNitro and
        identify Pequiven as the “expropriation entity”; and Article 6 orders Pequiven to occupy
        the assets. The Expropriation Decree made no provision for the payment of compensation
        to KOMSA in accordance with the Treaty.

2.34    On 11 October 2010, Venezuelan State television reported that the Respondent’s Minister
        of Energy and Petroleum of the Respondent had visited the Plant in person in order to take
        it over. In his public address at the FertiNitro Plant, the Minister was reported to have
        stated, “[W]e are already in control of the Plant and we are carrying out an inspection of
        our facilities.” 26 Also on 11 October 2010, Mr Clark Inciarte (who was at that time both
        President of FertiNitro and an employee of Pequiven) indicated during a telephone call
        with the two KOMSA-appointed directors of FertiNitro that FertiNitro was under the
        complete control of the State and that its board of directors had ceased to function. 27
        Following the announcement of the Expropriation Decree, no board of directors or Finance
        Committee meetings of FertiNitro were convened by FertiNitro.

2.35    KOMSA had received no advance notice that the Respondent’s President would make this
        announcement or that the Respondent would expropriate FertiNitro. KOMSA had no
        opportunity to object to this expropriation of its investment in FertiNitro. To the contrary,
        the expropriation was announced by the Respondent’s President as a ‘fait accompli’.




24
   Transcript of Spanish language video file, “Minister Ramírez Heads Takeover of FertiNitro” (11 October 2010) (C-
   107).
25
   Decree 7,713 (10 October 2010) (“Expropriation Decree”) (C-9).
26
   Transcript of Spanish language video file, “Minister Ramírez Heads Takeover of FertiNitro” (11 October 2010) (C-
   107).
27
   Witness Statement of Brent W. Gwaltney (30 May 2012) (“Gwaltney WS1”), Paragraph 122.


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           Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 46 of 622




2.36       Expropriation - KNI: The Respondent also expropriated KNI’s interest in the
           Offtake Agreement without compensation, in breach of Article 6 of the Treaty, on 11
           October 2010. Contemporary statements made by representatives of Pequiven, as the
           expropriating entity for the Respondent which had taken over FertiNitro under the
           Expropriation Decree, confirmed to the Claimants that KNI’s interest in the Offtake
           Agreement had also been expropriated by the Respondent.

2.37       Compensation: In summary, the Claimants contend that the Respondent’s several
           violations of the Treaty have caused considerable losses to the Claimants. Accordingly,
           the Respondent is obliged to provide to the Claimants full compensation for such losses in
           accordance with the applicable principles of customary international law.

2.38       The Claimants claim full compensation including (but not limited to) the profits which
           KOMSA has lost as a result of the Respondent’s expropriation of its investment in the
           equity of FertiNitro, its Historical Losses and the Respondent’s expropriation of KNI’s
           interest in the Offtake Agreement.

2.39       As later formulated by the Claimants, the compensation claimed by KOMSA for the
           unlawful expropriation of its interest in FertiNitro and its Historical Losses amount to US$
           444.6 million (as at 30 January 2015); and the compensation claimed by KNI for the
           expropriation of its interest in the Offtake Agreement amounts to US$ 227.8 million (also
           as at 30 January 2015). 28

           The Respondent’s Case
2.40       Jurisdiction: In summary, the Respondent objects to the competence or jurisdiction of the
           Tribunal and ICSID to address KNI’s claims regarding the Offtake Agreement. The
           Respondent contends that it is a “foundational principle of international investment law”
           that the jurisdiction of arbitral tribunals is limited to “investments” within the meaning of
           the ICSID Convention and the applicable investment treaty, law or agreement. In this
           arbitration, therefore, KNI may assert a claim only if the Offtake Agreement (a mere




28
     Claimants’ Post-Hearing Brief (30 January 2015) (“Cls. PHB”), p. 99 (Section VI, (b)(c)).


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        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 47 of 622




        commercial sales agreement) constitutes an “investment” within the meaning of both
        Article 25(1) of the ICSID Convention and Article 1(2) of the Treaty. The burden of proof
        lies with KNI, which must prove that it has made a covered investment under the ICSID
        Convention and the Treaty. The Respondent contends that KNI has failed to do so because
        no such investment exists with respect to the Offtake Agreement.

2.41    The meaning of “investment” has an objective and inherent meaning pursuant to both the
        ICSID Convention and the Treaty. That meaning, in turn, requires the making of a
        “contribution”, over a certain “duration”, with an element of “risk” and subject to
        “territoriality”. A mere commercial sales agreement is not an “investment”. KNI’s failure
        to fit the Offtake Agreement within the meaning of “investment” strips both ICSID and
        this Tribunal of any competence and jurisdiction concerning the alleged expropriation of
        the Offtake Agreement in October 2010 and even more so over the termination of the
        Offtake Agreement by FertiNitro in February 2012.

2.42    Liability: In summary, the Respondent denies any liability to either Claimant under the
        Treaty. The Respondent is a sovereign state and guarantor of the public interest within
        Venezuela. The Respondent contends that, as such, it has the obligation and the authority
        under both national and international law to act in the interest of the people of Venezuela
        and their general well-being, including the issuance of laws and regulations and the
        mandatory acquisition of private interests. This right is embedded in the Respondent’s
        Constitution29 and its Expropriation Law for Public or Social Benefit of 1 July 2002 (the
        “Expropriation Law”). 30 These texts provide the legal framework for expropriation in the
        public interest, as also under customary international law and the Treaty.

2.43    The Respondent repeatedly confirmed that sovereign control over the domestic production
        of food and food-related products was a matter of national importance in Venezuela. To
        that end, in 2007 the Respondent issued the Urea Decree. 31 This Decree declared food
        production to be in the “national interest,” “essential for the economic and social




29
   Constitution of the Bolivarian Republic of Venezuela (15 February 2009) (R-3) (C-47).
30
   Expropriation Law for Public or Social Benefit (1 July 2002) (R-9, R-53, C-140).
31
   Urea Decree (C-80).


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        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 48 of 622




        development of the Nation,” and “an essential element of national safety and sovereignty.”
        As a consequence, the Urea Decree declared nitrogenous fertilizers as goods of “basic
        necessity” which were critical to the protection of Venezuela’s national interest.

2.44    In 2008, the Respondent issued Decree No. 5,835 (“Decree 5,835”) 32 to ensure that the
        supply of products necessary to food production could continue uninterrupted. This Decree
        declared goods necessary for food production and products of “basic necessity” to be items
        in the public utility and social interest.

2.45    Through these measures, and the promulgation of various national plans designed to boost
        agricultural productivity, the Respondent articulated a public purpose of securing a
        sufficient supply of nitrogenous fertilizer to achieve its goal of food sovereignty within
        Venezuela.

2.46    Historical Losses: KOMSA asserts, wrongly, that the Respondent breached Articles 4(1),
        4(2), and 11(2) of the Treaty in regard to its claims for “Historical Losses.” These claims
        relate principally to the following: (i) the enactment of the Organic Law on Science,
        Technology and Innovation (the “Science and Technology Law”); 33 (ii) the issuance of the
        Municipal Ordinance by the Municipality of Simón Bolívar increasing a pre-existing
        municipal tax (the “Municipal Ordinance”); 34 (iii) the Respondent’s alleged refusal to
        provide to FertiNitro certain VAT credits; and (iv) the Urea Decree and the Urea
        Resolution. The Respondent submits that these claims for “Historic Losses” are groundless
        as described below.

2.47    New and Increased Taxes: The Science and Technology Law was a measure of general
        application that required companies to invest a small percentage of their revenues back into
        the company through scientifically focused research and development. Nothing in that law
        conflicts with the Respondent’s obligations under the Treaty. The increase in pre-existing
        municipal tax, from 1% to 2% and ultimately to 2.4%, did not violate any of the



32
   Decree 5,835 (28 January 2008) (R-23).
33
   Science and Technology Law (C-43).
34
   Ordinance for Taxes on Industrial, Commercial, Service or Similar Economic Activities (29 December 2005) (C-
   45).


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           Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 49 of 622




           Respondent’s obligations under the Treaty. This municipal tax is generally applicable to
           entities operating in the Municipality of Simón Bolívar; it was not directed at FertiNitro;
           and it was not punitive.

2.48       VAT: As regards the Claimants’ claim regarding VAT credits, the factual evidence shows
           that all VAT credits applied for by FertiNitro were, in fact, granted by the Respondent.

2.49       The Urea Decree and Urea Resolution: The Urea Decree and Urea Resolution were vital
           and necessary measures intended to give effect to the Respondent’s policy of securing
           access to materials critical to the production of food in Venezuela. Those measures
           required FertiNitro to sell limited quantities of urea to Pequiven to cover any domestic
           demand that could not be met through Pequiven’s own production. The Respondent was
           forced to enact such measures after FertiNitro’s refusal to make such sales voluntarily on
           the basis of need.

2.50       Interference – FertiNitro: There is no evidence that the Respondent interfered with the
           management and operation of FertiNitro. To the contrary, the evidence shows that the
           Respondent took no steps to interfere with FertiNitro’s management or operation.
           FertiNitro’s board of directors consisted of nine directors, of which only three were
           appointed by Pequiven, with the remaining six appointed by KOMSA and FertiNitro’s
           other shareholders. According to the Joint Investors’ Agreement of 8 April 1994 (the
           “JIA”), no decision could be taken without KOMSA’s acceptance. 35

2.51       Expropriation - FertiNitro: The Respondent denies this claim.           FertiNitro was a
           Venezuelan corporation and, as such, operated in Venezuela within the legal, political,
           social and economic framework of Venezuela. Pequiven was a Venezuelan State-owned
           petrochemical company and the 35% owner of FertiNitro and, as such, it spent years
           unsuccessfully attempting to persuade FertiNitro voluntarily to engage in commercial
           activities that would further the Respondent’s legitimate and reasonable policy objectives




35
     JIA (C-18).


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           Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 50 of 622




           relating to food security in Venezuela. When those efforts failed, Pequiven attempted to
           purchase FertiNitro outright, but Pequiven was rebuffed by KOMSA.

2.52       After it became clear that FertiNitro would not voluntarily undertake commercial activities
           designed to accommodate the Respondent’s interests, the Respondent was left with no
           option but to set in motion procedures to acquire FertiNitro in accordance with Venezuelan
           law. Thus, on 11 October 2010, the Respondent published the Expropriation Decree,
           ordering the mandatory acquisition of FertiNitro’s assets. This Expropriation Decree
           declared that the acquisition was part of the Respondent’s long-standing policy to protect
           Venezuela from the harmful effects of fluctuations in the global food market by securing
           domestic and sovereign control over industries critical to the production of food within
           Venezuela.

2.53       Although the Expropriation Decree initiated the acquisition process, it did not in and of
           itself operate to transfer the ownership of FertiNitro’s assets. According to Venezuelan
           law, such a transfer only occurs following a judgment by the Venezuelan courts. Pequiven,
           as the designated acquiring entity, initiated the necessary proceedings in the Venezuelan
           courts on 26 July 2011, after KOMSA withdrew from negotiations over the amount of
           compensation due following FertiNitro’s acquisition. 36

2.54       The Respondent’s actions in relation to the mandatory acquisition of FertiNitro’s assets
           were lawful and did not constitute any breach of the Treaty. The evidence shows that the
           Respondent’s actions surrounding the issuance of the Expropriation Decree and its
           application were lawful and carried out by the Respondent in accordance with due process.
           The Claimants’ efforts to seek compensation, therefore, must fail as a matter of liability
           under the Treaty. Moreover, Venezuelan law provides more than adequate procedures to
           compensate KOMSA. For all these reasons, the Tribunal should dismiss KOMSAs’ claim.

2.55       Expropriation – KNI: This claim is denied by the Respondent (in addition to its
           jurisdictional objection).        KNI asserts, wrongly, that KNI’s interest in the Offtake




36
     Decision accepting jurisdiction to hear the Request of Arbitration, Court of First Instances of the Judicial Circuit
     Anzoátegui (29 July 2011) (R-63).


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 51 of 622




       Agreement was expropriated by the Respondent.             The Offtake Agreement was a
       commercial sales contract, by which Pequiven, IPSL and KNI agreed to purchase 100% of
       FertiNitro’s production; it was not an “investment” by KNI; and it was not expropriated by
       the Respondent.

2.56   As submitted in the Respondent’s jurisdictional objection, KNI’s claim flies in the face of
       the well-settled principle that sales contracts do not constitute “investments” pursuant to
       Article 25 of the ICSID Convention; and a commercial sales contract, such as the Offtake
       Agreement, does not satisfy the definition of “investment” in the Treaty.

2.57   The Expropriation Decree did not address or cover the Offtake Agreement. The factual
       evidence shows that the Offtake Agreement remained in effect for over 16 months after the
       date when the Expropriation Decree was issued by the Respondent.                  Ultimately,
       FertiNitro’s directors (not the Respondent) decided to terminate the Offtake Agreement on
       28 February 2012. That decision was made for commercial reasons and was taken solely
       by FertiNitro. In these circumstances, the Claimants’ claim that KNI’s interest in the
       Offtake Agreement was expropriated by the Respondent must fail under the Treaty.

2.58   Compensation: In summary, in the event that the Tribunal determines that the
       Respondent’s actions in relation to the mandatory acquisition of FertiNitro’s assets did
       violate Article 6 of the Treaty, the Claimants are entitled only to the “fair market value” of
       KOMSA’s interests in FertiNitro, as provided by both Venezuelan and international law.
       Despite the clarity of Venezuelan and international law, the Claimants are seeking
       substantially more than a “fair market value” in this arbitration.

2.59   Further, the Claimants have asserted several additional claims in this arbitration, for which
       they argue they are entitled to extraordinary, unreasonable and unsupported amounts for
       KNI’s interest in the Offtake Agreement and additional amounts as KOMSA’s “Historical
       Losses” for the alleged breaches of Articles 4(1), 4(2), 6 and 11(2) of the Treaty. There is
       no support for these claimed amounts; and the Claimants have failed to substantiate any
       losses associated with those alleged breaches of the Treaty.

2.60   The Respondent concludes that the amount of compensation claimed by the Claimants in
       this arbitration is obscenely overstated. The Treaty sets forth a precise and exhaustive


                                                35
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 52 of 622




standard of compensation. Under this standard, the Claimants are entitled only to the “fair
market value” of KOMSA’s interest in FertiNitro immediately before the issuance of the
Expropriation Decree on 11 October 2010. There is no legal basis to support the Claimants’
position that they are both entitled to some measure of punitive damages by virtue of the
allegedly unlawful nature of the Respondent’s acts. In particular, the amount the Claimants
seek in relation to the Expropriation Decree is grossly overstated; and the Claimants’ “fair
market value” calculations are wrongly predicated on untenable assumptions.




                                        36
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 53 of 622




                             PART III: THE PRINCIPAL ISSUES



      Introduction
3.1   The Tribunal lists below the six principal issues relevant to this Award. This list is not
      exhaustive of all issues raised by the Parties in this arbitration.

      The Principal Issues
3.2   Issue 1 – Jurisdiction: KNI and the Offtake Agreement (not KOMSA): This jurisdictional
      issue arises under Articles 1(2) and 2 of the Treaty and Article 25(1) of the ICSID
      Convention. This jurisdictional issue is addressed in Part VI of the Award below.

3.3   Issue 2 – Factual Background: These factual matters are addressed principally in Part V
      of this Award below, as also when addressing issues of jurisdiction, liability and
      compensation in Parts VI, VII, VIII and IX.

3.4   Issue 3: Liability: The issues of liability arise under Articles 4(1), 4(2), 6 and 11(2) of the
      Treaty, as cited in Part IV of this Award. Liability for expropriation under Article 6 of the
      Treaty, as regards KOMSA and KNI respectively, is addressed in Part VII of this Award
      below. Liability under Articles 4(1), 4(2) and 11(2) of the Treaty, as regards KOMSA, is
      addressed in Part VIII of this Award below.

3.5   Issue 4 – Compensation: This issue arises under the Treaty and, as submitted by the
      Claimants, customary international law. As regards the former, Article 6 of the Treaty
      provides, in material part: “… Such compensation shall amount to the market value of the
      investment expropriated immediately before the expropriatory action was taken or became
      public knowledge, whichever is earlier, shall include interest from the date of
      expropriation, be paid without delay in a freely convertible currency to the person entitled
      thereto and be freely transferable.” Compensation is addressed in Part IX of this Award
      below.

3.6   Issue 5 – Interest: This issue arises under the Treaty and, as submitted by the Claimants,
      under customary international law. As to the former, Article 6 of the Treaty provides, in




                                                37
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 54 of 622




       material part that compensation thereunder “shall include interest from the date of
       expropriation.” Interest is addressed in Part XI of this Award below.

3.7    Issue 6 – Costs: The issue of legal and arbitration costs arises under Article 61(2) of the
       ICSID Convention and Rule 47(1)(j) of ICSID Arbitration Rules. Costs are also addressed
       in Part XI of this Award below.

       Detailed Issues, Questions and Related Matters
3.8    During the arbitration, the Parties and (for the Third Hearing) also the Tribunal developed
       successive lists of issues, questions and ancillary comments on related matters. These are
       lengthy, repetitive and duplicate much of what already appears in a different form
       elsewhere in this Award. Nevertheless, the schedule below served as a check-list of matters
       that the Tribunal addressed during the Hearings and in arriving at its several decisions in
       this Award. However, it has not been necessary for the Tribunal to decide all these matters.
       Again, the schedule is not exhaustive of all detailed issues, questions and related matters
       raised by the Parties during the arbitration.




       * Schedule of Detailed Issues, Questions and Related Matters

       Issue 1 – Jurisdiction: KNI and the Offtake Agreement

3.9    According to the Respondent, as already briefly summarised above, the Tribunal has no jurisdiction to
       address the claim made by KNI in respect of the Offtake Agreement. According to the Claimants, the Offtake
       Agreement was an integral part of the FertiNitro Project; and KNI’s interest in the Offtake Agreement
       qualifies as an “investment” under both the ICSID Convention and the Treaty. The Claimants therefore take
       issue with the Respondent’s jurisdictional objection.

       Issue 2 – Factual Background

3.10   According to the Claimants, three essential facts were and remain entirely unchallenged on the evidential
       record adduced in this arbitration. First, the Respondent’s ‘Apertura’ policy, and its other assurances,
       precipitated the Claimants’ investments in Venezuela. Second, starting in 2005, the Respondent
       progressively interfered with the Claimants’ investments. Third, on 11 October 2010, without any formal
       notice, the Respondent openly and unambiguously expropriated both KOMSA’s equity interest in FertiNitro
       and KNI's interest in the Offtake Agreement. There are thus, according to the Claimants, few (if any)
       principal issues as to the factual background to the Parties’ dispute.



                                                        38
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 55 of 622



3.11   According to the Respondent, none of the facts alleged by the Claimants establish any breach of its
       obligations under the Treaty. The Claimants are put to proof of their factual allegations to the contrary.

       Issue 3: Liability

3.12   Expropriation: According to the Claimants, the Respondent breached Article 6 of the Treaty by unlawfully
       expropriating KOMSA's interest in FertiNitro and KNI’s interest in the Offtake Agreement on 11 October
       2010; and, to date, the Respondent has failed to compensate the Claimants for its expropriation of the
       Claimants’ investments.

3.13   According to the Respondent, its mandatory acquisition of FertiNitro’s assets was lawful because the
       Respondent complied with the requirements of Article 6 of the Treaty. Also according to the Respondent, it
       did not mandatorily acquire the Offtake Agreement; FertiNitro terminated the Offtake Agreement in
       February 2012 for commercial reasons; and FertiNitro’s decision to terminate the Offtake Agreement is not
       attributable to the Respondent under international law.

3.14   FET: This issue of liability arises under Article 4(1) of the Treaty. It provides, in material part, that the
       Respondent “shall provide, in accordance with the rules and principles of International Law, investments in
       its territory of investors of the other Contracting Party fair and equitable treatment […]” (the “FET
       standard”).

3.15   According to the Claimants, the Respondent breached its obligation under Article 4(1) to accord fair and
       equitable treatment to the Claimants’ investments. According to the Respondent, it did not breach the FET
       standard of Article 4(1) of the Treaty. The Respondent contends that this FET standard is tied to the minimum
       standard of customary international law; and that the Claimants have failed to substantiate their claims.

3.16   FPS: This issue arises under Article 4(1) of the Treaty. It provides, in material part, that the Respondent:
       “shall provide, in accordance with the rules and principles of International Law, investments in its territory
       of investors of the other Contracting Party […] full protection and security […]” (the “FPS standard”).

3.17   According to the Claimants, the Respondent breached its obligation under Article 4(1) to accord full
       protection and security to the Claimants’ investments. According to the Respondent, it complied with its
       obligation under Article 4(1) to afford full protection and security: this FPS standard relates to physical injury
       only; and the Respondent did not fail to protect KOMSA’s investment.

3.18   Interference: This issue also arises under Article 4(1) of the Treaty. It provides, in material part, that the
       Respondent “shall [not] impair by arbitrary or discriminatory measures the management, operation,
       maintenance, use, enjoyment, expansion, disposal or liquidation of such investments.”

3.19   According to the Claimants, the Respondent breached its obligation under Article 4(1) by putting in place
       arbitrary and discriminatory measures that impaired KOMSA’s management, operation, use and enjoyment



                                                         39
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 56 of 622



       of its investment. According to the Respondent, it did not impair the management, operation, use or
       enjoyment of FertiNitro through any arbitrary or discriminatory measures. The Respondent submits that the
       Claimants have misapplied the applicable standard; and the Claimants have provided a misleading account
       of the Respondent’s actions to allege a breach of Article 4(1) of the Treaty.

3.20   National Treatment: This issue arises under Article 4(2) of the Treaty. It provides, in material part: “The
       treatment accorded by each Contracting Party to the investment by investors of the other Contracting Party
       in its territory, or to the investors themselves as regards their investments, shall not be less favourable than
       that accorded to investments of their own investors […], or to the investors concerned as regards their
       investments” (the “National Treatment standard”).

3.21   According to the Claimants, the Respondent breached its obligation under Article 4(2) to accord to the
       Claimants and their investments treatment in accordance with the National Treatment standard. According
       to the Respondent, it did not breach the National Treatment standard in Article 4(2) of the Treaty. The
       Respondent submits that the Claimants have misapplied the applicable standard; and that it did not treat
       Pequiven more favourably than KOMSA.

3.22   Umbrella Clause: This issue arises under Article 11(2) of the Treaty. It provides: “Each Contracting Party
       shall observe any obligation it has assumed regarding the treatment of investments in its territory by investors
       of the other Contracting Party” (the “Umbrella Clause”).

3.23   According to the Claimants, the Respondent failed to observe the obligations assumed in Article 11(2)
       regarding the treatment of the Claimants’ investments. According to the Respondent, it has not breached
       Article 11(2) of the Treaty, particularly because there were no such “obligations”.

       Issue 4 – Compensation

3.24   In brief, the Claimants submit that the Respondent must pay full compensation under Article 6 of the Treaty
       and international law for all their losses caused by the Respondent’s expropriatory and other non-
       expropriatory violations of the Treaty (namely KOMSA’s “Historical Losses”). Such compensation for
       KOMSA amounts to a total principal sum of US$ 444.6 million (calculated as at 30 January 2015). As to
       KNI, such compensation amounts to a total principal sum of US$ 227.8 million (calculated as at 30 January
       2015).

3.25   In brief, the Respondent submits that the Claimants’ quantification of their damages must be rejected by the
       Tribunal, for several reasons. First, the Respondent contends that the compensation claimed by KOMSA and
       KNI is vastly overstated. Second, it submits that the relevant standard of compensation is to be found in the
       Treaty (not in customary international law). Third, the Respondent contends that KOMSA’s alleged
       “Historical Losses” are unfounded.




                                                        40
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 57 of 622



       Issue 5 – Interest

3.26   The Claimants submit that they are they are entitled to compound interest on any sums awarded by the
       Tribunal. The Respondent contends that the Claimants’ claims for compound interest are ill-founded.

       Issue 6 – Costs

3.27   The Claimants seek an order requiring the Respondent to pay the costs of the arbitration, including all the
       fees and expenses of ICSID and the Tribunal and all the legal costs and expenses incurred by the Claimants,
       apportioned as between the Claimants in the ratio in which they are awarded compensation. The Respondent
       seeks an order requiring the Claimants to bear all costs and fees incurred in this arbitration, including the
       Respondent’s reasonable attorney’s fees and expert fees.

       The Third (June) Hearing

3.28   For the purpose of the Third (June) Hearing before the reconstituted Tribunal, so as to allow the Parties to
       prepare in full their respective oral submissions, the Tribunal sent to the Parties a non-exhaustive check-list
       of issues on 16 May 2016 and later a further list of issues on 2 June 2016, taken from the Parties’ own
       pleadings. These documents are set out successively below, in relevant part.




       *The Check-List of 16 May 2016 (in Three Parts)

       * Part I (from the Claimants’ pleaded case):

3.29   Claimants’ Issue 1 - Jurisdiction:

3.30   The Tribunal’s jurisdiction over KNI’s claim is clear, because:

       A. The Offtake Agreement was an integral part of the FertiNitro Project;

       B. KNI’s rights under the Offtake Agreement qualify as an “investment” under both the ICSID Convention
       and the Treaty (and satisfy the non-jurisdictional indicia), because:

       (i) The Offtake Agreement is an “investment” under the ICSID Convention;

       (ii) The Offtake Agreement is an “investment” under the Treaty; and

       (iii) In any event the Offtake Agreement also satisfies the non-jurisdictional indicia.

3.31   Claimants’ Issue 2 - The Principal Facts: The oral testimony at the First (September) Hearing confirmed the
       central tenets of the Claimants’ case and materially undermined the Respondent’s Case, because:




                                                        41
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 58 of 622



       A. The essential facts remain entirely unchallenged on the evidential record in this arbitration, as listed under
       B, C and D below.

       B. The Respondent’s “Apertura” policy, with its other assurances, precipitated the Claimants’ investment in
       Venezuela.

       C. Starting in 2005, the Respondent progressively interfered with the Claimants’ investments.

       D. On 10/11 October 2010, without any formal notice, the Respondent openly and unambiguously
       expropriated both KOMSA’s equity in FertiNitro and KNI’s rights under the Offtake Agreement.

       E. The First (September) Hearing showed that the Respondent’s claim (that it never expropriated the Offtake
       Agreement) is a study in contradiction, because

       (i) If the Respondent did not expropriate the Offtake Agreement, as it claims, then it could not have had a
       legitimate purpose for the expropriation of FertiNitro;

       (ii) The Respondent always planned to take KNI’s offtake; and

       (iii) The Urea Decree and the Urea Resolution already guaranteed the Respondent access to FertiNitro’s
       product at significantly below production cost.

       F. The First (September) hearing confirmed that Pequiven was, at all relevant times, an agent of the
       Respondent.

3.32   Claimants’ Issue 3 - Liability: The Respondent’s conduct violated the Treaty:

       A. Expropriation: The Respondent breached Article 6 of the Treaty by unlawfully expropriating KOMSA's
       equity in FertiNitro and KNI’s rights under the Offtake Agreement:

       (i) The Respondent’s expropriation of the Claimants’ investments was not carried out in the public interest;

       (ii) The Respondent’s expropriation of the Claimants’ investments was carried out in a discriminatory
       manner;

       (iii) The Respondent’s expropriation of the Claimants’ investments was not carried out under due process of
       law; and

       (iv) To date, the Respondent has failed to compensate the Claimants for its direct expropriation of the
       Claimants’ investments.

       B. FET: The Respondent breached its duty under Article 4(1) of the Treaty to accord fair and equitable
       treatment to the Claimants’ investments.




                                                         42
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 59 of 622



       C. FPS: The Respondent breached its duty under Article 4(1) of the Treaty to accord full protection and
       security to the Claimants’ investments.

       D. Impairment: The Respondent breached Article 4(1) of the Treaty by putting in place arbitrary and
       discriminatory measures that impaired the Claimants’ management, operation, use and enjoyment of its
       investments.

       E. National Treatment: The Respondent breached its duty under Article 4(2) of the Treaty to accord national
       treatment to the Claimants’ investments.

       F. Umbrella Clause: The Respondent breached its obligations assumed under Article 11(2) of the Treaty
       regarding the treatment of the Claimants’ investments.

3.33   Claimants’ Issue 4 - Compensation:

       A. The Claimants have demonstrated that the Respondent must pay full compensation under international
       law:

       (i) Recent jurisprudence confirms that the Respondent must pay full compensation to the Claimants in a “but
       for” scenario for the illegal expropriation of their investments;

       (ii) KOMSA is also entitled to full compensation under international law for the losses caused by the
       Respondent’s ‘other (non-expropriation) violations’ of the Treaty; and

       (iii) KOMSA is entitled to compensation for its ‘Historical Losses’.

       B. Testimony from the First (September) Hearing demonstrated that the Parties’ quantum experts have
       adopted fundamentally different approaches to the valuation exercise:

       (i) Mr Giles’s valuation (for the Claimants) is supported by contemporaneous documentary evidence and the
       testimony of the only independent fertiliser industry expert in this arbitration (Mr Sanders); and

       (ii) Dr Flores’s valuation (for the Respondent) is a coalescence of (i) a series of assertions that are either
       outside the evidential record or are beyond his expertise; and (ii) a mechanical averaging of data and sources
       without any appreciation of the contemporaneous and industry evidence.

       C. Whilst the Parties’ quantum experts agree on a number of compensation parameters, their outstanding
       differences of fact and expertise on quantum issues remain significant.

3.34   Claimants’ Issue 5 - Compound Interest: The Claimants have demonstrated that they are entitled to
       compound interest.

       A. The Treaty confirms that compound interest is payable;



                                                         43
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 60 of 622



       B. The last five years of ICSID jurisprudence (on the record of these proceedings) confirms that compound
       interest is payable; and

       C. Leading commentaries confirm that compound interest is payable.

       * Part II (from the Respondent’s pleaded case):

3.35   Respondent’s Issue 1 - Jurisdiction: The Tribunal has no jurisdiction over the claims relating to the Offtake
       Agreement, because:

       A. The Offtake Agreement is a sales contract that does not constitute an “investment” within the meaning of
       the Treaty or Article 25 of the ICSID Convention:

       (i) Sales Contracts are not investments under international law; and

       (ii) Complexity, length, project finance implications or the general unity of investment concept do not
       transform the Offtake Agreement into an investment.

       B. KNI has neither made a contribution nor incurred the type of risk necessary to qualify as an investment
       under the Treaty or under Article 25 of the ICSID Convention, because:

       (i) The Term “investment” has an objective and inherent meaning under both the Treaty and the ICSID
       Convention, which requires the assumption of an investment risk and the making of a contribution; and

       (ii) KNI has not incurred an investment risk in connection with the Offtake Agreement.

       C. The Offtake Agreement does not have a territoriality nexus with the Republic of Venezuela to qualify for
       protection under the Treaty.

3.36   Respondent’s Issue 2 - Expropriation: The Respondent did not mandatorily acquire the Offtake Agreement,
       because:

       A. The Offtake Agreement granted KNI a right to purchase FertiNitro’s product;

       B. Decree 7713 did not order the mandatory acquisition of KNI’s rights under the Offtake Agreement or of
       the Offtake Agreement itself;

       C. KNI continued to purchase offtake under the Offtake Agreement until February 2012;

       D. FertiNitro terminated the Offtake Agreement in February 2012 for commercial reasons; and

       E. FertiNitro’s decision to terminate the Offtake Agreement is not attributable to the Respondent.

3.37   Respondent’s Issue 3 - Expropriation: The mandatory acquisition of FertiNitro’s assets was lawful; and the
       Respondent complied with the requirements of Article 6 of the Treaty, because.


                                                       44
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 61 of 622



       A. The Respondent’s acquisition of FertiNitro’s assets was in the public interest:

       (i) The Respondent should be afforded ample deference regarding its public interest policies; and

       (ii) The mandatory acquisition of FertiNitro’s assets was carried out pursuant to the public policy of food
       security.

       B. The mandatory acquisition of FertiNitro’s assets was carried out in a non-discriminatory manner, because:

       (i) Pequiven/IPSL and KOMSA/KNI were not similarly situated;

       (ii) KOMSA did not receive differential treatment; and

       (iii) Any differential treatment was not improper because it was based on a reasonable justification.

       C. The Respondent’s actions were carried out under the process of law, because:

       (i) “Advance Notice” is not a requirement of due process under the Treaty or international law; and

       (ii) The Respondent repeatedly provided notice to KOMSA that it planned to take control of FertiNitro.

       D. The Respondent met (and continues to meet) its payment obligation under Article 6 of the Treaty, because:

       (i) Article 6 of the Treaty requires the Respondent to make a reasonable offer of compensation – not
       immediate payment;

       (ii) The Respondent made a reasonable offer of compensation, which KOMSA rejected; and

       (iii) The Respondent will compensate KOMSA through the Mandatory Acquisition Procedure.

3.38   Respondent’s Issue 4 - FET: The Respondent did not breach the FET standard in Article 4(1) of the Treaty,
       because:

       A. The applicable standard is tied to the minimum standard of customary international law;

       B. The Claimants have failed to substantiate their claims, because:

       (i) The Claimants have failed to establish that they had any legitimate expectations in relation to the
       Respondent’s tax regime;

       (ii) The Respondent has provided FertiNitro with VAT Credits in line with the Respondent’s obligations;

       (iii) The Respondent did not interfere in the management and operations of FertiNitro;

       (iv) The Respondent did not frustrate any legitimate expectation by issuing the Urea Decree and Urea
       Resolution; and



                                                       45
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 62 of 622



       (v) The Respondent provided a stable and predictable legal and business environment, treated the Claimants
       with transparency and procedural fairness and did not abuse its authority.

3.39   Respondent’s Issue 5 - FPS: The Respondent complied with its obligation under Article 4 of the Treaty to
       afford full protection and security, because:

       A. The FPS standard relates to physical injury.

       B. The Respondent did not fail to protect KOMSA’s investment.

3.40   Respondent’s Issue 6 - Interference/Impairment: The Respondent did not impair the management, operation,
       use or enjoyment of FertiNitro through arbitrary or discriminatory measures under Article 4(1) of the Treaty,
       because:

       A. The Claimants have misapplied the applicable standard; and

       B. The Claimants have also provided a misleading account of the Respondent’s actions that are alleged to
       have breached Article 4(1) of the Treaty.

3.41   Respondent’s Issue 7 - National Treatment: The Respondent did not breach the National Treatment standard
       under Article 4(2) of the Treaty, because:

       A. The Claimants have misapplied the applicable standard; and

       B. The Respondent did not treat Pequiven more favourably than KOMSA.

3.42   Respondent’s Issue 8 - Umbrella Clause: The Respondent did not breach Article 11(2) of the Treaty.

3.43   Respondent’s Issue 9 - Compensation: The Tribunal must reject the Claimants’ quantification of damages,
       because:

       A. The compensation claimed by KOMSA and KNI is vastly overstated:

       (i) The relevant standard of compensation is found in the Treaty, not in customary international law;

       (ii) Irrespective of the legal standard for compensation, the Parties agree that the expert witnesses on
       compensation should apply the Fair Market Value (FMV) standard; and

       (iii) The Claimants ultimately fail to apply the FMV standard.

       B. The Fair Market Value (FMV) of KOMSA’s economic interest in FertiNitro was no more than US$ 34.6
       million:

       (i) While Dr Flores’ DCF valuation is reasonable, Mr Giles’ DCF analysis is overstated and does not reflect
       FertiNitro’s FMV because:


                                                         46
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 63 of 622



a. The Claimants’ DCF analysis is inconsistent and highly speculative;

b. The Claimants’ DCF valuation inappropriately excludes actual production volumes from 2009 and 2010
in projecting future production:

(1) The Claimants inappropriately project a three-year turnaround cycle for FertiNitro;

(2) The number of gas and electricity disruptions and unplanned shutdowns in 2009 and 2010 was not
materially higher than in recent prior years;

(3) The Claimants’ position that a hypothetical buyer would believe FertiNitro could consistently achieve
nameplate production levels is unfounded;

(4) The Claimants’ position that the exclusion of the 2009-2010 period is justified by law is entirely baseless;

c. The Claimants’ projections of FertiNitro’s future costs are understated:

(1) The Claimants unreasonably relied upon budgeted instead of actual turnaround and maintenance costs;

(2) The Claimants’ other cost estimates are also understated.

d. The Claimants’ proposed discount rate is understated:

(1) The Claimants’ reliance upon out-dated global market risk premium data is unreasonable and
inappropriate;

(2) The Claimants inappropriately relied upon limited survey data to determine their base country risk rate;

(3) The Claimants inappropriately excluded political risk from their country risk rate;

(4) The Claimants’ calculation of a 0.40 lambda for FertiNitro is entirely arbitrary and unreasonable;

(5) The Claimants’ application of a 1% liquidity discount is contrary to basic valuation principles; and

(6) The unreasonableness of the Claimants’ discount rate is confirmed by the two ExxonMobil awards and
the Flughafen Zürich award.

(ii) The Claimants’ “Reasonableness Checks” do not support their valuation of KOMSA’s 25% Share in
FertiNitro:

a. The October 2008 MOU Price, if properly adjusted, confirms Dr Flores’ valuation;

b. Construction costs of other plants are irrelevant;

c. The Advantis Reports confirm Dr Flores’ valuation;




                                                  47
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 64 of 622



       d. The Claimants’ ‘new argument’ based on FertiNitro’s book value is irrelevant.

       C. The Claimants’ valuation of the Offtake Agreement is overstated, because:

       (i) The Claimants make the same inappropriate assumptions regarding sales volumes and discount rate as in
       their valuation of KOMSA’s equity interest in FertiNitro.

       (ii) The Claimants’ valuation period improperly includes a 16-month period during which KNI suffered no
       losses.

       (iii) The Claimants use the wrong valuation methodology based on unrealistic factual assumptions, because:

       a. The Claimants inappropriately calculate KNI’s lost profits rather than the value of KNI’s alleged rights
       under the Offtake Agreement;

       b. The Claimants fail to prove that they would have been unable to replace the FertiNitro Offtake through
       purchase on the open market;

       c. The Claimants’ lost profits calculations are flawed and highly speculative.

       D. The Claimants’ alleged “Historical Losses” are unfounded.

3.44   Respondent’s Issue 10 - Interest: The Claimants’ claims for compound interest are ill-founded.

3.45   Respondent’s Issue 11 - Costs: The Claimants’ claims for costs are denied.

       * Part III: Specific Further Queries (by the Tribunal)

3.46   The Parties were invited by the Tribunal to summarise at the Third (June) Hearing their respective cases on
       the relationship between the Offtake Agreement and the FertiNitro Project.

3.47   The Parties were requested to summarise their respective cases on whether or not the Offtake Agreement
       satisfies the legal and economic characteristics of an investment under the Treaty.

3.48   The Parties were requested to summarise the evidence regarding the impact of Decree 7713 on KNI’s rights
       under the Offtake Agreement.

3.49   The Parties were requested to summarise their respective cases on the attribution under the Treaty or
       otherwise to the Respondent of FertiNitro’s decision to terminate the Offtake Agreement.

3.50   In addition, the Parties were invited to address the following matters:

       3.50.1    What steps, if any, did either of the Claimants take to oppose the Urea Decree?




                                                        48
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 65 of 622



       3.50.2   What has happened with actual and projected natural gas price, since the last submissions by the
                Parties on this subject?

       3.50.3   Why should the “expected rate of return” on equities rather than the “required rate of return” be
                used for the determination of the market risk premium?

       3.50.4   Taking into account the fact that sales of product to KNI, after an interruption between October
                2010 and January 2011, started again in January 2011 until the termination of the Offtake
                Agreement in February 2012, how much money, if any, did KNI lose compared to the continuing
                operation of that Offtake Agreement?

       3.50.5   Would the Parties elaborate on their respective views concerning the relevance to this case (if any)
                of the discount rates used in the two ExxonMobil awards and in the Flughafen and Gold Reserve
                awards and the Advantis Report of May 2011, referred to by the Parties in their respective
                submissions?

       3.50.6   What is the relevance, if any, of the Booz Allen valuation of FertiNitro made in 2007?




       *The Tribunal’s Additional Topics of 2 June 2016 for the Parties

       A. Offtake Agreement

3.51   Topic A1: Assuming, arguendo, that the Offtake Agreement was included within the ambit of the
       Expropriation Decree, what is the legal effect of a Venezuelan decree on the rights and obligations under the
       Offtake Agreement, which is governed by the laws of the State of New York?

3.52   Topic A2: Assuming, arguendo, that the Offtake Agreement was not included within the ambit of the
       Expropriation Decree, was the termination of the Offtake Agreement on 28 February 2012 a breach of the
       Offtake Agreement?

3.53   Topic A3: Was there any exercise of sovereign powers involved in the termination of the Offtake Agreement
       on 28 February 2012 (assuming, arguendo, that it was not terminated earlier by the Expropriation Decree
       etc)? If so, what sovereign powers were relied upon and by whom?

3.54   Topic A4: Did KNI respond to Mr Betulio Hernandez’s letter of 28 February 2012 (Exhibit C-114)? Was
       there any subsequent correspondence between the Parties to the Offtake Agreement? If so, where is such
       correspondence to be found on the record?

       B. Negotiations and local procedures relating to compensation




                                                       49
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 66 of 622



3.55   Topic B1: Do the Claimants agree with the summary provided at paragraph 111 of the Respondent’s Post-
       Hearing Brief? If not, what specific amendments would they wish to make?

3.56   Topic B2: Have there been any developments relating to the local court proceedings (the “Mandatory
       Acquisition Procedure”) since the Post-Hearing Briefs were filed by the Parties?

       C. Quantum Issues

3.57   Topic C1: Does the Respondent agree with the presentation of the points of agreement and disagreement
       between Mr Giles and Dr Flores in the tables on pages 55-60 of the Claimants’ Post-Hearing Brief? If not,
       what specific amendments would the Respondent wish to make?

       Projection of Future Cash Flows

3.58   Topic C2: Are there any examples of tribunals adopting budgetary forecasts for production and/or costs for
       the purposes of calculating the cash flows of an enterprise for a DCF valuation in respect of a time period
       before the violation of an investment treaty obligation in circumstances where actual data for production
       and/or costs were available?

3.59   Topic C3. What is the general impact of inflation and the freeze on the exchange rate in Venezuela on
       FertiNitro’s costs between 2008-2010?

       Offtake Agreement

3.60   Topic C4: Is the calculation of damages relating to the Offtake Agreement by either quantum expert
       consistent with the manner in which damages would be calculated on the hypothesis of a breach of the
       Offtake Agreement under the laws of the State of New York? If not, how are they different?

       Market Risk and the Country Risk Premium

3.61   Topic C5: Does the Respondent accept the Claimants’ definition of market risk and country risk at paragraph
       198 of its Post-Hearing Brief?

3.62   Topic C6: Explain the basis for the market risk and country risk premiums in the Advantis valuation reports
       of May and July 2011.

3.63   Topic C7: What should be the evidential threshold for the application of a lambda factor to an enterprise
       operating in a particular country? In other words, how common is it in valuation practice to apply a lambda
       factor to take into account greater or lesser exposure of a particular enterprise to country risk and what degree
       of certainty is required?

3.64   Topic C8: Are there any examples of tribunals adopting a liquidity discount in investment treaty arbitration?




                                                         50
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 67 of 622



3.65   Topic C9: Compare and contrast the market risk and country risk premiums adopted by other tribunals in
       publicly available investment treaty awards involving Venezuela.

3.66   Topic C10: Is an asset that qualifies for Treaty protection analogous to having “insurance-like protection”
       [Transcript, D6/P66 (Giles)]? Would it be appropriate to discount country risk in relation to a lawful as
       opposed to unlawful expropriation?

       Sanity Checks on Valuations

3.67   Topic C11: Does the book value of KOMSA’s 25% interest in FertiNitro at the time of the valuation date
       provide an appropriate sanity check on the DCF valuations in this case?

3.68   Topic C12: What adjustments, if any, would need to be made to the MOU valuations in 2007 and 2008 for
       them to be relevant as a sanity check on a DCF valuation done at the valuation date in 2010?

3.69   Topic C13: What adjustments, if any, would need to be made to the Advantis valuations in May and July
       2011 for them to be relevant as a sanity check on a DCF valuation done at the valuation date in 2010?




                                                      51
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 68 of 622




                           PART IV: THE PRINCIPAL LEGAL TEXTS



        Introduction
4.1     It is necessary to cite in full several of the relevant legal texts at the outset of this Award,
        for ease of reference elsewhere. This is not to suggest that, to decide the legal issues in
        dispute between the Parties, the Tribunal may be limited to the sources identified herein or
        otherwise invoked by the Parties. To the contrary, the Tribunal agrees with the following
        statement of the Daimler v. Argentina ad hoc committee 37:

          “This Committee is of the view that an arbitral tribunal is not limited to referring to
          or relying upon only the authorities cited by the parties. It can, sua sponte, rely on
          other publicly available authorities, even if they have not been cited by the parties,
          provided that the issue has been raised before the tribunal and the parties were
          provided an opportunity to address it. […]. Once such an opportunity was provided
          the Tribunal was not obliged to confine itself to only those authorities, which had
          been cited by the parties. No rule of law or procedure or requirement of due process
          prevented it from referring to or relying upon other authorities that were in the public
          domain. Such reliance did not violate any rule of natural justice including the right
          to be heard.”

4.2     Where the original text is Spanish, the Tribunal here cites the English translation, as noted.

        The Switzerland-Venezuela Treaty 38
4.3     Article 1(1) of the Treaty defines “investors” for purposes of the Treaty as follows:

          “The Term “investor” refers with regard to either Contracting Party to:

          a) natural persons who, according to the law of that Contracting Party, are
             considered to be its nationals;
          b) legal entities, including companies, corporations, business associations and
             other organizations which are constituted or otherwise duly organised under the
             law of that Contracting Party;



37
   Daimler Financial Services A.G. v. Argentine Republic, ICSID Case No. ARB/05/1, Decision on Annulment (7
   January 2015), Paragraph 295.
38
   Agreement between the Swiss Confederation and the Republic of Venezuela on the Reciprocal Promotion and
   Protection of Investments (18 November 1993) (CLA-1).


                                                    52
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 69 of 622




       c) legal entities not established under the law of that Contracting Party but
          effectively controlled by natural persons as defined in (a) above or by legal
          entities as defined in (b) above.”

4.4   Article 1(2) of the Treaty defines the term “investment” as follows:

       “The term ‘investment’ comprises every kind of asset and more particularly, though
       not exclusively:
       a) movable and immovable property as well as any other rights in rem;
       b) shares, parts or any other kinds of participation in a company;
       c) claims to money or to any performance under a contract;
       d) intellectual property rights, technical processes, know-how and goodwill;
       e) concessions and other rights granted under public law.”

4.5   Article 2 of the Treaty provides:

       “The present Agreement shall apply to investments in the territory of one Contracting
       Party made in accordance with its laws and regulations by investors of the other
       Contracting Party, whether prior to or after the entry into force of the Agreement. It
       shall, however, not be applicable to divergencies or disputes the causes of which have
       arisen prior to its entry into force.”

4.6   Article 4(1) of the Treaty provides:

       “Each Contracting Party shall provide, in accordance with the rules and principles
       of International Law, investments in its territory of investors of the other Contracting
       Party fair and equitable treatment and full protection and security; neither of them
       shall impair by arbitrary or discriminatory measures the management, operation,
       maintenance, use, enjoyment, expansion, disposal or liquidation of such
       investments.”

4.7   Article 4(2) of the Treaty provides:

       “The treatment accorded by each Contracting Party to the investment by investors
       of the other Contracting Party in its territory, or to the investors themselves as
       regards their investments, shall not be less favourable than that accorded to
       investments of their own investors or those of any third State, or to the investors
       concerned as regards their investments.”




                                              53
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 70 of 622




4.8   Article 6 of the Treaty provides:

       “Neither of the Contracting Parties shall take, either directly or indirectly, measures
       of expropriation, nationalization or any other measures having the same nature or
       the same effect against investments of investors of the other Contracting Party, unless
       the measures are taken in the public interest, on a non-discriminatory basis, and
       under due process of law, and provided that provisions be made for effective and
       adequate compensation. Such compensation shall amount to the market value of the
       investment expropriated immediately before the expropriatory action was taken or
       became public knowledge, whichever is earlier, shall include interest from the date
       of expropriation, be paid without delay in a freely convertible currency to the person
       entitled thereto and be freely transferable.”

4.9   Article 9 of the Treaty provides:

       “(1) With a view to an amicable solution of disputes between a Contracting Party
       and an investor of the other Contracting Party consultations will take place between
       the parties concerned.
       (2) If these consultations do not result in a solution within six months from the date
       of the request for consultations, the investor may submit the dispute to the arbitration
       of the International Center for Settlement of Investment Disputes (I.C.S.I.D.)
       instituted by the Convention on the settlement of investment disputes between States
       and nationals of other States, opened for signature at Washington, on 18th March,
       1965.
       (3) As an alternative to I.C.S.I.D. arbitration the parties to the dispute may, by mutual
       consent, have recourse to an ad hoc arbitral tribunal which unless otherwise agreed
       upon by the parties to the dispute shall be established under the arbitration rules of
       the United Nations Commission on International Trade Law (U.N.C.I.T.R.A.L.). Such
       arbitration shall in any case take place if for whatever reason I.C.S.I.D. arbitration
       is not available.
       (4) The arbitral award shall limit itself to determine whether the Contracting Party
       concerned has failed to comply with an obligation under this Agreement, whether
       such failure has resulted in damages to the investor, and, if this is the case, the
       amount to be paid by the Contracting Party to the investor as compensation for such
       damages.
       (5) Each Contracting Party hereby consents to the submission of an investment
       dispute to international arbitration in accordance with the provisions of this article.
       (6) The Contracting Party which is a party to the dispute shall not at any time during
       the procedures, assert as a defence its immunity or the fact that the investor has
       received compensation under an insurance contract covering the whole or part of the
       incurred damage or loss.


                                               54
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 71 of 622




             (7) The arbitral award shall be final and binding for the parties involved in the
             dispute.”

4.10       Article 11(2) of the Treaty provides:

             “Each Contracting Party shall observe any obligation it has assumed regarding the
             treatment of investments in its territory by investors of the other Contracting Party.”

           The Offtake Agreement 39
4.11       Article 2.2 of the Offtake Agreement provides:

             “Allocation of Products. Subject to the provisions of Sections 11.4 and 11.5, the
             Parties agree that the allocation of Products to each Buyer hereunder is expected to
             be fifty percent (50%) of the actual total Plants [sic] Output, with the following
             provisions to apply to the allocation of Products assuming full production in a given
             Contract Year:
             (a) Koch shall have the exclusive right and obligation to purchase from Seller for
                 resale or its own consumption (i) seventy five percent (75%) of the Plants [sic]
                 Output of ammonia available for sale during each Contract Year (estimated to be
                 approximately 270,000 tons annually assuming full production at Nameplate
                 Capacity) and (ii) forty-four percent (44%) of the Plants [sic] Output of urea for
                 sale during each Contract Year (estimated to be approximately 640,000 annually
                 tons assuming full production at Nameplate Capacity) and
             (b) Pequiven Offtaker shall have the exclusive right and obligation to purchase from
                 Seller for resale or its own consumption (i) twenty-five percent (25%) of the
                 Plants [sic] Output of ammonia available for sale during each Contract Year
                 (estimated to be approximately 90,000 tons annually assuming production at
                 Nameplate Capacity) and (ii) fifty-six percent (56%) of the Plants [sic] Output of
                 urea for sale during each Contract Year (estimated to be approximately 820,000
                 tons annually assuming production at Nameplate Capacity).”

4.12       Article 2.3 of the Offtake Agreement provides:

             “Assignment of Markets. Each Buyer agrees that the following territorial restrictions
             shall apply throughout the Primary Term with respect to the marketing and sale of
             Products:




39
     Offtake Agreement by and among Pequiven, IPSL, and Koch Oil SA as Buyers and FertiNitro as Seller (8 April
     1998) (C-19).


                                                       55
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 72 of 622




(a) Koch shall have the exclusive right to market and sell Products for delivery to and
    ultimate consumption in North America.
(b) Pequiven Offtaker shall have the exclusive right to market and sell Products for
    delivery to and ultimate consumption in South America, Central America, and the
    Caribbean.
(c) Each Buyer further agrees not to sell Products such Buyer knows or has reason to
    believe ultimately will be resold in essentially their original form into any of the
    countries reserved to the other Buyer under paragraph (a) or (b) above,
    respectively.
(d) Notwithstanding any provision in this Section 2.3 to the contrary, at Koch’s sole
    option, Koch may request that Pequiven Offtaker market, on Koch’s behalf, all or
    a portion of Koch’s allocated Products taken hereunder in South America, Central
    America and/or the Caribbean. Likewise, at Pequiven Offtaker’s sole option,
    Pequiven Offtaker may request that Koch market on Pequiven Offtaker’s behalf all
    or a portion of Pequiven Offtaker’s allocated Products taken hereunder in North
    America. Each Buyer may elect to accept or reject the other Buyer’s request under
    this Section 2.3(d) in its sole discretion. If a Buyer (“Passive Agent”) accepts the
    other Buyer’s (“Active Principal”) request under this Section 2.3(d), the Buyers
    shall share equally the difference (whether positive or negative) between: (i) the
    price obtained by the Passive Agent, on a best efforts basis, from a Third Party (net
    of all expenses, fees and charges reasonably incurred by the Passive Agent in
    marketing, selling and/or transporting the Active Principal’s Products) and (ii) the
    applicable FOB Jose Price stated in Section 3.1 below.
(e) Notwithstanding any provision in this Section 2.3 to the contrary, at Koch’s sole
    option, it may make a request to market in North America, on Pequiven Offtaker’s
    behalf, all or a portion of Pequiven Offtaker’s allocated Products taken hereunder.
    Likewise, at Pequiven Offtaker’s sole option, it may make request to market in
    South America, Central America and/or the Caribbean, on Koch’s behalf, all or a
    portion of Koch’s allocated Products taken hereunder. Each Buyer may elect to
    accept or reject the other party’s request under this Section 2.3(e) in its sole
    discretion. If a Buyer (“Passive Principal”) accepts the other Buyer’s (“Active
    Agent”) request, the Buyers shall share equally the difference (whether positive or
    negative) between: (i) the price obtained by the Active Agent, on a best efforts basis,
    from a Third Party (net of all expenses, fees and charges reasonably incurred by
    the Active Agent in marketing, selling and/or transporting the other Passive
    Principal’s Products) and (ii) the applicable FOB Jose Price stated in Section 3.l
    below.”




                                          56
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 73 of 622




4.13   Article 3.1 of the Offtake Agreement provides:

        “Purchase price. The purchase price of Products to be sold in North America,
        Central America, South America and the Caribbean shall be calculated in
        accordance with the formulae set forth in Sections 3.1(a) and (b). The purchase price
        of Products to be sold for delivery in other markets (“Alternative Markets”) shall be
        determined in accordance with the provisions of Sections 3.1(d) and (e): […]”

4.14   Articles 3.2 and 3.3 of the Offtake Agreement provide:

        “3.2. Failure to Take Delivery of Products. The provisions of subsections (a) and (b),
        below, shall apply during the time any loans are outstanding under the Loan
        Agreements. Upon the repayment in full of the loans made to Seller under the Loan
        Agreements, the provisions of subsection (c), below, shall apply.
        (a) Take-or Pay if Tender Obligation Met. If Seller is prepared and able to meet its
            obligation to tender Product to a Buyer and such Buyer fails to take delivery of
            its allocation of Products in accordance with Articles II, V or VI (“Non-Taking
            Buyer”) within thirty (30) days after the scheduled delivery date therefor, such
            Non-Taking Buyer shall nevertheless pay Seller (i) the corresponding price,
            determined in accordance with the applicable formula in Section 3.1(a) or
            Section 3.1(b) (without reduction for the relevant marketing fee discount), for all
            such Products tendered by Seller but not taken by such Non-Taking Buyer and
            (ii) all costs and expenses of Seller in the event that the Non-Taking Buyer’s
            failure to take the Products contributes to a reduction of Plant production.
            Notwithstanding the foregoing, no Buyer shall be required to pay for (y)
            quantities of Products not tendered or not taken by reason of a Force Majeure
            Event and (z) quantities of Products not tendered by reason of non-performance
            by Seller in accordance with the terms of this Agreement except to the extent such
            non-performance was attributable to the Non-Taking Buyer.
        (b) Products Not Taken. Seller shall promptly give notice of any Non-Taking Buyer’s
            failure to take any Product to the other Buyer so long as such other Buyer is
            taking delivery of its allocation of Products in accordance with Articles II, V or
            VI (“Taking Buyer”). The Taking Buyer shall have a right of first refusal to
            purchase any Product not taken by the Non-Taking Buyer, for resale or [sic] its
            own consumption, at the corresponding Product price determined pursuant to
            Section 3.1. (a) or (b), as the case may be, and upon acceptance, the obligations
            to purchase and take delivery of such Product shall be binding upon the Taking
            Buyer. If the Taking Buyer declines or fails to exercise such right of first refusal
            by giving notice thereof to Seller within five (5) days after the Taking Buyer’s
            receipt of the notice from Seller, Seller shall have the right to sell such Product
            to a Third Party at any price. Notwithstanding the sale of the corresponding


                                               57
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 74 of 622




            Products pursuant to this Section 3.2(b), the Non-Taking Buyer shall pay the
            Seller the amounts set forth in Section 3.2(a) (without reduction for the Ammonia
            Marketing Fee Discount or the Urea Marketing Fee Discount, as appropriate),
            together with any sales costs that Seller incurred to sell the Product. Seller shall
            provide a credit to a Non-Taking Buyer for amounts received by Seller from the
            Taking Buyer or a Third Party under this Section 3.2(b) if the Non-Taking Buyer
            has paid the amounts due to Seller pursuant to Section 3.2(a) (together with any
            sales costs that Seller incurred to sell the Product), such credit to be applied by
            Seller against future invoices issued by the Seller to the relevant Buyer.
        (c) Modification of Certain Provisions Upon Repayment of Loans. Notwithstanding
            any provision contained herein to the contrary, upon the repayment in full of the
            loans made by the lenders to Seller under the Loan Agreements, including any
            refinancing thereof, each Buyer’s obligation to take-or-pay for Product if
            tendered under Section 3.2(a) above shall terminate, and the modifications to this
            Agreement set forth in Exhibit B shall be effective for all purposes hereunder as
            of such date.
        3.3. Income Taxes. Except as specifically provided in Section 3.1(f), each Buyer shall
        indemnify Seller against and hold it harmless from any and all taxes assessed or
        claimed against such Buyer based on or measured against such Buyer’s income
        (including penalties, interest and expenses) imposed by any jurisdiction or political
        subdivision thereof or therein (other than the Republic of Venezuela or any
        Venezuelan state or local governmental or taxing authority therein) arising out of or
        relating to the sale of Products hereunder or the performance by Buyer of its
        obligation hereunder, whether or not such taxes were correctly or legally assessed.”

4.15   Article 11.1 of the Offtake Agreement provides:

        “Term of Agreement – Subject to the terms and conditions herein, this Agreement
        shall be effective as of the date first written above and shall run for a primary term
        of twenty (20) Contract Years thereafter (“Primary Term”); provided, however, in
        the event that the Bonds have not been fully paid or redeemed and remain outstanding
        under their original repayment schedule upon the conclusion of the Primary Term,
        neither of the Buyers not the Seller shall cancel this Agreement and the Primary Term
        shall be extended for such period of time as the Bonds remain outstanding under their
        original repayment schedule. This Agreement shall be automatically renewed
        following the Primary Term for one or more successive terms of five (5) Contract
        Years (each a “Secondary Term”) unless one of the Parties gives written notice to
        the contrary to the other Parties at least six (6) months prior to the end of the Primary
        Term or the then current Secondary Term, as appropriate. If this Agreement is
        renewed for one or more Secondary Terms, the Parties shall consult with each other
        at least three (3) months prior to the commencement of any such Secondary Term to


                                                58
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 75 of 622




             determine whether, under the circumstances then prevailing, the provisions of
             Section 2.3 shall apply.”

4.16       Article 12.2 of the Offtake Agreement provides:

             “(a) Arbitration Pursuant to ICC Rules. If the Dispute has not been resolved through
             negotiation within ninety (90) days after the date of the notice of Dispute received
             pursuant to Section 12.1, the Dispute shall be finally settled and resolved by
             arbitration in accordance with the ICC Rules, subject to such modifications of the
             ICC Rules as are set forth in this Article XII.”
             “(c) Venue and Language. The arbitration proceeding shall be conducted in the City
             of Miami, Florida, United States of America, or any other location upon which the
             parties to the arbitration proceeding may agree, in the English language […]”
             “(f) Applicable Law. The arbitrators shall be required to apply New York substantive
             law in ruling upon any Dispute in accordance with the Parties’ intent as expressed
             in Section 13.1.”

4.17       Article 13.1 of the Offtake Agreement provides (printed in upper case):

             “[…] This Agreement shall be governed by, construed under, and enforced in
             accordance with the laws of the State of New York, United States of America, without
             regard to the Conflicts-of-Law provisions thereof.”

           The Urea Decree 40
4.18       The Urea Decree provides (as translated into English), beginning with its Preamble:

             “WHEREAS the production of food is of national interest and is fundamental for the
             economic and social development of the Nation, an essential element of national
             safety and sovereignty, […]”

4.19       Article 1 of the Urea Decree provides:

             “Nitrogenous fertilizers and the supplies necessary for their manufacture, in their
             various formats and presentations, aimed at satisfying the national demand, are
             declared to be basic necessities throughout the national territory.”

4.20       Article 2 of the Urea Decree provides:




40
     Decree 5,218 (26 February 2007) (C-80).


                                                    59
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 76 of 622




           “Manufacturers, suppliers, merchants, distributors, importers and exporters of
           nitrogenous fertilizers and the supplies necessary for their manufacture are required
           to supply these on a priority basis to the national market, in accordance with the
           price regulations established for their sale.”

4.21     Article 3 of the Urea Decree provides:

           “The activity for marketing nitrogenous fertilizers and the supplies necessary for
           their manufacture, conducted by individuals and legal entities, shall be subject to the
           prices, volumes, controls, regulations and audits established by joint Resolutions by
           the Ministry of Agriculture and Land, the Ministry of Light Industries and Trade and
           the Ministry of Energy and Petroleum, which are to be issued within thirty days after
           the publication of this Decree.”

         The Urea Resolution 41
4.22     The Urea Resolution provide (as translated into English), beginning with its Article 1:

           “The purpose of this Resolution is to regulate control and inspect the production
           commercialization, distribution and sales of urea, to guarantee the supply of the
           national market. Furthermore, it regulates its exports once the internal demand has
           been satisfied.”

4.23     Article 10 of the Urea Resolution provides:

           “The State Company, Petroquimica de Venezuela S.A. (Pequiven S.A.) may purchase
           the urea it requires to cover the needs of the Nation, from any manufacturer
           established in the country, at the maximum bulk sales price at the plant gate of Bs.
           155,200/MT (Bolivars per Metric Ton).”

         The Decree 5,835 42
4.24     Decree 5,835 provides (translated into English), as to Article 4:

           “All of the goods necessary to carry out the activities of production, manufacture,
           importing, gathering, transportation, distribution and sale of foods or products




41
   Joint Resolution by the Ministry of the People’s Power for Agriculture and Land, the Ministry of the People’s Power
    for Light Industry and Trade, and the Ministry of the People’s Power for Energy and Petroleum (3 May 2007) (C-
    82).
42
   Decree 5,835 (28 January 2008) (R-23).


                                                         60
           Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 77 of 622




                declared to be of first need or subject to price controls are hereby declared to be of,
                and are therefore subject to, public utility and social interest.
                The National Executive shall, without other prior formality, initiate expropriation
                through decree for reasons of food security and sovereignty”

           The Expropriation Decree 43
4.25       The Expropriation Decree provides (as translated into English), beginning with its Article
           1:

                “The mandatory acquisition of movable and real estate assets is ordered, including
                improvements, installations, facilities, industrial equipment, office and other assets,
                required or necessary for the production, processing, transportation and
                warehousing activities of fertilizers (urea and ammoniac) that are owned by, or in
                the possession of, the business companies Fertilizantes Nitrogenados de Oriente,
                S.A., Fertilizantes Nitrogenados de Venezuela, S.R.L., Fertilizantes Nitrogenados de
                Oriente, C.E.C. y Fertilizantes Nitrogenados de Venezuela, C.E.C., or any other
                company or persons related, with the objective of achieving the absolute and effective
                realization of the national plans of sowing and production formulated by the National
                Executive, and that are necessary for the execution of the ‘Socialist Plan for Agri-
                Food Sovereignty’”

4.26       Article 2 of the Expropriation Decree provides:

                “The project "Socialist Plan for Agri-Food Sovereignty" will be executed by
                Petroquímica de Venezuela, S.A. (PEQUIVEN), assigned to the People´s Power
                Ministry for Energy and Petroleum, as the expropriation entity, or the subsidiary that
                the entity appoints.”

4.27       Article 3 of the Expropriation Decree provides:

                “The expropriated goods will be transferred free of encumbrances or limitations to
                the Venezuelan State by means of the company Petroquímica de Venezuela, S.A.
                (PEQUIVEN), as the expropriation entity, or the subsidiary that this entity appoints,
                in accordance to what is stipulated in article 11 of the Expropriation Law for Public
                or Social Benefit.”




43
     Decree 7,713 (dated 10 October 2010) (C-9).


                                                       61
           Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 78 of 622




4.28       Article 4 of the Expropriation Decree provides:

             “In compliance to what is stipulated in article 12 of the Expropriation Law for Public
             or Social Benefit, the company Petroquímica de Venezuela, S.A. (PEQUIVEN) is
             hereby authorized to carry out the necessary steps for the acquisition of real estate
             and other assets as stipulated in article 1 of the present Law, subrogating its position
             in all rights and obligations that correspond to the Bolivarian Republic of Venezuela
             on such matters.”

4.29       Article 5 of the Expropriation Decree provides:

             “Petroquímica de Venezuela, S.A. (PEQUIVEN) will initiate and carry out the
             expropriation process as stipulated in the Expropriation Law for Public or Social
             Benefit until total and definite transfer of the ownership of the properties indicated
             in article 1 of the present Law takes place.”

4.30       Article 6 of the Expropriation Decree provides:

             “In compliance with stipulations of article 3 of the Decree with Rank, Value and
             Force of the Organic Law for Security and Agri-food Sovereignty, the occupancy of
             the assets indicated in article 1 of the present Law by the company Petroquímica de
             Venezuela, S.A. (PEQUIVEN) is ordered with the objective of placing these into
             operation, administration and capitalization.”

           The Expropriation Law 44
4.31       The Expropriation Law provides (as translated into English), beginning with Article 2:

             “Concept of expropriation. Expropriation is an institution of Public Law by which
             the State acts in furtherance of a purpose having public utility or societal interest, in
             order to obtain the compulsory transfer unto itself of the right to property or some
             other private right, by final judgment and timely payment of fair compensation.”

4.32       Article 7 of the Expropriation Law provides:

             “Requirements for expropriation. The Compulsory expropriation of property of any
             nature may only take effect through compliance with the following requirements:
             1. Formal finding declaring the public interest.



44
     Expropriation Law for Public or Social Benefit (1 July 2002) (C-140). See also R-53, containing another English
     translation of the Expropriation Law. The Parties did not raise the issue of the alternative English translations
     during the proceeding.


                                                          62
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 79 of 622




        2. Declaration that carrying out such [interest] necessarily requires the total or
           partial transfer of the property or right.
        3. Fair price for the property subject to expropriation.
        4. Timely payment in cash of fair compensation.”

4.33   Article 31 of the Expropriation Law provides:

        “Rights of the holder. The holder has the right to become a party to the expropriation
        proceeding, in order to seek, from the price of the expropriated property, the portion
        applicable to him for the value of his improvements and for damages suffered by
        him.”

4.34   Article 35 of the Expropriation Law provides:

        “Procedure in the absence of compromise. In the event that a compromise is not
        reached, the judge shall call a hearing during the third business day thereafter, for
        the naming of a Valuation Commission, appointed in accordance with the provisions
        of Article 19 of this Law, which shall establish the fair price pursuant to the
        regulations of the Code of Civil Procedure.”

4.35   Article 36 of the Expropriation Law provides:

        “Elements requiring consideration. The fair price valuation of any property or right
        to be expropriated, in whole or in part, shall specifying its type, quality, location,
        approximate dimensions, its likely production and all other circumstances that bear
        upon the evaluations and calculations made to determine its fair value. In all cases,
        the valuation shall represent the equivalent value applicable to the expropriated
        property. Among the elements of the valuation, in the case of real property, [the
        following] are required to be considered:
        1. The taxable value of the property, declared or tacitly accepted by the owner.
        2. The value set forth in conveyance documents, executed at least six (6) months
            prior to the expropriation decree.
        3. The average prices at which similar properties have been sold in the last twelve
            (12) months, counted as of the date the valuation was prepared.
        In the event that any of these elements, which are required to be considered, are
        absent, the experts shall provide express reasons therefor in the valuation report.
        Under no circumstances shall the incremental value of real property be taken into
        account, attributable to its proximity to the work in progress.”




                                              63
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 80 of 622




           Mr Hernandez’s Letter Dated 28 February 2012 45
4.36       This document is not a legal text; but it merits citing at length here. It is the letter from
           Betulio Hernández, President of the Temporary Ad-Hoc Board of Trustees, to KNI on the
           impact of the Expropriation Decree (Decree 7,713) on the Offtake Agreement (as translated
           into English):

             “I hereby notify you that, in accordance with the Resolution issued by the Board of
             Temporary Ad-Hoc Trustees of Fertilizantes Nitrogenados de Venezuela, FertiNitro,
             C.E.C., (“FertiNitro”), as is evidenced by appointment effected by Decrees handed
             down by the Second Civil, Commercial, Agricultural, and Traffic Court of First
             Instance of the Judicial District of the State of Anzoátegui on August 8 and 9, 2011
             and September 22, 2011, Case BP02-V-2011-000998, the first two of which have
             been recorded in the First Commercial Registry of the State of Anzoátegui on August
             11, 2011, under No. 09, Volume 1; effective from the date of this communication,
             FertiNitro shall not sell any more nitrogen fertilizers (urea and ammonia) to Koch
             Oil, S.A. under the marketing agreement entered into between Petroquímica de
             Venezuela S.A., International Petrochemical Sales Limited, Koch Oil S.A., and
             Fertilizantes Nitrogenados de Venezuela, C.E.C. on April 8, 1998; all of which is in
             fulfilment of what is established in Decree 7,713 published in Official Gazette of the
             Bolivarian Republic of Venezuela No. 39,528 of October 11, 2010, which orders the
             compulsory acquisition of movable and immovable property, including
             improvements, facilities, plants, industrial and office equipment and all other assets
             necessary or required for the production, processing, transport, and storage of
             fertilizers (urea and ammonia) that belong to or are in the possession of the
             companies Fertilizantes Nitrogenados de Oriente, S.A., Fertilizantes Nitrogenados
             de Venezuela, S.R.L., Fertilizantes Nitrogenados de Oriente, C.E.C. and Fertilizantes
             Nitrogenados de Venezuela, C.E.C., or any other related companies or persons.”

           The ICSID Convention
4.37       Article 25 of the ICSID Convention provides:

             “(1) The jurisdiction of the Centre shall extend to any legal dispute arising directly
             out of an investment, between a Contracting State (or any constituent subdivision or
             agency of a Contracting State designated to the Centre by that State) and a national
             of another Contracting State, which the parties to the dispute consent in writing to



45
     Letter from B. Hernández to Koch Oil SA and Koch Nitrogen Company re: Offtake Agreement (28 February 2012)
     (C-114).


                                                       64
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 81 of 622




        submit to the Centre. When the parties have given their consent, no party may
        withdraw its consent unilaterally.
        (2) “National of another Contracting State” means:
        (a) any natural person who had the nationality of a Contracting State other than the
        State party to the dispute on the date on which the parties consented to submit such
        dispute to conciliation or arbitration as well as on the date on which the request was
        registered pursuant to paragraph (3) of Article 28 or paragraph (3) of Article 36, but
        does not include any person who on either date also had the nationality of the
        Contracting State party to the dispute; and
        (b) any juridical person which had the nationality of a Contracting State other than
        the State party to the dispute on the date on which the parties consented to submit
        such dispute to conciliation or arbitration and any juridical person which had the
        nationality of the Contracting State party to the dispute on that date and which,
        because of foreign control, the parties have agreed should be treated as a national
        of another Contracting State for the purposes of this Convention.
        (3) Consent by a constituent subdivision or agency of a Contracting State shall
        require the approval of that State unless that State notifies the Centre that no such
        approval is required.
        (4) Any Contracting State may, at the time of ratification, acceptance or approval of
        this Convention or at any time thereafter, notify the Centre of the class or classes of
        disputes which it would or would not consider submitting to the jurisdiction of the
        Centre. The Secretary- General shall forthwith transmit such notification to all
        Contracting States. Such notification shall not constitute the consent required by
        paragraph (1).”

4.38   Article 41 of the ICSID Convention provides:

        “(1) The Tribunal shall be the judge of its own competence.
         (2) Any objection by a party to the dispute that that dispute is not within the
        jurisdiction of the Centre, or for other reasons is not within the competence of the
        Tribunal, shall be considered by the Tribunal which shall determine whether to deal
        with it as a preliminary question or to join it to the merits of the dispute.”

4.39   Article 42(1) of the ICSID Convention provides:

        “The Tribunal shall decide a dispute in accordance with such rules of law as may be
        agreed by the parties. In the absence of such agreement, the Tribunal shall apply the
        law of the Contracting State party to the dispute (including its rules on the conflict
        of laws) and such rules of international law as may be applicable.”




                                               65
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 82 of 622




                             PART V: THE PRINCIPAL FACTS



      Introduction
5.1   The Parties’ principal dispute relates to the alleged expropriation by the Respondent of (i)
      KOMSA’s twenty-five per cent (25%) indirect equity interest in FertiNitro, a joint venture
      project comprising several legal entities, established by three private shareholders
      (including KOMSA) and Pequiven, the Venezuelan State-owned petrochemical company;
      and (ii) KNI’s interest in the Offtake Agreement between (inter alios) FertiNitro, Pequiven
      and KNI. FertiNitro was engaged in the production and sale of nitrogen fertilisers
      (ammonia and urea) through the operation and maintenance of four petrochemical plants
      at José in Venezuela (also described collectively as the “FertiNitro Plant”).

5.2   The FertiNitro project originated in 1998; and the plants commenced commercial
      operations in 2001. FertiNitro’s plants encountered several technical and operational
      difficulties. These led to an international commercial arbitration between FertiNitro and
      the project’s EPC contractor and minority shareholder, Snamprogetti. The Parties disagree
      as to the causes and consequences of the Plants’ operational and technical difficulties.

5.3   Venezuela’s food production and agriculture have been marked by underdevelopment
      since the 1990s. In response, the Respondent developed a policy to attain greater food
      security for the people of Venezuela, which included, amongst others matters, laws and
      regulations to secure State control over the domestic production of food and food-related
      products, including fertilizer for domestic agriculture.

5.4   On 11 October 2010, the Respondent’s Expropriation Decree 7,713 dated 10 October 2010,
      declaring the compulsory acquisition of the assets of FertiNitro, came into effect. KOMSA
      did not receive any compensation for the expropriation of its indirect equity interest in
      FertiNitro.

5.5   The Tribunal includes below in chronological order certain principal facts relevant to its
      several decisions in regard to the Claimants’ two claims for expropriation under Article 6
      of the Treaty and to KOMSA’s “Historical Claims” under Articles 4 and 11 of the Treaty.



                                               66
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 83 of 622




        Accordingly, notwithstanding an element of repetition later in this Award, this chronology
        is not an exhaustive account of all factual issues in dispute between the Parties. The
        Tribunal has nonetheless considered the evidence in full, as adduced by the Parties in this
        lengthy arbitration.

5.6     This chronology addresses, as found by the Tribunal on the materials adduced by the
        Parties: (i) the development of the FertiNitro project; (ii) the construction and operation of
        the FertiNitro Plant; (iii) Pequiven’s negotiations to buy-out FertiNitro’s private
        shareholders (including KOMSA); (iv) Venezuela’s legal and regulatory framework
        leading to the Expropriation Decree dated 10 October 2010; (v) the events following the
        Expropriation Decree; and (vi) certain other measures taken by the Respondent which, so
        the Claimants allege, have interfered with their investments in violation of the Treaty.

        Factual Chronology

        (i)    The Development of the FertiNitro Project

5.7     In the 1990s, Venezuela (as also certain other countries in Latin America) pursued
        economic policies that sought, among other matters, to attract foreign investment and
        reduce State control over important economic sectors. In the case of Venezuela, such
        policies covered the petrochemical and hydrocarbon sector. 46

5.8     By the end of the 1990s, Venezuela imported more than 64% of its food and agricultural
        products; 47 it had a surplus of non-commercialised natural gas, deriving from its petroleum
        reserves; and it sought to develop its petrochemical sector. 48




46
   Daniel Yergin, The Quest: Energy, Security, and the Remaking of the Modern World (Penguin Books 2011), (C-
   10). See also Cls. Mem., Paragraph 25; Resp. C-Mem., Paragraph 31, citing R-44. As part of their effort to attract
   foreign investment to Venezuela, PDVSA and Pequiven participated in promotional conferences on the
   Petrochemical sector: See Petrochemical Industry in Venezuela: Investment Opportunity (Caracas, Venezuela 8, 9,
   and 10 of April 1997, Hotel Tamanaco Intercontinental (C-15), p. 6.
47
   Christina Schiavoni & William Camacaro, The Venezuelan Effort to Build a New Food and Agricultural System, in
   61 Monthly Review (1 July 2009) (R-29), p. 3.
48
   Global Forum, Flaring Reduction & Gas Utilisation: “Venezuelan Experiences and Perspectives about Natural Gas
   Flaring and Venting in the Oil Industry” Arcangelo Sena D’Anna & Janeth Lopez de Morena (C-11); see also
   Offering Circular - Bond Offering of $250,000,000 between FertiNitro Finance Inc and FertiNitro (8 April 1998)
   (“Bond Offering Circular”) (C-115), p. 7.


                                                        67
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 84 of 622




5.9      Pequiven, KOMSA, 49 Snamprogetti Netherlands BV, a company organized under the laws
         of the Netherlands, (“Snamprogetti”), and Polar Uno CA, a company organized under the
         laws of Venezuela (“Polar”) entered into a series of agreements as “Owners” for the
         development, construction and operation of two ammonia and two urea plants, to be located
         in an industrial complex in the Venezuelan State of Anzóategui, in the northeast of the
         country (the “FertiNitro project”). Ammonia and urea are nitrogen-based fertilisers that
         are used to increase productivity and crop yield in agriculture. 50 Ammonia is required to
         produce urea; and therefore “ammonia is the basic building block of the nitrogen
         fertilizer industry.” 51

5.10     On 8 April 1998, the Owners concluded the Joint Investors Agreement (the “JIA”),
         providing for the incorporation and capitalisation of four interrelated Venezuelan
         companies, 52 organised in an investment structure through which the Owners would own,
         construct and operate the FertiNitro Project. 53 As already indicated above, these four
         interrelated Venezuelan companies are described as the “FertiNitro Companies” or
         collectively as “FertiNitro”.

5.11     On that same day, in accordance with the JIA, 54 FertiNitro Venezuela CEC, Pequiven,
         International Petrochemical Sales Limited (“IPSL”, a subsidiary of Pequiven) and




49
   Koch Oil S.A was incorporated in Switzerland on 24 January 1972. On 11 April 2003, Koch Oil S.A. changed its
   name to Koch Minerals S.A. See Extract from the Commerce Register of the Canton of Fribourg, Report (30 June
   1999) (C-2), and on 2009, the company changed its corporate form to Koch Minerals Sàrl, one of the Claimants in
   this case. See Request for Registration in the Commercial Register of the Canton of Fribourg (20 March 2009) (C-
   3). For ease of reference, the company under its different denominations and corporate forms is referred to in this
   Award as “KOMSA.”
50
   Witness Statement of Edgar Alonso Flórez (28 February 2013) (“Flórez WS1”), Paragraph 6.
51
    Flórez WS1, Paragraph 6. According to the Respondent, “Approximately 67% of the ammonia produced by
   FertiNitro is used to make urea.” “Ammonia is made by combining nitrogen and hydrogen with the use of catalysts,
   high heat, and elevated pressure. Air is the main source of the nitrogen. Natural gas is the most commonly used
   source of hydrogen.” See also Resp. C-Mem., Paragraphs 52, 54.
52
    Namely: (i) Fertilizantes Nitrogenados de Oriente S.A.; (ii) Fertilizantes Nitrogenados de Oriente CEC;
   (iii) Fertilizantes Nitrogenados de Venezuela, SRL; and (iv) Fertilizantes Nitrogenados de Venezuela, FertiNitro,
   CEC (this last company was the “Operating Company”).
53
    Joint Investors’ Agreement by and among Pequiven, Koch Oil SA, Snamprogetti Netherlands BV, and Polar Uno,
   CA (8 April 1998) (“JIA”) (C-18), Exhibit A, Investment Structure.
54
   Pursuant to the JIA, the joint investors acknowledged and agreed that certain agreements were “necessary to give
   effect to [the JIA], and w[ould] be executed and delivered on or following the Effective Date” including, among
   others, the EPC Contract, the financing agreements, the Equity Contribution Agreement and the Offtake Agreement.
   JIA (C-18), Article IV.


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        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 85 of 622




        KOMSA (later succeeded by KNI as described below) concluded the Offtake Agreement. 55
        Pursuant to the Offtake Agreement, Koch and Pequiven/IPSL (the “Offtakers”) agreed to
        purchase on a “take or pay” basis a guaranteed quantity of ammonia and urea produced by
        FertiNitro at a discounted set price, 56 for the Offtakers’ own consumption or resale in both
        the local and export markets, for a 20-year term. 57 The Offtake Agreement could be
        “automatically renewed” thereafter for five-year terms, unless otherwise notified by any of
        the parties to the Offtake Agreement. 58

5.12    On 30 June 2000, KOMSA assigned its rights and obligations under the Offtake Agreement
        to Koch Oil Marketing S.A. On 3 April 2003 Koch Oil Marketing S.A. assigned its rights
        under the Offtake Agreement to KNI. 59

5.13    The Offtake Agreement gave to Pequiven/IPSL the exclusive right to market and sell
        ammonia and urea domestically, as also in South America, Central America and the
        Caribbean. Pequiven’s sales to the local domestic market were not to exceed 10% of its
        total volume of purchased product with FertiNitro. That percentage rose to 15% in 2004
        and further 1% per year thereafter. 60 KOMSA (later KNI) had the exclusive selling rights
        for North America, including Mexico. Each of KOMSA/KNI and Pequiven/IPSL bought
        approximately 50% of FertiNitro’s total production of urea and ammonia in any given
        month. 61

5.14    In addition to the JIA and Offtake Agreement, numerous contracts were concluded in
        connection with the FertiNitro project. 62 These included the Engineering, Procurement




55
   See Offtake Agreement by and among Pequiven, IPSL and Koch Oil SA as Buyers and FertiNitro as Seller (8 April
   1998) (“Offtake Agreement”) (C-19).
56
   The pricing was advantageous for the Offtakers. The purchase price for ammonia was based on published prices for
   ammonia less a 4% “Ammonia Marketing Fee Discount”, and the purchase price for urea was based on published
   prices for urea less a 3% “Urea Marketing Fee Discount”.
57
   Offtake Agreement (C-19), Art. 11.1.
58
   Id.
59
   See Assignment (30 June 2000) (C-33) and Assignment & Assumption Agreement (3 April 2003) (C-34).
60
   Offtake Agreement (C-19), Art. 2.5.
61
   Offtake Agreement (C-19), Art. 2.2. The Ammonia was roughly divided 75% to KNI and 25% to Pequiven/IPSL;
   As to the urea, the distribution was 43% KNI and 57% Pequiven/IPSL. See Bond Offering Circular (C-115), p. 5.
   See also Resp. C-Mem., Paragraph 85; Cls. Reply, Paragraph 11.
62
   For a list of the projects agreements, see the Common Security Agreement (21 April 1998) (C-137), Appendix G.


                                                        69
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 86 of 622




        and Construction Contract by and between, FertiNitro, CEC, and Snamprogetti for the
        “turn-key” construction by Snamprogetti of the ammonia and urea plants (the “EPC
        Contract”), 63 as well as agreements for the supply of gas, electricity and water, among
        many others. 64 Under these gas agreements, FertiNitro received gas from PDVSA at
        preferential prices.

5.15    As already indicated, FertiNitro was 35% owned by KOMSA, 35% owned by Pequiven,
        20% owned by Snamprogetti and 10% owned by Polar, in accordance with the terms of the
        Joint Investors’ Agreement (the “JIA”). 65 KOMSA held its interest in FertiNitro through
        Koch José, a company organised under the laws of the Cayman Islands. 66 KOMSA
        transferred 28.571% of its equity in Koch José on 18 February 1998, to the Latin American
        Infrastructure Fund (“LAIF”). 67 As a result, KOMSA and LAIF indirectly owned 25% and
        10% of FertiNitro, respectively.

5.16    The FertiNitro project included a project finance lending structure where the lenders
        “receive[d] a security interest in the project’s cash flow and assets”; 68 and such lenders and
        bondholders looked to the assets and income stream of the project for repayment. Under
        this structure, “the project’s debt [was] secured by the receivables owed by Koch
        [KOMSA] and Pequiven to FertiNitro under the Offtake Agreement”. 69 In accordance
        with this financing structure, the Offtake Agreement was to remain in effect for a period
        equal to the length of FertiNitro’s financing obligations and at least 20 years. 70




63
   Engineering, Procurement and Construction Contract by and between FertiNitro and Snamprogetti (8 April 1998)
   (“EPC Contract”) (C-24).
64
   See e.g, Methane Gas Supply Agreement by and between PDVSA Gas SA and FertiNitro (8 April 1998) (C-25);
   Electric Energy Supply Agreement by and between Pequiven and FertiNitro (8 April 1998) (C-26); Industrial Water
   Supply Agreement by and between Pequiven and FertiNitro (8 April 1998) (C-27); and other related energy supply
   and technical services agreements.
65
   JIA (C-18), Paragraphs 2.1.1 to 2.1.4; see also Bond Offering Circular (C-115), p. 3.
66
   JIA (C-18), Paragraph 2.4 and Recitals.
67
   Register of Members for Koch Jose Cayman Limited (13 May 2011) (C-21).
68
   Witness Statement of Brent W. Gwaltney (30 May 2012) (“Gwaltney WS1”), Paragraph 20.
69
   Memorandum by Davis Polk & Wardwell (18 May 2005) (C-118), p. 2.
70
   Offtake Agreement (C-19), Art. 11.1.


                                                       70
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 87 of 622




5.17    FertiNitro was organised as a commercial enterprise; and its management was undertaken
        through a nine-member board of directors of the FertiNitro Companies. 71 After the transfer
        of shares to LAIF, FertiNitro’s board of directors was composed of three directors
        appointed by Pequiven, two directors appointed by KOMSA, two directors appointed by
        Snamprogetti, one director appointed by LAIF and one director appointed by Polar. 72 The
        chairman of the board of directors (who also served as President of FertiNitro) alternated
        between an appointee of either KOMSA or Pequiven, for a two-year term or as otherwise
        agreed by KOMSA and Pequiven. 73 According to Clauses 5.4.1 and 5.4.2 of the JIA,
        decisions of FertiNitro’s board and shareholders decisions could only be taken with the
        majority approval from each of the representatives of Pequiven, KOMSA and
        Snamprogetti.

        (ii)   The Construction and Functioning of the FertiNitro Plant

5.18    1998-2001: The construction of the FertiNitro Plant began in 1998 and the Plant
        commenced commercial production in May 2001. 74

5.19    In accordance with the EPC Contract, each of the ammonia plants was built to have a
        minimum “nameplate” capacity of 1800 metric tons (“MT”); and each of the urea plants
        had a nameplate capacity of 2,200 MT. 75 The total cost of the project was US$ 1.1 billion,
        of which over US$ 740 million was funded by bonds and loans from a consortium
        of banks. 76

5.20    2001-2004: Between 2001 and 2002 FertiNitro made warranty claims against
        Snamprogetti under the EPC, regarding “defects, deficiencies and failures” of the Plant’s




71
   JIA (C-18), Paragraph 5.2.1.
72
   JIA (C-18), Paragraph 5.2.1; Resp. C-Mem., Paragraph 30.
73
   JIA (C-18), Paragraph 5.2.4.
74
   FertiNitro, Financial Statement for the Year Ended Dec. 31, 2004 and 2003 (non-dated) (R-14), Note 1, p. 8. See
   also Cls. Mem., Paragraphs 52-53; Resp. C-Mem., Paragraph 27.
75
   EPC Contract (C-24), Art. 1, Paragraph 1.97, p. 12. “Nameplate” capacity is the projected sustainable capacity of
   a piece of equipment under specifically defined operating conditions. See Resp. C-Mem., Paragraph 56, citing
   Witness Statement of Anibal José Villarroel García (28 February 2013) (“Villarroel WS1”), Paragraph 11.
76
   See FertiNitro 31 December 2000 and 1999 Report of Independent Accountants and Financial Statements (2
   February 2001) (C-61); FertiNitro, Financial Statements for the Years Ended Dec. 31, 1999 and 1998 (non-dated)
   (R-4); Resp. C-Mem., Paragraph 28.


                                                        71
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 88 of 622




         equipment and operations. 77 From 2002 onwards, FertiNitro experienced shutdowns for
         repairs and maintenance issues.                FertiNitro started withholding payments due to
         Snamprogetti in its capacity as EPC contractor.

5.21     In 2002 Snamprogettti commenced an arbitration under the EPC before the International
         Court of Arbitration of the International Chamber of Commerce, against FertiNitro (the
         “ICC Construction Arbitration”), claiming payment of the sums withheld by FertiNitro.
         FertiNitro advanced counterclaims based on Snamprogetti’s alleged breach of warranties
         in the EPC related to the design, construction and engineering of the Plant. FertiNitro and
         Snamprogetti settled the arbitration on 14 December 2004. The settlement included (inter
         alia) the forgiveness of certain debts owed by FertiNitro to Snamprogetti and a cash
         payment by Snamprogetti to FertiNitro of US$ 6.5 million.78

5.22     2004-2009: The Parties disagreed on the working conditions of the FertiNitro Plant after
         the settlement of the ICC Construction Arbitration and FertiNitro’s corresponding repairs
         to the Plant. The Claimants assert that: “following the settlement […] in late 2004, and
         after the necessary construction repairs were made, the plant’s performance significantly
         improved”; 79 and that “by 2006, it was achieving 98 percent of the previously anticipated
         production levels.” 80        The Respondent alleges that many critical repairs remained
         outstanding as more than one third of the critical issues identified by the 2003 Report of




77
   FertiNitro, Financial Statement for the Year Ended Dec. 31, 2004 and 2003 (non-dated) (R-14), Note 9, p.16. The
   Parties differ on the number of warranty claims, but at least 77 distinct claims were referred to the ICC Arbitration.
   See, Resp. C-Mem., Paragraph 58; Cls. Reply, Paragraph 34.
78
   FertiNitro, Financial Statement for the Year Ended Dec. 31, 2004 and 2003 (non-dated) (R-14), Note 9, p.16;
   Gwaltney WS1, Paragraph 40; Villarroel WS1, Paragraph 17.
79
   Cls. Mem., Paragraph 153, Cls. Reply, Paragraph 33.
80
   Cls. Reply, Paragraph 36, citing FertiNitro December 2006 Monthly Report (5 February 2007) (C-97); and Bond
   Offering Circular (C-115).


                                                          72
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 89 of 622
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 90 of 622




5.24     From 2006, there was a clear downturn in production levels. 86 The Parties however
         disagree as to the causes. According to the Claimants, the operational problems are related
         to “the repeated failures of PDVSA Gas and Pequiven to supply the contracted levels of
         gas and electricity to the plant, combined with Respondent’s increased interference with
         and distraction of the management of the plant.” 87 For its part, the Respondent admits that
         there were problems in the supply of raw materials; 88 but it adds that FertiNitro’s
         operational issues “have their roots” in the plant’s construction and design flaws
         attributable to the EPC Contractor. 89

5.25     FertiNitro was also subjected to and failed a “reliability test”, and thereafter continued to
         experience planned and unplanned shutdowns, relating among others to mechanical
         failures. 90 In between these tests, FertiNitro underwent “turnarounds.” A “turnaround” is
         a scheduled period of down time in which all production in a plant is stopped; and catalysts
         and raw materials are removed. FertiNitro had its first turnaround in 2005. Thereafter,
         turnarounds took place in 2008, 2009 and 2010. The cost of the turnarounds, as well as the
         annual maintenance costs, significantly exceeded the originally allocated budget and also
         significantly increased after 2008. 91

         (iii) Pequiven’s Negotiations to Buy-Out the FertiNitro Private Shareholders

5.26     2005-2006: Between June 2005 and October 2006 the Pequiven-appointed directors
         submitted to the FertiNitro board of directors Pequiven’s proposals to buy additional




86
   Expert Report of Tim Giles (2 June 2012) (“Giles ER1”), Paragraph 4.21 (“the performance from 2006 to 2008 was
   below what could be expected from a Plant of this type”). Cls. Reply, Paragraph 36; Cls. Mem., Paragraph 158;
   Resp. C-Mem., Paragraph 75.
87
   Cls. Reply, Paragraph 36.
88
   Resp. C-Mem., Paragraphs 75, 80, 83.
89
   Resp. C-Mem., Paragraph 76; Resp. Rej., Paragraphs 61-67.
90
   Fertinitro Board of Directors’ Meeting No. 75 (31 October 2006) (R-58), p. 2; Fertinitro Board of Directors’ Meeting
   No. 81 (24 May 2007) (R-61), p.4. According to the Respondent, the mechanical failures also created safety risks
   for workers at the plant. Resp. C-Mem., Paragraphs 64-76.
91
   On 5 August 2010, the FertiNitro Board discussed the Plants’ escalating functioning costs and pointed that since
   2008, the costs had increased more than “twofold” in terms of US$. The turnarounds were all over budget. The
   2005 turnaround cost US$ 21.4 million, approximately US$ 10 million over budget. The second turnaround
   scheduled for 2008, cost US$ 40.4 million. Further maintenance work was required in 2009 and 2010, and a third,
   unscheduled turnaround took place in 2010, at a cost US$ 40 million. FertiNitro Board of Directors’ Meeting
   Minutes No. 111 (5 August 2010) (C-105). See also Resp. C-Mem., Paragraphs 70-74.


                                                         74
         Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 91 of 622




         amounts of urea from FertiNitro on an annual basis at a reduced price for a period from
         2005 to 2007. 92 The amount of urea that Pequiven was to be allowed to purchase under its
         proposals was capped at 75,000 tons. 93 According to the testimony of Mr Gwaltney, the
         proposed reduced price was below FertiNitro’s production costs. 94

5.27     During the FertiNitro board meetings, the Pequiven-appointed directors explained that the
         additional urea was to be used for resale in the domestic market and thereby support the
         Government’s agricultural plans. 95                The Pequiven-appointed directors added that
         Pequiven’s proposals would only take effect “in the event that Pequiven [could not] cover
         demands with its own production” from plants at el Moron and el Tablazo. 96

5.28     FertiNitro’s board of directors (with its general management) analysed, considered and
         eventually rejected Pequiven’s request. 97

5.29     During this same period, a commission was created to analyse the Offtake Agreement. 98
         It recommended that: (i) the market distribution between the Offtakers should be
         eliminated; (ii) the limit applicable to domestic sales should be modified; and (iii) the price




92
   FertiNitro Board of Directors’ Meeting Minutes No. 57 (21 June 2005) (C-74), point 3; Pequiven Presentation to
   FertiNitro’s Board of Directors, “Special Price for Urea destined for the national market, for a specified period.”
   (June 2005) (C-75); FertiNitro Board of Directors’ Meeting Minutes No. 59 (20 September 2005) (C-77), p. 3-4;
   FertiNitro Board of Directors’ Meeting Minutes No. 65 (5 April 2006) (C-51), p. 17.
93
   Pequiven Presentation to FertiNitro’s Board of Directors, “Special Price for Urea destined for the national market,
   for a specified period.” (June 2005) (C-75).
94
   Second Witness Statement of Brent Gwaltney (20 August 2013) (“Gwaltney WS2”); see also Cls. Reply, Paragraph
   74.
95
    Pequiven Presentation to FertiNitro’s’ Board of Directors, “Special Price for Urea destined for the national market,
    for a specified period.” (June 2005) (C-75) pp. 10-12; see also FertiNitro Board of Directors’ Meeting Minutes
    No. 57 (21 June 2005) (C-74) p. 4; FertiNitro Board of Directors’ Meeting Minutes No. 59 (20 September 2005)
    (C-77) p. 4.
96
    See FertiNitro Board of Directors’ Meeting Minutes No. 57 (21 June 2005) (C-74), p. 4. See also Cls. Mem.,
    Paragraphs 118-119; Resp. C-Mem., Paragraphs 45, 99. According to the Claimants, “FertEcon data on Venezuela
    fertiliser imports and exports positively disproves [a] fertiliser shortage or fertiliser emergency in Venezuela” (Cls.
    Reply, Paragraph 86). Venezuela’s export figures for Latin America were higher in 2006 than in 2007. See
    Venezuela Urea Imports, FertEcon Urea Outlook, Appendix (C-138).
97
    FertiNitro asked the “General Management” and the “Finance and Offtake Committee” to consider the proposal
    and present to the board all the legal, operative and economic consequences of accepting the proposal and
    amending the Offtake Agreement. See FertiNitro Board of Directors’ Meeting Minutes No. 57 (21 June 2005) (C-
    74) p. 4 (SP) p. 16 (EN); FertiNitro Board of Directors’ Meeting Minutes No. 58 (21 July 2005) (C-76), pp. 18-19
    (EN) (rejecting the proposal).
98
    See FertiNitro board of directors’ Meeting Minutes No. 57 (21 June 2005) (C-74) p. 17-18; FertiNitro board of
    directors’ Meeting Minutes No. 69 (29 June 2006) (C-52) p. 19


                                                           75
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 92 of 622




        limits of the Offtake Agreement should be amended. 99 These recommendations were not
        adopted by FertiNitro’s board of directors.

5.30    In 2005 a draft amended Petrochemical law was submitted to the Respondent’s National
        Assembly. Its effects on FertiNitro were discussed in several meetings of FertiNitro’s
        board of directors, held between 2005 and 2007. 100

5.31    During those meetings, Mr Toro, a Pequiven-appointed director, informed the other
        shareholder-appointed directors that, pursuant to the text of the proposed amended law: (i)
        FertiNitro would be required to supply the domestic demand for urea before exporting urea;
        and (ii) the Respondent needed to have at least a 51% controlling share of FertiNitro, 101 so
        as take control of the business, and that “time [was] run[ning] out.”102 Mr Toro further
        stated that “Pequiven will be bringing specific proposals for the consideration of all the
        shareholders” and that “all shareholders rights and agreements will be respected.” 103

5.32    2007: Further to those discussions, from 2007 onwards, Pequiven entered into buy-out
        negotiations with all the private shareholders in FertiNitro. On 7 November 2007, KOMSA
        representatives presented a draft Memorandum of Understanding for the sale to Pequiven
        of the non-Pequiven shareholders’ shares in FertiNitro (the “KOMSA Draft MOU”). 104

5.33    According to paragraph 2.1 of the KOMSA Draft MOU:

          “The Parties hereby agree that the aggregate purchase price to be paid by Pequiven
          for the Shares will consist of (a) USD$ 1,210,000,000.00, less the outstanding
          balance of principal and accrued interest on FertiNitro’s existing bank and bond
          financing as of the Closing Date, plus (b) the Excess Cash (the ‘Purchase Price’).
          ‘Excess Cash’ would be defined as FertiNitro’s cash balance on the Closing Date,




99
     See FertiNitro board of directors’ Meeting Minutes No. 57 (21 June 2005) (C-74) p. 17-18.
100
     Gwaltney WS1, Paragraphs 64-66.
101
    Gwaltney WS1, Paragraph 65.
102
    Email from T. Parra to F. Toro re: FertiNitro – Future Initiatives (18 January 2007) (C-79).
103
    Id.
104
    Email from T. Parra to F. Toro and J. Lazo re: Draft MOU (attaching the KOMSA Draft MOU) (12 November
    2007) (C-92).


                                                   76
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 93 of 622




           including all required reserve accounts, less USD$25,000,000.” 105 (Emphasis in
           original)

5.34    2008: Discussions relating to the buy-out negotiations were halted between January and
        April 2008. 106 In October 2008, Pequiven presented a revised draft Memorandum of
        Understanding (the “Pequiven Draft MOU”). 107 According to paragraph 1 of the Pequiven
        Draft MOU:

           “(a) The purchase price (“Purchase Price”) to be paid by Pequiven to Koch
           Shareholder for the Acquired Shares is US$297,500,000.00, which shall be payable
           in cash at the closing of the Proposed Transaction (the “Closing”).
           (b) For reference purposes only and with the agreement by Pequiven and Koch
           Shareholder that the Purchase Price is a fixed amount and not subject to adjustment
           the Purchase Price was determined by taking a starting value for 100% of the
           Companies of US$1,200,000,000.00, and (i) subtracting the outstanding balance of
           principal and all accrued interest on the Companies’ existing bank and bond
           financing as of October 6, 2008, (ii) adding excess cash, exclusive of reserves, as of
           such date, and (iii) multiplying the resulting agreed net value of US$850,000,000.00
           by the 35% total equity interests in the Companies owned directly or indirectly by
           Koch Shareholder and LAIF.” 108 (Emphasis in original)

5.35    Neither the KOMSA nor the Pequiven draft MOUs were executed. The Parties’ disagree
        as to the cause for such non-execution. According to the Claimants, the drafts were not
        finalised because Pequiven indicated that the sale was no longer a priority for the
        Respondent. 109 According to the Respondent, the “[n]egotiations were interrupted in
        November 2008 due to financing issues.” 110




105
    KOMSA Draft MOU (C-92), Paragraph 2.1.
106
    Gwaltney WS1, Paragraph 115.
107
    Pequiven Draft Memorandum of Understanding (C-93).
108
    Pequiven Draft Memorandum of Understanding (C-93), Paragraph 1(a)–(b), pp. 2-3. The price referred to in
    paragraph (b), as it pertains to Koch, would have represented US$ 212.5 million for its 25% share of Fertinitro,
    after payment to it of some US$ 37.5 million in dividends in April and October 2008.
109
    Cls. Mem., Paragraph 151.
110
    Resp. C-Mem., Paragraph 92 and Resp. Rej., Paragraph 100, citing Gwaltney WS1, Paragraph 118 (stating that
    “PDVSA was indefinitely suspending any funding to Pequiven for the purchase of KOMSA’s shares.”).


                                                        77
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 94 of 622




5.36    In April and October 2008, FertiNitro paid dividends to its shareholders amounting to US$
        150 million.111

5.37    2009: By the end of December 2009, FertiNitro was in deficit, with its liabilities exceeding
        its assets. 112

        (iv) The Respondent’s Measures and the Relevant Legal Framework

5.38    1998: On 6 December 1998, President Chavez was elected as the Respondent’s Head of
        State. He took office in February 1999. During the period leading to his election, Venezuela
        was importing 64% of its food and was a “net importer” of agricultural products. 113 Article
        305 of the 1999 Venezuelan Constitution enacted under the Government of President
        Chavez enshrined the policy objectives of pursuing food security and food sovereignty. 114
        Thereafter, the Respondent engaged in a process to increase its capacity for agricultural
        production.

5.39    2001: In September 2001, the Respondent issued a 2001-2007 “Plan for Economic and
        Social Development of the Nation.” 115 According to paragraph 1.1.3.1-4 of the Plan, the
        Government was to prioritise improvement in agricultural productivity to meet domestic
        demands for food. In 2002, the Respondent developed a three-year national programme to
        develop food security and rural development, with the assistance of the United Nations
        Food and Agriculture Organization. 116

5.40    2002: On 1 July 2002, the Expropriation Law for Public or Social Benefit entered into
        effect. 117 In accordance with Article 2 of the Expropriation Law, expropriation is an
        “institution of Public Law by which the State acts in furtherance of a purpose having public
        utility or societal interest.”       Article 7 sets out the mandatory requirements for any




111
    See FertiNitro, Financial Statements for the Year Ended Dec. 31 2009 and 2008 (30 April 2010) (R-30), note 16.
112
    See FertiNitro, Financial Statements for the Year Ended Dec. 31 2009 and 2008 (30 April 2010) (R-30)
113
    Christina Schiavoni & William Camacaro, The Venezuelan Effort to Build a New Food and Agricultural System,
    in 61 Monthly Review (1 July 2009) (R-29), p. 3.
114
    Constitution of the Bolivarian Republic of Venezuela (non-dated) (R-3).
115
    Plan for Economic and Social Development of the Nation (September 2001) (R-5).
116
    Food and Agriculture Organization of the United Nations, Feature: FAO in Venezuela (2002) (R-7).
117
    Expropriation Law for Reasons of Public or Social Utility (“Expropriation Law”) (1 July 2002) (R-53) and (R-9).


                                                        78
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 95 of 622




         expropriation, which include: (i) a “formal finding declaring the public interest; (ii) a
         declaration that carrying out such [interest] necessarily requires the total or partial transfer
         of the property or right; (iii) a fair price for the property subject to expropriation; and (iv)
         timely payment in cash or fair compensation.” Article 5 of the Law provides:

           “The Expropriation Decree consists of a declaration that the execution of a project
           requires the compulsory acquisition of the totality of a property or various properties,
           or a portion thereof. […] The Expropriation Decree shall require a prior finding of
           public utility, in accordance with the provisions of Articles 13 and 14 of this Law.”

5.41     On 2 December 2002, political and civic organisations began a national civic work-
         stoppage in Venezuela. It “seriously affected many of the country’s economic activities,
         especially the oil industry.” 118 Employees of PDVSA took part in the stoppage. 119 It
         affected Pequiven, whose operations were shut down. 120 The stoppage also brought
         important changes to the staffing of Pequiven, and consequently to the personnel of
         FertiNitro. 121 According to the Claimants, subsequent to the stoppage, the Respondent
         replaced management in PDVSA, Pequiven and FertiNitro with individuals who were
         deemed loyal to the Government, regardless of their technical qualifications. 122

5.42     2004: In 2004, Pequiven had to import urea to meet local demand. 123 At that time,
         Pequiven and FertiNitro were the only companies in Venezuela producing urea. Pequiven’s
         production facilities, “El Tablazo” and “Moron”, experienced significant problems.
         According to the Respondent, Pequiven’s plants could not meet local demand.




118
    FertiNitro, Financial Statements for the Years Ended Dec. 31, 2004 and 2003 (10 February 2005) (R-14), p. 9.
119
    ICIS News, Venezuela Strike, crisis enter third and crucial week (16 December 2002) (C-36).
120
    Id.
121
    Amongst other workers, its President was fired, allegedly as a result of his support for the strike (Venezuela’s
    Pequiven boss sacked for backing strike, ICIS News (16 December 2002) (C-37). See also, Venezuela Strike, crisis
    enter third and crucial week, ICIS News (16 December 2002) (C-36)).
122
    Cls. Mem., Paragrahps 99-100.
123
     See Witness Statement of Víctor Daniel Barrientos (28 February 2013) (“Barrientos WS1”), Paragraph 23.
    According to the Claimants, “FertEcon data on Venezuelan fertiliser imports and exports positively disproves [a]
    fertiliser shortage or fertiliser emergency in Venezuela” (Cls. Reply, Paragraph 86). Claimants further allege that
    Venezuela’s export figures for Latin America were higher in 2006 than in 2007 (Cls. Reply, Paragraph 87).


                                                         79
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 96 of 622




5.43    2005: In 2005, the Respondent adopted a four-year “National Seed Plan” (Plan Nacional
        de Semillas). 124 At that time, the Respondent was importing over 70% of its food, 100%
        of its vegetable seeds and over 60%-70% of its corn seed. 125 The national plan sought to
        reduce import dependency and to increase domestic food production, through (inter alia)
        seed production and development. 126

5.44    2006: On 28 July 2006, the “Partial Reform Law of the Law on Incentives for Development
        of the Petrochemical and Carbochemical Activities and other related activities” entered
        into force. 127 In accordance with Articles 2 and 3 of this law, Pequiven “shall comply and
        execute the policies dictated by the National Executive […]” and “shall be the exclusive
        property of […] Venezuela.”

5.45    In December 2006, President Chavez was re-elected to a third presidential term.

5.46    2007: On 6 March 2007, Decree 5,218 dated 26 February 2007 (the “Urea Decree”) came
        into effect. 128 Pursuant to Articles 1 and 2, nitrogenous fertilizers and the supplies
        necessary for their manufacture were “declared to be basic necessities throughout the
        national territory,” and manufacturers, suppliers, and exporters of nitrogenous fertilizers
        were “required to supply [urea] on a priority basis to the national market.” In accordance
        with Articles 3 and 5 of the Urea Decree, the price and production of fertilizers were to be
        regulated by joint resolutions of the Ministry of Popular Power for Agriculture and Land,
        the Ministry for Light Industries and Commerce and the Ministry for Energy and Oil.




124
    National Seed Plan: Cultivating Food Sustainability (Plan Nacional de Semillas: Cultivando la Sustentabilidad
    Alimentaria, 2005-2009 (April 2005) (R-15) (“National Seed Plan”).
125
    National Seed Plan (R-15) p. 5 (SP), p. 15 (EN).
126
    National Seed Plan (R-15) p. 8 (SPA).
127
    Partial Reform Law of the Law on Incentives for Development of the Petrochemical and Carbochemical Activities
    and other related activities (1 November 2005) (C-7).
128
    Decree 5,218 (26 February 2007) (“Urea Decree”) (C-80).


                                                       80
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 97 of 622




5.47    Under the Urea Decree, a joint resolution was adopted, coming into effect on 2 May 2007
        (the “Urea Resolution”). 129 Pequiven was consulted by the Respondent during the drafting
        process of the Urea Decree and the Urea Resolution. 130

5.48    The Urea Resolution established the maximum price at which urea manufacturers could
        sell urea to Pequiven. It authorised Pequiven to purchase from any manufacturer in
        Venezuela the necessary quantities of urea to satisfy national demand. 131 In addition, urea
        manufacturers in Venezuela had to inform the relevant ministry of the Respondent as to
        the amount of urea produced by them, together with the percentages of urea product
        destined for domestic and international consumption. 132

5.49    At this time, as was well known to the Claimants and the Respondent, only Pequiven and
        FertiNitro produced urea in Venezuela. 133 Therefore, apart from Pequiven’s production
        facilities, “El Tablazo” and “Morón”, which had encountered difficulties since 2004, the
        Urea Decree and Urea Resolution, in practice applied only to the FertiNitro Plant (Pequiven
        being 100% owned by the Respondent).

5.50    Pursuant to the Urea Decree and Urea Resolution, FertiNitro was required to sell urea to
        Pequiven at below production costs and below the price specified in the Offtake
        Agreement. 134 After the devaluation of the Venezuelan Bolivar in 2010, the difference in
        value between the production price and the regulated price increased.

5.51    During that same period, Pequiven’s other plant, El Tablazo, was exporting urea to other
        markets, including Ecuador, which could affect the levels of urea required from FertiNitro
        to meet the local urea demand. 135            Mr Toro, the then Pequiven-appointed director,




129
    Joint Resolution by the Ministry of the People’s Power for Agriculture and Land, the Ministry of the People’s
    Power for Light Industry and Trade, and the Ministry of the People’s Power for Energy and Petroleum (3 May
    2007) (“Urea Resolution”) (C-82).
130
    Resp. C-Mem., Paragraph 295; Cls. Reply, Paragraph 52.
131
    Urea Resolution (C-82), Art. 10.
132
    Id., Art. 11.
133
    Cls. Mem., Paragraph 131; Resp. C-Mem., Paragraph 50; Barrientos WS1, Paragraphs 16, 23.
134
    FertiNitro March 2007 Monthly Report (13 April 2007) (C-86), p.13; FertiNitro January 2010 Monthly Report (25
    February 2010) (C-87), p. 13; See also Cls. Mem., Paragraph 136.
135
    Parra WS1, Paragraph 66; Gwaltney WS1, Paragraph 104.


                                                       81
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 98 of 622




        explained that urea was being exported because of “geopolitical reasons” and that those
        amounts were irrespective of those destined to the local market. 136

5.52    2008: On 31 January 2008, Venezuela’s Decree Law 5,835 became effective. In
        accordance with Article 4 of the Decree:

          “All of the goods necessary to carry out the activities of production, manufacture,
          importing, gathering, transportation, distribution and sale of foods or products
          declared to be of first need or subject to price controls are hereby declared to be of,
          and are therefore subject to, public utility and societal interest.
          The National Executive shall, without other prior formality, initiate expropriation
          through decree for reasons of food security and sovereignty.” 137

5.53    On 31 July 2008, the Law on Food Security and Sovereignty entered into effect. 138 Article
        3 of the law provided that “[t]he goods that ensure the availability and timely access to
        foods of sufficient quality […] are declared to be of public interest and social welfare” and
        that “[w]hen there exist reasons related to food security, the Executive of the Nation may
        decree the mandatory acquisition in its entirety–with fair compensation and timely
        payment–of one of several goods needed to carry out projects or activities related to the
        production […] of foods.” In addition, Article 20 granted the Executive the power to,
        amongst other matters, “pass economic and financial measures that may be necessary for
        the implementation of national production plans.”

5.54    2009: On 18 June 2009, the Organic Law for the Development of Petrochemical Activities
        dated 16 June 2009 came into effect (the “2009 Petrochemical Law”). 139 Article 5 of this
        Law provides:

          “The basic and intermediate petrochemical activity is reserved for the State, as well
          as the works, assets and facilities required for its operation. This reserve will be
          exercised directly by the National Executive or through companies of its exclusive
          ownership. It can also be exercised by the State through Mixed Companies in which




136
    FertiNitro Board of Directors’ Meeting Minutes No. 83 (30 July 2007) (C-88), p. 7.
137
    Decree 5,835 (28 January 2008) (R-23), Art. 4.
138
    Decree 6,071 (14 May 2008), Organic Law for Food Security and Sovereignty (R-27).
139
    Organic Law for the Development of Petrochemical Activities (16 June 2009) (C-8).


                                                      82
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 99 of 622




           it has decision control and a participation of not less than fifty percent (50%) of the
           capital stock.

           Mixed Companies will be subject to the prior authorization of the National Assembly,
           to which effect the National Executive, acting through the Ministry of the People’s
           Power competent for Energy and Oil Matters, will inform the National Assembly of
           the pertinent circumstances and conditions.”

5.55    On 15 July 2009, Mr C. Inciarte, President of FertiNitro and of Pequiven, informed the
        FertiNitro board of directors that, according to the official policy of the Respondent’s Vice-
        Ministry of Petrochemistry (with which Pequiven agreed), the 2009 Petrochemical Law,
        and in particular its Article 5, would not apply to FertiNitro, because it was not to be applied
        retroactively by the Respondent. 140

5.56    2010: On 10 October 2010, President Chavez appeared to sign Decree 7,713, in front of
        television cameras during his weekly television show called “Alo Presidente.” (“Decree
        7,713”; or the “Expropriation Decree”). As President Chavez signed the Expropriation
        Decree, he was recorded as stating (as translated into English):

           “Look, so as to accomplish the capable and effective carrying out of the national
           plans of seeding and production, formulated by the National Executive, and that are
           necessary for the execution of the work of the socialist agro-alimentary sovereignty
           plan… Approved, that it be expropriated and it pass to the property, to the
           nation’s property.” 141

5.57    This Expropriation Decree dated 10 October 2010, which was published in the
        Respondent’s Official Gazette on 11 October 2010 over President Chavez’s signature,
        provided (inter alia): 142

           “Article 1. The mandatory acquisition of movable and real estate assets is ordered,
           including improvements, installations, facilities, industrial equipment, office and
           other assets, required or necessary for the production, processing, transportation
           and warehousing activities of fertilizers (urea and ammoniac) that are owned by, or
           in the possession of, the business companies Fertilizantes Nitrogenados de Oriente,



140
    FertiNitro Board of Directors’ Meeting Minutes No. 101 (15 July 2009) (C-72), p. 6 (SP), p. 15 (EN).
141
    VTV Broadcast transcript (11 October 2010) (R-33), p. 6.
142
    Decree 7,713 (dated 10 October 2010) (“Expropriation Decree”) (C-9).


                                                        83
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 100 of 622




  S.A., Fertilizantes Nitrogenados de Venezuela, S.R.L., Fertilizantes Nitrogenados de
  Oriente, C.E.C. y [sic] Fertilizantes Nitrogenados de Venezuela C.E.C., or any other
  company or persons related, with the objective of achieving the absolute and effective
  realization of the national plans of sowing and production formulated by the National
  Executive, and that are necessary for the execution of the ‘Socialist Plan for Agri-
  Food Sovereignty’

  Article 2. The project ‘Socialist Plan for Agri-Food Sovereignty’ will be executed by
  Petroquímica de Venezuela, S.A. (PEQUIVEN), assigned to the People’s Power
  Ministry for Energy and Petroleum, as the expropriation entity, or the subsidiary that
  the entity appoints.

  Article 3. The expropriated goods will be transferred free of encumbrances or
  limitations to the Venezuelan State by means of the company Petroquímica de
  Venezuela, S.A.(PEQUIVEN), as the expropriation entity, or the subsidiary that the
  entity appoints, in accordance to what is stipulated in Article 11 of the Expropriation
  Law for Public or Social Benefit.

  Article 4. In compliance to what is stipulated in article 12 of the Expropriation Law
  for Public or Social Benefit the company Petroquímica de Venezuela S.A.
  (PEQUIVEN) is hereby authorized to carry out the necessary steps for the acquisition
  of real estate and other assets as stipulated in article 1 of the present Law,
  subrogating its position in all rights and obligations that correspond to the
  Bolivarian Republic of Venezuela on such matters.

  Article 5. Petroquímica de Venezuela, S.A. (PEQUIVEN) will initiate and carry out
  the expropriation process as stipulated in the Expropriation Law for Public or Social
  Benefit until total and definite transfer of the ownership of the properties indicated
  in article 1 of the present Law takes place.

  Article 6. In compliance with stipulations of article 3 of the Decree with Rank, Value
  and Force of the Organic Law for Security and Agri-food Sovereignty, the occupancy
  of the assets indicated in article 1 of the present Law by the company Petroquímica
  de Venezuela, S.A.–(PEQUIVEN) is ordered with the objective of placing these into
  operation, administration and capitalization.
  […]




                                         84
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 101 of 622




           Article 8. The Minister of the People’s Power for Energy and Oil is appointed for the
           execution of the present Decree” 143

5.58    There is disagreement between the Parties on whether any notice was provided to the
        Claimants (or to KOMSA) of the Expropriation Decree. The Claimants contend that no
        advance notice of the Expropriation Decree was given by the Respondent. 144                             The
        Respondent contends, in turn, “Venezuela provided both constructive and actual notice that
        FertiNitro could be subject to a mandatory acquisition” through a series of actions starting
        as early as 2005. 145

5.59    On 11 October 2010, the day following the televised signing of the Expropriation Decree
        by President Chavez, the Respondent’s Minister of Energy and Oil (Mr Rafael Ramírez)
        travelled in person to the FertiNitro Plant. He there made the following statement during
        an interview by journalists broadcast on public television, directed also to employees of
        FertiNitro, Pequiven and PDVSA assembled at the Plant. This public address merits citing
        almost in full (as translated into English), with paragraph numbers here added for ease of
        later reference: 146

           “[1]… [Minister Rafael Ramirez unrecorded] …mandate of our laws, of our
           government, of our revolution, because this is a fundamental plant for agricultural
           development of our country, our food sovereignty, this is a plant with which we have
           been meeting with for a long time, without any success whatsoever, to try to have
           them adapt to our needs in the national development plan. So that we may see the
           importance that this company [i.e. FertiNitro] 147 has in the national agricultural
           system ... well, first is to announce that at a national level we produce 380,000 tons
           per year of fertilizers, and urea in particular. But this sole plant produces 1,500,000
           tons per year of urea. This is a very large plant, the largest we have in the country.




143
    Article 11 of the Expropriation Law (cited in the Expropriation Decree) relates to “Releases of encumbrances on
    expropriated property” and Art. 12 to the Right of Subrogation. See Expropriation Law (1 July 2002) (R-53).
144
    Gwaltney WS1, Paragraph 120; Cls. Mem., Paragraph 163; Cls. Reply, Paragraph 90.
145
    Resp. C-Mem., Paragraph 168ff.
146
    English translation of VTV Broadcast transcript of the Spanish language interview of Minister Ramírez (11 October
    2010) (R-33 & C-107). This English translation cited above is taken from the Respondent’s translation in R-33. It
    was not agreed by the Claimants who submitted their own English translation (C-107). See also Video file in mp4
    format “Minister Ramirez Heads Takeover of FertiNitro” (11 October 2010) (C-139).
147
    The Tribunal’s interpretation is here added in square brackets, as also the insertions in square brackets below.


                                                        85
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 102 of 622




  [2] Ok now, this is a plant that, receiving gas produced by the Venezuelan State at
  as subsidized price, that is to say, between 0.5 and 1.5 dollars per MMBTU, one must
  consider that outside the country gas is now selling for between 3 and 12 dollars per
  MMBTU. Notwithstanding this subsidized price, it is impossible that this plant, in
  which Pequiven had a minority interest, would not adjust to the fertilizer supply
  requirements for national development.

  [3] We currently have a consumption of 600,000 tons of urea, but we are in now in
  our development plans, the total seeding plan designed by the national government,
  to cover up to 5 million hectares. We are setting a requirement of more than 1.3
  million tons. With the control of this plant that the Venezuelan state will be taking
  [i.e. the FertiNitro Plant], we now have guaranteed all of the urea that our farm
  workers may need, all of the urea that our producing sector may need, to sustain this
  extraordinary seeding plan and to sustain national development.

  [4] On another topic, this plant, which had a group of private shareholders, we had
  serious problems with sales. Being a fertilizer produced with Venezuelan gas, well,
  we had a limit where we could only acquire up to 10% of its production for the
  domestic market. And, when they sold it to us, they sold it at a price that was 2.5 to
  3 times in excess of the price at which Pequiven sells its fertilizers. [These appear to
  be references to the Offtake Agreement].

  [5] Such that, we are here very satisfied, because we know that this step is a step
  closer toward our sovereignty. We are with the workers, who are the fundamental
  actors of this process and, of course, paying attention to the guidelines of
  Commandant Chavez, of President Chavez, in the deepening of our Bolivarian
  revolution.”
  […]
  [6] Well, here we have a plant of about 400 workers. Of course, the private parties
  were using an outsourcing model. We are going to eliminate the outsourcing and
  enter upon a process of worker action – regularize all of the relationships with our
  workers – because socialism is about an economic system where the base, the
  relationship, the production relationships have to be within the framework of the
  ethics of socialism. It can’t be; we can’t have workers here that are being exploited
  by trans-national companies while they are the ones making the profits outside the
  country. [These appear to be references (inter alia) to FertiNitro’s foreign
  shareholders, including KOMSA].

  [7] So then, now a process is beginning, of course, a legal proceeding; all of the
  mechanisms are being initiated to complete the legal steps for expropriation. But we



                                         86
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 103 of 622




  are here with our workers, workers from Pequiven, workers from FertiNitro, and
  workers from PDVSA, already in control of the plant and making inspections of the
  installations because, of course, we have to guarantee that all of the assets are
  preserved, which from here on out belong to the Republic.

  [8] Newsperson: The benefits of the countries of ALBA, which FertiNitro will have
  also? Minister Rafael Ramirez: Well, look. First of all, with this we guarantee our
  supply to the internal market. And later, we will have the control of sales. Up to this
  moment, the trans-national that operated here was the one that managed the volumes
  quoted, in accordance with its own criteria, according to its commercial policy. We,
  as you all know, in the heart of ALBA in Latin America and in our own domestic
  market, we have a different view. We have available people and natural resources,
  such as natural gas, which is the one used in this case, to convert it into inputs for
  the manufacturing process. In this sense, this plant will allow us to ensure that our
  policy is carried out in the future. [These appear to be references (inter alia) to the
  Offtake Agreement].

  [9] Newsperson: (Unintelligible). Minister Rafael Ramirez: Well, yes, we are first
  taking here. We are guaranteeing ... take note that a plant stoppage has been started
  right now, at the beginning of their work. For that reason, there is a lot of movement...
  because we are always tending to the maintenance of our installations in optimum
  condition.

  [10] Newsperson: What will be the impact of the nationalization of FertiNitro on the
  people? Minister Rafael Ramirez: Well, very positive, because it will now allow us to
  have available the volumes of fertilizers that we may need of urea at national prices.
  Note that Pequiven sells the 50 kilo sack of urea at 19 Bolivars, and here FertiNitro
  used to sell it to us at 50 Bolivars. That is to say, a difference of more than 2.5 times.
  Now we will have available the price that is regulated by the state, of 19.5, and we
  will be able to have available all of the urea that the domestic market may require.
  In that sense, between this operation and the nationalization of AgroIsleña, now
  AgroPatria, we are going to have the entire chain to be able to supply our farm
  working sector, over there in the Andes so that they may produce coffee, there in the
  plains so they may produce corn, so that they may produce sorghum. That is to say,
  all that we have seen is a fundamental element for us to be able to transcend the oil-
  producing model, and it is a fundamental model for guaranteeing the security and
  the feeding of our people. In the measure that we have the inputs for the entire chain
  controlled by the state, such that it guarantees that no speculation will take place
  with them, that is to say, with the fertilizers, the chemicals, the agro-chemicals, our
  people we be able to continue to have food available, there will be more work the



                                          87
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 104 of 622




  fields and, our people, across the socialist distribution network, we will then be able
  to have secure food at low prices, in abundance for all of our country. [Again, these
  appear to be references (inter alia) to the Offtake Agreement].

  [11] Newsperson: What steps for our national sovereignty? Minister Rafael Ramirez:
  That's right, I also want to underscore and thank the unwavering support of workers,
  the support of our FUTEC, which is the confederation of our workers, Socialist
  Workers Vanguard, all of the peoples’ organizations, the worker organizations that
  from, just yesterday, when the president made the announcements, are here
  safeguarding these installations, here at FertiNitro, as well as concurrently, our
  workers are in the State of Carabobo, guaranteeing, safeguarding the installations
  of Industria Venoco, which has also been nationalized by the revolution. Both steps
  are very important, because it is a sector in which we have to guarantee sovereignty.
  In the case of Venoco, we are dealing with a sector fundamental for production of
  chemicals, lubricants, greases, needed by the electrical and the industrial sectors,
  where the same situation was being repeated. It being PDVSA, being the State, which
  supplies the raw materials; well, there is a sale policy that, in a clear way, was
  impeding the plans to make available the natural resources for service to the people.

  [12] Newsperson: How many people? Minister Rafael Ramirez: In FertiNitro, 400
  persons. In Venoco we have about 360 persons. Yes, FertiNitro, FertiNitro. In ...
  national they have about [4]50 persons, that’s more or less the number, which is the
  largest concentration of persons.
  […]
  [13] These are very important actions, because these companies, as you well know,
  were companies and businesses that were remnants of the prior republic. They were
  companies and businesses of trans-national and national capital that were taking
  advantage of the supply of raw materials, cheaply, of the Venezuelan state, and of
  PDVSA in this plant, in particular.

  [14] And I want to salute all of the workers and their political organizations. I want
  to salute the workers of FUTEC. I want to salute the workers of the Socialist Workers’
  Vanguard. I want to salute all of our workers who, as of just yesterday, came here to
  secure and guarantee the operations of, and the integrity of these assets that, today,
  belong to the Venezuelan state. We know that we can always count on the petroleum
  workers, we can always count on the petrochemical workers, we can count on the
  working class, we can count on the workers, the engineers, the technicians that make
  it all possible, that from day to day, we get our energy inputs. You all know that we
  have waged the battle for full petroleum sovereignty; that battle, that the Bolivarian




                                         88
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 105 of 622




  government has advanced and consolidated. And today, with Chavez, we can say that
  we are sovereign in the management of our petroleum resources.

  [15] Now we are on the offensive to deepen food sovereignty. Only a few days ago,
  Commandant Chavez announced the nationalization of the AgroIsleña company,
  today the AgroPatria company. It is a company that allows us to provide for our farm
  workers, for our people, the agricultural inputs produced in the country and that the
  private parties held as a speculative tool, bringing poverty to the fields. This is now
  under the control of the State.

  [16] Yesterday, the nationalization of FertiNitro was announced. So that we can see
  the importance of this plant we, with our petrochemical industry - Pequiven - produce
  at a national level two hundred, three hundred eighty thousand tons/year of urea that,
  as you all know, is fundamental for food production. This sole plant- FertiNitro -
  produces, on its own, 1,500,000 tons/year of urea. That is to say, five times more than
  what is produced in all of the plants nation-wide.

  [17] But what was the problem? That this plant being, this plant [i.e. the FertiNitro
  Plant] receives gas produced by Petróleos de Venezuela, gas belonging to all
  Venezuelans. We sell it to them at a subsidized price, between 0.5 and 1.5 dollars per
  ton, per MMBTU. One has to consider, that in the world gas sells for 3 and has even
  gotten as high as 12 dollars per MMBTU. Here there is a subsidized price, 12 times
  less than it is sold for outside the country. But then these gentlemen, these private
  capitalists, foreign and national, produce urea fertilizer with that gas in large
  quantities and the majority of it is exported. That is to say, it doesn't come to supply
  national needs. [These appear to be references (inter alia) to FertiNitro’s foreign
  shareholders, including KOMSA, and to KNI and the Offtake Agreement].

  [18] It has cost us a lot to get these gentlemen to sell some fertilizer to the country.
  And after many discussions, we were able to secure that they would sell us only 10%
  of their production. And do you know at what price they would sell it to us? At triple
  the price at which Pequiven sells fertilizer in the national market. Such that, all of
  the fertilizer that was produced was at the disposal of the marketing companies, in
  this case a North American company, Koch, which would grab all of our fertilizer
  and sell it outside the country at speculative prices. [These appears to be references
  (inter alia) to KNI and the Offtake Agreement].

  [19] With this nationalization action, we are guaranteeing, in the first instance, that
  all of the fertilizer that our farm workers may need, all of the fertilizer that our
  national seeding plan may need, all of the fertilizer that we may need to produce food



                                         89
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 106 of 622




  for our people, will be abundant, cheap and secure for all of our people. That is, that
  would be, the only reason.

  [20] This is what Commandant Chavez has indicated - These large industrial
  installations located in national territory, which exploit the workers, which speculate
  with our own resources, should pass into the hands of the Venezuelan state. They
  should pass into the hands of the people. With the acquisition, with the
  nationalization of this plant, what we are doing is strengthening our nation’s
  property, the property of all the men and women that live in the national territory.
  But in addition, and most importantly, the control of a plant like this one, FertiNitro,
  will enable us to guarantee the National Seeding Plan and the food sovereignty of
  the country. It will guarantee that the gas produced by our workers over there in
  PDVSA Gas, that they produce in Anaco with so much effort and what it has cost us
  to have controlled our oil & gas industry, may then be converted into fertilizer to
  benefit our people, so that our men, women and children may have a secure food
  supply.

  [21] Also, in the same way that we are gathered here today in the State of Anzoátegui,
  in the Jose Antonio Anzoátegui complex, our fellow workers are in the State of
  Carabobo securing the nationalized installations of the Venoco company...

  [22] Finally, I want to say in the name of our President, to guarantee to our workers,
  that all of the despicable capitalist practices, like the outsourcing and exploitation of
  workers, will end at this company. There can be no outsourcing whatsoever. There
  can be no exploitation whatsoever of our workers.

  [23] We are going to build socialism... we are going to build socialism and in this
  sense, the Venezuelan state and the working class have an extraordinary role to play.
  Fellow workers, the future is yours. For you we are building socialism, for the men
  and women working every day in our national industries, in order to be able to
  guarantee to our people, to our communities, the communities that live near all of
  our industrial complexes, the communities of Viñedo, the communities of Barcelona,
  the communities of Puerto Espirito, that all of the Venezuelan people will receive the
  benefits that the Venezuelan state and its workers control, then, as important a
  company as this one that we are controlling - FertiNitro. Companions, workers, the
  call is to deepen the combat, to continue deepening our revolution, and, under the
  guidance and orientation of Commandant Chavez, we are sure that we are going to
  prevail. Country, Socialism or Death! We shall conquer! Thank you, companions.”




                                          90
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 107 of 622




5.60       The Tribunal finds the following facts established by the events of 10 and 11 October 2010,
           as recorded above. First, the Minister’s visit to and address at the FertiNitro Plant took
           place in the context of the Expropriation Decree, particularly Article 1 on the “mandatory
           acquisition of movable and real estate assets” 148 of FertiNitro and Article 6 on the
           “occupancy” of FertiNitro’s assets. Under Article 8 of the Decree, the Minister was
           responsible for its execution; and the Minister referred expressly to President Chavez’s
           “announcements” of 10 October 2010: see paragraphs [11] and [16] above. Second,
           pursuant to the Expropriation Decree, the Minister was carrying out or confirming the
           Respondent’s “control” of the FertiNitro Plant: see paragraphs [3], [7], [20] and [23] above.
           Third, that control, in the Minister’s words, derived from FertiNitro’s “nationalisation” and
           “expropriation” by the Respondent under the Expropriation Decree: see paragraphs [7],
           [10], [16] and [20] above. Fourth, that control necessarily extended beyond the physical
           and other assets of the FertiNitro Plant to include the abrogation of any existing contractual
           restrictions on FertiNitro’s product being sold otherwise than for the domestic Venezuelan
           market, or as the Respondent might otherwise decide: see paragraphs [3], [4], [8], [10],
           [17], [18] and [19]. The Expropriation Decree itself said nothing expressly in regard to the
           abrogation of FertiNitro’s existing contracts; but its effect, read with the Minister’s address,
           leave no room for doubting the Respondent’s intentions towards the Offtake Agreement.
           Fifth, as one motive for the Expropriation Decree, the Minister referred in derogatory terms
           to “trans-national” companies and “foreign” capitalists: see paragraphs [6], [8], [13 and
           [17] above. Last, but not least, the Minister was careful to describe the Respondent’s
           actions within the framework of Venezuelan law: see his reference to “legal proceeding”
           and “legal steps for expropriation” in paragraph [7] above.

5.61       According to the Respondent, there was no physical occupation of the Plant at that point
           by Pequiven’s employees or others. Instead, Mr Ramirez, as the responsible Minister
           “[took] control of the plant and was inspecting the installations in order to guarantee that




148
      See Expropriation Decree (C-9), Art. 1: “Se ordena la adquisición forzosa de los bienes muebles e inmuebles,
      incluyendo bienhechurías, instalaciones, plantas, equipos industriales, de oficina y demás activos, requeridos o
      necesarios para la actividad de producción, procesamiento, transporte y almacenamiento de fertilizantes […]”


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 108 of 622




         all of FertiNitro’s assets had been secured.” 149 The Tribunal does not consider this
         description to be factually complete. By this time, the FertiNitro Plant was occupied by
         persons answerable to the Respondent (as distinct from FertiNitro) and whose conduct in
         seizing and physically controlling the FertiNitro Plant was approved and ratified by the
         Minister for the Respondent, as evidenced by the terms of his public address on 11 October
         2010 and the Expropriation Decree cited above.

5.62     2011: On 26 July 2011, Pequiven (represented by Mr Barrientos) applied for orders to
         “request the expropriation of the asset” [of FertiNitro] (in the Spanish text of the
         application: “solicitar la expropiación de los bienes”) to the Second Circuit of First
         Instance of Civil, Commercial, Agrarian and Transit Law of the Judicial Circuit of the
         Anzoátegui State. 150 As explained by the Respondent’s counsel at the Third (June)
         Hearing, Pequiven thereby sought orders regarding (inter alia) the appointment of an ad
         hoc (temporary) board of trustees to run FertiNitro with legal power of control of all aspects
         of its business. 151

5.63     As regards its authority to request such orders from the Anzoátegui Court, Pequiven’s
         application read as follows: 152

           “By virtue of the Expropriation Decree […] PEQUIVEN is authorized to make the
           necessary arrangements for the acquisition of the movable and immovable property
           of FERTINITRO, being granted all rights and obligations pertaining to the
           Bolivarian Republic of Venezuela for such purposes. PEQUIVEN is also authorized
           to initiate and execute the expropriation proceedings under the Expropriation Law
           for Public Benefit or Social Interest, published in the Official Gazette of the
           Bolivarian Republic of Venezuela No. 37,475 on July 1, 2002 (hereinafter
           “Expropriation Law”) until full and final transfer of ownership of the property listed
           therein to the Bolivarian Republic of Venezuela, through PEQUIVEN or a designated
           subsidiary thereof.”




149
    Resp. Rej., Paragraph 158.
150
    Petition for Expropriation and Provisional Relief to the Court of First Instance of the Civil, Commercial, Agrarian
    and Transit Law of the Judicial Circuit of the Anzoátegui State (26 July 2011). Each Party provided their own
    translation under R-36 and C-141 (the “Expropriation Petition”).
151
    Third (June) Hearing, D1.157.13-16.
152
    See Expropriation Petition (C-141), p. 84.


                                                         92
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 109 of 622




5.64     On 29 July and 8, 9 and 10 August 2011, as requested by Pequiven, orders were made by
         the Anzoátegui Court pursuant to Article 6 of the Expropriation Decree, with Pequiven
         treated as the expropriating body under the Decree. 153 These court orders overrode the
         existing governance by-laws of FertiNitro under Venezuelan law. 154 However, much
         earlier as a matter of fact, these by-laws were no longer being applied within or to
         FertiNitro.

         (v)    Other Events Following the Expropriation Decree

5.65     2010: According to the Respondent, at the time of the Expropriation Decree (dated
         10 October 2010), KOMSA’s personnel at FertiNitro were no longer fulfilling their
         tasks. 155 The control exercised by FertiNitro’s board of directors had ceased, as Pequiven
         “was given control of the operations, management and capitalization of FertiNitro.” 156

5.66     No meetings of FertiNitro’s board of directors or committee meetings were convened
         subsequent to the Expropriation Decree. 157 On 9 November 2010, the FertiNitro directors
         appointed by KOMSA formally resigned from their positions. 158 The FertiNitro-appointed
         directors by Polar formally resigned a few days later, on 22 November 2010. 159

5.67     On 26 November 2010, Mr Flores (of FertiNitro) sent a letter to Mr Strand (for KNI),
         stating:

           “As per our conversation this afternoon, FertiNitro confirms the continuing of the
           Offtake Agreement under the fulfil of each clause such as: price, allocations of
           products, assignments of markets, and all the other clauses related in that agreement.




153
    Judicial Records before Second Circuit of First Instance of Civil, Commercial, Agrarian and Transit Law of the
    Judicial Circuit of the Anzoátegui State, Resolutions of 8, 9, 10 August 2010 (C-141), pp. 38ff (SP), pp. 116 ff
    (EN).
154
    Judicial Records before Second Circuit of First Instance of Civil, Commercial, Agrarian and Transit Law of the
    Judicial Circuit of the Anzoátegui State, Resolutions of 8, 9, 10 August 2010 (C-141), pp. 24, 52-55 (SP), pp. 122,
    130-133 (EN).
155
    Resp. C-Mem., Paragraph 69, Resp. Rej., Paragraph 159; Villarroel WS1, Paragraph 27.
156
    Resp. Rej., Paragraph 159.
157
    Parra WS1, Paragraph 73; Cls. Mem., Paragraph 167.
158
    Koch Resignation Letters (9 November 2010) (C-109).
159
    Polar Resignations Letters (22 November 2010) (C-110).


                                                         93
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 110 of 622




             Based on, that FertiNitro will send the FNSTOCK before the workday end in order
             to each Offtaker can see the volumes available in December”. 160

5.68       On 1 December 2010, Mr Jorge Perdomo, the General Manager of FertiNitro sent a letter
           to Mr Strand (for KNI) as follows:

             “After the announcement of Venezuelan government about FertiNitro nationalizing.
             FertiNitro hereby confirms the continuing and fulfilling of the Offtake Agreement
             made and entered on April 8, 1998 […]

             Based on the current start up of the plants, FertiNitro has sent the December and
             January allocation of products to each Offtakers and it is expected to comply fifty
             percent (50%) of the actual total plants output, such as it is stipulated in the
             agreement. Please note that total volume for Koch in December is as follow:
             Ammonia: 23.000MT +/- 10%
             Urea: 34.345 MT +/- 10%
             Please let us know your December program in order to FertiNitro can make all the
             necessary arrangement with authorities as customs, export permissions, etc.” 161

5.69       On 3 December 2010, Mr Gwaltney (for KNI) sent an email message to Mr Perdomo (of
           FertiNitro) replying as follows:

             “I am in receipt of your letter of December 1, 2010 to Jacob Strand of KNI
             acknowledging the nationalization of FertiNitro and KNI has authorized me to
             respond on their behalf. As you are aware, the government’s recent action constitutes
             an expropriation of KNI’s, and its affiliates, interests in FertiNitro including, but not
             limited to, the Offtake Agreement.

             Mr. Francisco Garcia recently informed me that he has been appointed by Pequiven
             to lead a commercial team to negotiate and compensate KNI and FertiNitro’s
             shareholders for the expropriation. I also understand that Pequiven has confirmed
             they have taken the offtake in its entirety, as part of the expropriation, and that they
             will compensate KNI for that. I further understand that Pequiven has requested that
             KNI purchase product under terms and conditions similar with the Offtake
             Agreement for a limited period of time while Pequiven negotiates with the lenders so
             as to ensure steady cash flow, in large part, for the benefit of the lenders. While we
             are still analyzing the full impact and ramifications of the government’s actions, we



160
      Email from E. Flores to J. Strand re: Offtake Agreement FertiNitro (26 November 2010) (C-111).
161
      Letter from J. Perdomo to J. Strand (1 December 2010) (C-112).


                                                         94
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 111 of 622




           understand both Pequiven and FertiNitro’s desire to continue a commercial
           relationship with KNI despite having expropriated its and its affiliates’ property.

           Given this, and on the understanding that Pequiven intends to compensate KNI, and
           its affiliates, in a manner to which they are entitled for the expropriation of their
           property under international law, for limited period of time until further notice, KNI
           agrees to purchase product under terms consistent with the Offtake Agreement.
           Payment for product shall be to the same historical bank accounts. It is also KNI’s
           expectation that FertiNitro will conduct its business affairs consistent with any and
           all lending obligations and in full compliance with all relevant laws.

           This communication and KNI’s action in agreeing to purchase product from
           FertiNitro is on strictly without prejudice basis. KNI and its affiliates, hereby
           expressly reserve any and all rights that may exist including under the Offtake
           Agreement, resulting from, or in any way associated with, governmental actions
           including, but not limited to, rights under any domestic or international laws.” 162

5.70    2011: From December 2010 onwards, Pequiven entered into agreements with the
        FertiNitro project’s bankers and bondholders to settle the debts of FertiNitro. This exercise
        was apparently completed by January 2012. 163

5.71    During 2011, representatives of Pequiven and of the other FertiNitro shareholders met on
        various occasions to discuss the amount of compensation due to these other shareholders
        (including KOMSA) from the Respondent. Such meetings were held on 16 February 2011
        in New York; 164 6 April and 23 May 2011 in Caracas and 1 September 2011 in Miami.165
        A crucial issue between Pequiven and these shareholders was the study of and methodology
        for FertiNitro’s valuation.

5.72    The negotiations between Pequiven and the FertiNitro shareholders eventually resulted in
        amicable settlement agreements with LAIF (as a 10% shareholder). Snamprogetti (as a
        20% shareholder and EPC Contractor) also reached an inchoate agreement with




162
    Email from B. Gwaltney to J. Perdomo, copying J. Strand, M. Parra, F. Garcia re: KNI Offtake (3 December 2010)
    (C-113).
163
    Barrientos WS1, Paragraph 44.
164
    See Letter from Betulio Hernandez, Executive Director, Pequiven, to Shareholders (28 February 2011) (R-35).
165
    Gwaltney WS2, Paragraph 39; Barrientos WS1, Paragraphs 35-37; Second Statement of Witness Víctor Daniel
    Barrientos Casanova (30 December 2013) (“Barrientos WS2”), Paragraphs 37ff.


                                                       95
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 112 of 622




         Pequiven. 166 It seems that there was no concluded agreement with Polar. No agreement
         was made with KOMSA, still less KNI which was not separately privy to these
         negotiations.

5.73     On 28 June 2011, i.e. before the final meeting in September 2011, the Claimants filed their
         Request for Arbitration before ICSID.

5.74     As already noted above, on 26 July 2011, Pequiven filed a Petition to the Court of First
         Instance of the Judicial Circuit of Anzoátegui in order to carry out the mandatory
         acquisition and requesting that a temporary Ad Hoc Board of Temporary Judicial
         Administrators be established to govern FertiNitro, further to the Venezuelan law on
         domestic expropriation procedure. 167             Shortly thereafter, the Court designated the
         requested Ad Hoc Board. 168 On 29 July 2011, the Court of First Instance of the Judicial
         Circuit of Anzoátegui issued a decision accepting jurisdiction to hear the Request for
         Mandatory Acquisition. 169 Thereafter, these legal proceedings continued and, apparently,
         still continue, without payment of any compensation to the Claimants under the
         Expropriation Decree.

5.75     In the summer of 2011, during their negotiations, Pequiven presented to FertiNitro’s
         shareholders (including KOMSA) valuation reports prepared by financial consultants
         called Advantis (also mistakenly called in the evidence “Adventis”). Advantis had been
         created by former officers of Booz Allen in Venezuela. 170 There were two written reports
         of May and July 2011, both dated “September 2010.” 171 That was not the date of the



166
    Barrientos WS2, Paragraph 41; Resp. Rej., Paragraph 151.
167
    Expropriation Petition (R-36).
168
    Provisional Measures of the Court of First Instance of the Judicial Circuit of Anzoátegui (11 August 2011) (R-37)
    (C-141).
169
    Court of First Instance of the Judicial Circuit of Anzoategui, Decision accepting jurisdiction to hear the Request
    for Mandatory Acquisition (29 July 2011) (R-63). Thereafter, on 28 November 2013, the Court of First Instance,
    “received the certificate of encumbrances from the Records Office”; and on 12 December 2013, “the judge issued
    the Edict ordering its publication in two major newspapers pursuant to the Expropriation Law.” See Records Office,
    Certificate of Encumbrances and Liens (28 November 2013) (R-70); and Edicts issued by the Court of First
    Instances of the Judicial Circuit of Anzoátequi (13 December 2013) (R-72). Subsequently KOMSA was to make
    an appearance in court and then a valuation committee would be established See Resp. Rej., Paragraph 152.
170
    Second (November) Hearing D.6. 193 (Flores).
171
    Advantis Valuation Report of FertiNitro (July 2011) (C-157); Advantis Valuation Report of FertiNitro (May 2011)
    (R-86).


                                                         96
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 113 of 622




        documents’ production, but rather (presumably) the end-date of the calculations made by
        Advantis. Advantis were independent consultants retained by Pequiven to value FertiNitro
        in their negotiations with (inter alios) KOMSA. Advantis was not advising or howsoever
        acting for the Claimants. Their reports were not “joint reports;” nor were their valuations
        ever accepted as correct by KOMSA or (so it appears) by the Respondent itself. Neither
        valuation was professed by Pequiven as a firm offer by the Respondent capable of
        acceptance by KOMSA, without further negotiations. Moreover, Pequiven had indicated
        to the shareholders that it did not have the authority nor the funds - to conclude by itself -
        any agreement for the Respondent. 172

5.76    The circumstances whereby these two reports were transmitted to KOMSA in 2011 remain
        unclear on the evidence adduced in this arbitration. As to the first Advantis report of May
        2011 entitled “Valoracíon de FertiNitro”, it appears from contemporary email messages
        dated 18 and 19 May 2011 that it was sent by Advantis to Pequiven and by Pequiven to
                                                         173
        KOMSA as a shareholder in FertiNitro,                  presumably for the meeting that took place
        between their representatives on 23 May 2011 in Caracas. 174 Mr Gwaltney (for KOMSA)
        sent a letter of 19 May 2011 to Pequiven criticising this first Advantis valuation. 175 As to
        the second Advantis report of July 2011 also entitled “Valoracíon de FertiNitro”, the
        Claimants accept that, as with the first report, it was transmitted by Pequiven to KOMSA
        as a shareholder in FertiNitro. 176

5.77    Mr Barrientos (of Pequiven) explained the background to these Advantis reports in his oral
        testimony at the First (September) Hearing: 177

          “At the first meeting that we had in February 2011, one of the requests that Pequiven
          tabled was that, working together with the expropriated shareholders, that we would


172
    Gwaltney WS2, Paragraph 41.
173
    See email of 18 May 2011, from Ignacio Pulido of Advantis (Director), to Francisco Garcia of Pequiven,
    presumably transmitting the First Advantis Report to Pequiven (“18 May 2011 email”); and email of 19 May 2011
    from Francisco Garcia to representatives of the Fertinitro shareholders, including M. Parra and G. Waltney of
    KOMSA/KNI, V. Barrientos and Jorge Luis Perdomo of Pequiven, R. Biondi of Snamprogetti and O. Grossman
    of Polar, transmitting the Reports from Pequiven to the other shareholders (R-86), p. 2.
174
    18 May 2011 email (R-86), see also supra Paragraph 5.71.
175
    Gwaltney WS2, Paragraph 40.
176
    Third (June) Hearing, D2. 103-104.
177
    First (September) Hearing, D3. 83ff.


                                                       97
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 114 of 622




           hire a third party to come in and give us an evaluation of the company, and then on
           that basis, establish compensation. But none of the expropriated shareholders
           accepted that proposal and that is why Pequiven on its own hired a third party to do
           the evaluation […] Adventis is a company that has provided services to a variety of
           mixed companies in valuation for Pequiven, in other areas as well, it is a well
           recognised firm, and of course this is something that we have taken very seriously. It
           was something that was enshrined in a Government decree. We [Pequiven] were
           designated as the expropriating entity and we were taking this very seriously. We
           hired Adventis, we were trying to reach a consensus with the expropriated
           shareholders in order to get them involved in selecting a single valuation expert and
           since they didn’t agree with this we felt free to go out and work with the company
           that we felt was the most qualified to do this job, and that was Adventis. It has
           considerable credentials which give it trustworthiness for this type of valuation and
           that’s why we decided to work with them. […] as part of the negotiation team I met
           with them, along with the rest of the group […] I can tell you that Adventis is a well
           recognised company and I don’t think they would have jeopardised their reputation
           by getting involved in that type of valuation.”

           The witness had been asked whether Advantis had been instructed by Pequiven “to
           make the valuation as low as possible.” 178

5.78     The Tribunal returns to the content of these two Advantis Reports later in Part IX of this
         Award. For present purposes, it suffices to record that the first report valued FertiNitro at
         US$ 398 million as at 30 September 2010 179 (thereby valuing KOMSA’s 25% interest at
         US$ 99.5 million); and the second report valued FertiNitro at US$ 452 million as at 30
         September 2010 under a first scenario; 180 that report also contained an alternative scenario
         which contained elements which increased and others which decreased the value of
         Fertinitro with a total value of US$ 561million (thereby valuing KOMSA’s 25% interest
         at US$ 113 million under the first scenario and US$ 140.25 million under the second). 181
         Both reports used a DCF methodology.




178
    The insertion in square brackets is here made by the Tribunal.
179
    Advantis Valuation Report of FertiNitro (May 2011) (R-86), p.11.
180
    Advantis Valuation Report of FertiNitro (July 2011); (C-157), p.3.
181
    Advantis Valuation Report of FertiNitro (July 2011) (C-157), p. 5.


                                                         98
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 115 of 622




5.79       2012: By January 2012, as already indicated, FertiNitro had satisfied the debts owed to its
           bondholders and banks. As confirmed by the Respondent’s counsel at the Third (June)
           Hearing:

             “In December 2011, FertiNitro satisfied its obligations with respect to the bond-
             holders and the banks. At that point, once those obligations were satisfied, there was
             no longer a commercial requirement to have the offtake agreement in place. As part
             of its obligation to operate for the commercial purpose of FertiNitro, the ad hoc
             board of trustees took the decision that by getting rid of the offtake agreement, it
             would have the opportunity to pursue more lucrative sales agreements with other
             customers; or, to the extent necessary, to use production to satisfy domestic
             demand.” 182

5.80       On 28 February 2012, the President of the ad hoc board of trustees of FertiNitro sent a
           letter to KOMSA and KNI, for the attention of Mr Gwaltney and Mr Parra, stating (inter
           alia):

             “I hereby notify you that, in accordance with the Resolution issued by the Board of
             Temporary Ad-Hoc Trustees of Fertilizantes Nitrogenados de Venezuela, FertiNitro,
             C.E.C., (“FertiNitro”), as is evidenced by appointment effected by Decrees handed
             down by [the Anzoátegui Court] […]; effective from the date of this communication,
             FertiNitro shall not sell any more nitrogen fertilizers (urea and ammonia) to Koch
             Oil, S.A. under the marketing agreement entered into between Petroquímica de
             Venezuela S.A., International Petrochemical Sales Limited, Koch Oil S.A., and
             Fertilizantes Nitrogenados de Venezuela, C.E.C. on April 8, 1998; all of which is in
             fulfilment of what is established in Decree 7,713 published in Official Gazette of the
             Bolivarian Republic of Venezuela No. 39,528 of October 11, 2010, which orders the
             compulsory acquisition of movable and immovable property […]”183

5.81       The Parties disagree as to the nature of the sales transactions of ammonia and urea from
           FertiNitro to KNI made from the date of the Expropriation Decree (dated 10 October 2010)
           to the issuance of FertiNitro’s letter above (28 February 2012).




182
      Third (June) Hearing, D1. 167.5-15.
183
      Letter from Mr Betulio Hernández (of FertiNitro) to Koch Oil SA and Koch Nitrogen Company re: Offtake
      Agreement (28 February 2012) (C-114). This letter is quoted more fully in Part 4 above.


                                                     99
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 116 of 622




5.82    According to the Respondent, all of FertiNitro’s ammonia and urea was sold pursuant to
        the Offtake Agreement; and that, until February 2012, FertiNitro continued “[complying]
        with the percentages permitted under the Offtake Agreement to supply the domestic
        market.” 184 It was only after February 2012 that the percentage allocated to the domestic
        market increased substantially to fulfil the Respondent’s needs. 185 Similarly, “KNI and
        Pequiven received their share of urea and ammonia, at the same discounted price.” 186 In
        addition, Mr Barrientos (as the Project Manager and General Manager of Pequiven)
        testified that, after Decree 7,713 was issued, FertiNitro entered into a Stand Still Agreement
        with its banks and bondholders which provided for the further continuation of the Offtake
        Agreement; and that it was only terminated later for commercial reasons. 187

5.83    The Tribunal notes that this Stand Still Agreement was apparently made in December 2010
        by Pequiven for FertiNitro. It was not adduced in evidence by the Respondent in this
        arbitration. The Claimants were not parties to this Stand Still Agreement. There is no
        evidence that its terms were known at the time by KNI, save as Pequiven chose to describe
        its effect to the Claimants.

5.84    In response to the Respondent’s case, the Claimants allege that the “post expropriation
        product purchases made by KNI from FertiNitro were made pursuant to a new ad hoc
        arrangement”. 188 They claim that “after the expropriation, the bondholders and creditors
        continued to look to the product purchases and the revenues they generated, continued to
        have power, through the trustee, over the Offshore Accounts, and could have exercised
        remedies, including assuming control of the plant in the event [of default].” 189

5.85    The Tribunal finds, on the limited evidence adduced in this arbitration, that the
        Respondent’s conduct was ambiguous, being dependent upon different perspectives. Even
        from Pequiven’s own perspective, as Mr Barrientos acknowledged in his testimony:




184
    Resp. C-Mem., Paragraphs 15, 84.
185
    Resp. Rej., Paragraph 125.
186
    Resp. Rej., Paragraph 126.
187
    Barrientos WS1, Paragraph 43.
188
    Cls. Reply, Paragraph 17, 92.
189
    Cls. Reply, Paragraph 17.


                                                 100
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 117 of 622




        “Without any doubt whatsoever, immediately after Decree 7713, a great deal of uncertainty
        arose.” 190 Towards FertiNitro’s banks and bondholders, it became important for the
        Respondent ostensibly to maintain the continuing efficacy of the Offtake Agreement, as
        apparently achieved by the Stand Still Agreement, so as to avoid a cross-default under the
        Common Security Agreement and other agreements with the banks and bondholders. From
        the Respondent’s perspective towards KNI, there was there no such necessity. The Tribunal
        returns to KNI’s position in Part VII below.

        (vi) The “Historical Claims” (as regards Taxes and VAT)

5.86    As summarised in Part II above, KOMSA advances claims relating to three tax related
        measures and VAT credits, as part of its “Historical Claims”.

5.87    New Taxes: In August 2005, the Respondent enacted the Organic Law on Science,
        Technology and Innovation (Ley Orgánica de Ciencia, Tecnología e Inovación) (“Science
        and Technology Law”). 191 In accordance with Articles 35 and 42 of this Law, “large
        companies in the country dealing with the activities established in the Organic Law on
        Hydrocarbons and Gaseous Hydrocarbons” shall donate two per cent of their gross revenue
        obtained in the Venezuelan territory, to activities that would be “considered to be
        Contributions and Investments in Science, Technology and Innovations and their
        Application.” 192 According to the Respondent, Article 39 of the Science and Technology
        Law provides that contributions can be tax deductible. 193

5.88    This Science and Technology Law, a law of general application, was being implemented
        before FertiNitro began to operate and upon FertiNitro’s initiation of operations it also
        became applicable to it. After the enactment of the 2009 Petrochemical Law, FertiNitro’s
        contribution rate under the Science and Technology Law was reduced from 2% to 0.5%,




190
    Barrientos WS1, Paragraph 41.
191
    Organic Law on Science, Technology and Innovation, 3 August 2005, effective as of 1 January 2006 (C-43).
192
    Organic Law on Science, Technology and Innovation, 3 August 2005, effective as of 1 January 2006 (C-43), Arts.
    35 and 42 (10).
193
    Resp. C-Mem., Paragraph 123.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 118 of 622




         because petrochemical activities stopped being categorized as an activity within the
         Hydrocarbon sector. 194

5.89     According to the Claimants, the total amount that FertiNitro contributed in compliance
         with the Science and Technology Law in the period 2006-2010 amounted to approximately
         US$ 22.35 million.195 According to the Respondent “FertiNitro’s contributions were
         almost exclusively invested internally,” 196 and “on rare occasions, [FertiNitro] contributed
         to a public project.” 197

5.90     Increased Taxes: On 30 December 2005, the municipality of Simón Bolivar, in the State
         of Anzoátegui (where the FertiNitro Plant is located), issued an ordinance that set or
         modified the tax rate applicable to all companies considered to be in the “industrial,
         commercial, service or similar economic activities” in the municipality (the “Municipal
         Ordinance”). 198 The Municipal Ordinance, applicable to FertiNitro for the 2006 fiscal year,
         established an increase in the municipal tax rate from 1% to 4%. 199

5.91     Pursuant to the Municipal Ordinance “[a]ll industrial economic activities exercised by
         consortium or any other kind of association […] of the Energy Natural Gas Production
         Sector and all activities related to the oil and gas and petrochemical industry […] linked to
         the activity that is directly or indirectly related to the Jose Petrochemical Complex” would
         be subject to a 4% tax rate over the company’s gross revenue. 200 The Parties disagree on
         which types of companies are located in the Jose Petrochemical complex and would be
         affected by the Ordinance. 201




194
    FertiNitro, Declarations 2006-2012 (R-40); FertiNitro, Declarations 2006-2013 (R-74); Resp. Rej., Paragraph 165.
    See also FertiNitro, Chart on Contributions (R-47).
195
    Cls. Mem., Paragraph 78 citing Giles ER1, paragraph 3.23.
196
    Resp. C-Mem., Paragraph 122.
197
    Resp. C-Mem., Paragraph 120.
198
    Ordinance for Taxes on Industrial, Commercial, Service or Similar Economic Activities (30 December 2005) (C-
    45).
199
    See FertiNitro 31 December 2005 and 2004 Report of Independent Auditors and Financial Statements, dated 1
    March 2006 (C-49), p. 22. See also Cls. Mem., Paragraph 82, citing “Municipal Tax Rate Chart for 2005” (C-46).
200
    Ordinance for Taxes on Industrial, Commercial, Service or Similar Economic Activities (30 December 2005) (C-
    45), Group 1-D, p. 14.
201
    According to the Claimants, all the companies that are located in the Jose Petrochemical complex are partly foreign-
    owned, and were therefore those affected by the Municipal Ordinance (Cls. Mem., Paragraph 82). The Respondent


                                                         102
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 119 of 622




5.92    In 2006, before FertiNitro would start paying the taxes at the higher rate, Pequiven engaged
        in negotiations with the municipality to reduce the municipal tax for all the mixed
        companies in which Pequiven had equity investments, including FertiNitro, Metor,
        Superoctoanos and Supermetanol. 202 FertiNitro’s Board agreed to entrust Pequiven to
        handle such negotiations. 203

5.93    In connection with these negotiations, on 14 November 2006, the Municipality issued a
        decree pursuant to which FertiNitro would be applied a 2% municipal tax for 2006 and
        2.4% for 2007, instead of 4% (the “Municipal Decree”). 204 The Decree was formally
        notified to FertiNitro on 6 December 2006. 205

5.94    On 14 December 2006, the FertiNitro Board of Directors Meeting issued a Resolution that
        “ratified the General Management’s decision to accept the 2% rate for 2006 and approved
        accepting the 2.4% rate for 2007.” 206

5.95    VAT: As an exporter from Venezuela, FertiNitro had the right under Venezuelan law to
        recover credits for VATs borne for the acquisition and import of goods and services used
        in the manufacture of goods for export. 207 Such tax credits were provided in the form of
        Special Certificates of Tax Refunds (or “CERTS” for the Spanish acronym) and were
        governed by the Law of May 1999 on Partial Reform of the Law on Value Added Tax (the
        “VAT Law”). 208 CERTS could “be used or assigned for the payment of national taxes […]
        tax liability, tax penalties and procedural expenses.” 209 CERTS are issued in Bolivares and



    rejects this characterisation and asserts that the Ordinance was applicable to “all companies operating in the
    Municipality of Simón Bolívar”, which includes mixed-owned companies, located in the Jose Complex (Resp. C-
    Mem., Paragraph 125; Resp. Rej., Paragraph 177).
202
    See Email from Oswaldo Parilli, Pequiven’s legal counsel, to Saul Ameliach and other Pequiven representatives
    (28 November 2006) (C-48), pp.3-4; and Email from Oswaldo Parilli to Pequiven representatives re: Municipal
    Taxes (28 November 2006) (C-53) pp. 5-6.
203
    FertiNitro Board of Directors’ Meeting Minutes No. 65 (5 April 2006) (C-51).
204
    Decree D.A.M.S.B.-042-A-2006 (14 November 2006) (C-48), pp. 20-22.
205
    See Notice No. 1093-06 from SABAT/Alcaldía del Municipio Simón Bolívar to FertiNitro (6 December 2006) (C-
    48) p. 5 (SP), p. 19 (EN).
206
    FertiNitro Board of Directors’ Meeting Minutes No. 76 (14 December 2006) (C-54) (see also Resp. Rej., Paragraph
    179. According to the Claimants, Pequiven entered into this agreement without consulting the other FertiNitro
    shareholders and without the authority to do so. (See Cls. Mem., Paragraph 84).
207
    Law of Partial Reform of the Law on Value Added Tax (29 July 2004) (C-55) (“VAT Law”), Art. 43.
208
    VAT Law.
209
    Id., Art. 43.


                                                       103
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 120 of 622




        the income tax is also levied in Bolivares. The Respondent did not make “actual payments”
        to FertiNitro pursuant to VAT credit requests.

5.96    Ms Carolina Nunez, a former SENIAT employee, testified that: “[b]etween 2007 to 2012,
        the process took as long as two or three years from submission of a request to final issuance
        of a CERT” (even though the Law prescribes a 30-day period); and it affected all tax payers
        equally. 210

5.97    During the course of its operations, FertiNitro regularly submitted request for
        reimbursements to the Respondent’s competent authorities. On or around 2007 and
        thereafter, the Respondent’s tax authorities failed to issue certain of the requested CERTS
        to FertiNitro on a timely basis. 211 FertiNitro complained to the relevant tax authorities. 212

5.98    The Parties disagree on whether the requested VAT credits were ultimately granted to
        FertiNitro. According to the Respondent, “each of the VAT credits claimed by the
        Claimants in this proceeding was provided to FertiNitro.” 213 It adds that the amounts
        issued to FertiNitro could differ from the amount initially requested; and that FertiNitro
        never complained about those differences. 214

5.99    The Comisario Report: In accordance with Venezuelan law, FertiNitro was required to
        obtain annual audit reports from a Comisario. The Parties agree that “[a] Comisario” is an




210
    Witness Statement of Carolina Nuñez (28 February 2013) (“Nuñez WS1”), Paragraph 16 (see Resp. C-Mem.,
    Paragraph 131). According to the VAT Regulations, the request for CERTS was to be addressed to the “National
    Integrated Service of Customs and Tax Administration” (known as SENIAT, using its Spanish acronym), which
    would decide to approve it or reject it. All approved requests are then reviewed by the Ministry of Finance, in
    charge of issuing the CERT to taxpayers (thus adding more time). See Partial Regulation No. 1 of the Law that
    Establishes the Value Added Tax, with regard to Tax Credit Recovery for Exporter Taxpayers (16 September
    2003) (C-59), Arts. 8-16, pp. 14-19.
211
    Letter from Ikbal Samad (on behalf of FertiNitro) to Minister of the People’s Power for Economy and Finance re:
    Request to Grant Refund Certificates and Administrative Orders to Fertilizantes Nitrogenados de Venezuela,
    FertiNitro, CEC. (21 December 2009) (C-60), pp. 11-12.
212
    Letter from Ikbal Samad (on behalf of FertiNitro) to the Minister of the People’s Power for Economy and Finance
    re: Request to Grant Refund Certificates and Administrative Orders to Fertilizantes Nitrogenados de Venezuela,
    FertiNitro, CEC (21 December 2009) (C-60), pp. 8-10.
213
    Resp. Rej., Paragraph 21.
214
    Witness Statement of Carolina Nuñez (28 February 2013), Paragraph 17 and Annex A; Resp. C-Mem., Paragraph
    132.


                                                       104
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 121 of 622




        “auditor that is required under Venezuelan law to review audits conducted by private
        auditors.” 215

5.100 In accordance with the Venezuelan Code of Commerce, the Comisarios are appointed by
        the company’s shareholders; and they have to report to the audited company’s
        shareholders. Along with the report in which they explain the results of their examination
        of the balance sheets and management practices, the Comisarios may include proposals,
        suggestions and observations. Such recommendations are not binding on the audited
        company.

5.101 On 7 September 2006, the Comisario for FertiNitro issued its report containing certain
        recommendations and criticisms (the “Comisario Report”). 216 It is a document of some
        four pages, with additional appendices. The Claimants contend that this Comisario had a
        prior relationship with Pequiven and therefore the Comisario Report is biased in
        Pequiven’s favour. 217 The Tribunal does not accept this criticism as affecting the relevant
        contents of the report (to which it returns later in this Award).




215
    Cls. Mem., Paragraph 103; Resp. Rej., Paragraph 75.
216
    FertiNitro Summary Report from the Statutory Auditor and Consolidated Financial Statements (7 September 2006)
    (“Comisario Report”) (C-63).
217
    Cls. Mem., Paragraphs 103-110.


                                                      105
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 122 of 622




                            PART VI: JURISDICTION ISSUES



      Introduction
6.1   The Respondent objects to the jurisdiction of ICSID and the competence of the Tribunal
      ratione materiae, alleging that the Offtake Agreement does not constitute an “investment”
      under both the Treaty and the ICSID Convention; and that the Tribunal has therefore no
      competence, or jurisdiction, to decide KNI’s claims against the Respondent in this
      arbitration. As already indicated, the Respondent makes no jurisdictional objection to
      KOMSA’s claims.

6.2   For present purposes, the Respondent’s principal submissions can be summarised briefly
      as follows: (i) there is an inherent meaning of the term “investment,” under both Article
      25(1) of the ICSID Convention and Article 1(2) the Treaty, which requires among others,
      a contribution and risk; (ii) KNI has neither made a contribution, nor incurred the type of
      risk necessary to qualify as an “investment”; (iii) the Offtake Agreement is a simple
      commercial sales contract and the complexity, length and project finance implications or
      the general unity of the investment concept don’t transform it into an “investment”; (iv)
      the Offtake Agreement fails to meet the territoriality requirement of Article 2 of the Treaty
      as it has not provided any benefit in Venezuela; and (v) KNI’s claim is covered by the
      dispute resolution provisions in Article 12 of the Offtake Agreement, providing for the
      resolution of “any dispute” relating to that agreement, including its termination.

6.3   KNI’s principal submissions in response, asserting the jurisdiction and competence of
      ICSID and the Tribunal, can also be summarised briefly as follows: (i) it is far from well-
      settled that an “objective and inherent” meaning of “investment” under the ICSID
      Convention can supplant the scope of the treaty parties’ consent as to the meaning of an
      “investment” in the treaty; (ii) there is no requirement under this Treaty or the ICSID
      Convention to make a contribution to Venezuela’s development; these factors as to
      contribution and risk are not strict jurisdictional requirements, but simply indicia or
      “hallmarks” of investments under the ICSID Convention; (iii) in any event, the Offtake
      Agreement satisfies these factors as to both contribution and risk; (iv) international law



                                              106
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 123 of 622




           prescribes that investment transactions be viewed in their totality; and therefore the Offtake
           Agreement cannot be considered as a commercial contract in isolation from the entire
           FertiNitro project, but instead as an integral and critical part of that project’s financing,
           structure, profitability and purpose; (v) Article 2 of the Treaty is a standard clause that
           “merely establishes the temporal scope and subject-matter of the Treaty”, and it cannot be
           interpreted as incorporating a requirements that the Treaty contribute to the host State’s
           development; and (vi) KNI’s rights under the Offtake Agreement and under the Treaty are
           conceptually distinct; and the dispute resolution provisions in Article 12 of the Offtake
           Agreement do not cover KNI’s claim against the Respondent arising out of the Treaty
           under international law.

6.4        It is necessary to develop certain of these submissions further below, for the Respondent
           and KNI in turn. The Tribunal has considered in full the factual and legal materials
           presented by the Parties relating to the Respondent’s jurisdictional objection. The Tribunal
           here addresses only the materials that it considers to be determinative factors in deciding
           that objection to KNI’s claim.

           The Respondent’s Case
6.5        “Investment”: The Respondent submits that the term “investment” has an objective and
           inherent meaning both under (i) the Treaty and (ii) the ICSID Convention. The burden of
           proof lies with the alleged investor asserting the alleged investment, who must demonstrate
           that is has made the alleged investment within the meaning of both the Treaty and the
           ICSID Convention. 218

6.6        With regard to Article 25(1) of the ICSID Convention, the Respondent asserts that
           arbitration tribunals, including Global Trading v. Ukraine, Joy Mining v. Egypt, and Saba
           Fakes v. Turkey, have recognised that the term “investment” has an objective meaning
           under the ICSID Convention, or in the words of Article 31(1) of the Vienna Convention
           on the Law of Treaties (“VCLT”), an “ordinary meaning” which cannot be established only




218
      Resp. Preliminary Objections, Paragraph 14.


                                                    107
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 124 of 622




        by reference to the Treaty, as an instrument of consent. 219 It cites the tribunal’s decision in
        GEA Group v. Ukraine, for the proposition that “is not so much the term ‘investment’ in
        the ICSID Convention than the term ‘investment’ per se that is often considered as having
        an objective meaning in itself, whether it is mentioned in the ICSID Convention or in a
        BIT.” 220

6.7     As to the objective meaning in Article 1(2) of the Treaty, the Respondent asserts that: “[t]he
        argument that ‘every kind of asset’ constitutes a protected ‘investment’ under the [Treaty]
        is untenable.” It concludes: “[the] indicative list of the types of assets which the term may
        cover […] [is] not intended to mean that every one of the listed asset-type is an investment
        in all circumstances. This is why the definition uses the phrase ‘investment includes’ rather
        than ‘investment means.’” 221

6.8     The Respondent contends that KNI has not “made a contribution” or incurred an
        “investment risk” in connection with the Offtake Agreement. The term “investment” has
        the same inherent and objective meaning under both the ICSID Convention and the
        Treaty. 222 That meaning requires a contribution, duration and risk each of which is a sine
        qua non requirement for the existence of an “investment.” 223 The Respondent further




219
    Resp. Preliminary Objections, Paragraphs 20-27.
220
    Resp. Preliminary Objections, Paragraph 34, citing GEA Group Aktiengesellschaft v. Ukraine, ICSID Case No.
    ARB/08/16, Award (31 March 2011) (“GEA Group v. Ukraine”) (RLA-30), Paragraph 141.
221
    Resp. Reply on Jurisdiction, Paragraphs 49, 50.
222
    Resp. Preliminary Objections, Paragraph 38; Resp. Reply on Jurisdiction, Paragraph 27. Similarly, relying on
    Romak v. Uzbekistan, where the tribunal was faced with an allegedly identical dispute resolution provision in the
    Switzerland-Uzbekistan Treaty, the Respondent submits that “the term ‘investment’ in Article 1(2) of the [Treaty]
    has an objective, inherent meaning.” (Resp. Preliminary Objections, Paragraphs 32-33, citing Romak S.A. v.
    Republic of Uzbekistan, PCA Case No. AA280, Award (26 November 2009) (“Romak v. Uzbekistan”) (RLA-24),
    Paragraph 207).
223
    Resp. Preliminary Objections, Paragraph 38; Resp. Reply on Jurisdiction, Paragraphs 51-55, relying on Ulysseas,
    Inc. v. The Republic of Ecuador, UNCITRAL, Final Award (12 June 2012) (RLA-108), Paragraphs 251-252;
    Abaclat and others (formerly Giovanna A. Beccara and others) v. The Argentine Republic, ICSID Case No.
    ARB/07/5, Decision on Jurisdiction and Admissibility (4 August 2011) (“Abaclat v. Argentina”) (RLA-31),
    Paragraph 371, for the proposition that Article 1 of the Treaty requires these three elements, and Saba Fakes v.
    Republic of Turkey, ICSID Case No. ARB/07/20, Award (14 July 2010) (RLA-26), Paragraph 110; Deutsche Bank
    AG v. The Democratic Socialist Republic of Sri Lanka, ICSID Case No. ARB/09/02, Award (31 October 2012)
    (“Deutsche Bank v. Sri Lanka”) (CLA-100), Paragraphs 294-295, for the proposition that Article 25(1) requires
    the making of a contribution and an assumption of risk.


                                                        108
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 125 of 622




        contends that these minimum requirements have been identified by both ICSID 224 and non-
        ICSID Tribunals. 225

6.9     The Respondent acknowledges, as a fact, that KOMSA was an original party to the Offtake
        Agreement.       However, the Respondent contends that the assignment of rights and
        obligations under the Offtake Agreement from KOMSA to KNI was part of an intra-
        company restructuring; and that neither KOMSA nor its assignee, KNI, have made any
        “contribution” or incurred any “risk” with respect to the Offtake Agreement, for the
        purposes of Article 25(1) of the ICSID Convention and Article 1(2) of the Treaty. 226

6.10    Contribution: As to a relevant “contribution”, the Respondent asserts that KNI was created
        primarily to sell and distribute offtake from the FertiNitro Plant to North America; but that
        KNI made no “contribution”; and it did not “engage in the action of investing,” when it
        was assigned KOMSA’s contractual interest in the Offtake Agreement. 227 KOMSA’s
        investment, for its part, related to the formation of the joint venture comprising the
        FertiNitro project; and the Offtake Agreement was an ancillary sales contract signed by the
        joint venture with KOMSA for the purchase of urea and ammonia. There was never a
        contribution by KOMSA that related to the Offtake Agreement that could have been
        transferred to KNI along with KOMSA’s interests in that sales contract. 228 The Respondent
        submits that the performance of the Offtake Agreement does not qualify as a contribution,
        which must be made at its inception and not with hindsight. 229

6.11    The Respondent relies on the decision in Standard Chartered v. Tanzania for the
        proposition that “the treaty protects investments ‘made’ by an investor in some active way,




224
    Resp. PHB, Paragraph 19, citing Electrabel S.A. v. The Republic of Hungary, ICSID Case No. ARB/07/19, Decision
    on Jurisdiction, Applicable Law and Liability (30 November 2012) (“Electrabel v. Hungary”) (RLA-110),
    Paragraph 5.43.
225
    Resp. Reply on Jurisdiction, Paragraph 43, quoting Caratube International Oil Company LLP v. The Republic of
    Kazakhstan, ICSID Case No. ARB/08/12, Award (5 June 2012) (RLA-107), Paragraph 360, indicating that non-
    ICSID and ICSID tribunals require the same minimum requirements.
226
    Resp. Preliminary Objections, Paragraph 8; Resp. Reply on Jurisdiction, Paragraph 57.
227
    Resp. Preliminary Objections, Paragraph 68.
228
    Resp. Reply on Jurisdiction, Paragraph 60.
229
    Resp. Reply on Jurisdiction, Paragraphs 63-64.


                                                      109
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 126 of 622




         rather than simple passive ownership.” 230 It concludes that the mere acceptance of
         contractual rights and obligations, asset and ownership of shares is not sufficient to
         constitute an investment or prove a contribution of money or assets. 231

6.12     Risk: As to a relevant “risk”, the Respondent contends that the risks alleged by the
         Claimants, such as the demand risk, price risk, counterparty risk and non-performance risk
         do not go beyond the ordinary risks of a counter-party’s non-performance of a commercial
         contract. These are purely commercial risks generally associated with doing business. 232

6.13     The Respondent also contends that these commercial risks would be covered and largely
         mitigated by the provisions of the Offtake Agreement. 233 Moreover, since KNI was
         guaranteed offtake at a pre-determined discount price, “[t]he entire price risk remained
         with the producer, FertiNitro.” In addition, under the terms of the Offtake Agreement,
         KOMSA guaranteed KNI’s obligation under the Offtake Agreement and any risks
         associated to it. 234 The Respondent notes that in the unlikely event of a total collapse of
         the “international demand” for the FertiNitro project’s output, “the price mechanism would
         deprive the take-or-pay provision of the Offtake Agreement of any effect.” 235

6.14     The Respondent submits that the Offtake Agreement was a mere commercial sales
         contract; and that the complexity, length, project finance implications or the ‘unity of
         investment concept’ do not transform the Offtake Agreement into an “investment”. The




230
    Resp. PHB, Paragraph 23, citing Standard Chartered Bank v. The United Republic of Tanzania, ICSID Case No.
    ARB/10/12, Award (2 November 2012) (RLA-109), Paragraph 225.
231
    Resp. PHB, Paragraph 24; Resp. Preliminary Objections, Paragraphs 65-68, citing Quiborax S.A., Non Metallic
    Minerals S.A. and Allan Fosk Kaplún v. Plurinational State of Bolivia, ICSID Case No. ARB/06/2, Decision on
    Jurisdiction (27 September 2012) (RLA-33), Paragraphs 232-233 (“while shares or other securities or title may be
    the legal materialization of an investment, mere ownership of a share is, in and of itself, insufficient to prove a
    contribution of money or assets”); Resp. Reply on Jurisdiction, Paragraph 61. The Respondent also asserts that
    irrespective of whether the terms “contribution” or “make” are incorporated in the Treaty or the ICSID Convention,
    “a contribution” is a fundamental requirement that is “not only consistent with the weight of authority, but is also
    dictated by common usage of the term ‘investment’.” Resp. Preliminary Objections, Paragraph 41.
232
    Resp. PHB, Paragraph 21; Resp. Preliminary Objections, Paragraphs 71-74, citing Romak v. Uzbekistan (RLA-24),
    Paragraph 229; See also Resp. Preliminary Objections, Paragraphs 43-44, citing in addition Joy Mining Machinery
    Limited v. Arab Republic of Egypt, ICSID Case No. ARB/03/11, Award on Jurisdiction (6 August 2004) (“Joy
    Mining v. Egypt”) (RLA-10), Paragraph 57.
233
    Resp. PHB, Paragraph 21.
234
    Resp. Reply on Jurisdiction, Paragraphs 65-68.
235
    Resp. Reply on Jurisdiction, Paragraph 68.


                                                         110
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 127 of 622




        Offtake Agreement was and remained a classical sales contract, in the sense that KNI paid
        a discounted price (fixed through a purchase price formula) in exchange of ammonia and
        urea; 236 and payments were due in accordance with normal commercial terms. 237

6.15    According to the Respondent, myriad legal materials, including the travaux préparatoires
        for the ICSID Convention and scholarly commentators confirm that mere sales contracts,
        as a type of commercial transaction, do not amount to “investments” within the meaning
        of Article 25(1) of the ICSID Convention. 238 The Respondent also points to the decisions
        in SGS v. Paraguay and MHS v. Malaysia, which confirmed that sale contracts are not
        investments under international law, 239 and to the ICSID Secretariat’s decision to refuse to
        register a request on the basis that the underlying transaction could not be considered an
        investment as it arose “out of a sale of goods transactions.” 240

6.16    Unity of Investment: The Respondent also asserts that applying the concept of the ‘unity of
        investment’ in this case would improperly expand the scope of ICSID jurisdiction. Relying
        on the decisions in ATA Constructions v. Jordan and CSOB v. Slovak Republic, the
        Respondent submits that to be part of an “investment”, the specific transactions “cannot be
        disassociated from all other transactions involving the economic purpose of the
        investment” and must be “inseparable from [the] others or comparatively free-standing.”241

6.17    According to the Respondent, the Offtake Agreement relates to the operations of the
        FertiNitro Plant, but it is not an inseparable element. The JIA’s objective was fully



236
    Resp. Preliminary Objections, Paragraph 9.
237
    Resp. Preliminary Objections, Paragraph 61.
238
    Resp. PHB, Paragraph 13, citing First (September) Hearing D1. 9; ICSID, Convention on the Settlement of
    Investment Disputes between States and Nationals of Other States: Documents Concerning the Origin and the
    Formulation of the Convention, Volume II, Part 1, Documents 1-43, 54 (1968) (2d prtg. 2001) (RLA-6), Paragraph
    54; and Christoph H. Schreuer et al., The ICSID Convention: A Commentary 117 (2d ed. 2009) (“ICSID
    Convention: A Commentary”) (citations omitted) (RLA-21).
239
    Resp. PHB, Paragraph 13, citing SGS Société Générale de Surveillance S.A. v. Republic of Paraguay, ICSID Case
    No. ARB/07/29, Decision on Jurisdiction (10 February 2010) (“SGS v. Paraguay”) (RLA-25), Paragraph 93; and
    Malaysian Historical Salvors Sdn Bhd v. Malaysia, ICSID Case No. ARB/05/10, Decision on Application for
    Annulment (16 April 2009) (“MHS v. Malaysia”) (RLA-23), Paragraph 69; see also Resp. Preliminary Objections,
    Paragraphs 48-50, referring also to Global Trading Res. Corp. and Globex Int’l v. Ukraine, ICSID Case No.
    ARB/09/11, Award (1 December 2010) (RLA-27), Paragraph 45.
240
    Resp. Preliminary Objections, Paragraph 46, referring to Ibrahim Shihata & Antonio Parra, The Experience of the
    International Centre for Settlement of Investment Disputes, 14 ICSID Rev.–F.I.L.J. 299, 308 (1999) (RLA-4).
241
    Resp. Reply on Jurisdiction, Paragraph 17.


                                                       111
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 128 of 622




         achievable without the Offtake Agreement. The Offtake Agreement was not essential to a
         single economic goal; and the Tribunal can “parse each component part of the overall
         transaction” and examine whether it would satisfy the jurisdictional requirements of the
         Treaty and the ICSID Convention. 242

6.18     The Respondent contends that the equity interest of KOMSA and FertiNitro’s other
         shareholders in FertiNitro was not impaired by the termination of the Offtake Agreement,
         which demonstrates that the Offtake Agreement is ancillary and separable from the
         FertiNitro project - unlike the factual background in the Inmaris and Ambiente Ufficio
         decisions. 243 The Offtake Agreement can be easily dissociated from the equity investment:
         even if FertiNitro had not terminated the Offtake Agreement, KOMSA could still pursue
         its investment claim in this arbitration. 244 The Offtake Agreement has been critical for the
         FertiNitro project, but it was not critical that the contract be concluded with KOMSA
         specifically, just that there had to be a long-term offtake contract to secure payment of the
         loans to finance the project. The Offtake Agreement was not an incentive to persuade
         KOMSA to become a shareholder in FertiNitro. 245

6.19     Article 2: The Respondent contends that Article 2 of the Treaty contains a territoriality
         requirement not met by the Offtake Agreement. Article 2 of the Treaty provides that the
         Treaty is only applicable to “investments in the territory of one Contracting Party.” The
         territorial nexus is further highlighted by Articles 1, 3, 4, 7 and 8 and by the Preamble to
         the Treaty, when it states the signatories’ intent to “assure favourable conditions for
         investments [...] in the territory of the other Contracting Party.” (Emphasis added)

6.20     The Respondent further submits that arbitral tribunals have assessed the territorial nexus
         by scrutinizing the beneficial value emanating from the investment to the host state. 246 As
         the Offtake Agreement “permitted less than 5% of total resales to be made domestically,




242
    Resp. Reply on Jurisdiction, Paragraph 22.
243
    Resp. PHB, Paragraph 15.
244
    Id.
245
    Resp. Rej., Paragraph 29.
246
    Resp. Reply on Jurisdiction, Paragraph 72.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 129 of 622




        with the major portion of the offtake designated for re-sale overseas,” 247 the Offtake
        Agreement’s benefit to Venezuela was minimal. Thus, it did not satisfy the Treaty’s
        territorial requirement.

6.21    Article 12: The Respondent contends that the Offtake Agreement contains a multi-tier
        forum selection clause for the resolutions of “any Dispute” relating to the Offtake
        Agreement, including the present disputed claim made by KNI. Under Article 12 of the
        Offtake Agreement, “any Dispute”, including claims for termination of the Offtake
        Agreement, “would initially be subject to negotiation […] [followed by] arbitration in
        accordance with the ICC Rules” if the negotiations failed. 248 Article 12, so it submits, is
        not overridden by the Treaty.

6.22    The Respondent submits that the decision to terminate the Offtake Agreement was made
        by FertiNitro’s Temporary Ad Hoc Trustees on commercial grounds. KNI has, at most, a
        commercial dispute with FertiNitro concerning the allegedly wrongful termination of a
        sales contract, which KNI has failed to pursue in accordance with the forum selection
        clause of Article 12 of the Offtake Agreement. 249 Therefore, so the Respondent concludes,
        this Tribunal lacks any jurisdiction to decide KNI’s claim. 250 Although KNI has asserted a
        breach of contract claim disguised as an expropriation claim, such a claim remains a
        commercial dispute referable only to the Offtake Agreement’s forum selection clause in
        Article 12. 251

        The Claimants’ Case
6.23    “Investment”: KNI accepts that the Tribunal’s task of interpretation for the treaty and the
        ICSID Convention should be guided by Article 31 of the VCLT. As to the Treaty,
        according to KNI, “the ordinary meaning of Article 1(2) of the [Treaty] clearly and
        unambiguously provides that contractual rights, such as those bestowed by the Offtake




247
    Resp. PHB, Paragraph 28 (citation omitted).
248
    Resp. Preliminary Objections, Paragraph 62.
249
    Resp. Preliminary Objections, Paragraph 83ff.
250
    Resp. Preliminary Objections, Paragraphs 86-87; Resp. Reply on Jurisdiction, Paragraph 12.
251
    Resp. PHB, Paragraph 16.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 130 of 622




        Agreement, were contemplated as investments by the Contracting Parties.”252
        Accordingly, so KNI submits, KNI’s rights to the supply of urea and ammonia under the
        Offtake Agreement fall within the non-exhaustive chapeau of Article 1(2) of the Treaty:
        “[t]he term ‘investment’ comprises every kind of asset.” It also corresponds to the type of
        investment defined in Article 1(2)(c) of the Treaty: “claims to money or to any performance
        under a contract.” 253 A fortiori, so KNI concludes, “given that ‘claims […] to any
        performance under a contract’ constitute an investment under the [Treaty], it follows that
        contractual rights do as well.” 254

6.24    KNI submits that any interpretation restricting the scope of the very broad, non-exhaustive
        definition of “investment” in Article 1(2) of the Treaty would be contrary to the Treaty’s
        plain language and its object and purpose, which is to promote investment. 255 This was
        accomplished, according to KNI, even if the Offtake were considered in isolation:

           “It was a critical component that allowed FertiNitro to raise approximately USD 750
           million in debt. This in turn allowed the construction of a substantial fertiliser plant,
           which in turn allowed the Respondent to monetise natural gas that it would otherwise
           have flared. Even assuming arguendo [that it was] a ‘mere’ sales agreement, the
           Offtake Agreement was a long-term, twenty-year (or longer) agreement that required
           significant outlays and risks to KNI, not the least because it required KNI to take or
           pay for half the plant output regardless of actual need [as a purchaser].” 256

6.25    As to the ICSID Convention, KNI contends that there is no objective and inherent
        definition of the term “investment” in Article 25(1) of the ICSID Convention; and that the
        ICSID Convention defers to the parties’ consent to define the scope of an investment in the
        Treaty. 257 According to KNI:

           “[R]ecent case law confirms the primacy of a [Treaty] over the ICSID Convention
           when determining the scope of the applicable consent to ICSID arbitration and that




252
    Cls. Reply, Paragraph 338.
253
    Cls. Mem., Paragraph 182.
254
    Cls. Reply, Paragraph 340; Cls. PHB, Paragraph 29.
255
    Cls. Reply, Paragraph 341; Cls. PHB, Paragraph 30.
256
    Cls. Reply, Paragraph 344 (citations omitted).
257
    Cls. PHB, Paragraph 26; Cls. Reply, Paragraph 305.


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        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 131 of 622




           a claimant is not required to establish the existence of an ‘investment’ both under a
           relevant investment treaty and under Article 25(1) of the ICSID Convention.” 258

6.26     KNI further contends:

           “[I]n the absence of restrictions to consent under Article 25(4) [affording States the
           possibility of restricting ICSID jurisdiction ratione materiae to certain type of
           investments], the scope of the term ‘investment’ should be construed within the
           contours defined by the [relevant States in the relevant instrument].” 259

6.27     Thus, KNI alleges, in the absence of restrictions under Article 25(4) of the ICSID
         Convention and considering the primacy of the Treaty definition of “investment,” KNI’s
         contractual rights clearly fall within the definition of “investment” under the ICSID
         Convention. 260 KNI rejects the argument that the definition of investment under Article
         25 of the ICSID Convention can be confined to certain “outer-limits,” as such a concept
         would not be faithful to the ordinary meaning, immediate context or object and purpose of
         this provision. 261 Similarly, so KNI contends, the enumerated definition of investment in
         Article 1(2) of the Treaty, cannot be substituted by an alleged “objective and inherent”
         definition as argued by the Respondent. This would transgress the rules of interpretation
         of customary international law codified in Articles 31 and 32 of the VCLT. 262 KNI thus
         contends that its rights under the Offtake Agreement qualify as an “investment” under both
         the ICSID Convention and the Treaty, and that such rights also satisfy non-jurisdictional
         indicia. 263




258
    Cls. PHB, Paragraph 25, citing SGS v. Paraguay (RLA-25), Paragraph 93 (tribunal holding that “in most cases—
    including, in the Tribunal’s view, this one—it will be appropriate to defer to the State parties’ articulation in the
    instrument of consent (e.g. the [Treaty]) of what constitutes an investment”; Inmaris Perestroika Sailing Maritime
    Services GmbH and others v. Ukraine, ICSID Case No. ARB/08/8, Decision on Jurisdiction (8 March 2010)
    (“Inmaris v. Ukraine”) (CLA-91), Paragraph. 130. See also Cls. Reply, Paragraph 352; Cls. Rej., Paragraphs 51-
    55.
259
    Cls. Reply, Paragraph 350. See also Cls. PHB, Paragraph 28. This interpretation, according to the Claimants, is
    also supported by the Convention’s preparatory work to which the Tribunal may make recourse pursuant to Article
    32 of the VCLT. The oft-cited Report of Directors expressly links the lack of a definition of ‘investment,’ first, to
    the ‘essential requirement of consent by the parties’ and, second, to the ‘mechanism’ of Art. 25(4) of the ICSID
    Convention (See Cls. Reply, Paragraph 349 (citation omitted)).
260
    Cls. Reply, Paragraph 350.
261
    Cls. Reply, Paragraphs 351-364.
262
    Cls. Rej., Paragraphs 56-57.
263
    Cls. PHB, Paragraph 14.


                                                          115
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 132 of 622




6.28    KNI contends that the ordinary meaning of the term “investment” must also be interpreted
        in the broader context of the provision in which it is found and the rest of the treaty’s
        text. 264 Even if the Offtake Agreement were considered separately from the rest of the
        FertiNitro project, instead of an integral part, it would still qualify on its own as an
        investment under both the ICSID Convention and the Treaty. According to KNI, the Salini
        criteria are not jurisdictional requirements, but instead simple indicia or ‘hallmarks’ of
        investments under Article 25(1) of the ICSID Convention, to which tribunals attached a
        variety of weight. 265 Moreover, it is well established that the Salini elements “should be
        viewed collectively under a balancing test, rather than requiring that all elements be
        fulfilled or that any one criterion is more important than any other.” 266 KNI concludes that
        it made an “investment” under Article 25(1) of the ICSID Convention; and that its
        investment fully satisfied the Salini criteria of duration, risk, contribution, economic
        development, territorial nexus and regularity of profit and return.

6.29    Contribution: As to a relevant “contribution”, KNI contends that KOMSA made a
        substantial initial contribution of equity to the FertiNitro project, of which KOMSA’s
                                                     267
        original share was thirty-five percent;            and that KOMSA later assigned its rights and
        obligations under the Offtake Agreement to KNI in April 2003. Thus, the same initial
        investor (KOMSA) made the initial contribution with respect to both the equity investment
        and the Offtake Agreement and all that later transpired was an assignment of rights and
        obligations as part of an internal structuring of the investment, to KNI. 268

6.30    KNI submits that the assignment, as an essential part of restructuring, is completely
        acceptable under international investment law and does not undermine the subsequent
        holder’s substantive and procedural protection under a treaty, so long as there is an




264
    Cls. Reply, Paragraph 347.
265
    Cls. PHB, Paragraphs 31-32; Cls. Reply, Paragraphs 367-371, citing Biwater Gauff (Tanzania) Ltd. v. United
    Republic of Tanzania, ICSID Case No. ARB/05/22, Award (18 July 2008) (“Biwater v. Tanzania”) (CLA-24),
    Paragraphs 312, 314; Abaclat v. Argentina (RLA-31), Paragraph 364; and SGS v. Paraguay (RLA-25), Paragraph
    98; Cls. Rej., Paragraphs 3, 54.
266
    Cls. Reply, Paragraph 373.
267
    Cls. Reply, Paragraph 9.
268
    Cls. Reply, Paragraphs 385-386 (citations omitted).


                                                    116
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 133 of 622




         unbroken continuum in nationality. 269                KNI further submits that KOMSA’s (and
         subsequently KNI’s) legal commitment to take half of the FertiNitro Plant’s output under
         the Offtake Agreement was a contribution in its own right; that KNI agreed to purchase
         vast quantities of output for two decades; and that it was this commitment that enabled the
         FertiNitro Plant to be financed, constructed and operated with the support of international
         credit from banks and other lending institutions.

6.31     KNI rejects the Respondent’s reliance on the decision in Deutsche Bank v. Sri Lanka for
         the proposition that the existence of an investment must be assessed “at its inception and
         not with hindsight.” According to KNI, the issue whether an investor has made a
         contribution must be assessed “at the time the proceedings are instituted”, as with any other
         jurisdictional criteria.      Whether the contribution existed from the initiation of the
         investment is irrelevant, as the contribution may extend over a certain period of time. 270

6.32     KNI also submits that: that “there is no requirement under either the ICSID Convention or
         the [Treaty] for KNI to have engaged in the ‘action of investing’ [or make a ‘fresh
         investment’] in order for its rights in the Offtake Agreement to qualify as an
         ‘investment.’” 271 Such an interpretation would be contrary to the terms of the Treaty and
         the Convention: “[O]nce the Tribunal has satisfied itself that an ‘asset’ exists in line with
         the definitions in Article 1 of the Switzerland-Venezuela BIT, it need not inquire further
         that successors in interest to such assets have made further ‘contributions.’” 272

6.33     KNI further contends that, as decided by the Salini v. Morocco, Deutsche Bank v. Sri Lanka
         and Jan Ooestergetel v. Slovak Republic tribunals, a contribution is not limited to financial




269
    Cls. Reply, Paragraph 388.
270
    Cls. Rej., Paragraphs 79-82.
271
    Cls. PHB, Paragraph 33 (“Tribunals have held that there is: (a) a continuity of investment even when the identity
    of an investor changes; (b) an ‘investment’ even when it results from an acquisition of shares made free of charge;
    and (c) an ‘investment’ even when the assets or funds have not been contributed by the investor itself”; citing
    Fedax N.V. v. The Republic of Venezuela, ICSID Case No. ARB/96/3, Decision on Jurisdiction (11 July 1997)
    (CLA-142), Paragraph 40; Víctor Pey Casado and President Allende Foundation v. Republic of Chile, ICSID Case
    No. ARB/98/2, Award (8 May 2008) (RLA-102), Paragraph 542; Renée Rose Levy de Levi v. The Republic of
    Peru, ICSID Case No. ARB/10/17, Award (26 February 2014) (CLA-150), Paragraph 146; and (c) CME Czech
    Republic B.V. v. Czech Republic, UNCITRAL, Partial Award (13 September 2001) (CLA-14), Paragraph 418).
    See also Cls. Reply, Paragraphs 382-392; First (September) Hearing D1.58-59.
272
    Cls. Rej., Paragraphs 67-71.


                                                         117
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 134 of 622




        terms, but it can take a majority of forms, including know-how, equipment, personnel and
        services. On this basis, “KNI and its personnel made an invaluable contribution to the
        FertiNitro project through the performance of the Offtake Agreement.” 273

6.34    Risk: As to relevant “risk”, KNI alleges that KNI’s risks under the Offtake Agreement were
        not limited to the risk of non-performance identified in the SGS v. Paraguay and Romak v.
        Uzbekistan cases cited by the Respondent. KNI’s risks under the Offtake Agreement
        included “investment risk” defined by the Romak tribunal as: “a situation in which the
        investor cannot be sure of a return on his investment, and may not know the amount he will
        end up spending, even if all relevant counterparties discharge their contractual
        obligations.” 274

6.35    KNI seeks further support from Mr Sorlie’s witness statement adduced in this arbitration,
        where he testified as follows:

          “KNI took on certain economic risks with respect to the Offtake Agreement; risks
          that would have been borne by FertiNitro (and indirectly by the equity holders)
          without the existence of the Offtake Agreement. For example, KNI took on market
          risk associated with agreeing to a “take-or-pay” obligation. This meant that as long
          as FertiNitro could produce and tender product, KNI was under the obligation to
          take and pay or not take, but still pay for the product regardless of the market
          conditions. These market risks included: demand risk - the risk that the market
          demand for the product may be very low, resulting in a difficulty finding a
          counterparty interested in taking the product, price risk - closely related to demand
          risk, KNI faced the risk of market price fluctuations, and counterparty risk - this is
          the risk that KNI’s ultimate counterparty fails to perform, such as the failure to pay
          for product in a timely fashion. These market risks apply also to the freight market
          which would include the additional risks associated with transporting goods,
          including the increased risks associated with transporting ammonia.” 275

6.36    KNI also refers to KOMSA’s guarantee of KNI’s obligations under the Offtake Agreement,
        annulling any risks associated with the Offtake Agreement because KNI would still be




273
    Cls. Reply, Paragraph 392; Oostergetel v. Slovak Republic, UNCITRAL, Decision on Jurisdiction (30 April 2010)
    (CLA-147), Paragraphs 170-171.
274
    Cls. Reply, Paragraph 379, citing Romak v. Uzbekistan (RLA-24), Paragraph 230.
275
    Cls. Reply, Paragraph 380, citing Second Witness Statement of Jim Sorlie (26 July 2013), Paragraph 15.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 135 of 622




         responsible in the case that KOMSA was insolvent. Moreover, if KOMSA did have to
         satisfy KNI’s obligations at any point, KOMSA could have sought indemnification from
         KNI: 276 “Once risk pertaining to that investment has been identified, […] there is no cause
         to search for additional risks born by subsequent assignees as the risks entailed in the
         original investment have not dissipated.” 277

6.37     Unity of Investment: If the Offtake Agreement were not to be viewed as an “investment”
         in isolation (contrary to KNI’s primary case), KNI submits that the Offtake Agreement was
         an “integral part” of the overall investment and structure of the FertiNitro project and that
         it cannot be dismissed as a separate sales contract not qualifying as an investment. 278 The
         Offtake Agreement was not a “one-off” sales agreement; but instead, as is the case for all
         offtake agreements in project financing, it was a long term, take-or-pay sales agreement
         for the output of a particular plant put in place to secure financing for the FertiNitro
         project. 279

6.38     Under the ICSID Convention and the Treaty, an investment operation must be considered
         in its totality, without looking at each specific transaction that composes “the overall
         operation.” 280 KNI relies upon the decisions in Inmaris v. Ukraine and Ambiente Ufficio
         v. Argentina for the proposition that, for jurisdictional purposes, an investment must be
         evaluated in a “holistic manner”, considering its “economic substance” and its “larger
         context.” 281

6.39     According to KNI, the “unity of investment” theory does not require that all the underlying
         contracts share identical economic objectives and rights, but instead, whether the dispute
         arises directly out of the totality of the investment. 282                 The fact that the Offtake



276
    Cls. Rej., Paragraph 86.
277
    Cls. Rej., Paragraph 84.
278
    Cls. Reply, Paragraph 7; see also Cls. PHB, Paragraph 13.
279
    Cls. Rej., Paragraphs 45-47.
280
    Cls. Reply, Paragraphs 310-311, citing Schreuer et al, The ICSID Convention: A Commentary (CLA-108), Art. 25,
    Paragraph 104
281
    Cls. Reply, Paragraphs 306-308, citing inter alia, Ambiente Ufficio S.p.A. and others v. Argentine Republic, ICSID
    Case No. ARB/08/9 (formerly Giordano Alpi and others v. Argentine Republic), Decision on Jurisdiction and
    Admissibility (8 February 2013) (“Ambiente Ufficio v. Argentina”) (CLA-90), Paragraphs 422-34; and Inmaris v.
    Ukraine (CLA-91), Paragraph 98.
282
    Cls. Rej., Paragraph 37, citing Inmaris v. Ukraine (CLA-91), Paragraph 98.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 136 of 622




        Agreement’s purpose was the purchase and sale of ammonia and urea, instead of the
        construction, ownership and operation of the FertiNitro Plant, (as was the purpose of the
        JIA) is irrelevant. KNI asserts that “the purpose of the project was not simply to build the
        plant but to operate it and sell its output, an objective KNI helped FertiNitro achieve
        through the Offtake Agreement.” 283 In the present case, the dispute arises out of the totality
        of the investment, of which the Offtake Agreement is an inseparable part. Relying on the
        decisions in Mytilineos, Electrabel and CSOB, KNI submits that the Tribunal should take
        a “holistic view” of the Claimants’ investment. 284

6.40    KNI contends that “KOMSA’s equity investment and KOMSA’s (later KNI’s) offtake
        commitment were interdependent and inseparable. […] [A]ll parties viewed the equity and
        offtake investments as a ‘package deal.’” 285 Since KOMSA and Pequiven pursued a
        project finance model, “the Offtake Agreement was essential to properly allocating the
        project’s overall risk and, by extension, to securing financing from international
        lenders.” 286 Besides being an equity investor, KOMSA was interested in FertiNitro as a
        new source of ammonia and urea for its fertiliser sales and trading business and
        operations. 287 One of KOMSA’s central investment objectives was to obtain offtake at
        below market price, coupled with the ability to trade that product in assigned geographic
        areas. 288 Thus, “in addition to mitigating project risk, without the economic value of the
        Offtake Agreement, ‘KOMSA would not have made its investment in FertiNitro;’” 289 “nor




283
    Cls. Rej., Paragraph 35.
284
    Cls. Rej., Paragraphs 38-39, citing Mytilineos Holdings SA v. State Union of Serbia & Montenegro and Republic
    of Serbia, UNCITRAL Partial Award on Jurisdiction (8 September 2006) (CLA-92), Paragraphs 123-125;
    Electrabel v. Hungary (RLA-110), Paragraph 5.44; and Československá Obchodní Banka, A.S. (ČSOB) v. Slovak
    Republic, ICSID Case No. ARB/97/4, Decision on Objections to Jurisdiction (24 May 1999) (“CSOB v.Slovak
    Republic”) (RLA-5), Paragraph 80.
285
    Cls. Rej., Paragraph 13.
286
    Cls. Reply, Paragraphs 12-16; Cls. PHB, Paragraphs 18-19.
287
    The Offtake Agreement contained a 20-year extendable “take-or-pay” commitment for 50 percent of the FertiNitro
    Plant’s output for each of KNI and Pequiven; see above at Cls. PHB, Paragraph 19; Cls. Reply, Paragraphs 315-
    316.
288
    See Cls. PHB, Paragraphs 16, 21.
289
    Cls. Reply, Paragraphs 18; See also Cls. Reply, Paragraph 315; Cls. PHB, Paragraph 16.


                                                      120
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 137 of 622




        would the [FertiNitro] project have received the necessary financing from international
        markets necessary to its completion and ultimate success.” 290

6.41    KNI asserts that the FertiNitro project consisted of a bundle of integrated, interwoven
        contracts signed on the same day and defined as the “Project Documents,” each of which
        did not stand on its own, as is clear from the documentary evidence, the expert evidence
        and the witness testimony. 291 KNI relies on the expert testimony of Professor Esty who
        considered the Offtake Agreement to be “a critical, integrated and economically
        inseparable” of the overall FertiNitro project. 292 In any case, so KNI submits, KNI need
        not prove that the Offtake Agreement was essential to the realisation of the FertiNitro
        project for it to be an integral part of the overall economic transaction. 293

6.42    In project finance, so KNI maintains, because there is no recourse beyond the project itself,
        the lender and bond holders “look primarily to the cash flow from the project as the source
        of funds to service their loans.” 294 As such, offtake agreements are typically the primary
        source of project revenues. This Offtake Agreement guaranteed the FertiNitro project’s
        income stream and the payments by the Offtakers were remitted to an escrow account
        managed by the lenders. 295 In particular, “[t]he lenders relied on the Offtake Agreement
        to establish an assured distribution channel for the plant’s output as well as on the credit
        support, liquidity and currency risk mitigation inherent in the obligations of the Offtakers
        to take and pay for product tendered by the [FertiNitro] plants.” 296 The Offtake Agreement
        itself provides for “critical linkages between the project documents and serve to integrate
        the Offtake Agreement with key rights and obligations of other parties, particularly the



290
    Cls. Reply, Paragraph 8; See also Cls. PHB, Paragraph 20, citing Witness Statement of Brent W. Gwaltney (30
    May 2012) (“Gwaltney WS1”), Paragraph 33.
291
    Cls. PHB, Paragraphs 13, 23, n. 4 and Paragraph 24, citing the Offering Circular - Bond Offering of $250,000,000
    between FertiNitro Finance Inc and FertiNitro (8 April 1998) (“Bond Offering Circular”) (C-115), Page 5; and
    Witness Statement of Victor D. Barrientos (28 February 2013), Paragraphs 41-44; Cls. Reply, Paragraphs 321-
    325; Cls. Rej., Paragraphs 17-25.
292
    See Cls. Reply, Paragraphs 300-320, citing Expert Report of Benjamin C. Esty (23 August 2013) (“Esty ER1”),
    Paragraphs 25, 37.
293
    Cls. Rej., Paragraphs 26-32.
294
    Cls. Reply, Paragraph 319.
295
    See Cls. PHB, Paragraphs 16-18; see also Cls. Rej., Paragraphs 10-12.
296
    Citing Memorandum to Offtake Agreement Review Committee of the Board of Directors of FertiNitro (18 May
    2005) (C-118) page 2; Cls. Reply, Paragraphs 329-332.


                                                       121
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 138 of 622




         sponsors and the lenders, under the other central project documents.” 297 This is confirmed
         (inter alia) by Articles 11.4 and 11.5 of the Offtake Agreement. 298 Pursuant to Article
         11.4, if an Offtaker’s interest in FertiNitro fell below 20% of the equity, FertiNitro had the
         right to renegotiate the terms and conditions of the Offtake Agreement with respect to that
         buyer. Under Article 11.5, if the equity interest fell below 5%, the respective right and
         obligations of the Offtaker under the Offtake Agreement would be terminated. 299 In
         addition, the duration of KNI’s obligations under the Offtake Agreement was tied directly
         to the status of the project debt. The original term of 20 years under the Offtake Agreement
         was to be extended in the event that bonds were still outstanding. 300

6.43     KNI distinguishes this case from the facts in Joy Mining and Global Trading v. Ukraine
         cases, alleging that the Offtake Agreement was a much more important part of the overall
         FertiNitro project than the contract at issue in Joy Mining. In Global Trading, the tribunal
         adopted a pragmatic approach when considering whether the sale of poultry could be an
         investment; and it did not categorically exclude all purely commercial transactions from
         the definition of investment. 301

6.44     Article 2: KNI contends that the Offtake Agreement was an “[investment] in the territory
         of one Contracting Party made in accordance with its laws and regulations by investors of
         the other Contracting Party” in accordance with Article 2 of the Treaty. According to KNI,
         Article 2 of the Treaty is a standard clause in bilateral investment treaties that “merely
         establishes the temporal scope and subject-matter of the Treaty.” 302 This provision cannot
         be interpreted as incorporating requirements that the investment contribute to the host
         State’s economic development. Moreover, such a developmental requirement has been
         dismissed by many tribunals, given its highly subjective nature. 303 In addition, the cases
         on which the Respondent attempts to rely “focus on geographical connections where an




297
    Cls. Rej., Paragraph 22.
298
    Cls. PHB, Paragraph 22.
299
    Cls. Reply, Paragraph 325; Cls. Rej., Paragraph 14.
300
    Cls. Rej., Paragraph 16.
301
    Cls. Reply, Paragraphs 355-361.
302
    Cls. Reply, Paragraph 394.
303
    Id.


                                                          122
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 139 of 622




         investment’s impact was felt,” and not upon whether the investment benefited the host
         government. 304

6.45     In any event, so KNI submits, the Respondent’s argument should be dismissed as “the
         project was forecasted to bring and has indeed brought, considerable benefits to the local
         population and the country writ large, particularly through its monetisation at considerable
         prices of natural gas that would otherwise have been flared and payment of various national
         taxes.” 305 Further,

           “After passing through the off-shore accounts and the project waterfall, a portion of
           the proceeds of the offtake – the net income – would make their way to FertiNitro in
           Venezuela. There were also derivative domestic sales in Venezuela. The Offtake
           Agreement clearly had an impact in Venezuela that more than satisfies any
           territoriality requirement.” 306

6.46     Article 12: KNI contends that the dispute resolution provisions in Article 12 of the Offtake
         Agreement do not prevent the Tribunal from deciding KNI’s claim against the Respondent
         under the Treaty. Article 41 of the ICSID Convention empowers this Tribunal to determine
         its own jurisdiction.

6.47     KNI submits that KNI’s rights under the Offtake Agreement and under the Treaty are
         conceptually distinct. Article 12 of the Offtake Agreement relates only to commercial
         arbitration for contractual disputes between its contracting parties, that is FertiNitro,
         Pequiven, IPSL and KNI. By contrast, this dispute involves claims under international law
         brought by KNI against the Respondent on the basis of the Respondent’s consent to ICSID
         jurisdiction in the Treaty regarding its unlawful expropriation of KNI’s investment under
         the Treaty. Thus, the Offtake Agreement’s commercial arbitration clause has no effect on
         the jurisdiction of this Tribunal. 307




304
    Cls. Rej., Paragraphs 90-92.
305
    Cls. Reply, Paragraph 395 (citations omitted).
306
    Cls. Rej., Paragraph 92.
307
    Cls. Reply, Paragraph 397.


                                                     123
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 140 of 622




        The Tribunal’s Analysis and Decision
6.48    The Tribunal starts with Article 41 of the ICID Convention. It is not disputed between the
        Parties, nor could it be, that the Tribunal “shall be the judge of its own competence.” As
        already indicated, this issue of jurisdiction concerns KNI and the Respondent, regarding
        KNI’s claim for the alleged unlawful expropriation under Article 6 of the Treaty of its
        alleged investment comprising its interest in the Offtake Agreement. 308

6.49    The Respondent’s jurisdictional objections relate only to KNI’s claim. In the Tribunal’s
        view, the Respondent was right not to advance any like jurisdictional objection to
        KOMSA’s claims in this arbitration: it is manifest that KOMSA made an “investment” as
        an indirect shareholder in FertiNitro from the outset of the FertiNitro project, within the
        meaning of Article 25(1) of the ICSID Convention and Article 1(2) of the Treaty.

6.50    The Tribunal accepts the Respondent’s submission that KNI must satisfy the definitions of
        “investment” in both the Treaty and the ICSID Convention, as to which KNI bears the legal
        burden of proving its case on the Tribunal’s jurisdiction. It is a double test, each limb of
        which KNI must establish, applying the customary rules of international law for treaty
        interpretation codified in the VCLT, in particular Article 31 (1), whereby “[a] treaty shall
        be interpreted in good faith in accordance with the ordinary meaning to be given to the
        terms of the treaty in their context and in the light of its object and purpose.”

6.51    This double test was described in Paragraph 25 of the Executive Directors’ Report on the
        ICSID Convention:

           “While consent of the parties is an essential prerequisite for the jurisdiction of the
           Centre, consent alone will not suffice to bring a dispute within its jurisdiction. In
           keeping with the purpose of the Convention, the jurisdiction of the Centre is further
           limited by reference to the nature of the dispute and the parties thereto.” 309




308
    Offtake Agreement by and among Pequiven, IPSL and Koch Oil SA as Buyers and FertiNitro as Seller (8 April
    1998) (C-19).
309
    Report of the Executive Directors on the Convention for the Settlement of Investment Disputes Between States and
    Nationals of Other States, pages 43-44. See also, Georges R. Delaume, “ICSID and the Transnational Financial
    Community”, (1986) (CLA-96), page 104.


                                                       124
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 141 of 622




           More recently, the editors of Schreuer have commented:

             “If jurisdiction is to be based on a treaty containing an offer of consent, the treaty’s
             definition of investment will be relevant. In addition, the tribunal will have to
             establish that the activity is an investment in the sense of the [ICSID] Convention.
             This dual test has at times been referred to as the ‘double keyhole’ approach or as a
             ‘double-barrelled’ test.” 310

           The Tribunal turns to the Treaty, as the first part of this dual test.

6.52       The Treaty: The Tribunal accepts KNI’s submission that the definition of “investment” in
           Article 1(2) of the Treaty is very broad. Its opening words succinctly define “investment”
           as including “every kind of asset.”. In the Tribunal’s view, this wording does not permit
           additional requirements not implicit in the meaning of the word “investment”. However,
           in the list that follows, there are five particular, non-exhaustive examples of such assets
           satisfying the definition of “investment.” KNI relies on Articles 1(2)(b) and (c) of the
           Treaty listing “shares, parts [sic] or any other kinds of participation in a company” and
           “claims to […] any performance under a contract.”

6.53       For the present case, subject to Article 2 of the Treaty and the ICSID Convention
           (considered below), the Tribunal considers that its jurisdiction as to a covered “investment”
           under the Treaty is established under Articles 1(2)(b) and (c) of the Treaty. The Treaty
           expressly there defines shares or participation in a company and contractual performance
           as an asset meeting its own definition of “investment.” The ordinary meaning of these
           words, in their context and in the light of the Treaty’s object and purpose under Article 31
           of the VCLT, is unambiguous.

6.54       As was decided in Rosinvest v. Russia on the interpretation of a similarly broad definition
           of an investment:

             “The very wide wording of that definition does not contain any term limiting
             ‘investment’ to something created under applicable national law. The definition
             states that ‘investment’ means every kind of asset and goes on to set out a non-
             exhaustive list of types of asset including ‘shares in, and stock, bonds and debentures



310
      ICSID Convention: A Commentary (CLA-3), page 117.


                                                     125
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 142 of 622




          of, and any other form of participation in, a company or business enterprise’. In
          drafting this straightforward and very wide definition, the State parties to the IPPA
          [the BIT between the UK and the USSR] clearly expressed the intention that any asset
          should be included and the Tribunal considers Claimant’s holding of Yukos shares
          to be such an asset.” 311

6.55    In these circumstances, it would be inappropriate, under Article 31 of the VLCT or
        otherwise, to add to this express definition and specific examples any other requirement.
        However, even if this result were wrong in treating KNI’s “investment” on a stand-alone
        basis, the same result is nonetheless achieved under Article 1(2) of the Treaty by applying
        the concept of “unity of investment”, as considered below under Article 25(1) of the ICSID
        Convention.

6.56    The ICSID Convention: The Tribunal interprets Article 1(2) of the Treaty independently
        from Article 25(1) of the ICSID Convention, whilst bearing in mind the admonition in the
        annulment decision in MHS v. Malaysia:

          “It is those bilateral and multilateral treaties which today are the engine of ICSID’s
          effective jurisdiction. To ignore or depreciate the importance of the jurisdiction they
          bestow upon ICSID, and rather to embroider upon questionable interpretations of
          the term ‘investment’ as found in Article 25(1) of the Convention, risks crippling the
          institution.” 312

        Hence, the issue of the Tribunal’s disputed jurisdiction must turn next upon the meaning
        of Article 25(1) of the ICSID Convention, as the second part of this ‘dual test’.

6.57    The Tribunal accepts the Respondent’s legal submission that a “pure sales contract” cannot,
        by itself, satisfy the meaning of “investment” in Article 25(1) of the ICSID Convention.
        However, as was decided in Pantechniki v. Albania: that submission “may quickly lose
        traction in the reality of economic life.” 313




311
    RosInvestCo UK Ltd. v. Russian Federation, SCC Arbitration V (079/2005), Final Award (12 September 2010)
    (CLA-9), Paragraph 388. (This award was annulled by the Swedish courts on unrelated jurisdictional grounds).
312
    MHS v. Malaysia (RLA-23), Paragraph 73.
313
    Pantechniki S.A. Contractors & Engineers v. Republic of Albania, ICSID Case No. ARB/07/21, Award (30 July
    2009) (CLA-97), Paragraph 44.


                                                     126
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 143 of 622




6.58    In the Tribunal’s view, the Offtake Agreement was not a “pure sales contract” legally or
        economically. It is, on the evidence, impossible to separate it out as a separate stand-alone
        transaction wholly unrelated to the overall FertiNitro project, which was, by any standards,
        a legal and economic behemoth. As was decided in CSOB v. Slovakia:

          “An investment is frequently a rather complex operation, composed of various
          interrelated transactions, each element of which, standing alone, might not in all
          cases qualify as an investment. Hence, a dispute that is brought before the Centre
          must be deemed to arise directly out of an investment even when it is based on a
          transaction which, standing alone, would not qualify as an investment under the
          Convention, provided that the particular transaction forms an integral part of an
          overall operation that qualifies as an investment […] The foregoing analysis
          indicates that the term ‘directly’, as used in Article 25(1) of the Convention, should
          not be interpreted restrictively to compel the conclusion that CSOB’s claim is outside
          the Centre’s jurisdiction and the Tribunal’s competence merely because it is based
          on an obligation of the Slovak Republic which, standing alone, does not qualify as
          an investment.” 314

6.59    Other arbitration tribunals have adopted the same holistic approach to the meaning of
        “investment” in Article 25(1) of the ICID Convention, without necessarily using that term
        or the similar term “unity of investment”. The Tribunal refers to the decisions in Inmaris
        v. Ukraine, 315 where the tribunal considered the “claimed investments as component parts
                                                                                                 316
        of a larger, integrated investment undertaking”; Ambiente Ufficio v. Argentina,                where
        the tribunal stated that “when a tribunal is in presence of a complex operation, it is required
        to look at the economic substance of the operation in question in a holistic manner”; ADC
        Affiliate v. Hungary, 317 where the tribunal looked “at the totality of the transaction as
        encompassed by the Project Agreements”; Electrabel v. Hungary, 318 where the tribunal
        decided that “all the elements of the Claimant’s operation must be considered for the
        purpose of determining whether there is an investment under Article 25”; and Chevron v.




314
    CSOB v. Slovak Republic (RLA-5), Paragraphs 72, 74.
315
    Inmaris v. Ukraine (CLA-91), Paragraph 92.
316
    Ambiente Ufficio v. Argentina (CLA-90), Paragraphs 428, 453.
317
    ADC Affiliate Ltd. v. Republic of Hungary, ICSID Case No. ARB/03/16, Award (27 September 2006) (CLA-16),
    Paragraph 331.
318
    Electrabel v. Hungary (RLA-110), Paragraph 5.44.


                                                   127
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 144 of 622




        Ecuador, 319 where it was said that “[i]nvestments must also be examined holistically and
        not separated into components.” It is thus not permissible to slice up an overall investment
        into its constituent parts, like a sausage, so as to contend that one part, isolated by itself
        alone, is not an “investment” whereas as an integrated part of the whole investment, it is.

6.60    The question remains whether the Offtake Agreement was an integral part of KOMSA’s
        original investment in the overall FertiNitro project. The Tribunal notes, again, that the
        Respondent does not contend that KOMSA was not an investor with an investment under
        Article 25(1) of the ICSID Convention, as regards its equity interest in the FertiNitro
        project. (The Tribunal returns to KNI’s position as KOMSA’s assignee later below.)

6.61    In the Tribunal’s view, the economic evidence is overwhelming. Professor Esty (of
        Harvard University and an expert on business economics) testified that an offtake
        agreement “is a critical, integrated, and economically inseparable part of a project
        company, and is viewed this way by all project participants including lenders, sponsors and
        credit analysts;” 320 this Offtake Agreement “was a critical, integrated and economically
        inseparable part of the FertiNitro project company;” it was also critical “to the project’s
        success and its ability to pay expenses, service debt obligations and generate returns for
        the sponsors”; 321 and “I do not believe this project [the FertiNitro project] could have been
        financed without an offtake agreement. In fact, the offtake agreement is precisely what
        provided the credit support needed to finance the project.” 322 The Tribunal notes that the
        FertiNitro project required credit support from lenders to finance US$ 700 million (in the
        form of US$ 250 million as Bonds and US$ 450 million as Senior Bank Debt), secured
        (inter alia) on the stream of FertiNitro’s revenue under the Offtake Agreement. As a result,
        at the time, Moody’s rating of the FertiNitro project was materially influenced by the
        Offtake Agreement. 323




319
    Chevron Corp. (USA) v. Republic of Ecuador, UNCITRAL, Final Award (31August 2011) (CLA-63), Paragraph
    19.
320
    Esty ER1, Paragraph 27 (emphasis omitted).
321
    Esty ER1, Paragraphs 28-29.
322
    Second Expert Report of Benjamin C. Esty (14 March 2014) (“Esty ER2”), Paragraph 4.
323
    P. List, A Chemical Storm, 8 Proj. Fin. 35 (June 1998) (C-17), page 36.


                                                  128
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 145 of 622




6.62    The Offtake Agreement was also legally integrated with the FertiNitro project.                    Its
        preamble referred expressly to the JIA; Article 11.1 provided for a term of 20 years or until
        FertiNitro had repaid its Bonds; and Articles 11.4 and 11.5 provided that output available
        to offtake buyers was dependent upon continued levels of equity in FertiNitro by such
        buyers. 324 The Offtake Agreement also referred to other Project Documents: see Articles
        3.2, and 4.2. In turn, Article IV of the JIA referred to the Offtake Agreement, where the
        parties agreed that the Offtake Agreement was “necessary to give effect to this [JIA] […]”
        and “[…] necessary and appropriate to give effect to the intent of the Owners as expressed
        in this [JIA] and to enable the construction of the Plants and operation of the Business.”

6.63    Section 3.01(b) and (c) of the Common Security Agreement with the Senior Banks
        recorded FertiNitro’s representation that it had authority to enter into the Offtake
        Agreement and that the Offtake Agreement was legally binding upon FertiNitro; Sections
        5.01(b) and 5.03(b) required FertiNitro to give irrevocable instructions to Offtakers
        (including KOMSA and later KNI) to make payments to offshore accounts in US dollars
        under the Offtake Agreement, for the benefit of the lending banks (as earlier indicated in
        the Bond Offering Circular); 325 Section 6.01(a)(iii) recorded FertiNitro’s pledge to the
        lending banks of all its rights in the Offtake Agreement; Section 9.01(c) made the Offtake
        Agreement a condition precedent to the Common Security Agreement; and Section
        10.01(g) made a default by KOMSA (later KNI) under the Offtake Agreement an event of
        default by FertiNitro under the Common Security Agreement. 326

6.64    The factual evidence from contemporary witnesses is consistent with this economic and
        legal analysis. Mr Barrientos (of Pequiven) testified that the purpose of the Offtake
        Agreement, although (in his legal view) a separate sales contract, “was to provide
        FertiNitro a continuous revenue stream. This enabled FertiNitro to fulfill its obligations,
        especially with banks and bondholders […]. The Offtake Agreement was implemented
        pursuant to this concept: it was not to ensure revenues to KOMSA or any shareholder in



324
    Joint Investors Agreement by and among Pequiven, Koch Oil SA, Snamprogetti Netherlands BV, and Polar Uno,
    CA (8 April 1998) (C-18).
325
    Bond Offering Circular (C-115).
326
    Common Security Agreement (21 April 2008) (C-137).


                                                    129
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 146 of 622




           particular.” 327 At the time, FertiNitro’s US lawyers, Davis Polk & Wardwell, advised its
           board of directors by letter dated 18 May 2005: 328

             “As the Board will be aware, the terms of the current Offtake Agreement are the
             product of extensive negotiations among the offtakers, the FertiNitro shareholders
             and the FertiNitro creditors, are legally binding and reflect not only the fertilizer
             market conditions existing or anticipated at the time, but also the overall contractual
             […] framework for the project and their attendant financial impact on the parties.
             Therefore, any change to the Offtake Agreement cannot be viewed in isolation as a
             negotiation between FertiNitro's shareholders and the offtakers but must also
             account for the creditors as well as the prior and current roles of the participants in
             capacities other than as shareholders and offtakers (for example, Pequiven and its
             affiliates as the suppliers of feedstock and other services to the project and
             Snamprogetti as the construction contractor for the project).
             In particular, the lenders relied on the Offtake Agreement to establish an assured
             distribution channel for the plant's output as well as on the credit support, liquidity
             and currency risk mitigation inherent in the obligations of the offtakers to take and
             pay for product tendered by the plants. The project's debt is secured by the
             receivables owed by Koch and Pequiven to FertiNitro under the Offtake Agreement
             (including a pledge by IPSL of its own receivables from export sales). The attributes
             of the Offtake Agreement were fundamental to the lenders and the lenders view the
             financial strength of the project as linked to the financial and marketing strength of
             the offtakers and their respective commitments to the project.”

6.65       Mr Gwaltney (of Koch, and an alternate director of FertiNitro nominated by KOMSA)
           testified that Offtake Agreement was “an integral part of the overall investment and
           structure of the FertiNitro project. It was a ‘package deal’. KOMSA would obtain an equity
           interest in the FertiNitro Companies and would also commit to purchasing offtake on a
           long-term, take-or-pay basis.” He testified further:

             “The Offtake Agreement was an essential element of Koch’s investment. Without
             these valuable rights, KOMSA would not have made its investment in FertiNitro.
             Furthermore, given that the Offtake Agreement obligated KNI to purchase product




327
      Second Witness Statement of Victor D. Barrientos (30 December 2013), Paragraph 28.
328
      Memorandum to Offtake Agreement Review Committee of the Board of Directors of FertiNitro (18 May 2005)
      (C-118) page 2.


                                                     130
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 147 of 622




             from FertiNitro on a ‘take or pay’ basis and for an extended period of time, it satisfied
             a critical requirement of the project finance lenders.” 329

6.66       Based on these materials, the Tribunal considers that the Offtake Agreement was an
           integral and essential part of the overall investment made by KOMSA. It was not a distinct
           or separate part, to be considered as a different unrelated transaction. Nor was it a ‘pure
           sales contract’, whether judged from an economic, legal or broader commercial
           perspective. Accordingly, whether KOMSA’s interest in the Offtake Agreement was an
           investment under the ICSID Convention must stand or fall with KOMSA’s entire
           transaction relating to the FertiNitro project.

6.67       In brief, the Tribunal concludes that KOMSA’s entire transaction, with its related equity
           contribution and offtake rights and obligations, were part of a single integrated investment
           within the meaning of Article 25(1) of the ICSID Convention. Apart from the Offtake
           Agreement (if a separate transaction which the Tribunal has here rejected), the Respondent
           does not contend otherwise. As regards this single transaction (including the Offtake
           Agreement), the Tribunal decides that it meets all the indicia of an investment as to
           contribution, risk, duration and economic development under the Salini test, howsoever
           applied. 330

6.68       Article 2 of the Treaty: As an integral part of an entire transaction, the Tribunal accepts
           KNI’s submission that the Offtake Agreement was an “[investment] in the territory of one
           Contracting Party made in accordance with its laws and regulations by investors of the
           other Contracting Party” in accordance with Article 2 of the Treaty.

6.69       Article 12: The Tribunal can also address summarily the Respondent’s reliance on the
           dispute resolution provisions in Article 12 of the Offtake Agreement. Whilst possibly
           relevant to issues of liability under Article 6 of the Treaty (to which the Tribunal returns




329
      Gwaltney WS1, Paragraph, 33.
330
      Salini Costruttori S.P.A. and Italstrade S.P.A. v. Kingdom of Morocco, ICSID Case No. ARB/00/4, Decision on
      Jurisdiction (16 July 2001) (RLA-7), Paragraphs 50-58. See also Phoenix Action v. Czech Republic, ICSID Case
      No. ARB/06/05, Award (15 April 2009) (RLA-22), Paragraphs 82-85; and Philip Morris Brand Sàrl et al. v.
      Oriental Republic of Uruguay, ICSID Case No. ARB/10/7, Decision on Jurisdiction (2 July 2013) (CLA-144),
      Paragraph 200.


                                                        131
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 148 of 622




       below), the Tribunal decides that these provisions do not support the Respondent’s
       jurisdictional objection. KNI’s claim is directed in this arbitration to the Respondent and
       not FertiNitro; KNI invokes the Respondent’s obligations under the Treaty and
       international law (as its applicable law), and not FertiNitro’s obligations under the Offtake
       Agreement and New York law (as its applicable law). The causes of action, the legal texts,
       the applicable laws and the disputing parties are thus all materially different.

6.70   Lastly, does it make a difference to any part of this analysis that KOMSA later assigned
       (or novated) its interest in the Offtake Agreement to KNI, whereby (so it could be said) the
       Offtake Agreement ceased to be part of an entire integrated investment? This question too
       could have raised difficulties here, but for one important factor. The assignment from
       KOMSA to KNI was an internal reorganization between associated companies within the
       same Koch group of companies. It did not introduce an unrelated third party or materially
       change the transaction. Nor could it have done so given Articles 11.4 and 11.5 of the
       Offtake Agreement. The Respondent does not challenge the efficacy of the assignment
       under the Offtake Agreement. Hence, although different in form, given the different legal
       personalities of KOMSA and KNI, the assignment produced no material economic, legal
       or commercial difference in substance.

6.71   Decision: In conclusion, for all these reasons, the Tribunal dismisses the Respondent’s
       jurisdictional objection to KNI’s claim in this arbitration under Articles 1(2) and 2 of the
       Treaty and Article 25(1) of the ICSID Convention.




                                                132
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 149 of 622




                                   PART VII: EXPROPIATION ISSUES



           Introduction
7.1        As already indicated, the Claimants contend that the Respondent is liable under six
           provisions of the Treaty; namely: (1) Article 6 (“Expropriation”), (2) Article 4(1) (“FET”),
           (3) Article 4(1) (“FPS”) (4) Article 4(1) (“Arbitrary or Discriminatory Measures”); (5)
           Article 4(2) (“National Treatment”); and (6) Article 11(2) (“Umbrella Clause”). In this
           Part VII of the Award, the Tribunal addresses the issue of liability for the Claimants’ claims
           for unlawful expropriation under Article 6 of the Treaty. The issues of liability for the
           other non-expropriatory claims are addressed in Part VIII below.

7.2        It is again necessary to summarise the Parties’ respective cases as to the expropriation
           issues. As with the jurisdictional issues and indeed all other issues, the Tribunal has
           considered the Parties’ cases on liability in full; and it should not be assumed that the
           omission from these summaries of any submission or other material invoked by any Party
           has been overlooked by the Tribunal.

           The Claimants’ Case
7.3        In summary, the Claimants contend that the wording of Article 6 of the Treaty captures
           any taking of property, whether tangible or intangible, thus including shares, equity and
           contractual interests; and that it prohibits expropriation unless a four-prong test is satisfied,
           namely: (i) the measure must be taken in the public interest, (ii) on a non-discriminatory
           basis, (iii) under due process of law, and (iv) with payment of compensation. 331 The
           Claimants then turn to the two alleged unlawful expropriations by the Respondent; namely:
           KOMSA’s interest in FertiNitro and KNI’s interest in the Offtake Agreement. 332

7.4        KOMSA: With regard to KOMSA’s interest in FertiNitro, KOMSA submits that the
           Respondent’s measure, Decree 7713 (the Expropriation Decree) read with the Minister’s
           public statements, constituted an unlawful indirect expropriation. First, the Respondent



331
      Cls. Mem., Paragraphs 200-214.
332
      Cls. Mem., Paragraphs 215-220.


                                                     133
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 150 of 622




        cannot prove the public interest prong because there was no shortage of fertilizer impacting
        its domestic food production, and the taking was in any case disproportionate. 333 Second,
        the measure was discriminatory because it furthered Pequiven’s interests to the detriment
        of all other shareholders in FertiNitro. KOMSA rejects the Respondent’s argument that
        Pequiven and KOMSA were not similarly situated because they operated in different
        markets and thus were not competitors. 334 Third, the measure breached due process
        because no advance notice was provided to KOMSA, the expropriation having been
        notified during the President’s weekly television show during which the President signed
        the Expropriation Decree.         KOMSA rejects the Respondent’s argument that various
        channels of information, including earlier threats or unrelated governmental actions, could
        have constituted proper notice to KOMSA under international law. 335 Fourth, no effective
        compensation has ever been paid to KOMSA. 336 KOMSA submits that Article 6 requires
        effective compensation for the Respondent to discharge its obligations, not mere
        negotiations or lengthy domestic litigation. 337

7.5     KNI: With regard to KNI’s interest in the Offtake Agreement, KNI submits that Decree
        7713 constitutes an unlawful indirect expropriation for the same reasons as those submitted
        by KOMSA. KNI contends that the Respondent nullified KNI’s rights to performance by
        FertiNitro of the Offtake Agreement. 338 The fact that the Offtake Agreement was only
        terminated by FertiNitro in February 2012 (as contended by the-Respondent), many
        months after the Expropriation Decree and the Minister’s statements is irrelevant,
        according to KNI, because the substance of the Offtake Agreement had already been
        adversely impacted on 11 October 2010 and, in any event, the later termination was
        attributable to the Respondent (by its control of Pequiven and, consequentially,
        FertiNitro). 339   In addition, KNI rejects the Respondent’s argument that it did not
        expropriate KNI’s interest in the Offtake Agreement because that argument is incompatible



333
    Cls. Reply, Paragraphs 133-146; Cls. PHB Paragraph 86.
334
    Cls. Reply, Paragraphs 147-161; Cls. PHB Paragraphs 87-91.
335
    Cls. Reply, Paragraphs 162-177; Cls. PHB Paragraphs 92-94.
336
    Cls. Mem., Paragraphs 221-235.
337
    Cls. Reply, Paragraphs 120-132; 178-179; Cls. PHB Paragraphs 95-100.
338
    Cls. Mem., Paragraphs 236-241; Cls. Reply, Paragraphs 180-186.
339
    Cls. Reply, Paragraphs 187-199.


                                                     134
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 151 of 622




           with its public interest defence in defending FertiNitro’s expropriation. That defence relies
           upon Venezuela’s alleged food production crisis that could only be mitigated if FertiNitro’s
           performance of its contractual obligations towards KNI to acquire urea was also taken, i.e.
           expropriated, by the Respondent. 340 As with KOMSA, the Respondent has paid no
           compensation to KNI, as at the date of this Award.

           The Respondent’s Case
7.6        In summary, the Respondent contends that Decree 7713 ordered the mandatory acquisition
           of FertiNitro’s assets, in accordance with Venezuela’s domestic law and as expressly
           authorised under Article 6 of the Treaty. It denies any liability under Article 6 to either
           KOMSA or KNI.

7.7        KOMSA: The Respondent contends that this acquisition was carried out in the public
           interest and for a public purpose, as to which States enjoy broad latitude under international
           law. Specifically, the Respondent wished to ensure sovereign control over the means of
           domestic food production. The Respondent contends that there is a direct link between the
           fertilizer sector and food production. It points to the Venezuelan food crisis of 1998 and
           the potential general impact of malnutrition on a country’s social peace.

7.8        The Respondent rejects the Claimants’ heightened test according to which the Respondent
           must also prove the underlying hardship that gave rise to the policy and prove that the new
           policy is untainted by any political motives. It submits that the proportionality test asserted
           by the Claimants is misplaced. It is here only relevant to determine whether certain
           measures can rise to the level of expropriation. It has nothing to do with assessing the
           Respondent’s food policy (which the Respondent submits was reasonable and
           proportionate in any event). 341

7.9        The Respondent contends that its acquisition of FertiNitro was carried out in a non-
           discriminatory manner because Pequiven and KOMSA were not similarly situated. They
           were not operating in the same markets, particularly with the Offtake Agreement. The



340
      Cls. PHB, Paragraph 85.
341
      Resp. C-Mem., Paragraphs 144-148; Resp. Rej., Paragraphs 196-203; Resp. PHB, Paragraphs 66-80.


                                                       135
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 152 of 622




           Respondent submits that merely acting in the same sector is not sufficient to be similarly
           situated. Moreover, Pequiven is a state-owned entity that was in charge of promoting food
           security (even before Decree 7713 was issued), whereas KOMSA is a private Swiss
           company. Further, there was a reasonable justification for treating Pequiven and KOMSA
           differently, given the policy of ensuring Venezuela’s food security. In addition, Pequiven
           did not benefit from FertiNitro’s acquisition. That acquisition merely facilitated the
           administrative process; and (ultimately) Pequiven had also to surrender its own equity
           interest in FertiNitro, just like all other FertiNitro shareholders. There was thus no intent
           by the Respondent specifically to target foreigners. Pequiven did not ultimately hold the
           assets of FertiNitro; and KOMSA did not receive any differential adverse treatment. 342

7.10       The Respondent contends that the acquisition of FertiNitro was carried out under due
           process. KOMSA had received multiple notices of the upcoming acquisition. In the
           absence of any such language in Article 6, the Respondent challenges KOMSA’s argument
           that prior notice is always required under a due process standard under international law.
           The Respondent had earlier expressed strong interest in the fertilizer sector; and KOMSA
           had received notice through various channels (including the press, Pequiven employees
           and other laws or decrees) that showed the Respondent’s interest in the sector. Moreover,
           there were legal remedies available to KOMSA under domestic laws, including amicable
           negotiations, to challenge the acquisition of FertiNitro. 343

7.11       The Respondent contends that it met its obligations under international law and Article 6
           because it offered to negotiate effective and adequate compensation for KOMSA. At that
           time, only the amount of compensation, not the principle of compensation, was disputed
           between the Respondent and KOMSA. Also, according to the Respondent, Article 6 does
           not require immediate payment of compensation by the Respondent. The Respondent also
           submits that Pequiven (for the Respondent) always negotiated in good faith and made a
           reasonable offer of compensation, until KOMSA itself put an end to the negotiations.
           Under international law, so the Respondent submits, where only the valuation of the asset




342
      Resp. C-Mem., Paragraphs 149-164; Resp. Rej., Paragraphs 204-216; Resp. PHB, Paragraphs 83-97.
343
      Resp. C-Mem., Paragraphs 165-175; Resp. Rej., Paragraphs 217-224; Resp. PHB, Paragraphs 98-104.


                                                       136
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 153 of 622




           remains in dispute, the offer of compensation suffices for the State to discharge its
           obligation regarding compensation under the treaty. The Respondent also submits that the
           pending litigation before the Venezuelan courts regarding the amount of compensation will
           lead to compensation to be paid by the Respondent to the Claimant in due course. 344

7.12       KNI: The Respondent contends that it did not expropriate KNI’s contractual interest in the
           Offtake Agreement, even assuming (contrary to its jurisdictional objection) that such an
           interest was an “investment” under the Treaty.

7.13       According to the Respondent, Decree 7713 does not include any language regarding KNI’s
           contractual rights to buy urea and ammonia under the Offtake Agreement; KNI’s
           contractual rights were unaffected by the Decree; and those rights were not an “asset” under
           the Decree.

7.14       In addition, KNI continued to purchase such products under the Offtake Agreement after
           October 2010. That was not done (as KNI asserts) under an ad hoc agreement made by an
           exchange of letters after the Expropriation Decree 7713 was issued. KNI’s interest in the
           Offtake Agreement was thus not expropriated by Decree 7713. The Respondent challenges
           the testimony of the Claimants’ witnesses according to which KNI was confused by the
           Decree and had understood the Offtake Agreement to be expropriated, thus requiring
           products to be delivered under a new ad hoc agreement for the future. The Respondent
           submits that there is no convincing evidence supporting KNI’s position. Ultimately, so the
           Respondent contends, FertiNitro (but not the Respondent) terminated the Offtake
           Agreement for its own clearly stated commercial reasons in February 2012. 345

7.15       In any event, so the Respondent further contends, the alleged treatment of KNI’s interest
           in the Offtake Agreement cannot be attributed to the Respondent under international law
           because FertiNitro was not part of the Respondent’s organic structure, does not exercise
           governmental powers, nor was it under the effective control of the Respondent. Pequiven




344
      Resp. C-Mem., Paragraphs 176-177; Resp. Rej., Paragraphs 225-232; Resp. PHB, Paragraphs 105-115.
345
      Resp. C-Mem., Paragraphs 181-184; Resp. Rej., Paragraph 237; Resp. PHB, Paragraphs 30-63.


                                                       137
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 154 of 622




        was the only entity that administratively managed the acquisition of FertiNitro, without
        ultimately holding the assets. 346

7.16    The termination of the Offtake Agreement by FertiNitro in February 2012 was a
        commercial decision that cannot be qualified as an expropriation under Article 6 of the
        Treaty; nor can it give rise to any liability under international law because it would be, at
        most, an ordinary contractual breach by FertiNitro that cannot amount to any “taking” by
        the Respondent under the Treaty. 347

        The Tribunal’s Analysis
7.17    The Tribunal’s starting-point is necessarily the Respondent’s state policies on food security
        and domestic food production for the people of Venezuela, pre-dating Decree 7713 (the
        Expropriation Decree dated 10 October 2010). These policies are ostensibly laudable, with
        their origins pre-dating the Claimants’ investments. In the Tribunal’s view, short of the
        Expropriation Decree of 10 October 2010, there is nothing in these governmental policies
        that, by themselves, amount to a violation of the Claimants’ rights under Article 6 of the
        Treaty. The Tribunal accepts that these policies were adopted by the Respondent in good
        faith, for a public purpose in feeding the people of Venezuela, in accordance with
        Venezuelan law and falling within the boundaries of rationality.

7.18    Moreover, it is not the function of this Tribunal to second-guess the design or existence of
        those policies under the Treaty, unless their execution by the Respondent actually violates
        the rights of KOMSA or KNI under the Treaty. As to that, as the Claimants, KOMSA and
        KNI bear the legal burden of proving their respective allegations in regard to the
        Expropriation Decree and the Minister’s statements.

7.19    The bar for the Claimant’s claims is thus high under international law, as confirmed by a
        ‘jurisprudence constante’ established over many years. As was decided by the NAFTA
        tribunal in Methanex v. USA, 348 an intentionally discriminatory regulation against a foreign



346
    Resp. C-Mem., Paragraphs 185-194; Resp. Rej., Paragraphs 238-249; Resp. PHB, Paragraphs 64-65.
347
    Resp. C-Mem., Paragraphs 195-200; Resp. Rej., Paragraphs 250-251.
348
    Methanex Corporation v. United States of America, UNCITRAL, Final Award of the Tribunal on Jurisdiction and
    Merits (3 August 2005), Part IV, Chapter D, Page 4, Paragraph 7.


                                                     138
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 155 of 622




        investor can fulfill a key requirement for establishing expropriation. However, it also
        concluded:

           “[A]s a matter of general international law, a non-discriminatory regulation for a
           public purpose, which is enacted in accordance with due process and, which affects,
           inter alios, a foreign investor or investment is not deemed expropriatory and
           compensable unless specific commitments had been given by the regulating
           government to the then putative foreign investor contemplating investment that the
           government would refrain from such regulation.”

       More recently, the tribunal in Philip Morris v. Uruguay decided: 349

           “As indicated by earlier investment treaty decisions, in order for a State’s action in
           exercise of regulatory powers not to constitute indirect expropriation, the action has
           to comply with certain conditions. Among those most commonly mentioned are that
           the action must be taken bona fide for the purpose of protecting the public welfare,
           [and] must be non-discriminatory and proportionate.”

7.20    Accordingly, the standard of review of a State’s conduct to be undertaken by an
        international tribunal includes a significant measure of deference towards the State making
        the impugned measure. Such a tribunal cannot simply put itself in the position of the Sate
        and weigh the measure anew, particularly with hindsight. In Lemire v. Ukraine, 350 the
        ICSID tribunal referred to “the legitimate right of Ukraine to pass legislation and adopt
        measures for the protection of what as a sovereign it perceives to be its public interest”
        (emphasis here supplied). It also decided:

           “As a sovereign State, Ukraine has the inherent right to regulate its affairs and adopt
           laws in order to protect the common good of its people, as defined by Parliament and
           Government. The prerogative extends to promulgating regulations which define the
           State’s own cultural policy […]. The ‘high measure of deference that international
           law generally extends to the right of domestic authorities to regulate matters within
           their own borders’ is reinforced in cases when the purpose of the legislation affects
           deeply felt cultural or linguistic traits of the community.” (emphasis omitted).




349
    Philip Morris Brand Sàrl, Philip Morris Products S.A. and Abal Hermanos S.A. v. Oriental Republic of Uruguay,
    ICSID Case No. ARB/10/7, Award (8 July 2016), Paragraph 305.
350
    Joseph Charles Lemire v. Ukraine, ICSID Case No. ARB/06/18, Decision on Jurisdiction and Liability (14 January
    2010) (CLA-89), Paragraphs 273, 505.


                                                      139
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 156 of 622




       The cited passage was there taken from the NAFTA award in SD Myers v. Canada. 351

7.21    That same passage on deference was adopted by the tribunal in the Saluka award: 352

          “No investor may reasonably expect that the circumstances prevailing at the time the
          investment is made remain totally unchanged. In order to determine whether
          frustration of the foreign investor’s expectations was justified and reasonable, the
          host State’s legitimate right subsequently to regulate domestic matters in the public
          interest must be taken into consideration as well. As the S.D. Myers tribunal has
          stated, the determination of a breach of the obligation of ‘fair and equitable
          treatment’ by the host State ‘must be made in the light of the high measure of
          deference that international law generally extends to the right of domestic authorities
          to regulate matters within their own borders.’”

7.22    The Respondent also cited passages from the decisions in Kardassopolous v. Georgia and
        LIAMCO v. Libya. The former recorded the tribunal’s view that “the Respondent is entitled
        to a measure of deference” in regard to the expropriation of the claimant’s rights “in the
        Georgian public interest.” 353 The latter recorded the tribunal’s decision that “motives are
        indifferent to international law, each State being free ‘to judge for itself what it considers
        useful or necessary for the public good […].’” 354 The Tribunal accepts this general
        statement as forming the high water mark of a ‘jurisprudence constante” on deference. In
        this case, the Tribunal prefers a lower tide. Motives are not wholly irrelevant and can be
        important in determining whether the act of a State was unlawful. Whilst it is inappropriate
        to second-guess a State’s decision-making processes, for example as to issues of public
        interest, it is appropriate to consider whether such processes took at the relevant time any
        account of such issues.

7.23    In the Tribunal’s view, even with this lower tide, the Claimants (both KOMSA and KNI)
        have not proven the first part of their four-pronged test, namely that the measures at issue




351
    S.D. Myers, Inc. v. Canada, UNCITRAL, Partial Award (13 November 2000) (RLA-52), Paragraph 263.
352
    Saluka Investments BV (The Netherlands) v. Czech Republic, UNCITRAL, Partial Award (17 March 2006) (CLA-
    19), Paragraph 305.
353
    Kardassopoulos v. Republic of Georgia, ICSID Case No. ARB/05/18 and ARB/07/15, Award (28 February 2010)
    (CLA-20), Paragraph 391.
354
    Libyan American Oil Company (LIAMCO) v. Libyan Arab Republic, Award, 20 I.L.M. 1 (12 April 1977) (RLA-
    37), Paragraph 114.


                                                   140
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 157 of 622




       were not taken in the public interest. As to the second and third prongs relating to
       discrimination and due process, the Claimants also bear the legal burden of proof. The
       Tribunal decides that the Claimants have failed to prove their factual allegations relating
       to discrimination. As to due process, the Tribunal does not consider that it here required
       advance notice of the Expropriation Decree – not under the Treaty, customary international
       law or Venezuelan law.

7.24   KOMSA: As regards the fourth prong, the Expropriation Decree 7713 and subsequent
       events speak largely for themselves. The Decree provided for the immediate acquisition
       of all FertiNitro assets by the Respondent on 11 October 2010. If there were any ambiguity
       as to its terms or effect (which the Tribunal discounts as regards KOMSA’s interest in
       FertiNitro), the public statements of the Respondent’s Minister of Energy and Oil, made at
       the FertiNitro Plant also on 11 October 2010, confirmed that the Respondent was
       mandatorily acquiring, nationalising and seizing all of FertiNitro’s assets: the Tribunal
       refers to its findings in Part V above. There was at the time no compensation paid to
       KOMSA by the Respondent. Despite intimations by the Respondent to the contrary, there
       has still been no compensation paid to KOMSA more than seven years later.

7.25   In these circumstances, the Tribunal decides that the Respondent indirectly expropriated
       KOMSA’s interest in FertiNitro on 11 October 2010. By that date, the Respondent should
       have complied with the express proviso in Article 6, requiring it (inter alia) to make
       “provisions […] for effective and adequate compensation” to be paid “without delay” to
       KOMSA for its expropriated interest in FertiNitro, then or later. The Respondent did not
       do so. It does not dispute that no compensation has ever been paid to KOMSA, even as of
       the date of this Award. As from 11 October 2010, KOMSA’s interest in FertiNitro was
       completely extinguished for all practical purposes: none of the rights associated with its
       shareholding in FertiNitro (via Koch José) could be exercised with the Respondent
       controlling FertiNitro’s management and seizing all of FertiNitro’s assets.

7.26   The Tribunal does not consider that the Respondent’s subsequent offers to negotiate
       compensation with KOMSA (through Pequiven) complied with Article 6’s proviso, still
       less when it is recalled that the Respondent has not tendered or paid even a small part of
       what it considered to be indubitably due to KOMSA. Nor does the Tribunal consider that


                                              141
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 158 of 622




         the proviso was met by the opportunity afforded to KOMSA to engage in lengthy and
         uncertain legal proceedings in the Respondent’s own courts in Venezuela, under
         Venezuelan law. These legal proceedings were begun by Pequiven on 26 July 2011 and
         have reached no conclusion as regards compensation payable to KOMSA. 355 The Tribunal
         recalls the frank statement made by the Respondent at the first session of this arbitration:
         “[…] as a State, we’re conscious that there is an expropriation and that every expropriation
         requires a compensation, a fair compensation […].” 356 For KOMSA, the issue was then
         correctly seen as the amount of compensation properly due to KOMSA, but not whether or
         not there was a liability by the Respondent to pay compensation to KOMSA under Article
         6 of the Treaty. Even then, no compensation was tendered by the Respondent to KOMSA.

7.27     The Respondent cited a passage from the ICSID award in Venezuela Holdings, B.V. et al
         (case formerly known as “Mobil Corporation, Venezuela Holdings B.V. et al”), v.
         Venezuela, where the tribunal decided:

           “[…] the mere fact that an investor has not received compensation does not in itself
           render an expropriation unlawful. An offer of compensation may have been made to
           the investor and, in such a case, the legality of the expropriation will depend on the
           terms of that offer. In order to decide whether an expropriation is lawful or not in
           the absence of payment of compensation, a tribunal must consider the facts of the
           case.” 357

       This Tribunal does not reject this approach to the wording of Article 6 of the Treaty at issue
       in this arbitration. However, on the facts of this particular case, there was no such firm offer
       of compensation made to KOMSA by the Respondent itself, but rather only belated, limited
       and unsuccessful negotiations with different figures advanced by Pequiven subject to further
       discussion and prior approval by the Respondent. These were not “provisions […] for




355
    Petition for Expropriation and Provisional Relief to the Court of First Instance of the Judicial Circuit of Anzoátegui
    (26 July 2011) (R-36).
356
    First Session (21 December 2011), Transcript, p. 103.
357
    Venezuela Holdings, B.V. and others v. Bolivarian Republic of Venezuela, ICSID Case No. ARB/07/27, Award (9
    October 2014) (RLA-153), Paragraph 301. (This award was partially annulled on different grounds; see Decision
    on Annulment (9 March 2017), Paragraph 196.4.)


                                                          142
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 159 of 622




       effective and adequate compensation” to be paid “without delay” to KOMSA, as required by
       Article 6 of the Treaty.

7.28    In these factual circumstances, under the approach taken by the Mobil tribunal, the Tribunal
        concludes that the Respondent has not made any meaningful offer of compensation or
        provided any meaningful procedure for compensation to KOMSA as required by Article 6
        of the Treaty.

7.29    For these reasons, the Tribunal decides that the Respondent unlawfully indirectly
        expropriated KOMSA’s interest in FertiNitro on 11 October 2010 in violation of Article 6
        of the Treaty, as evidenced by the Expropriation Decree 7713 and the Minister’s public
        statements of 11 October 2010 attributable to the Respondent. Given the terms of Article
        9(4) of the Treaty (set out in Part IV above), the Tribunal confirms that such an
        expropriation, as found by the Tribunal, is unlawful because the Respondent failed to
        comply with its obligations under Article 6 of the Treaty. It was an indirect expropriation
        because, as the Tribunal accepts, there was no formal transfer of ownership of FertiNitro’s
        assets until July 2011 under Venezuelan law; but it had, as an expropriatory measure, the
        same effect as a direct expropriation on 11 October 2010.

7.30    KNI: The Expropriation Decree 7713 issued on 11 October 2010 made no express reference
        to the Offtake Agreement or to KNI. However, on the same day, the Minister responsible
        for the Decree’s execution, explained its immediate effect in public statements inconsistent
        with FertiNitro’s further performance of the Offtake Agreement in accordance with its
        existing terms. As explained by the Minister, the effect of the Decree extended beyond
        FertiNitro’s physical assets to include the abrogation of any existing contractual restrictions
        on FertiNitro’s products being delivered in Venezuela otherwise than under the complete
        control of the Respondent, principally for the domestic Venezuelan market. Indeed, that
        was the motive for the Respondent seizing FertiNitro. In the Minister’s own words: “With
        the control of this plant that the Venezuelan state will be taking, we now have guaranteed
        all of the urea that our farm workers may need, all of the urea that our producing sector
        may need, to sustain this extraordinary seeding plan and to sustain national development”
        (see Part V above). There was no point in the Respondent seizing FertiNitro’s assets
        without the Respondent also seizing full and effective control over all its future production


                                                 143
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 160 of 622




        in Venezuela. Hence, Decree 7713 and the Minister’s address are to be considered
        together, as one composite act.

7.31    At the time, that was the understanding of both Pequiven and KNI’s officers. In his oral
        testimony, Mr Barrientos (of Pequiven) testified that the Minister’s references on 11
        October 2010 to the Respondent’s new supply of 1.5 million tonnes of fertiliser to the
        Respondent referred to FertiNitro’s total production of 1.5 million tonnes. 358 Mr Gwaltney
        (for KNI) also understood, as confirmed on 12 October 2010 by Mr Inciarte (then President
        of FertiNitro and President of Pequiven), that the Respondent had taken complete control
        of FertiNitro. 359 Mr Parra (for KNI) also understood from Mr Inciarte that “KNI’s offtake
        would also be taken over by the government.” 360 Mr Inciarte was not made available by
        the Respondent as a witness in this arbitration.

7.32    The Respondent, however, now faced a significant problem with FertiNitro’s bondholders
        and lending banks, for whom sale proceeds paid by KNI under the Offtake Agreement
        operated as security. To avoid a default, with possibly wide ramifications for FertiNitro
        and the Respondent at the time, the Respondent (through Pequiven) invited KNI to
        continue to purchase FertiNitro’s product.

7.33    The first relevant exchange between FertiNitro and KNI was the letter dated 26 November
        2010 from Mr Edgar Alonso Flóres (FertiNitro’s commercial manager) to Mr Strand (for
        KNI), confirming “the continuing of the Offtake Agreement under the fulfil of each clause
        […]”. 361 It was followed by the letter dated 1 December 2010 from Mr Perdomo
        (FertiNitro’s general manager) also to Mr Strand (for KNI), confirming “the continuing
        and fulfilling of the Offtake Agreement. 362 (Both letters are cited more fully in Part V
        above).




358
    First (September) Hearing, D3.111-112.
359
    Witness Statement of Brent W. Gwaltney (30 May 2012) (“Gwaltney WS1”), Paragraph 122.
360
    Witness Statement of Melquíades A. Parra (29 May 2012) (“Parra WS1”), Paragraph 73.
361
    Email from E. Flores to J. Strand re: Offtake Agreement FertiNitro (26 November 2010) (C-111).
362
    Letter from J. Perdomo to J. Strand (1 December 2010) (C-112).


                                                      144
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 161 of 622




7.34    As to this first letter, Mr Flóres testified that FertiNitro had no product available for
        delivery to KNI in October 2010 because the FertiNitro Plant was shut down; and that he
        had been instructed to send his letter to KNI by Mr Perdomo. 363 As to this second letter,
        Mr Perdomo was not made available by the Respondent as a witness in this arbitration.

7.35    The next relevant exchange came with a visit by Mr Garcia (for Pequiven and a member
        of FertiNitro’s ad hoc board of trustees) to Messrs Gwaltney and Parra (for KNI) on 2
        December 2010. Mr Gwaltney testified: “He [Mr Garcia] emphasized that the main goal
        was to maintain stability at FertiNitro while Pequiven’s negotiations with the lenders to
        repay the outstanding debt were underway. He said that Pequiven wanted KNI to take
        product from FertiNitro until Pequiven had reached arrangements with the lenders to
        prevent a default. He added that once a path forward had been agreed to with the lenders,
        Pequiven would work to compensate the shareholders and would assume KNI’s obligation
        for purchasing the product.” 364 Mr Parra testified in similar terms: “He told us that
        Pequiven wanted KNI to lift product from FertiNitro until Pequiven had reached a solution
        with the lenders and bondholders. He added that once a path forward had been agreed to
        with the lenders and bondholders, Pequiven would work to compensate the shareholders
        and would purchase KNI’s share of the offtake.” 365 Mr Garcia was not made available by
        the Respondent as a witness in this arbitration.

7.36    In response to Pequiven’s correspondence and Mr Garcia’s visit, Mr Gwaltney then wrote
        KNI’s email message of 3 December 2010 to Mr Perdomo (of FertiNitro), recited in Part
        V above. 366 It can be assumed that, on both sides, lawyers were by now actively involved
        in drafting or vetting all correspondence between Pequiven and KNI. Words now mattered
        for all parties; but, in the Tribunal’s view, the parties’ contemporary conduct is more
        significant, viewed objectively.




363
    First (September) Hearing, D4.78ff.
364
    Gwaltney WS1, Paragraph 126.
365
    Parra WS1, Paragraph 75.
366
    Email from B. Gwaltney to J. Perdomo, copying J. Strand, T. Parra, F. Garcia re: KNI Offtake (3 December 2010)
    (C-113).


                                                      145
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 162 of 622




7.37    Mr Flóres (of FertiNitro) saw Mr Gwaltney’s email to Mr Perdomo “a few days after Mr
        Perdomo received it.” 367 He confirmed that neither he nor anyone else at FertiNitro replied
        to Mr Gwaltney or voiced any objection to KNI regarding his email. 368 If FertiNitro did
        not agree with KNI’s understanding of the position following the events of 11 October
        2010, FertiNitro should have said so at the time before deliveries resumed to KNI in late
        2010. There is no evidence before this Tribunal that FertiNitro’s omission to do so was
        due to any inadvertence or mistake. In the circumstances, KNI could reasonably
        understand, as it did, that FertiNitro shared KNI’s understanding of the situation.

7.38    Where their accounts differ as to these several events, the majority of the Tribunal finds
        more persuasive the testimony of Mr Gwaltney and Mr Parra called by KNI to the factual
        witnesses called by the Respondent.

7.39    From 3 December 2010 onwards, the majority of the Tribunal finds that KNI took offtake
        from FertiNitro on the terms of Mr Gwaltney’s email message of 3 December 2010 for
        about 15 months, totalling about 333,000 tonnes of ammonia and 650,000 tonnes of urea.
        Those offtakes ceased with FertiNitro’s letter dated 28 February 2012, signed by Mr
        Hernández (as the president of FertiNitro’s ad hoc board of trustees). 369 This letter was
        drafted with legal advice from Mr Barrientos, as he confirmed in his testimony. 370 Mr
        Barrientos also testified, somewhat grudgingly, that FertiNitro would have continued
        selling product to KNI, but for the Expropriation Decree and the resignation of FertiNitro’s
        board of directors. 371 Mr Hernández was not made available by the Respondent as a
        witness in this arbitration (The relevant terms of this letter are also recited in Part V above).

7.40    FertiNitro’s letter dated 28 February 2012 was not expressed as a termination of the Offtake
        Agreement. It announced that FertiNitro would no longer sell its product to KNI under the
        Offtake Agreement “all of which is in fulfilment of what is established in the




367
    First (September) Hearing, D4.80.
368
    First (September) Hearing, D4.81-82.
369
    Letter from B. Hernández to Koch Oil SA and Koch Nitrogen Company re: Offtake Agreement (28 February 2012)
    (C-114).
370
    First (September) Hearing, D3.74.
371
    First (September) Hearing, D3.82-83.


                                                    146
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 163 of 622




           [Expropriation Decree] which orders the compulsory acquisition of movable and
           immovable property […]”. At this time, so it appears, FertiNitro and the Respondent no
           longer faced the risk of default to bondholders and banks, because FertiNitro had
           apparently satisfied the debt to its lenders by December 2011, following the Stand Still
           Agreement of December 2010 (not made available by the Respondent in this arbitration).
           Hence, so it seems, sale proceeds from KNI were no longer required to prevent an act of
           default by FertiNitro. It is not clear to the majority of the Tribunal, on the evidence
           available in this arbitration, that the Offtake Agreement was terminated in February 2012,
           whether by FertiNitro, Pequiven or the Respondent (it was not terminated by KNI). What
           was being terminated was the ad hoc arrangement described in Mr Gwaltney’s email
           message of 3 December 2010.

7.41       In the majority of the Tribunal’s view, there was a material difference between the Parties’
           positions under the Offtake Agreement before the expropriation on 11 October 2010 and
           their positions thereafter to 28 February 2012 under the terms of Mr Gwaltney’s email
           message of 3 December 2010.

7.42       Mr Parra (of the Koch group of companies and a former director of FertiNitro) testified as
           to this difference for the period from 11 October 2010: 372

             “It was not an Offtake Agreement anymore. We continued to purchase product on a
             spot basis, and my trading experience in crude oil and refined products made this a
             very, very clear spot type of agreement, and I'm happy to go into the details of why I
             say that. The conditions under which we were buying were very different from the
             conditions that existed prior to expropriation in the Offtake Agreement, sir. We were
             buying on a spot basis without obligation to lift a product. The supplier did not have
             any obligation whatsoever to supply the product. The fact that the pricing mechanism
             was agreed between the parties to be the same was a matter of practicality in the
             sense that there was a formula already existing and the parties said: well, we can
             carry on with the formula. But the sales themselves were not tied, as they were before
             the expropriation, they were not tied to a specific time period, they were not tied to
             an obligation to buy. They were not tied to an obligation to pay if you did not take
             the product, so it was a completely different character of the contract, sir.”



372
      First (September) Hearing, D2.88-89.


                                                   147
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 164 of 622




7.43   The change meant that, with the Respondent fully controlling FertiNitro and its production,
       KNI lost any contractual security of supply from FertiNitro. KNI was thus unable to
       optimise future sales of product or to optimise future freight arrangements. As Mr Parra
       testified, the change required KNI to operate, effectively, on the spot market. This
       diminished operation mitigated KNI’s resulting losses up to 28 February 2012; but, whilst
       relevant to the assessment of compensation (addressed in Part IX below), it cannot affect
       the issue of liability as at 11 October 2010. In the majority of the Tribunal’s view, KNI’s
       interest in the Offtake Agreement was nullified from 11 October 2010 onwards.

7.44   Notwithstanding several intimations otherwise, including Mr Garcia’s tentative offer of
       compensation on 2 December 2010 (as described above), the Respondent has not made any
       meaningful offer of compensation or provided any meaningful procedure for compensation
       to KNI as required by Article 6 of the Treaty.

7.45   Just as the Offtake Agreement was an integral part of the Claimants’ single investment in
       the FertiNitro project (initially both made by KOMSA), so too was the object of the
       Respondent’s expropriation, comprised of both KOMSA’s interest in FertiNitro and KNI’s
       interest in the Offtake Agreement. From 11 October 2010 onwards, FertiNitro was fully
       controlled and permanently disabled by the Respondent from complying with its
       obligations to KNI under the Offtake Agreement, save and insofar as the Respondent might
       permit FertiNitro to sell product to KNI on terms materially different from those provided
       by the Offtake Agreement; i.e. on the terms of Mr Gwaltney’s email message of 3
       December 2010. Following the events of 11 October 2010, FertiNitro, its production and
       sales were subject to the Respondent’s full and effective control owing to FertiNitro’s
       Venezuelan nationality and location in Venezuela, with the place of performance by
       FertiNitro of the Offtake Agreement also in Venezuela.

7.46   On 28 February 2012, by express reference to the Expropriation Decree, the Respondent
       (through Pequiven and FertiNitro) permitted such sales to KNI no longer. FertiNitro
       remained fully and effectively controlled by the Respondent, whereby FertiNitro was
       precluded by the Respondent from making any further ad hoc sales to KNI from 28
       February 2012, just as it had been precluded from performing the Offtake Agreement from
       11 October 2010 onwards. Throughout, FertiNitro (with Pequiven) thus acted under the


                                              148
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 165 of 622




           Respondent’s “direction or control” within the meaning of Article 8 of the ILC Articles on
           State Responsibility.

7.47       The Tribunal does not consider that the Offtake Agreement can be treated as a mere
           offshore sales agreement unrelated to KOMSA’s interest in FertiNitro. It is necessary to
           view the Respondent’s measures of 11 October 2010 as the indirect expropriation of a
           single integrated investment. As the ICSID tribunal decided in Electrabel v. Hungary: 373

             “If it were possible so easily to parse an investment into several constituent parts
             each forming a separate investment […], it would render meaningless that tribunal’s
             approach [in Tecmed] to indirect expropriation based on ‘radical deprivation’ and
             ‘deprivation of any real substance’ as being similar in effect to a direct expropriation
             or nationalisation. It would also mean, absurdly, that an investor could always meet
             the test for indirect expropriation by slicing its investment as finely as the particular
             circumstances required, without that investment as a whole ever meeting that same
             test.”

7.48       The majority of the Tribunal considers both KOMSA’s original investment and the Offtake
           Agreement as a unitary package. Just as the original investment would not have taken
           place without the Offtake Agreement, so too the expropriation of 11 October 2010 was not
           limited to FertiNitro’s physical assets or shareholders, as expressed by the Minister’s public
           statements explaining the intended effect of the Expropriation Decree. KNI’s investment
           cannot be sliced off and isolated, like a piece of sausage.

7.49       Moreover, the majority of the Tribunal does not consider that this is a case where KNI’s
           interest in the Offtake Agreement (by reason of its foreign applicable law and foreign
           arbitral seat) could not be the subject of any claim under Article 6 of the Treaty against the
           Respondent because any claim by KNI could only be a contractual claim against FertiNitro,
           subject to a foreign substantive law and, in theory, with an arbitral remedy in a foreign
           country. As KNI has made clear from the outset of this arbitration, its claim is advanced
           against the Respondent under the Treaty and international law and not as a contractual
           claim against its co-contractor, FertiNitro, under any national law. The Respondent was



373
      Electrabel S.A. v. The Republic of Hungary, ICSID Case No. ARB/07/19, Decision on Jurisdiction, Applicable
      Law and Liability (30 November 2012) (RLA-110) Paragraph 6.57.


                                                       149
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 166 of 622




           never a party to the Offtake Agreement; domestic and international proceedings result from
           different causes of action with different forms of relief under different applicable systems
           of law; and there is here no satisfaction of any triple identity test. In this case, such a
           contractual remedy (if, in practice, it existed at all) does not extinguish KNI’s remedy
           against the Respondent for the indirect expropriation of its interest in the Offtake
           Agreement under Article 6 of the Treaty, as pleaded by KNI.

7.50       In this regard, it is unnecessary to list here the long line of awards from Vivendi Annulment
           I onwards which consistently distinguishes between a contract claim and a treaty claim in
           an ICSID or other investor-State international arbitration. 374 KNI’s claim under Article 6
           is manifestly a treaty claim made under the Treaty against the Respondent and not a
           contractual claim under the Offtake Agreement against FertiNitro.                    It is equally
           unnecessary to list the legal materials establishing that international law general prohibits
           the unlawful expropriation of contractual rights, both directly and indirectly, as does the
           Treaty. 375 Under the Treaty, therefore, there is no cause to nullify a foreign investor’s
           interest in the performance of its contract by its counter-party, where such performance has
           been deliberately thwarted and rendered valueless by the host State at the place of
           performance by the unlawful exercise of a power iure imperii within the State’s own
           territory.

7.51       In these circumstances, the Tribunal decides (by a majority) that the Respondent unlawfully
           indirectly expropriated KNI’s interest in the Offtake Agreement on 11 October 2010 in
           violation of Article 6 of the Treaty, as evidenced by the Expropriation Decree 7713 and the
           Minister’s public statements both of 11 October 2010 attributable to the Respondent. This
           was confirmed by FertiNitro’s letter dated 28 February 2012 referring to its “fulfilment of
           what is established in the [Expropriation Decree] which orders the compulsory acquisition



374
      Compañía de Aguas del Aconquija S.A. and Vivendi Universal S.A. v. Argentine Republic, ICSID Case No.
      ARB/97/3, Award (21 November 2000); see also Christoph H. Schreuer et al., The ICSID Convention: A
      Commentary (2d ed. 2009), 73ff.
375
      See, e.g., The Norwegian Shipowners’ Case (Norway v. USA), RIAA (13 October 1922), Volume I, Page 307
      (1948), 325; Southern Pacific Properties (Middle East) Limited v. Arab Republic of Egypt, ICSID Case No.
      ARB/84/3, Award (20 May 1992), Paragraph 165; and Bayindir Insaat Turizm Ticaret Ve Sanayi A.Ş. v. Islamic
      Republic of Pakistan, ICSID Case No. ARB/03/29, Decision on Jurisdiction (14 November 2005) (CLA-11),
      Paragraph 255.


                                                       150
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 167 of 622




         of movable and immovable property.” 376 As with KOMSA, given the terms of Article 9(4)
         of the Treaty, the Tribunal (by a majority) confirms that such an expropriation is unlawful
         because the Respondent failed to comply with its obligations under Article 6 of the Treaty.

7.52     It goes without saying, but it is best confirmed expressly, that the Tribunal has done its best
         to understand, perhaps for too long, its members’ different reasoning, both as regards the
         Respondent’s liability for KNI’s claim but also (as will appear in Part IX below) the
         quantum of KNI’s claim assuming such liability. Although the minority’s dissent raises
         factors not in the forefront of the Parties’ respective cases, unfortunately these differences
         remain between the Tribunal’s majority and minority; and, as is his right, the minority has
         recorded his disagreement with the majority in a dissenting opinion attached to this Award
         as required by ICSID Arbitration Rule 47(3). 377

         The Tribunal’s Decisions
7.53     KOMSA: The Tribunal decides that the Respondent is liable to KOMSA in regard to its
         claim for the Respondent’s violation of Article 6 of the Treaty on 11 October 2010.

7.54     KNI: The Tribunal (by a majority) decides that the Respondent is liable to KNI for its claim
         for the Respondent’s violation of Article 6 of the Treaty on 11 October 2010.




376
    Letter from B. Hernández to Koch Oil SA and Koch Nitrogen Company re: Offtake Agreement (28 February 2012)
    (C-114).
377
    The genesis of the dissenting arbitrator’s dissent can be found in A. Mann ‘State Contracts and State Responsibility’
    in Studies in International Law (OUP, 1973), cited in the minority’s dissent.


                                                          151
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 168 of 622




                               PART VIII: NON-EXPROPRIATION ISSUES



           Introduction
8.1        KOMSA’s “Historical Losses” are advanced as claims against the Respondent under
           Article 4(1), Article 4(2) and Article 11(2) of the Treaty. They comprise of losses allegedly
           suffered by KOMSA from losses allegedly suffered by FertiNitro originally, from: (i) new
           and increased taxes, (ii) non-payment (or late payment) of VAT credits, (iii) the effect of
           the Urea Decree and Urea Resolution, and, (iv) interference in FertiNitro’s business.

8.2        The total compensation claimed by KOMSA for its “Historical Losses” is US$ 42 million.
           For KOMSA, Mr Giles calculates the breakdown of this total amount as follows: (i) US$
           4.7 million for the increased Municipal taxes and US$ 5.4 million for the new Science and
           Technology tax; (ii) US$ 7.7 million for VAT; (iii) US$ 22.4 million for the Urea Decree
           and Urea Resolution; and (iv) as to interference in FertiNitro’s business, no specific figure
           is advanced by Mr Giles. 378

8.3        For the Respondent, Dr Flores does not advance any specific figures for “Historic Losses”.
           However, as regards VAT, Dr Flores testified that he included FertiNitro’s outstanding
           VAT credits as working capital within his DCF calculations for KOMSA’s expropriated
           interest in FertiNitro (without arriving at a separate, specific figure). Dr Flores also
           testified that KOMSA lost nothing from the devaluation of Venezuela’s currency in regard
           to VAT credits because FertiNitro used its VAT credits to pay local taxes in Venezuelan
           currency. 379

8.4        The Tribunal summarises below the cases respectively pleaded by KOMSA and the
           Respondent, as to applicable law and fact. It then addresses in turn the merits of each claim.
           There is a significant overlap as to the legal and factual bases for KOMSA’s claims.




378
      Cls. PHB, Table 4, “Points of Disagreement – Historical Losses” (set out below in Part IX).
379
      Expert Report of Daniel Flores (28 February 2013) (“Flores ER1”), Paragraph 168; Second Expert Report of Daniel
      Flores (3 March 2014) (“Flores ER2”), Paragraph 240.


                                                         152
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 169 of 622




        The FET Standard – Article 4(1) of the Treaty
8.5     KOMSA’s Case: In summary, as to law, KOMSA contends that the FET standard under
        Article 4(1) protects investors’ legitimate expectations relating to their investment,380
        citing Tecmed v. Mexico. 381 It concludes that States should not frustrate an investor’s
        legitimate expectations that it will not act in an arbitrary manner or inconsistently with its
        legal framework, and more generally that modifications of the legal, regulatory and
        business framework on which the investor relied is a breach of the FET standard, further
        citing Thunderbird v. Mexico, 382 Occidental v. Ecuador, 383 and National Grid v.
        Argentina. 384 KOMSA also contends that, under the FET standard, the requirement of
        transparency and procedural fairness includes openness in a State’s decision-making
        process relating to investments, as well as the investors’ involvement in that process, 385
        citing Tecmed v. Mexico and Waste Management v. Mexico. 386

8.6     KOMSA also invokes, under the FET standard, the requirement to maintain a stable and
        predictable legal and business environment, overlapping with the requirements regarding
        legitimate expectation and transparency, 387 citing CMS v. Argentina, 388 LG&E v.
        Argentina, 389 PSEG v. Turkey 390 and Bayindir v. Pakistan. 391 KOMSA invokes the




380
    Cls. Mem., Paragraphs 242-253.
381
    Técnicas Medioambientales Tecmed S.A. v. United Mexican States, ICSID Case No. ARB(AF)/00/2, Award (29
    May 2003) (CLA-28).
382
    International Thunderbird Gaming Corp. v. United Mexican States, UNCITRAL (NAFTA), Award (26 January
    2006) (CLA-31).
383
    Occidental Exploration and Production Co. v. Republic of Ecuador, UNCITRAL (LCIA), Case No. UN 3467,
    Final Award (1 July 2004) (CLA-27).
384
     National Grid P.L.C. v. Argentine Republic, UNCITRAL, Award (3 November 2008) (“National Grid v.
    Argentina”) (CLA-32).
385
    Cls. Mem., Paragraphs 242-245, 278-283; Cls. Reply, Paragraphs 232-233.
386
    Waste Management, Inc. v. United Mexican States, ICSID Case No. ARB(AF)/00/3, Award (30 April 2004) (CLA-
    34).
387
    Cls. Mem., Paragraphs 293-299.
388
    CMS Gas Transmission Co v. Argentine Republic, ICSID Case No. ARB/01/8, Award (12 May 2005) (CLA-36),
    Paragraph 276 (partially annulled).
389
    LG&E Energy Corp., LG&E Capital Corp. and LG&E International Inc. v. Argentine Republic, ICSID Case No.
    ARB/02/1, Decision on Liability (3 October 2006) (CLA-39), Paragraph. 131.
390
    PSEG Global Inc. and Konya Ilgin Elektrik Üretim ve Ticaret Limited Sirketi v. Republic of Turkey, ICSID Case
    No. ARB/02/5, Award (19 January 2007) (CLA-40) Paragraph 254.
391
    Bayindir Isaat Turizm Ticaret Ve Sanayi A.Ş. v. Islamic Republic of Pakistan, ICSID Case No. ARB/03/29,
    Decision on Jurisdiction (14 November 2005) (CLA-11), Paragraph.240.


                                                      153
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 170 of 622




        requirement of consistency, citing Tecmed, being applicable to all constituent parts of the
        State; 392 and the requirement that States must not abuse their authority. 393

8.7     As to the facts, KOMSA alleges the following breaches of the FET standard in the
        Treaty: 394

8.8     Taxes: The Respondent imposed a series of new taxes and tax increases on FertiNitro
        which prejudiced its profitability to the detriment of KOMSA, namely the new Science and
        Technology Tax (2% of gross income, ultimately causing FertiNitro to pay US$ 22.35
        million from 2006 to October 2010) and the increase in Municipal taxes (from 1 to 4%,
        ultimately causing FertiNitro to pay US$ 18.82 million also from 2006 to October 2010). 395

8.9     VAT: The Respondent repeatedly failed, either promptly or at all, to provide FertiNitro with
        VAT credits from 2005, ultimately causing FertiNitro to be owed US$ 28.3 million of VAT
        credits by the Respondent. 396

8.10    Urea Decree and Urea Resolution: These new urea regulations impacted FertiNitro from
        2007. The Respondent had given assurances to a third party (METOR) that these new
        regulations would not apply to existing enterprises, such as FertiNitro. Such compulsion
        interfered with pricing for FertiNitro’s products and, also, the allocation of export markets
        between FertiNitro and Pequiven under the Offtake Agreement. 397

8.11    Interference: The Respondent progressively interfered with the management, operations
        and profitability of FertiNitro, whereas KOMSA had received assurances that Pequiven
        would only act as a “commercial partner”. As an example, the Claimants refer to the
        Comisario Report of 7 September 2006, 398 as evidence of the Respondent’s improper
        interference in FertiNitro’s business. The Respondent ultimately expropriated KOMSA’s



392
    Cls. Mem., Paragraphs 311-313.
393
    Cls. Mem., Paragraph 316.
394
    Cls. PHB, Paragraphs 103-108.
395
    Cls. Mem., Paragraphs 256-260, 285, 315, 318; Cls. Reply, Paragraphs 220-225, 236-240.
396
    Cls. Mem., Paragraphs 261-267, 285, 286-288, 300-304, 315, 318; Cls. Reply, Paragraphs 226-227, 241-242.
397
    Cls. Mem., Paragraphs 268-277, 305-310, 315, 319-324; Cls. Reply, Paragraphs 228-231, 243-244; Cls. PHB,
    Paragraph 103.
398
    FertiNitro Report from the Statutory Auditor and Consolidated Financial Statements (7 September 2006)
    (“Comisario Report”) (C-63)


                                                   154
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 171 of 622




        interest in FertiNitro unlawfully in October 2010. 399 (The Tribunal has already addressed
        this claim for expropriation under Article 6 of the Treaty, in Part VII above, and it is
        therefore unnecessary to do so again here.)

8.12    The Respondent’s Case: In summary, as to law, the Respondent contends that KOMSA
        relies upon an overbroad definition of the FET standard, ignoring both the text of the Treaty
        and international law. 400 The Respondent emphasises the wording “in accordance with the
        rules and principles of international law” in Article 4(1) of the Treaty. It also cites the
        decisions 401 in Lauder v. Czech Republic, 402 Glamis Gold v. USA 403 and El Paso v.
        Argentina. 404 It submits that the similarly worded FET standards in these cases were
        correctly interpreted as the minimum standard under international customary law. The
        Respondent also relies on the decision in Flughafen v. Venezuela (where the same Treaty
        was analysed), submitting that the tribunal there interpreted Article 4(1) of the Treaty as
        the minimum standard under customary international law. 405

8.13    The Respondent challenges KOMSA’s reliance on Tecmed’s broad formulation of the FET
        standard. It asserts that the Tecmed award has been widely criticised and also runs counter
        to the express wording in Article 4(1) of the Treaty. It rejects also other decisions cited by
        KOMSA as inapposite because the FET standards in those cases did not refer expressly to
        customary international law, as here. The Respondent concludes that, even adopting a
        broad interpretation of the FET standard, KOMSA does not articulate the evidential sources
        for its expectations or how those expectations were in fact legitimate. 406

8.14    Generally, as with all KOMSA’s “Historical Losses”, the Respondent contends that
        KOMSA’s alleged losses are not recoverable under the Treaty, unless KOMSA proves that



399
    Cls. Mem., Paragraphs 289-292, 315; Cls, PHB, Paragraph 103.
400
    Resp. C-Mem., Paragraph 202.
401
    Resp. C-Mem., Paragraphs 204-207.
402
    Ronald S. Lauder v. Czech Republic, UNCITRAL, Final Award (3 September 2001) (“Lauder v. Czech Republic”)
    (CLA-45).
403
    Glamis Gold, Ltd. v. United States of America, UNCITRAL, Award (8 June 2009) (RLA-83).
404
    El Paso Energy International Company v. Argentine Republic, ICSID Case No. ARB/03/15, Award (31 October
    2011) (“El Paso v. Argentina”) (CLA-52).
405
    Flughafen Zurich A.G. and Gestion e Ingenieria IDC S.A. v. Bolivarian Republic of Venezuela, ICSID Case No.
    ARB/10/19, Award (18 November 2014) (“Flughafen v. Venezuela”) (RLA-154).
406
    Resp. C-Mem., Paragraphs 204-217; Cls. Rej., Paragraphs 252-274; Resp. PHB, Paragraphs 116-121.


                                                     155
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 172 of 622




       the Respondent’s allegedly wrongful actions impacted KOMSA’s own financial position
       (as “flow-through damage”), and not only impacted FertiNitro (which, as to both, the
       Respondent denies). The Respondent contends that KOMSA has failed to prove that it
       suffered any losses of its own, such as lost dividends as a minority indirect shareholder in
       FertiNitro.

8.15   The Respondent denies the factual allegations advanced by KOMSA, as follows:

8.16   Taxes: The Respondent contends that the new and increased tax measures do not breach
       the FET standard because KOMSA could not have had any legitimate expectations that tax
       rates would remain unchanged in the absence of specific representations or commitments
       from the Respondent.        There were no such representations or assurances; nor any
       stabilisation agreement concluded between KOMSA (or FertiNitro) and the Respondent.407
       In addition, the Respondent submits that the increase of such taxes was neither egregious
       nor shocking. The Respondent refers to the decisions in Paushok v. Mongolia, 408 EnCana
       v. Ecuador, 409 EDF v. Romania 410 and El Paso v. Argentina. 411

8.17   The Respondent further contends that the tax measures were transparent and not
       procedurally unfair, with KOMSA failing to point to any evidence that would prove
       otherwise. In addition, the Respondent contends that the FET standard under customary
       international law imposes no such requirement as to transparency. 412

8.18   VAT: The Respondent contends that its treatment of FertiNitro’s VAT credits did not
       breach the FET standard because: (a) VAT credits were issued for each application filed
       by FertiNitro, albeit subject to delays which are common in Venezuela; (b) credit refund
       processing was transparent and procedurally fair, in compliance with Venezuelan law; (c)
       the Respondent’s delays in the treatment of VAT credits did not create an inconsistent,



407
    Resp. Rej., Paragraphs 279, 515.
408
    Sergei Paushok, CJSC Golden East Co. and CJSC Vostokneftegaz Co v. Govt of Mongolia, UNCITRAL, Award
   on Jurisdiction and Liability (28 April 2011) (“Paushok v. Mongolia”) (RLA-94).
409
    EnCana Corporation v. Republic of Ecuador, UNCITRAL, Award (3 February 2006) (“EnCana v. Ecuador”)
    (RLA-71).
410
    EDF (Services) Ltd. v. Romania, ICSID Case No. ARB/05/13, Award (8 October 2009) (RLA-85).
411
    Resp. C-Mem., Paragraphs 225-235; Cls. Rej., Paragraphs 276-287; Resp. PHB, Paragraphs 124-129.
412
    Resp. C-Mem., Paragraphs 236-239; Cls. Rej., Paragraph 291; Resp. PHB, Paragraph 144.


                                                 156
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 173 of 622




        unstable or unpredictable legal framework, because such delays applied generally to any
        applicant in Venezuela, including FertiNitro.             Further, so the Respondent alleges,
        FertiNitro had legal remedies to challenge delays before the Venezuelan courts, which
        FertiNitro chose not to do. 413 The Respondent also rejects KOMSA’s assertion that the
        VAT credits could be refunded directly to KOMSA, as a minority shareholder of FertiNitro
        (the VAT taxpayer). 414

8.19    The Respondent also submits that KOMSA is incorrect that part of the outstanding
        recoverable VAT was ‘written off’ by the Respondent during 2006-2010. Rather, so the
        Respondent alleges, FertiNitro simply took accounting provisions (or allowances) in its
        balance sheet following reporting standards. The Respondent contends that the financial
        documentation shows that the credits were indeed recovered, so that ultimately no damage
        was suffered by FertiNitro. The Respondent submits that Mr Giles’ approach, in contrast,
        is flawed since it results in double, triple, and quadruple counting.

8.20     Urea Decree and Urea Resolution: The new urea regulations did not frustrate any of
        KOMSA’s legitimate expectations because they were not entitled to any regulatory
        stabilisation in the absence of any specific contractual commitment by the Respondent to
        KOMSA. The regulations were in any case issued to further a legitimate policy of the
        Respondent relating to food safety; and they could be challenged before the Venezuelan
        courts if FertiNitro (with KOMSA) so wished; but they were not so challenged. 415

8.21    Interference: The Respondent contends that Pequiven’s participation in the management
        and operations of FertiNitro did not violate the FET standard because Pequiven was run as
        a commercial, not political, entity; Pequiven was a shareholder in FertiNitro; it was a party
        to the Offtake Agreement; and FertiNitro was not controlled by Pequiven. In addition,
        KOMSA had legal remedies, under Venezuelan corporate law, to challenge certain




413
    Resp. Rej., Paragraph 107.
414
    Resp. C-Mem., Paragraphs 240-248; Cls. Rej., Paragraph 287; Resp. PHB, Paragraphs 133-139.
415
    Resp. PHB, Paragraphs 140-143; Resp. Rej., Paragraph 107.


                                                     157
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 174 of 622




         measures such as the appointment of new directors by Pequiven, which it chose not to
         pursue.

8.22     The Respondent submits that the Comisario report (alleged by KOMSA to stand as
         evidence of the Respondent’s interference in FertiNitro’s business) is irrelevant to that
         issue. This Comisario was appointed as FertiNitro’s statutory auditor by the entire board
         of FertiNitro and thus, as the Respondent contends, with KOMSA’s support. Likewise,
         Pequiven’s proposal to acquire more fertilizer (allegedly under the Respondent’s
         instructions) followed a normal procedure under Venezuelan corporate law; and it was
         rejected by FertiNitro. Moreover, the alleged assurances given to a third party (METOR)
         that the new laws would not apply to foreign companies are irrelevant. They are not
         attributable to the Respondent. They are also derived from a letter sent a decade after the
         event and hinge upon an erroneous interpretation of that letter. Finally, so the Respondent
         submits, Pequiven only participated in the drafting of the urea regulations in an advisory
         capacity based on its experience in fertilizers, without thereby unlawfully interfering in
         FertiNitro’s business. 416

         The FPS Standard – Article 4(1)
8.23     KOMSA’s Case: In summary, KOMSA contends that the FPS standard protects
         investments from both physical and non-physical interference by the Respondent, 417 citing
         the decisions in ELSI 418 and Azurix v. Argentina. 419 The FPS standard, so KOMSA
         contends, obliges the Respondent, as the host State, to ensure that it provides a secure and
         stable legal and regulatory environment to the investor, namely KOMSA. 420

8.24     KOMSA contends that (i) the failure to pay VAT credit, (ii) the regulations forcing the sale
         of urea by FertiNitro to Pequiven, and (iii) the progressive interference with the




416
    Resp. C-Mem., Paragraphs 249-254; Cls. Rej., Paragraphs 288-290; Resp. PHB., Paragraphs 130-132.
417
    Cls. Mem., Paragraphs 325-330.
418
    Elettronica Sicula S.p.A. (ELSI) (United States of America v. Italy), ICJ, Judgment, (20 July 1989) (CLA-41).
419
    Azurix Corp. v. Argentine Republic, ICSID Case No. ARB/01/12, Award (14 July 2006) (CLA-43).
420
    Cls. Mem., Paragraphs 256-261; Cls. Reply, Paragraphs 253-261; Cls. PHB, Paragraph 109.


                                                        158
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 175 of 622




        management and operation of FertiNitro ultimately leading to the expropriation of
        contractual rights, each constitute a breach of the FPS standard by the Respondent. 421

8.25    The Respondent’s Case: In summary, the Respondent contends, as with the FET standard,
        that the FPS standard in Article 4 of the Treaty refers to the minimum standard under
        customary international law. 422 The Respondent interprets that standard as referring to
        physical security, citing 423 the decision in Saluka v. Czech Republic, 424 Lauder v. Czech
        Republic, 425 Noble Ventures v. Romania, 426 and Paushok v. Mongolia. 427 It submits that
        this standard only imposes “a level of diligence in attempting to ensure that foreign
        investments are not harmed during periods of strife or violence”. The Respondent also
        invokes 428 Gold Reserve v. Bolivarian Republic of Venezuela, 429 where the tribunal
        interpreted an identical clause in the Canada-Venezuela BIT and found that the FPS
        standard was limited to physical harm to persons and property. 430 The Respondent thus
        dismisses KOMSA’s argument that the standard extends to legal protection. It submits
        that, if it did, that would wrongly conflate the FPS standard with the FET standard.

8.26    The Respondent then turns to the alleged breaches of the FPS standard. It submits that the
        treatment of VAT credits could not breach the FPS standard because the refund
        applications were ultimately approved; and that any processing delays (that applied to all
        taxpayers in Venezuela) could not amount to a breach of the FPS standard. The enactment
        of the Urea Decree and Urea Resolutions did not breach the FPS standard because they
        were reasonably created under the Respondent’s food and security policies and could be
        challenged in Venezuela’s courts, if KOMSA had so wished (which it did not do). The




421
    Cls. Mem., Paragraphs 331-339; Cls. Reply, Paragraphs 262-265.
422
    Resp. C-Mem., Paragraph 257.
423
    Resp. C-Mem., Paragraphs 256-258.
424
    Saluka Investments BV (The Netherlands) v. Czech Republic, UNCITRAL, Partial Award (17 March 2006)
    (“Saluka v. Czech Republic”) (CLA-19).
425
    Lauder v. Czech Republic (CLA-45).
426
    Noble Ventures, Inc. v. Romania, ICSID Case No. ARB/01/11, Award (12 October 2005) (RLA-67).
427
    Paushok v. Mongolia (RLA-94).
428
    Resp. PHB, Paragraph 148.
429
    Gold Reserve Inc. v. Bolivarian Republic of Venezuela, ICSID Case No. ARB(AF)/09/1, Award (22 September
    2014) (CLA-156).
430
    Resp. C-Mem., Paragraphs 255-261; Resp. Rej., Paragraphs 292-310.


                                                   159
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 176 of 622




        Respondent at no point interfered with the management and operations of FertiNitro’s
        business; and its conduct could not amount to any breach of the FPS standard. 431

        “Arbitrary and Discriminatory Measures” – Article 4(1)
8.27    KOMSA’s Case: In summary, KOMSA contends that the standard for arbitrary and
        discriminatory measures under Article 4(1) of the Treaty imposes a requirement on the
        Respondent not to treat investors in an arbitrary or discriminatory manner, including
        “inconsistent and confusing” measures. 432 Such measures can constitute a breach of Article
        4(1) if they are arbitrary or (not “and”) discriminatory. 433

8.28    KOMSA contends that: (i) the imposition of the tax measures on FertiNitro had a
        discriminatory impact on KOMSA because the new and increased taxes targeted entities
        that were majority foreign-owned or were large companies (conversely, these tax measures
        exempted public sector entities such as Pequiven or applied lower rates to other
        companies); (ii) the Urea Decree and Urea Resolution compelled FertiNitro to sell urea to
        Pequiven at prices below market value (these measures were discriminatory measures
        because KNI did not benefit from preferential prices, nor did KOMSA (or KNI) participate
        in the drafting of these Urea regulations, unlike Pequiven); and (iii) the Expropriation
        Decree No. 7713 was discriminatory because it furthered Pequiven’s interest to KOMSA’s
        detriment. 434

8.29    The Respondent’s Case: In summary, the Respondent contends that the test for arbitrary
        conduct consists in determining whether the measures were a wilful disregard of due
        process of law that shocks or surprises a sense of juridical propriety. It extends also to
        whether the measures can be defended as reasonable, i.e. where the State’s actions can be
        linked to a reasonable policy. The test for discrimination consists in whether the State
        treated differently, without justification, entities otherwise similarly placed.               The




431
    Resp. C-Mem., Paragraphs 262-266; Resp. Rej., Paragraphs 311-324; Resp. PHB, Paragraphs 149-150.
432
    Cls. Mem., Paragraphs 340-343.
433
    Cls. Reply, Paragraphs 266-274
434
    Cls. Mem., Paragraphs 344-356; Cls. Reply, Paragraphs 275-280; Cls. PHB, Paragraphs 110-111.


                                                    160
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 177 of 622




        Respondent rejects KOMSA’s test of inconsistent or confusing measures in the absence of
        malign prejudice or preference. 435

8.30    The Respondent submits that the tax measures were neither arbitrary nor discriminatory as
        they applied to all similarly situated entities, both domestic and foreign. One of the taxes
        was a contribution intended to be re-invested in FertiNitro for research and development
        purposes, thus benefiting FertiNitro and not harming KOMSA at all. 436 Further, the urea
        regulations could not be discriminatory because KOMSA and Pequiven were not similarly
        situated. They operated in distinct markets and were not competitors, even if they were
        involved in the same sector of the Venezuelan economy. In any event, the measures were
        passed pursuant to the Respondent’s food policy and were not discriminatory. 437

        National Treatment – Article 4(2)
8.31    KOMSA’s Case: In summary, KOMSA contends that the National Treatment standard in
        Article 4(2) of the Treaty entitles investors to treatment no less favourable than that
        accorded by the State to its own nationals. It submits that this question turns on the
        particular facts of the case, making it necessary to take into account all circumstances.438
        KOMSA contends that by seeking to add the wording “in like circumstances” that is not
        found in Article 4(2), the Respondent wrongly makes that standard less protective of the
        investor. 439

8.32    KOMSA submits that the Respondent’s discriminatory measures constitute breaches of the
        National Treatment standard. KOMSA contends that: (i) the tax measures favoured
        Pequiven, a national entity, because it was exempt, and the urea regulations, drafted to
        appear facially neutral, targeted foreign companies and, in turn, KOMSA; (ii) the urea
        regulations granted Pequiven advantageous purchasing terms as it could buy urea below
        market price, an option that was not available to KNI; and (iii) the expropriation of October




435
    Resp. C-Mem., Paragraphs 267-277; Resp. Rej., Paragraphs 326-331; Resp. PHB, Paragraphs 151-153.
436
    Resp. C-Mem., Paragraphs 278-281; Resp. Rej., Paragraphs 332-335.
437
    Resp. C-Mem., Paragraphs 382-384; Resp. Rej. Paragraph 337; Resp. PHB, Paragraphs 154-158.
438
    Cls. Mem., Paragraphs 357-359.
439
    Cls. Reply, Paragraphs 281-286.


                                                    161
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 178 of 622




        2010 transferred assets and rights to Pequiven, a national entity thus enjoying benefits to
        the detriment of KOMSA. 440

8.33    The Respondent’s Case: In summary, the Respondent determines that the standard is
        necessarily one of comparison between the treatment afforded to foreigners and the
        treatment afforded to nationals in similar positions, considering the entirety of the
        circumstances. The Respondent objects to KOMSA’s test according to which it would not
        be necessary to find a national comparator similarly situated. The Respondent contends
        that the test of “in like circumstances” always applies under international law, whether or
        not language to that effect is found in the BIT. It adds that States can always resort to
        sovereign discretionary rights to implement certain policies. 441

8.34    The Respondent contends that no Venezuelan national benefited from a more favourable
        treatment because Pequiven, although exempt itself as to certain taxes, was impacted no
        less than KOMSA, as a direct shareholder in FertiNitro (the actual tax payer). As for the
        urea regulations, they were rational in furthering the Respondent’s food policy. Finally,
        the Expropriation Decree No. 7713 did not favour Pequiven because Pequiven did not
        ultimately hold any of the assets acquired thereunder. 442

        Umbrella Clause – Article 11(2)
8.35    KOMSA’s Case: In summary, KOMSA contends that the Respondent undertook to comply
        with any obligation, whether contractual or derived from its domestic law. 443 KOMSA then
        submits that the Respondent’s failure to comply with its domestic law (with regard to the
        VAT refunds to FertiNitro) constitutes a breach of this standard by the Respondent. 444

8.36    The Respondent’s Case: In summary, the Respondent contends that no obligation was
        breached regarding the VAT credits as the latter were ultimately issued and paid. 445




440
    Cls. Mem., Paragraphs 360-366; Cls. Reply, Paragraphs 287-291; Cls. PHB, Paragraph 112.
441
    Resp. C-Mem., Paragraphs 285-290; Resp. Rej., Paragraphs 338-347; Resp. PHB, Paragraphs 159-163.
442
    Resp. C-Mem., Paragraphs 291-296; Resp. Rej., Paragraphs 350-358; Resp. PHB, Paragraphs 164-165.
443
    Cls. Mem., Paragraphs 367-369; Cls. Reply, Paragraphs 292-295.
444
    Cls. Mem., Paragraphs 370-374; Cls. PHB, Paragraph 113.
445
    Resp. C-Mem., Paragraphs 297-301; Resp. Rej., Paragraphs 359-363; Resp. PHB, Paragraphs 166-168.


                                                    162
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 179 of 622




           The Tribunal’s Analysis and Decisions
8.37       As summarised above, KOMSA’s non-expropriatory claims for “Historical Losses” under
           Articles 4 and 11 and the Treaty derive from new and increased taxes, non-payment (or
           late payment) of VAT credits, the effects of the Urea Decree and Urea Resolution and
           interference with FertiNitro’s business. Although advanced under five distinct provisions
           of the Treaty, each claim is subject to certain common factual factors.

8.38       Articles 1(1) and (2): The alleged harm was suffered by FertiNitro directly and only
           consequentially by KOMSA, as an indirect minority shareholder in FertiNitro. In this
           arbitration, KOMSA is asserting its own claim for its own losses and not as any derivative
           claim for losses suffered by FertiNitro only. If it were otherwise, KOMSA’s claim would
           face obvious jurisdictional difficulties under Articles 1(1) and 1(2) of the Treaty and Article
           25 of the ICSID Convention. KOMSA is legally distinct from FertiNitro (and also Koch
           José). FertiNitro is a juridical person of Venezuelan nationality; and it is not a covered
           investor with protected investments under the Treaty. 446

8.39       Accordingly, KOMSA can only claim compensation for loss actually suffered by it arising
           from its own indirect minority investment in FertiNitro.                    In principle, a minority
           shareholder, even with shares held indirectly by an associated company, can claim
           compensation for proven indirect loss. As was decided in Rosinvest v. Russia: “modern
           investment treaty arbitration does not require that a shareholder can only claim protection
           in respect of measures that directly affect shares in their own right, but that the investor
           can also claim protection for the effect on its shares by measures of the host state taken
           against the company.” 447 However, the investor must still prove actual crystallised loss
           from the indirect effect on its equity interest, as distinct from loss by the company.




446
      See HICEE B.V. v. Slovak Republic, UNCITRAL, Partial Award (23 May 2011).
447
      RosInvestCo UK Ltd. v. Russian Federation, SCC Arbitration V (079/2005), Final Award (12 September 2010)
      (CLA-9), Paragraph 608. (This award, as already indicated above, was annulled by the Swedish courts on unrelated
      jurisdictional grounds). For a more guarded approach, see GAMI Investments, Inc. v. United Mexican States,
      UNCITRAL, Award (15 November 2004) (RLA-64). One member of the Tribunal does not accept that the broad
      statement on the admissibility of shareholder claims in RosInvestCo is correct, however, given the Tribunal’s
      ultimate conclusion on these claims, the member sees no utility in expanding upon the point of disagreement in
      this Award.


                                                          163
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 180 of 622




8.40   In the Tribunal’s view, there is no cogent evidence that KOMSA, as regards its own indirect
       interest as a minority shareholder in FertiNitro, suffered a loss sufficiently quantifiable in
       money terms from any of its “Historical Claims”. There was no sufficient evidence of any
       simple “pass through” of loss suffered by FertiNitro, so as to become a pro-rated loss to
       KOMSA as a partial indirect shareholder of FertiNitro. KOMSA also adduced insufficient
       proof of its own actual direct losses, as distinct from losses sustained by FertiNitro. The
       position could be different if FertiNitro was wholly owned by KOMSA; but it never was.

8.41   This approach would suffice for the Tribunal to dismiss KOMSA’s claims “for Historical
       Losses” in limine. However, the Tribunal considers that this approach could unfairly
       impose too high an evidential hurdle for KOMSA in this case; and, given the efforts made
       by the Parties and their expert witnesses on quantum, it would be discourteous to stop the
       analysis here. Hence, for present purposes, it is prepared to assume that some part of
       FertiNitro’s alleged losses did “pass through” to KOMSA as regards taxes, VAT, the Urea
       Decree and the Urea Resolution. However, given the absence of any separate quantifiable
       figure for interference in FertiNitro’s business, no assumption as to loss is there made by
       the Tribunal. Further, if and to the extent that KOMSA is advancing a claim for loss to
       KNI (unquantified) resulting from “Historical Losses”, separately from KNI’s claim for
       expropriation, the Tribunal dismisses that claim also as lacking any evidential justification.

8.42   Article 4(1): The FET and FPS standards accorded to covered investments in Article 4(1)
       of the Treaty are prefaced by the words: “[i]n accordance with the rules and principles of
       international law”. In the Tribunal’s view, as explained below, these words import the
       customary international law minimum standards, rather than any autonomous higher
       standards, applying the rule of interpretation codified in Article 31(1) of the VCLT as to
       “the ordinary meaning to be given to the terms in their context.”

8.43   The Tribunal need not here debate the jurisprudence or doctrinal writings, so neatly
       captured by Dr Mann long ago. As is well known, in his 1982 publication, Dr Mann
       concluded that a FET standard: “[…] in essence, is a duty imposed by customary
       international law […] which in law is unlikely to amount to more than a confirmation of




                                                164
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 181 of 622




        the obligation to act in good faith, or to refrain from abuse or arbitrariness.” 448 It was
        perhaps a more considered conclusion than his earlier opinion to the contrary:

           “The terms ‘fair and equitable treatment’ envisage conduct which goes far beyond
           the minimum standard and afford protection to a greater extent and according to a
           much more objective standard than any previously employed form of words. A
           tribunal should not be concerned with a minimum, maximum, or average standard.
           It will have to decide whether in all the circumstances the conduct in issue is fair and
           equitable or unfair and inequitable. No standard defined by other words is likely to
           be material. The terms are to be understood and applied independently and
           autonomously.” 449

       This debate has continued in later arbitral decisions, as cited in the Parties’ submissions to
       different effect; but that debate is not relevant here.

8.44    The FET and FPS standards in this Treaty are prefaced with the express qualification: “in
        accordance the rules and principles of international law.” In the Tribunal’s view, this
        additional express wording is conclusive in confirming the meaning of the FET and FPS
        standards as the duties imposed by customary international law and in precluding an
        independent or autonomous meaning. In AAPL v. Sri Lanka, it was the “non-reference to
        international law” which led that tribunal to adopt an autonomous FPS standard; and (with
        the dissent), it is clear the tribunal would have decided otherwise with the express
        additional wording in this Treaty. 450

8.45    The Tribunal also adopts the reasoning of the decision in Flughafen v. Venezuela, cited by
        the Respondent, on the same wording of Article 4(1) of the Treaty. 451 That case also
        concerned (inter alia) the same Switzerland-Venezuela BIT, where the express additional
        qualification was translated into English as: “in accordance with the norms and criteria of
        international law”. The tribunal there decided:




448
    F.A. Mann, The Legal Aspect of Money (4th ed, 1982), p. 510.
449
    F.A. Mann, British Treaties for the Promotion and Protection of Investments, 52 British Yearbook of International
    Law 241 (1981) (CLA-86), page 244.
450
    Asian Agricultural Products Limited v. Democratic Socialist Republic of Sri Lanka, ICSID Case No ARB/87/3,
    Award (27 June 1990) (RLA-42), Paragraph 52.
451
    Flughafen v. Venezuela (RLA-154), Paragraph 573 (non-official translation provided by counsel).


                                                        165
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 182 of 622




             “If the BITs must be interpreted in accordance with Customary International Law,
             and if the minimum treatment is part of that set of uses and customs, then one has to
             reach the inevitable conclusion that an interpreter, when determining whether or not
             a particular action violates Article 4 of the BITs, must take into consideration the
             manner in which Customary International Law defines FET. Therefore, the Tribunal
             considers that the provision included in the BITs, requiring that FET be defined in
             accordance with International Law necessarily incorporates a reference to the level
             of protection that International Law provides to foreigners, that is, to what is known
             as the customary minimum standard.”

8.46       The Tribunal’s interpretation suffices to dismiss KOMSA’s claim under the FPS standard
           on the facts alleged by KOMSA. Under its meaning well-settled in customary international
           law, the FPS standard is confined to physical protection to aliens against acts of third
           persons not attributable to the host State. 452 As such, it can give rise to a limited form of
           liability in factual circumstances where the host State has failed to exercise reasonable
           diligence to prevent such acts. That is manifestly not this case.

8.47       As regards the FET standard under customary international law, the factual evidence
           remains relevant, to be addressed below. However, as to such evidence, the Tribunal does
           not consider that the result in this case would be materially different under an FET’s
           autonomous standard. There was no cogent evidence of KOMSA’s legitimate expectations
           induced by any specific undertaking or representation made to KOMSA by the Respondent
           to induce KOMSA’s investment. It is well settled that provisions of general legislation or
           state policies applicable to a plurality of persons do not suffice generally to establish
           legitimate expectations required under an FET autonomous standard.

8.48       As to the third limb of Article 4(1) of the Treaty, namely the protection against “arbitrary
           or discriminatory measures”, the issue arises whether it means what it says tout court; or
           whether, because the use of a semi-colon (as opposed to a full stop or a separate sub-
           clause), this further limb should also be read subject to the express additional wording. In
           the Tribunal’s view, this third limb must be read separately, without reference to a
           customary international law minimum standard (if any exists). However, its meaning is



452
      BG Group Plc. v. Republic of Argentina, UNCITRAL, Final Award (24 December 2007) (CLA-37), Paragraphs
      326-328; El Paso v. Argentina (CLA-52), Paragraph 522.


                                                     166
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 183 of 622




           clearly directed at “the management, operation, maintenance, use, enjoyment, expansion,
           disposal or liquidation” of KOMSA’s “investment”, namely KOMSA’s indirect minority
           equity interest in FertiNitro, as distinct from FertiNitro itself. KOMSA is not here
           advancing a claim for any direct interference with its own equity interest in FertiNitro, as
           such. In the Tribunal’s view, KOMSA’s claim under this limb of Article 4(1) is better (or
           not worse) advanced under the FET standard, as to which its claim succeeds or fails on the
           relevant evidence. Accordingly, the Tribunal proceeds on that basis below.

8.49       Article 4(2): The Tribunal does not consider that Pequiven as a local state-owned and state-
           controlled company, is an appropriate ‘comparator’ to KOMSA under Article 4(2) of the
           Treaty. It is true that both were shareholders in FertiNitro and that both were engaged,
           directly or indirectly, in the fertiliser business in Venezuela; but the similarities stop there.
           Pequiven was a direct and active participant in that local business, whereas KOMSA was
           an indirect foreign investor.             KOMSA cannot here be assimilated to FertiNitro.
           Accordingly, in the absence of any appropriate comparator, the Tribunal dismisses
           KOMSA’s claims regarding “National Treatment” under Article 4(2) of the Treaty.

8.50       Article 11(2): KOMSA does not assert any “stabilisation” clause as regards its investment
           in FertiNitro; and, as Mr Parra (of KOMSA) testified, KOMSA received from the
           Respondent no “specific assurance, written document, letter, other than what existed in the
           law at the time.” 453 The Tribunal has indeed not seen any cogent evidence of any material
           representation, assurance or undertaking made by the Respondent to KOMSA in regard to
           its interest in FertiNitro, whether explicit or even necessarily implicit, in any contemporary
           document or agreement. Accordingly, the Tribunal dismisses KOMSA’s claim under
           Article 11(2), the “Umbrella Clause”, of the Treaty.

8.51       The FET Standard: The Tribunal begins with certain general observations. First, from the
           outset, the FertiNitro project was known by all participants, including KOMSA, to be
           subject to significant political, economic and other uncertainties in Venezuela. As recorded




453
      First (September) Hearing, D2.81-82 (Parra).


                                                         167
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 184 of 622




        in the 1998 Bond Offering Memorandum for the FertiNitro project, 454 these uncertainties
        included “changes in taxation policies”, whereby FertiNitro’s results “are expected to be
        affected generally by […] changes in Venezuelan governmental leadership, policy and
        taxation […]”. It was also known that the next Presidential elections in Venezuela would
        take place later in December 1998. In those elections, Mr Chavez was elected President of
        Venezuela and subsequently re-elected until his death in 2013.

8.52    Second, the protections accorded to investors and their investments under the Treaty do
        not operate as an insurance against normal business risks, changes in domestic laws or
        regulatory action by the host State. As was decided in Saluka v. Czech Republic (already
        cited in Part VI above): “[i]t is now established in international law that States are not liable
        to pay compensation to a foreign investor when, in the normal exercise of their regulatory
        powers, they adopt in a non-discriminatory manner bona fide regulations that are aimed at
        the general welfare.” 455 Such regulatory powers extend to taxation. As was decided in
        EnCana; “[i]n the absence of a specific commitment from the host State, the foreign
        investor has neither the right nor any legitimate expectation that the tax regime will not
        change, perhaps to its disadvantage, during the period of the investment.” 456 As the Bond
        Offering Memorandum expressly stated (cited above), this is no more than business
        common sense, as would have been well understood by KOMSA at the time.

8.53    The question therefore is not whether the Respondent has exercised its regulatory or other
        powers causing loss to KOMSA, but whether in so doing, the Respondent has violated its
        obligations to KOMSA under the Treaty. As to that question, as already explained above,
        the Respondent’s measures are to be weighed, with due deference, on the factual evidence
        adduced in this arbitration.

8.54    Third, FertiNitro was, long before the events of October 2010, a troubled and unhappy
        company (or, rather, “companies”). The Tribunal refers to the Comisario Report of 7




454
    Offering Circular - Bond Offering of $250,000,000 between FertiNitro Finance Inc and FertiNitro (8 April 1998)
    (C-115), page 50.
455
    Saluka v. Czech Republic (CLA-19), Paragraphs 255ff.
456
    EnCana v. Ecuador (RLA-71).


                                                      168
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 185 of 622




        September 2006, made by FertiNitro‘s statutory auditor reporting to all its shareholders. It
        identified (as translated into English) “conflicts of interest between the Directors making
        swift-decision-making difficult”; “excessive disputes, particularly the problems
        concerning the Plants and the Offtake Agreement”; “uncertainty regarding the safety and
        operational continuity of the Plants”; “the union claims for work benefits which […] have
        not been solved”; an “absence of handbooks, approved by the Management Board, on the
        policies, norms and procedures for technical, operative, administrative and accounting
        functions and duties”; and the necessity for “revising the Company’s organization structure
        in accordance with existing needs […]”. 457 After 2006 and by 2010, FertiNitro’s condition
        worsened significantly.         In these circumstances, confirmed by other contemporary
        evidence, FertiNitro’s business difficulties cannot be lightly attributed to effects for which
        the Respondent might be legally responsible under the Treaty or international law.

8.55    Taxes: Ostensibly at least, the impugned taxes were of general application. As to Municipal
        taxes, the classifier for Group 1-D identified: 458 “[a]ll industrial economic activities
        exercised by […] legal […] entities of the Energy, Natural Gas Production Sector and all
        activities related to the oil and gas and petrochemical industry, which is linked to the
        activity that is directly or indirectly related to the Jose Petrochemical Complex […].” As
        to the Science and Technology tax, Article 37 of the Law targeted generally “[t]he large
        companies in the country dealing with other sectors of production of goods and provision
        of services […].” 459 Moreover, this Law conferred direct benefits on FertiNitro.

8.56    The Tribunal does not consider that KOMSA, on the factual evidence, has established a
        violation of the FET standard by the Respondent (or Article 4(1)’s third limb). In
        particular, these were not tax measures proven to have been made in bad faith, arbitrarily,
        irrationally or with an improper intent to discriminate directly against FertiNitro (or
        indirectly against KOMSA). Given later events in October 2010, it could be tempting to
        use hindsight in evaluating these tax measures; but the Tribunal thinks it inappropriate to



457
    FertiNitro Report from the Statutory Auditor and Consolidated Financial Statements (7 September 2006) (C-63).
458
    Ordinance for Taxes on Industrial, Commercial, Service or Similar Economic Activities (29 December 2005) (C-
    45), page 14.
459
    Organic Law on Science, Technology and Innovation (effective as of 1 January 2006) (C-43), page 8.


                                                      169
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 186 of 622




        do so. These measures must be assessed at the time of their enactment, when different
        circumstances existed.

8.57     VAT: As to VAT, the Respondent maintains that all the VAT credits requested by
        FertiNitro have been paid, as shown by its VAT tables from 2001 to 2010. 460 At the Third
        (June) Hearing, the Respondent acknowledged that VAT credits were paid late, as is also
        evidenced by its own VAT tables.

8.58    There is no cogent evidence of any specific monetary loss suffered by FertiNitro from the
        Respondent’s delays, still less of any resulting specific monetary loss to KOMSA. Mr
        Giles, albeit not a factual witness, testified that for each year from 2006 to 2010, “part of
        the outstanding recoverable VAT was written off” by the Respondent. Dr Flores testified
        that this was incorrect; and that FertiNitro’s accounting provisions had no “real cash flow
        effects” as Mr Giles suggested. 461 Dr Flores was likewise not a factual witness.

8.59    The Tribunal regrets the paucity of cogent evidence on this issue. It is clear that the
        Respondent issued VAT credits late to FertiNitro; but that was the usual practice in
        Venezuela suffered by all VAT taxpayers entitled to tax credits. The evidence was all one
        way as regards such regular delays. In the circumstances, the Tribunal does not consider
        that KOMSA, on the factual evidence, has established a violation of the FET standard by
        the Respondent (or Article 4(1)’s third limb). In particular, these delays were not proven
        to have been made in bad faith, arbitrarily, irrationally or with an improper intent to
        discriminate directly against FertiNitro (or indirectly against KOMSA).

8.60    Urea Decree and Urea Resolution: The Urea Decree and Urea Resolution were issued in
        March and May 2007 respectively. 462 The Respondent submits that the Urea Decree and
        the Urea Resolution were issued by the Respondent as part of its regulatory role in ensuring




460
    FertiNitro, VAT Credits 2001-2010 (updated to December 2010) (R-73).
461
    Expert Report of Tim Giles (2 June 2012), Paragraph 3.14; Flores ER1, Paragraphs 165-168; Flores ER2,
    Paragraphs 229ff.
462
    Decree 5,218 (26 February 2007) (C-80); Joint Resolution by the Ministry of the People’s Power for Agriculture
    and Land, the Ministry of the People’s Power for Light Industry and Trade, and the Ministry of the People’s Power
    for Energy and Petroleum (Official Gazette No. 38,674) (3 May 2007) (C-82).


                                                        170
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 187 of 622




           food supply and security for the people of Venezuela. 463 At the time, KOMSA did not
           actively oppose the Urea Decree or Urea Resolution by litigation or like administrative
           action within Venezuela’s legal system; nor did FertiNitro itself. 464

8.61       As already found in Part VII above, the Tribunal, in the exercise of the deference due to
           the Respondent, considers these urea regulations to have been made in pursuit of the
           Respondent’s policies on food security and supply for the people of Venezuela. Ostensibly,
           albeit causing direct loss to FertiNitro, the Tribunal does not consider that KOMSA, on the
           factual evidence, has established a violation of the FET standard by the Respondent (or
           Article 4(1)’s third limb). In particular, these urea regulations were not proven to have
           been made in bad faith, arbitrarily, irrationally or with an improper intent to discriminate
           directly against FertiNitro (or indirectly against KOMSA). Similarly, given the later events
           in October 2010, although it could be tempting to use hindsight in evaluating these urea
           regulations (as KOMSA suggests), the Tribunal again thinks it inappropriate to do so.
           These urea regulations must also be assessed at the time of their enactment.

8.62       Decisions: For these reasons, as to liability, the Tribunal decides to dismiss KOMSA’s
           claims against the Respondent for “Historical Losses” under Articles 4(1), 4(2) and 11(2)
           of the Treaty.




463
      Resp Rej., Paragraphs 319-320.
464
      Cls. Mem., Paragraph 85.


                                                    171
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 188 of 622




                            PART IX: COMPENSATION ISSUES



      Introduction
9.1   In the light of the Tribunal’s decisions on jurisdiction and liability above, it is now
      necessary to consider the appropriate quantum of compensation payable by the Respondent
      to each of the Claimants, namely KOMSA for its expropriated interest in FertiNitro and
      KNI for its expropriated interest in the Offtake Agreement. The Tribunal begins with an
      outline of its general approach to compensation, turning then to a summary of the Parties’
      attempts to negotiate compensation due by the Respondent to KOMSA, which has already
      been addressed in greater detail in the chronology set out in Part V above. It is appropriate
      next to summarise the Claimants’ quantum submissions and the Respondent’s submissions
      in response, before turning to the Tribunal’s consideration of those competing submissions
      and its decisions as to the appropriate amounts of compensation.

9.2   Given the evolutionary development of the Parties’ respective cases on compensation
      during this arbitration, the very significant differences between the testimony of their
      respective expert witnesses (Mr Giles and Dr Flores) and the complexities of the issues
      relating to compensation (for both KOMSA and KNI), the Tribunal has found it necessary
      to summarise at some length the Parties’ successive submissions on compensation. That
      summary may also provide a useful reference as to what was and what was not submitted
      by the Parties on such issues in this arbitration to be read with the lists of issues in Part III
      above. Inevitably, however, parts of this summary are duplicative and (given the evolution
      of the Parties’ cases) not fully consistent.

9.3   As to its general approach, the Tribunal bears much in mind, as contended by the
      Respondent, that the Claimants generally bear the legal burden of proving their respective
      cases on compensation. This general principle is well established under international law:
      onus probandi actori incumbit.

9.4   The Tribunal also bears in mind that complex issues of compensation, dividing the
      disputing parties and their expert witnesses, can require a margin of appreciation by an
      arbitral tribunal applying the wording of a BIT and international law. The required exercise


                                                172
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 189 of 622




        can be therefore less than an exact science. The Tribunal refers to the approach taken by
        international arbitration tribunals, such as the awards in Sistem v. Kyrgyz Republic 465 and
        ADC v. Hungary. 466

9.5     As was decided in Sistem v. Kyrgyz Republic:

          “154. The Tribunal is conscious of the desirability for conceptual clarity in valuing
          assets for the purposes of calculating compensation payable; and it is conscious of
          the criticism of ‘triangulation’ methods, which select a figure that lies somewhere in
          the middle ground of estimates put forward by the parties.
          155. The Tribunal is also aware of the fact that all valuations in the absence of an
          actual sale are estimates, and is mindful of the fact that the Tribunal has a legal duty
          to render an award under a process which the Respondent has freely agreed to
          establish and the Claimant has freely chosen to pursue, and to do so on the basis of
          the material that the parties have decided to put before it. That is, necessarily, an
          exercise in the art of the possible; and the Tribunal has sought to arrive at a rational
          and fair estimate, in accordance with the BIT, of the loss sustained by the Claimant
          rather than to engage in a search for the chimera of a sum that is a uniquely and
          indisputably correct determination of the value of what the Claimant lost. The
          Tribunal derives some comfort from Immanuel Kant's observation that ‘Out of the
          crooked timber of humanity no straight thing was ever made.’”

9.6     In ADC v. Hungary, the tribunal likewise decided that:

          “[T]he assessment of damages is not a science. True it is that the experts use a variety
          of methodologies and tools in order to attempt to arrive at the correct figure. But at
          the end of the day, the Tribunal can stand back and look at the work product and
          arrive at a figure with which it is comfortable in all the circumstances of the case.”

9.7     Under international law, there is thus by now a well-established ‘jurisprudence constante’
        to the effect that, however difficult, an international tribunal must do its best to quantify a
        loss, provided that it is satisfied that some loss has been caused to the claimant by the




465
    Sistem Muhendislik Insaat Sanayi ve Ticaret A.S. v. Kyrgyz Republic, ICSID Case No. ARB(AF)/06/1, Award (9
    September 2009) (“Sistem v. Kyrgyz”).
466
    ADC Affiliate Limited and ADC & ADMC Management Limited v. Republic of Hungary, ICSID Case No.
    ARB/03/16, Award (2 October 2006) (CLA-16), Paragraph 521. See also Gold Reserve Inc. v. Bolivarian Republic
    of Venezuela, ICSID Case No. ARB(AF)/09/1, Award (22 September 2014) (“Gold Reserve v. Venezuela”) (CLA-
    156), Paragraph 832.


                                                     173
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 190 of 622




           wrongdoing of the respondent. 467 In the Tribunal’s view, there is no doubt that the
           Claimants have both suffered some loss caused by the Respondent’s violations of Article
           6 of the Treaty.

9.8        The difficulties in this case arise from the quantification of the monetary damages required
           from the Respondent to compensate each of the two Claimants. As already indicated,
           international tribunals have traditionally resolved such difficulties applying a rule of
           reason, rather than a rule requiring certainty in calculating compensation based upon
           precisely calculated figures. Almost invariably, this approach now requires tribunals to
           reject the full extent of the parties’ primary cases on quantum and the often wildly differing
           results of their respective expert witnesses’ methodologies, assumptions and instructions.
           For tactical reasons, a claimant may not wish to discount downwards the full amount of its
           pleaded claim; and a respondent denying loss similarly may not wish to offer a
           methodology resulting in any significant damages being awarded in a claimant’s favour.
           A tribunal must then work by itself in the rational no man’s land left vacant by the parties
           and their expert witnesses, as best it can. In the present case, the Tribunal has faced grave
           difficulties in understanding how the Parties and their respective expert witnesses on
           quantum can have presented such very different figures.

           The Negotiations for Compensation
9.9        In brief, as described in Part V above, negotiations were held between Pequiven for the
           Respondent (as the expropriating body designated under the Expropriation Decree) and
           FertiNitro’s foreign shareholders, including KOMSA, between February and September
           2011. These negotiations did not include KNI, which had been led to expect separate but
           not dissimilar treatment. At the time, these negotiations with FertiNitro’s shareholders
           were described by Pequiven (for the Respondent) as encompassing amicable settlement
           talks for compensation “contemplated by both the applicable Venezuelan law, as well as
           the Bilateral Investment Protection Treaties”. 468




467
      See, for example, Sistem v. Kyrgyz, Paragraphs 154 and 155.
468
      Letter from Betulio Hernández, Executive Director, Pequiven, to Shareholders (28 February 2011) (R-35),
      Paragraph 1.


                                                      174
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 191 of 622




9.10    All four meetings were attended by Mr Barrientos (for Pequiven). Mr Barrientos testified
        at the First (September) Hearing that he was privy to Pequiven’s decision to engage
        Advantis, as consultants to advise on the amount of compensation payable to FertiNitro’s
        foreign shareholders. 469 Mr Barrientos was unable to explain to the Tribunal the difference
        between Advantis’ valuation of KOMSA’s interest in FertiNitro of about US$ 113 million
        (which he considered to be at the time a fair valuation and a “genuine estimate of what the
        company was worth”) and Dr Flores’ valuation (as the Respondent’s expert witness in this
        arbitration) of US$ 34.6 million.470 However, as Mr Barrientos confirmed, the person
        working with Advantis was Mr Garcia (who was not called as a witness by the Respondent
        in this arbitration). 471

9.11    The Tribunal returns to the two Advantis Reports of May and July 2011 below.

        The Claimants’ Quantum Submissions
9.12    In summary, the Claimants’ case on quantum is comprised of ten main submissions, each
        addressed separately in the sub-sections below. These are:

                 First, the Claimants have demonstrated that the Respondent must pay full
                 compensation under international law;
                 Second, testimony from the Second (November) Hearing demonstrated that the
                 Parties’ quantum experts have adopted fundamentally different approaches to the
                 valuation exercise;
                 Third, the Parties’ quantum experts agree on a number of compensation parameters,
                 but the differences of fact and expertise on quantum issues remain significant;
                 Fourth, the central points of agreement and disagreement in relation to future cash
                 flows at FertiNitro have been identified;
                 Fifth, the central points of agreement and disagreement in relation to the valuation
                 of the Offtake Agreement have been identified;
                 Sixth, the central points of agreement and disagreement in relation to the discount
                 rate and the country risk premium have been identified;




469
    First (September) Hearing D3.83-84.
470
    First (September) Hearing D3.87-88.
471
    First (September) Hearing D3.85-86.


                                                 175
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 192 of 622




                Seventh, the award in Gold Reserve v. Venezuela 472 supports the FertiNitro-specific
                country risk premium adopted by the Claimants’ quantum expert, Mr Giles; and it
                discredits the generic country risk premium adopted by the Respondent’s quantum
                expert, Dr Flores. By contrast, the two awards in the ExxonMobil and Mobil
                cases 473 do not identify any country risk premium for Venezuela and are clearly
                distinguishable;
                Eighth, the adjusted MOU price of US$ 360 million for KOMSA’s equity share as
                at 30 September 2010 (as submitted by Mr Giles in his first report and based on the
                Pequiven draft MOU of October 2008) 474 is an effective reality check on the Parties’
                valuations for KOMSA’s interest in FertiNitro; it demonstrates that Mr Giles’
                equity valuation is conservative and that, by contrast, Dr Flores’ purported fair
                market valuation is less than 10% of the price that was agreed by the Parties in
                2007/2008 under threat of expropriation;
                Ninth, there are multiple additional reality checks that validate the reasonableness
                of Mr Giles’ valuations of KOMSA’s equity investment and KNI’s interest in the
                Offtake Agreement; and
                Tenth, there are multiple further “lower bound” reality checks that discredit
                Dr Flores’ valuation as an unsupportable outlier.

        (i)   The Claimants Have Demonstrated That the Respondent Must Pay Full
              Compensation Under International Law

9.13    As submitted by the Claimants, the threshold issue is the determination of the appropriate
        standard by which compensation is to be calculated by the Tribunal.

9.14    The Claimants contend that, as a matter of customary international law, the full reparation
        standard articulated in the Chorzów Factory Case 475 is the appropriate standard of
        compensation for the Respondent’s unlawful conduct.




472
    Gold Reserve v. Venezuela (CLA-156).
473
    Namely, Mobil Cerro Negro Ltd v. Petróleos de Venezuela, S.A. and PDVSA Cerro Negro, S.A., ICC Case No.
    15416/JRF/CA, Final Award (23 December 2011) (“Mobil v. PDVSA” or “Mobil”) (EO-45); Venezuela Holdings,
    B.V., Mobil Cerro Negro Holding, Ltd. Mobil Venezolana De Petróleos Holdings, Inc. Mobil Cerro Negro, Ltd.
    And Mobil Venezolana De Petróleos, Inc. v. Bolivarian Republic of Venezuela, ICSID Case No. ARB/07/27,
    Award (9 October 2014) (“Venezuela Holdings v. Venezuela” or “ExxonMobil”) (RLA-153).
474
    Expert Report of Tim Giles (2 June 2012) (“Giles ER1”), Paragraphs 4.88-4.89; see also Cls. Mem., Paragraph
    150.
475
    Chorzów Factory Case (Germany v. Poland), PCIJ Series A, No 17, Decision on Merits (13 September 1928)
    (CLA-49).


                                                     176
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 193 of 622




9.15   On the other hand, as explained in more detail below, the Respondent contends that the
       compensation standard in Article 6 of the Treaty should apply in respect of its allegedly
       unlawful expropriation of the Claimants’ investments and its other treaty violations.

9.16   In response, the Claimants submit that the standard in Article 6 of the Treaty is inapplicable
       where an expropriation has been carried out unlawfully, as here.            Accordingly, the
       Claimants submit that they are entitled to full compensation under the customary
       international law standard in order to wipe out all of the consequences of the Respondent’s
       unlawful conduct.

9.17   The Claimants accept that, in principle, there is a distinction in the standard of
       compensation for a “lawful” expropriation and the standard of compensation for an
       “unlawful” expropriation. That is, as they say, the standard of compensation for a lawful
       expropriation is provided in Article 6 of the Treaty; but the standard of compensation for
       an unlawful expropriation is full reparation under customary international law.

9.18   Notwithstanding this distinction, the Claimants accept that, in this case, there is no material
       difference in result between the standard applicable under customary international law for
       an “unlawful expropriation” and the standard applicable under the Treaty for a “lawful
       expropriation”. Indeed, so the Claimants submit, both standards result in the calculation
       of the “fair market value” of the expropriated investments absent the Respondent’s multiple
       violations.

9.19   The Claimants contend that the application of the proper standard supports its three
       submissions as to the appropriate compensation. These include, but are not limited to
       recent arbitral decisions confirming that the Respondent must pay full compensation to the
       Claimants in a “but for” scenario for the unlawful expropriation of the Claimants’
       investments.

9.20   The Claimants submit that recent decisions support the principle of full compensation in a
       “but for” scenario for the unlawful expropriation of their investments. The Claimants cite




                                                177
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 194 of 622




        Hulley Enterprises Limited (Cyprus) v. The Russian Federation, 476 where the tribunal,
        referring to Article 35 of the ILC Articles on State Responsibility, explained that a “State
        responsible for an illegal expropriation is in the first place obliged to make restitution by
        putting the injured party into the position that it would be in if the wrongful act had not
        taken place.” Similarly, they point to ConocoPhillips v. Venezuela 477, where the tribunal
        decided:

           “The Tribunal, coming back to the terms of the BIT, does not consider that the extent
           of the compensation payable in respect of an unlawful taking of an investment, for
           instance because it is in breach of an ‘undertaking’ in terms of Article 6(b), is to be
           determined under Article 6(c): that provision establishes a condition to be met if the
           expropriation is in all other respects in accordance with Article 6. So, in the
           Chorzów case, the Court did not determine reparation in accordance with the
           provisions of the Convention before it, because it was concerned with a dispossession
           in breach of those provisions. It decided in accordance with ‘the essential principle’
           quoted earlier, that is a principle of customary international law, not dependent on
           the Convention provisions.”

9.21    Accordingly, the Claimants contend that arbitral jurisprudence confirms that KOMSA is
        entitled to full compensation under international law for the losses caused by the
        Respondent’s non-expropriation violations of the Treaty.

        (ii)   Testimony from the Second (November) Hearing Demonstrated That the Parties’
               Quantum Experts Have Adopted Fundamentally Different Approaches To the
               Valuation Exercise

9.22    The Claimants note that there is a difference of more than US$ 518 million between the
        Parties’ experts’ evidence in relation to the equity valuation, offtake valuation and
        KOMSA’s Historical Losses (the latter of which have already been addressed in Part VIII
        above). The Claimants contend that this large gulf between the two quantum experts’
        valuations can, in large part, be explained by their fundamentally different approaches to



476
    Hulley Enterprises Limited (Cyprus) v. The Russian Federation, PCA Case No. AA 226, Final Award (18 July
    2014) (CLA-152), Paragraph 1766 (annulled by the Hague District Court on other grounds, but currently under
    appeal).
477
    ConocoPhillips Petrozuata B.V., ConocoPhillips Hamaca B.V. and ConocoPhillips Gulf of Paria B.V. v. Bolivarian
    Republic of Venezuela, ICSID Case No. ARB/07/30, Decision on Jurisdiction and the Merits (3 September 2013)
    (“ConocoPhillips v. Venezuela”) (CLA-155), Paragraph 342.


                                                      178
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 195 of 622




           the valuation exercise. The Claimants rely on their quantum expert, Mr Giles, who they
           contend has adopted a forensic approach to the determination of his valuation parameters
           in contrast to Dr Flores.

9.23       Specifically, the Claimants contend that Mr Giles’ valuation reflects the available
           contemporaneous documentary evidence surrounding the revenues earned and the costs
           incurred at the FertiNitro Plant. As such, so the Claimants contend, Mr Giles was able to
           determine whether the revenues and costs that appear in FertiNitro’s accounts are reliable
           for the purposes of projecting future revenues and costs at the Plant, in a “but for scenario”.

9.24       The Claimants further contend that Mr Giles was right to ignore the serious irregularities
           and a lack of transparency with respect to important cost data recorded in FertiNitro’s
           accounts to arrive at a fair market valuation. That approach is, it is contended, consistent
           with what a willing buyer and willing seller would do, namely analyse the historical output
           at the FertiNitro Plant to determine if that data is a reliable source for the forecasting long-
           term output at the Plant.

9.25       According to the Claimants, Mr Giles’ evidence is also supported by the evidence of Mr
           Sanders, who at the Second (November) Hearing, confirmed that, in October 2010, a
           willing buyer would have viewed FertiNitro as a plant with substantial opportunities for
           improvement on both the costs and production side. The Claimants describe Mr Sanders
           as “the only independent industry expert in this arbitration”. 478 The Claimants submit that
           Mr Sanders’ evidence is consistent with what the Respondent itself has realised since the
           expropriation, overseeing a number of improvements to the FertiNitro Plant. Indeed, the
           Claimants specifically point to Mr Sanders’ evidence that his analysis of the
           contemporaneous documents revealed: 479

             “Prior to the expropriation, the FertiNitro board expressed serious concern about
             this out of control spending, and they requested some additional documentation that
             would, through comparative charts and explanations of the costs, fully explain and
             allow a transparent look at what the money was being spent on. These costs have no



478
      Cls. PHB, Paragraph 136.
479
      Second (November) Hearing D5.142 (Sanders).


                                                     179
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 196 of 622




           documentary support. The requested documents that should explain the complete
           cost breakdown of this out of control spending was again requested, but however was
           never provided by Venezuela.”

9.26    According to the Claimants, the expert evidence of Mr Giles, insofar as it demonstrates
        that the FertiNitro Plant was not a “flawed plant”, is supported not only by Mr Sanders, but
        also by the admissions of the Respondent’s witness, Mr Anibal Villarroel. In particular,
        the Claimants point to the ammonia trains at the FertiNitro Plant having operated at almost
        100% of nameplate capacity on an annualized basis in 2006, 480 and to the fact that the urea
        trains at FertiNitro were capable of producing 2,200 tonnes per day. 481

9.27    The Claimants conclude that the cash flow inputs adopted by Mr Giles are supported by
        contemporaneous documents, the independent expert testimony of Mr Sanders and
        admissions by the Respondent’s witness, Mr Villarroel, under cross-examination.

9.28    The Claimants also point to various deficiencies in the Respondent’s evidence.                          In
        particular, the Claimants contend that the Respondent has not provided any credible
        account of the irregular and escalating maintenance and turnaround costs incurred at
        FertiNitro since 2008. Under cross-examination, Dr Flores stated that he had relied on Mr
        Villarroel’s account of turnaround and maintenance costs at the Plant: 482

           “Q. [Y]ou relied on Mr Villarroel because you assumed that he had a good
           understanding of the maintenance and turnaround costs, correct?
           A. Yes, I did assume that he has a good understanding of maintenance and
           turnaround costs. He works at FertiNitro.”

9.29    Yet, the Claimants point to the fact that Mr Villarroel admitted that, as Operations
        Manager, he was not responsible for, nor did he even know about, costs at FertiNitro: 483

           “I only worry about the technical day-to-day reality of the plant, but obviously this
           type of thing costs, and at that degree of detail and whether or not they were duly




480
    First (September) Hearing D3.142-143 (Villarroel).
481
    First (September) Hearing D3.144 (Villarroel).
482
    Second (November) Hearing D6.230 (Flores).
483
    First (September) Hearing D4.34 (Villarroel). The Claimants also point to Mr Villarroel’s admission that he had
    “no time to devote to costs at all”: First (September) Hearing D4.31 (Villarroel).


                                                       180
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 197 of 622




           authorized, I’ve got nothing to do with that, and in the day-to-day business, I’m miles
           away from that.”

9.30     The Claimants contend that the expert evidence of Dr Flores cannot be relied upon because
         it is a mistaken coalescence of:

                 a series of assertions that are either outside the evidential record or are beyond his
                 expertise; and

                 a mechanical averaging of data and sources without any appreciation of the
                 contemporaneous and industry evidence.

9.31     As to (a), the Claimants’ criticism is far ranging. They contend that Dr Flores sought to
         testify on subjects such as: security and safety on Venezuelan roads; Venezuelan legal
         procedure; and Venezuelan labour markets and contracting processes.                  During his
         testimony, he also assumed what the Claimants describe as:

           “[T]he mantle of fertiliser plant, commodities trading and legal expert, opining on
           issues such as (1) turnarounds, maintenance and plant operations; (2) engineering
           and construction of fertiliser plants; (3) costs incurred at fertiliser plants; (4) arbitral
           procedure and decisions; and (5) ammonia and commodities trading”. 484

9.32     As to (b), the Claimants submit that, in contrast to Mr Giles, Dr Flores has “adopted a
         mechanical average of production and costs data without considering whether a willing
         buyer and willing seller would have adopted such data to project future cash flows at the
         FertiNitro plant”. 485 In particular, the Claimants point to Dr Flores’ failure to consider the
         available contemporaneous documents or investigate the exceptionally high maintenance
         and turnaround costs incurred at FertiNitro from 2008. It follows, the Claimants say, from
         the failure to investigate the irregularities, that his valuation is “abjectly depressed.” 486




484
    Cls. PHB, Paragraph 144 (citations omitted).
485
    Cls. PHB, Paragraph 146.
486
    Cls. PHB, Paragraph 148.


                                                   181
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 198 of 622




        (iii) The Parties’ Quantum Experts Agree on a Number Of Compensation Parameters;
              However, the Outstanding Differences of Fact and Expertise on Quantum Issues
              Remain Significant

9.33    At the Second (November) Hearing, the Parties were asked, in the course of their further
        submissions, to identify any points of agreement and disagreement between their respective
        quantum experts; and in relation to each point of disagreement, indicate whether the
        quantum experts disagreed because of a factual matter or because of a difference of
        expertise.

9.34    The Claimants’ later submissions adopted that structure, their Tables 1 to 4 at Paragraph
        149 of their Post-Hearing Brief identifying, respectively:

                 the relevant issues subject of agreement between Mr Giles and Dr Flores and the
                 nature of their agreement (Table 1);

                 the points of disagreement in relation to the Equity Valuation (Table 2);

                 the points of disagreement in relation to Offtake Valuation (Table 3); and

                 the points of disagreement in relation to the Historical Losses (Table 4). (The
                 Tribunal has already addressed and dismissed these “Historical Losses” in Part
                 VIII above).

9.35    These Tables are reproduced on the following pages. 487 The Respondent subsequently
        added its comments to the Claimants’ Tables 1 to 3 at the Third (June) Hearing, 488 to which
        the Claimants in turn added their responses by email message dated 30 June 2016. These
        comments and responses are included in the Tables overleaf, as “Respondent’s Comment”
        and “Claimants’ Comment” respectively. To the extent relevant, despite the Parties’
        procedural controversies, the Tribunal has nonetheless taken account of their contents,




487
    For the sake of completeness, Table 4 on “Historical Losses” is here included, although the Tribunal has already
    addressed these claims by KOMSA in Part VIII above.
488
    Third (June) Hearing D2.34ff.


                                                       182
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 199 of 622




           which it decided to admit into the arbitration’s files as part of the Parties’ respective
           pleadings, but not as expert testimony from Mr Giles or Dr Flores. 489




489
      Third (June) Hearing D2.111ff.


                                                  183
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 200 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 201 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 202 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 203 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 204 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 205 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 206 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 207 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 208 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 209 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 210 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 211 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 212 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 213 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 214 of 622
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 215 of 622




9.36   The Claimants identified the Parties’ most significant points of disagreement in relation to:
       the quantum expert witnesses’ projections of future cash flows at FertiNitro (sub-section
       (d) below); the Offtake Agreement (sub-section (e) below); and the discount rate and
       country risk premium applicable to the equity and offtake valuations (sub-section (f)
       below).

       (iv) Central Points of Agreement and Disagreement in Relation to Future Cashflows at
            FertiNitro

9.37   According to the Claimants, as indicated above, the Parties’ quantum experts agree that the
       estimate of future output at the FertiNitro Plant should be based on the actual levels of
       ammonia and urea production achieved at the Plant over a certain period. However, beyond
       this bare agreement, the experts disagree about which historical period of time should be
       used to forecast future output at FertiNitro. That disagreement is significant, as submitted
       by the Claimants.

9.38   As set out at Table 2 above, Mr Giles uses the average of production achieved at FertiNitro
       between 2006 and 2008. Dr Flores, on the other hand, uses the average of production
       achieved at FertiNitro between 2006 and 2010. The difference between the quantum
       experts on this point reduces Mr Giles’ equity valuation by US$ 25.7 million and the
       Offtake Valuation by a further US$ 9.2 million.

9.39   While both experts agree that the 2006 to 2008 period is an appropriate benchmark for
       forecasting future output at FertiNitro, their disagreement turns largely on whether or not
       the reduced output at FertiNitro during the years of 2009 and 2010 should also be included
       in the benchmark period.

9.40   Mr Giles’ explanation at the Second (November) Hearing about the disfunctionality of the
       2009 and 2010 years was as follows:

         “[The] 2009 and 2010 [period] is a particularly unsuitable period to use as a basis
         [for estimating future production at FertiNitro]. There are one-off costs, one-off
         curtailments caused by the start of the METOR 2 project, which just can’t be included
         in an estimate, an ongoing estimate of performance. And clearly, it is well
         documented, [there was] a distracted board, severe cost controls and management
         issues, until late 2010. In my view, in my judgment, 2006 […] to 2008 represents a

                                               199
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 216 of 622




          balanced view. I am not idealising the plant, nor am I creating the worst
          possible picture.” 499

9.41    Mr Giles testified that the 2006 to 2008 period (which he uses) was far from an “ideal”
        production scenario as the FertiNitro Plant achieved production that was “virtually 10%
        below the EPC level.”           It follows, so the Claimants submit, that his evidence is
        conservative: the Plant had demonstrated an ability to meet nameplate production. In this
        regard, the Claimants again point to the evidence of Mr Villarroel under cross-examination
        that the urea plant at FertiNitro could be expected to achieve 100% EPC level. 500

9.42    In relation to Dr Flores’ expert evidence, the Claimants submit that he does no more than
        mechanically adhere to his averaging approach. Specifically, he ignores the factors that
        depressed output in 2009 and 2010. He forecast a level of future output that is, in fact,
        even lower than the Respondent’s own post-expropriation forecast. By contrast, the
        Claimants point to the valuation prepared by Advantis for the Respondent’s settlement
        negotiations, which showed that the Respondent expected that, in the future, FertiNitro
        would produce higher figures. 501 (Dr Flores, on the other hand, forecast only 1,730 MT/day
        of ammonia and 2,150 MT/day of urea). 502 The Claimants contend that the fact that
        Advantis’ valuation for the purposes of post-expropriation negotiations is higher than Dr
        Flores’ output forecasts fatally undermines his evidence.

9.43    According to the Claimants, the second major source of disagreement between the Parties’
        quantum experts turns upon the maintenance and turnaround costs at the FertiNitro Plant.
        The Claimants, on one hand, say that Mr Giles has evaluated the documentary record and
        has determined that the most reliable source for forecasting future maintenance costs is the
        budgets prepared by FertiNitro’s plant management between 2006 and 2008. Mr Giles
        testified that the most reliable source for forecasting future turnaround costs is the budget




499
    Second (November) Hearing D2.9-10
500
    First (September) Hearing D.3.142-143 (Villarroel) (for an explanation of the “nameplate” concept see Second
    (November) Hearing D5.65-66 (The Claimants’ Opening on Quantum).
501
    Advantis Report entitled “Valoracíon de FertiNitro” (May 2011) (“First Advantis Report”) (R-86), page 4.
502
    Updated Econ One Model. By way of comparison, the Claimants point to Mr Giles’ production forecasts for
    ammonia of 1,708 MT/day and for urea of 2,058 MT/day. The Claimants contend that Mr Giles’ production
    forecasts are more conservative than the Respondent’s own forecasts in the valuation prepared by Advantis.


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          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 217 of 622




           prepared by FertiNitro’s plant management for the 2008 turnaround. On the other hand,
           the Claimants contend that Dr Flores has adhered to his mechanical averaging of the actual
           maintenance costs incurred at FertiNitro between 2006 and September 2010. More
           specifically, with respect to his projection of future turnaround costs, Dr Flores has
           averaged: (1) the cost of the 2008 turnaround; and (2) the budgeted cost prepared by
           FertiNitro’s plant management in respect of the 2010 turnaround.

9.44       The Claimants make four main submissions in support of their position:

                   First, they submit that the FertiNitro budgets are the only reliable source for the
                   projection of future maintenance and turnaround costs at the Plant;

                   Second, there are what Mr Giles describes as “serious irregularities” with the
                   actuals that render them unreliable for the purposes of projecting future
                   maintenance and turnaround costs at FertiNitro;

                   Third, Dr Flores’ maintenance and turnaround cost assumptions are based on a
                   mechanical approach that ignores contemporaneous evidence of “serious
                   irregularities” with maintenance and turnaround costs at FertiNitro; and

                   Fourth, the Respondent’s purported “inflation” theory does not explain the high
                   maintenance and turnaround costs incurred at the Plant.

9.45       It is again necessary to describe further each of these submissions.

9.46       As to (a) – the “reliability of the FertiNitro budgets”: Mr Giles explains that the
           management budgets provide the most reliable indicator for future maintenance and
           turnaround costs at the Plant. 503 Indeed, so the Claimants say, such budgets have been
           regularly adopted by ICSID tribunals to project future costs. They point to Venezuela
           Holdings v. Venezuela (also referred to as ExxonMobil case), 504 where, having been
           presented with a number of options (one of which included a 2006 business plan containing
           the budgeted operating expenses for 2007), Venezuela argued that the 2007 budget required



503
      Second (November) Hearing D6.7 (Giles).
504
      Venezuela Holdings v. Venezuela (RLA-153).


                                                   201
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 218 of 622




        “various adjustments in order to develop the operating costs projections.” 505 The tribunal
        rejected this argument and held that the “[budgeted expenses were] the best indicator of
        what the Project participants expected to happen in the future in the absence of any adverse
        measures taken by the Venezuelan authorities.” 506

9.47    The Claimants contend that exactly the same rationale applies here. It follows that the
        reasons for utilising management budgets in forecasting future costs at FertiNitro are
        overwhelming. This is so particularly with regard to the unreliable nature of the alleged
        actual costs prior to the expropriation in October 2010.

9.48    As to (b) – the “serious irregularities”: the Claimants contend that the budgets are the only
        reliable source available to the Tribunal for the purposes of projecting future maintenance
        and turnaround costs at the Plant.

9.49    The Claimants point, in particular, to the August 2010 minutes of FertiNitro’s board of
        directors. There, the costs were described as spiralling “out of control.” 507 The Claimants
        contend that, by 2010, it was clear to the Board that the costs at FertiNitro had become
        grossly inflated through the award of unauthorised contracts by Pequiven’s plant
        management personnel. Indeed, the Minutes of that Board meeting record: 508

          “[…] five (5) contracts that collectively implied obligations for FertiNitro of
          approximately US$ 56 million, and that the new Management proceeded to rescind,
          since these contracts did not comply with suitable bidding procedures and lacked
          some of the qualified contractors that justify their selection. Additionally, it was
          reported that in all of these contracts, the General Manager acted in violation of the
          limits of authorization and financial delegation approved by the Board of Directors.”

9.50    The Claimants contend that these unauthorised contracts undoubtedly contributed to the
        exceptionally high maintenance and turnaround costs incurred at the Plant.




505
    Venezuela Holdings v. Venezuela (RLA-153), Paragraph 343.
506
    Venezuela Holdings v. Venezuela (RLA-153), Paragraph 342 (citation omitted).
507
    FertiNitro Board of Directors’ Meeting Minutes No. 111 (5 August 2010) (C-105), page 12.
508
    FertiNitro Board of Directors’ Meeting Minutes No. 111 (5 August 2010) (C-105), page 13.


                                                      202
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 219 of 622




9.51    While resolutions were passed at the FertiNitro board of directors’ meeting of August 2010
        setting out specific procedures and a timeline for the selection of external auditors and the
        appointment of an internal audit department, none of those resolutions or requests of the
        board were carried out, because (so the Claimants contend) the Respondent expropriated
        FertiNitro in October 2010.

9.52    As to (c) – ignorance of the “serious irregularities”: the Claimants contend that Dr Flores
        himself accepted that there were irregularities to which regard should have been had in
        undertaking the valuation exercise. In particular, they refer to his admission that “[i]f you
        had […] very serious concerns, then maybe yes, maybe those costs would have to be
        excluded.” 509 Irrespective of these matters, Dr Flores calculated the costs on a simple
        average. The Claimants say that these matters are significant and require the rejection of
        his evidence.

9.53    As to (d) – the “inflation” theory: the Claimants contend that no credible explanation has
        been given by the Respondent as to the maintenance and turnaround costs incurred at the
        Plant. In what the Claimants described as a “last-ditch attempt to explain these costs,”510
        the Respondent put forward an explanation that the significant maintenance and turnaround
        costs were the result of inflation. Dr Flores adopted that theory for the first time at the
        Hearing. The Claimants submit that it should be rejected, pointing to Mr Giles’ rejection
        of inflation, 511 together with its absence from any of the contemporaneous documents. 512

9.54    According to the Claimants, the third major source of disagreement concerns the
        turnaround periods. The Claimants contend that, consistent with Mr Giles’ evidence, the
        EPC Basis for Proposal confirmed that the project sponsors expected that there would be a
        turnaround at FertiNitro every three years. The Claimants criticise the approach adopted
        by the Respondent, on the basis of Dr Flores’ evidence, namely that a simple average




509
    Second (November) Hearing D7.61 (Flores).
510
    Cls. PHB, Paragraph 173.
511
    Second (November) Hearing D6.17 (Giles).
512
    The Claimants place particular reliance on minutes of the board of directors’ meeting of 5 August 2010, which
    omit any reference to “inflation”. FertiNitro Board of Directors’ Meeting Minutes No. 111 (5 August 2010) (C-
    105)


                                                      203
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 220 of 622




       should be applied. That is to say, rather than adopt a three-year turnaround, Dr Flores’ use
       of a turnaround of 2 ½ years is flawed, being based on the occurrence of two turnarounds
       in the period from 2006 to 2010. It follows, so the Claimants contend, that Mr Giles’
       assessment is the only one that is supported by the contemporaneous evidence,
       international benchmarks and the independent opinion of Mr Sanders.

       (v)   Central Points of Agreement and Disagreement in Relation to Valuation of the
             Offtake Agreement

9.55   The Claimants identify the central point of disagreement between the Parties’ quantum
       experts in relation to the Offtake Agreement as the methodology that should be used for
       the valuation of KNI’s interest in the Offtake Agreement.

9.56   The Claimants point to what they contend is the preferable approach of Mr Giles, namely
       three steps, as follows:

              calculation of the sales price for urea and ammonia in the USA (based on FertEcon
              projections as at October 2010);

              the purchase price of ammonia and urea under the Offtake Agreement (again, based
              on FertEcon projections as at October 2010); and

              the cost of shipping between FertiNitro and the USA.

9.57   Mr Giles then applies his discount rate to calculate the net present value of the Offtake
       Agreement.

9.58   The Claimants point to the evidential support for this approach by Mr Jim Sorlie, who
       testified as to the Caribbean fertilizer market, such evidence being “unrebutted” by the
       Respondent and also discrediting Dr Flores’ assumption of a spot market for fertilizer
       products at the so-called “mid Caribbean” price.

9.59   The Claimants contend that Dr Flores has undertaken no valuation of the Offtake
       Agreement as at October 2010.        Instead, the Claimants submit that the use of the
       replacement value employed by Dr Flores is contrary to the standard for compensation




                                               204
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 221 of 622




        under customary international law. Such approach requires a determination of fair market
        value (not replacement value) as at the date of expropriation.

9.60    In relation to Dr Flores’ approach, the Claimants also point to a number of matters which
        undermine it, namely (as contended by the Claimants):

                 His unsupported assumption that KNI could replace the tonnes lost at a “mid
                 Caribbean price”, such assumption being contrary to the unrebutted evidence of
                 Mr Sorlie that there is virtually no product available for KNI to purchase in the
                 Caribbean market; 513

                 His unsupported factual assumptions, including his statement that “Ammonia
                 produced in Venezuela doesn’t taste or doesn’t look any different from ammonia
                 produced in the Black sea”; 514 and

                 His failure to mention that almost of all of the articles upon which he relied post-
                 date the expropriation of October 2010.

9.61    Finally, in relation to the Respondent’s contention that the discovery and exploitation of
        shale gas in the USA has an impact, the Claimants contend that the post-2010 US shale gas
        developments cannot influence the fair market value of the Offtake Agreement as at
        October 2010. Indeed, as a matter of fact, so the Claimants contend in reliance on Mr
        Sorlie’s evidence, even in 2014 (four years after the expropriation), the USA was expected
        to remain a very large net importer of fertilizer products. 515 On the other hand, Mr Sorlie’s
        evidence confirmed that the exploitation of shale gas in the USA would not materially
        affect Mr Giles’ valuation of the Offtake Agreement, even as at 2014. That evidence, so
        the Claimants contend, is unrebutted by the Respondent.

9.62    In summary, therefore, the Claimants contend that Mr Giles’ Offtake Valuation complies
        with the applicable legal standard, is based on reliable documentary and witness evidence
        and reflects a clear understanding of the Caribbean fertiliser market. This is to be



513
    First (September) Hearing D2.119-20 (Sorlie).
514
    Second (November) Hearing D7.174 (Flores).
515
    First (September) Hearing D2.173 (Sorlie).


                                                    205
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 222 of 622
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 223 of 622




9.67    On the other hand, the Claimants describe Dr Flores’ discount rate as being a “contrived”
        higher discount rate. 516     In brief, the Claimants criticise Dr Flores for selecting an
        exaggerated market risk premium and an inflated generic country risk premium that fails
        to take into account FertiNitro’s specific exposure to Venezuelan country risk. According
        to the Claimants, there are several elements in such criticism.

9.68    First, the Claimants contend that Dr Flores has adopted an inflated market risk premium
        that depresses the valuation of the Claimants’ investments. That market risk premium was
        6.7%. At the Second (November) Hearing, Mr Giles explained that, out of 12 possible
        sources of market risk premia on the record of this arbitration (ranging from 3% to 6.7%),
        Dr Flores has selected the source that yields the highest possible market risk premium.517
        The Claimants contend that this stands in stark contrast to Mr Giles’ market risk premium,
        which falls around the mid-point of the range of possible sources of market risk premium.
        The Claimants submit that the selection of an exaggerated market risk premium is a
        “blatant demonstration of reverse financial engineering by Dr Flores.” 518 The Claimants
        point, in this regard, to the fact that the market risk premium selected by Dr Flores is almost
        twice as high as the market risk premium of 3.5% adopted by the Respondent from the
        post-expropriation equity valuation commissioned from Advantis for the purposes of
        settlement negotiations. 519 In brief, the Claimants contend that Dr Flores’ approach is not
        a realistic representation of what a willing buyer and willing seller would have agreed in a
        transaction as at October 2010.

9.69    Second, despite starting at the same generic starting point (namely, Professor Damodaran’s
        generic country risk premium for Venezuela), the Claimants say that Dr Flores’ analysis
        takes three measures of Venezuelan country risk, averages them, and then fails to analyse
        the individual attributes of FertiNitro to determine exposure to country risk. The Claimants
        focus on the fact that Dr Flores has not explained why the averaging of multiple sources




516
    Cls. PHB, Paragraph 200.
517
    Second (November) Hearing D6.12 (Giles).
518
    Cls. PHB, Paragraph 203.
519
    First Advantis Report (R-86), page 23.


                                                 207
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 224 of 622




           (each of which provided vastly different country risk rates) provides an accurate
           methodology for calculating the country risk rate for Venezuela.

9.70       It follows, so the Claimants submit, that Mr Giles’ methodology should be preferred. He
           used a generic country risk premium of 6%, which he then adjusts: (1) to eliminate the
           impact of illiquidity (since the fair market value standard requires an assumption that there
           are no liquidity issues); and (2) to reflect FertiNitro’s specific exposure to Venezuelan
           country risk i.e., the lambda factor.

9.71       The Claimants contend that Mr Giles’ analysis is to be preferred because he acknowledges
           that FertiNitro, like every investment, is unique. He based his generic country risk
           premium on Professor Damodaran’s estimate of 6.75% for the generic country risk in
           Venezuela. He then reduced Professor Damodaran’s estimate by 0.75% to take into
           account survey data that is representative of what market participants use in what he says
           are “real world” transactions.

9.72       It follows, so the Claimants contend, that the Tribunal should use the only source that both
           experts in the arbitration agree is an appropriate source for assessing the generic country
           risk for Venezuela; that is, the estimates provided by Professor Damodaran - with the
           adjustments made by Mr Giles.

9.73       On this latter point, the Claimants conclude that the appropriate rate should be adjusted by
           reference to a liquidity adjustment. That is, the generic country risk must be reduced to
           remove the risk of an illiquid market. This results, so Mr Giles testifies, in a reduction of
           1% (from 6% to 5%).

9.74       Third, the Claimants point to the fact that the experts agree in principle on the application
           of a FertiNitro-specific country risk adjustment in the form of a lambda. The experts are
           agreed that, in principle, a lambda factor should be applied in order to determine an
           investment-specific country risk premium. As Mr Giles explained: 520




520
      Second (November) Hearing D6.15 (Giles).


                                                   208
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 225 of 622




             “It must be uncontroversial, and I think even Dr Flores accepts that an investor
             would pay more for an investment that is more insulated from risk than a typical
             company. It must be uncontroversial, it’s set out in Dr Damodaran’s work and
             elsewhere. So we need to assess, make a judgment about the relative exposure of
             FertiNitro to Venezuelan country risk.”

9.75       The Claimants complain that Dr Flores has not, in fact, calculated a lambda factor. The
           end result, say the Claimants, is that Dr Flores agrees with the application of a lambda
           factor, but he has failed to undertake the detailed investment-specific analysis that this
           approach requires.

9.76       Fourth, the Claimants conclude that Mr Giles is the only quantum expert witness who has
           actually applied the agreed lambda approach and thereby assessed the extent to which
           FertiNitro is exposed to Venezuelan country risk.

9.77       The Claimants contend that, although Dr Flores later claimed to have applied a lambda
           factor, the evidence at the Second (November) Hearing confirmed that only Mr Giles has
           conducted a proper examination of FertiNitro’s exposure to Venezuelan country risk. They
           point to Mr Giles’ detailed analysis of the extent to which FertiNitro is exposed to 22
           distinct risk factors that comprise the country risk for Venezuela. Ultimately, Mr Giles
           determined that an appropriate lambda factor of 0.4 was to be applied. As Mr Giles
           explained: 521

             “[First], on the revenue side, there is no specific price risk in Venezuela. Absent the
             Urea Decree, all prices are set internationally under the Offtake Agreement. So it
             doesn’t matter what happens in the Venezuelan economy, the prices are set
             internationally.
             The demand, the demand is entirely set internationally. The international markets –
             the international price can take any volume FertiNitro can produce, so irrespective
             of what’s happening in the Venezuelan market, FertiNitro can sell its product. Now
             that’s actually quite different from a typical firm, a farm, a bakery, a hotel. Typical
             firms are very exposed to local economic conditions.”




521
      Second (November) Hearing D6.16 (Giles).


                                                   209
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 226 of 622




9.78       The Claimants point to the fact that Mr Giles has implemented a forensic approach that
           looks at a host of country risk factors. The Claimants also point to the fact that Mr Giles
           emphasises that the FertiNitro Plant is located in a secure location, and has low exposure
           to risks associated with social disorder, political strikes and organised crime. It has access
           to a dedicated dock to export its products; and FertiNitro does not require external funding
           for its operations.     Further, it has low exposure to Venezuelan infrastructure and
           transportation risks.

9.79       The Claimants submit that Mr Giles is to be contrasted with Dr Flores, who admitted under
           cross-examination at the Second (November) Hearing that he had not independently
           studied the 22 country risk elements analysed by Mr Giles when calculating the lambda
           factor. 522

9.80       The Claimants further contend that Mr Giles’ assessment of, and conclusions about, the
           lambda factor are consistent with those of the international credit rating agency, Moody’s,
           in its contemporaneous determination of the risks associated with FertiNitro’s corporate
           debt. At the commencement of the project, Moody’s undertook a comparative analysis of
           the risk ratings of Venezuela and the FertiNitro project.          The analytical approach
           undertaken by Moody’s in determining the bond rating of FertiNitro’s corporate bonds is,
           so the Claimants submit, similar to the approach taken by Mr Giles in determining the
           lambda factor. Moreover, international credit rating agencies rated FertiNitro’s bonds as
           being less risky than Venezuela’s sovereign debt.

9.81       In contrast, the Claimants contend that Dr Flores’ ad hoc implementation of a lambda of
           1.0 is contradicted by the contemporaneous assessments of the international credit rating
           agencies. Under cross-examination, Dr Flores agreed that the Moody report (Exhibit BE-
           19) confirms the accepted position that country risk needs to be measured with respect to
           the specific asset or investment concerned. In this regard, he explained: 523




522
      Second (November) Hearing D7.97-98 (Flores).
523
      Second (November) Hearing D7. 133 (Flores).


                                                     210
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 227 of 622




          “Q. So again the analysts from Moody’s here are saying when you’re making these
          kinds of assessments, you have to look at every project on an individual basis,
          correct? A. Yes, generally yes.”

9.82    The Claimants contend that, notably, Dr Flores acknowledged that, at the commencement
        of the FertiNitro project, Moody’s had confirmed that FertiNitro was less exposed to
        Venezuelan country risk than other companies operating in Venezuela. 524 The Claimants
        point to similar analytical criteria used by other agencies, such as Fitch 525 and Duff &
        Phelps. 526 It follows, so the Claimants contend, that these contemporaneous conclusions
        corroborate the conclusions reached by Mr Giles on the lambda and, equally, confirm that
        Dr Flores’ conclusion is an outlier.

9.83    Further, the Claimants note that Moody’s noted that foreign investors can abate their
        exposure to country risk by structuring their transactions in order to benefit from the
        protections afforded under investment treaties. Yet Dr Flores has assumed the opposite,
        assuming that the existence of the Treaty does not, in any way, mitigate the country risk
        with respect to the Claimants’ investments. This demonstrates what the Claimants suggest
        is another flaw with Dr Flores’ assumption that a willing buyer and seller would view
        FertiNitro and the Offtake Agreement as being as exposed to Venezuelan country risk as
        the average asset located in Venezuela, resulting in a lambda of 1.00.

9.84    The Claimants contend that the arbitrariness of Dr Flores’ lambda of 1.00 is further
        illustrated by the fact that he has entirely ignored the Offtake Agreement in his analysis.
        Mr Giles confirmed in his second report that “the Offtake Agreement is immune to changes
        in local costs in Venezuela, thus making it even less akin to a typical firm in Venezuela.” 527
        And yet, as he confirmed at the Second (November) Hearing, Dr Flores has simply applied




524
    Second (November) Hearing D7. 114 (Flores).
525
    Fitch rating press release (30 March 1998) (C-119).
526
    Duff & Phelps Credit Rating Co., FertiNitro Finance Inc. – Credit Analysis Update (September 1998) (BE-23),
    page 188.
527
    Second Expert Report of Tim Giles (30 August 2013) (“Giles ER2”), Paragraph 1.26.


                                                     211
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 228 of 622




        the same 1.00 lambda to the Offtake Valuation without any separate assessment of the
        Offtake Agreement’s exposure to Venezuelan country risk. 528

9.85    The Claimants again point to the fact that Dr Flores’ analysis is contrary to the
        contemporaneous record and real-life valuation practice. International rating agencies, for
        example, have confirmed that the existence of an offtake agreement mitigates exposure to
        country risk. 529

9.86    In summary, therefore, the Claimants contend that Dr Flores’ opaque, superficial and self-
        serving exposition of the lambda issue is egregiously wrong, given the dramatic effect that
        the lambda has on both the Equity and Offtake Valuations.

        (vii) The Award in Gold Reserve Inc v. Venezuela Supports The Fertinitro-Specific
              Country Risk Premium Adopted By The Claimants’ Quantum Expert, Mr Giles, And
              Discredits The Generic Country Risk Premium Adopted by the Respondent’s
              Quantum Expert, Dr Flores; By Contrast the Awards in the Exxonmobil And Mobil
              Cases Do Not Identify Any Country Risk Premium For Venezuela And Are Clearly
              Distinguishable

9.87    In relation to the issue of country risk, the Claimants contend that the award in Gold
        Reserve v. Venezuela 530 supports the FertiNitro-specific country risk premium adopted by
        Mr Giles and discredits the generic country risk premium adopted by Dr Flores. Further,
        the Claimants contend that the two awards in ExxonMobil and Mobil 531 do not identify any
        country risk for Venezuela and are clearly distinguishable.

9.88    The Claimants contend that the Gold Reserve award is of central relevance because of its
        treatment of the discount rate and Venezuelan country risk. The tribunal in that case
        adopted a discount rate based on a weighted average cost of capital (“WACC”), of




528
    Second (November) Hearing D7. 170 (Flores).
529
    See, e.g., Duff & Phelps Credit Rating Co. – Rating Approach to Project Finance (BE-18), page 13; Thomas
    Coleman, Moody's Investors Service – Piercing the Sovereign Ceiling: Issues in Oil and Gas Project Financing –
    (23 February1998) (BE-11), page 9.
530
    Gold Reserve v. Venezuela (CLA-156).
531
    Namely, Mobil v. PDVSA (EO-45); Venezuela Holdings v. Venezuela (RLA-153).


                                                      212
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 229 of 622




        10.09% 532 (which is virtually identical to Mr Giles’ like-for-like discount rate of 10.1%).
        In doing so, the tribunal incorporated a country risk premium of 4% to the cost of equity.

9.89    The Claimants make four arguments in this regard which (as they contend) support their
        approach, namely:

9.90    First, the Gold Reserve tribunal concluded that a 4% country risk premium “appropriately
        considers political risks, together with other risks, but has not been over-inflated on account
        of expropriation risks.” 533 In that tribunal’s view “it is not appropriate to increase the
        country risk premium to reflect the market’s perception that a State might have a propensity
        to expropriate investments in breach of BIT obligations.” 534 The Claimants further contend
        that this aspect of the tribunal’s reasoning accords with the established international law
        principle of nullus commodum capere de sua injuria propria. 535

9.91    This principle has been reaffirmed by the tribunal in Flughafen v. Venezuela, where the
        tribunal explained: “A State that increases country risk via the adoption of new political
        attitudes, adopted after an investment has materialized, cannot benefit from an unlawful
        act attributable to it in order to reduce the compensation to be paid out.” 536

9.92    Second, the country risk premium adopted by the tribunal in Gold Reserve confirms that
        an investment-specific approach to measuring country risk is required for the purposes of
        valuation. The tribunal specifically rejected Venezuela’s “generic” country risk calculation
        because it was “based on both full and ‘generic’ country risk for an investment in
        Venezuela.” 537     It referred instead to an RBC Capital Markets valuation that was
        investment-specific to Gold Reserve for the purposes of arriving at its 4% country risk
        premium.




532
    Gold Reserve v. Venezuela (CLA-156), Paragraph 842.
533
    Gold Reserve v. Venezuela (CLA-156), Paragraph 842.
534
    Gold Reserve v. Venezuela (CLA-156), Paragraph 841.
535
    No State, it is said, can take advantage of its own wrongful acts.
536
    Flughafen Zürich A.G. and Gestión e Ingeniería IDC S.A. v. Bolivarian Republic of Venezuela, ICSID Case No.
    ARB/10/19, Award (18 November 2014) (“Flughafen v. Venezuela”) (RLA-154), Paragraph 905.
537
    Gold Reserve v. Venezuela (CLA-156), Paragraph 840.


                                                     213
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 230 of 622




9.93       Third, in the Gold Reserve award, the country risk premium of 4% related to the cost of
           equity. This resulted in a total cost of equity of 11.92% and a WACC of 10.09%. The
           country risk premium element of the WACC was accordingly lower than 4%, as the WACC
           is a measure not just of equity, but also debt (which would have a lower or no country risk
           premium attached to it). The Claimants contend that the Parties’ experts agree that the
           appropriate discount rate to be applied in this case is the return on assets. This rate is
           effectively identical to the WACC (with the exception of the treatment of debt tax shields).
           The return on assets is, like the WACC, the return to both debt and equity holders. As
           such, in order to compare the country risk premium applied in the Gold Reserve award to
           the country risk premium to be applied to FertiNitro, it is necessary to look not at the 4%
           added by the Gold Reserve tribunal to the cost of equity, but to the premium that was
           applied to the WACC. While the award does not specify what premium was applied to the
           WACC in Gold Reserve, it must be lower than the 4% that the tribunal applied to the cost
           of equity.

9.94       Fourth, as explained by Mr Giles (see above) FertiNitro is far less exposed to country risk
           in Venezuela than the gold mine at issue in Gold Reserve. The mine was located in the
           “environmentally fragile Imataca Forest Reserve” in the interior of Venezuela. 538 This area
           in southeast Venezuela is not easily accessible and has poor transportation links, even
           compared to other remote locations in Venezuela.

9.95       Unlike Gold Reserve, the Claimants submit that the ExxonMobil and Mobil cases are
           distinguishable from the present arbitration and the resulting awards offer no meaningful
           precedent on the assessment of country risk and discount rate. ExxonMobil obtained these
           awards in two separate arbitrations against Venezuela and its State-owned companies.
           These awards relate to Venezuela’s expropriation of an extra-heavy oil project and other
           investments formally held by the ExxonMobil group in Venezuela.

9.96       In relation to the ICC arbitration, Mobil Cerro Negro (“Mobil”) initiated arbitration
           proceedings against PDVSA Cerro Negro SA (“PDVSA-CN”) and Petróleos de Venezuela




538
      Gold Reserve v. Venezuela (CLA-156), Paragraph 283.


                                                       214
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 231 of 622




        SA (“PDVSA”) pursuant to two inter-related agreements: (i) the “Association Agreement”
        and (ii) the “PDVSA Guaranty”. 539 The ICC tribunal’s task was to “apply the common
        intention of the Parties reflected in the [Association Agreement]”. 540 In particular, the ICC
        tribunal was required to award compensation according to an indemnity formula provided
        in the Association Agreement. In such circumstances, the ICC tribunal did not endorse
        any particular country risk calculation for Venezuela. Instead, the ICC tribunal analysed
        the valuation of future cash flows under the indemnity formula provided in the Association
        Agreement. When analysing this issue, the ICC tribunal emphasised that “there is a
        difference between valuing future cash flows under an indemnity formula and valuing the
        potential cash flows from a project”. 541

9.97    In these circumstances, the Claimants contend that the factors considered by the ICC
        tribunal in order to determine the appropriate discount rate applicable to contractual
        damages are demonstrably not relevant to the calculation of the discount rate for the DCF
        valuation of an investment. The Claimants argue that neither Party nor expert in the present
        case has advanced any discount rate analysis comparable to that undertaken in the ICC
        award.

9.98    The Claimants also point to the fact that another distinguishing feature of the ExxonMobil
        and Mobil cases is that the claimant had consistently argued for a risk-free rate (namely, a
        discount rate that excluded any market risk premium and country risk premium). In
        contrast, the Claimants’ discount rate formula includes a substantial market risk premium
        (4.75%) and country risk premium (2%). The customary international law standard of full
        reparation played no part in the ICC tribunal’s analysis.

9.99    In parallel with the ICC arbitration, a number of ExxonMobil subsidiaries brought an ICSID
        arbitration against Venezuela under the Netherlands-Venezuela BIT. 542 As in the ICC
        case, in the ICSID case there was no evidence of any country risk calculation. The




539
    Mobil v. PDVSA (EO-45).
540
    Mobil v. PDVSA (EO-45), Paragraph 767.
541
    Mobil v. PDVSA (EO-45), Paragraph 774.
542
    Venezuela Holdings v. Venezuela (RLA-153).


                                                    215
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 232 of 622




           claimants had argued that country risk is largely comprised of “uncompensated
           expropriation, which cannot be taken into consideration in order to valuate such an
           expropriation.” In those circumstances, the Claimants submit that the ICSID award
           contains no analysis whatsoever of Venezuelan country risk, let alone any analysis of
           investment-specific risk or any final calculation for country risk. The ICSID tribunal
           instead adopted a discount rate of 18% for the purposes of its DCF valuation.

9.100 It follows, so the Claimants contend, that, unlike the ExxonMobil and Mobil cases, the
           evidence presented in this arbitration involves detailed arguments in support of the
           Claimants’ country risk approach. In contrast to the ExxonMobil and Mobil cases, so the
           Claimants contend, both Parties’ experts have advanced arguments focused on country risk
           and both experts agree that the country risk premium to be adopted by the Tribunal must
           be investment-specific (that is, using a lambda). The ExxonMobil and Mobil cases can
           therefore be of no utility to the Tribunal in its assessment of country risk and lambda in
           this arbitration.

9.101 The Claimants point to another example of a country risk assessment involving Venezuela
           in the award made in Flughafen v. Venezuela. 543 There, the respondent proposed a country
           risk premium of 7.9% and a discount rate of 14.4%. 544            The tribunal adopted the
           respondent’s country risk premium based on the specific facts of the case: specifically, that,
           when the claimants made their investments in 2004, the country risk already existed, the
           investors were well aware of it and the risk had not changed by the time of the expropriation
           soon afterwards, in December 2005.

9.102 Therefore, by way of summary, the Claimants conclude that the ICSID tribunal’s award in
           Gold Reserve v. Venezuela is the most relevant legal authority in connection with country
           risk (and particularly expropriation risk) and lambda analysis that the Tribunal is required
           to undertake in the present case. That decision endorses the FertiNitro-specific country
           risk premium adopted by Mr Giles and discredits the generic country risk premium adopted
           by Dr Flores. In contrast, so the Claimants say, the awards in the ExxonMobil and Mobil



543
      Flughafen v. Venezuela (RLA-154).
544
      Flughafen v. Venezuela (RLA-154), Paragraphs 899-902.


                                                       216
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 233 of 622




        cases are clearly distinguishable. As for Flughafen award, it is of relevance to the extent
        that it endorses the proposition that no respondent should be allowed to benefit from its
        own expropriatory conduct; but it is otherwise distinguishable on its facts.

        (viii) The Adjusted MOU Price is an Effective Reality Check on the Parties’ Valuations; It
               Demonstrates That Mr Giles’ Equity Valuation Is Conservative And That, By
               Contrast, Dr Flores’ Purported Fair Market Valuation Is Less Than 10% Of The
               Price That Was Agreed By the Parties In 2007 Under Threat of Expropriation.

9.103 In further support of the application of their proposed valuation, the Claimants point to Mr
        Giles’ adjusted MOU price in 2007 as an effective reality check. They submit that it
        demonstrates that Mr Giles’ Equity Valuation is conservative and, by contrast, that Dr
        Flores’ purported fair market valuation is less than 10% of the price that was (allegedly)
        “agreed” by the Parties in 2007 under the threat of expropriation.

9.104 In this regard, the Claimants contend that the evidence confirms that Mr Giles’ Equity
        Valuation (namely, US$ 361.0 million for KOMSA’s 25% interest) is almost the same as
        the MOU price as adjusted in a “but-for” scenario (US$ 360.8 million). 545 For this
        comparison, the Claimants contend that Mr Giles has simply calculated the MOU price in
        the absence of the Respondent’s pre-expropriation violations of the Treaty (that is, “but
        for” the economic impact of the Urea Decree and the unlawful taxes). As a result, the
        Claimants contend that the adjusted MOU price confirms that Mr Giles has produced a
        conservative Equity Valuation that very likely understates the value of KOMSA’s equity
        investment in a “but-for” scenario.

9.105 In contrast, the Claimants point to the fact that Dr Flores has made a series of arbitrary
        adjustments to the MOU price that have the effect of reducing the enterprise value listed in
        the 2008 MOU by 55%. The Claimants describe this approach as a “piece of financial
        reverse engineering”. 546




545
    See, for example, Giles ER1, Paragraphs 4.86, 4.88. The Claimants note that Mr Giles increases the MOU price
    (namely, US212.5 million) by “25% of the expected impact, over the life of the Plant, of the Urea Decree and
    unlawful taxes (namely, KOMSA’s share of this loss)” – it is this increase that results in an adjusted MOU price
    of US$ 360.8 million as at 30 September 2010.
546
    Cls. PHB, Paragraph 265.


                                                       217
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 234 of 622




9.106 The Claimants contend that the evidence of Dr Flores is to the effect that the distortion of
        the MOU price is based on the fact that the draft MOU of November 2007 was only “a first
        offer by Koch”. 547 This allows him to assert that the only moment in time that the MOU
        was “agreed” was almost a year later in October 2008. The Claimants contend that this
        evidence is contrived, and that such contrivance is exposed by the contemporaneous
        evidence. The Claimants point to the fact that during his cross-examination, Dr Flores was
        taken to an email from Mr Toro (as a director of Pequiven), to Messrs Parra and Gwaltney
        (for KOMSA) dated 9 October 2007 (that is, approximately one month prior to the date of
        the 2007 MOU), which stated: 548

           “In accordance with an independent valuation carried out by Boo[z] Allen, hired by
           Pequiven, 549 and additional valuations carried out and discussed with the rest of the
           partners, we have estimated a fair amount of one billion, one hundred and seventy-
           five [million] U.S. dollars […] for 100% of the shares [in FertiNitro].”

9.107 The Claimants contend that Mr Toro’s email message, sent only one month prior to the
        November 2007 MOU, unequivocally confirms that the “first offer” was, in fact, made by
        Pequiven. Thus, the November 2007 MOU (drafted by Koch) contained a price that was
        agreed between the Parties in November 2007. The Claimants conclude that Dr Flores’
        evidence should, therefore, be rejected. 550




547
    Second Expert Report of Daniel Flores (3 March 2014) (“Flores ER2”), Paragraph 169.
548
    Email from F. Toro to B. Gwaltney and T. Parra re: FertiNitro Negotiations (9 October 2007) (C-90).
549
    Later known as Advantis.
550
    In the Tribunal’s view, there is no cogent evidence that any MOU price was “agreed” in 2007 between Pequiven
    and KOMSA. The first offer came via an email of 9 October 2007 from Mr Toro of Pequiven (C-90) with a
    valuation of US$ 1.175 billion for 100% of the equity of FertiNitro, less the amount outstanding to its banks and
    bondholders (which he put at US$ 450,000, presumably US$ 450 million). On 7 November 2007, KOMSA came
    back with its draft MOU with a valuation of US$ 1.210 billion less the debts to the banks and bondholders plus
    the Excess Cash in FertiNitro. Discussions were halted in early 2008. However, Pequiven came back again in
    October 2008 with a revised draft MOU (C-93) which provided for a payment of US$ 212.5 million to KOMSA
    for its share of FertiNitro’s equity. Ultimately, no MOU was ever agreed or signed. Pequiven contended that the
    purchase of the private shareholders of FertiNitro was no longer a priority. However, Mr Parra (of KOMSA)
    testified in his witness statement (Paragraph 69) that KOMSA’s representatives understood that there was no real
    alternative but to accept Pequiven’s proposal (See also Cls. Mem., Paragraphs 144-153).


                                                        218
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 235 of 622




           (ix) There Are Multiple Additional Reality Checks That Validate The Reasonableness of
                Mr Giles’ Valuations of The Equity Investment and the Offtake Agreement

9.108 The Claimants also point to “multiple additional reality checks that validate the
           reasonableness of Mr Giles’s valuations of the Equity Investment and the Offtake
           Agreement,” 551 namely:

9.109 First, the Claimants point to the “project investment” for identical new fertiliser plants at
           Guiria and the José Complex, whereby Pequiven (in its 2007-2013 Strategic Plan)
           announced that it intended to invest US$ 2.8 billion to build each plant, each having an
           equivalent nameplate capacity as FertiNitro’s Plant.       Mr Giles’ evidence was that
           “[r]eplacement value must be the minimum that an investor considers the plant to be
           worth,” and that such value is a well-understood economic indicator of value. 552

9.110 Second, the Claimants point to FertiNitro’s 2011 actual net profit of US$ 116.2 million
           compared to a budgeted 2011 net profit of US$ 117.2 million. If (as Mr Giles explained)
           the DCF methodology “involves projecting revenues and costs into the future”, these
           amounts are a simple post-expropriation reality check, which undermines the credibility of
           Dr Flores’ equity valuation and demonstrates the conservativeness of Mr Giles’ forecasts.
           As to the former, Dr Flores forecasts that FertiNitro would have made net profits in 2011
           of US$ 36.3 million, being approximately one third of the net profit that FertiNitro
           achieved in 2011. In relation to the latter, Mr Giles forecasts net profits in 2011 of US$
           92.1 million, being 20% less than what FertiNitro’s managers expected and then
           ultimately achieved.

9.111 Third, the Claimants refer to the dividend payment to FertiNitro’s shareholders of
           US$ 150 million in 2008 (of which US$ 37.5 million was distributed to KOMSA). They
           note that this dividend was paid out of profits that had already been reduced by the
           Respondent’s pre-expropriation violations but that, nevertheless, the amount is more than
           Dr Flores’ entire Equity Valuation.




551
      Cls. PHB, Paragraphs 272-284.
552
      Second (November) Hearing D6.25 (Giles).


                                                  219
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 236 of 622




9.112 Fourth, the Claimants point to the net present value of the profits foregone by KNI of US$
           172 million if Dr Flores’ own calculation of KNI’s profits during the period of the ad hoc
           arrangement is applied over the remaining term of the Offtake Agreement. This reality
           check rests on the “volumes offtaken” identified by Dr Flores himself at the Second
           (November) Hearing. If the profit per month during the period of the ad hoc arrangement,
           namely US$ 2.49 million, is applied over the remaining term of the Offtake Agreement
           (being 123 months), the total net profit forgone is US$ 306 million. Applying Mr Giles’
           discount rate, the net present value of the lost profits is US$ 172.7 million. That figure is
           approximately US$ 33.8 million less than Mr Giles’ valuation of the Offtake Agreement,
           and, so the Claimants contend, further corroborates its reasonableness.

9.113 The Claimants contend that these four factors should be considered by the Tribunal as other
           tribunals have found it instructive to refer to “reality checks” to test the reasonableness of
           disputed valuations placed before them.

           (x)   There Are Multiple Further “Lower Bound” Reality Checks That Discredit Dr
                 Flores’ Valuation as an Unsupportable Outlier

9.114 In addition to these factors, the Claimants point to further “lower bound” reality checks to
           discredit Dr Flores’ valuations as an unsupportable outlier, namely:

9.115 First, the book value of FertiNitro as at the date of the expropriation equated to
           US$ 168.1 million for KOMSA’s 25% equity in FertiNitro, after deduction for debt. That
           figure is five times Dr Flores’ Equity Valuation. Book value is almost always less than
           fair market value, especially when valuing a profitable going concern. 553

9.116 Second, the construction costs alone of FertiNitro equated to US$ 273 million for 25% of
           FertiNitro. Once again, the Claimants point to the multiple of Dr Flores’ valuation, in this
           case the construction costs being eight times his valuation.

9.117 Third, the Respondent’s own post-expropriation position for the purposes of settlement
           negotiations prepared by Advantis equated to US$ 113 million for 25% of FertiNitro. The




553
      See ConocoPhillips v. Venezuela (CLA-155), Paragraphs 400-401.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 237 of 622




         Claimants again point to this amount as a “reality check,” contending that it shows that Dr
         Flores adopted an inflated discount rate and country risk premium, and an overly
         pessimistic forecast of future output levels at FertiNitro. This Advantis valuation was more
         than three times the figure reached by Dr Flores.

9.118 Fourth, the Respondent’s “estimated project investment” for the smaller fertiliser plant
         located at Móron was US$ 1.55 billion and the construction costs of that plant were US$ 2
         billion. As the Móron plant has a urea output of 726,000 metric tonnes per year, this means
         that U$ 2,755 of construction costs will give one metric tonne of urea for the foreseeable
         future. 554 As Dr Flores’ Equity Valuation equates to US$ 355 per metric tonne of urea, Mr
         Giles explained that no reasonable buyer would consider it possible to purchase FertiNitro
         for US$ 355 per metric tonne when a commercial entity has plans to build a plant that will
         cost US$ 2,755 per metric tonne.

9.119 Having regard to all these factors, the Claimants contend that Dr Flores’ valuations do not
         even meet lower bound reality checks. The Claimants submit that, like Flughafen v.
         Venezuela, 555 the Tribunal should reject any valuation outside those bounds. In short, so
         the Claimants conclude, Dr Flores’ valuation is an outlier that cannot be supported. It is,
         so the Claimants say, “a striking demonstration of the unreasonableness of Dr Flores’
         depressed valuations.” 556

         The Respondent’s Quantum Submissions
9.120 The Respondent contends, primarily, that the Tribunal need not arrive at the point of
         determining any quantum issues. Indeed, the Respondent’s submissions are explicitly
         made “solely for reasons of precaution.” 557 However, the Tribunal has confirmed its
         jurisdiction; and the Respondent is liable to the Claimants under Article 6 of the Treaty, as
         decided above by the Tribunal in regard to KOMSA and, as regards KNI, by the majority




554
    Relying on Tim Giles’ presentation, Slide 26.
555
    Flughafen v. Venezuela (RLA-154).
556
    Cls. PHB, Paragraph 295.
557
    Resp. PHB, Paragraph 169.


                                                    221
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 238 of 622




       of the Tribunal. Hence, the Respondent’s submissions on quantum must now be considered
       by the Tribunal.

9.121 In summary, the Respondent’s case on quantum is comprised of four principal submissions.
       These are:

              Its general submissions as to the flaws in the Claimants’ quantum submissions;

              The compensation claimed by KOMSA and KNI are both vastly overstated;

              The fair market value of KOMSA’s interest in FertiNitro was not more than
              US$ 34.6 million; and

              KNI’s valuation of its interest in the Offtake Agreement is overstated.

       (i)   The Respondent’s General Submissions

9.122 The Respondent makes, as already indicated, seven general submissions as to the
       appropriate treatment of the issues of quantum for both KOMSA and KNI.

9.123 First, the Respondent contends that the Claimants have proposed a highly inflated value
       that far exceeds what the Claimants’ claims would be worth in the absence of the disputed
       acts. This is not compatible with the fair market value (“FMV”) standard that both Parties
       agree applies to quantum. The FMV standard is an objective standard that leaves no room
       for what, so the Respondent contends, is the arbitrary, highly speculative and policy-based
       valuation that the Claimants ask the Tribunal to conduct in this case.

9.124 Second, as regards KOMSA, the Respondent contends that the Claimants disregard
       standard DCF valuation principles by “cherry-picking” data that increases their valuation
       outcome and by using out-dated budgeted data, even where more current actual data is fully
       available. The Respondent criticises what it says is the Claimants’ only support for its
       case, namely Mr Sanders’ experience with two plants based, respectively, in Oklahoma
       and Trinidad & Tobago, both of which Mr Sanders himself concedes are not comparable
       to the FertiNitro Plant. Moreover, the Respondent contends that the Tribunal should not
       rely on cost assessments of a witness who is unaware of significant differences in key




                                               222
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 239 of 622




           economic indicators, such as inflation rates, between the three countries relevant to his
           comparative cost assessment.

9.125 Third, the Respondent contends that the Claimants suggest, wrongly, an entirely
           unreasonable discount rate. That suggestion is directly contradicted by three recent
           international arbitration awards against the Respondent, two of which 558 regard a project
           located in the exact same industrial complex as FertiNitro and which share other important
           commonalities with FertiNitro. Moreover, the Respondent submits that the country risk
           rate of 2% contained in the Claimants’ discount rate is misplaced since it is based, amongst
           other things, on an admittedly unrepresentative survey, an unprecedented application of a
           liquidity discount and an arbitrary and unsupported lambda. A country risk rate of 2% is,
           so the Respondent contends, the rate normally applied to such countries as Italy. Moreover,
           such rate finds no support in the award made by the tribunal in Gold Reserve Inc v.
           Venezuela 559 which the Claimants claim – also incorrectly – supports their view.

9.126 Fourth, the Respondent submits that the Claimants’ original “reasonableness” checks do
           not support their valuation.      Further, the additional comparisons that the Claimants
           introduced for the first time at the Second (November) Hearing, such as FertiNitro’s book
           value or the estimated project investments for new plants at Guiria and José, do not alter
           that conclusion.

9.127 Fifth, the Respondent submits that KNI’s valuation of its interest in the Offtake Agreement
           uses an incorrect valuation methodology, is based on insufficient evidence and ignores
           fundamental changes in the USA and global fertilizer industry that were already taking
           place at the valuation date.

9.128 Sixth, the Respondent contends that the Claimants’ expert witness, Mr Giles, has, in
           various instances, blindly relied on the purported expertise offered by others, such as Mr
           Sanders or Mr Sorlie, without applying his own critical judgment. In contrast, the
           Respondent contends that its expert witness, Dr Flores, has carefully considered the




558
      Namely, Mobil v. PDVSA (EO-45); Venezuela Holdings v. Venezuela (RLA-153).
559
      Gold Reserve v. Venezuela (CLA-156).


                                                      223
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 240 of 622




           FertiNitro Plant’s history, with its actual operating conditions in Venezuela, in his
           valuation exercise. The Claimants’ repeated attempts to discredit Dr Flores by soliciting
           his testimony on factual issues related to the valuation should fail before this Tribunal. It
           is Dr Flores’ particular familiarity and personal experience with the conditions and
           processes in Venezuela that make his valuation especially convincing and, at the same time,
           distinguishes it from Mr Giles’ “blind reliance” 560 on any information provided to him by
           the Claimants.

9.129 In short, and for the reasons set out more fully below, the Respondent contends that the
           Claimants’ damages claims in the amount of approximately US$ 672.4 million are vastly
           overstated.

           (ii)   The Compensation Claimed by KOMSA and KNI is Vastly Overstated

9.130 The Respondent makes three main submissions as to, in its submission, the vast
           overstatement of compensation by the Claimants. Those submissions are:

                   First, the relevant standard of compensation is found in the Treaty, not in customary
                   international law;

                   Second, irrespective of the legal standard for compensation, the Parties agree that
                   the quantum experts should apply the FMV standard; and

                   Third, the Claimants ultimately fail to apply the FMV standard.

9.131 As to (a) – the relevant standard of compensation: the Respondent, in contrast to the
           Claimants, contends that the relevant standard of compensation for the Claimants’ claims
           is set out in Article 6 of the Treaty, and not in customary international law. It submits that
           Article 6 of the Treaty is lex specialis to the customary international law standard of full
           reparation. As such, under the Treaty standard, the Claimants’ claims are limited to “the
           market value of the investment immediately before the expropriatory action was taken or
           became public knowledge, whichever is earlier.” Being an objective standard, the market




560
      Resp. PHB, Paragraph 177.


                                                    224
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 241 of 622




        value standard here means that the valuation of KOMSA’s share in FertiNitro should not
        exclude the alleged effects of certain Government measures predating the announcement
        of the mandatory acquisition. 561 The Respondent notes that all of the Respondent’s
        measures about which the Claimants complain were of a general nature and not specific to
        FertiNitro.

9.132 The Respondent contends that the Treaty standard applies irrespective of whether the
        Respondent’s acquisition was lawful or unlawful.

9.133 As to (b) – the Parties’ agreement that the FMV standard should apply: the Respondent
        points to the agreement between Mr Giles and Dr Flores that the Claimants’ claims should
        be valued based on the FMV standard as at the valuation date of 30 September 2010. 562

9.134 As to the FMV standard, Dr Flores relies on the well-known definition in the World Bank
        Guidelines that refer to “an amount that a willing buyer would normally pay to a willing
        seller.” 563 This definition is, so the Respondent contends, essentially identical to the FMV
        definition Mr Giles provides at the outset of his First Report, in which he referred to “the
        value at which a willing buyer and willing seller would exchange an asset.” 564 Further, the
        Respondent contends that it is consistent with the definitions of FMV used by the
        International Valuation Standards Council. 565 The Respondent contends that Mr Giles
        misinterprets the meaning of FMV as meaning a market devoid even of purely commercial
        sales limitations. The Respondent adopts Dr Flores’ analysis, which it says shows that Mr
        Giles’ interpretation turns the FMV standard “upside down”, since it improperly permits a
        valuation of an asset at a value higher than one in the absence of the disputed acts.




561
    These are to be identified by reference to the Second (November) Hearing, Claimants’ Opening Statement, slide
    31, suggesting that the effects of the Urea Decree, the Municipal tax, the Science & Technology tax, the delay in
    VAT rebates and the interference by the Respondent with the management and operations of FertiNitro should be
    excluded. The Respondent contends that these alleged measures did not violate any international law obligations
    of the Respondent.
562
    Giles ER1, Paragraph 1.3; Giles ER2, Paragraph 1.9.
563
    Flores ER2, Paragraph 154, citing the World Bank Guidelines, pp. 41-42.
564
    Giles ER1, Paragraph 4.78.
565
    IVS Framework, International Valuation Standards Council (2011), Paragraphs 30, 32. See also, Flores ER2,
    Paragraphs 155-156.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 242 of 622




9.135 As to (c) – the Claimants’ failure to apply the FMV standard: the Respondent contends that
        whilst the Claimants agree on the use of the FMV standard, Mr Giles has ultimately failed
        to apply that standard. Indeed, the Respondent submits that Mr Giles’ DCF valuation is
        “entirely one-sided, full of inconsistencies, and – based on arbitrarily cherry-picked data –
        evidently directed not at establishing the plant’s ‘fair’ market value but rather at creating
        an ‘arbitration value’ which impermissibly ignores the troubled realities of the plant.” 566
        Further, the Respondent contends that Mr Giles arbitrarily deviates from standard valuation
        practice, including by relying on survey data which he himself recognizes “cannot be
        considered representative” 567 for his country risk rate calculation. He also reduces his
        discount rate through a liquidity discount whereas such discount in standard valuation
        practice is applied only to increase the discount rate. The Respondent, instead, relies upon
        Dr Flores’ testimony, to the effect that no prospective sales transaction would ever have
        been based on projections that are so obviously fabricated.

        (iii) The Fair Market Value (FMV) of KOMSA’s Interest in FertiNitro Was no More Than
              US$ 34.6 million

9.136 The Respondent contends that KOMSA’s 25% interest in FertiNitro was no more than US$
        34.6 million. (This figure does not include interest and assumes the Urea Decree would
        have continued to apply). On the other hand, so the Respondent submits, Mr Giles’
        (corrected) valuation at US$ 361 million is vastly overstated and far exceeds the FMV of
        KOMSA’s equity share in FertiNitro.

9.137 The Respondent rests these submissions on flaws in Mr Giles’ DCF valuation which are
        said to be four-fold.

9.138 First, the Claimants’ DCF analysis is inconsistent and highly speculative. It involves the
        “cherry-picking” of different time periods (that is, 2006-2008, 2006-2010 and the




566
    Resp. PHB, Paragraph 183. These matters, according to the Claimants, include a history of construction defects,
    poor maintenance decisions in the Plant’s early years, an above-average number of unplanned shutdowns,
    persistent gas and electricity supply problems beyond FertiNitro’s and the Respondent’s control, and high
    maintenance and turnaround costs as a result of past defects and shutdowns and the Respondent’s special economic
    situation.
567
    Giles ER1, Paragraph B.32.


                                                       226
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 243 of 622




           individual years of 2008 and 2010), as well as actual versus budgeted data. His valuation
           depends on which alternative is chosen, thus enabling him to arrive at a higher valuation.
           In contrast, Dr Flores consistently applies the same data period, namely the data period of
           2006-2010, and accordingly ensures consistency. The Respondent points to the fact that
           this is appropriate because it encompasses the two turnarounds conducted at the Plant in
           the five years prior to the mandatory acquisition (that is, 2008 and 2010), consistently with
           the forecast that turnarounds are to occur every 2½ years.

9.139 Further, the Respondent relies on Dr Flores’ demonstration of the inappropriateness of Mr
           Giles’ valuation: First, Mr Giles ignores the interrelatedness of the individual valuation
           criteria. That is, maintenance and turnaround costs impact capital expenditures; both, in
           turn, impact production levels, which, in turn, affect revenue and variable costs and
           ultimately working capital. Mr Giles’ ignorance of these relationships is one of the factors
           causing him to overvalue the Claimants’ alleged compensation claims. Second, Mr Giles’
           approach bases his valuation on very short data periods of only three years of actual data
           (2006-08) or, in some cases, only one year of actual (or budgeted) data, which contradicts
           the fundamental principle underlying any DCF valuation to project future income streams
           based on a reasonable quantity of historic data as available in a going concern.

9.140 Next, the Respondent contends that it is inappropriate to rely on budgeted data in this case
           due to the inherent uncertainties and flaws in the budgeting process. As Mr Sanders noted
           in his evidence, detailed records are necessary to properly prepare budgets, so deficiencies
           in record keeping would likely affect the accuracy of a budget because it necessarily would
           not reflect the true state of the equipment or the work to be performed during that year. 568
           It is not possible for the Claimants to rely on the ICSID award in Venezuela Holdings v.
           Venezuela 569 to argue that budgets are a reliable basis for forecasting. Rather, in that award,
           using budgets for the year in which the expropriation took place was appropriate since




568
      Second (November) Hearing D5.156-157 (Sanders).
569
      Venezuela Holdings v. Venezuela (RLA-153). See Second (November) Hearing, Claimants’ Opening Statement,
      Slide 39.


                                                      227
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 244 of 622




         actual data was not available for the full year. 570 Here, however, Mr Giles seeks to use
         budgets during years when actual data was available.

9.141 Second, the Respondent contends that the Claimants’ DCF valuation inappropriately
         excludes actual production volumes from 2009 and 2010 in projecting future production.
         Indeed, the Respondent says that the Claimants’ approach “represents nothing but a
         calculated attempt to present a rosier picture of the plant’s production volumes than the
         available actual data indicates.” 571 The Respondent points to several factors showing why
         this approach is inappropriate, as follows.

9.142 Mr Giles’ approach does not comport with FertiNitro’s turnaround cycle, since that cycle
         was less than three years. His approach is flawed because Mr Sanders (and, in turn, Mr
         Giles) based his cycle upon an (improper) alleged similarity between the FertiNitro Plant
         and the plants of Terra OK and Point Lisa. 572 Rather, the Respondent contends that Dr
         Flores’ turnaround cycle of 2½ years reflects the FertiNitro Plant’s actual history of
         turnaround cycles; and it is conservative in the light of FertiNitro’s major construction
         defects and history of frequent unplanned shutdowns.

9.143 Gas and electricity disruptions, as well as unplanned outages, were not materially higher
         in 2009 and 2010 than in previous years. 573

9.144 A hypothetical and realistic buyer in 2010 would not have assumed that FertiNitro could
         consistently achieve nameplate production in the future. According to the Respondent, this
         is because FertiNitro had never consistently achieved nameplate production levels. The
         evidence at the Hearings did not provide any basis to assume that this would change in the




570
    Venezuela Holdings v. Venezuela (RLA-153), Paragraphs 342, 307.
571
    Resp. PHB, Paragraph 192.
572
    cf. Expert Report of Richard Sanders (30 May 2012) (“Sanders ER1”), Paragraphs 9-11, 43-45.
573
    The Respondent points to the following evidence: For the ammonia plant, there were 30 total shutdowns in 2006
    (with the plant in production for 332 days); 22 total shutdowns in 2007 (with the plant in production for 309 days);
    21 total shutdowns in 2008 (with the plant in production for 299 days); 32 total shutdowns in 2009 (with the plant
    in production for 308 days); and 17 total shutdowns in 2010 (with the plant in production for 304 days). Likewise,
    for the urea plant, there was not a significant increase in shutdowns from the 2006-2008 period to the 2009-2010
    period; in 2006 the plant was in production for a total of 315 days, in 2007 for 306 days, in 2008 for 289.7 days,
    in 2009 for 292 days, and in 2010 for 284.25 days. See Niveles de Produccion y Dias Operativos 2003-2010 (EO-
    41).


                                                         228
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 245 of 622




         foreseeable future. In particular, the Plant’s machinery and equipment were not sufficient
         to produce at nameplate levels consistently.

9.145 The Respondent relies upon Mr Villarroel’s evidence that the urea trains could achieve
         daily nameplate capacity on a consistent basis, but not the ammonia trains. 574 Mr Sanders’
         opinion that FertiNitro “should be able to achieve nameplate capacity on a consistent
         basis” 575 should be rejected because it is, again, based on a comparison of the FertiNitro
         Plant with the plants at Terra OK and Point Lisa, which (as Mr Sanders admitted on cross
         examination) are not comparable to FertiNitro. The Claimants’ allegation that FertiNitro’s
         actual nameplate capacity can be assessed based on the 2003 Jacobs Report should be
         rejected, since that report was evidently overtaken by the 2006 Jacobs Report, the latter
         suggesting that it was not realistic to expect that FertiNitro would be able consistently to
         produce at nameplate levels.

9.146 Further, the Respondent points to the Claimants’ failure to prove their allegation that
         annual nameplate production could be achieved through process improvements. The
         Respondent describes that allegation as “mere wishful thinking.” 576 The Respondent
         contends that the FertiNitro Plant’s equipment was so degraded that operational fixes could
         do little to resolve the low reliability of the Plant’s machinery and equipment. The
         Respondent contends that the reliance on “two short marketing publications” created by
         Honeywell (which are not, contrary to the Claimants’ nomenclature, “position papers”) is
         irrelevant,     and,     further,     those     documents        are    prone     to    exaggeration        and
         oversimplification. 577 According to the Respondent, the Claimants’ focus on operational
         errors is also misleading, since the majority of unplanned shutdowns at FertiNitro were
         caused by mechanical failures, water and gas leaks and fire, in addition to supply
         disruptions beyond FertiNitro’s control. 578 Furthermore, the 2007 KBC Report, which



574
    First (September) Hearing D3.144 (Villarroel).
575
    Sanders ER1, Paragraph 13.
576
    Resp. PHB, Paragraph 201.
577
    Resp. PHB, Paragraph 202.
578
    Indeed, the Respondent contends that an evaluation of the causes of the Plant’s shutdowns between 2003 and 2010
    does not once cite operational errors as a significant cause of shutdowns in any of the years during this period. (See
    Niveles de Produccion y Dias Operativos 2003-2010 (EO-41)). Likewise in a section entitled “FertiNitro’s
    Complex History of Unplanned Shutdowns,” Jacobs Consultancy does not so much as mention operational errors


                                                          229
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 246 of 622




         examines the origins and consequences of process failures, does not consider unplanned
         shutdowns to be a consequence of any of the operational or process-based shortcomings it
         finds.

9.147 As a result, the Respondent contends that, while later process improvements may have
         reduced the limited number of shutdowns caused by operational mistakes, the far greater
         number of shutdowns was due to mechanical failures and external outages, which
         continued to hamper the Plant’s productivity. In any case, the Respondent contends that
         there is no evidence that the implementation of the recommendations of the KBC Report
         would have allowed FertiNitro to achieve nameplate production on a consistent basis. As
         Mr Villarroel testified, any improvement in production levels would require “strong
         investment and a not short period of time as well”. 579 After over ten years in operation
         without sufficient preventative maintenance, simply reforming the Plant’s leadership and
         improving its operational planning would do little to enhance production at FertiNitro
         given the severely degraded state of the Plant’s equipment. Finally, the valuation exercise
         must take into account the fact that this case concerns the acquisition of a 25% stake in
         FertiNitro, and thus only KOMSA’s minority share in the business. 580

9.148 In relation to the exclusion of actual production volumes from 2009 and 2010, the
         Respondent contends that the Claimants’ submission, that such exclusion is justified by
         law, is unfounded. The Respondent makes six main arguments why this submission should
         be rejected. First, the Claimants have provided no evidence that the stoppages were
         entirely due to supply disruptions by PVDSA and Pequiven. Second, Pequiven would not
         be responsible for any breaches of PVDSA’s and Pequiven’s supply contracts with
         FertiNitro. Third, PVDSA Gas did not breach its supply obligations toward FertiNitro.
         Fourth, the Claimants’ exclusion of 2009 and 2010 from the valuation is contrary to the
         basic assumption of DCF valuation methodology. Fifth, the existence of the Treaty does




    as a cause for the Plant’s historically high rate of unplanned shutdowns. (See Jacobs Consultancy Report, Deferred
    Second Reliability Test Report FertiNitro Complex, Jose Venezuela Reasons for Non-certification (October 2006)
    (R-57)).
579
    First (September) Hearing D3.148 (Villarroel).
580
    Second (November) Hearing D7.11 (Flores).


                                                        230
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 247 of 622




        not justify excluding the 2009-2010 data. Sixth, the Respondent is not responsible for
        FertiNitro’s operational difficulties in 2009-2010 which were primarily the result of
        original construction defects. 581

9.149 The third matter invoked by the Respondent (in support of its contention that Mr Giles’
        valuation is flawed) is the Claimants’ understated projections of FertiNitro’s future costs.

9.150 In this regard, the Respondent points to the Claimants’ unreasonable reliance on budgeted,
        instead of actual, turnaround and maintenance costs. In contrast, the Respondent contends
        that Dr Flores’ use of FertiNitro’s actual cost data, as available on the valuation date, makes
        sense, since such actual data properly reflects the state of the Plant and its operating
        conditions in Venezuela.        The Respondent also characterizes his approach as being
        justifiable, since such data appropriately reflects the state of the Plant and the operating
        conditions in Venezuela. Rejecting the Claimants’ allegations which, so the Respondent
        contends, seek to attribute blame to the Respondent for the increased costs, the Respondent
        submits that these allegations distract from the fact that it is the Claimants who have failed
        to discharge their burden of proving that they can legitimately ignore FertiNitro’s actual
        costs (and thus deviate from standard valuation practice) and can instead use budgeted data.

9.151 The Respondent points to the reason for these costs, being the need for increased
        maintenance and turnaround costs arising from the early aging of machinery and
        equipment. 582 Contrary to the Claimants’ allegations, these initial construction defects
        were not largely resolved by the Major Maintenance Plan (“MMP”) in 2005, as
        Mr Villarroel’s oral evidence proved. 583 Moreover, the Respondent contends that the Plant
        suffered from an above-average number of unplanned shutdowns. 584 Further, the damage
        suffered from unplanned shutdowns was often magnified by the absence, or




581
    Resp. Rej., Paragraphs 414-420.
582
    See Jacobs Consultancy Report, Deferred Second Reliability Test Report FertiNitro Complex, Jose Venezuela
    Reasons for Non-Certification (October 2006) (R-57), pages 10-11; Second (November) Hearing D5.190, 200-
    201.
583
    First (September) Hearing D3.150 (Villarroel).
584
    See Jacobs Consultancy Report, Deferred Second Reliability Test Report FertiNitro Complex, Jose Venezuela
    Reasons for Non-Certification (October 2006) (R-57), pages 10-11.


                                                    231
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 248 of 622




        malfunctioning, of standard protective systems that automatically take control of
        operations when power outages occur and that shield the main equipment from damage. 585

9.152 The Respondent also points to the increasing inflation rates in Venezuela that resulted in
        increased costs in local currency, which (so it contends) the Claimants have ignored. 586
        The Respondent also contends that increasing inflation also significantly impacted
        FertiNitro’s turnaround costs. In fact, between 2007, when FertiNitro’s second major
        turnaround was budgeted, and 2008, when such turnaround took place, Venezuelan annual
        inflation increased by as much as 11.7 percentage points, going from 18.7% to 30.4%.587
        Rising inflation inevitably led to a sharp increase in turnaround costs, since turnarounds
        require the use of hundreds of external local workers, who are paid in Bolivars.

9.153 Turning to Mr Giles’ expert evidence, the Respondent contends that Mr Giles is wrong to
        allege that FertiNitro’s exposure to domestic inflation is “extremely low” since only “a
        very small proportion of its costs are denominated in bolivars.” 588 The Respondent
        characterises this as a “[h]ighly simplistic assessment of the plant’s local costs […] based
        on an opportunistic choice of cost data (using, e.g., the 2008 budgeted turnaround costs,
        rather than the much higher actual costs) and is limited to the period 2006-2008 (thus
        precisely excluding the years in which inflation skyrocketed).” 589                   The Claimants’
        contention that inflation is a “new purported explanation” for FertiNitro’s higher than
        budgeted costs should, so the Respondent contends, be rejected by the Tribunal. 590

9.154 Next, the Respondent points to the fact that the high maintenance and turnaround costs are
        not primarily due to operational mistakes in recent years. Rather, in reliance on various
        reports 591 (all of which the Respondent contends show that the processes at the Plant were




585
    First (September) Hearing D3.174-175 (Villarroel).
586
    The Respondent points to the acknowledgement of this issue by Mr Villaroel: First (September) Hearing, D4.28,
    30.
587
    The Respondent points to the International Monetary Fund Inflation Rates 2004-2011 (R-90).
588
    Second (November) Hearing D6.17 (Giles).
589
    Resp. PHB, Paragraph 218.
590
    See Second Witness Statement of Aníbal Villarroel (30 December 2013), Paragraph 13.
591
    Resp. PHB, Paragraph 220, citing Haldor Topsoe, Effect of the Natural Gas Composition on the Production of
    Ammonia (26 August 2003) (R-54), Jacobs Consultancy Report, FeriNitro Fertilizer Project, Plan Improvement
    Cost Estimates and Revised Production Forecast (14 March 2003) (C-125) (See the results of the 2006 Thielsch


                                                      232
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 249 of 622




        not ideal from the outset), the evidence of Mr Gwaltney establishes that there was a
        “breakdown in the organization structure” 592 after KOMSA’s exit from the Plant’s
        management in October 2007.              The Respondent also points to the Claimants’ own
        acknowledgement that there had been a frequent change in managerial staff at FertiNitro
        even in the Plant’s early years. 593 The Respondent concludes that the processes were not
        ideal from the outset. 594

9.155 As to the Claimants’ understated projections of FertiNitro’s future costs, the Respondent
        points to the understatement of other costs, describing them as not only “clearly
        understated” but also “highly speculative.” 595 With respect to capital expenditures, after
        not considering them at all in his first report, Mr Giles projects an amount of US$ 10 million
        in his second report, based on Mr Sanders’ suggestion. 596 But the Respondent points to the
        fact that neither Mr Sanders, nor Mr Giles, explain this amount. Indeed, Mr Sanders
        ultimately admitted on cross examination that “[d]epending on what […] new pieces of
        equipment have to be installed” it is “certainly” possible that FertiNitro would require more
        capital expenditure than the US$ 10 million benchmark he provided, based on his
        experience at the Terra OK plant. 597

9.156 With respect to gas costs, Mr Giles based his projection of the base price for natural gas on
        a single data point: FertiNitro’s budgeted natural gas price for 2010, which, the Respondent
        emphasises, is the lowest base price for all the budget years that he reviewed. 598 Mr Giles’
        attempt to defend this choice as “conservative” 599 should be rejected by the Tribunal, as he
        ignores both FertiNitro’s longer historical pricing record and the predictions of well-




    Engineering report). Resp. PHB, Paragraph 220 referring to KBC Report, Plant Performance Optimization
    Assessment Report (18 May 2007) (C-158).
592
    Witness Statement of Brent W. Gwaltney (30 May 2012) (“Gwaltney WS1”), Paragraph 60.
593
    First (September) Hearing D4.8 (Villaroel).
594
    The Respondent contends that the one admitted operational mistake – the failure to establish a cost-effective
    maintenance plan – was made at the outset of the Plant’s history when KOMSA was charged with running the
    Plant.
595
    Resp. PHB, Paragraph 222.
596
    Giles ER2, Paragraph 7.34; Second Expert Report of Richard Sanders (27 August 2013) (“Sanders ER2”),
    Paragraph 69.
597
    Second (November) Hearing D5.223-224 (Sanders).
598
    Flores ER2, Paragraph 49.
599
    Giles ER2, Paragraphs 7.2-7.4; Second (November) Hearing D6.47 (Giles).


                                                      233
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 250 of 622




        respected forecasters. Dr Flores’ forecast, based upon three such long-term forecasters,
        should be preferred by the Tribunal. 600

9.157 Fourth, the Respondent contends that the Claimants’ proposed discount rate of 10.12% is
        understated, whereas Dr Flores’ proposed rate of 20.37% is fully justified. It contends that
        Mr Giles’ discount calculations are unreasonable in at least the following respects, namely:

9.158 Mr Giles inappropriately uses global market risk premium data. The market premium is
        intended to measure the additional return over the risk-free rate required by equity investors
        in the USA. (This market risk reflects risks unrelated to Venezuela.) Mr Giles calculates
        a rate of 4.75% relying on global market risk estimates published in 2006 (that is, four
        years before the mandatory acquisition). Mr Giles’ market rate is inappropriate because
        the data he relies on is out-dated and the use of global market risk estimates is incompatible
        with Mr Giles’ additive method of calculating the discount rate.

9.159 Under the additive method, the valuation expert must (as Dr Flores has) calculate the
        elements of the discount rate, including the market risk rate, as if they applied to a company
        based in the USA and then apply a country risk premium reflecting the additional risks of
        operating in any other country, here Venezuela. 601 Hence, Mr Giles should have used USA
        market risk data instead of global data. Further, the Fernandez Paper (on which Mr Giles
        relies) contradicts his very own market risk rate.

9.160 Mr Giles improperly relies on limited survey data to establish Venezuela’s country risk
        premium. In this regard, the Respondent points to the fact that Dr Flores calculated a
        country-risk rate of 11.26% based on the average of three well-recognised methods: (i)
        Morningstar/Ibbotson’s country-spread model (12.75%); (ii) Ibbotson/Morningstar’s
        country risk rating model (14.27%); and (iii) Professor Damodaran’s estimate (6.75%).602
        According to the Respondent, Dr Flores did not apply other recognised models, such as JP




600
    Flores ER2, Paragraph 55.
601
    Flores ER2, Paragraph 106.
602
    Flores ER1, Figure 11.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 251 of 622




        Morgan’s Emerging Market Bond Index (EMBI), which would have resulted in a
        comparatively higher country risk premium for Venezuela of 12.41%.

9.161 The Respondent contends that Mr Giles’ reliance on a survey (rather than established
        premium risk models), such survey suggesting a country risk premium for Venezuela of
        5.5%, is entirely unfounded. Again, the Respondent points to Mr Giles’ own evidence that
        the survey cannot be considered representative. 603 Further, it points to the fact that the
        Ibbotson/Morningstar country spread model is identified by the survey itself as the primary
        and preferred source among survey participants for determining country risk. 604 The
        Respondent also contends that Mr Giles’ reliance on the survey is inappropriate since he
        has not made any adjustments for potential bias arising from the fact most survey
        participants assessed country risk for their own countries, with respect to which they were
        naturally not neutral, and the authors themselves have no methodology to correct for this
        type of bias in the survey.

9.162 Mr Giles arbitrarily excludes political risk from his country risk rate. The Respondent
        contends that, without giving any economic justification, Mr Giles excluded “many of the
        risks normally associated with the concept of country risk (e.g., expropriation),” 605 “where
        [he was] instructed that the Treaty offers potential protection.” 606                  The Respondent
        contends that this approach is unreasonable and contrary to recent ICSID decisions,
        including the award in ExxonMobil where the tribunal held that “the confiscation risk
        remains part of the country risk and must be taken into account in the determination of the
        discount rate.” 607 The tribunal there decided that:

           “[I]t is precisely at the time before an expropriation (or the public knowledge of an
           impending expropriation) that the risk of a potential expropriation would exist, and



603
    Giles ER1, Paragraph B.32.
604
    Resp. PHB, Paragraph 229. Fernandez, Aguirreamolla & Corres, Market Risk Premium Used in 56 Countries in
    2011: A survey with 6,014 Answers 7 (May 2011) (CRA-27), Table 4. Ibbotson/Morningstar was the most cited
    source with 256 responses, while surveys were the tenth most cited source with only 33 responses. In fact, as Dr
    Flores noted, even though “the surveys tell you everyone is using Ibbotson/Morningstar […] Mr Giles doesn’t use
    it”. Second (November) Hearing D6.129 (Flores).
605
    Giles ER1, Paragraph B.8; Second (November) Hearing D6.64 (Giles).
606
    Giles ER1, Paragraph B.77.
607
    Venezuela Holdings v. Venezuela (RLA-153), Paragraph 365.


                                                       235
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 252 of 622




           this hypothetical buyer would take it into account when determining the amount he
           would be willing to pay in that moment.” 608
           The Respondent contends that the risks of expropriation or nationalisation were
           clearly known from the outset, since they were specifically addressed in the 1998
           Offering Circular. 609 Further, contrary to the Claimants’ approach that BITs lower
           exposure to country risk (an approach described by the Claimants as “trite”) 610 the
           Respondent contends that investors generally do not perceive BITs to lower country
           risk, 611 nor is there any basis for the Claimants’ speculation that “surely a buyer
           would be expected to have BIT protection in a hypothetical arm’s length
           transaction”.612

9.163 Mr Giles applies an unreasonable lambda factor. The Respondent contends that it is based
        on “pure speculation”. 613 The Respondent relies upon Dr Flores’ evidence, in which it says
        that he has considered FertiNitro’s exposure to Venezuelan country risk, but (in contrast to
        Mr Giles) he has concluded that it is not justified to deviate from the standard lambda factor
        of 1 since, in order to do so, “we need to have very convincing evidence that it is really
        lower than the average and not higher”. 614 Dr Flores says that no such evidence exists. The
        Respondent characterises Mr Giles’ risk assessment as “entirely vague, inaccurate and
        unbalanced”, 615 citing four factors, as listed below.

9.164 First, the Respondent points to the fact that Mr Giles has not provided any calculations or
        methodology to explain how he arrived at a risk exposure of 40%. It says that, while Mr
        Giles has identified 22 risk factors, he has failed to explain their relative importance. 616
        The Respondent again points to the fact that Mr Giles’ exclusion of risk factors allegedly




608
    Venezuela Holdings v. Venezuela (RLA-153), Paragraph 365.
609
    Offering Circular – Bond Offering of $250,000,000 between FertiNitro Finance Inc and FertiNitro (8 April 1998)
    (C-115), page 38.
610
    Second (November) Hearing, Claimants’ Opening Statement, Slide 56.
611
    Resp. PHB, Paragraph 232. See Lauge Skovgaard Poulsen, “The Importance of BITs for Foreign Direct Investment
    and Political Risk Insurance: Revisiting the Evidence”, Yearbook on International Investment Law and Policy
    (2010), pages 539-542; Jason Webb Yackee, “Do Bilateral Investment Treaties Promote Foreign Direct
    Investment? Some Hints from Alternative Evidence”, 51(2) Virginia Journal of International Law (2010) (EO-49),
    page 397; Second (November) Hearing D6.64-65 (Flores); Flores ER1, Paragraph 126; Flores ER2, Paragraph
    122.
612
    Second (November) Hearing D8.33.
613
    Resp. PHB, Paragraph 233.
614
    Second (November) Hearing D7.161 (Flores).
615
    Resp. PHB, Paragraph 234.
616
    Flores ER2, Paragraph 149.


                                                      236
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 253 of 622




        protected by the Treaty has no economic justification but is based, instead, on the
        instruction of the Claimants’ counsel. 617

9.165 Second, the Respondent says that Mr Giles has underestimated FertiNitro’s risk exposure,
        including risk factors that are entirely unrelated to expropriation risk. For example, the
        Respondent rejects Mr Giles’ evidence that FertiNitro be ranked as “low” for all six risk
        factors associated with social disorder. 618 Mr Giles makes this ranking because he believes
        that “it is easy to see how the strategic location of the FertiNitro Plant in a secure industrial
        complex on the coast would be less risky than a plant located in central Caracas when
        considering the potential effects of social unrest.” 619 However, Dr Flores points to the facts
        that the Plant is located in an unsafe area, and that while no FertiNitro personnel live at the
        Plant, social unrest in nearby communities will directly affect FertiNitro since that is where
        managers and workers commute to and from the Plant. He concludes, on the basis of safety
        alone that, “if you tell an investor, you can make a dollar of profit investing in a fertilizer
        plant in Wichita or investing in a fertilizer plant in the José Complex, I think that one dollar
        in the José Complex would be heavily discounted.” 620 Further, due to having all of its
        production facilities in Venezuela, FertiNitro was inevitably heavily exposed to
        Venezuelan country risk, despite it receiving most of its revenue from abroad.

9.166 Third, the Respondent points to that the fact that Mr Giles has ignored risk factors that
        increase FertiNitro’s exposure to Venezuelan country risk, including FertiNitro’s
        dependence on a single supplier for natural gas and the fact that, while smaller companies
        in Venezuela are exempted from certain taxes, as a large company in the formal sector of
        the economy FertiNitro is exposed to the full range of taxes and hence faces greater risks
        in the event of tax increases.

9.167 Fourth, the Respondent contends that common sense also speaks against Mr Giles’ 0.4
        lambda factor, which results in an alleged country risk rate for FertiNitro of only 2%. That




617
    Giles ER1, Paragraph B.77.
618
    Second (November) Hearing D7.98 (Giles).
619
    Giles ER 2, Paragraph 1.26.
620
    Second (November) Hearing D6.132 (Flores).


                                                  237
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 254 of 622




        rate corresponds to the rate normally applied to investments in such countries as, for
        example, Italy. 621 However, as the Respondent poses the question, if you had one dollar
        to invest would you really be indifferent to investing it in Venezuela or in Italy for the same
        expected return?

9.168 Mr Giles deducts a 1% liquidity discount from his country risk rate, which the Respondent
        contends finds no support in standard valuation practice. Dr Flores explained that he has
        “never seen an expert do what Mr Giles has done here”. Indeed, the Respondent contends
        that Mr Giles’ application of a liquidity discount on the country risk rate is based on a
        misguided interpretation of the market value standard provided in CMS v. Argentina, which
        calls for “an open and unrestricted market.” 622

9.169 However, the requirement of an “open and unrestricted market” does not allow excluding
        de facto restrictions on the sale of the relevant asset that would have existed even
        irrespective of the disputed acts; and it does not permit the valuation expert to create a
        world where KOMSA’s interest in FertiNitro is worth more than it would be in the absence
        of the disputed acts. Further, the Respondent contends that Mr Giles’ valuation, and his
        application of a liquidity discount, ignores the fact that KOMSA’s equity in FertiNitro is a
        minority stake in a closely-held company in a small, developing market.

9.170 Further, and moving beyond the flaws in the rate itself, the Respondent contends that the
        unreasonableness of the Claimants’ discount rate is confirmed by the awards in the
        ExxonMobil and Mobil cases 623 and the award in Flughafen v. Venezuela. 624                          The
        Respondent points to these three awards, all of which applied discount rates similar to those
        proposed by Dr Giles, namely 18% in the case of the ExxonMobil and Mobil awards 625 and



621
    See Resp. Rej., Paragraph 458.
622
    CMS Gas Transmission Company v. Argentine Republic, ICSID Case No. ARB/01/8, Award (12 May 2005) (“CMS
    v. Argentina”) (CLA-130), Paragraph 402. Further, the Respondent contends that the requirement that the market
    be “open and unrestricted” is not a standard element of FMV definitions. For example, it points to Occidental
    Petroleum Corporation and Occidental Exploration and Production Company v. The Republic of Ecuador, ICSID
    Case No ARB/06/11, Award (5 October 2012) (“Occidental v. Ecuador”) (CLA-129), where the FMV definition
    (cited by the Claimants on Slide 24 of their Opening Statement on Quantum) does not contain this element.
623
    Namely, Mobil v. PDVSA (EO-45); Venezuela Holdings v. Venezuela (RLA-153).
624
    Flughafen v. Venezuela (RLA-154).
625
    Mobil v. PDVSA (EO-45), Paragraphs 768, 777; Venezuela Holdings v. Venezuela (RLA-153), Paragraphs 367-
    368.


                                                      238
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 255 of 622




         a nominal discount rate of 17.28% in the case of the Flughafen award. 626 In addition, as
         the ICSID tribunal in ExxonMobil stated, “[o]ther arbitral tribunals […] in circumstances
         comparable to the present case […] have used rates ranging from 18.5% to 21%.” 627

9.171 The Respondent then makes submissions on Gold Reserve v. Venezuela, 628 noting that a
         comparatively lower discount rate than the ExxonMobil tribunal was there applied. It
         explains that “it is not appropriate to increase the country risk premium to reflect the
         market’s perception that a State might have a propensity to expropriate investments in
         breach of BIT obligations.” 629 In any event, the Respondent contends that the Tribunal
         should not view the Gold Reserve award as relevant to the present case since that award
         concerns a project that has hardly anything in common with the FertiNitro project. The
         ExxonMobil project, in contrast, is very comparable, or even identical, to the FertiNitro
         project. 630 Due to the similarities of FertiNitro to the project valued in the ExxonMobil and
         Mobil awards (and the absence of such similarities with respect to the Gold Reserve
         project), the Respondent submits that the Tribunal should look to the ExxonMobil and
         Mobil decisions in determining the reasonableness of the experts’ discount rates.

9.172 In contrast to Mr Giles’ evidence, the Respondent contends that Dr Flores’ approach is
         straightforward. It points to the fact that, in calculating his discount rate, he consulted the
         most broadly-accepted sources and applied them in an objective manner. It submits that
         Dr Flores’ approach is certainly not arbitrary, nor “merely a tool that Dr Flores uses to




626
    Flughafen v. Venezuela (RLA-154), Paragraph 839. The Respondent notes that the tribunal in Flughafen ultimately
    did not apply a nominal discount rate of 17.28%, but a discount rate in real terms of 14.4% (i.e. not counting
    inflation) to be consistent with the cash flow projections which (in contrast to the present case) were also conducted
    in real terms.
627
    Venezuela Holdings v. Venezuela (RLA-153), Paragraph 367.
628
    Gold Reserve v. Venezuela (CLA-156).
629
    Gold Reserve v. Venezuela (CLA-156), Paragraph 841.
630
    In this regard, the Respondent relied on the similarity demonstrated by the following common key aspects:
    (a) production facilities located in the José Complex; (b) production primarily for export; (c) revenues primarily
    in US dollars; (d) use of an offtake agreement; (e) project started during “Apertura” period; (f) use of bond offering
    memorandum from 1998; (g) use of project financing; and (h) the existence of multiple shareholders, including
    PDVSA.


                                                          239
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 256 of 622




        depress the valuation of the Claimants’ investments substantially;” 631 rather, it reflects
        standard valuation practice.

9.173 Next, the Respondent contends that the Claimants’ alleged “reasonableness checks” do not
        support their valuation of KOMSA’s 25% share in FertiNitro.             In this regard, the
        Respondent makes four principal submissions.

9.174 First, the Respondent contends that the October 2008 MOU price, if properly adjusted,
        confirms Dr Flores’ valuation, not Mr Giles’ valuation. That is, the October 2008 MOU
        price (US$ 212.5 million) for KOMSA’s interest in FertiNitro, if properly adjusted for
        purposes of a FMV valuation as at 30 September 2010 (to US$ 55.3 million), supports the
        Respondent’s valuation. Since the value of the Plant depends on its future cash flows, any
        valuation that relies on earlier value determinations in this regard must be adjusted to
        account for changes in the price of the goods sold, here ammonia and urea. Thus, the
        Plant’s value in September 2010 cannot be the same as in October 2008, when prices and
        price projections were significantly higher.

9.175 Second, the Respondent contends that the construction costs of other plants are irrelevant.
        More specifically, the construction costs of the Morón plant are irrelevant for the valuation
        of FertiNitro, since these costs say nothing about the value of the FertiNitro Plant. The
        same is true for the projected construction costs of the Guiria and José plants, which the
        Claimants raised at the Second (November) Hearing. 632 In fact, due to construction delays
        or market changes, the value of a construction is not infrequently less than what it cost the
        owner to build. 633

9.176 Third, the Respondent contends that the two Advantis reports confirm Dr Flores’ valuation.
        At the same time, they show that Mr Giles’ valuation of KOMSA’s Equity Valuation at
        US$ 361 million is clearly overstated. The First Advantis valuation, prepared in the
        context    of    settlement     negotiations,   valued   KOMSA’s        25%     interest   at




631
    Second (November) Hearing D8.42.
632
    Second (November) Hearing D6.24.
633
    Second (November) Hearing D5.120.


                                                 240
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 257 of 622




        US$ 30-48 million (or US$ 120-194 million for 100%), assuming the Urea Decree
        continued to apply, and at US$ 99 million (or US$ 398 million for 100%), in the event that
        domestic Urea Decree sales ended in 2012. 634

9.177 The second Advantis report calculated a higher value of US$ 113 million for KOMSA’s
        25% interest in FertiNitro (or US$ 452 million for 100%) in the event the Urea Decree
        sales ended in 2012. However, under the assumption that domestic Urea Decree sales
        would continue (and assuming the same impact as in the First Advantis Valuation), Dr
        Flores has shown that the second Advantis Valuation decreases to US$ 43.5-62 million
        (KOMSA’s 25% share) or US$ 248-174 million (100% of FertiNitro). 635

9.178 It follows, so the Respondent contends, that Dr Flores’ valuation of KOMSA’s interest at
        US$ 34.6-64.3 million is within the range of, or at least close to, the outcomes of the two
        Advantis valuations in the range of US$ 30-113 million, whereas Mr Giles’ valuation of
        US$ 361 million is a clear outlier and exceeds the Advantis valuations by approximately
        three to ten times. Further, Mr Giles makes the new argument that the applicable discount
        rate would be 13.1%, using Advantis’ market risk premium and country risk premium
        (which are lower than Dr Flores’ respective assumptions), together with Dr Flores’ risk
        free rate and beta (which, in turn, are respectively lower than those used in the Advantis
        reports). The Respondent contends that this arbitrary and unexplained approach makes no
        sense, describing it as “yet another example of Mr Giles’ inappropriate cherry-picking
        approach that considers only those elements that increase his valuation, while excluding
        elements that decrease his valuation.” 636

9.179 Fourth, the Respondent contends that the Claimants’ new argument based on FertiNitro’s
        book value is irrelevant. The Respondent contends that, at the Second (November)
        Hearing, the Claimants raised the new argument that Dr Flores’ valuation of KOMSA’s
        share in FertiNitro at US$ 34.6 million is understated since the book value of KOMSA’s




634
    See First Advantis Report (R-86), pages 5, 9 and 19.
635
    Advantis Report entitled “Valoracíon de FertiNitro” (July 2011) (C-157) (“Second Advantis Report”). See Dr
    Flores’ presentation at the Second (November) Hearing, Slide 55.
636
    Resp. PHB, Paragraph 252.


                                                    241
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 258 of 622




           25% of FertiNitro in 2010 allegedly was US$ 168.1 million. 637 However, the book value
           is irrelevant when valuing a company based on the FMV standard. Indeed, the Respondent
           points to what the Tribunal queried at the Hearing, namely that “the willingness of the
           seller to sell is not necessarily connected in any causal or existential way with the ‘value’,
           understood as an objective factor, of the assets that were taken.” 638

           (iv) KNI’s Valuation of its Interest in the Offtake Agreement Claim is Overstated

9.180 The Respondent contends primarily that KNI’s contractual rights under the Offtake
           Agreement are not an “investment” and/or that there has been no expropriation of such
           rights so that no compensation is therefore due to KNI. The Tribunal has however decided
           otherwise the issue of jurisdiction and the majority of the Tribunal as regards liability: see
           above. In these circumstances, the Respondent here contends that the Tribunal should
           determine such compensation based on Dr Flores’ valuation of US$ 56.2 million and not
           based on Mr Giles’ overstated valuation of US$ 206.5 million. Neither Dr Flores nor the
           Respondent contend that, assuming jurisdiction and liability decided in favour of KNI, that
           KNI has suffered no loss at all from its expropriated interest in the Offtake Agreement.

9.181 First, the Respondent contends that the Claimants make the same inappropriate
           assumptions regarding sales volumes and the discount rates as in their valuation of
           KOSMA’s interest in FertiNitro.

9.182 Second, the Respondent contends that the Claimants’ valuation period improperly includes
           a sixteen-month period during which KNI suffered no losses. It says that the valuation of
           KNI’s rights under the Offtake Agreement must necessarily, for reasons of both law and
           fact, exclude the volumes of production that KNI obtained between October 2010 and
           February 2012 under the Offtake Agreement. This is so because (so the Respondent
           contends) it is undisputed between the Parties that KNI continued purchasing fertilizer
           product from FertiNitro at Offtake Agreement prices during those sixteen months. The
           Respondent points to the fact that Mr Giles performs his valuation as if these purchases




637
      Resp. PHB, Paragraph 253, referring to Second (November) Hearing D5.24 (Fietta).
638
      Second (November) Hearing D5.36 (Feliciano).


                                                        242
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 259 of 622




           never happened and hence calculates damages for production volumes that KNI never lost.
           Such double-compensation must be rejected irrespective of which valuation method is
           applied. In contrast, the Respondent submits that Dr Flores looks at “what actually
           happened” and accordingly excludes KNI’s purchases during October 2010 to February
           2012 from his valuation.

9.183 Third, the Respondent submits that the Claimants’ valuation is based on unrealistic factual
           assumptions, namely:

                    The Claimants inappropriately calculate KNI’s lost profits rather than the value of
                    KNI’s alleged rights under the Offtake Agreement;

                    the Claimants fail to prove that they would never have been able to replace the
                    FertiNitro Offtake through purchases on the open market; and

                    the Claimants’ lost profits calculations are flawed and highly speculative.

9.184 As to (a), Mr Giles calculates KNI’s lost profits, rather than the value of KNI’s alleged
           rights under the Offtake Agreement. He further assumes that, following the termination of
           the Offtake Agreement, KNI could then and forever replace its Offtake Agreement
           quantities only through purchases at NOLA and TAMPA prices, thus losing any and all
           opportunities to resell ammonia and urea replacement quantities at a profit.              The
           Respondent contends, however, that Dr Flores properly calculates the value of KNI’s
           alleged rights under the Offtake Agreement as the difference between the mid-Caribbean
           price for ammonia and urea on the open market, on the one hand, and the more favourable
           Offtake Agreement Price (namely, low Caribbean price minus 3% urea or 4% ammonia
           discount), on the other hand. The Respondent says that the Claimants’ attempt to dispute
           the existence and credibility of a mid-Caribbean price is “astonishing”, 639 since it was their
           own expert witness (Mr Giles) who first discussed this price in his first expert report. 640




639
      Resp. PHB, Paragraph 259.
640
      Giles ER1, Paragraphs 4.14-4.15; D.3.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 260 of 622




9.185 As to (b), the Respondent says that developments in the USA and global fertilizer markets
        known before the valuation date indicate that KNI would have been, and in fact likely was,
        able to procure ammonia and urea replacement quantities at below NOLA/TAMPA costs.
        As a consequence of the substantial increase in the USA’s domestic supply of inexpensive
        natural gas (which is the key component of both ammonia and urea) since early 2008,
        according to the Claimants’ own sources, both domestic and foreign companies have
        started new fertilizer plants, or reactivated plants mothballed earlier, in the USA. This
        development results in an increase of both USA and global supply of fertilizer product, as
        well as a decrease of USA demand for imported (Caribbean) fertilizer, and elsewhere.
        Indeed, the Respondent contends that the Claimants have recognised the new benefits of
        producing fertilizer product in the USA. 641

9.186 In this regard, the Respondent contends that USA and international sources expect that new
        investments into the USA fertilizer industry will result in between 3 to 7 million tons of
        additional nitrogen fertilizer capacity in the USA. 642 The Respondent submits that the
        significant increase in the USA’s domestic fertilizer supply has already begun to impact
        USA import demand. It follows, so the Respondent says, that, since the USA was the major
        importer of Caribbean fertilizer product, a decrease in US importation will result in more
        Caribbean product being available for purchase in the Caribbean. The Respondent points,
        amongst other matters, to a report that Trinidad will be “worst affected among them all”
        by an overall decrease of US import needs. 643 Further, the Respondent contends that the
        data it provided regarding the impact of the US shale gas revolution on the global fertilizer
        markets is reliable. Finally, Mr Sorlie testified that there is an opportunity to buy ammonia
        and urea spot tons on the Caribbean market. 644 Even if such opportunity were limited, the
        Respondent contends that this would contradict the Claimants’ allegations that they were
        not able (now and forever) to replace any of the FertiNitro offtake quantities at Caribbean




641
    First (September) Hearing D2.125-126 (Sorlie); Koch Nitrogen Company, LLC, Koch Nitrogen to Build New Urea
    Plant and Increase Existing Production (15 May 2013) (EO-71), page 1.
642
    CEIFIC Position Paper, The implications of the shale gas revolution for the European chemical industry (15 March
    2013) (R-88).
643
    eAmmonia, Is Ammonia Boom in North America Peril for Trinidad Ammonia Plants? (21 May 2013) (R-87).
644
    First (September) Hearing D2.119 (Sorlie).


                                                       244
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 261 of 622




        open market prices. It follows, so the Respondent submits, that the Claimants, who carry
        the burden of proof, have failed to provide the required evidence to discharge that burden.

9.187 Third, the Respondent contends that the Claimants’ lost profits calculations are “flawed
        and highly speculative”. 645 In this regard, the Respondent points to the fact that the
        Claimants simply assume that KNI would have been able to export to the USA the same
        amounts of fertilizer product at the same prices as in the past. However, the Respondent
        submits that this entirely ignores the important changes in the USA fertilizer market, which
        suggest that the USA’s demand for foreign fertilizer product will further decrease and
        NOLA/TAMPA prices will decline, resulting in reduced profit margins and reduced sales
        volumes for KNI over the years. It points to Mr Giles’ acknowledgement of “the drastically
        increased gas reserves in the US and the resulting reduction in price and demand for
        imported LNG in the US.” 646 The same as with respect to LNG holds true with respect to
        ammonia and urea.

9.188 Further, the Respondent contends that Mr Giles’ lost profits calculations are unreliable
        since the shipping costs he accounts for are highly speculative. Mr Sorlie’s evidence that
        Mr Giles’ cost estimate is reasonable cannot be relied upon, as he relied only on invoices
        for two years (2009 and 2010), which is clearly too short a period for any proper
        assessment. 647 Instead, as Dr Flores explained, “in the shipping industry, as commodity
        prices rose, 2006, 2007 and 2008, shipping costs also increased dramatically, and then they
        fell a lot in 2009 and 2010. I find it a little bit suspicious that they have only given us a
        little bit of data for 2010, just one number that they say they have calculated internally for
        2009, and no data whatsoever for 2007/2008”. 648 In addition, Mr Giles’ calculation of
        shipping costs is also said to be “sloppy”, as he has incorrectly used shipment data to Taft,
        Louisiana, rather than Tampa, Florida, to calculate cost of transporting ammonia from José
        to Tampa.




645
    Resp. PHB, Paragraph 266.
646
    Giles ER1, Paragraph 2.16.
647
    cf. Second Witness Statement of Jim Sorlie (26 July 2013) (“Sorlie WS2”), Paragraph 23 (Table 1).
648
    Second (November) Hearing D6.139 (Flores).


                                                       245
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 262 of 622




9.189 Finally, the Respondent contends that Mr Giles ignores any costs associated with the
       business, such as overhead costs. The Claimants’ allegation that overhead costs were
       immaterial to their cost calculations remains unproven.

       The Tribunal’s Analysis and Decisions
9.190 Principal Issues: Having regard to the submissions of the Parties’ summarised above, there
       are, in relation to the question of compensation under Article 6 of the Treaty, three principal
       issues that arise for the Tribunal’s determination, namely:

         Issue (1): What is the appropriate standard of compensation for unlawful expropriation
                    under Article 6 of the Treaty?

         Issue (2): What is the compensation payable to KOMSA in respect of its expropriated
                    interest in FertiNitro?

         Issue (3): What is the compensation payable to KNI in respect of its expropriated
                    interest in the Offtake Agreement?

9.191 Each of these issues raises many sub-issues, the nature of which is plain from the Parties’
       extensive written and oral submissions, summarised above. Those sub-issues will be
       addressed to the extent appropriate below, as part of the three principal issues.

        Issue (1): What is the Appropriate Standard of Compensation?

9.192 The Tribunal begins with Article 9(3) of the Treaty. It requires the Tribunal to limit itself
       to awarding compensation for damages payable by the Respondent to KOMSA or KNI
       where the Tribunal has determined that the Respondent has failed to comply with an
       obligation under the Treaty. As to such compensation for a failure to comply with Article
       6 of the Treaty, that provision refers, for a lawful expropriation, to “effective and adequate
       compensation” that “shall amount to the market value of the investment expropriated
       immediately before the expropriatory action was taken or became public knowledge,
       whichever is the earlier.” Ostensibly, all Parties agree that such a market value, or fair
       market value (FMV), is the appropriate standard of compensation to be applied to both
       KOMSA’s and KNI’s claims for compensation against the Respondent (see the summaries
       of the Parties’ respective submissions above).


                                                246
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 263 of 622




9.193 In the circumstances of this case, for both KOMSA and KNI, that date for such valuation
           is 10 October 2010 immediately prior to the Expropriation Decree and the responsible
           Minister’s public statements (which are to be treated as one composite event) on the 11 of
           October 2010. The Parties have used the date of 30 September 2010. For the Tribunal, the
           difference is not material for the purpose of this Award. The date of 10 October 2010 or
           30 September 2010 (as used by the Parties) is the relevant date for assessing compensation
           due to KOMSA and KNI, without the benefit of hindsight based on subsequent factors.
           The Tribunal has taken cognisance of the unresolved debate in other arbitrations as to
           whether and, if so, to what extent, factors subsequent to unlawful expropriation (in its
           different forms) up to the date of the award may be relevant to the assessment of
           compensation, particularly the decisions in Quiborax v. Bolivia and Burlington v.
           Ecuador. 649 It need not enter that debate here, given the express terms of the Treaty as
           applied by the Parties.

9.194 In this case, it is unnecessary for the Tribunal to decide upon any difference between an
           unlawful expropriation in breach of Article 6 of the Treaty and an expropriation under
           Article 6 that would not be unlawful if the Contracting Party had made provisions “for
           effective and adequate compensation”. Whilst other tribunals have laboured in deciding
           this controversial question under international law and treaty wording, the Parties have here
           agreed that, whatever the correct answer may be, the relevant compensation to KOMSA
           and KNI should be based on the fair market value of the expropriated investment as at the
           relevant date absent, or “but for”, any violations of the Treaty by the Respondent (the
           “FMV standard”). Thus, the answer for unlawful expropriation is the same as for lawful
           expropriation, under Article 6 of the Treaty. Thus, here, compensation to KOMSA and to
           KNI should be based on the same FMV.

9.195 For their respective methodologies, as quantum experts, both Mr Giles (for the Claimants)
           and Dr Flores (for the Respondent) refer to a fair market value (FMV), as being the value




649
      Quiborax S.A. and Non Metallic Minerals S.A. v. Plurinational State of Bolivia, ICSID Case No. ARB/06/2, Award
      (16 September 2015) (RLA-157); Burlington Resources, Inc. v. Republic of Ecuador, ICSID ARB/08/5, Decision
      on Reconsideration and Award (7 February 2017).


                                                         247
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 264 of 622




           at which a willing buyer and a willing seller would exchange an asset in cash, acting at
           arms’ length in an open and unrestricted market when both have reasonable knowledge of
           the relevant facts.

9.196 Accordingly, this FMV standard, as thus formulated, is common ground between the
           Parties and their quantum experts as the methodology for compensation for this case. 650
           The Parties’ approach is consistent with decisions on quantum methodology, such as CMS
           v. Argentina and Occidental v. Ecuador. 651 In the circumstances, the Tribunal is content
           to adopt the Parties’ common approach for both KOMSA and (by a majority) KNI.

9.197 However, in calculating the FMV for KOMSA’s interest in FertiNitro, the Parties’ two
           expert witnesses, Mr Giles and Dr Flores, applied methodologies producing starkly
           different results, as to which the Tribunal has experienced reservations, as explained below.
           In calculating the FMV of KNI’s interest in the Offtake Agreement, the same two expert
           witnesses have also employed different assumptions, with Mr Giles calculating lost profits
           from 2010 onwards (essentially calculating Tampa/Nola resale prices less Offtake
           Agreement price less transportation costs); and with Dr Flores excluding the period before
           28 February 2012 (essentially calculating price differentials with the open Caribbean
           market).

            Issue (2): What Compensation is Payable to KOMSA in Respect of Its Expropriated
            Interest In Fertinitro?

9.198 In their respective FMV calculations, as summarised above, the Parties’ expert witnesses
           differ significantly, in particular, as to applicable discount rates and FertiNitro’s production
           and costs. The Tribunal refers to these experts’ points of disagreement in Table 2 above.

9.199 As to discount rates, Dr Flores and the Respondent advance a greater market risk rate,
           country risk rate, lambda, “BIT Risks” and liquidity adjustment. As to the FertiNitro
           Plant’s production and costs, Dr Flores and the Respondent invoke existing defects in the
           construction of the FertiNitro Plant, poor maintenance in the Plant’s early years of




650
      Second (November) Hearing D1.34; Third (June) Hearing, Slide 3.4 (Respondent).
651
      CMS v. Argentina (CLA-130), Paragraph 402; Occidental v. Ecuador (CLA-129).


                                                        248
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 265 of 622




           operation, excessive unplanned shutdowns of the Plant, high costs of maintenance owing
           to the Plant’s defective history and condition; problems with the supply of gas and
           electricity to the Plant; and Venezuela’s generally adverse economic situation.

9.200 The Respondent also accuses Mr Giles of cherry-picking data, in particular as to costs of
           natural gas, turnarounds, maintenance, capital expenditure and, as to production data, the
           exclusion of the years 2009 and 2010. The Respondent rejects Mr Giles’ reasonableness
           checks as to the MOU of October 2008, the construction costs of other plants elsewhere
           and the book value of FertiNitro.

9.201 As to discount rates, Mr Giles uses different inputs. As market risk, he uses an “adjusted”
           historical premium which, with other differences, results in a total discount rate of 10.1%,
           in contrast to Dr Flores’ rate of 20.4%. As regards figures for production and costs, Mr
           Giles used actual values but, where these were thought by him to be unreliable, budgeted
           figures (particularly for 2008, 2009 and 2010). Mr Giles was clearly troubled by the Plant’s
           historically high level of actual turnaround and maintenance costs.

9.202 As to sanity checks, Mr Giles used a book value for FertiNitro’s assets, calculating
           KOMSA’s 25% interest at US$ 168.1 million (but also recognising that a book value of
           assets alone does not value FertiNitro as a going concern). As to FertiNitro’s historical
           construction costs, these equated to US$ 273 million for KOMSA (at 2001 prices). As to
           the MOU valuations in 2008 for KOMSA’s 25% interest, Mr Giles adjusted these figures
           to exclude the impact of the Urea Decree and reversed the effect of FertiNitro’s new and
           increased taxes, arriving at a figure of US$ 360.8 million.

9.203 In the Tribunal’s view, there is no cogent evidence that any MOU price was actually
           “agreed” in 2007 or 2008 between Pequiven and KOMSA. The first offer came via an
           email message of 9 October 2007 from Mr Toro of Pequiven with a valuation of
           US$ 1.175 billion for 100% of the equity of FertiNitro, less the amount outstanding to its
           banks and bondholders (which he put at US$ 450,000, presumably US$ 450 million).652
           On 7 November 2007, KOMSA responded with its draft MOU and a valuation of US$1.210



652
      Email from F. Toro to B. Gwaltney and T. Parra re: FertiNitro Negotiations (9 October 2007) (C-90).


                                                         249
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 266 of 622




        billion less the debts to the banks and bondholders plus the excess cash in FertiNitro.653
        Discussions were halted between these parties in early 2008. However, Pequiven came
        back again in October 2008 with a revised draft MOU which provided for a payment of
        US$ 212.5 million to KOMSA for its share of FertiNitro’s equity. 654 Ultimately, no MOU
        or valuation was ever agreed or signed between KOMSA and Pequiven. Pequiven declared
        that the purchase of the private shareholders’ shares in FertiNitro was no longer a priority.
        However, Mr Parra (of KOMSA) testified in his witness statement (paragraph 69) that
        KOMSA’s representatives understood that there was “no real alternative but to accept
        Pequiven’s proposal.” 655 In these circumstances, the only figure equating to any “agreed’
        valuation was the sum of US$ 212.5 million proposed by Pequiven to KOMSA in October
        2008 (which maintained the Urea Decree and the various taxes). As indicated, however,
        this figure was never in fact agreed between KOMSA and Pequiven or the Respondent.

9.204 In these circumstances, the Tribunal attaches no weight to these incomplete negotiations in
        2007 and 2008 for the purpose of arriving at the appropriate FMV much later in
        September/October 2010.

9.205 More significantly, by the required valuation date of 10 October 2010 (or 30 September
        2010) under Article 6 of the Treaty, the FertiNitro Plant was not what it had been in 2007
        and 2008. It was in a distressed condition operated by a troubled company with a divided
        board of directors, within a deteriorating national economy. It was also badly run, poorly
        maintained, mismanaged and with costs “spiralling out of control” in the words of its board
        of directors on 5 August 2010. There were by now high inflation rates in Venezuela; and,
        with the devaluation of Venezuelan currency, its US$ denominated costs had increased
        significantly (albeit to an extent reducing local costs). There was also growing industrial
        and social unrest impacting adversely upon the operation of the FertiNitro Plant, as Mr
        Gwaltney testified. 656 The Tribunal does not therefore consider FetiNitro’s state on 10



653
    KOMSA Draft Memorandum of Understanding (non-dated) (C-92). This draft had earlier been presented by Messrs
    Parra and Gwaltney (for KOMSA) to Messrs Toro and Lazo (of Pequiven) at a meeting on 7 November 2007 (see
    Gwaltney WS1, Paragraph 112).
654
    Pequiven Draft Memorandum of Understanding (non-dated) (C-93).
655
    See Cls. Mem., Paragraphs 144-152.
656
    Gwaltney WS1, Paragraphs 60ff.


                                                     250
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 267 of 622




           October 2010 to be comparable to its earlier state in 2007-2008, thereby making earlier
           data materially irrelevant, including historical construction costs, higher production levels
           and (as already decided above) the 2007 or 2008 draft MOU valuations.

9.206 In the circumstances, the Tribunal does not consider that either expert witness, for all their
           obvious professional skill and industry, has succeeded in establishing a reliable fair market
           value of KOMSA’s interest in FertiNitro. Overall, the experts’ differences can be mostly
           attributed to wide-ranging disagreements as to the relevance and scope of factual inferences
           and factual assumptions. The Tribunal has summarised their approach at length above,
           from which it can be seen that each severely criticises the other’s analysis and conclusions.
           Whilst insufficient to establish on firm ground their own approach, parts of that criticism
           suffice to destroy the Tribunal’s confidence in the other’s approach as an expert witness on
           quantum. It is as if two boxers in the ring knocked each other out simultaneously, with
           neither winning the contest.

9.207 The Tribunal therefore turns to the two Advantis reports, particularly its second report of
           July 2011, which contains two scenarios. The first scenario appears to be a mere revision
           of the first report of May 2011, as no explanation is given for the figure of US$ 113 million
           as the value of KOMSA’s 25% interest in FertiNitro. 657 Using a DCF methodology to
           arrive at a FMV and taking into account several factors not considered in the first report
           this “second scenario” valued KOMSA’s 25% interest in FertiNitro at US$ 140.25 million
           (being 25% of a total value of US$ 561 million) as at September 2010, based only upon
           data available up to 2010. Neither KOMSA nor the Respondent accept any of Advantis’
           valuations; but the Parties and the Parties’ quantum expert witnesses (Mr Giles and Dr
           Flores) referred to the Advantis reports on numerous occasions for different purposes.

9.208 The Advantis reports take the form of Power Point presentations, prepared in the Spanish
           language. Although in part laconic, possibly incomplete and with their authors not made
           available to the Tribunal as witnesses in this arbitration, the Tribunal considers that these




657
      First Advantis Report (R-86).


                                                   251
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 268 of 622




         reports suffice well for present purposes, particularly the “second scenario” in the second
         report.

9.209 In its first report of May 2011, Advantis valued KOMSA’s interest as US$ 30-48.5 million
         if the Urea Decree continued (on different scenarios), and as US$ 99.5 million if it ceased
         at the end of 2012. 658

9.210 In its second report of July 2011, Advantis valued KOMSA’s interest on two further
         scenarios. Under a first scenario, calculated on a base value of US$ 452 million, Advantis
         valued that interest at US$ 113 million. 659 Under the second scenario, Advantis calculated
         a base value for FertiNitro of US$ 561 million, adjusted from the base value of US$ 452
         million to take account of six factors, including higher prices for ammonia and urea (some
         of these other factors increasing and some decreasing the value of Fertinitro, resulting in a
         net increase of US$ 109 million). This second scenario in Advantis’ second report valued
         KOMSA’s interest in FertiNitro as US$ 140.25 million, being 25% of US$ 561 million.660

9.211 These six factors were: adjusted prices for ammonia and urea as set out in a separate
         appendix for 2011 to 2016 (+ US$ 125 m); 10% as discounts for new investments as set
         out in a separate appendix for 2011 to 2016 (+ US$ 4m); tax credits reducing the effective
         income tax rate for 2007-2010 as set out in a separate appendix (+ US$ 35m); increased
         depreciation (+ US$ 59m); adjusted exchange rates for PDVSA’s and Pequiven’s debts as
         set out in a separate appendix (- US$ 41m); and adjusted inflation rates for income tax (-
         US$ 68m). The Tribunal accepts these adjustments.

9.212 The first Advantis report was discussed with FertiNitro’s foreign shareholders. It was
         received and studied by KOMSA at the time. Mr Gwaltney (for KOMSA) testified that
         both Advantis Reports were provided to KOMSA by Pequiven and that the second report
         followed his letter to Pequiven expressing criticisms of the first report. 661 It does not appear




658
    First Advantis Report (R-86), pages 9 and 19, calculated on a base value of FertiNitro of US$ 398 million.
659
    Second Advantis Report (C-157) (English version), page 2.
660
    Second Advantis Report (C-157) (English version), page 4.
661
    Second Witness Statement of Brent W. Gwaltney (20 August 2013), Paragraph 40.


                                                        252
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 269 of 622




           from the evidence available to the Tribunal that KOMSA discussed the second report with
           Pequiven or Advantis at the time.

9.213 The Tribunal has considered the different comments on the Advantis Reports made by the
           Parties and their respective experts, Mr Giles and Dr Flores.

9.214 By reference to the two Advantis’ reports, Dr Flores valued KOMSA’s interest as
           US$ 34.6 million if the Urea Decree continued, and at US$ 64.3 million if it ended in 2012.
           As also submitted by the Respondent at the Third (June) Hearing:

             “[…] the Advantis report is a better sanity check than the MoU prices, simply due to
             the fact that it contains a valuation as of September 2010, which is the same time that
             we are looking at for FertiNitro today and under the BIT. The Advantis valuations,
             both of them – the first one in May 2011 and the second one in July 2011 – both
             support that Dr Flores’s [sic] valuation of $34.6 million is a lot more reasonable
             than Mr Giles’s valuation of $361 million. Here we are speaking about the 25% share
             of KOMSA in FertiNitro.” 662;
             and later
             “Advantis only discussed the discount rate in the May 2011 valuation, not in the July
             2011 valuation. However, since both of them refer to the value of FertiNitro as of
             September 2010, it is reasonable to assume that Advantis used the same discount rate
             in both of those reports. Advantis calculated the equity and market risk premium as
             the average of the return on the S&P 500 over the risk-free rate in the previous ten
             years. This is not a common estimation method. And when discussing, when thinking
             about Advantis’s [sic] equity risk premium, it is important to understand that in
             carrying out their calculation, Advantis uses a higher beta and a higher risk-free
             rate, so overall that has an effect on its utility as a point of comparison. But it is more
             meaningful to compare overall discount rates with those of Mr Giles and Dr Flores
             than it is to look at any of the single components in isolation, as the Claimants have
             done. You need to look at it as a whole to figure out whether it is reasonable, rather
             than cherry-picking individual points from the Advantis report to try and make your
             position.” 663

9.215 In contrast, Mr Giles (inter alia) valued KOMSA’s interest at US$ 361 million, with a
           separate impact from the Urea Decree calculated as US$ 22.4 million. In its submissions,




662
      Third (June) Hearing D2.8 (Ms Teveni).
663
      Third (June) Hearing D1.280ff (Mr Ryan).


                                                     253
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 270 of 622




           KOMSA compared Dr Flores’ calculations unfavourably with those made by Advantis, as
           to market risk premium (3.5% v. 6.7%), generic country risk premium (7.6% v. 11.26%),
           and the FertiNitro Plant’s daily production of ammonia (96% vs 91.3% of nameplate); and
           production of urea (98% v. 90.8% of nameplate). KOMSA finds support in the Advantis
           reports for Mr Giles’ approach; but it rejects the Advantis reports as a ‘sanity check’.
           However, as eventually submitted by KOMSA at the Third (June) Hearing: 664

             “The Advantis report [of July 2011] is not really usable as a sanity check. Advantis
             was retained by Venezuela -- it wasn’t retained jointly, it wasn’t retained as an
             independent consultant -- and therefore its work is not indicative of fair market value.
             […] There are some interesting features in Advantis that I think bear looking at. The
             market risk premium that Advantis uses is significantly lower than Dr Flores, and
             closer to Mr Giles. The generic risk premium, while being higher than Mr Giles’s
             [sic] premium at 6%, is still materially lower and further away from Dr Flores. The
             production levels here are quite high, much higher than Dr Flores: 96% nameplate
             for Advantis, and 91.3% for Dr Flores, that’s for ammonia; and 98% on urea, 91%
             for Dr Flores. This is quite telling because Advantis was retained by Venezuela to do
             a valuation, and on many of these important criteria they have chosen values that are
             much closer to Mr Giles’s [sic] independent valuation than they are to Dr Flores’s
             [sic]. So I think that does bear looking at […]”.

9.216 The Tribunal considers that it is inappropriate to cherry-pick different parts of the Advantis
           Reports and thereby seek to adjust, one way or another, the several factors invoked by Mr
           Giles and Dr Flores. This exercise would be difficult, if not impossible for the Tribunal,
           as indeed each expert was criticised for doing so by the opposing Party. Moreover, it would
           constitute, inevitably, a subjective and self-serving exercise. In the Tribunal’s view, the
           Advantis reports must be accepted as they stand, with the Tribunal preferring to accept, as
           a whole, the second scenario in the second Advantis report read with the remainder of the
           Advantis reports. At the very least, it is fair to conclude that Pequiven would not have
           submitted to the other shareholders the second Advantis report if it did not consider that it
           was proposing a fair market value for FertiNitro. 665 Moreover, it is worth noting, as stated




664
      Third (June) Hearing, D1.236-237 (Mr Beckett),
665
      First (September) Hearing D3.86-87 (Barrientos).


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 271 of 622




        by Mr Barrientos in his oral testimony, that “two of the shareholders accepted that valuation
        and these were the shareholders with which we were able to reach a friendly settlement.”666

9.217 The Tribunal can state shortly the result of its analysis of the Parties’ respective
        submissions, together with the expert testimony of their respective witnesses, Mr Giles and
        Dr Flores. Both generally (as already indicated above) and ostensibly based on the
        Advantis Reports, the Tribunal can place no reliance in such divergent testimony and
        submissions, each producing such extreme and incompatible results based on materially
        different data, inferences and assumptions. In brief, the Tribunal regards Dr Flores’
        valuation as far too low; but it also regards Mr Giles’ valuation as too high. It has also
        experienced difficulties in adopting at face value either expert’s methodologies when, with
        only slight factual variations between them, the end-result can be skewed so radically one
        way or the other.

9.218 The Tribunal therefore returns to the second scenario in Advantis’ second report of July
        2011, as a contemporary, independent professional valuation (albeit by valuation experts
        retained by Pequiven, in the absence of an agreement with the other shareholders on a joint
        appointment of a valuator) calculated as at the relevant date without material hindsight. In
        the Tribunal’s view, this second report’s second scenario provides the best available answer
        to the issue under consideration under Article 6 of the Treaty, namely the (fair) market
        value of KOMSA’s interest in FertiNitro immediately before its unlawful expropriation by
        the Respondent on 11 October 2010.

9.219 At the Third (June) Hearing, the Tribunal did request the Parties for the software versions
        of their experts’ calculations, in the form of an agreed interactive matrix, so as to attempt
        to make its own inputs and test differing results. 667 To the Tribunal’s regret, by joint email
        messages dated 12 July 2016 the Parties declined this request as impracticable. 668 In




666
    First (September) Hearing D3.87 (Barrientos).
667
    Third (June) Hearing D2.110-111.
668
    See the Parties’ respective email messages dated 12 July 2016 (“The parties are in agreement that preparing the
    requested table at a level of detail useful to the Tribunal would be a highly complicated, time consuming, and
    costly endeavor.”).


                                                       255
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 272 of 622




       particular, it has made it impossible for the Tribunal to test the experts’ respective
       conclusions based on different factual assumptions.

9.220 As to sanity checks, the Tribunal acknowledges that its FMV approach based on this second
       scenario leads to a significant reduction in KOMSA’s claim and Mr Giles’ valuation.
       Conversely, it represents a very significant increase from Dr Flores’ valuation (US$
       34.6m). The Tribunal has considered other reality checks invoked by the Parties; but it
       considers none materially helpful. In particular, whilst Mr Giles’ book value of US$ 168.1
       million might broadly support the Tribunal’s approach, the Tribunal recognises that such a
       book value cannot correspond to the FMV of a going concern. Similarly, the Tribunal
       accepts the Respondent’s criticisms of Mr Giles’ other reality checks, including
       construction costs elsewhere.

9.221 Accordingly, in accordance with Article 6 of the Treaty the Tribunal assesses, as best it can
       on the available materials, that the fair market value of KOMSA’s 25% expropriated
       interest in FertiNitro as at 10 October 2010 (or 30 September 2010) was US$ 140.25
       million.

        Issue (3): What, If Any, Compensation is Payable to KNI In Respect of Its Expropriated
        Interest in The Offtake Agreement?

9.222 It is necessary to recall the basis on which this question arises. First, the Tribunal (by a
       majority) has found the Respondent liable under Article 6 of the Treaty for the unlawful
       indirect expropriation of KNI’s interest in the Offtake Agreement, as claimed by KNI.
       KNI’s claim is a claim advanced exclusively under the Treaty, under the Treaty’s provision
       for ICSID arbitration. It is not advanced as a contractual claim under KNI’s Offtake
       Agreement with FertiNitro. The Respondent is not a party to the Offtake Agreement. The
       Tribunal has no jurisdiction in regard to any contractual claim by KNI against FertiNitro
       under the Offtake Agreement by itself. Indeed the Offtake Agreement contains its own
       provisions for commercial arbitration and municipal (not international) law. Second, the
       issue of liability under Article 6 is legally distinct from the issue of compensation for such
       liability. Whilst the former derives from the latter, the issue of compensation is, of course,
       materially different under the Treaty. Third, the Parties and their respective experts were
       agreed that KNI’s loss was to be assessed by reference to the FMV of its interest in the


                                                256
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 273 of 622




       Offtake Agreement as at the relevant date required under the Treaty, namely 30 September
       2010 (or 10 October 2010). None advocated for a contractual measure of damages; and,
       significantly, Dr Flores’ did not arrive at a figure of zero compensation. Last but not least,
       as a matter of procedural fairness to all Parties, it is necessary to limit the issues decided in
       this Award to those raised by the Parties based on the legal submissions and evidential
       materials made and adduced by them in this arbitration.

9.223 One major issue between the Parties relates to the exclusion or inclusion of KNI’s
       purchases from the FertiNitro Plant during the period from 11 October 2010 to 28 February
       2012. The other major differences are the Parties’ different assumptions regarding markets
       prices, sales volumes from production from the FertiNitro Plant, discount rates and the
       relevant cut-off date for ex-post factors.      The Tribunal refers to the Parties’ expert
       witnesses’ points of disagreement in Table 3 above. Their resulting differences are stark:
       Mr Giles estimating KNI’s compensation as US$ 206.5 million; and Dr Flores as US$ 56.2
       million.

9.224 At the outset, the Tribunal notes that Mr Giles’ expert testimony, as regards factual and
       market assumptions, was significantly supported by the testimony of Mr Sorlie. Mr Sorlie
       was an impressive witness; and the Tribunal found him reliable, both in his written
       statement and as an oral witness. There was no equivalent rebuttal factual witness called
       by the Respondent. Accordingly, whilst Mr Giles’ expert testimony was here supported
       by the factual evidence, the same cannot be said as regards the expert testimony of Dr
       Flores.

9.225 As to the issue of the period from October 2010 to February 2012, the Tribunal has found
       in favour of KNI’s case, as decided in Part VII above, in regard to liability. As to the cut-
       off date for factual assumptions, the Tribunal likewise decides against the Respondent’s
       use of factors occurring after 10 October (or 30 September) 2010 derived only with the
       benefit of hindsight, particularly in regard to recent developments of shale gas production
       in the USA, the increased supply of ammonia and urea in the world market and differential
       shipping costs. These are ex-post factors irrelevant to assessing compensation at the
       relevant date required under the Treaty (30 September or 10 October 2010).




                                                 257
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 274 of 622




9.226 In the Tribunal’s view, KNI’s purchases during the period from 11 October 2010 to 28
           February 2012 operated to reduce KNI’s loss assessed at the relevant date. It was highly
           improbable, if not actually impossible, for the FertiNitro Plant to deliver to KNI during this
           period both those purchases and the offtake to which KNI was entitled under the Offtake
           Agreement, in addition to its other local commitments. The FertiNitro Plant did not have
           that spare reliable capacity for ammonia and urea. In these circumstances, whilst those
           purchases did not take the place of such offtakes, they nonetheless operated as a reasonable
           form of mitigation so as to reduce KNI’s loss resulting from its expropriated interest in the
           Offtake Agreement. The Tribunal estimates the value of this factor at US$ 21.7 million,
           based on Mr Giles’ testimony at the Second (November) Hearing. 669 Accordingly, in the
           Tribunal’s view, KNI’s claim must be reduced by US$ 21.7 million.

9.227 As to other major issues, the majority of the Tribunal considers that KNI and Mr Giles are
           correct in identifying the principal replacement supply as US Gulf at US Gulf prices
           (NOLA for urea and Tampa for ammonia) in a liquid market, rather than a mid-Caribbean
           market at mid-Caribbean prices in a very limited market. Hence, the majority of the
           Tribunal finds, there was no replacement supply available to KNI at prices comparable to
           the Offtake Agreement for KNI.

9.228 In particular, the majority of the Tribunal accepts the factual testimony of Mr Sorlie, upon
           which Mr Giles based his expert evidence. It merits citing at some length. In his second
           witness statement, Mr Sorlie testified:

             “12. […] KNI is a committed offtaker from three ammonia production plants in
             Trinidad and Tobago. Even when KNI was purchasing FertiNitro tons its North
             American demand for products exceeded its Caribbean supply volumes. As such,
             KNI always sought and continues to seek to purchase any profitable nitrogen
             fertilizer that becomes available on a FOB basis in the Caribbean. However, because
             of the long-term offtake arrangements described above and the fact that Trinidad and
             Tobago exporters already have established customer networks, very few Caribbean
             tons have been available over the years for purchase by KNI.




669
      Second (November) Hearing, Tim Giles’ presentation, Slide 24.


                                                        258
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 275 of 622




              13. Since 2006, KNI has been able to purchase only a small amount of Caribbean
              sourced tons outside of its long term offtake arrangements. The primary example was
              KNI's ability, between 2006 and 2010, to purchase a total of 211,000 metric tons of
              ammonia from one Trinidad and Tobago plant partially owned by Terra Industries.
              This volume equates to approximately 1% of the total Trinidad and Tobago ammonia
              production during this period. In 2010 CF Industries acquired Terra Industries. This
              resulted in almost all of the excess ammonia volumes from that plant being
              transported to the US by CF Industries for use as raw materials in its North American
              business or for sale to CF customers. As a result, since 2011 KNI has only been able
              to purchase 3,500 metric tons of ammonia which equates to approximately 0.1% of
              the total Trinidad and Tobago ammonia production.
              14. For the aforementioned reasons, it is incorrect for Dr. Flores to assume that KNI
              can replace lost FertiNitro offtake volumes by purchasing other products on an FOB
              basis in the Caribbean. Instead KNI's alternative is to purchase ammonia and urea
              at prices equivalent to NOLA and Tampa prices.” 670

9.229 At the First (September) Hearing, Mr Sorlie was cross-examined by the Respondent, inter
           alia, as follows:

              “Q. […] Am I correct [in] assuming that KNI has continued supplying the US
              customers that it originally supplied with under the Offtake Agreement?
              A. Like I have said previous(ly), we continued to make sales in the United States
              because we have a very competitive break bulk distribution business that is a
              profitable business, and so we're going to continue to make those sales with or
              without the FertiNitro offtake, and without the FertiNitro offtake we have to source
              those tonnes from other origins to supply that market, to supply that short we have.
              Q. So you are saying that you have been able to replace the amounts that you were,
              in the past, obtaining under the Offtake Agreement, by product from other sources?
              A. Yes, at a NOLA and Tampa price structure.
              Q. So you're saying you're now purchasing those same products on the NOLA and
              Tampa prices?
              A. Since we do not have the FertiNitro offtake, we have had to go into the market
              and we have to buy those tonnes in, and we are doing that at a NOLA and a Tampa
              price equivalent.” 671




670
      Sorlie WS2, Paragraphs 12-14.
671
      First (September) Hearing D2.168ff (Sorlie).


                                                     259
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 276 of 622




9.230 The Respondent did not accept Mr Sorlie’s evidence; but it adduced no cogent factual
        evidence of its own. As already indicated, the Tribunal accepts Mr Sorlie’s testimony, to
        the effect that whatever alternative supplies were available to KNI to replace offtake under
        the Offtake Agreement, these were at NOLA and Tampa prices or equivalent.

9.231 Mr Giles and Dr Flores appear to have valued this particular factor as US$ 92.2 million.672
        In the Tribunal’s view, given its findings above, KNI’s claim does not require any
        reduction for this factor.

9.232 As to assumed freight costs, the Tribunal accepts KNI’s case based on Mr Giles’ sample
        of actual freight costs from José, Venezuela to the US Gulf. Albeit limited to shipping
        invoices in 2009/2010, it remains the best evidence of such estimated freight costs as
        confirmed by Mr Sorlie’s testimony. 673

9.233 As to lambda and discount rates, the Tribunal accepts Mr Giles’ expert evidence that lamda
        should be reduced because FertiNitro’s exposure to country risk was lessened by the access
        to its own dock facilities for offtakes to be exported to KNI under the Offtake Agreement.
        In these circumstances, the Tribunal adopts Mr Giles’ lambda as 0.40 (towards its upper
        limit) for FertiNitro and not Dr Flores’ factor of 1.0. As to the discount rate, namely the
        amount by which KNI’s lost future cash flows must be discounted to arrive at their value
        at the relevant date, the Tribunal adopts the approach taken by Mr Giles. For these issues,
        it appears that the total difference between Mr Giles and Dr Flores amounts to US$ 36.4
        million.674 In addition, Dr Flores reduces Mr Giles’ valuation by US$ 2 million owing to
        differences between the two experts regarding production volumes. In the Tribunal’s view,
        KNI’s claim does not require any reductions for these factors invoked by Dr Flores.

9.234 As to the Urea Decree and Urea Resolution, the Tribunal adopts the approach of Advantis
        in assuming, as at September 2010, that these urea regulations would not have continued.
        Mr Giles’ approach did not take into account for the calculation of KNI’s compensation



672
    Second (November) Hearing; Tim Giles’ presentation, Slide 24.
673
    Sorlie WS2, Paragraph 23.
674
    Second (November) Hearing D6. Tim Giles’ presentation, Slide 24.



                                                      260
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 277 of 622




       the effect of the urea regulations after 28 February 2012 (in contrast to his separate
       assessment of compensation for “Historical Losses”). Dr Flores assumed that the urea
       regulations would continue beyond 28 February 2012. In the Tribunal’s view, with the
       assumption reasonably made by Advantis for September 2010, KNI’s claim (as calculated
       by Mr Giles) does not require any reduction for the effect of the Urea Decree and Urea
       Resolution.

9.235 The resulting arithmetic is relatively straightforward by reference to the figures listed
       above. Allocating the difference of US$ 150.3 million between the competing valuations
       of Mr Giles and Dr Flores, the Tribunal decides as follows: it rejects Dr Flores’ reductions
       of US$ 92.2 million (regarding mid-Carribean pricing) and US$ 36.4 million (regarding
       lambda and discount rate assumptions); and it rejects Dr Flores’ further reduction of US$
       2 million (regarding production assumptions), the whole totalling US$ 128.6 million.
       Conversely, the Tribunal reduces the claim by US$ 21.7 million (regarding product
       delivered to KNI during the period from 10 October 2010 and 28 February 2012), as
       explained in paragraph 9.226 above.

9.236 Accordingly, doing the best it can on the available materials, the Tribunal (by a majority)
       assesses under Article 6 of the Treaty, the fair market value of KNI’s expropriated interest
       in the Offtake Agreement as at 10 October 2010 (or 30 September 2010) was US$ 184.8
       million (i.e. US$ 206.5 million less US$ 21.7 million).

9.237 Decisions: For these reasons, the Tribunal decides under Article 6 of the Treaty: (i)
       KOMSA’s compensation in the total principal sum of US$ 140.25 million; and (ii), by a
       majority, KNI’s compensation in the total principal sum of US$ 184.8 million, both
       assessed as at 10 October 2010 (or, being materially the same, 30 September 2010).




                                               261
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 278 of 622




                          PART X: SUMMARY AND CONCLUSIONS



10.1   The Tribunal summarises below its several conclusions reached in the earlier parts of this
       Award.

10.2   Jurisdiction: The Tribunal rejects the Respondent’s jurisdictional objection to KNI’s claim
       in respect of its interest in the Offtake Agreement, as concluded in Part VI above. The
       Tribunal confirms its jurisdiction to decide all claims advanced by the Claimants against
       the Respondent in this arbitration, under the Treaty and the ICSID Convention.

10.3   Liability: The Tribunal finds the Respondent liable to KOMSA for the unlawful
       expropriation of its indirect interest in FertiNitro under Article 6 of the Treaty, as concluded
       in Part VII above. The Tribunal (by a majority) finds the Respondent liable to KNI for the
       unlawful expropriation of its interest in the Offtake Agreement, as also concluded in Part
       VII above.

10.4   The Tribunal dismisses KOMSA’s non-expropriation claims advanced as “Historical
       Losses” under Articles 4 and 11 of the Treaty, as concluded in Part VIII above.

10.5   Compensation: The Tribunal decides KOMSA’s compensation in the total principal sum
       of US$ 140.25 million under the Treaty, as concluded in Part IX above. The Tribunal (by
       a majority) decides KNI’s compensation in the total principal sum of US$ 184.8 million,
       as also concluded in Part IX above.

10.6   Principal Issues: The Tribunal has used the lists of principal issues set out in Part III above
       as a checklist, where applicable, for its several conclusions and decisions. Save as
       summarised above, the Tribunal does not think it necessary to set out here its approach to
       each of these principal issues seriatim.




                                                  262
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 279 of 622




                                    PART XI: INTEREST AND COSTS



           Introduction
11.1       As to interest, the Parties completed their respective submissions on interest issues by joint
           email messages dated 26 July 2016. The principal issue relates to whether simple or
           compound interest should be ordered by the Tribunal on the principal sums for which the
           Respondent is liable to pay to the Claimants. The lesser issue relates to the use of 3-month
           Libor (as the Claimants contend) or the use of three-month Libor or 6-month US Treasury
           bills (as the Respondent contends).

11.2       For the purpose of deciding costs in this Award, in addition to the Parties’ written
           submissions of 13 February 2015, the Tribunal has also taken into account the Parties’
           subsequent submissions dated 8 and 12 July 2016 as regards the allocation and assessment
           of costs updated to 12 July 2016.

           Interest
11.3       The Claimants’ Case: In summary, 675 the Claimants contend that they are entitled to pre-
           award and post-award compound interest on compensation ordered by the Tribunal. They
           make three principal submissions in support of their case.

11.4       First, the Claimants contend that the Treaty confirms that compound interest is payable by
           the Respondent. Article 6 of the BIT requires that compensation be paid in the case of
           expropriation including interest at a normal commercial rate. That normal commercial
           rate, so the Claimants contend, must include an element of compounding. That approach
           is consistent with the tribunal’s decision in the Venezuela Holdings v. Venezuela 676 case:
           “[A] normal commercial rate generally includes compounding of interest […] [T]here is a




675
      Cls. PHB, Paragraphs 296-310.
676
      Venezuela Holdings, B.V. and others v. Bolivarian Republic of Venezuela, ICSID Case No. ARB/07/27, Award (9
      October 2014) (RLA-153), Paragraph 399.


                                                       263
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 280 of 622




        growing tendency of international tribunals to award such interest in order to ensure full
        compensation of the damage.” 677

11.5    Second, the Claimants submit that ICSID’s ‘jurisprudence constante’ confirms that
        compound interest is payable by the Respondent. In that regard, the Claimants point to the
        decision in Gemplus SA v. United Mexican States: 678

           “[I]t is clear from the legal materials cited by the Claimants […] that the current
           practice of international tribunals (including ICSID) is to award compound and not
           simple interest. In the Tribunal’s opinion, there is now a form of ‘jurisprudence
           constante’ where the presumption has shifted from the position a decade or so ago
           with the result [that] it would now be more appropriate to order compound interest,
           unless shown to be inappropriate in favour of simple interest, rather than vice-
           versa.” 679

11.6    Third, the Claimants point to scholarly commentaries confirming that compound interest
        is payable in current circumstances. 680

11.7    As to rate, the Claimants propose a Libor 3-month US Dollar rate plus 2% compounded on
        a quarterly basis.

11.8    The Respondent’s Case: In summary, 681 the Respondent contends that simple interest and
        not compound interest is appropriate. It submits that Article 6 of the Treaty does not permit
        the award of compound interest, unless (which is not the present case) a claimant can prove



677
    See also Occidental Petroleum Corporation and Occidental Exploration and Production Company v. The Republic
    of Ecuador, ICSID Case No. ARB/06/11, Award (5 October 2012) (CLA-129) (“Occidental v. Ecuador”),
    Paragraph 844.
678
    Gemplus S.A., SLP, S.A. and Gemplus Industrial, S.A. de C.V. v. United Mexican States, ICSID Cases Nos.
    ARB(AF)/04/3 and ARB(AF)/04/4, Award (16 June 2010) (CLA-54), Paragraphs 16-26.
679
    See also Joseph Charles Lemire v. Ukraine, ICSID Case No ARB/06/18, Award (28 March 2011) at Paragraphs
    360-361; El Paso Energy International Company v. The Argentine Republic, ICSID Case No. ARB/03/15, Award
    (31 October 2011) (CLA-52), Paragraphs 743-745; Occidental v. Ecuador (CLA129), Paragraph 848; Gold
    Reserve Inc. v. Bolivarian Republic of Venezuela, ICSID Case No. ARB(AF)/09/1, Award (22 September 2014)
    (CLA-156), Paragraph 854.
680
     Particularly, S Ripinsky and K Williams, Damages in International Investment Law (British Institute of
    International and Comparative Law, 2008) (“Ripinsky – Damages”) (CLA-134), page 387.
681
    Resp. PHB, Paragraphs 271-273; Resp. Rej., Paragraphs 518-524 (citing i.e. Southern Pacific Properties (Middle
    East) Ltd. v. Arab Republic of Egypt, ICSID Case No. ARB/84/3, Award (20 May 1992) (CLA-12), Paragraph
    222; Autopista Concesionada de Venezuela, C.A. v. Bolivarian Republic of Venezuela, ICSID Case No. ARB/00/5,
    Award (23 September 2003) (RLA-60), Paragraphs 366-397; Desert Line Projects LLC v. The Republic of Yemen,
    ICSID Case No. ARB/05/17, Award (6 February 2008) (RLA-79), Paragraphs 292-298.


                                                      264
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 281 of 622




        that it has actually suffered compound interest as damages. In the event that the Tribunal
        decided to award compound interest, the Respondent submits that the compounding should
        be annual and not quarterly (as the Claimants request) or monthly (as Mr Giles proposes).

11.9    As to rate, the Respondent submits that a risk-free rate is appropriate, such as six-month
        US Treasury bills. The Claimants’ proposal to calculate interest based on the LIBOR three-
        month U.S. dollar rate plus 2% is inappropriate for calculating interest in an investor-State
        dispute. The function of pre-award interest is to compensate a claimant for the time value
        of money and the lost opportunity to invest money. However, in contrast to contractual
        business obligations, there is no commercial risk involved in a monetary award in investor-
        State arbitration under the ICSID Convention. 682

11.10 The Tribunal’s Decision: The Tribunal decides to award compound and not simple interest.
        In its view, the reference in Article 6 of the Treaty to “interest” includes compound interest.
        The wording clearly does not exclude it. Indeed, in modern times, it would be ‘abnormal’
        for interest to be limited to simple interest. In the absence of contrary wording in a BIT,
        the general approach to interest was confirmed long ago by the decision in Santa Elena v.
        Costa Rica: 683

          “In particular, where an owner of property has at some earlier time lost the value of
          his asset but has not received the monetary equivalent that then became due to him,
          the amount of compensation should reflect, at least in part, the additional sum that
          his money would have earned, had it, and the income generated by it, been reinvested
          each year at generally prevailing rates of interest. It is not the purpose of compound
          interest to attribute blame to, or to punish, anybody for the delay in the payment made
          to the expropriated owned; it is a mechanism to ensure that the compensation
          awarded the claimant is appropriate in the circumstances…”.




682
    Resp. Rej., Paragraphs 525-529 (citing BG Group Plc. v. Republic of Argentina UNCITRAL, Final Award (24
    December 2007) (CLA-37), Paragraph 455; Siemens A.G. v. Argentine Republic, ICSID Case No. ARB/02/8,
    Award (6 February 2007) (CLA-15), Paragraph 396; LG&E Energy Corp., LG&E Capital Corp. and LG&E
    International Inc. v. Argentine Republic, ICSID Case No. ARB/02/1, Decision on Liability (3 October 2006)
    (RLA-123), Paragraph 102.
683
    Compañía del Desarrollo de Santa Elena S.A. v. Republic of Costa Rica, ICSID Case No. ARB/96/1, Award (17
    February 2000) (CLA-136), Paragraphs 103ff.


                                                    265
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 282 of 622




11.11 It would be possible to add references to many other decisions to such effect, in addition
           to doctrinal writings over many years. It is unnecessary to do so here. 684

11.12 As to rate, the Tribunal considers US$ Libor as a more international commercial rate than
           the rate for US Treasury bills. It is also more often used in both investor-State and
           commercial arbitrations. The Tribunal selects as the appropriate rate in this case US$ 6-
           month Libor plus 2%, compounded with 6-month rests, for both pre-award and post-award
           interest. As to the uplift, this does not reflect the presence or absence of commercial risk,
           but rather the fact that Libor is calculated for use between financial institutions for
           relatively short terms – neither of which is applicable here.

11.13 As to the former’s starting date, the Tribunal fixes upon 11 October 2010, being the date
           of expropriation, under Article 6.

11.14 In conclusion, the Tribunal decides to order pre-award interest from 11 October 2010 to
           the date of this Award on the principal sums payable to the Claimants respectively,
           calculated at US$ 6-month Libor plus 2%, compounded with 6-month rests. As to post-
           award interest from the date of this Award until payment to the Claimants respectively, the
           Tribunal decides to order on the said principal sums (together with pre-award interest)
           interest calculated at US$ 6-month Libor plus 2%, compounded with 6-month rests.

           Costs
11.15 Both the Claimants and the Respondent request an order of costs in respect of both the fees
           and expenses they incurred (“Legal Costs”) and the costs, fees and expenses of the Tribunal
           and ICSID in connection with this arbitration for which the Parties are jointly and severally
           liable (“Arbitration Costs”).




684
      For example, as to doctrinal writings, see F. A. Mann, Further Studies in International Law - Compound Interest
      as an Item of Damage (1990) (CLA-60), page 385;21:3 U.C. Davis Law Review 577 at 586; N. Affolder,
      “Awarding Compound Interest in International Arbitration”(2001), 12 Am Rev Int’l Arb 45 at 92; JY Gotanda,
      Compound Interest In International Disputes (2003) Law and Policy in International Business (CLA-61), page
      393; J.M. Colón & M.S. Knoll, “Prejudgment Interest in International Arbitration”, (2007) 4:6 TDM 1 at 7;
      Ripinsky - Damages (CLA-134), page 387; I. Marboe, Calculation of Compensation and Damages in International
      Investment Law, Oxford University Press, (2009) (CLA-137), Paragraphs 6.102, 6.103 & 6.300; and Dolzer &
      Schreuer, Principles of International Investment Law (2nd ed; 2012), p. 298.


                                                         266
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 283 of 622




11.16 Legal Costs: As to their own Legal Costs, the Claimant’s fees and expenses amount to US$
           23,248,113.56. As to Arbitration Costs, the Claimant has advanced US$ 650,000.00 to
           ICSID (as well as a lodging fee of US$ 25,000) of which US$ 628,836.435 has been spent
           towards ICSID’s administrative fees and expenses, and the fees and expenses of the
           Tribunal. 685

11.17 As to its own Legal Costs, the Respondent’s fees and expenses amount to US$
           11,039,280.39. As to Arbitration Costs, it has advanced US$ 650,000.00 to ICSID of
           which US$ 628,836.435 has been spent towards ICSID’s administrative fees and expenses,
           and the fees and expenses of the Tribunal. 686

11.18 Schedules: The Claimants and the Respondent divided their respective Legal Costs into the
           following categories:

           (i)    The Claimants’ updated statement of costs:

                    a. Fees and expenses of their lawyers
                        Item                                                  Amounts (US$)
                        Fees and expenses of their lawyers (paid)              17, 455,259.46
                        Fees and expenses of their lawyers (invoiced             1,063,346.50
                        but unpaid)
                                                               Subtotal        18,518,605.96


                    b. Fees and expenses of their expert witnesses
                        Item                                                  Amounts (US$)
                        Fees and expenses of their experts (paid)               2,432,898.36
                        Fees and expenses of their experts (invoiced              173,095.73
                        but unpaid)
                                                               Subtotal         2,605,994.08


                    c. Expenses of their witnesses
                        Item                                                  Amounts (US$)
                        Expenses of their witnesses (paid)                       425,117.84



685
      Claimants’ Corrected Updated Statement of Costs (12 July 2016).
686
      Respondent’s Submission on Costs (8 July 2016).


                                                        267
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 284 of 622




            Expenses of their witnesses (invoiced but                               Nil
            unpaid)
                                                   Subtotal                 425,117.84


        d. Other costs
            Item                                                        Amounts (US$)
            Client costs apart from the above (paid)                      1,048,395.68
            Client costs apart from the above (invoiced but                        Nil
            unpaid)
            Tribunal and ICSID fees (paid)                                  650,000.00
                                                   Subtotal               1,698,395.68


        e. Total
            Total costs and expenses of the Claimants in                 Amount (US$)
            relation to the arbitration
                                                                         23,248,113.56


(ii)   The Respondent’s submission on costs:

        a. Fees and expenses of its lawyers
            Item                                                       Amounts (US$)
            Amounts paid                                      Legal fees: 6,786,084.21
                                                               Expenses: 1,511,651.42
            Amounts invoiced but not paid                       Legal fees: 778,491.64
                                                                 Expenses: 102,838.73
                                                     Subtotal                9,179,066


        b. Fees and expenses of its expert witness
            Item                                                        Amounts (US$)
            Amounts paid                                              Professional fees:
                                                                           1,012,264.97
                                                                   Expenses: 16,742.73
            Amounts invoiced but not paid                   Professional fees: 89,901.03
                                                                     Expenses: 2,450.85
                                               Subtotal                    1,121,359.58


        c. Expenses of witnesses and other internal costs



                                       268
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 285 of 622




                      Item                                                                    Amounts (US$)
                      Amounts paid                                                   Witnesses’ expenses:
                                                                                                 85,344.91
                                                                             Other internal costs: 3,509.90
                                                               Subtotal                     US$ 88,854.81


                  d. Total
                      The Respondent’s total costs and expenses                                Amount (US$)
                                                                                               11,039,280.39


11.19 Arbitration Costs: The total fees and expenses of the Tribunal and ICSID’s administrative
         fees and direct expenses are the following (in US$): 687

                  Arbitrators’ fees and expenses:
                          V.V. Veeder                              199,186.29
                          Marc Lalonde                             268,828.92
                          Zachary Douglas                            72,610.72

                          Judge Feliciano                          145,920.97



                  ICSID’s administrative fees:                     180,000.00

                  Direct expenses: 688                             391,125.97

                  Total                                          1,257,672.87

11.20 The above arbitration costs have been paid out of the advances made to ICSID in equal
         parts by the Claimants and Respondent. 689 As a result, their respective share of the costs
         of arbitration amounts to US$ 628,836.435.

11.21 The Tribunal’s Decision: Article 61(2) of the ICSID Convention provides that: “[t]he
         Tribunal shall, except as the parties otherwise agree, assess the expenses incurred by the



687
    The ICSID Secretariat will provide the parties with a detailed Financial Statement of the case.
688
    This amount includes charges relating to the dispatch of this Award (courier, printing and copying).
689
    Any remaining balance will be reimbursed to the parties in proportion to the payments that they advanced to ICSID.


                                                        269
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 286 of 622




       parties in connection with the proceedings and shall decide how and by whom these
       expenses, the fees and expenses of the members of the Tribunal and the charges for the use
       of the facilities of the Centre shall be paid. Such decision shall form part of the award.”
       ICSID Arbitration Rule 47(1) provides that the Tribunal’s Award “shall contain […] (j)
       any decision […] regarding the cost of the proceeding.”

11.22 In the Tribunal’s view, the ICSID Convention grants to the Tribunal a broad discretion to
       allocate all costs of the arbitration, including attorney’s fees and other costs, between the
       Parties as it deems appropriate in the circumstances. The Tribunal does not understand
       such a discretion to be contested between the Parties.

11.23 In the Tribunal’s view, these circumstances are clear in the present case. The Claimants’
       cases have substantially but not completely prevailed over the cases advanced by the
       Respondent, as regards jurisdiction, liability (save as regard KOMSA’s “Historical
       Losses”), compensation (in part) and interest. As a general principle, therefore, the
       Claimants should recover from the Respondent a proportion of their legal costs and such
       of the arbitration costs as have been borne by the Claimants. Conversely, the Respondent
       should bear its own legal costs and the Parties’ arbitration costs in full, without any recourse
       to the Claimants.

11.24 The Tribunal has considered whether the legal costs incurred by the Claimants have been
       reasonably incurred in reasonable amounts. There is a marked disparity between the total
       amounts of the Parties’ respective legal costs, even allowing for the legal burden resting
       on the Claimants to prove their respective cases. In other circumstances, it would be
       necessary to undertake further inquiries as to why the Claimants expended almost twice as
       much on legal costs than the Respondent. However, this case had from the outset certain
       unusual, aggravating and special features. It began, as already indicated, with the principal
       dispute limited to the amount of compensation due to KOMSA; but it soon became much
       more complicated and wide-ranging. These proceedings were also protracted, particularly
       with the Respondent’s two unsuccessful challenges to members of the Tribunal, the
       consequential suspensions of the arbitration pursuant to ICSID Arbitration Rule 9(6), the
       untimely death of one of its members and the procedure for replacing that arbitrator.
       Moreover, it is a difficult task for any tribunal to second-guess, at a much later date, what


                                                270
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 287 of 622




       a party felt necessary to spend at the time in pursuit of its claims, with its own money. For
       these several reasons, the Tribunal accepts the figures advanced by the Claimants for their
       legal costs, subject to the following.

11.25 KOMSA did not succeed in regard to its “Historical Claims”; and the claims by KOMSA
       and KNI for compensation only succeeded in part. The Tribunal decides that the Claimants
       incomplete success should be reflected in a reduction in the Claimants’ recovery of their
       legal costs by 25%. The Tribunal does not consider it possible to separate out legal costs
       as between KOMSA or KNI. As regards the Claimants’ arbitration costs, the Tribunal
       decides that these should be borne in full by the Respondent, without any reduction.

11.26 In conclusion, the effect of the Tribunal’s decisions can be stated as follows: the Claimants
       shall recover from the Respondent the total sum of US$ 17,436,085.10 as Legal Costs and
       the total sum of US$ 628,836.435 as Arbitration Costs. The Tribunal orders such total
       sums to bear post-award interest from the date of this Award until payment, at the same
       rate applicable to the amounts of compensation due to the Claimants; but it decides not to
       award any pre-award interest on these sums.




                                                271
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 288 of 622




                             PART XII: THE OPERATIVE PART


12.1   For the reasons set out above, the Tribunal decides and awards as follows:

12.2   The Respondent’s objection to the jurisdiction of ICSID and the competence of the
       Tribunal in regard to the claim made by the Second Claimant (KNI) is dismissed;

12.3   The Respondent violated Article 6 of the Treaty in expropriating on 11 October 2010 the
       interest in FertiNitro of the First Claimant (KOMSA), thereby causing loss to KOMSA in
       the total principal sum of US$ 140.25 million;

12.4   The Respondent violated Article 6 of the Treaty in expropriating on 11 October 2010 the
       interest in the Offtake Agreement of the Second Claimant (KNI), thereby causing loss to
       KNI in the total principal sum of US$ 184.8 million (this decision is by majority of the
       Tribunal);

12.5   The Respondent shall pay as compensation to the First and Second Claimants respectively
       the said principal sums together with pre-award compound interest thereon, from 11
       October 2010 to the date of this Award calculated at the US$ Libor 6-month rate plus 2%,
       with six monthly rests (or pro rata);

12.6   The Respondent shall pay to the First and Second Claimants jointly the total principal sum
       of US$ 17,436,085.10 towards their Legal Costs;

12.7   The Respondent shall pay to the First and Second Claimants jointly the total principal sum
       of US$ US$ 628,836.435 towards their Arbitration Costs;

12.8   The Respondent shall pay to the First and Second Claimants respectively post-award
       compound interest on: (i) the said four principal sums; and also (ii) the total pre-award
       interest due on the principal sums of US$ 140.25 million and US$ 184.8 million, from the
       date of this Award until payment calculated at the US$ 6-month Libor rate plus 2%, with
       six monthly rests (or pro rata); and

12.9   Save as expressly ordered above, all other claims, demands and requests by the Parties are
       hereby dismissed.



                                               272
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 289 of 622
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 290 of 622



     KUCH ~~IN~'~.r~.T.S SARLt~NL~ KC:~CH T~IITRC~GE~ I~1'S~RNt~'~'iC?N.AI~ S.r~:RL

                                                                                                +Cla mant




                          BC~T~VARI:AN RF..PUBT~T~ OF VEN~IUELA

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                                    ~~STD ~AS~ N~, ARF,j11f29




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                                FR()F.ZACF~ARY DOUGLAS QC




A      INTTtOI~UCTIt~I~T

       T agree with the inajorit~'s c~ec s nn ~n liabiiiry and the assessment of damages and
        nTer~st in respect of ~.t33 A's exj~xo~ri~tion claim far its interest in Fart N tso. Tam.
       also prepared to jouz the majority in respect ofits decision in relation to costs.

2.     T respectfully dissent, however, tom the imajarity's decision an J~abilit~r az~d the
       assessment of damages and interest in relat o;~ xo KNI's expropriation claim ~'nx ~t~
       int~r~st to the ~fftake Agre~rnene fog the reasons fiat fa~l~w.


B      I~NT's Ex~Rc~P~'r~oiv Cz~M:LIAI3L~:.ITT'

3.     KNI.'s only c]aun in respect of the. Of~take A~xeement. is fox expr~pr~adfln. 11n:
       expropriation requires the total and ~etmanenr de~ri~vatian o£ a prc~perry right.
       Intazxgiblc pr~~ierty rigk~ts, such as achase-in-action created by a contract, can certainly
       be the ot~ject of an expropriation.. Ixatan~tble prc~pexty rights obviously do not have a
       physical existesace; they are purely creatures o£]a~v.'




~    ;'1 valuahle discussion of in~angii~le tights .is the object of an exPznpriation t:an be found ter: Enimu
     InternatxQnollloklug, B.V. stutYHung~ry, ICSII~ Case No.13RB/J2/2,taward,lG Apri12014> ~§ 159-169.
    Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 291 of 622




4.     The Offtake Agreementis governed by the law of New York.2 :Any intangible prc~perCy
       rights arising out ofthe Offtake Agreement are-thus created az~d sustained by the law of
       New York.

5.     The majority has concluded that the ExpropLiat on Decree of 10 Qctot er 2010
       ~propriaee~ KN~'s rights a~~c3er the O:EE'tat~c ~~~eement. The ~spxopriatian Decree is
       a legal act that only.has effect withui the Venezuelan legat system. It cannox operate to
       derive or nollifq KNI's.intangi6le pxa~erty r%ghts that are created and. sustained uridex
       the law of New York any more than. it could deprive or aullifp and= tangible property
       rig~t~ belonging to 1~I'~1I -and physically situated ua New Xoxk.3 AI's righes under-the
       Offtake ,Agreement reznatn valid a~ci binding as against its counter~axries to that
       contract after the Exprapriatinn Decree, ~''~J can enforce Kliose rights by in~f4kir~g the
       arbitra~on clause in the Offtake, Agtee~en~, which. provides for ICG arbitaratiot~ in
       Mzami, Florida.`

G.     The afftake Agreement was evidently designed to be insulated against any sovereign
       initerfe.~cnce on the pare of Venezuela. By selecting the law of New York as the
       gowecnii~g law;Vene2:uela cannot vse its sovereign powexs to modify or n~ilUfy the tights
       and obligations see.aut in the OEftake Agreenxent. By seiectinglCC arbitration in:Miami,
       Florida, Venezuela cannot use its sovereign powers to interfere with ~rh~ resolutipn pf
       any disputes arising out ~£ th.e Offtake Agreement.

7.     The baste legal proposition underlying this anal}psis is hardly conttaversial. In the wards
        of the leading writer on this subject, F.A.Maces►:

               1f cane asks an what circumstances an antemational wrozag coxnm~itted
               by a foreign. State rna~ involve a }reach of contract made ley the same
               State with an alien, the field, properly analysed, is very limited, for the
               question makes sense only where three conditions coincide.

              In the- first. place the contract must be govcxned by the l~~v of the.
              Staee wl:uch is a poetry ~a the contxact azad has committed the wxang.
              If the contract is gov~rne~i by any other lc~,Tal system, the breach zs
              most unlikely to be in any sense legally relevant. `Thus a contract of
              concession granted,but wrangfexil~ repudiaced or modified, by a given
              State in law necessarily continues to eacist unaffected of is is governed
              by the law of another State or by international law (assuming the latter
              alternative to be possible). Discharge or variation of a contract is
               subject to i~5 ~xoper law, This cull ra.ot recognize inxerference by


Z    Offtake :~reement (C-79), §i3.1.

     He.»ce the present case is distinguishable from the intemarional p.~ecede~ats in which a St:+te has been found
     internaannally xespvx~sible €oz anxzulliog a coaxtxact subject to its vwn IaW~ by the issuance of a decree that
      has effect in its own le~a1 system: see, e.g. Shufeldt C/aim (Award, ~ 93~) 2 l2l A ~1 1079.

°    {afftake .r~~zee~nenr (G19}, §i2.?.




                                                       .2-
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 292 of 622




                 another Ie~aI system except as a fact cgca~in~ mpc~ss bilit~ of
                 perfornYance. Evec3 so, it is hard to irna~irzc any Legal system wl7.ich
                 wa~ild allow a party to a_ contract to zely an.self-induced im~ossib~lity
                 to het rig} of its Iegal olio gatiot~s az ca bring a contract to _an enc3
                 against the will ofthe other patty to it.s

 8.      These observations apply with greater force in xelatibn `to a contract to ~vhzch the State
         itself is not even a paxty, as is the,case .gin xes~ieck o~ the ~fEtake Agreement- (KNI's
         c~unte.~iarty as lert3.Nzuo).

         The factual.recoxci irx 'this case attesxs t~ 'the fact that the State of V enezuela has not
          attcrnpted to da whar Ys ler;atly unpossible~ {i.e. ~u~pc~rti zg to expropriate a contract
         ,~c~verned by ATew Rork law):

       )
       .1',.     These rs no express menuar~ csf tkie t~fEtalce Agreement in tlYe Expropriarian
                 IJecree.

         9.2. T~eze is no ~znplicit rnenrian either. 'T'lie opening sentence of Art'tcde 1 referrs to
               the `n~an lator~ ncyuicitzon ofprovable ant!real Estate asrctx' which is a r~eac ze£erence to
               tangibly ~rciperty, Thy lu~ic l~et~reen that p~opertp ~..nd F~:rtij'~tit~r~ is described as
               ownership ax possession, which..is also consistent with the subject of .tlrticle 1
               t~ein~ tar~gik~le pxo~erty ra~kzex t~~an .zatangible righks under coz~tzaci:s. Neae~,.~zricl~
              3 refers tc~ ~11e `e:~rvpriatecl$oac~s' beizag `transferredfree ofer~cri~nbr~nces or limatatians~,
               ~~Thich a~~in is language apt to describe taiagik~l~ property but zaQk i~nt~ngible rights.
              dually, 1S.rticle 6 refers to the `accu~iancy of tl~e aaretf zf~dicated in urtrc~e 1.., zvztf~ the
               ob,jectrr~e ofplaci~ig there i~rlo n~ierat orr, ~rrlmir~:strutzon ~rnd crrpz~ali~atio~. 'This phrase: does
              .not make sense in rela~~a~ to intan~zble tights under a contzaet

         9.3. The pages: to the ~Jffttfske .Agreement continaed to buy atxd sell the ~~'ft~lce
              pxoc~uets {~~xnnr!a and urea) at r~aie ~~.ces fixed by the Uffcake .tlgreement fax
              Bonne sixteen arnon~s after the. Exprap~iation Decree.

         9.4. I'ertiNitro seat two sepa~at~ cammunica~ions fallaiuing the ~ rop~zatian
              De~;xee, can 2G I~Iovcmbe~ 2€?~0~ aid 1 Decetnbex 2Q1t1," con.fitmtrtg r at it would
              cant~aaue ~a pexfor~n, its ab~i~a~cins under the C~f£take Agreer~nent.


      I'.r1, i~tann,`i'he Consequences a~an Tntcrn~donal Wing ira ~nterraau~nal and National Law',FurtfierStr~dier
      in Ir lrrrwtranaAl1rw(f~UP,1:990),~P.-1$8-189. The learned author made r ye sanne ~ainr many teats earlier in
      `State Cgncratts and State Rcspons biIir3~', Studiesin Inlrm~tionnl Lrrw(OUP, 1973), ~. 3Q3: `In the first place
      the particular pzoblen7 demanding a solutipn cannot ause unless she contract in issue, either as a whole r>r
      zn j~art, is ~ovesned by the laly of t1~e State enc~~se resj~nnsik~ l ty is in~nlvc<1, fc~x, ~ccc7rdin~ r~> 4scab3isl~ed
      principles ref pzivatc international law,zt is only in suds evet3t that tk~e contracting brace's arc can possibl} be
      zeleFant at all. Tf ~~e cont=act is subject to the law of a country other than rl~at of the cc>ntracan~; State, a
      defence derived Exam the pr~j~er Iaw cann~at l~ tortiaus [un~icr igternatiotral law] (:~iyd a r eferaG~ t~eriri~i
       Fzosn the law ofthe defendant State rnnst ~ inimatcrial~.'

 6    Ferc?Vitsa's Car~rrzunlcatioz~ of 2G Novcraber 201p (GI11}.

' F~ecaivztio's Con;xzzunication of 3 December 2Q10((: 1.32).




                                                             _ 3_
    Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 293 of 622




          X7.5. Fe~ti~~iitiro event~u~lly repnctiatec3 the t~Eftake Agreement by letter. of 28 Pebrna~y
                X012,$which wou~i~ hau~ been. superfluous ~ tl~e C~fftake t~~reerneslt llaci
                somehow been e.~cpxopziated on 10 t~ctobcr 2010 and if tl~e parri~;s laad nt~t been
                perfa~zning thei:~'ab~Z~atians uzadet the ~fftake t~gree~ncnt in the izzte~c%m.

1 Ci.     The ~ajortty xelies ~n tvra documents for their cQntxary view. Tie first is a xeco~d ofa
          speech:to worker at ~ertiN tro's plant gives by Venezuelans Mtnister of Energy ar~d Coil
         (Mr Rafael Ramirez) the da~r after the Expropriation Derrce.p '~'h~ niajarity considers
          that that speech makes unplicit reEexences to the C3fftake tlgreeme~t an~i;on that basis,
          the majozity cc~nclucies that the E~:propz~ation I~ecxee must be interpreted as extending
         in scope to ntata~;ible rights uncles tl~c flfftalce t~gieement I~ rcla~r~n to this evidence.

          ~ O.t. Whether or not the IVlizzstcr's speech t~iakes iin~sli~it references to the C~fftake
                 Agreemcnc, the sco~~ of the Expro~axiatiars:Der~e~ cannot extend to rights that
                 are created an+d sustained bq another Mate's legal system. If the M nistez were to
                 Have prticlai~ned that -the ~xpxo~riatir~n Decree aIsts e~eprc~priated ai~-uiionia ~ci
                 urea physically 1o~attd outside of ~~enczuela;for. asean~e, this would not have,
                 made is so: both public and private ntexvational.law cocifine tt~e scope of ti-ie
                 Expraj~xiatic~n Decree.to the- national territiory a£ Venezuela.

          10.2: The text af" the Ex~ropr arinn Decxee itself does not expressly dr im~slicitly
                address zrztax~~ible ri~~ts. i~o subm~ssians have been made to tkx~ "~'xibunal, by
                e~~~zrs or othercc~sea an whcthex the Fxprc~p.riation T.?ecree extended to intangible
                rights as a z~atter ofVene~ue[an Iaw. V~hat a Minister says in a political sp~cch to
                u~ark~rs at ~ plant cannot fill. this void

11. 'I'he ~thez d~~umenr is zel~erl upc~~a by the ma'Jor°ttp to refute the :poxz~t made ea~~ier that
    the parties ~antinued to perEc~rm the Offtake R,greement a£~er the ~.xpxop lion
    I7ec~ee. I~ is an email ~r~m KNI to ~erri~3 tra dated 3 December.2010 which states t3.7at
    KNI `agrees to p~r~zhase prod~rct rrnrler tcrrrrs can.~rdent 2vat6 tha 0~tu,~e Agr~entcnt' d fc~r
    paymez~x fox:~xoduct to be .made tta the rar~je hrstorcrxl bank accounts'.S0 The same email
    refers to I{I~II's expropriation clazm and xi~ht~ under uzxernaaonal law, t~~~ the baszs of
    this eruail, KNT and:the rn~yority assert that the purchases of urrea an~i ammnnia for a
    period of sixteen months aEtex the Expropriation L7ecree were made prirsuant to `ar!-l~oc
    ~gr~~merrt.~ with ~~rac;t~y the: same teams as the C~fftakc r'~greement and to the.same bank
    accounts but. notin acccrdarace ~trith the. Offeake r~~reement because, on their view, it
    lead alxeac~y been f:~,:prvptiated. Yn relaugn co this document:

          11.1. KN~'s email., which was clearly drafted with tl~e assistance ofinternational 1ega1
                couiasel, cannot unilaterally cl~acige rtie Segal reality wkuch was t~iat the Offtake




~       FertiNiuo's ~ammunicario~i aE 28 Nebniary 2Q12 (C-114).

9       Online.article enade~l;"RafaeCIinmircZ~insiaio I~ tomu do inrtalacioner di 1'erliniha en el~.clado 1'3n~adtegui," i~oticias
        aa, a a c~~~Ut~~r ~~~o {r-~a~.
~°      KNI's Gonxmuncarion to ~esvN.itry of3 Dccemt~er 2fl1Q {(:-113)(emphasss added}.


                                                               - 4-
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 294 of 622




                  Agreement--governed by:New Yor1~ lawremait7ed ici full force and effect after
                  tihe Expxopriarion Decree.

         l l.2. Ifthe patties were:not in realitp buying and selling urea.and ?n~ln~nia pursuant to
                the 4fftake Agreement aver the s~teez~ r~ontlxs following the ~~:pro~riat oz~
                decree (~Iiexe is no c3 spun: that the purchases tivere nia~le at exactly tl~e sarn~
                ~ri~es £txe~ by the Offtake Agreement}, rhen. Ferti.~3.itra's subsequecat x~p~td xtion
                of the 4ff~take Agreement on 2c~ February 201.2 urould haue made no sezase.

         11.3. The rna~ority k~as accepxed that K i~~I should nrat be entitled to darna~;es during this
               s ~ctcerz inonrh ~er~od which .is consistent with the reality that KI':~I ciid not ~uf£ez
               any lass b~Gaus~ Fezpl~?itxo c~az~t.nued to ~erfoz~ its obligations under the
               ~fftake ~.~reennent until the zepud atic~n.

         114. Fe t~tro affirmed on. t~v~ se~~t:~te occasions £ollowan~ [he ~cpXo~i~i~zt~~n
              T7ecree that it uld continue to perE~rm the t7fftake Agreemer~e..

~2:      I conclude that ~tI":has got established that Vene~ueta expzopriated its. rights under
         tlx~ C)ffta~e Agreetnezit, '~he~e is nc~ evidence tin the record pf phis arbitration t~~t
         KI~1I~s rights under a contract ~nvemed by New fork law ha~re been nullified or
         abrogated. ~1~I has offered no reason.as to w}ry its r ~~ts under the C}fftake ~.greennent
         canrici~ be ~nfnrced ag~.inst its ~a~ te~a~ues, including FertiN Cra, by pursuing TC
         arbitration antler the !cx arhatri o~ ~~1.ta~i; ~Jo~ da. ~o .long as KN~'s ~ghts ut~dcr the.
         Offtake t'~graement remain: fi311y vested and enforceable it is ]egall~ impossible t4 speak:
         a£ ~t~e x exp~o~sriation. Although loss ofvalue cannot b~ the exclusive touchstone o£an
         e~pro~r~arion,the fact that ,KI~TT~ rernvzxs ezatitlec tv an aw~'d o~damages F€~r any breach.
         ofits rights.under the Offtake.Agreement demonstrates conclusively Chat I~N~'s rights
         hide not been rlepr ~~ed of t~leir enri:te value.


         KN'S ~~PRt?P~ttIATI+DN CLAIM:1~lSSESS;M~+,I~T OF I7~iM:PiGES

T3.       In:te~rnatot~al law does .not glue a carte blanche to valuation e~j~erts to deterrnire the
          amount of comper~sat qn that Mows fxo~n a breach. of are inteznativnal oi~ligat on. ~.'hc
         .law defines the con.ta~s o£ a ~ecaverable Zass and hc~w it is tc~ be assessed. Where a
           atan~ible pzoperry right under a- contxaet has been expropriated, rite object of
          c4mpen~a~ic~n ui i~ternatic~~al law zs try but the innocent party in the position that :it
          would have been in if the cazatract had been ~erE'arzneci in the mannez provided for by
          the ~azt es at tt~e time ofits conclusion.'a Intercaa~iot~aS law requires that the xecovcrable
          loss cde~Id have been anticipated or foreseen by the harries at the time of the conclusion
          ofthe contract.'2 The less that could have bce~~ to.reseea by the ~aities eo the Of£take

j~    Sapphr`ra Inlernationa~ ~'etmleum n N,~t~G`(1.963) 35.Il„Ii 13b, I.B~-G (`,~ccard.ing to the generally held -view tl~e
      object is to place rlie party to wh~~rn they ate awarded its the same,pecuniary p~sidon thep would have been
      in if the contract ha~3 been perfozmed are tl~e manner provided for by the parties sir the time of its
      cc:~zaclusir~tx.'~;Amca.11 ria Go~S., of uL rr T~,e~sublic o~f Indoncriu,.IC:Si17 Case \p.:~ R.I3/81/1,tlwaxd,31 ivZay ]990,
      §§183-fir (.~Im<o v Indonesia X!}.




                                                             .~.
  Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 295 of 622




         .Agreement an the event that K.~'vI's right to puxchase urea and uninonia. at the ~zices
         and quantities fixed by the conteact were to be nullified ox abrogated is KNPs loss of
         profits caused by FeztiN,ztso's Failure to sc~~ply KNI with the ~c~ods in question. The
         loss of profzts of the buyerin the context ofa contract fc~x the sale r~£ goods is calcutared
         as the difference be~vee~ the contract price and the price paid by the buffer fox
         replacement goods" or the difference between die contract price and tl~e market ~rtce
          at tie tame deliveries should have been made £replacement gpads are not purchased.'"

 14.      In the present case, Mr Sgrlie was the principal witness fox KNI in relation to the
          Offtake Agzeement and. indeed. he' was the person. responsible for managing, the
          purchases of urea atxd ammar~a under thati ~oiYtract from.KI~iI's side. Mr Sorlie drd not,
          in pith ;z of his two witness statem~~ats, eve any evidence as `ta whexher oz nrac KNI
          purchased replaceznexit goods £o~lowing ~e alleged. expropriation of the C}ffta~e
          r~~e~ment att 10 Octabe~ 2010. This is a surprising onnzss~on :given it is critical
          evidence,required by law,to establish. KNI's actual loss.

 15.      It was only under cross-exami,naaon thax fir Sorlie gave evidence on this issue. He
          tesu~ted that after the. e:~~ropriation of the Of~take Agce~ment, K'~1i I bought:
          r~plac.ement gods at ~e equivalent quar~titics from the forme 5ovi~t Uzuan. and Eft
          as well as `other origins'.t5 I~Ic~ evidence of tlae prices pud fay those repJ~cement goods
          was necoduced onto the record. KNI's valuation expert testified that. he riad sight of
          that e~deuce but elected to `r~uregard if for the purpose of his calculation ofKNITS LOSS,jb

 1 G.     In summary, KNI has tendered no evidence of the prices that it actually paid fax
          replaceznerat quantities of urea and a~xzmonia:foUawang ~.he puzported expzop~iatian of
          the Offtake r~~eezz~enx ar~d 'VI's valuation expert has disregarded tivs evidence for
          the purposes of his c~lcul~tior~s.

 17.      This is not a case where the evidence ofthe uivestor's actual losses is no longer available
          due to an act attxil~utable to the -host State (such as where the.host Scate's authorities
          have destroyed or conFiseatcd docurnentarion belozigin~ to the.investor}. `Phis is a case
          where the evidence was clearly available but delibezately disiregarded by the investor and

 i2   ~Imrn~rr`a Corp. ~md others v Re~xGfrc ojlndoncsia, ICSID Case No. ~~R.BJSI(1,Award,2~ November 1984,§
      268(`[t1:)ccording to the pzinaples and Hiles common to the main narional le~at systems and to ioternauonal
      law,the damages co be awarded must roves osily the direct and foreseeable prejudice'} (canphasis am ~tcd);
      ~lmrn v Indoneaa lI, ~§172, 178. The foreseeabiliry ~~rinciple is alsn applied to non-concracmal scenarios:.Josrpl~
       Cbarlar Lemire v. Ukraine, ICST!? (:ase No. ARBJOC~/1$, Aw:vd, 28 March. 2012, ~§3 G9-172; Ioasxit
       ICardarsopvulos and Ii~n Furbt v Rt~utblit ofGeorgia, "ICSII3 Case Nos, ARB/05/1$ & taRBJ47j17, Awazd,3
       March 202D, §§469. Sec also the UMDKUTT Principles of Tnccrnational ~ommezcial Contracts (2t~4)
      (`UI>31llROI`I' PruiGiples'} 11rG 7,4.4; I:.Jniked Nadoxas (:onvcnrion on Contracts foz the T.aternati,ona( Sale of
        comas ~~~sa} ~`CISG'},~~ ~a.
 t3     Ses, gig. CISG,art. 75; L~NIDRtJI"I'Principles, Azc. 7.A.5.

 ~a     See, e.g. CISG,~~ 7G;11NTDROIT Principles, Art.. 7.4.G. There is always a duty to mitigate loss: C1SG,
        hrt. 77; UNTDROIT Prinei~les, tire. 7.~t.8.

's First(Septemlxt) Hearing T7~/P167-68/7:.2.9 (Sor1u).

 16     Second (i~ovember) Fleming DG/P$7/L11-18 (Gikr).


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     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 296 of 622




          its valuation expert, Zt~ these c~cunnstances,the only permissible conclusion is that KNi
          has failed to establish its foss on the balance of proba'b lines—%e,in satisfaction cif the
          usual. standard of prU~£

28.      What I ii end its valuation expert have done instead is advance a theory of dama~cs
         that violates the faa~ese~abiiity ~floss ~r nczp~e recogr~3led by irxtezn~tional la~v d that
         is uns~,istainable o~ tk~e £acts. KNI claitxzs that its damages should be assessed an the
         basis. of the ~a~~~ving couz~terEactual in ordex tc~ arrive at the `fart ~yaarke~ value' of the
         C~fft~ke 1~gzecmeY~

          1$.1,. Before the expropriation: If~II could buy at the o£ftake price, ship tv
                   ~?Lc'if"pampa([Kited S~aCes GuIE+C:z~ast) and sell at N{3LAJTara~a prices. The
                 ~ra~at was tl~erefoxe Nt~i.A/Tarn~a price minus shi~~in~ costs minus the offtake
                 price.

          1$.2, Aft~z the e~prapriation: K~1T could only buy at I~+TC~L.l~J'T`a~npa prices anel sell:at
                NC?LA/Tam~aa prices: TT~iie profit was therefore zero.

19'.      To be clear: both skies of the caunter£ictual are not what actuall}~ ha~~,~c:lied but zuther
          arc hypotheses based on shat plausibly could.. hive ha~spened according to KNI's
          va~uat[c~2~ expert,'

24.       `There axe numerous #haws with this. approach.

          2U,1, ~t violates the £t~resceab l ty principle because na party to the U£ftake tlgre~tnent
                could liaise c~nten~plated such a loss, which is based:~n a series ca£hypocheses ana
                f~~totvs ata approach tha~e is without precedent in the ass~ssmc:nc of darrxages in.
                this scenario.

          2~.2. ~t is ixx~permissible to substitute evidence off' actual bass with ~ theory of.
                 h~~othetrcal loss s`n the assessment cifdamages,'R As KNI's actual toss cou~cl'have
                 been c~lcutated an the basis of simpi~ ~sithmetic b}1 reference ro the evidence
                available tc~ it, the ne~ca~able anfercnce is rat KNT pxe£ezred a theeary of
                }rypotheticai loss b~c~use it generated a sul~srantially hi~k~er fig~:ire» The .result is
                that I{23I's pleaded loss is likely to Ue vastly overstated.

          20.3. The cr~uz7terEactual makes no sc>nse, tlra ap~iroach that purports to calculate the
                /̀airmark~~ z~Alue' of the ~?ffrake agreement must be founder3 on the ~rinci~le that
                a th%rd patty purchaser tvoutd have teen prepared tv pay a price equivalent to that
               'saluc at the expropriation date. Qn KI'~II's case, this meads that a third p~zc}
                tv~uld have been prej~azed to pay USD 206.5 million fcrr its rights uz~cler. the
                Uf~'take tlgreement in October 2010 (i.e. si~ni~icantly mope than the value of
                KOMS.~'s equity stake ua Fe~tt~Titro ar the same rime)• But a thitcl ~~sty


s7     ;Seta~rrl (1\~nven~rber~ 1-tearing UhfP8S1 I,7-14 (Giles).

t~     .~3~norn Intrrnutranall~isancia/C~o~~i u Irnn (P:utial Award, 1~3 July 1987] Irate-US Claims Tribea~aal Case No. SG,
        ~23~ `~N~o re~axax)on for speculative oz urzcezta n damage can be awarded'.




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Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 297 of 622




               purchaser, like T~NI, ~.vould have been able to puxchase the cominodiries in
               question--t ea and ain.tx~onia—ui markets throughout the woxld. Why ~~c~uld a
               fihircl patty purchaser assess the valae c~F the O~£take Agreement in October 2010
               on the basis that she camr~oditics could only have been purchased at
               ~QLA/Tampa,z~here demand is ec~nsistently v" ery high and prices are a1sc~ very
               high. accprd rigly? r1 thud paxtSr purchaser w~ul.d assess the value at the Offcake
               Agrecmezit on the basis a£ the. cvideuce o~'Iflng term trends .n prices for urea and
               ammonia on t2te wc~rid markets and assess the c3ifEesence between Chase nnarket
               prices and. the prices framed by .the C~fftake Agreemezit. A third party purchaser
               vrould not assess tht value ofthe Offtake Agreement based upon a z~on-existent
               obligation to puxchase these com~c+~.~ities exclusiuely at rl e very place at which it
               eras most lgxcrative ~o se11 those commodities.

        20.4. The counterfactual's hypothesis co~aadicts KN~'s o~vn evidence o£ how the
              i~nxernauonal markets foz ammonia and urea function. Mr Soxlie testified that:
              `A~r>monia aid u~a ir~>orted into t/~a US yt pizal~r comefmm one ofJhefos~r mai» areas of
              nalmgen,fer<ili~er exhortpm~ucnon in the urorld.• the Caribbean,,1Vorth Africa, the Black:Sea:.
              re~orr tine! the Arab G~rl~f.','~ Why would a Hurd party purchaser also nat Ionic to
              buying the comrnociities in -those re~;ioi~s for sale to 1~IC)LAjTam~a and pz~~it
              from the price-differential,' And as already noted,.the couslterfact~al's hy~iothesis
              also contradicts what KNI actually c id following the expropriation the Of~take
              tlgreement: 3CCOLG~IiI~ t0 Mr SOYI1Cy KNI pazchased re~ilacennent gaoc s Flom the
              former Soviet Union, Egypt and elsewhere. Whv a=oul~i Iil`31 have bot~►ered
               doing that if it cos~ild only have abtaii~ed die saame pz~t~s as at NOL~f Tacnp~?

21.     Yri relation to ttus lase point, the majority appears to place decisive weight u~ou Mr
        Soxlie's evis3enee in gross-examination that KNI was able to purchase replacement
        ammonia.. and urea `at a KOLA and Tam~ia~irice .ctrr~ctsrre'.'~ 'I'he majority states that it
        `~cteptr M~ Sorlie'f testimony, to the ~ect Chad whatever alttrnative ssr~ipliea were available to KNI to
        nplace o~1akG under the ~fflake.Agreement, there Yvere at NOLr'~ ar~d Tam,~a~ncet or equivalent'
        because the Respondent `adduced no cn~ent fuctrra! evidence a,f itr orvn'.21 Ihave sevexal.
        difficulties with this conclusion:

        21.1, Thy questir~n, adopting KNT's darn~ges rnethoc~ology, is nit what aleernarive
              supplies were avai3abie to KNJ but what. supplies were mailable to a hypotherical
              thixd patty purchaser ~f the OfEtake Agreement at the date of expropriation and
              into the fu~re.

        21.2. 'I'he only evidence an the record in support of the majority's tanclusion is Mr
              Sc~rlie's statement in crass-examination, That statement is contradicted by Mx
              Sortie's testimony to the effect that I~'~II purchased. replacement goods frorla. the
              Fortner Soviet Union, Egypt and elsewhere ~iIIlCI there would have been no


'n    Hizsz Witness Statement of ]im Sortie (29 ;Say 2Q12}, g17~

~     Award, §9.229.

21    Awazd, §9.230,



                                                       -8-
    Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 298 of 622




               commercial. xeason to clo so £they could only be obtaarz~d at NOLt~/Tampa
               prices), Mr Sorlie~~ assertion that KNI p~chased replacement goods at the same.
               pricey as at NOLt~JTa pa is zYot add~ess~d :i.c~ either o£ his ~vztness stateznencs
               and K.~II daes rac~t ~rc~vide any evidence in relation t~ the.~xices that it slid in East
               pay fox the replacement goods or ang evidence ui relario~ to the prices z~ the.
               afferent tnat}~ets througtzvut the world. I~NI ka.as the laurden to establish this
               critical factual premise dot its dazna~ es calculation grad it has failed to discharge
               c~ia~ burden,                  '.

        2~..3. The Respondent has produced. factual. ev dezace of its own a~.d it is mare rabust
                than an unsu~pr~rted stat~ernen~ by a~ single ur tuess in cross e~aminat o~.'Fe~ecan
                is the world's leading providez cif znacket .izafozc~aation aid amalys s ran fe„rtiliz s
               .and fertilizer raw materials, The Res~opdent's expert e~hb~ted Fertecon's reports,
               in 2(ll4 for axes and ammonia {together constituting mote thaw 350 pales of
                analysis}:~ What these ~reporrs show, which as ~azdly surgz- sing, is that thepriccs
                for urea and ammonia at the uaziaus markets around the cvorl~l differed
               s gn fica~tlp bath ~istc~~~allp and in 2010 and the prices at: Nolaf'Ta~~~a ~n the
                United Sates were almost invariably the I~ighc~t.

22,     T.n conclusion,even ~f V~r~~zu~la did expropriate tlae Of£take ~grecment by the zssuance
        cif the expropriation TJecxee, which T do.not accept,I would have cozacluctec~ that I~.N~
        ~~as failed to prove its lost to the requisite stanc arch. ~s axesult ~ w`ould also have fauz~~i
        that KNI is not entitled tb interest.




~     IFx~ezc I2e~orts ofllaniel Flores(EO-7 and EC)-8j.




                                                     - 9-
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 299 of 622




                         Zachary .I~auglas QC
                              Arbitrator

                 TSate: 8 octc~ber 2017
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 300 of 622




             Spanish Version
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 301 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 302 of 622
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 303 of 622




   CENTRO INTERNACIONAL DE ARREGLO DE DIFERENCIAS RELATIVAS A
                          INVERSIONES




                        En el procedimiento de arbitraje entre

                            KOCH MINERALS SÁRL
                              Primera Demandante
                                  (“KOMSA”)

                  KOCH NITROGEN INTERNATIONAL SÁRL
                           Segunda Demandante
                                (“KNI”)

                                          y


               LA REPÚBLICA BOLIVARIANA DE VENEZUELA
                              Demandada


                            CASO CIADI N.º ARB/11/19


______________________________________________________________________________



                                   LAUDO
______________________________________________________________________________


                              Miembros del Tribunal:
                            V.V. Veeder, Presidente, QC
                           Hon. Marc Lalonde PC, OC, QC
                            Profesor Zachary Douglas QC


                        Secretaria del Tribunal de Arbitraje:
                               Mairée Uran Bidegain


                  Fecha de envío a las Partes: 30 de octubre de 2017
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 304 of 622




                                     ÍNDICE DE CONTENIDOS




PARTE I:      EL ARBITRAJE ................................................................................................. 1

PARTE II:     LA CONTROVERSIA DE LAS PARTES ....................................................... 23

PARTE III:    LAS CUESTIONES PRINCIPALES ............................................................... 40

PARTE IV:     LOS TEXTOS JURIDICOS ESENCIALES.................................................... 57

PARTE V:      LOS HECHOS PRINCIPALES ....................................................................... 72

PARTE VI:     CUESTIONES DE JURISDICCIÓN ............................................................ 114

PARTE VII:    CUESTIONES DE EXPROPIACIÓN ........................................................... 142

PARTE VIII:   CUESTIONES AJENAS A LA EXPROPIACIÓN........................................ 163

PARTE IX:     CUESTIONES DE COMPENSACIÓN ......................................................... 185

PARTE X:      SÍNTESIS Y CONCLUSIONES .................................................................... 282

PARTE XI:     INTERESES Y COSTOS ................................................................................ 283

PARTE XII:    LA PARTE OPERATIVA ............................................................................... 293




                                                         i
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 305 of 622




                              TÉRMINOS ABREVIADOS

                              Declaración de Testigo de Víctor D. Barrientos (28 de febrero de
Barrientos DT1
                              2013)

                              Segunda Declaración de Testigo de Víctor D. Barrientos (30 de
Barrientos DT2
                              diciembre de 2013)

Borrador del MdE de           Borrador de Memorándum de Entendimiento de KOMSA (sin
KOMSA                         fecha) (C-92)

Borrador del MdE de           Borrador de Memorándum de Entendimiento de Pequiven (sin
Pequiven                      fecha) (C-93)

C-[#]                         Anexo Documental de las Demandantes

CERTs                         Certificados Especiales de Reembolso Tributario

                              Centro Internacional de Arreglo de Diferencias Relativas a
CIADI o el Centro
                              Inversiones

                              Circular de Oferta - Oferta de Bonos de USD 250.000.000 USD
Circular de Oferta - Oferta
                              entre FertiNitro Finance Inc y FertiNitro (8 de abril de 1998) (C-
de Bonos de 1998
                              115)

CLA-[#]                       Autoridad Legal de las Demandantes

                              Contrato de Ingeniería, Compras y Construcción entre FertiNitro
Contrato EPC
                              y Snamprogetti (8 de abril de 1998) (C-24)

                              Convenio sobre Arreglo de Diferencias Relativas a Inversiones
Convenio CIADI
                              entre Estados y Nacionales de Otros Estados (18 de marzo de
                              1965)

                              Decreto N.º 7.713 (10 de octubre de 2010) (Gaceta Oficial N.º
Decreto de Expropiación
                              380.113 de fecha 11 de octubre de 2010) (C-9)

Decreto de la Urea            Decreto N.º 5.218 (26 de febrero de 2007) (C-80)

                              Decreto D.A.M.S.B.-042-A-2006 (14 de noviembre de 2006) (C-
Decreto Municipal
                              48)

                              Dúplica sobre Jurisdicción de las Demandantes (14 de marzo de
Dúpl. Koch
                              2014)

                              Dúplica de la República Bolivariana de Venezuela (Fondo) (3 de
Dúpl. Ven.
                              marzo de 2014)

EPA Koch                      Escrito Post-Audiencia de las Demandantes (30 de enero de 2015)


                                             ii
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 306 of 622




                              Resumen Postaudiencia de la República Bolivariana de Venezuela
EPA Ven.
                              (30 de enero de 2015)

Esty IP1                      Informe Pericial de Benjamin C. Esty (23 de agosto de 2013)

                              Segundo Informe Pericial de Benjamin C. Esty (14 de marzo de
Esty IP2
                              2014)

                              Objeciones Preliminares de la República Bolivariana de
Excepciones Preliminares
                              Venezuela a la Jurisdicción del Tribunal Arbitral (28 de febrero
Ven.
                              de 2013)

                              Empresas en participación Fertilizantes Nitrogenados de Oriente,
                              SA; Fertilizantes Nitrogenados de Oriente, CEC; Fertilizantes
FertiNitro
                              Nitrogenados de Venezuela, SRL; y Fertilizantes Nitrogenados de
                              Venezuela, FertiNitro, CEC

Flores IP1                    Informe Pericial de Daniel Flores (28 de febrero de 2013)

Flores IP2                    Segundo Informe Pericial de Daniel Flores (3 de marzo de 2014)

Flórez DT1                    Declaración de Testigo de Edgar A. Flórez (28 de febrero de 2013)

Giles IP1                     Informe Pericial de Tim Giles (2 de junio de 2012)

Giles IP2                     Segundo Informe Pericial de Tim Giles (30 de agosto de 2013)

                              Declaración Testimonial de Brent W. Gwaltney (30 de mayo de
Gwaltney DT1
                              2012)

                              Segunda Declaración Testimonial de Brent W. Gwaltney (20 de
Gwaltney DT2
                              agosto de 2013)

                              Informe Resumido del Comisario y Estados Financieros
Informe del Comisario
                              Consolidados de FertiNitro (7 de septiembre de 2006) (C-63)

                              Convenio de Inversionistas Conjuntos entre Pequiven, Koch Oil
JIA                           SA, Snamprogetti Netherlands BV y Polar Uno, CA (8 de abril de
                              1998) (C-18)

KNI                           Koch Nitrogen International Sàrl

KOMSA                         Koch Minerals Sàrl

                              Ley Orgánica de Ciencia, Tecnología e Innovación (en vigor a
Ley de Ciencia y Tecnología
                              partir del 1 de enero de 2006) (C-43)




                                            iii
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 307 of 622




                           Ley de Expropiación por Causa de Utilidad Pública o Social (1 de
Ley de Expropiación        julio de 2002) (Gaceta Oficial de la República N.º 37.475 de fecha
                           1 de julio de 2002) (R-9, R-53, C-140)

                           Ley de Reforma Parcial de la Ley que establece el Impuesto al
Ley de IVA
                           Valor Agregado (11 de agosto de 2004) (C-55)

                           Ley Orgánica para el Desarrollo de las Actividades Petroquímicas
Ley Petroquímica de 2009
                           (16 de junio de 2009) (C--8)

                           Memorial de Contestación de la República Bolivariana de
Mem. C. Ven.
                           Venezuela (Fondo) (28 de febrero de 2013)

Mem. Koch                  Memorial de las Demandantes (4 de junio de 2012)

                           Declaración Testimonial de Carolina Núñez (28 de febrero de
Núñez DT1
                           2013)

                           Offtake Agreement entre Pequiven, IPSL y Koch Oil SA en
Offtake Agreement          calidad de Compradoras y FertiNitro en calidad de Vendedora (8
                           de abril de 1998) (C-19).

                           Ordenanza para Impuestos sobre Actividades Económicas de
Ordenanza Municipal        Industria, Comercio, Servicios o de Índole Similar (29 de
                           diciembre de 2005) (C-45)

                           Declaración Testimonial de Melquíades A. Parra (29 de mayo de
Parra DT1
                           2012)

PDVSA                      Petróleos de Venezuela, S.A.

                           Informe Advantis intitulado “Valoración de FertiNitro” (mayo de
Primer Informe Advantis
                           2011) (R-86)

                           Audiencia sobre Jurisdicción, Fondo e interrogatorio de Testigos
Primera Audiencia
                           de Hecho, celebrada el 8 de septiembre de 2014 y desde el 10 hasta
(septiembre)
                           el 12 de septiembre de 2014

R-[#]                      Anexo Documental de la Demandada

                           Reclamos de KOMSA relativas relativos a medidas tributarias y
Reclamos Históricos
                           créditos IVA

                           Reglas Procesales Aplicables a los Procedimientos de Arbitraje
Reglas de Arbitraje
                           del CIADI de 2006

                           Réplica sobre Cuestiones de Fondo y Memorial de Contestación
Répl. Koch
                           sobre Jurisdicción de las Demandantes (2 de septiembre de 2013)



                                         iv
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 308 of 622




Réplica de la Demandada       Réplica de la Demandada sobre las Objeciones a la Jurisdicción
sobre Jurisdicción            de la República Bolivariana de Venezuela (3 de marzo de 2014)

                              Resolución Conjunta del Ministerio del Poder Popular para la
                              Agricultura y Tierras, del Ministerio del Poder Popular para las
Resolución de la Urea         Industrias Ligeras y Comercio, y del Ministerio del Poder Popular
                              para la Energía y Petróleo (Gaceta Oficial N.º 38.674) (3 de mayo
                              de 2007) (C-82)

RfA                           Solicitud de Arbitraje de las Demandantes (28 de junio de 2011)

RLA-[#]                       Autoridad Legal de la Demandada

Sanders IP1                   Informe Pericial de Richard Sanders (30 de mayo de 2012)

                              Segundo Informe Pericial de Richard Sanders (27 de agosto de
Sanders IP2
                              2013)

Segunda Audiencia             Audiencia sobre Fondo y Cuantía de Daños e interrogatorio de
(noviembre)                   Expertos, celebrada desde el 23 hasta el 26 de noviembre de 2014

                              Informe Advantis intitulado “Valoración de FertiNitro” (julio de
Segundo Informe Advantis
                              2011) (C-157)

                              Segunda Declaración Testimonial de Jim Sorlie (26 de julio de
Sorlie DT2
                              2013)

                              Audiencia sobre Reconstitución celebrada el 9 y el 10 de junio de
Tercera Audiencia (junio)
                              2016

Tr. Día [#página. línea(s)]
                              Transcripciones de Audiencias
(Orador(es))

Tribunal o Tribunal de
                              Tribunal de Arbitraje constituido el 8 de noviembre de 2011
Arbitraje

                              Segunda Declaración de Testigo de Aníbal Villarroel (30 de
Villarroel DT2
                              diciembre de 2013)




                                            v
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 309 of 622




                           MATERIALES JURÍDICOS

                           Asian Agricultural Products Limited c. República Socialista
AAPL c. Sri Lanka          Democrática de Sri Lanka, Caso CIADI N.º ARB/87/3, Laudo (27
                           de junio de 1990) (RLA-42)

                           Abaclat y otros (Caso denominado anteriormente Giovanna A.
                           Beccara y otros) c. La República Argentina, Caso CIADI N.º
Abaclat c. Argentina
                           ARB/07/5, Decisión sobre Jurisdicción y Admisibilidad (4 de
                           agosto de 2011) (RLA-31)

                           ADC Affiliate Limited y ADC & ADMC Management Limited c.
ADC Affiliate c. Hungría   República de Hungría, Caso CIADI N.º ARB/03/16, Laudo (27 de
                           septiembre de 2006) (CLA-16)

                           Ambiente Ufficio S.p.A. y otros c. República Argentina, Caso
                           CIADI N.º ARB/08/9 (Caso anteriormente denominado Giordano
Ambiente c. Argentina
                           Alpi y otros c. República Argentina), Decisión sobre Jurisdicción
                           y Admisibilidad (8 de febrero de 2013) (CLA-90)

                           Autopista Concesionada de Venezuela, C.A. c. República
Autopista c. Venezuela     Bolivariana de Venezuela, Caso CIADI N.º ARB/00/5, Laudo (23
                           de setiembre de 2003) (RLA-60)

                           Azurix Corp. c. República Argentina, Caso CIADI N.º
Azurix c. Argentina
                           ARB/01/12, Laudo (14 de julio de 2006) (CLA-43)

                           Bayindir Insaat Turizm Ticaret Ve Sanayi A.Ş. v. República
Bayindir c. Pakistan       Islámica del Pakistán, Caso CIADI N.º ARB/03/29, Decisión
                           sobre Jurisdicción (14 de noviembre de 2005) (CLA-11)

                           BG Group Plc. c. República Argentina, CNUDMI, Laudo
BG Group c. Argentina
                           Definitivo, (24 de diciembre de 2007) (CLA-37)

                           Biwater Gauff (Tanzania) Ltd. c. República Unida de Tanzania,
Biwater c. Tanzania        Caso CIADI N.º ARB/05/22, Laudo (18 de julio de 2008) (CLA-
                           24)

                           Burlington Resources, Inc. c. República de Ecuador, Caso CIADI
Burlington c. Ecuador      N.º ARB/08/5, Decisión sobre Reconsideración y Laudo (7 de
                           febrero de 2017)

                           Caratube International Oil Company LLP c. La República de
Caratube c. Kazajstán      Kazajstán, Caso CIADI N.º ARB/08/12, Laudo (5 de junio de
                           2012) (RLA-107)




                                         vi
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 310 of 622




                              Caso relativo a la Fábrica de Chorzów (Alemania c. Polonia),
Caso relativo a la Fábrica
                              PCIJ Series A, No. 17, Decisión sobre el Fondo (13 de septiembre
de Chorzów
                              de 1928) (CLA-49)

Caso The Norwegian            The Norwegian Shipowners (Noruega c. Estados Unidos), RIAA
Shipowners                    (13 de octubre de 1922)

                              Chevron Corporation y Texaco Petroleum Corporation c. La
Chevron c. Ecuador            República del Ecuador, CNUDMI, Laudo Definitivo (31 de
                              agosto de 2011) (CLA-63)

                              CME Czech Republic B.V. c. República Checa, CNUDMI, Laudo
CME c. República Checa
                              Parcial (13 de septiembre de 2001) (CLA-14)

                              CMS Gas Transmission Company c. República Argentina, Caso
CMS c. Argentina              CIADI N.º ARB/01/8, Laudo (12 de mayo de 2005) (CLA-36)
                              (CLA-130)

                              ConocoPhillips Petrozuata B.V., ConocoPhillips Hamaca B.V. y
                              ConocoPhillips Gulf of Paria B.V. c. República Bolivariana de
ConocoPhillips c. Venezuela
                              Venezuela, Caso CIADI N.º ARB/07/30, Decisión sobre
                              Jurisdicción y Fondo (3 de septiembre de 2013) (CLA-155)

                              Československá Obchodní Banka, A.S. c. República Eslovaca,
CSOB c. República Eslovaca    Caso CIADI N.º ARB/97/4, Decisión sobre Excepciones a la
                              Jurisdicción (24 de mayo de 1999) (RLA-5)

                              Daimler Financial Services A.G. c. República de Argentina, Caso
Daimler c. Argentina
                              CIADI No. ARB/05/1, Decisón de Anulación (7 de enero de 2015)

                              G. R. Delaume, ICSID and the Transnational Financial
Delaume, ICSID Arbitration
                              Community (1986) (CLA-96)

                              Deutsche Bank AG c. La República Democrática Socialista de Sri
Deutsche Bank c. Sri Lanka    Lanka, Caso CIADI N.° ARB/09/02, Laudo (31 de octubre de
                              2012) (CLA-100)

                              EDF (Services) Ltd. c. Rumania, Caso CIADI N.° ARB/05/13,
EDF c. Rumania
                              Laudo (8 de octubre de 2009)

                              El Paso Energy International Company c. República Argentina,
El Paso c. Argentina          Caso CIADI N.° ARB/03/15, Laudo (31 de octubre de 2011)
                              (CLA-52)

                              Electrabel S.A. c. La República de Hungría, Caso CIADI N.º
Electrabel c. Hungría         ARB/07/19, Decisión sobre Jurisdicción, Derecho Aplicable y
                              Responsabilidad (30 de noviembre de 2012) (RLA-110)



                                            vii
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 311 of 622




                            Elettronica Sicula S.p.A. (ELSI) (Estados Unidos de América c.
ELSI
                            Italia), CIJ, Sentencia, (20 de julio de 1989) (CLA-41)

                            EnCana Corporation c. República de Ecuador, CNUDMI, Laudo
EnCana c. Ecuador
                            (3 de febrero de 2006) (RLA-71)

                            Fedax N.V. c. La República de Venezuela, Caso CIADI N.º
Fedax c. Venezuela          ARB/96/3, Decisión sobre Jurisdicción (11 de julio de 1997)
                            (CLA-142)

                            Flughafen Zurich A.G. y Gestión e Ingeniería IDC S.A. c.
Flughafen c. Venezuela      República Bolivariana de Venezuela, Caso CIADI N.º
                            ARB/10/19, Laudo (18 de noviembre de 2014) (RLA-154)

                            GAMI Investments, Inc. c. Estados Unidos Mexicanos, CNUDMI,
GAMI c. México
                            Laudo (15 de noviembre de 2004) (RLA-64)

                            GEA Group Aktiengesellschaft c. Ucrania, Caso CIADI N.º
GEA Group c. Ucrania
                            ARB/08/16, Laudo (31 de marzo de 2011) (RLA-30)

                            Gemplus S.A., SLP, S.A. y Gemplus Industrial, S.A. de C.V. c.
Gemplus c. México           Estados Unidos Mexicanos Casos CIADI Nos. ARB(AF)/04/3 y
                            ARB(AF)/04/4, Laudo (16 junio de 2010) (CLA-54)

                            Glamis Gold, Ltd. c. Estados Unidos de América, CNUDMI,
Glamis c. EE.UU.
                            Laudo (8 de junio de 2009) (RLA-83)

                            Global Trading Res. Corp. y Globex Int’l c. Ucrania, Caso CIADI
Global Trading c. Ucrania
                            N.° ARB/09/11, Laudo (1 de diciembre de 2010) (RLA-27)

                            Gold Reserve Inc. c. República Bolivariana de Venezuela, Caso
Gold Reserve c. Venezuela   CIADI N.° ARB(AF)/09/1, Laudo (22 de septiembre de 2014)
                            (CLA-156)

Gotanda – Compound          John Yukio Gotanda, Compound Interest in International Disputes
Interest                    (2003) (CLA-61)

                            HICEE B.V. c. República Eslovaca, CNUDMI, Laudo Parcial (23
HICEE c. Eslovaquia
                            de mayo de 2011).

                            Hulley Enterprises Limited (Chipre) c. La Federación Rusa, Caso
Hulley c. Rusia             CPA N.º AA 226, Laudo Definitivo (18 de julio de 2014) (CLA-
                            152)

                            ICSID, Convention on the Settlement of Investment Disputes
                            between States and Nationals of Other States: Documents
ICSID Convention History
                            Concerning the Origin and the Formulation of the Convention,
                            Tomo II, Parte 1 (1968) (RLA-100)


                                         viii
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 312 of 622




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                            (8 de marzo de 2010) (CLA-91)

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Joy Mining c. Egipto        Caso CIADI N.º ARB/03/11, Laudo sobre Jurisdicción (6 de
                            agosto de 2004) (RLA-10)

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Kardassopolous c. Georgia
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                            Inc. c. República Argentina, Caso CIADI N.º ARB/02/1, Decisión
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                                          ix
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 313 of 622




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MHS c. Malasia               N.º ARB/05/10, Decisión sobre Solicitud de Anulación (16 de
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                             Jurisdicción (8 de septiembre de 2006) (CLA-92)

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Noble Venture c. Rumania
                             Laudo (12 de octubre de 2005) (RLA-67)

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Occidental c. Ecuador        Production Company c. La República del Ecuador, Caso CIADI
                             No. ARB/06/11, Laudo (5 de octubre de 2012) (CLA-129)

                             Occidental Exploration and Production Co. c. República del
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Paushok c. Mongolia          Co c. Gobierno de Mongolia, CNUDMI, Laudo sobre Jurisdicción
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                                           x
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 314 of 622




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Philip Morris - Laudo        Hermanos S.A. c. República Oriental del Uruguay, Caso CIADI
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                             Philip Morris Brand Sàrl, Philip Morris Products S.A. y Abal
                             Hermanos S.A. c. República Oriental del Uruguay, Caso CIADI
Philip Morris c. Uruguay
                             N.º ARB/10/7, Decisión sobre Jurisdicción (2 de julio de 2013)
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                             ARB/07/20, Laudo (14 de julio de 2010) (RLA-26)

                             Salini Costruttori S.P.A. e Italstrade S.P.A. c. Reino de
Salini c. Marruecos          Marruecos, Caso CIADI N.º ARB/00/4, Decisión sobre
                             Jurisdicción (16 de julio de 2001) (RLA-7)

                             Saluka Investments BV (Países Bajos) c. República Checa,
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                             CNUDMI, Laudo Parcial (17 de marzo de 2006) (CLA-19)



                                           xi
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 315 of 622




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Santa Elena c. Costa Rica     Costa Rica, Caso CIADI No. ARB/96/1, Laudo (17 de febrero de
                              2000) (CLA-136)

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SGS c. Paraguay               Paraguay, Caso CIADI N.º ARB/07/29, Decisión sobre
                              Jurisdicción (10 de febrero de 2010) (RLA-25)

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                              Laudo (6 de febrero de 2007) (CLA-15)

                              Sistem Muhendislik Insaat Sanayi ve Ticaret A.S. c. República
Sistem c. Kirguistán          Kirguisa, Caso CIADI N.º ARB(AF)/06/1, Laudo (9 de
                              septiembre de 2009)

                              Southern Pacific Properties (Middle East) Ltd. c. República Árabe
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                              1992) (CLA-12)

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Tratado                       Suiza sobre la Promoción y la Protección Recíprocas de las
                              Inversiones (18 de noviembre de 1993) (CLA-1)

                              Ulysseas, Inc. c. La República del Ecuador, CNUDMI, Laudo
Ulysseas c. Ecuador
                              Definitivo (12 de junio de 2012) (RLA-108)




                                            xii
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 316 of 622




                              Venezuela Holdings B.V. y otros c. República Bolivariana de
Venezuela Holdings Mobil c.
                              Venezuela, Caso CIADI N.º ARB/07/27, Laudo (9 de octubre de
Venezuela
                              2014) (RLA-153)

                              Compañía de Aguas del Aconquija S.A. and Vivendi Universal
Vivendi c. Argentina          S.A. c. República Argentina, Caso CIADI N.° ARB/97/3, Laudo
                              (21 de noviembre de 2000)

Waste Management c.           Waste Management, Inc. c. Estados Unidos Mexicanos, Caso
México                        CIADI N.° ARB(AF)/00/3, Laudo (30 de abril de 2004) (CLA-34)




                                          xiii
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 317 of 622




                                           PARTE I: EL ARBITRAJE



(1)        Introducción
           El presente arbitraje versa sobre una disputa sometida al Centro Internacional de Arreglo
           de Diferencias Relativas a Inversiones (“CIADI” o el “Centro”) sobre la base del Acuerdo
           entre la Confederación Suiza y el Gobierno de la República de Venezuela sobre la
           Promoción y la Protección Recíprocas de las Inversiones de fecha18 de noviembre de1993,
           que entró en vigor el 30 de noviembre de 1994 (el “TBI” o “Tratado”), y del Convenio
           sobre Arreglo de Diferencias Relativas a Inversiones entre Estados y Nacionales de Otros
           Estados de fecha 18 de marzo de 1965, que entró en vigor el 14 de octubre de 1966 (el
           “Convenio CIADI”).

(2)        Las Partes
           La Primera Demandante: Koch Minerals Sàrl es una sociedad constituida de conformidad
           con la legislación de Suiza. Inicialmente se denominaba Koch Oil SA, pero cambió su
           denominación por Koch Minerals SA el 11 de abril de 2003 y su tipo societario de S.A. a
           Sàrl el 20 de marzo de 2009 1. En aras de facilitar la referencia, la Primera Demandante y
           sus designaciones anteriores se denominan aquí en su conjunto como “KOMSA” o “Koch”.

           La Segunda Demandante: Koch Nitrogen International Sàrl también es una sociedad
           constituida de conformidad con la legislación de Suiza. En aras de facilitar la referencia,
           la Segunda Demandante se denomina aquí “KNI”.

           Ambas, KOMSA y KNI son “nacionales de otro Estado Contratante” tal como se define en
           el Artículo 25(2)(b) del Convenio CIADI. Suiza firmó el Convenio el 22 de septiembre de
           1967, depositó su instrumento de ratificación el 15 de mayo de 1968, y el Convenio entró
           en vigor respecto de Suiza el 14 de junio de 1968.


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    Solicitud de Arbitraje de las Demandantes (“RfA”) (28 de junio de 2011), n. 22; Extracto del Registre dulll
    Commerce du Canton de Fribourg correspondiente a Koch Minerals, SA, Datos Históricos desde el 5 de noviembre
    de 1998 hasta el 1 de abril de 2009, certificado el 6 de mayo de 2011; Extracto del Registre du Commerce du Canton
    de Fribourg correspondiente a Koch Minerals, Sàrl, fecha de inscripción 24 de enero de 1972, y Extracto con Posibles
    Supresiones (C-3); Solicitud de inscripción correspondiente al Registre du Commerce du Canton de Fribourg de
    transformación de Koch Minerals, SA en Koch Minerals, Sàrl, fecha de inscripción 20 de marzo de 2009 (C-16).

                                                            1
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 318 of 622




Los Representantes Legales de las Demandantes: Las Demandantes fueron representadas
en el marco del procedimiento que nos ocupa por el Sr. J. Kory Parkhurst, representante de
Koch Companies Public Sector, LLC domiciliadas en Wichita, Estado de Kansas, EE. UU.;
por el Sr. Robert Volterra, el Sr. Graham Coop, el Sr. Giorgio Mandelli el Sr. Stephen
Fietta (hasta el 7 de diciembre de 2015), el Sr. Ashique Rahman (hasta el 7 de diciembre
de 2015), la Sra. Zuzana Morháčová, la Sra Jessica Pineda y el Sr. Govert Coppens de la
firma de abogados Volterra Fietta domiciliada en Londres, Reino Unido; y por el Sr. Mark
Beckett de la firma de abogados Cooley LLP de Nueva York, NY, EE.UU y la Sra.
Christina Hioureas de la firma de abogados Chadbourne & Parke LLP domiciliada en
Nueva York, NY, EE. UU (hasta el mes de marzo de 2016).

La Demandada: La Demandada es la República Bolivariana de Venezuela. En aras de
facilitar la referencia, la Demandada se denomina aquí “Venezuela” o la “Demandada”.

La Demandada es un Estado Contratante del Convenio CIADI. Firmó el Convenio el 18
de agosto de 1993, depositó su instrumento de ratificación el 2 de mayo de 1995, y el
Convenio entró en vigor respecto de la Demandada el 1 de junio de 1995.

Los Representantes Legales de la Demandada: La Demandada fue representada en el
marco del procedimiento que nos ocupa por el Dr. Reinaldo Enrique Muñoz Pedrosa,
Procurador General de la República (E), de la Procuraduría General de la República en
Caracas, Venezuela; y por el Sr. Christopher Ryan, el Sr. Thomas B. Wilner y la Sra. Katia
Yannaca-Small (hasta abril de 2017) de la firma de abogados Shearman & Sterling LLP
domiciliada en Washington D.C., EE. UU., y la Sra. Anna Tevini y el Sr. Guillermo
Salcedo Salas de la misma firma de abogados domiciliada en Nueva York, NY y en París,
Francia, respectivamente y por el Sr. José Pertierra de The Law Office of José Pertierra
domiciliada en Washington, D.C., EE. UU.

FertiNitro: Las Demandantes alegan que, en el mes de marzo de 1998, se formaron una
serie de empresas en participación a efectos de la implementación de su inversión en
Venezuela.    Estas empresas incluían a Fertilizantes Nitrogenados de Oriente, SA;
Fertilizantes Nitrogenados de Oriente, CEC; Fertilizantes Nitrogenados de Venezuela,
SRL; y Fertilizantes Nitrogenados de Venezuela, FertiNitro, CEC. Estas empresas en



                                        2
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 319 of 622




      participación se denominan en su conjunto “FertiNitro” o “las Empresas FertiNitro”.
      Ninguna de estas empresas en participación es parte en el presente arbitraje ni goza de
      representación legal ante este Tribunal.

      Koch José Cayman Limited: Koch José Cayman Limited es una sociedad constituida de
      conformidad con la legislación de las Islas Caimán, en calidad de subsidiaria de Koch
      (“Koch José”). KOMSA era titular de su derecho respecto de las Empresas FertiNitro a
      través de Koch José.        Koch José no es parte en el presente arbitraje ni goza de
      representación legal ante este Tribunal.

      Petroquímica de Venezuela, SA: La sociedad venezolana Petroquímica de Venezuela, SA
      (también conocida como “Pequiven”) es una subsidiaria de titularidad exclusiva de
      PDVSA, la empresa petrolera estatal de la Demandada. Ninguna de estas dos empresas es
      parte en el presente arbitraje ni goza de representación legal ante este Tribunal.

(3)   La Solicitud de Arbitraje
      El 28 de junio de 2011, las Demandantes presentaron una solicitud de arbitraje ante el
      CIADI (la “Solicitud” o “Solicitud de Arbitraje”).

      El 19 de julio de 2011, la Secretaria General del CIADI registró la Solicitud de conformidad
      con el Artículo 36(3) del Convenio CIADI y notificó a las Partes del acto de registro. En la
      Notificación del Acto de Registro, la Secretaria General invitó a las Partes a que
      procedieran, lo antes posible, a constituir un Tribunal de Arbitraje conforme a la Regla 7(d)
      de las Reglas Procesales Aplicables a la Iniciación de los Procedimientos de Conciliación
      y Arbitraje del CIADI (las “Reglas de Arbitraje CIADI”).

(4)   El Tribunal de Arbitraje
      El 19 de agosto de 2011, las Demandantes le informaron al Secretariado que mantenían su
      propuesta realizada en la Solicitud de que el Tribunal se constituyera con tres árbitros, uno
      a ser nombrado por cada Parte y el tercero, que presidiría el Tribunal, nombrado de común
      acuerdo por las Partes. En esta carta, las Demandantes también nombraron árbitro al Hon.
      Marc Lalonde, nacional de Canadá, y solicitaron que el Presidente del Consejo
      Administrativo nombrara a los árbitros que aún no hubieren sido designados de



                                                 3
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 320 of 622




conformidad con el Artículo 38 del Convenio CIADI y la Regla 4(1) de las Reglas de
Arbitraje CIADI.

El 23 de septiembre de 2011, el Secretariado confirmó que, en ausencia de acuerdo entre
las Partes dentro del plazo de 60 días posteriores al acto de registro de la Solicitud, el
Tribunal se constituiría con arreglo al Artículo 37(2)(b) del Convenio CIADI y a la Regla
2(3) de las Reglas de Arbitraje CIADI.

El 27 de septiembre de 2011, el Secretariado les informó a las Partes que el Sr. Lalonde
había aceptado su nombramiento en calidad de árbitro.

El 13 de octubre de 2011, la Demandada nombró árbitro al Juez Florentino Feliciano,
nacional de Filipinas.

Mediante una carta de fecha 18 de octubre de 2011,el Secretariado les informó a las Partes
que el Sr. Feliciano había aceptado su nombramiento en calidad de árbitro y confirmó que,
con referencia a la solicitud de las Demandantes y en ausencia de la constitución del
Tribunal dentro del plazo de 90 días posteriores al acto de registro de la Solicitud, el
Presidente del Consejo Administrativo, conforme al Artículo 38 del Convenio CIADI,
nombraría al Presidente del Tribunal previa consulta a las Partes.

El Presidente del Consejo Administrativo del CIADI, a través de la Secretaria General del
CIADI, propuso tres árbitros a consideración de las Partes mediante una carta de fecha 28
de octubre de 2011.

El 31 de octubre de 2011, las Demandantes le informaron al Secretariado que las Partes
habían acordado nombrar Presidente del Tribunal al Sr. V.V. Veeder, nacional del Reino
Unido. El 4 de noviembre de 2011, el Sr. Veeder aceptó su nombramiento en calidad de
Presidente del Tribunal.

El 8 de noviembre de 2011, la Secretaria General notificó a las Partes de que los tres árbitros
habían aceptado sus nombramientos y de que, por ende, el Tribunal se había constituido en
esa fecha, de conformidad con la Regla 6(1) de las Reglas de Arbitraje CIADI. La Sra.
Mairée Uran-Bidegain, Consejera Jurídica del CIADI, fue designada para actuar como
Secretaria del Tribunal.


                                          4
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 321 of 622




Primera Propuesta de Recusación: El 24 de diciembre de 2013, la Demandada presentó
una propuesta de recusación del Sr. Feliciano en calidad de miembro del Tribunal (la
“Primera Propuesta de Recusación”). Este fue el primero de dos intentos separados de
recusar a miembros del Tribunal.

El 29 de diciembre de 2013, el Secretariado del CIADI notificó a las Partes de que el
procedimiento se suspendía conforme a la Regla 9(6) de las Reglas de Arbitraje CIADI y
les transmitió un calendario a fin de que las Partes presentaran observaciones adicionales
acerca de la Primera Propuesta de Recusación. En esa misma carta, se destacó que, con
arreglo a la Resolución Procesal N.° 6, la Dúplica de la Demandada debía presentarse, a
más tardar, el 30 de diciembre de 2013. Por lo tanto, el Tribunal invitó a la Demandada a
proceder a su presentación escrita en la fecha programada anteriormente a efectos de
minimizar cualquier perturbación del arbitraje.

Mediante una carta de fecha 30 de diciembre de 2013, la Demandada afirmó que no estaba
en condiciones de aceptar la invitación descripta supra.

Las Demandantes presentaron observaciones acerca de la Primera Propuesta de Recusación
el 26 de diciembre de 2013 y el 15 de enero de 2014. La Demandada presentó comentarios
adicionales acerca de su propuesta el 8 de enero de 2014. El 1 de febrero de 2014, el Sr.
Feliciano ofreció explicaciones escritas de conformidad con la Regla 9(3) de las Reglas de
Arbitraje CIADI. El 1, el 6 y el 7 de febrero de 2014, las Demandantes y la Demandada
presentaron comentarios adicionales.

El 10 de febrero de 2014, el Sr. Veeder y el Sr. Lalonde (los “Árbitros No Recusados”)
notificaron al Secretariado del CIADI de que había “empate de votos” en los términos del
Artículo 58 del Convenio CIADI y de la Regla 9(4) de las Reglas de Arbitraje CIADI, por
razones “ajenas a [los] méritos o deméritos” [Traducción del Tribunal] de la Primera
Propuesta de Recusación. En la misma fecha, la Secretaria General del CIADI les
transmitió la notificación de los Árbitros No Recusados a las Partes y les informó que el
Presidente del Consejo Administrativo adoptaría la decisión sobre la Primera Propuesta de
Recusación conforme al Artículo 58 del Convenio CIADI y a la Regla 9 de las Reglas de
Arbitraje CIADI.



                                         5
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 322 of 622




El 24 de febrero de 2014, luego de considerar las presentaciones escritas realizadas por las
Partes y las observaciones del Sr. Feliciano, el Presidente del Consejo Administrativo
decidió rechazar la Propuesta de la Demandada de Recusar al Sr. Feliciano. La decisión
escrita del Presidente fue transmitida tanto a las Partes como al Tribunal. El procedimiento
de arbitraje que nos ocupa se reanudó ese mismo día.

Segunda Propuesta de Recusación: El 29 de marzo de 2014, poco tiempo antes de la
audiencia fijada para que tuviera lugar en París, la Demandada propuso la recusación de
los tres Miembros del Tribunal (la “Segunda Propuesta de Recusación”). En esa misma
fecha, el Secretariado del CIADI notificó a las Partes de que el procedimiento de arbitraje
se suspendía conforme a la Regla 9(6) de las Reglas de Arbitraje CIADI. También
transmitió un calendario a efectos de que las Partes presentaran observaciones adicionales
acerca de la Segunda Propuesta de Recusación.

Las Demandantes presentaron sus observaciones acerca de la Segunda Propuesta de
Recusación el 1 y el 15 de abril de 2014. La Demandada presentó comentarios adicionales
acerca de su Segunda Propuesta de Recusación el 16 de abril de 2014.

El 8 de abril de 2014, el Secretariado les transmitió a las Partes las declaraciones
respectivas del Sr. Veeder, del Sr. Lalonde y del Sr. Feliciano acerca de la Segunda
Propuesta de Recusación (las “Declaraciones de los Árbitros”).

El 30 de abril de 2014, después de considerar las observaciones de las Partes y las
declaraciones de los Árbitros, el Presidente del Consejo Administrativo emitió una
Decisión en la que rechazaba la Segunda Propuesta de Recusación de la Demandada. El
Presidente decidió (inter alia) lo siguiente:

  “[E]n el centro del argumento de la Demandada se encuentra su descontento con un
  fallo provisional adoptado por el Tribunal a fin de pronunciarse respecto de una
  cuestión procesal. El mecanismo establecido en virtud del Artículo 57 del Convenio
  CIADI y de la Regla 9 de las Reglas de Arbitraje que pretendía salvaguardar la
  integridad del procedimiento no es un mecanismo de reconsideración de fallos
  adversos. En ausencia de circunstancias objetivas, la mera existencia de un fallo
  adverso en sí misma no es suficiente para probar la carencia manifiesta de




                                          6
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 323 of 622




             imparcialidad o independencia, tal como requieren los Artículos 14 y 57 del
             Convenio CIADI” 2.[Traducción del Tribunal]

           El procedimiento de arbitraje que nos ocupa se reanudó ese mismo día, a saber, el 30 de
           abril de 2014.

(5)        El Procedimiento de Arbitraje
           Primera Reunión: El 21 de diciembre de 2011, el Tribunal celebró su Primera Sesión con
           las Partes por vía de conferencia telefónica. Las Partes confirmaron que los Miembros del
           Tribunal habían sido nombrados en forma válida. Se acordó (inter alia) que las Reglas de
           Arbitraje CIADI aplicables serían las que entraron en vigor el 10 de abril de 2006, que los
           idiomas del procedimiento serían español e inglés, que el lugar del procedimiento de
           arbitraje que nos ocupa sería Washington, DC, EE. UU. y que se dejaría constancia de todas
           esas cuestiones en una resolución procesal ulterior que incluiría el Acta de la Primera
           Sesión. Las Partes también acordaron que este procedimiento de arbitraje comprendería
           una fase escrita y una fase oral. En ese momento, las Partes no lograron llegar a un acuerdo
           respecto de un calendario íntegro a efectos de la(s) fase(s) jurisdiccional/de fondo del
           procedimiento que nos ocupa.

           El 2 de enero de 2012, el Tribunal emitió su Resolución Procesal N.º 1 en la que requería
           que las Demandantes presentaran un memorial completo de su postura el 2 de abril de 2012.

           El 16 de febrero de 2012, en respuesta a la solicitud escrita de la Demandada de fecha 2 de
           febrero de 2012, el Tribunal emitió su Resolución Procesal N.º 2, en la que suspendía este
           procedimiento de arbitraje durante un período de dos meses (comenzando el 2 de febrero
           de 2012 y terminando el 2 de abril de 2012), debido al lamentable fallecimiento en enero
           de 2012 del Procurador General de Venezuela, el Dr. Carlos Escarrá. La resolución
           procesal del Tribunal también disponía que el Memorial de las Demandantes debía
           entonces presentarse el 2 de junio de 2012.

           El 18 de mayo de 2012, el Tribunal les envió a las Partes su borrador de Resolución
           Procesal N.º 3, Acta de la Primera Sesión y Calendario de Presentaciones Escritas, y


2
    Decisión sobre la Propuesta de Recusación del Tribunal de Arbitraje (30 de abril de 2014), Párrafo 100.


                                                           7
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 324 of 622




solicitó los comentarios escritos de las Partes acerca de estos borradores. Entre el 31 de
mayo de 2012 y el 28 de junio de 2012, las Partes presentaron comentarios escritos acerca
del borrador de calendario del Tribunal.

El 3 de julio de 2012, tras considerar las presentaciones de las Partes, el Tribunal emitió su
Resolución Procesal N.º 3, Acta de la Primera Sesión y Calendario de Presentaciones
Escritas, en los que fijaba el calendario procesal para efectos del arbitraje.

El calendario del Tribunal correspondiente a la fase escrita fue modificado posteriormente
el 15 de agosto de 2012 previo acuerdo de las Partes, así como el 22 de noviembre de 2012,
el 18 de diciembre de 2012, el 29 de mayo de 2013 y el 26 de febrero de 2014, de
conformidad con las Resoluciones Procesales N.os 4, 5, 6 y 7, respectivamente del Tribunal,
a petición de una Parte o como consecuencia de las dos propuestas de recusación de la
Demandada (descriptas supra).

Bifurcación. En vista de las diversas peticiones por parte de la Demandada de prórrogas
del plazo para presentar su memorial de contestación, el Tribunal también resolvió en la
Resolución Procesal N.º 4 de fecha 22 de noviembre de 2012, que las excepciones
preliminares se decidirían junto con el fondo conforme a la Regla 41 de las Reglas de
Arbitraje CIADI.

El calendario correspondiente a la fase oral fue fijado originalmente por el Tribunal en la
Resolución Procesal N.º 6 de fecha 29 de mayo de 2013 y modificado posteriormente por
el Tribunal luego de una petición conjunta de las Partes, en la que las Partes acordaron
modificar las fechas de audiencia originales, pero no lograron llegar a un acuerdo respecto
de las nuevas fechas de audiencia.

El 13 de marzo de 2014, el Tribunal resolvió que la Audiencia se celebraría en París,
Francia, en dos sesiones separadas: la primera audiencia comenzando el 31 de marzo de
2014 y terminando a más tardar el 4 de abril de 2014 (mediodía); y la segunda sesión
comenzando el 19 de mayo de 2014 y terminando a más tardar el 23 de mayo de 2014.

El 29 de marzo de 2014, la primera parte de la audiencia que estaba programada para
comenzar en París el 31 de marzo de 2014 fue aplazada como consecuencia de la Segunda



                                           8
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 325 of 622




Propuesta de Recusación de la Demandada. El Tribunal fijó, en forma oral, nuevamente
las fechas definitivas correspondientes a la fase oral del procedimiento que nos ocupa, el
19 de mayo de 2014 y también las confirmó posteriormente en la Resolución Procesal N.º
9 del Tribunal de fecha 4 de agosto de 2014.

Las Presentaciones de las Demandantes: En cuanto a la fase escrita del arbitraje, las
Demandantes presentaron (i) su Memorial el 4 de junio de 2012, (ii) su Réplica sobre
Cuestiones de Fondo y Memorial de Contestación sobre Jurisdicción el 2 de septiembre de
2013 y (iii) su Dúplica sobre Jurisdicción el 14 de marzo de 2014.

Las Presentaciones de la Demandada: La Demandada presentó (i) su Memorial de
Contestación sobre el Fondo y sus Excepciones Preliminares a la Jurisdicción del Tribunal
Arbitral el 28 de febrero de 2013, y (ii) su Dúplica sobre el Fondo y su Réplica sobre
Jurisdicción el 3 de marzo de 2014.

El Testimonio de las Demandantes: Las Demandantes rindieron declaraciones escritas
firmadas de los siguientes testigos de hecho:

   Brent W. Gwaltney, declaraciones de fechas 30 de mayo de 2012, 20 de agosto de 2013
    y 23 de mayo de 2014;

   Jim Sorlie, declaraciones de fechas 29 de mayo de 2012, 26 de julio de 2013 y 28 de
    mayo de 2014; y

   Melquíades A. Parra, declaraciones de fechas 29 de mayo de 2012 y 12 de agosto de
    2013.

Las Demandantes también rindieron informes periciales firmados de los siguientes
expertos:

   Benjamin Esty, informes periciales de fechas 23 de agosto de 2013 y 14 de marzo de
    2014;

   Tim Giles, informes periciales de fechas 2 de junio de 2012 y 30 de agosto de 2013; y




                                         9
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 326 of 622




   Richard S. Sanders, informes periciales de fechas 30 de mayo de 2012 y 27 de agosto
    de 2013.

El Testimonio de la Demandada: La Demandada rindió declaraciones escritas firmadas de
los siguientes testigos de hecho:

   Aníbal Villarroel, declaraciones de fechas 28 de febrero de 2013 y 30 de diciembre de
    2013;

   Carolina Núñez, declaraciones de fechas 28 de febrero de 2013 y 30 de diciembre de
    2013;

   Edgar Flórez, declaraciones de fechas 28 de febrero de 2013 y 30 de diciembre de 2013;

   Víctor Barrientos, declaraciones de fechas 28 de febrero de 2013 y 30 de diciembre de
    2013; y

   Francisco Toro, declaración de fecha 30 de diciembre de 2013 (retirada posteriormente
    por la Demandada, tal como se explicará infra).

La Demandada también rindió informes periciales firmados de Daniel Flores (de la firma
Econ One) de fechas 28 de febrero de 2013 y 3 de marzo de 2014.

Reuniones Procesales: Con referencia a la Resolución Procesal N.º 5 del Tribunal, el
Tribunal celebró una conferencia telefónica procesal con las Partes el 6 de marzo de 2013
a fin de discutir la necesidad, el alcance y la oportunidad de cualquier exhibición de
documentos, al igual que las fechas de la audiencia de dos semanas propuesta.

El 19 de mayo de 2014, luego de la reanudación de este procedimiento de arbitraje (después
del rechazo de la Segunda Propuesta de Recusación de la Demandada), el Tribunal celebró
una reunión procesal con las Partes en París, en las oficinas del Banco Mundial (“la
Reunión Procesal de París”). El Sr. Veeder, el Sr. Lalonde y los representantes legales de
las Partes asistieron a la reunión procesal en persona, mientras que el Sr. Feliciano asistió
por vía de enlace de video desde las oficinas del Banco Mundial ubicadas en Manila. (El
Sr. Feliciano había sufrido un accidente recientemente y sus médicos le habían prohibido
viajar a París). La Reunión Procesal de París se desarrolló sin objeciones de las Partes. Fue


                                         10
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 327 of 622




grabada, y la transcripción literal (corregida) se puso a disposición de las Partes el 20 de
mayo de 2014.

Asimismo, el Presidente del Tribunal, con las Partes, y la Secretaria del Tribunal celebraron
reuniones organizativas preliminares por vía de conferencia telefónica el 24 de marzo de
2014 y el 25 de agosto de 2014.

La Primera Audiencia (septiembre): En cuanto a la fase oral del presente arbitraje, la
primera audiencia sobre jurisdicción y fondo, incluido el interrogatorio de testigos, tuvo
lugar en la sede del Banco Mundial ubicada en París, Francia, el 8 de septiembre y
posteriormente desde el 10 hasta el 12 de septiembre de 2014 (la “Primera Audiencia
(septiembre)”).

Además del Tribunal y su Secretaria, las siguientes personas estuvieron presentes en esta
Primera Audiencia (septiembre):

Por las Demandantes: El Sr. J. Kory Parkhurst, representante legal de KOMSA & KNI; el
Sr. Robert Volterra, el Sr. Stephen Fietta, el Sr. Ashique Rahman, el Sr. Ernesto J. Féliz
De Jesús, la Sra. Zuzana Morháčová, la Sra. Jessica Pineda y la Sra. Zsófia Young, de la
firma de abogados Volterra Fietta; y el Sr. Mark Beckett, la Sra. Christina Hioureas, el Sr.
Christian Urrutia y el Sr. Ariel Meyerstien de la firma de abogados Chadbourne & Parke
LLP. Los testigos y expertos de las Demandantes también estuvieron presentes: el Sr.
Brent Gwaltney, el Sr. Melquíades A. Parra, el Sr. Jim Sorlie y el Sr. Richard Sanders. (El
Sr. Gwaltney, el Sr. Parra y el Sr. Sorlie fueron interrogados en ocasión de la Primera
Audiencia (septiembre)).

Por la Demandada: El Sr. Christopher Ryan, la Sra. Katia Yannaca-Small, la Sra. Anna
Tevini, el Sr. Peik Mäkelä, el Sr. Guillermo Salcedo Salas, el Sr. Agustín Acosta Cárdenas,
la Sra. Evelyn Wiese, el Sr. Ricardo Alarcón Sierra y la Sra. Victoria Cádiz (todos de la
firma de abogados Shearman & Sterling); y el Sr. Isaías Medina (PDVSA). Los testigos
de la Demandada también estuvieron presentes: el Sr. Aníbal Villarroel, el Sr. Edgar Flórez
(FertiNitro) y el Sr. Víctor Barrientos (Pequiven). Los Sres. Villaroel, Flórez y Barrientos
fueron interrogados durante la Primera Audiencia (septiembre), tal como se describirá
infra.


                                         11
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 328 of 622




Los testigos interrogados durante la Primera Audiencia (septiembre) fueron, por orden
alfabético, los siguientes:

   Víctor Barrientos, Día 3 (11 de septiembre de 2014), en 09:03:19 y ss

   Edgar Flórez, Día 4 (12 de septiembre de 2014), en 10:55:18 y ss

   Brent Gwaltney, Día 2 (10 de septiembre de 2014), en 09:17:20 y ss

   Melquíades A. Parra, Día 2 (10 de septiembre de 2014), en 11:08:13 y ss

   Jim Sorlie, Día 2 (10 de septiembre de 2014), en 12:48:22 y ss

   Aníbal Villarroel, Días 3 & 4 (11 y 12 de septiembre de 2014), en 14:24:06 y ss y
    09:00:12 y ss.

La Segunda Audiencia (noviembre): Una segunda audiencia sobre fondo y cuantía de
daños, incluido el interrogatorio de los expertos de las Partes, tuvo lugar en el Centro
Internacional de Resolución de Diferencias, ubicado en Londres, Reino Unido, desde el 23
hasta el 26 de noviembre de 2014 (la “Segunda Audiencia (noviembre)”).

Además del Tribunal y su Secretaria, las siguientes personas estuvieron presentes en esta
Segunda Audiencia (noviembre):

Por las Demandantes: El Sr. J. Kory Parkhurst; los Sres. Jeff Brenner y Kevin Barb de
KOMSA & KNI; el Sr. Robert Volterra, el Sr. Stephen Fietta, el Sr. Giorgio Mandelli, el
Sr. Ashique Rahman, la Sra. Zuzana Morháčová, la Sra. Jessica Pineda y la Sra. Zsófia
Young, de la firma de abogados Volterra Fietta; el Sr. Mark Beckett, la Sra. Christina
Hioureas y el Sr. Christian Urrutia de la firma de abogados Chadbourne & Parke LLP. Los
expertos de las Demandantes también estuvieron presentes: el Sr. Richard Sanders, el Sr.
Tim Giles y la Sra. Jessica Resch. (El Sr. Sanders y el Sr. Giles fueron interrogados durante
la Audiencia de Noviembre).

Por la Demandada: El Sr. Thomas Wilner, el Sr. Christopher Ryan, la Sra. Katia Yannaca-
Small, la Sra. Anna Tevini y la Sra. Evelyn Wiese de la firma de abogados Shearman &
Sterling. Los expertos de la Demandada también estuvieron presentes: el Sr. Daniel Flores,



                                         12
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 329 of 622




           el Sr- Ettore Komi y el Sr. Mark Khouzam. (El Sr. Flores fue interrogado durante la
           Audiencia de noviembre).

           Los testigos interrogados durante la Segunda Audiencia (noviembre) fueron, por orden
           alfabético, los siguientes:

              Daniel Flores, Días 2 & 3 (24 y 25 de noviembre de 2014), en12:51:02 y ss y 09:28:03
               y ss

              Tim Giles, Día 2 (24 de noviembre de 2014), en 09:30:03 y ss

              Richard Sanders, Día 1 (23 de noviembre de 2014), en 14:09:03 y ss.

           Tanto la Primera Audiencia (septiembre) como la Segunda Audiencia (noviembre) fueron
           grabadas mediante una transcripción literal en español e inglés, que se puso a disposición
           de las Partes 3.

(6)        Otras Cuestiones Procesales
           La Presentación de Documentos Adicionales: Mediante una carta de fecha 12 de marzo de
           2014, las Demandantes solicitaron que el Tribunal le ordenara a la Demandada que
           exhibiera lo siguiente: (a) una declaración testimonial y un informe pericial presentados
           por la Demandada en el marco del caso Gambrinus Corp. c. República Bolivariana de
           Venezuela (Caso CIADI N.º ARB/11/31) (el “Arbitraje Gambrinus”), preparados por un
           testigo y un perito que también presentaron una declaración y un informe en nombre y
           representación de la Demandada en el presente caso; y (b) una decisión jurisdiccional
           emitida en el contexto del caso Longreef Investments A.V.V. c. República Bolivariana de
           Venezuela (Caso CIADI N.º ARB/11/5). Las Demandantes también le pidieron
           autorización al Tribunal para incorporar al expediente probatorio diez documentos nuevos
           (los “Documentos Adicionales”), que les enviaron al Tribunal y a la Demandada junto con
           su solicitud.

           El 14 de marzo de 2014, la Demandada se opuso a la solicitud de las Demandantes y pidió
           en respuesta a ello que, si el Tribunal accedía a la solicitud de las Demandantes, la primera

3
    Las referencias a todas las transcripciones de las audiencias infra se hacen del siguiente modo: “Primera Audiencia
    (septiembre) D1.10” denota Día 1, página 10 de la transcripción.


                                                           13
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 330 of 622




semana de la audiencia (tal como estaba programada) se trasladara al 19 de mayo de 2014
de manera de darle a la Demandada tiempo suficiente para preparar una respuesta. Las
Demandantes se opusieron a la solicitud de la Demandada el 16 de marzo de 2014. La
Demandada respondió el 17 de marzo de 2014, reiterando su solicitud de que la primera
semana de la audiencia programada se pospusiera hasta el mes de mayo de 2014 y alegando
que la negativa a conceder ese tiempo adicional vulneraría los derechos de debido proceso
y procedimiento de la Demandada. La Demandada también aseveró que hacía reserva de
todos sus derechos en este aspecto.

El 18 de marzo de 2014, el Tribunal se pronunció respecto de la solicitud de las
Demandantes de fecha 12 de marzo de 2014 (la “Decisión del 18 de marzo”). En esta
decisión, el Tribunal rechazó la petición de las Demandantes relativa a la documentación
del caso Gambrinus y la decisión del caso Longreef.

Con respecto a los Documentos Adicionales, que se trataba de la tercera petición contenida
en la solicitud de las Demandantes, el Tribunal resolvió (inter alia) lo siguiente:

  “En cuanto a la tercera petición, dado que las Demandantes afirman que esta
  documentación refuta directamente la (demorada) Dúplica de la Demandada de
  fecha 3 de marzo de 2014, el Tribunal ordena su incorporación de bene esse al sólo
  efecto de permitirle al Tribunal leer la documentación a fin de pronunciarse respecto
  de la petición de las Demandantes y la oposición de la Demandada (es decir, no
  como ‘prueba’).
  El Tribunal también ordena que la tercera petición de las Demandantes (con la
  oposición de la Demandada) se argumente en mayor profundidad durante los
  alegatos orales de apertura de las Partes al comienzo de la audiencia de la primera
  semana en París que empezará el lunes 31 de marzo de 2014.
  En el supuesto (que no debería asumirse aquí) de que el Tribunal decidiera
  incorporar al expediente probatorio cualquier parte de esta documentación, las
  Partes deberían estar preparadas para cualquier orden emitida en consecuencia,
  incluida cualquier respuesta de la Demandada en cuanto a presentaciones
  adicionales y pruebas de refutación”. [Traducción del Tribunal]

El 21 de marzo de 2014, las Demandantes realizaron ante el Tribunal una segunda solicitud
de autorización para incorporar seis documentos adicionales al expediente probatorio (los
“Documentos Nuevos”).



                                         14
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 331 of 622




El 24 de marzo de 2014, el Tribunal, representado por su Presidente, celebró una reunión
organizativa preliminar con las Partes y la Secretaria del Tribunal por vía de conferencia
telefónica. La Demandada reiteró que participaba en esta conferencia con “plena reserva
de sus derechos” [Traducción del Tribunal]. El Presidente resaltó (inter alia) que él no
podía por sí mismo pronunciarse respecto de la cuestionada admisibilidad de la petición de
las Demandantes de fecha 21 de marzo de 2014 sin sus co-árbitros y que el Tribunal
esperaba que la Demandada realizara comentarios acerca de la petición de las Demandantes
relativa al Sr. Toro el primer día de la audiencia programada.

 El 25 de marzo de 2014, la Demandada se opuso a la petición de las Demandantes del 21
de marzo de 2014 y a la Decisión del 18 de marzo, argumentando que perjudicaban sus
derechos de debido proceso. La Demandada también alegó que la Resolución Procesal N.º
3 del Tribunal obligaba a las Demandantes a argumentar la relevancia de cada documento
antes de presentarlo ante el Tribunal y que a la Demandada se le debería conceder tiempo
suficiente para proporcionar argumentos en contrario y pruebas acerca de la relevancia de
cada documento cuestionado. La Demandada solicitó una vez más que la fase de fondo de
la Audiencia se pospusiera hasta el 19 de mayo de 2014 y también hizo reserva de todos
sus derechos con respecto a los hechos en torno a las peticiones de las Demandantes y las
decisiones del Tribunal. Las Demandantes se opusieron a la solicitud de la Demandada el
26 de marzo de 2014.

La Admisibilidad de la Declaración Escrita del Sr. Toro: El 19 de marzo de 2014, las
Demandantes solicitaron que la declaración escrita del Sr. Francisco Toro (la “Declaración
de Toro”) fuera eliminada del expediente probatorio, sobre la base del fundamento de que,
inter alia, el Sr. Toro había fallecido antes de que su declaración se presentara ante el
Tribunal y, por ende, él no estaba disponible para ser sometido a contrainterrogatorio
durante la Audiencia. El Tribunal invitó a la Demandada a realizar comentarios acerca de
esta petición, a más tardar, el 24 de marzo de 2014.

El jueves 27 de marzo de 2014, el Tribunal emitió la Resolución Procesal N.º 8, en la que
decidía (inter alia) lo siguiente:




                                        15
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 332 of 622




  “Requerir que todas las peticiones procesales pendientes de resolución se planteen
  ante el Tribunal durante los alegatos de apertura de las Partes el 31 de marzo de
  2014, incluidas […]: (i) la incorporación de documentos adicionales al expediente
  probatorio; (ii) el calendario de audiencia y la última petición por parte de las
  Demandantes de interrogatorio directo de 15 minutos; (iii) la petición por parte de
  la Demandada de aplazamiento de la audiencia; y (iv) la admisibilidad de la
  declaración testimonial del Sr. Francisco Toro; y [s]in que el Tribunal prejuzgue
  cualquiera de estas peticiones, las Partes deberán prepararse para la audiencia de
  cinco días en la mayor medida posible, incluidos todos los preparativos en el
  supuesto provisional de que el Tribunal rechace todas estas peticiones o cualquiera
  de ellas el 31 de marzo de 2014”. [Traducción del Tribunal]

El 29 de marzo de 2014, tal como ya se resumiera supra, la Demandada presentó su
Segunda Propuesta de Recusación, que fue rechazada posteriormente por el Presidente del
Consejo Administrativo el 30 de abril de 2014. Tal como también se resumiera supra, el
efecto de esta Segunda Propuesta de Recusación consistió en procurar el abandono de la
audiencia programada en París.

La Demandada presentó anexos y correspondencia adicionales relativos a la Declaración
de Toro el 28 de mayo de 2014, seguidos de las declaraciones testimoniales
complementarias de Brent Gwaltney y Jim Sorlie presentadas por las Demandantes el 29
de mayo de 2014. Las Demandantes también presentaron correspondencia relativa a la
Declaración de Toro el 9 de junio de 2014, a la que la Demandada respondió el 13 de junio
de 2014, seguida de la petición de las Demandantes el 26 de julio de 2014.

El 5 de septiembre de 2014, el Tribunal emitió su Resolución Procesal N.º 10, en la que
decidió (inter alía) lo siguiente:

  “a. Autorizar a la Demandada a retirar del expediente probatorio la declaración
  testimonial ofrecida del Sr. Toro de fecha 30 de diciembre de 2013 (como
  consecuencia de lo cual no será tratada como prueba en el marco del procedimiento
  de arbitraje que nos ocupa); y
  b. Reservar su decisión por el momento respecto de cualquier deducción adversa que
  se haga a partir del retiro de la Declaración de Toro y la ausencia de exhibición por
  parte de la Demandada de la(s) declaración(es) testimonial(es) del Sr. Toro en el
  contexto del arbitraje Gambrinus en virtud de la Resolución Procesal N.° 9”.
  [Traducción del Tribunal]



                                        16
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 333 of 622




           El 19 de diciembre de 2014, la Demandada le transmitió al Secretariado las eliminaciones
           acordadas por las Partes respecto de la Dúplica de la Demandada y del Segundo Informe
           Pericial Econ One que derivaban del retiro por parte de la Demandada de la Declaración
           de Toro del expediente, tal como se señalara supra. El 22 de diciembre de 2014, las
           Demandantes confirmaron su acuerdo con las eliminaciones transmitidas y afirmaron en
           esa misma comunicación que consideraban apropiado y necesario realizar eliminaciones
           adicionales, a lo que la Demandada respondió el 29 de diciembre de 2014.

           Tras la reconstitución del Tribunal tal como se indicara infra, el 17 de mayo de 2016, las
           Demandantes presentaron otra petición ante el Tribunal en la que reiteraban su solicitud de
           que las eliminaciones adicionales se aplicaran a la Dúplica de la Demandada y al Segundo
           Informe Pericial Econ One del Dr. Flores. Esta fue seguida de la respuesta de la Demandada
           de fecha 1 de junio de 2016 y la Resolución Procesal N.º 11 del Tribunal de fecha 8 de
           junio de 2016 que se pronunciaba respecto de esta cuestión, tal como se explicará infra.

           El Informe Advantis: Mediante una carta de fecha 12 de marzo de 2014, las Demandantes
           le pidieron al Tribunal autorización para incorporar al expediente probatorio un informe
           valuatorio de Advantis (conocido como el Segundo Informe Advantis). La carta de las
           Demandantes establecía, en su parte pertinente, lo siguiente 4:

             “Informe valuatorio Advantis de FertiNitro por parte de la Demandada: Este
             documento fue mencionado en la Réplica de las Demandantes [párrafo 105] y la
             Segunda Declaración Testimonial del Sr. Brent Gwaltney en el párrafo 40, y es
             claramente relevante para la valuación de FertiNitro por parte de la Demandada en
             el marco del procedimiento que nos ocupa. En su Dúplica [párrafo 228], la
             Demandada hace referencia a las supuestas negociaciones de buena fe, en el curso
             de las cuales presentó el documento (sobre una base no sin efecto de cosa juzgada y
             confidencial) ante las Demandantes. Puesto que ya se menciona en las
             presentaciones de las Demandantes, fue creado para la Demandada y, por
             consiguiente, ya se encuentra en poder de la Demandada, incorporar el anexo en
             esta etapa no puede tener efecto perjudicial alguno. Asimismo, dicha prueba de las
             valuaciones anteriores de FertiNitro por parte de la Demandada claramente
             deberían ser relevantes para la evaluación por parte del Tribunal de la presunta



4
    Carta de las Demandantes al Tribunal de Arbitraje de fecha 12 de marzo de 2014, página 4.


                                                          17
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 334 of 622




              valuación de la Demandada en el contexto de este procedimiento” (Nota al pie
              omitida). [Traducción del Tribunal]

           La petición de las Demandantes fue disputada mediante la carta de la Demandada de fecha
           14 de marzo de 2014, a la que las Demandantes respondieron mediante una carta de fecha
           16 de marzo de 2014 y a que la Demandada respondió, a su vez, mediante una carta de
           fecha 17 de marzo de 2014.

           Mediante su carta de instrucciones de fecha 18 de marzo de 2014, el Tribunal decidió
           examinar el documento cuestionado por sí mismo, por el momento de bene esse solamente.
           (El Tribunal también indicó allí que la diferencia entre las Partes se analizaría en más
           profundidad con las Partes durante la próxima audiencia, entonces programada para
           comenzar el 31 de marzo de 2014, pero luego suspendida después de la Segunda Propuesta
           de Recusación de la Demandada).

           Posteriormente, durante la Reunión Procesal de París celebrada el 19 de mayo de 2014, las
           Partes llegaron a un acuerdo respecto de la incorporación de este documento al expediente
           probatorio, junto con otros 5. Este Segundo Informe Advantis fue designado C-157 y
           comprendía tres páginas bajo el título “Documento Especial” con cinco páginas de anexos,
           presentados en idioma español del original con una traducción al inglés. [Traducción del
           Tribunal.] La Demandada presentó, previo acuerdo de las Demandantes, el Primer Informe
           Advantis designado R-86, que comprendía 22 páginas del informe, los correos electrónicos
           de Advantis a Pequiven y de Pequiven a los accionistas de FertiNitro de fechas 18 y 19 de
           mayo de 2011, respectivamente, que transmitían el informe, y cinco páginas de anexos en
           el español original.

           Escritos Posteriores a la Audiencia y Presentaciones sobre Costos: Las Partes presentaron
           escritos posteriores a la audiencia simultáneos el 30 de enero de 2015. Las Partes realizaron
           sus presentaciones sobre costos el 13 de febrero de 2015.

           El Sr. Feliciano lamentablemente falleció en el mes de diciembre de 2015, en un momento
           en el que las deliberaciones del Tribunal no se habían completado totalmente.


5
    Véanse Resolución Procesal N.º 9, Párrafos 17 y 18; mensaje de correo electrónico de las Demandantes de fecha 28
     de mayo de 2014; mensaje de correo electrónico de la Demandada de fecha 28 de mayo de 2014.


                                                          18
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 335 of 622




(7)   La Reanudación del Procedimiento en Virtud de la Regla 12
      Mediante una carta dela Secretaría del CIADI de fecha 16 de diciembre de 2015, como
      consecuencia del fallecimiento del Sr. Feliciano y de la vacante en el Tribunal, este
      procedimiento de arbitraje fue suspendido de conformidad con la Regla 10(2) de las Reglas
      de Arbitraje CIADI.

       Mediante una carta de fecha 1 de febrero de 2016, la Secretaría del CIADI notificó a las
      Partes de que la vacante que se había generado en el Tribunal como consecuencia del
      fallecimiento del Sr. Feliciano se había cubierto con el nombramiento del Profesor Zachary
      Douglas en calidad de co-árbitro realizado por la Demandada y, además, que, conforme a
      la Regla 12 de las Reglas de Arbitraje CIADI, el procedimiento que nos ocupa se reanudaba
      a partir del 1 de febrero de 2016 desde el punto a que había llegado al momento en que
      ocurrió la vacante.

      Mediante su Resolución Procesal N.º 11 de fecha 8 de junio de 2016, el Tribunal abordó la
      petición de las Demandantes de fecha 17 de mayo de 2016, objetada mediante la carta de
      la Demandada de fecha 1 de junio de 2016, de eliminar ciertas referencias al Sr. Toro en la
      Dúplica de la Demandada y su Segundo informe pericial Econ One del Dr. Flores rendido
      por la Demandada. El Tribunal decidió ordenar parte de las eliminaciones solicitadas de
      la Dúplica y del informe, en la forma allí establecida, con sujeción a una resolución
      adicional.

      Con anterioridad a la Tercera Audiencia (junio), el Tribunal les envió a las Partes listas no
      taxativas de cuestiones y temas que habían de abordarse durante esa Audiencia. Estas listas
      se exponen en la Parte III infra.

      La Tercera Audiencia (junio): De conformidad con la Regla 12 de las Reglas de Arbitraje
      CIADI, se celebró una audiencia oral en el IDRC ubicado en Londres, Reino Unido, el 9 y
      el 10 de junio de 2016, que fue grabada mediante una transcripción literal, que se puso a
      disposición de las Partes.          El procedimiento aplicable a esta Audiencia sobre
      Reconstitución fue establecido mediante la carta del Tribunal a las Partes de fecha 29 de
      abril de 2016.




                                                19
         Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 336 of 622




          Además del Tribunal y su Secretaria, las siguientes personas estuvieron presentes en esta
          Tercera Audiencia (junio):

           Por las Demandantes: El Sr. Jeff Brenner y el Sr. J. Kory Parkhurst (representantes legales
          de KOMSA & KNI); el Sr. Robert Volterra, el Sr. Graham Coop, el Sr. Govert Coppens,
          la Sra. Jessica Pineda, la Sra. Zuzana Morháčová, la Sra. Isabella Sif y la Sra. Chiara Atzeni
          de la firma de abogados Volterra Fietta; y el Sr. Mark Beckett de la firma de abogados
          Chadbourne & Parke.

          Por la Demandada: El Sr. Christopher Ryan, el Sr. Thomas Wilner, la Sra. Anna Tevini,
          el Sr. David Earnest, el Sr. Guillermo Salcedo Salas y la Sra. Evelyn Wiese (todos de la
          firma de abogados Shearman & Sterling).

          La Tercera Audiencia (junio) fue grabada mediante una transcripción literal en español e
          inglés, que se puso a disposición de las Partes.

          El 30 de junio de 2016, las Partes completaron sus respectivas respuestas a las Tablas 1 a
          4 de las Demandantes de acuerdos y desacuerdos entre el Sr. Giles y el Dr. Flores, sus
          expertos en materia de cuantía de daños, tal como solicitara el Tribunal durante la Tercera
          Audiencia (junio) 6. Las Partes presentaron sus respectivos reclamos de costos actualizadas
          mediante escritos de fechas 8 y 12 de julio de 2016. Mediante varios mensajes de correo
          electrónico de fechas 12 y 26 de julio de 2016, las Partes presentaron sus respectivas tablas
          sobre intereses.

           Mediante una carta de fecha 7 de julio de 2016, la Demandada se opuso a la admisibilidad
          de ciertas partes de las diapositivas de presentación utilizadas por las Demandantes durante
          sus alegatos orales de cierre en la Audiencia sobre Reconstitución. A instancia del
          Tribunal, las Demandantes respondieron a la objeción de la Demandada mediante una carta
          de fecha 22 de julio de 2016. El Tribunal decidió reservar su decisión sobre la objeción de
          la Demandada hasta el presente Laudo. Ha decidido rechazar dicha objeción, consciente
          también de que estas partes cuestionadas no desempeñan un rol sustancial en los motivos
          o el resultado del presente Laudo.


6
    Tercera Audiencia (junio) D2.412-413.


                                                   20
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 337 of 622




        Cierre: El procedimiento que nos ocupa se declaró cerrado el 31 de agosto de 2017, de
        conformidad con la Regla 38(1) de las Reglas de Arbitraje CIADI.

(8)     Los Petitorios de las Partes
         Las Solicitudes de las Demandantes: Las Demandantes le reclaman, tal como fuese
        argumentado finalmente en la Sección VI de su Escrito Post-Audiencia (también
        confirmado en la Réplica sobre Cuestiones de Fondo y Memorial de Contestación sobre
        Jurisdicción de las Demandantes, Párrafo 601), al Tribunal emita un Laudo:

             a. En el que se declare que la Demandada ha violado los Artículos 4, 6 y 11 del
                 Tratado;

             b. en el que se ordene que la Demandada le pague a KOMSA una compensación por
                 la expropiación de su inversión y pérdidas históricas equivalentes a 444,6 millones
                 USD (al 30 de enero de 2015, sujeto a cambios según la fecha del Laudo) 7;

             c. en el que se ordene que la Demandada le pague a KNI una compensación por la
                 expropiación de su inversión por el monto de 227,8 millones USD (al 30 de enero
                 de 2015, sujeto a cambios según la fecha del Laudo) 8;

             d. en el que se declare que la expropiación de las inversiones de las Demandantes por
                 parte de la Demandada fue ilícita;

             e. en el que se establezca cualquier otro daño o compensación que el Tribunal
                 considere apropiado por la expropiación ilícita y otras violaciones al TBI cometidas
                 por la Demandada;

             f. en el que se ordene que la Demandada pague los intereses que el Tribunal le otorga
                 a las Demandantes (incluidos los costos y los intereses) a la tasa LIBOR trimestral
                 en dólares estadounidenses más 2 % capitalizado trimestralmente, a partir de la


7
  Cifra actualizada tal como se incluye en el Escrito Post-Audiencia de las Demandantes. La compensación solicitada
  en la Réplica sobre Cuestiones de Fondo y Memorial de Contestación sobre Jurisdicción de las Demandantes
  correspondiente a KOMSA asciende a USD 432,7 millonesal 31 de agosto de 2013.
8
  Cifra actualizada tal como se incluye en el Escrito Post-Audiencia de las Demandantes. La compensación solicitada
  en la Réplica sobre Cuestiones de Fondo y Memorial de Contestación sobre Jurisdicción de las Demandantes
  correspondiente a KNI asciende a USD 220,8 millones al 31 de agosto de 2013.


                                                        21
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 338 of 622




                  fecha del Laudo y hasta que la Demandada termine de pagar el monto total otorgado
                  en el Laudo;

             g. en el que se ordene que la Demandada pague los costos del arbitraje, incluidos todas
                  las tasas y gastos del CIADI y del Tribunal y todos los costos legales y gastos en
                  que incurrieron las Demandantes, distribuidos entre las Demandantes en la misma
                  proporción en que se les otorgó la compensación, con intereses que se calculan de
                  acuerdo con el párrafo [f] que aparece más arriba; y

             h. en el que se ordene cualquier otra compensación que el Tribunal considere
                  apropiada.

        En su Dúplica sobre Jurisdicción 9, las Demandantes solicitaron que el Tribunal “desestime
        en su totalidad las objeciones de la Demandada a la jurisdicción del Tribunal y que los
        costos de los procedimientos jurisdiccionales, sea cual fuere el resultado de las cuestiones
        de fondo, les sean reembolsados a las Demandantes.”

        Las Solicitudes de la Demandada: La Demandada, tal como fuese argumentado finalmente
        en su Dúplica sobre el Fondo 10 y en su Escrito Post-audiencia 11, le reclama el siguiente
        resarcimiento al Tribunal:

           “(i) que declare que los derechos de KNI en el Offtake Agreement no constituyen una
           inversión a efectos del Artículo 25 del Convenio CIADI y/o el Artículo 1(2) del TBI
           entre Venezuela y Suiza, y, por lo tanto, no están dentro de la jurisdicción del
           Tribunal Arbitral;
           (ii) que desestime las reclamaciones de KNI en su totalidad por falta de jurisdicción;
           (iii) que declare que la República no ha violado ninguno de los estándares de
           protección del TBI entre Venezuela y Suiza;
           (iv) que desestime todas las reclamaciones de los Demandantes;
           (v) que conceda a la República todos los costos y honorarios incurridos en el
           presente arbitraje, que incluyen los honorarios razonables de abogados y peritos;
           (vi) que conceda a la República cualquier otra reparación que el Tribunal Arbitral
           considere apropiada”.



9
   Dúpl. Koch, Párrafo 93.
10
   Dúpl. Ven., Párrafo 531.
11
   EPA Ven., Párrafo 273.


                                                  22
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 339 of 622




                     PARTE II: LA CONTROVERSIA DE LAS PARTES



(1)   Introducción
2.1   Indefectiblemente, a medida que transcurrió el presente procedimiento de arbitraje, las
      cuestiones que surgieran de la controversia original de las Partes devinieron más complejas
      y significativamente más numerosas, extendiéndose lo que fuera originalmente una
      aparente controversia en gran parte relacionada con la cuantificación de daños (en el marco
      del reclamo de expropiación de KOMSA durante la Primera Sesión) a una controversia
      importante en materia de jurisdicción, responsabilidad, compensación, intereses y costas al
      momento del presente Laudo.

2.2   En esta sección, el Tribunal resume los argumentos respectivos de las Partes en lo que se
      refiere a la jurisdicción, la responsabilidad y la cuantificación de daños. Otras secciones de
      los respectivos argumentos de las Partes se abordan más adelante en el presente Laudo.

(2)   El Argumento de las Demandantes
2.3   Jurisdicción: En resumen, en lo que respecta a la jurisdicción, las Demandantes sostienen
      que el Tribunal goza de competencia en el fondo de la controversia de las Partes en materia
      de inversiones en el presente arbitraje. Las Demandantes sostienen que la controversia
      surge a partir de diversas violaciones por parte de la Demandada de sus obligaciones en
      virtud del Tratado y de los derechos pertinentes de las Demandantes (incluidos los derechos
      de las Demandantes al amparo del derecho internacional consuetudinario) que confieren a
      las Demandantes el derecho a recibir una compensación íntegra por las pérdidas que las
      Demandantes han soportado como consecuencia directa de las violaciones del Tratado por
      parte de la Demandada.

2.4   Las Demandantes sostienen que tanto las Demandantes como la Demandada han dado su
      consentimiento por escrito para someter a arbitraje esa controversia en materia de
      inversiones de conformidad con el Convenio CIADI, tal como se establece en el Artículo
      25 del Convenio CIADI y el Artículo 9 del Tratado. Las Demandantes sostienen que el
      consentimiento por escrito de la Demandada devino efectivo en el momento de entrada en




                                               23
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 340 of 622




        vigor del Tratado el 30 de noviembre de 1994, debidamente aceptado por las Demandantes
        con su Solicitud de Arbitraje de fecha 28 de junio de 2011.

2.5     Las Demandantes sostienen que la controversia de las Partes implica una “controversia
        sobre inversiones” entre una Parte Contratante e inversores de otra Parte Contratante y se
        encuentra dentro del ámbito de consentimiento de la Demandada en virtud del Artículo 25
        del Convenio CIADI y el Artículo 1(1) (que define el término “inversor”), el Artículo 1(2)
        (que define el término “inversión”) y el Artículo 9(5) del Tratado 12.

2.6     Las Demandantes sostienen que tanto KOMSA como KNI son sociedades constituidas de
        acuerdo a la legislación de Suiza y, por consiguiente, son “inversores” según la definición
        del Artículo 1(1)(b) del Tratado. Las Demandantes sostienen asimismo que KOMSA y
        KNI poseían “inversiones” en Venezuela, según la definición del Artículo 1(2) del Tratado.
        En particular, las Demandantes sostienen que: (i) KOMSA, a través de Koch José, era
        titular de una participación accionaria en FertiNitro, lo que constituía una “inversión” en
        virtud del Tratado; y (ii) KNI detentaba una participación en el Offtake Agreement
        celebrado entre KNI y FertiNitro 13, lo que constituía derechos de ejecución en virtud de un
        contrato y de esa manera una “inversión” en virtud del Tratado.

2.7     Las Demandantes sostienen que existe una “controversia” entre las Demandantes y la
        Demandada en lo que se refiere al incumplimiento por parte de la Demandada de sus
        obligaciones con arreglo al Tratado en relación con las inversiones de las Demandantes en
        Venezuela, incluida la expropiación por parte de la Demandada de la participación de
        KOMSA en FertiNitro y la participación de KNI en el Offtake Agreement, conjuntamente
        con la falta de compensación a las Demandantes por parte de la Demandada.

2.8     Por consiguiente, las Demandantes llegan a la conclusión, de que existe una “controversia
        sobre inversiones” entre una Parte Contratante e inversores de la otra Parte Contratante que
        se encuentra dentro del ámbito del consentimiento de la Demandada al arbitraje en virtud
        del Tratado y del Convenio CIADI.


12
   Acuerdo entre la República de Venezuela y la Confederación Suiza sobre la Promoción y la Protección Recíprocas
   de las Inversiones (18 de noviembre de 1993) (“Tratado”) (CLA-1).
13
   Offtake Agreement entre Pequiven, IPSL, y Koch Oil SA en calidad de Compradoras y FertiNitro en calidad de
   Vendedora, de fecha 8 de abril de 1998 (“Offtake Agreement”) (C-19).


                                                       24
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 341 of 622




2.9     Las Demandantes sostienen que solicitaron consultas con la Demandada – sin éxito alguno.
        El 9 de noviembre de 2010, el Sr. Steve Packebush (de la firma KOMSA) envió una carta
        al Sr. Saúl Ameliach (Presidente de Pequiven), con copia a Su Excelencia Rafael Ramírez
        (el Ministro de Energía y Petróleo de la Demandada) para notificar formalmente a la
        Demandada de la controversia sobre inversiones entre las Demandantes y la Demandada
        con relación (según sostienen las Demandantes) a las violaciones del Tratado por parte de
        la Demandada 14. En esa carta las Demandantes proponían que los representantes de las
        Demandantes se reunieran con los representantes de la Demandada “para iniciar
        discusiones y consultas en cuanto a la manera en la cual Venezuela compensaría a Koch
        por la pérdida de su inversión en Venezuela”. [Traducción del Tribunal]. Las Demandantes
        afirman que Pequiven no les ofreció compensación alguna por las violaciones del Tratado
        por parte de la Demandada. Posteriormente, las Demandantes dieron instrucciones a sus
        representantes legales (Latham & Watkins) de presentarle a la Demandada otra solicitud
        de consultas, mediante carta de fecha 20 de enero de 2011 al Presidente de la Demandada,
        con copia (inter alios) al Procurador General de la Demandada 15.              Ulteriormente, según
        las Demandantes, se celebraron reuniones entre los representantes de las Demandantes y la
        Demandada, que no mostraron resultados satisfactorios para ninguna de las dos
        Demandantes.

2.10    Por consiguiente, las Demandantes concluyen que efectivamente solicitaron y celebraron
        consultas con la Demandada en pos de arribar a una resolución amistosa de la controversia
        de las Partes, según lo exige el Tratado. Las Demandantes concluyen asimismo que
        también esperaron hasta el vencimiento del período de reflexión (cooling-off’ period)
        conforme lo exige el Artículo 9(2) del Tratado, adquiriendo así el derecho a someter la
        controversia de las Partes al arbitraje del CIADI, como lo hicieran con su Solicitud de
        Arbitraje de fecha 28 de junio de 2011 y, además, que este Tribunal goza de competencia
        para pronunciarse sobre la controversia de las Partes.




14
   Carta del Sr. Steve Packebush, KOMSA al Sr. Saúl Ameliach, Pequiven SA (9 de noviembre de 2010) (SdA, Exh.
   6).
15
   Carta de Robert Volterra, Latham & Watkins al Presidente Hugo Rafael Chávez Frías (20 de enero de 2011) (SdA,
   Exh. 7).


                                                      25
         Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 342 of 622




2.11      Responsabilidad: En resumen, en lo que respecta a la responsabilidad, las Demandantes
          sostienen que la Demandada violó sus obligaciones en el Tratado ocasionándoles pérdidas
          y daños a cada una de las Demandantes y a sus inversiones.

2.12      Las Demandantes sostienen que, durante la década de 1990, Venezuela impulsó de manera
          activa una política de fomento de inversiones extranjeras, en particular en sus industrias
          hidrocarburíferas y petroquímicas. En este momento, Pequiven (en calidad de compañía
          petroquímica estatal de la Demandada) procuró conseguir socios extranjeros para participar
          en el desarrollo de una planta de fertilizantes en José en el estado venezolano de
          Anzoátegui.

2.13      En 1997, se seleccionó a KOMSA como socio extranjero con el conocimiento y experiencia
          necesarios para participar en el desarrollo de la planta de fertilizantes propuesta y para
          comercializar el fertilizante que fabricaría la planta propuesta. KOMSA y Pequiven
          procedieron a constituir una empresa conjunta para la construcción de dos plantas de
          amoníaco y dos plantas de urea granular en José (la “Planta FertiNitro”) y para la
          comercialización y venta del amoníaco y la urea producidos en la Planta.

2.14      En marzo de 1998, se formó una serie de empresas en participación a los fines de
          implementar el proyecto. Estas eran las Empresas FertiNitro (denominadas aquí, en su
          conjunto, “FertiNitro”). Se aseguró el financiamiento externo para el desarrollo de la
          Planta FertiNitro en el presupuesto de que se les vendería el rendimiento de la Planta a
          KNI, Pequiven e International Petrochemical Sales Limited (una subsidiaria de Pequiven)
          en los términos comprendidos en el Offtake Agreement. Según las Demandantes, desde el
          comienzo, el Offtake Agreement fue fundamental para las inversiones de las Demandantes.

2.15      Una vez asegurado el financiamiento externo para el desarrollo de la Planta, Pequiven,
          KOMSA, Snamprogetti Netherlands BV (“Snamprogetti”) y Polar José Investments,
          Limited (“Polar”) celebraron una serie de acuerdos relativos al proyecto. Estos acuerdos
          incluían: (i) el “Convenio de Inversionistas Conjuntos” de fecha 8 de abril de 1998 entre
          Pequiven, KOMSA, Snamprogetti y Polar 16, que disponía (inter alia) que FertiNitro sería


16
     Convenio de Inversionistas Conjuntos suscripto entre Pequiven, Koch Oil SA, Snamprogetti Netherlands BV, y
     Polar Uno, CA (8 de abril 1998) (“JIA”) (C-18).


                                                       26
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 343 of 622




           35% de titularidad de Koch José, 35% de titularidad de Pequiven, 20% de titularidad de
           Snamprogetti y 10% de titularidad de Polar; (ii) el “Offtake Agreement” de fecha 8 de abril
           de 1998 17, que concedía a KOMSA el derecho de adquirir una cantidad garantizada del
           amoníaco y la urea producidos por FertiNitro a un precio con descuento durante un período
           de 20 años (KOMSA, a través de Koch José, posteriormente ostentó la titularidad del 25%
           de la participación de FertiNitro; y posteriormente se confirieron a KNI los derechos de
           KOMSA en virtud del Offtake Agreement) y (iii) el “Contrato EPC” de fecha 8 de abril de
           1998 18, para la construcción de la Planta entre FertiNitro, CEC y Snamprogetti como
           contratista principal.

2.16       La construcción de la Planta comenzó en el mes de mayo de 1998 y se completó en el mes
           de diciembre de 2001, cuando FertiNitro le otorgó el certificado de aceptación provisional
           a Snamprogetti. Anteriormente, en mayo de 2001, FertiNitro había iniciado la producción
           comercial en la Planta. Las Demandantes alegan que, salvo determinados períodos de
           interrupción (por ejemplo, cuando PDVSA no le proporcionó gas metano o Pequiven no le
           proporcionó electricidad a la Planta) la producción comercial en la Planta continuó hasta
           que la Demandada expropió FertiNitro el 11 de octubre de 2010, tal como se sintetiza infra.

2.17       Las Demandantes sostienen que la Demandada adoptó medidas ilícitas contra las
           inversiones de las Demandantes en violación del Tratado, que han redundado en que las
           Demandantes sufrieran pérdidas significativas. Estas medidas culminaron el 11 de octubre
           de 2010 en la expropiación de la participación de KOMSA en FertiNitro y la expropiación
           de la participación de KNI en el Offtake Agreement. La Demandada no les proporcionó a
           las Demandantes compensación alguna por la expropiación de sus inversiones. En síntesis,
           las Demandantes enumeran las medidas ilícitas de la Demandada contra las inversiones de
           las Demandantes, en violación de los Artículos 4(1), 4(2), 6, y 11(2) del Tratado, de la
           siguiente manera.




17
     Offtake Agreement (C-19).
18
     Contrato de Ingeniería, Compras y Construcción suscripto entre FertiNitro y Snamprogetti (8 de abril de 1998) (C-
     24).


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 344 of 622




2.18    Nuevos impuestos e incrementos fiscales: La Demandada le impuso a FertiNitro una serie
        de nuevos impuestos e incrementos fiscales con el objeto y el efecto de desviar sus
        utilidades a la Demandada. Esta es la primera de las “Pérdidas Históricas” de KOMSA.

2.19    Estos nuevos impuestos erosionaron la rentabilidad de FertiNitro y privaron a KOMSA de
        los beneficios económicos de su inversión. Estos impuestos e incrementos fiscales fueron
        directamente contrarios a las expectativas legítimas de KOMSA en las que se basó en el
        momento de adoptar la decisión de invertir en FertiNitro. Por ejemplo, en el mes de
        diciembre de 2005, la Demandada impuso un impuesto a las Sustancias Narcóticas y
        Psicotrópicas a FertiNitro que obligó a FertiNitro a asignar fondos a programas sociales
        determinados o a proporcionarle a la Demandada el 1% del ingreso neto anual de
        FertiNitro. Alrededor de esa misma época, la Demandada promulgó además la Ley
        Orgánica de Ciencia, Tecnología e Innovación 19. Esta obligó a FertiNitro, a partir del 1 de
        enero de 2006, a asignar fondos a determinados programas de desarrollo científico o a
        proporcionarle a la Demandada el 0,5% de sus ingresos brutos generados en Venezuela.
        Además, en 2006, se incrementó el impuesto municipal aplicable a FertiNitro del 1% al
        2% y en 2007 al 2,4% de las ventas de FertiNitro. Estas medidas, en particular cuando se
        la considera de manera acumulativa, impactaron negativamente en la rentabilidad de
        FertiNitro a expensas de KOMSA y en beneficio de la Demandada.

2.20    IVA: La Demandada no le proporcionó prontamente o en lo absoluto a FertiNitro
        reembolsos de IVA a los cuales tenía derecho. Esta es la segunda de las “Pérdidas
        Históricas” de KOMSA.

2.21    En el mes de mayo de 1999, la Demandada promulgó la Ley que establece el Impuesto al
        Valor Agregado (“IVA”) 20. Esta ley previó una tasa tributaria de cero para exportadores y
        otorgó a esos exportadores el derecho a recuperar Certificados Especiales de Reembolso
        Tributario (“CERT”) en lo que se refiere al IVA sufragado sobre la compra o importación
        de bienes y servicios. En virtud de la ley de IVA, el contribuyente presentaría una solicitud
        a la administración tributaria de la Demandada, el “SENIAT” (abreviatura de “Servicio


19
   Ley Orgánica de Ciencia, Tecnología e Innovación (en vigor desde el 1 de enero 2006) (“Ley de Ciencia y
   Tecnología”) (C-43).
20
   Ley de Reforma Parcial de la Ley que establece el Impuesto al Valor Agregado (11 de agosto de 2004) (C-55).


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          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 345 of 622




           Nacional Integrado de Administración Aduanera y Tributaria”); y posteriormente, el
           SENIAT emitiría un “CERT” (abreviatura de “Certificados Especiales de Reembolso
           Tributario”).     Posteriormente, el contribuyente podría utilizar sus CERT para pagar
           cualquier impuesto nacional (incluidos el impuesto sobre la renta y el IVA) o cedérselos a
           terceros para fines similares.          FertiNitro pagó montos significativos de IVA a la
           Demandada durante el curso de sus operaciones. En lo que se refiere a estos pagos,
           FertiNitro presentó debidamente sus solicitudes al SENIAT.

2.22       Sin embargo, desde alrededor de 2005 en adelante, el SENIAT demoró de manera
           injustificada y arbitraria la emisión de los CERT para FertiNitro. Esta demora redundó en
           pérdidas para FertiNitro, en particular cuando se pagaron los CERT después de una demora
           significativa durante la cual aumentó la inflación local y se devaluó el Bolívar venezolano
           frente a las monedas fuertes (incluido el Dólar estadounidense). La Demandada tampoco
           proporcionó a FertiNitro una cantidad significativa de reembolsos de IVA a pesar de su
           obligación de hacerlo. Esta conducta arbitraria por parte de la Demandada erosionó aún
           más la rentabilidad de FertiNitro a expensas de KOMSA (y sus demás accionistas no
           estatales), en beneficio de la Demandada.

2.23       Decreto de la Urea y Resolución de la Urea: La Demandada dictó un Decreto de la Urea
           y posteriormente la Resolución de la Urea que obligaron a FertiNitro a vender urea a la
           Demandada (a través de Pequiven) a precios significativamente inferiores al costo de
           producción y a los valores de mercado, tal como se sintetiza infra. Esta es la tercera de las
           “Pérdidas Históricas” de KOMSA.

2.24       El 26 de febrero de 2007 el Presidente de la Demandada firmó el Decreto 5.218 (el “Decreto
           de la Urea”) 21. El Decreto de la Urea fue publicado en la Gaceta Oficial N.° 38.638 el 6 de
           marzo de 2007 y entró en vigor ese mismo día. El Artículo 2 del Decreto de la Urea disponía
           que: “Los fabricantes, proveedores […] exportadores de fertilizantes nitrogenados […]
           quedan obligados a suministrarlos prioritariamente en el mercado nacional, de acuerdo a la
           regulación de precios establecida para su venta”. El Artículo 3 disponía que los precios




21
     Decreto 5.218 (26 de febrero de 2007) (“Decreto de la Urea”) (C-80).


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 346 of 622




        serían establecidos mediante resoluciones conjuntas de los Ministerios para la Agricultura
        y Tierra, para las Industrias Ligeras y Comercio y para la Energía y Petróleo.

2.25    De conformidad con el Artículo 3 del Decreto de la Urea, los Ministerios para la
        Agricultura y Tierra, para las Industrias Ligeras y Comercio y para la Energía y Petróleo
        dictaron una resolución conjunta (la “Resolución de la Urea”) 22. Fue publicada en la
        Gaceta Oficial N.° 38.674 el 2 de mayo de 2007. La Resolución de la Urea disponía (inter
        alia) que Pequiven únicamente estaba autorizada para administrar la entrega de urea de
        conformidad con el Decreto de la Urea y que Pequiven podría comprar “la urea que requiera
        para cubrir las necesidades de la Nación, a cualquier fabricante establecido en el país, al
        precio máximo de venta a granel a puerta de planta, de 155.200 Bs./MT (Bolívares por
        Tonelada Métrica)” 23.

2.26    Los precios de venta a los cuales FertiNitro estaba obligado a venderle urea a Pequiven
        eran sustancialmente inferiores al costo de producción de urea incurrido por FertiNitro.
        Además de Pequiven, FertiNitro era el único fabricante y exportador de urea en Venezuela.
        Por consiguiente, el Decreto de la Urea y la Resolución de la Urea estuvieron dirigidos por
        la Demandada directamente a FertiNitro y obligaron a FertiNitro a desviar urea a la
        Demandada (a través de Pequiven) a precios inferiores a los costos de producción. La
        cantidad de urea que la Demandada (a través de Pequiven) podría comprarle a FertiNitro
        al precio establecido en la Resolución de la Urea era ilimitada.

2.27    Ulteriormente, tal como lo exigieran el Decreto de la Urea y la Resolución de la Urea,
        FertiNitro vendió cantidades sustanciales de urea a Pequiven a precios significativamente
        inferiores a sus costos de producción. Estas medidas discriminatorias y arbitrarias por parte
        de la Demandada erosionaron la rentabilidad de FertiNitro a expensas de las Demandantes
        (y los demás accionistas no estatales), en beneficio de la Demandada.

2.28    Interferencia - FertiNitro: La Demandada (actuando a través de Pequiven) interfirió de
        manera progresiva en la administración y gestión de FertiNitro.


22
   Resolución Conjunta del Ministerio del Poder Popular para la Agricultura y Tierra, el Ministerio del Poder Popular
   para las Industrias Ligeras y Comercio, y el Ministerio del Poder Popular para la Energía y Petróleo (3 de mayo de
   2007) (“Resolución de la Urea”) (C-82).
23
   Resolución de la Urea (C-82), Art. 10.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 347 of 622




2.29    KOMSA invirtió en FertiNitro con la expectativa legítima de que su inversión constituía
        un emprendimiento comercial en el que KOMSA y Pequiven serían socios en igualdad.
        KOMSA tenía una expectativa legítima de que cualquier control que Pequiven pudiera
        ostentar sobre FertiNitro sería equilibrado por el control de KOMSA sobre FertiNitro.
        KOMSA tenía una expectativa legítima de que FertiNitro sería operada como empresa
        comercial para la generación de beneficios para todos sus accionistas.

2.30    Desde alrededor de 2006, la Demandada, actuando a través de Pequiven, procedió a
        interferir en la administración y gestión de FertiNitro y en definitiva asumió el control sobre
        FertiNitro. La estrategia de la Demandada culminó en la expropiación de FertiNitro por
        parte de la Demandada el 11 de octubre de 2010.

2.31    Expropiación - FertiNitro: La Demandada expropió FertiNitro el 11 de octubre de 2010
        sin compensación alguna, en violación del Artículo 6 del Tratado.

2.32    El 10 de octubre de 2010, el Presidente de la Demandada anunció la expropiación de
        FertiNitro en su teledifusión semanal “Aló Presidente”. Durante esta transmisión, el
        Presidente firmó lo que parecía tratarse de un decreto que disponía la expropiación de
        FertiNitro 24. El 11 de octubre de 2010, se publicó en la Gaceta Oficial N.° 380.113.34 el
        Decreto Número 7713 de fecha 10 de octubre de 2010. Dispuso la expropiación de
        FertiNitro (el “Decreto de Expropiación”) 25.

2.33    El Decreto de Expropiación incluye las siguientes disposiciones: el Artículo 1 prevé la
        adquisición forzosa de los bienes de FertiNitro por parte de la Demandada; los Artículos 2,
        3 y 5 le asignan específicamente a Pequiven la función de llevar adelante la expropiación
        de FertiNitro e identifican a Pequiven como “ente expropiante”; y el Artículo 6 ordena a
        Pequiven la ocupación de los bienes. El Decreto de Expropiación no dispuso el pago de
        compensación alguna a KOMSA de conformidad con el Tratado.

2.34    El 11 de octubre de 2010, la televisión estatal venezolana informó que el Ministro para la
        Energía y Petróleo de la Demandada había visitado la Planta en persona con el fin de


24
   Transcripción en idioma español del archivo de video, “El Ministro Ramírez preside la toma de FertiNitro” (11 de
   octubre de 2010) (C-107).
25
   Decreto 7.713 (10 de octubre de 2010) (“Decreto de Expropiación”) (C-9).


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 348 of 622




        expropiarla. En su discurso público en la Planta de FertiNitro, se informó que el Ministro
        había declarado, “[Y]a [estamos] en el control de la Planta y haciendo una inspección de
        nuestras instalaciones” 26. También el 11 de octubre de 2010, el Sr. Clark Inciarte (quien
        fuera en ese momento tanto Presidente de FertiNitro como empleado de Pequiven) indicó
        durante una llamada telefónica con los dos directores de FertiNitro designados por
        KOMSA que FertiNitro estaba bajo completo control del Estado y que su junta directiva
        había dejado de funcionar 27. Tras el anuncio del Decreto de Expropiación, FertiNitro no
        convocó a ninguna asamblea de la junta directiva ni del Comité de Finanzas de FertiNitro.

2.35    KOMSA no había recibido preaviso alguno de que el Presidente de la Demandada haría
        este anuncio ni de que la Demandada expropiaría FertiNitro. KOMSA no tuvo oportunidad
        de objetar esta expropiación de su inversión en FertiNitro. Por el contrario, la expropiación
        fue anunciada por el Presidente de la Demandada como un ‘fait accompli’.

2.36    Expropiación - KNI: El 11 de octubre de 2010, la Demandada expropió asimismo la
        participación de KNI en el Offtake Agreement, sin compensación alguna, en violación del
        Artículo 6 del Tratado. Declaraciones contemporáneas de los representantes de Pequiven,
        en calidad de ente expropiante de la Demandada que había expropiado FertiNitro al amparo
        del Decreto de Expropiación, les confirmaron a las Demandantes que la participación de
        KNI en el Offtake Agreement también había sido expropiada por la Demandada.

2.37    Compensación: En resumen, las Demandantes sostienen que las diversas violaciones del
        Tratado por parte de la Demandada les han ocasionado a las Demandantes pérdidas
        significativas. Por consiguiente, la Demandada está obligada a proporcionarles a las
        Demandantes compensación íntegra por dichas pérdidas, de conformidad con los principios
        aplicables del derecho internacional consuetudinario.

2.38    Las Demandantes reclaman compensación íntegra, incluidos, (pero no limitado a) los
        beneficios que KOMSA ha perdido como consecuencia de la expropiación por parte de la
        Demandada de su inversión en el capital accionario de FertiNitro, sus Pérdidas Históricas



26
   Transcripción en idioma español del archivo de video, “El Ministro Ramírez preside la toma de FertiNitro” (11 de
   octubre de 2010) (C-107).
27
   Declaración Testimonial de Brent W. Gwaltney (30 de mayo de 2012) (“Gwaltney DT1”), Párrafo 122.


                                                        32
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 349 of 622




           y la expropiación por parte de la Demandada de la participación de KNI en el Offtake
           Agreement.

2.39       Tal como enunciaran posteriormente las Demandantes, la compensación reclamada por
           KOMSA por la expropiación ilícita de su participación en FertiNitro y sus Pérdidas
           Históricas asciende a la suma de USD 444,6 millones (al 30 de enero de 2015); y la
           compensación reclamada por KNI por la expropiación de su participación en el Offtake
           Agreement asciende a la suma de USD 227,8 millones (también al 30 de enero de 2015) 28.

(3)        El Argumento de la Demandada
2.40       Jurisdicción: En resumen, la Demandada objeta la competencia o jurisdicción del Tribunal
           y del CIADI para abordar los reclamos de KNI en lo que se refiere al Offtake Agreement.
           La Demandada sostiene que es “un principio fundamental del derecho internacional de
           inversión” que la jurisdicción de los tribunales de arbitraje se limita a las “inversiones”
           según el significado dado por el Convenio CIADI y el tratado de inversión, la ley o el
           acuerdo aplicable. Por lo tanto, en el presente arbitraje, KNI podría oponer un reclamo si
           el Offtake Agreement (un simple contrato de compraventa comercial) constituyera una
           “inversión” según el sentido tanto del Artículo 25(1) del Convenio CIADI como del
           Artículo 1(2) del Tratado. La carga de la prueba recae sobre KNI, quien debe demostrar
           que ha realizado una inversión cubierta en virtud del Convenio CIADI y del Tratado. La
           Demandada sostiene que KNI no lo ha hecho en tanto no existe tal inversión respecto del
           Offtake Agreement.

2.41       El significado de “inversión” tiene un significado intrínseco y objetivo tanto en virtud del
           Convenio CIADI como del Tratado. Ese significado requiere a la vez la realización de una
           “contribución”, durante una determinada “duración”, con un elemento de “riesgo” y sujeto
           a “territorialidad”. Un simple contrato de compraventa comercial no constituye una
           “inversión”. El hecho de que KNI no pueda ajustar el Offtake Agreement a la definición
           de “inversión” despoja tanto al CIADI como al presente Tribunal de toda competencia y
           jurisdicción en lo que respecta a la supuesta expropiación del Offtake Agreement en el mes



28
     Escrito Post-Audiencia de las Demandantes (30 de enero de 2015) (“EPA Koch”), pág. 110 (Sección VI, (b)(c)).


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 350 of 622




        de octubre de 2010 y más aún en lo que respecta a la resolución del Offtake Agreement por
        parte de FertiNitro en el mes de febrero de 2012.

2.42    Responsabilidad: En resumen, la Demandada niega toda responsabilidad para con
        cualquiera de las dos Demandantes en virtud del Tratado. La Demandada es un estado
        soberano y garante del interés público dentro de Venezuela. La Demandada sostiene que,
        como tal, tiene la obligación y la autoridad tanto en virtud del derecho nacional como del
        derecho internacional de actuar en el interés del pueblo de Venezuela y su bienestar general,
        incluyendo el dictado de leyes y regulaciones y la adquisición forzosa de intereses privados.
        Este derecho se encuentra encarnado en la Constitución de la Demandada 29 y su Ley de
        Expropiación por Causa de Utilidad Pública o Social de fecha 1 de julio de 2002 (la “Ley
        de Expropiación”) 30. Estos textos proporcionan el marco jurídico para la expropiación por
        causa de utilidad pública, así como también en virtud del derecho internacional
        consuetudinario y del Tratado.

2.43    La Demandada confirmó de manera reiterada que el control soberano sobre la producción
        nacional de alimentos y productos relacionados con la alimentación era de importancia
        nacional en Venezuela. A tal fin, en 2007, la Demandada dictó el Decreto de la Urea 31.
        Este Decreto declaró que la producción de alimentos era de “interés nacional”,
        “fundamental para el desarrollo económico y social de la Nación”, y “un elemento esencial
        de la seguridad y soberanía nacional”. En consecuencia, el Decreto de la Urea declaró a
        los fertilizantes nitrogenados como bienes de “primera necesidad” fundamentales para la
        protección del interés nacional de Venezuela.

                                                                                                   32
2.44    En 2008, la Demandada dictó el Decreto N.° 5.835 (“Decreto 5.835”)                               en pos de
        garantizar que el suministro de productos necesarios para la producción de alimentos
        pudiera continuar de forma ininterrumpida. Este Decreto declaró a los bienes necesarios
        para la producción de alimentos y a los productos de “primera necesidad” como bienes de
        utilidad pública e interés social.



29
   Constitución de la República Bolivariana de Venezuela (15 de febrero de 2009) (R-3) (C-47).
30
   Ley de Expropiación por Causa de Utilidad Pública o Social (1 de julio de 2002) (R-9, R-53, C-140).
31
   Decreto de la Urea (C-80).
32
   Decreto 5.835 (28 de enero de 2008) (R-23).


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          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 351 of 622




2.45       Mediante estas medidas, y la promulgación de diversos planes nacionales diseñados para
           impulsar la productividad agropecuaria, la Demandada articuló el fin público de garantizar
           un suministro suficiente de fertilizantes nitrogenados para lograr su objetivo de soberanía
           alimentaria dentro de Venezuela.

2.46       Pérdidas Históricas: KOMSA asevera, de manera equivocada, que la Demandada violó los
           Artículos 4(1), 4(2), y 11(2) del Tratado en relación con sus reclamos por “Pérdidas
           Históricas”.     Estos reclamos se relacionan principalmente con lo siguiente: (i) la
           promulgación de la Ley Orgánica de Ciencia, Tecnología e Innovación (la “Ley de Ciencia
           y Tecnología”) 33; (ii) el dictado de la Ordenanza Municipal por parte del Municipio Simón
           Bolívar que incrementara un impuesto municipal preexistente (la “Ordenanza
           Municipal”) 34; (iii) la supuesta negativa de la Demandada a proporcionarle a FertiNitro
           determinados créditos de IVA; y (iv) el Decreto de la Urea y la Resolución de la Urea. La
           Demandada sostiene que estos reclamos por “Pérdidas Históricas” son infundados según
           se describe infra.

2.47       Nuevos impuestos e incrementos fiscales: La Ley de Ciencia y Tecnología constituyó una
           medida de aplicación general que exigía que las compañías invirtieran un porcentaje menor
           de sus ingresos en la compañía mediante la investigación y el desarrollo con enfoque
           científico. Nada en esa ley se opone a las obligaciones de la Demandada en virtud del
           Tratado. El incremento en los impuestos municipales preexistentes, de 1% a 2% y definitiva
           a 2,4%, no violó ninguna de las obligaciones de la Demandada en virtud del Tratado. Este
           impuesto municipal es aplicable de manera general a entes que operan en el Municipio
           Simón Bolívar; no estuvo dirigido a FertiNitro; y no era de carácter punitivo.

2.48       IVA: En lo que respecta al reclamo de las Demandantes en materia de créditos de IVA, las
           pruebas de hecho demuestran que todos los créditos de IVA solicitados por FertiNitro
           fueron, en efecto, otorgados por la Demandada.

2.49       El Decreto de la Urea y la Resolución de la Urea: El Decreto de la Urea y la Resolución
           de la Urea fueron medidas vitales y necesarias que pretendieron llevar a efecto la política

33
     Ley de Ciencia y Tecnología (C-43).
34
     Ordenanza de Impuestos sobre Actividades Económicas de Industria, Comercio, Servicios o de Índole Similar (29
     de diciembre de 2005) (C-45).


                                                         35
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 352 of 622




           de la Demandada de garantizar el acceso a materiales fundamentales para la producción de
           alimentos en Venezuela. Estas medidas demandaron que FertiNitro vendiera cantidades
           limitadas de urea a Pequiven para cubrir la demanda interna que no podría satisfacerse
           mediante la propia producción de Pequiven. La Demandada se vio obligada a promulgar
           estas medidas tras la negativa de FertiNitro a realizar voluntariamente estas ventas en base
           a la necesidad.

2.50       Interferencia – FertiNitro: No existe prueba alguna de que la Demandada interfiriese en la
           administración y gestión de FertiNitro. Por el contrario, la prueba demuestra que la
           Demandada no adoptó acción alguna para interferir en la administración o gestión de
           FertiNitro. La junta directiva de FertiNitro estaba compuesta por nueve directores, de los
           cuales sólo tres fueron designados por Pequiven, los seis restantes habiendo sido
           designados por KOMSA y los demás accionistas de FertiNitro. Según el Convenio de
           Inversionistas Conjuntos de fecha 8 de abril de 1994 (el “JIA” por su abreviatura en idioma
           inglés), no podía adoptarse decisión alguna sin la aceptación de KOMSA 35.

2.51       Expropiación - FertiNitro: La Demandada niega esta pretensión. FertiNitro era una
           sociedad venezolana y, como tal, operaba en Venezuela dentro del marco jurídico, político,
           social y económico de Venezuela. Pequiven era una compañía petroquímica estatal
           venezolana y la titular del 35% de FertiNitro y, como tal, pasó años intentando persuadir
           sin éxito a que FertiNitro desplegara voluntariamente actividades comerciales que
           fomentaran los objetivos estratégicos legítimos y razonables de la Demandada relacionados
           con la seguridad alimentaria en Venezuela. Cuando esos esfuerzos fracasaron, Pequiven
           intentó adquirir FertiNitro en forma directa, pero Pequiven fue rechazada por KOMSA.

2.52       Después de que quedó claro que FertiNitro no emprendería voluntariamente actividades
           comerciales diseñadas para adaptarse a los intereses de la Demandada, a la Demandada no
           le quedó otra opción más que poner en marcha procedimientos para adquirir FertiNitro de
           conformidad con la legislación venezolana. Por consiguiente, el 11 de octubre de 2010, la
           Demandada publicó el Decreto de Expropiación, que dispuso la adquisición forzosa de los
           bienes de FertiNitro. Este Decreto de Expropiación declaró que la adquisición era parte de


35
     JIA (C-18).


                                                   36
         Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 353 of 622




           una política de larga data para proteger a Venezuela de los efectos nocivos de las
           fluctuaciones en el mercado alimentario mundial al garantizar el control interno y soberano
           sobre las industrias fundamentales para la producción de alimentos dentro de Venezuela.

2.53       Si bien el Decreto de Expropiación inició el proceso de adquisición, no operó en sí mismo
           como una transferencia de titularidad de los bienes de FertiNitro. Conforme al derecho
           venezolano, tal transferencia sólo ocurre tras una sentencia de los tribunales venezolanos.
           Pequiven, en calidad de ente adquirente designado, inició el procedimiento necesario en
           los tribunales venezolanos el 26 de julio de 2011, después de que KOMSA se retirara de
           las negociaciones sobre el monto de la compensación adeudada tras la adquisición de
           FertiNitro 36.

2.54       Las acciones de la Demandada en relación con la adquisición forzosa de los bienes de
           FertiNitro fueron lícitas y no constituyeron violación alguna del Tratado. Las pruebas
           demuestran que las acciones de la Demandada en torno al dictado del Decreto de
           Expropiación y su aplicación fueron lícitas y llevadas a cabo por la Demandada de
           conformidad con el debido proceso. Por lo tanto, los esfuerzos de las Demandantes en
           procurar obtener compensación, deben fracasar como una cuestión de responsabilidad en
           virtud del Tratado. Además, la legislación venezolana brinda procesos más que adecuados
           para compensar a KOMSA. Por todos estos motivos, el Tribunal debería desestimar el
           reclamo de KOMSA

2.55       Expropiación – KNI: La Demandada niega esta pretensión (además de su objeción
           jurisdiccional). KNI afirma, de manera equivocada, que la participación de KNI en el
           Offtake Agreement fue expropiada por la Demandada. El Offtake Agreement era un contrato
           de compraventa comercial, mediante el cual Pequiven, IPSL y KNI acordaron comprar el
           100% de la producción de FertiNitro; no se trató de una “inversión” por parte de KNI; y no
           fue expropiada por la Demandada.

2.56       Tal como expresara la Demandada en su objeción jurisdiccional, el reclamo de KNI atenta
           contra el principio bien arraigado de que los contratos de compraventa no constituyen


36
     Decisión aceptando la jurisdicción para entender la Solicitud de Arbitraje, Juzgado de Primera Instancia de la
     Circunscripción Judicial del Estado Anzoátegui (29 de julio de 2011) (R-63).


                                                         37
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 354 of 622




       “inversiones” de conformidad con el Artículo 25 del Convenio CIADI; y un contrato de
       compraventa comercial, tal como el Offtake Agreement, no responde a la definición de
       “inversión” en el Tratado.

2.57   El Decreto de Expropiación no abordó ni cubrió el Offtake Agreement. Las pruebas de
       hecho demuestran que el Offtake Agreement se mantuvo en vigor durante más de 16 meses
       después de la fecha en que la Demandada dictó el Decreto de Expropiación. En definitiva,
       los directores de FertiNitro (no la Demandada) decidieron resolver el Offtake Agreement
       el 28 de febrero de 2012. Esa decisión se tomó por razones comerciales y fue adoptada
       únicamente por FertiNitro. En estas circunstancias, el reclamo de las Demandantes de que
       la participación de KNI en el Offtake Agreement fue expropiada por la Demandada debe
       fracasar conforme al Tratado.

2.58   Compensación: En resumen, en el supuesto de que el Tribunal determine que las acciones
       de la Demandada con relación a la adquisición forzosa de los bienes de FertiNitro violó en
       efecto el Artículo 6 del Tratado, las Demandantes tienen derecho sólo al “valor justo de
       mercado” de la participación de KOMSA en FertiNitro, según lo disponen tanto el derecho
       venezolano como el derecho internacional. A pesar de la claridad del derecho venezolano
       e internacional, las Demandantes pretenden obtener sustancialmente más que un “valor
       justo de mercado” en el presente arbitraje.

2.59   Además, las Demandantes han presentado diversos reclamos adicionales en el presente
       arbitraje, por los que alegan tienen derecho a sumas extraordinarias, excesivas e infundadas
       por la participación de KNI en el Offtake Agreement y sumas adicionales como “Pérdidas
       Históricas” de KOMSA por las supuestas violaciones de los Artículos 4(1), 4(2), 6 y 11(2)
       del Tratado.    No existe sustento alguno para estas sumas que se reclaman; y las
       Demandantes no han podido justificar ninguna pérdida asociada con esas presuntas
       violaciones del Tratado.

2.60   La Demandada concluye que el monto de compensación que las Demandantes reclaman en
       el presente arbitraje se encuentra obscenamente sobreestimado. El Tratado establece un
       estándar de compensación preciso y exhaustivo. Conforme a este estándar, las
       Demandantes tienen derecho sólo al “valor justo de mercado” de la participación de



                                               38
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 355 of 622




KOMSA en FertiNitro inmediatamente anterior a que se dictara el Decreto de Expropiación
el 11 de octubre de 2010. No existe fundamento legal para sustentar la postura de las
Demandantes de que ambas tienen derecho a alguna medida de daños punitivos en virtud
de la naturaleza supuestamente ilícita de los actos de la Demandada. En particular, la suma
que pretenden las Demandantes en relación con el Decreto de Expropiación se encuentra
exageradamente sobreestimada; y los cálculos del “valor justo de mercado” de las
Demandantes se establecen de manera equivocada sobre supuestos insostenibles.




                                        39
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 356 of 622




                        PARTE III: LAS CUESTIONES PRINCIPALES



(1)   Introducción
3.1   El Tribunal enumera a continuación las seis cuestiones principales de relevancia para el
      presente Laudo. Esta lista no es exhaustiva de todas las cuestiones planteadas por las Partes
      en el marco del presente arbitraje.

(2)   Las Cuestiones Principales
3.2   Cuestión 1 – Jurisdicción: KNI y el Offtake Agreement (no KOMSA): Esta cuestión en
      materia de jurisdicción surge en virtud de los Artículos 1(2) y 2 del Tratado y del Artículo
      25(1) del Convenio CIADI. Esta cuestión jurisdiccional es analizada en la Parte VI del
      Laudo infra.

3.3   Cuestión 2 – Antecedentes de hecho: Estas cuestiones de hecho son analizadas
      principalmente en la Parte V del presente Laudo infra, así como cuando se analizan
      cuestiones en materia de jurisdicción, responsabilidad y compensación en las Partes VI,
      VII, VIII y IX.

3.4   Cuestión 3: Responsabilidad: Las cuestiones en materia de responsabilidad surgen en
      virtud de los Artículos 4(1), 4(2), 6 y 11(2) del Tratado, tal como se citan en la Parte IV
      del presente Laudo. La responsabilidad por la expropiación en virtud del Artículo 6 del
      Tratado, en lo que se refiere a KOMSA y KNI respectivamente, se analiza en la Parte VII
      del presente Laudo infra. La responsabilidad en virtud de los Artículos 4(1), 4(2) y 11(2)
      del Tratado, en lo que se refiere a KOMSA, se analiza en la Parte VIII del presente Laudo
      infra.

3.5   Cuestión 4 – Compensación: Esta cuestión surge en virtud del Tratado y, tal como lo
      afirmaran las Demandantes, del derecho internacional consuetudinario. En lo que se refiere
      al primero, el Artículo 6 del Tratado prevé, en su parte relevante: “… Dicha compensación
      representará el valor de mercado de la inversión expropiada inmediatamente antes de que
      las medidas expropiatorias fueren tomadas o se hicieren del conocimiento público, si
      ocurriere antes; incluirá intereses desde la fecha de expropiación, será pagada sin demora



                                               40
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 357 of 622




      en moneda de libre convertibilidad a las personas autorizadas para ello y será libremente
      transferible”. La compensación se analiza en la Parte IX del presente Laudo infra.

3.6   Cuestión 5 – Intereses: Esta cuestión surge en virtud del Tratado y, tal como lo afirmaran
      las Demandantes, en virtud del derecho internacional consuetudinario. En cuanto al
      primero, el Artículo 6 del Tratado, prevé, en su parte relevante que, con arreglo al Tratado,
      la compensación “incluirá intereses desde la fecha de expropiación”. Los intereses se
      abordan en la Parte XI del presente Laudo infra.

3.7   Cuestión 6 – Costas: La cuestión de los costos legales y de arbitraje surge en virtud del
      Artículo 61(2) del Convenio CIADI y la Regla 47(1)(j) de las Reglas de Arbitraje CIADI.
      Las costas se analizan asimismo en la Parte XI del presente Laudo infra.

(3)   Cuestiones Detalladas, Interrogantes y Asuntos Relacionados
3.8   Durante el presente arbitraje, las Partes y (para la Tercera Audiencia) también el Tribunal
      desarrollaron listas consecutivas de cuestiones, interrogantes y comentarios secundarios
      sobre asuntos relacionados. Estas son extensas, reiterativas y duplican mucho de lo que ya
      aparece de forma diferente en otra parte del presente Laudo. Sin embargo, la lista a
      continuación sirvió como lista de verificación de asuntos que el Tribunal abordara durante
      las Audiencias y para arribar a sus diversas decisiones en el presente Laudo. No obstante,
      no ha sido necesario que el Tribunal se pronuncie sobre todas estas cuestiones.
      Nuevamente, la lista no es exhaustiva de todas las cuestiones detalladas, interrogantes y
      asuntos relacionados planteados por las Partes durante el curso del arbitraje.

      * Lista de cuestiones detalladas, interrogantes y asuntos relacionados

      Cuestión 1 – Jurisdicción: KNI y el Offtake Agreement

3.9   Según la Demandada, tal como se resumiera brevemente supra, el Tribunal carece de competencia para
      abordar el reclamo efectuado por KNI en lo que se refiere al Offtake Agreement. Según las Demandantes, el
      Offtake Agreement era parte integral del Proyecto FertiNitro; y la participación de KNI en el Offtake
      Agreement califica como “inversión” tanto en virtud del Convenio CIADI como del Tratado.             Por
      consiguiente, las Demandantes discrepan con la objeción jurisdiccional de la Demandada.




                                                    41
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 358 of 622




       Cuestión 2 – Antecedentes de hecho

3.10   Según las Demandantes, tres hechos esenciales fueron y siguen siendo completamente incuestionables en el
       expediente probatorio que se aduce en el marco del presente arbitraje. Primero, la política de ‘Apertura’de
       la Demandada, y sus demás garantías, apresuraron las inversiones de las Demandantes en Venezuela.
       Segundo, a partir de 2005, la Demandada interfirió de manera progresiva en las inversiones de las
       Demandantes. Tercero, el 11 de octubre de 2010, sin notificación formal alguna, la Demandada expropió de
       manera abierta e inequívoca tanto la participación accionaria de KOMSA en FertiNitro como la participación
       de KNI en el Offtake Agreement. Existen, por tanto, según las Demandantes, pocos (si es que los hubiere)
       cuestiones principales en lo que respecta a los antecedentes de hecho de la controversia de las Partes.

3.11   Según la Demandada, ninguno de los hechos alegados por las Demandantes establece violación alguna de
       sus obligaciones en virtud del Tratado. Se les exige a las Demandantes que acrediten sus alegaciones de
       hecho en contrario.

       Cuestión 3: Responsabilidad

3.12   Expropiación: Según las Demandantes, la Demandada violó el Artículo 6 del Tratado al expropiar de manera
       ilícita la participación de KOMSA en FertiNitro y la participación de KNI en el Offtake Agreement el 11 de
       octubre de 2010; y, hasta la fecha, la Demandada no ha compensado a las Demandantes por su expropiación
       de las inversiones de las Demandantes.

3.13   Según la Demandada, su adquisición forzosa de los bienes de FertiNitro fue lícita ya que la Demandada
       cumplió con los requisitos del Artículo 6 del Tratado. También según la Demandada, no adquirió de manera
       forzosa el Offtake Agreement; FertiNitro resolvió el Offtake Agreement en febrero de 2012 por motivos
       comerciales; y la decisión de FertiNitro de resolver el Offtake Agreement no es atribuible a la Demandada en
       virtud del derecho internacional.

3.14   TJE: Esta cuestión de responsabilidad surge en virtud del Artículo 4(1) del Tratado. Prevé, en su parte
       relevante, que la Demandada “acordará, de conformidad con las normas y criterios del Derecho Internacional,

       a las inversiones en su territorio de inversores de la otra Parte Contratante un trato justo y equitativo […]”

       (el “estándar TJE”).

3.15   Según las Demandantes, la Demandada violó su obligación de acuerdo al Artículo 4(1) de otorgarles a las
       inversiones de las Demandantes un trato justo y equitativo. Según la Demandada, no violó el estándar TJE
       del Artículo 4(1) del Tratado. La Demandada sostiene que el estándar TJE está ligado al estándar mínimo del
       derecho internacional consuetudinario; y que las Demandantes no han logrado demostrar sus pretensiones.

3.16   SPP: Esta cuestión surge en virtud del Artículo 4(1) del Tratado. Prevé, en su parte relevante, que la
       Demandada:    “acordará, de conformidad con las normas y criterios del Derecho Internacional, a las


                                                       42
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 359 of 622




       inversiones en su territorio de inversores de la otra Parte Contratante […] seguridad y protección plenas

       […]” (el “estándar SPP”).

3.17   Según las Demandantes, la Demandada violó su obligación en virtud del Artículo 4(1) de otorgarles a las
       inversiones de las Demandantes seguridad y protección plena. Según la Demandada, cumplió con su
       obligación en virtud del Artículo 4(1) de otorgarles seguridad y protección plena: este estándar SPP se refiere
       únicamente a perjuicios físicos; y la Demandada no incumplió su obligación de proteger la inversión de
       KOMSA.

3.18   Interferencia: Esta cuestión surge también en virtud del Artículo 4(1) del Tratado. Prevé, en su parte
       relevante, que la Demandada        “[no] obstaculizará con medidas arbitrarias o discriminatorias, la
       administración, gestión, mantenimiento, uso, disfrute, ampliación, venta o liquidación de dichas
       inversiones”.

3.19   Según las Demandantes, la Demandada violó su obligación en virtud del Artículo 4(1) al aplicar medidas
       arbitrarias y discriminatorias que obstaculizaron a KOMSA la administración, gestión, uso y disfrute de su
       inversión. Según la Demandada, no obstaculizó la administración, gestión, uso y disfrute de FertiNitro a
       través de medidas arbitrarias o discriminatorias. La Demandada afirma que las Demandantes han aplicado
       de manera errónea el estándar aplicable; y las Demandantes han proporcionado un recuento engañoso de las
       acciones de la Demandada para alegar una violación del Artículo 4(1) del Tratado.

3.20   Trato Nacional: Esta cuestión surge en virtud del Artículo 4(2) del Tratado. Prevé, en su parte relevante que:
       “El trato que cada Parte Contratante acuerde a las inversiones de inversores de la otra Parte Contratante en
       su territorio, o a los inversores mismos en lo que se refiere a sus inversiones, no será menos favorable que el
       que se acuerde a las inversiones de sus propios inversores […], o a los respectivos inversores en lo que se

       refiere a sus inversiones” (el “estándar de Trato Nacional”).

3.21   Según las Demandantes, la Demandada violó su obligación en virtud del Artículo 4(2) de otorgarles a las
       Demandantes y a sus inversiones un trato de conformidad con el estándar de Trato Nacional. Según la
       Demandada, no violó el estándar de Trato Nacional en el Artículo 4(2) del Tratado. La Demandada afirma
       que las Demandantes han aplicado de manera errónea el estándar aplicable; y que no trató a Pequiven de
       manera más favorable que a KOMSA.

3.22   Cláusula Paraguas: Esta cuestión surge en virtud del Artículo 11(2) del Tratado. Prevé que: “Cada una de
       las Partes Contratantes observará cualquier obligación que haya asumido en relación al trato de las
       inversiones hechas en su territorio por inversores de la otra Parte Contratante” (la “Cláusula Paraguas”).




                                                        43
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 360 of 622



3.23   Según las Demandantes, la Demandada no observó las obligaciones asumidas en el Artículo 11(2) en lo que
       se refiere al trato de las inversiones de las Demandantes. Según la Demandada, no ha violado el Artículo
       11(2) del Tratado, en particular porque no existían estas “obligaciones”.


       Cuestión 4 – Compensación

3.24   En síntesis, las Demandantes afirman que la Demandada debe pagar compensación íntegra en virtud del
       Artículo 6 del Tratado y el derecho internacional por todas las pérdidas ocasionadas por las violaciones
       expropiatorias y demás violaciones no expropiatorias del Tratado por parte de la Demandada (es decir, las
       “Pérdidas Históricas” de KOMSA). Esta compensación para KOMSA asciende a una suma total de capital
       de USD 444,6 millones (calculada al 30 de enero de 2015). En cuanto a KNI, esta compensación asciende a
       una suma total de capital de USD 227,8 millones (calculada al 30 de enero de 2015).

3.25   En síntesis, la Demandada afirma que la cuantificación de daños de las Demandantes debe ser rechazada por
       el Tribunal, por diversas razones. En primer lugar, la Demandada sostiene que la compensación reclamada
       por KOMSA y KNI se encuentra enormemente sobrevaluada. En segundo lugar, afirma que el estándar de
       compensación relevante ha de hallarse en el Tratado (no el derecho internacional consuetudinario). En tercer
       lugar, la Demandada sostiene que las supuestas “Pérdidas Históricas” de KOMSA son infundadas.


       Cuestión 5 – Intereses

3.26   Las Demandantes afirman que tienen derecho a intereses compuestos sobre cualquier suma adjudicada por
       el Tribunal. La Demandada sostiene que los reclamos de las Demandantes de intereses compuestos son
       infundados.

       Cuestión 6 – Costas

3.27   Las Demandantes procuran obtener una orden que le exija a la Demandada pagar las costas del arbitraje,
       incluidos todos los honorarios y gastos del CIADI y del Tribunal y todos los costos y gastos legales incurridos
       por las Demandantes, distribuidos entre las Demandantes en la proporción en la cual se les adjudique la
       compensación. La Demandada procura obtener una orden que les exija a las Demandantes que soporten
       todos los costos y gastos incurridos en el presente arbitraje, incluidos los honorarios razonables de los
       abogados y los honorarios de los expertos de la Demandada.

       La Tercera Audiencia (junio)

3.28   A los fines de la Tercera Audiencia (junio) ante el Tribunal reconstituido, en aras de permitirles a las Partes
       que se preparen por completo en sus respectivas presentaciones orales, el 16 de mayo de 2016, el Tribunal
       les envió a las Partes una lista no taxativa de verificación de cuestiones y, posteriormente, el 2 de junio de




                                                        44
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 361 of 622



       2016, otra lista de cuestiones, tomadas de los propios escritos de las Partes. Estos documentos se establecen
       en forma consecutiva infra, en su parte relevante.

       * La lista de verificación de fecha 16 de mayo de 2016 (en tres partes)

       * Parte I (del argumento alegado por las Demandantes):

3.29   Cuestión 1 de las Demandantes - Jurisdicción:

3.30   La jurisdicción del Tribunal sobre el reclamo de KNI es clara, debido a que:

       A. El Offtake Agreement era parte integral del Proyecto FertiNitro;

       B. Los derechos de KNI en el Offtake Agreement califican como “inversión” tanto en virtud del Convenio
       CIADI como del Tratado (y cumple con los indicios no jurisdiccionales), debido a que:

       (i) El Offtake Agreement constituye una “inversión” en virtud del Convenio CIADI;


       (ii) El Offtake Agreement constituye una “inversión” en virtud del Tratado; y

       (iii) En cualquier caso, el Offtake Agreement también cumple con los indicios no jurisdiccionales.

3.31   Cuestión 2 de las Demandantes - Los hechos principales: El testimonio oral durante la Primera Audiencia
       (septiembre) confirmó las afirmaciones principales del argumento de las Demandantes y menoscabó de
       manera sustancial el argumento de la Demandada, debido a que:

       A. Los hechos esenciales siguen siendo completamente incuestionables en el expediente probatorio del
       presente arbitraje, tal como se enumerará en B, C y D infra.

       B. La política de ‘Apertura’de la Demandada, con sus demás garantías, apresuraron la inversión de las
       Demandantes en Venezuela.

       C. A partir de 2005, la Demandada interfirió de manera progresiva en las inversiones de las Demandantes.

       D. El 10 de octubre de 2010, sin notificación formal alguna, la Demandada expropió de manera abierta e
       inequívoca tanto la participación de KOMSA en FertiNitro como los derechos de KNI en virtud del Offtake
       Agreement.

       E. La Primera Audiencia (septiembre) demostró que la afirmación de la Demandada (de que nunca expropió
       el Offtake Agreement) es una observación incoherente, ya que:

       (i) Si la Demandada no expropió el Offtake Agreement, como afirma, entonces no podría haber tenido un
       propósito legítimo para la expropiación de FertiNitro;



                                                       45
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 362 of 622



       (ii) La Demandada siempre planeó confiscarlos derechos de comercialización(offtake) de KNI; y

       (iii) El Decreto de la Urea y la Resolución de la Urea ya garantizaban el acceso de la Demandada al producto
       de FertiNitro a un precio significativamente inferior al costo de producción.

       F. La Primera Audiencia (septiembre) confirmó que Pequiven fue, en todos los momentos relevantes, un
       representante de la Demandada.

3.32   Cuestión 3 de las Demandantes - Responsabilidad: La conducta de la Demandada violó el Tratado:

       A. Expropiación: La Demandada violó el Artículo 6 del Tratado al expropiar de manera ilícita la participación
       de KOMSA en FertiNitro y los derechos de KNI en virtud del Offtake Agreement:

       (i) La expropiación de las inversiones de las Demandantes por parte de la Demandada no se realizó por causa
       de utilidad pública;

       (ii) La expropiación de las inversiones de las Demandantes por parte de la Demandada se realizó de manera
       discriminatoria;

       (iii) La expropiación de las inversiones de las Demandantes por parte de la Demandada no se realizó de
       conformidad con el debido proceso del derecho; y

       (iv) Hasta la fecha, la Demandada no ha compensado a las Demandantes por su expropiación directa de las
       inversiones de las Demandantes.

       B.TJE: La Demandada violó su obligación en virtud del Artículo 4(1) del Tratado de otorgarles a las
       inversiones de las Demandantes un trato justo y equitativo.

       C.SPP: La Demandada violó su obligación en virtud del Artículo 4(1) del Tratado de otorgarles a las
       inversiones de las Demandantes seguridad y protección plena.

       D. Menoscabo: La Demandada violó el Artículo 4(1) del Tratado al aplicar medidas arbitrarias y
       discriminatorias que menoscabaron la administración, gestión, uso y disfrute por parte de las Demandantes
       de sus inversiones.

       E. Trato Nacional: La Demandada violó su obligación en virtud del Artículo 4(2) del Tratado de otorgarles
       a las inversiones de las Demandantes un trato nacional.

       F. Cláusula Paraguas: La Demandada violó sus obligaciones asumidas en virtud del Artículo 11(2) del
       Tratado en lo que se refiere al trato de las inversiones de las Demandantes.




                                                       46
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 363 of 622



3.33   Cuestión 4 de las Demandantes - Compensación:

       A. Las Demandantes han demostrado que la Demandada debe pagar compensación íntegra en virtud del
       derecho internacional:

       (i) Jurisprudencia reciente confirma que la Demandada debe pagar compensación íntegra a las Demandantes
       en un escenario contrafáctico por la expropiación ilegal de sus inversiones;

       (ii) KOMSA tiene asimismo derecho a compensación íntegra en virtud del derecho internacional por las
       pérdidas ocasionadas por las demás violaciones (no expropiatorias) del Tratado por parte de la Demandada;
       y

       (iii) KOMSA tiene derecho a compensación por sus ‘Pérdidas Históricas’.

       B. El testimonio de la Primera Audiencia (septiembre) demostró que los expertos en cuantificación de daños
       de las Partes han adoptado criterios fundamentalmente diferentes para el ejercicio de valoración:

       (i) La valoración del Sr. Giles (para las Demandantes) está sustentada por prueba documental contemporánea
       y por el testimonio del único experto independiente en la industria de fertilizantes de este arbitraje (el Sr.
       Sanders); y

       (ii) La valoración del Dr. Flores (para la Demandada) se trata de una coalescencia de (i) una serie de
       afirmaciones que se encuentran fuera del expediente probatorio o están más allá de su pericia; y (ii) una
       promediación mecánica de datos y fuentes sin reconocimiento alguno de la prueba contemporánea y de la
       industria.

       C. Aunque los expertos en cuantificación de daños de las Partes coinciden en una serie de parámetros de
       compensación, sus diferencias sobresalientes de hecho y de pericia sobre las cuestiones de cuantificación de
       daños siguen siendo significativas.

3.34   Cuestión 5 de las Demandantes - Intereses compuestos: Las Demandantes han demostrado que tienen
       derecho a intereses compuestos.

       A. El Tratado confirma que los intereses compuestos resultan pagaderos;

       B. Los últimos cinco años de jurisprudencia del CIADI (en el expediente del presente procedimiento)
       confirman que los intereses compuestos resultan pagaderos; y

       C. Comentarios destacados confirman que los intereses compuestos resultan pagaderos.




                                                       47
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 364 of 622



       * Parte II (del argumento alegado por la Demandada):

3.35   Cuestión 1 de la Demandada - Jurisdicción: El Tribunal carece de jurisdicción sobre los reclamos en lo que
       se refiere al Offtake Agreement, ya que:

       A. El Offtake Agreement es un contrato de compraventa y no constituye una          “inversión” dentro del
       significado del Tratado o del Artículo 25 del Convenio CIADI:

       (i) Los Contratos de compraventa no constituyen inversiones en virtud del derecho internacional; y

       (ii) La complejidad, duración, implicaciones financieras del proyecto o la unidad general del concepto de
       inversión no transforman al Offtake Agreement en una inversión.

       B. KNI no ha efectuado aporte alguno ni ha incurrido en la clase de riesgo necesario para calificar como
       inversión en virtud del Tratado o en virtud del Artículo 25 del Convenio CIADI, ya que:

       (i) El Término “inversión” tiene un significado intrínseco y objetivo tanto en virtud del Tratado como del
       Convenio CIADI, que demanda la asunción de un riesgo de inversión y la realización de un aporte; y

       (ii) KNI no ha incurrido en riesgo de inversión alguno en relación con el Offtake Agreement.

       C. El Offtake Agreement carece de un nexo de territorialidad con la República de Venezuela para gozar de
       protección en virtud del Tratado.

3.36   Cuestión 2 de la Demandada - Expropiación: La Demandada no adquirió de manera forzosa el Offtake
       Agreement, ya que:

       A. El Offtake Agreement le otorgó a KNI un derecho a adquirir el producto de FertiNitro;

       B. El Decreto 7713 no ordenó la adquisición forzosa de los derechos del KNI en virtud del Offtake Agreement
       ni del propio Offtake Agreement;

       C. KNI continuó adquiriendo los derechos de comercialización (offtake) en virtud del Offtake Agreement
       hasta febrero de 2012;

       D. FertiNitro resolvió el Offtake Agreement en febrero de 2012 por motivos comerciales; y

       E. La decisión de FertiNitro de resolver el Offtake Agreement no es atribuible a la Demandada.

3.37   Cuestión 3 de la Demandada - Expropiación: La adquisición forzosa de los bienes de FertiNitro fue lícita; y
       la Demandada cumplió con los requisitos del Artículo 6 del Tratado, puesto que:

       A. La adquisición de FertiNitro por parte de la Demandada obedeció a causas de interés público:




                                                      48
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 365 of 622



       (i) Se le debería conceder a la Demandada una gran deferencia en lo que respecta a sus políticas de interés
       público; y

       (ii) La adquisición forzosa de los bienes de FertiNitro se llevó a cabo de conformidad con la política pública
       de seguridad alimentaria.

       B. La adquisición forzosa de los bienes de FertiNitro se llevó a cabo de manera no discriminatoria, ya que:

       (i) Pequiven/IPSL y KOMSA/KNI no se encontraban en posiciones similares;

       (ii) KOMSA no recibió un trato diferencial; y

       (iii) Cualquier trato diferencial no fue inadecuado en tanto se fundó en una justificación razonable.

       C. Las acciones de la Demandada se llevaron a cabo en virtud del proceso legal, ya que:

       (i) El “Preaviso” no constituye un requisito del debido proceso en virtud del Tratado ni del derecho
       internacional; y

       (ii) La Demandada de manera reiterada cursó notificación a KOMSA de que planeaba asumir el control de
       FertiNitro.

       D. La Demandada cumplió (y sigue cumpliendo) con sus obligaciones de pago en virtud del Artículo 6 del
       Tratado, ya que:

       (i) El Artículo 6 del Tratado exige que la Demandada realice una oferta de compensación razonable – no el
       pago inmediato;

       (ii) La Demandada efectuó una oferta de compensación razonable, que KOMSA rechazó; y

       (iii) La Demandada compensará a KOMSA mediante el Procedimiento de Adquisición Forzosa.

3.38   Cuestión 4 de la Demandada - TJE: La Demandada no violó el estándar TJE del Artículo 4(1) del Tratado,
       porque:

       A. El estándar aplicable se encuentra ligado al estándar mínimo del derecho internacional consuetudinario;

       B. Las Demandantes no han logrado demostrar sus pretensiones; ya que:

       (i) Las Demandantes no han podido establecer que tenían expectativas legítimas en lo que se refiere al
       régimen fiscal de la Demandada;

       (ii) La Demandada le ha proporcionado a FertiNitro Créditos de IVA en consonancia con las obligaciones de
       la Demandada;



                                                        49
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 366 of 622



       (iii) La Demandada no interfirió en la administración y gestión de FertiNitro;

       (iv) La Demandada no frustró ninguna expectativa legítima al dictar el Decreto de la Urea y la Resolución
       de la Urea; y

       (v) La Demandada proporcionó un entorno jurídico y comercial estable y predecible; trató a las Demandantes
       con transparencia y justicia procesal y no abusó de su autoridad.

3.39   Cuestión 5 de la Demandada - SPP: La Demandada cumplió con su obligación en virtud del Artículo 4 del
       Tratado de otorgar seguridad y protección plenas, ya que:

       A. El estándar SPP se relaciona con el perjuicio físico.

       B. La Demandada no incumplió su obligación de proteger la inversión de KOMSA.

3.40   Cuestión 6 de la Demandada - Interferencia/Menoscabo: La Demandada no menoscabó la administración,
       gestión, uso o disfrute de FertiNitro a través de medidas arbitrarias o discriminatorias de conformidad con el
       Artículo 4(1) del Tratado, ya que:

       A. Las Demandantes han aplicado de manera incorrecta el estándar aplicable; y

       B. Las Demandantes han proporcionado asimismo un recuento engañoso de las acciones de la Demandada
       que supuestamente violaron el Artículo 4(1) del Tratado.

3.41   Cuestión 7 de la Demandada - Trato Nacional: La Demandada no violó el estándar de Trato Nacional en
       virtud del Artículo 4(2) del Tratado, ya que:

       A. Las Demandantes han aplicado de manera incorrecta el estándar aplicable; y

       B. La Demandada no trató a Pequiven más favorablemente que a KOMSA.

3.42   Cuestión 8 de la Demandada - Cláusula Paraguas: La Demandada no violó el Artículo 11(2) del Tratado.

3.43   Cuestión 9 de la Demandada - Compensación: El Tribunal debe rechazar la cuantificación de daños de las
       Demandantes, debido a que:

       A. La compensación que reclaman KOMSA y KNI se encuentra enormemente sobrevaluada:

       (i) El estándar relevante de compensación se halla en el Tratado, no en el derecho internacional
       consuetudinario;

       (ii) Independientemente del estándar jurídico de compensación, las Partes coinciden en que los expertos en
       materia de compensación deberían aplicar el estándar de Valor Justo de Mercado (VJM); y

       (iii) En definitiva, las Demandantes no aplicaron el estándar VJM.


                                                        50
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 367 of 622



B. El Valor Justo de Mercado (VJM) del interés económico de KOMSA en FertiNitro no superaba USD 34,6
millones:

(i) Aunque la valoración FCD del Dr. Flores sea razonable, el análisis FCD del Sr. Giles se encuentra
sobrevaluado y no refleja el VJM de FertiNitro porque:

a. El análisis FCD de las Demandantes es inconsistente y sumamente especulativo;

b. La valoración FCD de las Demandantes excluye indebidamente los volúmenes reales de producción de
2009 y 2010 para proyectar la producción futura:

(1) Las Demandantes proyectan indebidamente un ciclo de entrega de tres años para FertiNitro;

(2) El número de interrupciones de gas y electricidad y paradas no programadas en 2009 y 2010 no fueron
sustancialmente superiores que en años anteriores recientes;

(3) La postura de las Demandantes de que un comprador hipotético creería que FertiNitro podría lograr de
manera consistente los niveles de producción de placa carece de fundamento;

(4) La postura de las Demandantes de que la exclusión del período 2009-2010 se encuentra justificada por
ley es completamente infundada;

c. Las proyecciones de las Demandantes de los costos futuros de FertiNitro se encuentran subvaluadas:

(1) Las Demandantes se basaron de manera indebida en el plazo de entrega y los costos de mantenimiento
presupuestados en lugar de reales;

(2) Las demás estimaciones de costos de las Demandantes se encuentran asimismo subvaluadas.

d. La tasa de descuento propuesta de las Demandantes se encuentra subvaluada:

(1) La invocación de las Demandantes de información de primas de riesgo del mercado mundial no vigentes
es irrazonable e inapropiada;

(2) Las Demandantes se basaron indebidamente en datos de encuestas limitados para determinar su índice de
riesgo país de base;

(3) Las Demandantes excluyeron indebidamente el riesgo político del índice de riesgo país;

(4) El cálculo de las Demandantes de un factor lambda de 0,40 para FertiNitro es completamente arbitraria e
irrazonable;

(5) La aplicación por parte de las Demandantes de un descuento de liquidez de 1% es contraria a los principios
básicos de valoración; y



                                                51
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 368 of 622



       (6) La irracionalidad de la tasa de descuento de las Demandantes queda confirmada por los dos laudos de
       ExxonMobil y el laudo de Flughafen Zürich.

       (ii) Las “Verificaciones de Razonabilidad” de las Demandantes no sustentan su valoración del 25% de
       participación de KOMSA en FertiNitro:

       a. El Precio del MdE de octubre de 2008, si se lo ajusta correctamente, confirma la valoración del Dr. Flores;

       b. Los costos de construcción de otras plantas son irrelevantes;

       c. Los Informes Advantis confirman la valoración del Dr. Flores;

       d. El ‘nuevo argumento’ de las Demandantes con base en el valor contable de FertiNitro es irrelevante.

       C. La valoración del Offtake Agreement por parte de las Demandantes se encuentra sobrevaluado, porque:

       (i) Las Demandantes formulan las mismas hipótesis inapropiadas en lo que se refiere a volúmenes de venta
       y tasa de descuento que en su valoración de la participación accionaria de KOMSA en FertiNitro.

       (ii) El período de valoración de las Demandantes incluye indebidamente un período de 16 meses durante el
       cual KNI no sufrió pérdida alguna.

       (iii) Las Demandantes utilizan la metodología de valoración equivocada basada en supuestos de hecho poco
       realistas, ya que:

       a. Las Demandantes calculan de manera inadecuada el lucro cesante de KNI en lugar del valor de los
       supuestos derechos de KNI en virtud del Offtake Agreement;

       b. Las Demandantes no demuestran que no habrían podido reemplazar los derechos de comercialización
       (Offtake) de FertiNitro a través de la compra en el mercado abierto;

       c. Los cálculos de lucro cesante de las Demandantes son erróneos y sumamente especulativos.

       D. Las supuestas “Pérdidas Históricas” de las Demandantes son infundadas.

3.44   Cuestión 10 de la Demandada - Intereses: Las pretensiones de intereses compuestos de las Demandantes
       son infundadas.

3.45   Cuestión 11 de la Demandada - Costas: Se rechazan las pretensiones de las Demandantes en materia de
       costas.




                                                       52
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 369 of 622



       * Parte III: Otras consultas específicas (del Tribunal)

3.46   El Tribunal invitó a las Partes a resumir durante la Tercera Audiencia (junio) sus respectivos argumentos
       sobre la relación entre el Offtake Agreement y el Proyecto FertiNitro.

3.47   Se les solicitó a las Partes que resumieran sus respectivos argumentos en cuanto a si el Offtake Agreement
       cumple con las características jurídicas y económicas de una inversión en virtud del Tratado.

3.48   Se les solicitó a las Partes que resumieran las pruebas respecto de la incidencia del Decreto 7713 en los
       derechos de KNI en virtud del Offtake Agreement.

3.49   Se les solicitó a las Partes que resumieran sus respectivos argumentos acerca de la atribución en virtud del
       Tratado o de otro modo a la Demandada de la decisión de FertiNitro de resolver el Offtake Agreement.

3.50   Además, se invitó a las Partes a abordar las siguientes cuestiones:

       3.50.1   ¿Qué medidas, en su caso, adoptó cualquiera de las Demandantes para oponerse al Decreto de la
                Urea?

       3.50.2   ¿Qué ha ocurrido con el precio real y proyectado del gas natural, desde las últimas presentaciones
                de las Partes sobre esta materia?

       3.50.3   ¿Por qué motivo debería utilizarse sobre los valores la “tasa de rendimiento esperada” en lugar de

                la “tasa de rendimiento exigida” para la determinación de la prima de riesgo de mercado?

       3.50.4   Teniendo en cuenta que las ventas de producto a KNI, tras una interrupción entre octubre de 2010
                y enero de 2011, comenzaron nuevamente en enero de 2011 hasta la resolución del Offtake
                Agreement en febrero de 2012, ¿cuánto dinero, si acaso algo, perdió KNI en comparación con la
                operación ininterrumpida de ese Offtake Agreement?

       3.50.5   ¿Explicarían las Partes en mayor grado de detalle sus visiones respectivas en lo que se refiere a la
                relevancia para el presente caso (si existiere) de las tasas de descuento utilizadas en los dos laudos
                de ExxonMobil y en los laudos de Flughafen y Gold Reserve y el Informe Advantis de mayo de
                2011, a los que las Partes hacen alusión en sus respectivas presentaciones?

       3.50.6   ¿Cuál es la relevancia, en su caso, de la valoración de FertiNitro por parte de Booz Allen realizada
                en 2007?




                                                        53
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 370 of 622




       * Temas Adicionales del Tribunal para las Partes de fecha 2 de junio de 2016

       A. Offtake Agreement

3.51   Tema A1: Suponiendo, hipotéticamente, que el Offtake Agreement estuviera incluido en el ámbito del
       Decreto de Expropiación, ¿cuál es el efecto jurídico de un decreto venezolano en los derechos y obligaciones
       en virtud del Offtake Agreement, que se encuentra regido por las leyes del Estado de Nueva York?

3.52   Tema A2: Suponiendo, hipotéticamente, que el Offtake Agreement no estuviera incluido en el ámbito del
       Decreto de Expropiación, ¿constituyó la resolución del Offtake Agreement el 28 de febrero de 2012 una
       violación del Offtake Agreement?

3.53   Tema A3: ¿Existió algún ejercicio de facultades soberanas involucrado en la resolución del Offtake
       Agreement el 28 de febrero de 2012 (suponiendo, hipotéticamente, que no hubiese resuelto anteriormente
       mediante el Decreto de Expropiación, etc.)? En caso afirmativo, ¿qué facultades soberanas fueron invocadas
       y por quién?

3.54   Tema A4: ¿Respondió KNI a la carta del Sr. Betulio Hernandez de fecha 28 de febrero de 2012 (Anexo C-
       114)? ¿Hubo alguna correspondencia ulterior entre las Partes del Offtake Agreement? De ser así, ¿en qué
       parte del expediente ha de hallarse esa correspondencia?

       B. Negociaciones y procesos locales relacionados con la compensación

3.55   Tema B1: ¿Están de acuerdo las Demandantes con el resumen proporcionado en el párrafo 111 del Escrito
       Post-Audiencia de la Demandada? De no ser así, ¿qué modificaciones específicas desearían realizar?

3.56   Tema B2: ¿Han existido avances relacionados con los procesos en los juzgados locales (el “Procedimiento

       de Adquisición Forzosa”) desde que los Escritos Posteriores a la Audiencia fueran presentados por las Partes?

       C. Cuestiones de cuantificación de daños

3.57   Tema C1: ¿Está de acuerdo la Demandada con la presentación de los puntos de consenso y disenso entre el
       Sr. Giles y el Dr. Flores en las tablas de las páginas 55-60 del Escrito Post-Audiencia de las Demandantes?
       De no ser así, ¿qué modificaciones específicas desearía realizar la Demandada?

       Proyección de flujos de caja futuros

3.58   Tema C2: ¿Hay ejemplos de tribunales que hayan adoptado previsiones presupuestarias para producción y/o
       costos a los fines de calcular los flujos de caja de una empresa para una valoración FCD en lo que se refiere
       al período que antecede a la violación de obligaciones de un tratado de inversión en circunstancias en las que
       se encontraban disponibles datos reales para la producción y/o costos?




                                                       54
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 371 of 622



3.59   Tema C3. ¿Cuál es el impacto general en los costos de FertiNitro de la inflación y el congelamiento de la
       tasa de cambio en Venezuela entre 2008-2010?

       Offtake Agreement

3.60   Tema C4: ¿Es el cálculo de daños en lo que respecta al Offtake Agreement por parte de cualquiera de los
       expertos coherente con la manera en la cual se calcularían los daños en el supuesto de una violación del
       Offtake Agreement en virtud de las leyes del Estado de Nueva York? De no ser así, ¿en qué difieren?

       Prima de riesgo de mercado y de riesgo país

3.61   Tema C5: ¿Acepta la Demandada la definición de las Demandantes de riesgo de mercado y riesgo país en el
       párrafo 198 de su Escrito Post-Audiencia?

3.62   Tema C6: Explíquese el fundamento para las primas de riesgo de mercado y de riesgo país en los informes
       de valoración Advantis de mayo y julio de 2011.

3.63   Tema C7: ¿Cuál debería ser el umbral probatorio para la aplicación del factor lambda a una empresa que
       opera en un país particular? En otras palabras, ¿cuán frecuente es en la práctica de valoración aplicar un
       factor lambda para tener en cuenta una mayor o menor exposición de una empresa particular al riesgo país y
       qué grado de certeza se requiere?

3.64   Tema C8: ¿Hay ejemplos de tribunales que hayan adoptado un descuento de liquidez en el marco del arbitraje
       en materia de inversiones?

3.65   Tema C9: Compárense y contrástense las primas de riesgo de mercado y de riesgo país adoptadas por otros
       tribunales en laudos públicos disponibles en materia de tratados de inversión que involucren a Venezuela.

3.66   Tema C10: ¿Un bien que pueda ser objeto de protección de un Tratado es análogo a contar con “cobertura
       similar a un seguro” [Transcripción, D6/P66 (Giles)]? ¿Sería apropiado descontar el riesgo país respecto de
       una expropiación lícita en contraposición a una expropiación ilícita?

       Comprobaciones de validez en materia de valoraciones

3.67   Tema C11: ¿Proporciona el valor contable del 25% de la participación de KOMSA en FertiNitro a la fecha
       de valoración una comprobación de validez adecuada en las valoraciones FCD en el presente caso?

3.68   Tema C12: ¿Qué ajustes, si alguno, sería necesario realizar a las valoraciones del MdE en 2007 y 2008 para
       que sean relevantes como comprobación de validez en una valoración FCD realizada en la fecha de
       valoración en 2010?




                                                       55
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 372 of 622



3.69   Tema C13: ¿Qué ajustes, de haber alguno, serían necesario realizar a las valoraciones de Advantis en mayo
       y julio de 2011 para que sean relevantes como comprobación de validez en una valoración FCD realizada en
       la fecha de valoración en 2010?




                                                     56
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 373 of 622




                       PARTE IV: LOS TEXTOS JURIDICOS ESENCIALES



(1)     Introducción
4.1     Resulta necesario citar íntegramente algunos de los textos jurídicos relevantes al comienzo
        de este Laudo, con el fin de facilitar las referencias en otras secciones. Esto no quiere decir
        que para decidir las cuestiones legales que las Partes disputan, el Tribunal esté limitado a
        las fuentes aquí identificadas o a las que de otra forma hayan sido invocadas por las Partes.
        Al contrario, el Tribunal está de acuerdo con la siguiente afirmación del Comité ad-hoc en
        Daimler c. Argentina: 37

          “Este Comité considera que un tribunal arbitral no se limita a referirse o basarse
          únicamente en las autoridades citadas por las partes. Puede, por iniciativa propia,
          basarse en otras autoridades públicamente disponibles, aun si no han sido citadas
          por las partes, siempre que la cuestión haya sido planteada ante el tribunal y que se
          haya conferido a las partes la oportunidad de tratarlas. […]. Una vez que se brindó
          la oportunidad el Tribunal no estuvo obligado a limitarse solo a esas autoridades,
          que habían sido citadas por las Partes. Ninguna norma de derecho, de procedimiento
          o requisito de debido proceso evitó que se refiriera o basara en otras autoridades
          que estaban en el dominio público. Dicha fundamentación no violó ninguna norma
          de justicia natural, incluido el derecho a ser escuchado.”

4.2     Tal como se indica, en los casos en que el texto original se encuentra en idioma español el
        Tribunal aquí cita la versión al idioma [español].

(2)     El Tratado Suiza-Venezuela 38
4.3     A los efectos del Tratado, el Artículo 1(1) define a los “inversores” de la siguiente manera:

          “El término “inversor” designa en relación a cualquiera de las Partes Contratantes
          a:
          a) Las personas naturales, que de acuerdo con la legislación de esa Parte
          Contratante, son consideradas nacionales de la misma;



37
   Daimler Financial Services A.G. c. República de Argentina, Caso CIADI No. ARB/05/1, Decisón de Anulación (7
   de enero de 2015), párrafo 295.
38
   Acuerdo entre la República de Venezuela y la Confederación Suiza sobre la Promoción y la Protección Recíprocas
   de las Inversiones (18 de noviembre de 1993) (CLA-1).


                                                       57
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 374 of 622




        b) Las entidades jurídicas, incluyendo sociedades, corporaciones, asociaciones
        comerciales o cualquier entidad constituida o efectivamente organizada de
        conformidad con la legislación de esa Parte Contratante;
        c) Las entidades jurídicas no constituidas conforme a la legislación de esa Parte
        Contratante, pero efectivamente controladas por personas naturales, definidas en el
        literal a) anterior o por entidades jurídicas definidas en el literal b) anterior”.

4.4   El Artículo 1(2) del Tratado define el término “inversión” del siguiente modo:

        “El término “inversiones” incluye todo tipo de bienes y particularmente, aunque no
        exclusivamente:
        a) La propiedad mueble o inmueble así como los demás derechos reales;
        b) Las acciones, cuotas sociales o cualquier forma de participación en compañías;
        c) Los derechos al pago de dinero o a cualquier prestación contractual;
        d) Los derechos de propiedad intelectual, conocimientos y procesos técnicos, el
        prestigio y la clientela;
        e) Las concesiones y otros derechos otorgados de conformidad con el Derecho
        Público.”

4.5   El Artículo 2 del Tratado establece lo siguiente:

        “El presente Acuerdo se aplicará a las inversiones efectuadas en el territorio de una
        Parte Contratante, de conformidad con sus leyes y reglamentos, por inversores de la
        otra Parte Contratante antes o después de su entrada en vigor. No será sin embargo,
        aplicable a divergencias o controversias cuyas causas hubieren surgido con
        anterioridad a su entrada en vigor”.

4.6   El Artículo 4(1) del Tratado establece lo siguiente:

        “Cada Parte Contratante acordará, de conformidad con las normas y criterios del
        Derecho Internacional, a las inversiones en su territorio de inversores de la otra
        Parte Contratante un trato justo y equitativo y seguridad y protección plenas;
        ninguna de ellas obstaculizará con medidas arbitrarias o discriminatorias, la
        administración, gestión, mantenimiento, uso, disfrute, ampliación, venta o
        liquidación de dichas inversiones”.

4.7   El Artículo 4(2) del Tratado establece lo siguiente:

        “El trato que cada Parte Contratante acuerde a las inversiones de inversores de la
        otra Parte Contratante en su territorio, o a los inversores mismos en lo que se refiere
        a sus inversiones, no será menos favorable que el que se acuerde a las inversiones



                                               58
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 375 of 622




        de sus propios inversores o a las de inversores de cualquier tercer Estado, o a los
        respectivos inversores en lo que se refiere a sus inversiones”.

4.8   El Artículo 6 del Tratado establece lo siguiente:

        “Ninguna de las Partes Contratantes tomará directa o indirectamente medida
        alguna de expropiación o nacionalización ni ninguna otra medida que tuviere la
        misma naturaleza o efecto, contra las inversiones de inversores de la otra Parte
        Contratante, salvo que dichas medidas se tomen por causa de interés público, que
        no sean discriminatorias, se ajusten a la Ley, y den lugar a una compensación
        efectiva y adecuada. Dicha compensación representará el valor de mercado de la
        inversión expropiada inmediatamente antes de que las medidas expropiatorias
        fueren tomadas o se hicieren del conocimiento público, si ocurriere antes; incluirá
        intereses desde la fecha de expropiación, será pagada sin demora en moneda de libre
        convertibilidad a las personas autorizadas para ello y será libremente transferible”.

4.9   El Artículo 9 del Tratado establece lo siguiente:

        “(1) Con miras a una Solución amistosa de cualquier controversia entre una Parte
        Contratante y un inversor de la otra Parte Contratante, se celebrarán consultas entre
        las partes afectadas.
        (2) De no lograrse una solución amistosa dentro de los seis meses desde la fecha de
        solicitud para celebrar las consultas, el inversor podrá someter las disputas al
        Centro Internacional de Arreglo de Diferencias Relativas a Inversiones (CIADI)
        creado por el Convenio de Washington del 18 de marzo de 1965, sobre Arreglo de
        Diferencias Relativas a las Inversiones entre Estados y nacionales de otros Estados.
         (3) Las partes en la controversia podrán por mutuo acuerdo y como alternativa al
        arbitraje de CIADI, recurrir a un tribunal arbitral ad hoc, que, salvo que las partes
        en la controversia acuerden otra cosa, será regido por las Reglas para Arbitraje de
        la Comisión de las Naciones Unidas para el Derecho Comercial Internacional
        (UNCITRAL). Dicho arbitraje se efectuará en cualquier caso si por cualquier motivo
        no estuviere disponible el arbitraje de CIADI.
        (4) El laudo arbitral se limitará a determinar si la Parte Contratante de que se trate
        ha incumplido una obligación establecida en el presente Acuerdo, si tal
        incumplimiento ha causado daños al inversionista y, si tal fuere el caso, la suma que
        deberá pagar la Parte Contratante al inversor como indemnización por tales daños.
        (5) Por medio del presente Acuerdo, cada una de las Partes Contratantes se
        compromete a someter cualquier controversia sobre inversiones al arbitraje
        internacional de conformidad con lo previsto en este artículo.
         (6) La Parte Contratante que sea parte en una controversia no hará valer, como
        defensa, en ningún momento del procedimiento, su inmunidad o el hecho de que el


                                               59
         Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 376 of 622




             inversor haya recibido en razón de un contrato de seguro compensación total o
             parcial por el daño o pérdida sufridos.
              (7) El laudo arbitral será definitivo y obligatorio para las partes envueltas en la
             controversia”.

4.10      El Artículo 11(2) del Tratado establece lo siguiente:

             “Cada una de las Partes Contratantes observará cualquier obligación que haya
             asumido en relación al trato de las inversiones hechas en su territorio por inversores
             de la otra Parte Contratante”.

(3)       El Offtake Agreement 39
4.11      El Artículo 2.2 del Offtake Agreement establece lo siguiente:

             “Asignación de Productos. Con sujeción a lo dispuesto por los Artículos 11.4 y 11.5,
             las Partes acuerdan que tienen previsto que la asignación de Productos a cada uno
             de los Compradores en virtud del presente contrato sea del cincuenta por ciento
             (50%) de la Producción total real de las Plantas [sic], aplicándose las disposiciones
             descriptas a continuación a la asignación de Productos suponiendo una producción
             plena en un determinado Año de vigencia del Contrato:
             (a) Koch tendrá el derecho exclusivo y la obligación de comprarle al Vendedor ya
                 sea para reventa o para su consumo propio (i) el setenta y cinco por ciento (75%)
                 de la Producción de amoníaco de las Plantas [sic] que se encuentre disponible
                 para la venta durante cada uno de los Años de vigencia del Contrato (el cual se
                 estima será aproximadamente de 270.000 toneladas anuales, suponiendo una
                 producción plena de su Capacidad Nominal) y (ii) el cuarenta y cuatro por ciento
                 (44%) de la Producción de urea de las Plantas [sic] que se encuentre disponible
                 para venta durante cada uno de los Años de vigencia del Contrato (el cual se
                 estima será aproximadamente 640.000 toneladas anuales, suponiendo una
                 producción plena de su Capacidad Nominal) y
             (b) Pequiven Offtaker tendrá el derecho exclusivo y la obligación de comprarle al
                 Vendedor ya sea para reventa o para su consumo propio (i) el veinticinco por
                 (25%) de la Producción de amoníaco de las Plantas [sic] que se encuentre
                 disponible para la venta durante cada uno de los Años de vigencia del Contrato
                 (el cual se estima será aproximadamente de 90.000 toneladas anuales,
                 suponiendo una producción plena de su Capacidad Nominal) y (ii) el cincuenta
                 y seis por ciento (56%) de la Producción de urea de las Plantas [sic] que se
                 encuentre disponible para su venta durante cada uno de los Años de vigencia del

39
     Offtake Agreement entre Pequiven, IPSL y Koch Oil S.A. como compradores y FertiNitro como Vendedor (8 de
     abril de 1998) (C-19).


                                                      60
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 377 of 622




            Contrato (el cual se estima será aproximadamente de 820.000 toneladas
            anuales, suponiendo una producción plena de su Capacidad
            Nominal)”.[Traducción del Tribunal]

4.12   El Artículo 2.3. del Offtake Agreement establece lo siguiente:

         “Asignación de Mercados. Cada Comprador acepta que las restricciones
         geográficas mencionadas a continuación se aplicarán durante todo el Período
         Inicial con relación a la comercialización y venta de los Productos:
         (a) Koch tendrá el derecho exclusivo para la comercialización y venta de los
             Productos para su entrega y consumo final en el territorio de América del Norte.
         (b) Pequiven Offtaker tendrá el derecho exclusivo para la comercialización y venta
             de los Productos para su entrega y consumo final en los territorios de América
             del Sur, América Central y el Caribe.
         (c) Cada Comprador acuerda además no vender los Productos en caso de que
             tengan conocimiento o cuenten con motivos para creer que serán revendidos en
             última instancia y esencialmente en su forma original en alguno de los países que
             han sido reservados para el otro Comprador de conformidad con los incisos (a)
             y (b) supra respectivamente.
         (d) Sin perjuicio de las disposiciones en contrario contenidas en este Artículo 2.3.,
             Koch podrá, a su exclusiva discrecionalidad, solicitarle a Pequiven Offtaker que
             comercialice en el territorio de América del Sur, América Central y/o en el
             Caribe, en representación de Koch, la totalidad o una porción de los Productos
             asignados a Koch en virtud del presente contrato. Del mismo modo, Pequiven
             Offtaker podrá, a su exclusiva discrecionalidad, solicitarle a Koch que
             comercialice en el territorio de América del Norte en representación de Pequiven
             Offtaker, la totalidad o una porción de los Productos asignados a Pequiven
             Offtaker en virtud del presente contrato. Cada Comprador podrá optar por
             aceptar o rechazar la solicitud efectuada por el otro Comprador en virtud de este
             Articulo 2.3(d) a su exclusiva discrecionalidad. En el supuesto de que uno de los
             Compradores (“Mandatario Pasivo”) aceptara la solicitud del otro Comprador
             (“Mandante Activo”) de conformidad con lo establecido por este Artículo 2.3.(d),
             los Compradores compartirán de un modo equitativo la diferencia (ya sea ésta
             positiva o negativa) entre: (i) el precio obtenido de parte de un Tercero por el
             Mandatario Pasivo habiendo realizado sus mejores esfuerzos (neto de todos los
             gastos, honorarios y costos en que el Mandatario Pasivo hubiera incurrido
             razonablemente a fin de llevar a cabo la comercialización, venta y/o transporte
             de los Productos del Mandante Principal) y (ii) el Precio FOB Jose aplicable
             mencionado en el Artículo 3.1. infra.
         (e) Sin perjuicio de las disposiciones en contrario contenidas en este Artículo 2.3.,
             Koch podrá, a su exclusiva discrecionalidad, emitir una solicitud para


                                               61
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 378 of 622




            comercializar en representación de Pequiven Offtaker en el territorio de América
            del Norte, la totalidad o una porción de los Productos asignados a Pequiven
            Offtaker en virtud del presente contrato. Del mismo modo, Pequiven Offtaker
            podrá, a su exclusiva discrecionalidad, emitir una solicitud para comercializar
            en representación de Koch en los territorios de América del Sur, América Central
            y/o el Caribe, la totalidad o una porción de los Productos asignados a Koch en
            virtud del presente contrato. Cada Comprador podrá optar por aceptar o
            rechazar la solicitud efectuada por la otra parte en virtud de este Articulo 2.3(e)
            a su exclusiva discrecionalidad. En el supuesto de que un Comprador
            (“Mandante Pasivo”) aceptara la solicitud del otro Comprador (“Mandatario
            Activo”), los Compradores compartirán de un modo equitativo la diferencia (ya
            sea ésta positiva o negativa) entre: (i) el precio obtenido de parte de un Tercero
            por el Agente Activo, habiendo realizado sus mejores esfuerzos (neto de todos los
            gastos, honorarios y costos en que el Mandatario Activo hubiera incurrido
            razonablemente a fin de llevar a cabo la comercialización, venta y/o transporte
            de los Productos del Mandante Pasivo) y (ii) el Precio FOB Jose aplicable
            mencionado en el Artículo 3.1.”[Traducción del Tribunal]

4.13   El Artículo 3.1 del Offtake Agreement establece lo siguiente:

         “Precio de compra. El precio de compra de los Productos que serán vendidos en
         América del Norte, América Central, América del Sur y el Caribe será calculado de
         conformidad con las fórmulas establecidas en los Artículos 3.1(a) y (b). El precio de
         compra de los Productos que serán vendidos para entregar en otros mercados
         (“Mercados Alternativos”) será determinado de conformidad con lo dispuesto en los
         Artículos 3.1(d) y (e): […]”. [Traducción del Tribunal]

4.14   Los Artículos 3.2. y 3.3 del Offtake Agreement establecen lo siguiente:

         “3.2. Falta de aceptación de la entrega de los Productos. Las disposiciones de los
         incisos (a) y (b) que se describen infra, serán aplicables durante el plazo en que los
         préstamos se encuentren pendientes de cancelación en virtud de los Contratos de
         Préstamo. Una vez que se hayan cancelado por completo los préstamos al Vendedor
         en virtud de los Contratos de Préstamo, serán aplicables las disposiciones del inciso
         (c) infra.
         (a) Toma o Paga en caso de cumplimiento de la Obligación de Oferta. En el
             supuesto de que el Vendedor se encuentre preparado y dispuesto para cumplir
             con su obligación de ofrecer el Producto a un Comprador y éste no acepte la
             entrega de su asignación de Productos en virtud de los Capítulos II, V o VI (“
             Comprador No Tomador”) dentro del plazo de treinta (30) días posteriores a la
             fecha de entrega programada para ello, el Comprador No Tomador deberá no


                                               62
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 379 of 622




      obstante pagarle al Vendedor (i) el precio correspondiente, determinado de
      conformidad con la fórmula aplicable descripta en el Artículo 3.1(a) o en el
      Artículo 3.1(b) (sin la reducción del descuento por el honorario de
      comercialización pertinente), por todos los Productos ofrecidos por el Vendedor
      y que no fueron tomados por el Comprador No Tomador y (ii) todos los costos y
      gastos del Vendedor en caso de que la falta de toma de los Productos contribuya
      a una reducción de la producción de la Planta. Sin perjuicio de las disposiciones
      precedentes, no se le requerirá a ningún Comprador el pago de (y) cantidades de
      Productos no ofrecidos o que no hayan sido tomados por cuestiones de Fuerza
      Mayor y (z) cantidades de Productos no ofrecidos por el incumplimiento del
      Vendedor de conformidad con las disposiciones de este Contrato salvo en la
      medida que dicho incumplimiento sea atribuible al Comprador No Tomador.
  (b) Productos No Tomados. El Vendedor deberá informar inmediatamente al otro
      Comprador acerca de cualquier falta en la toma de cualquier producto de un
      Comprador No Tomador siempre que ese otro Comprador se encuentre tomando
      la entrega de su asignación de Productos de conformidad con los Capítulos II, V
      o VI (“Comprador Tomador”). El Comprador Tomador tendrá derecho de
      preferencia para comprar cualquier Producto que no haya sido tomado por el
      Comprador No Tomador, para reventa o [sic] para su consumo propio, al precio
      del Producto correspondiente, establecido de conformidad con el Artículo 3.1.
      (a) o (b), según sea el caso, y luego de la aceptación, las obligaciones de comprar
      y tomar la entrega de tal Producto serán obligatorias para el Comprador
      Tomador. En el supuesto de que el Comprador Tomador declinara o no ejerciera
      el derecho de preferencia mediante notificación de ello al Vendedor dentro del
      plazo de cinco (5) días posteriores a la recepción de la notificación del Vendedor
      por parte del Comprador Tomador, el Vendedor tendrá derecho a vender ese
      Producto a un Tercero al precio que fuere. Sin perjuicio de la venta de los
      Productos correspondientes de conformidad con este Artículo 3.2.(b), el
      Comprador No Tomador deberá pagarle al Vendedor los importes establecidos
      en el Artículo 3.2(a) (sin la reducción del Descuento de Honorarios por la
      Comercialización de Amoníaco o por el Descuento de Honorarios por la
      Comercialización de Urea, según corresponda), junto con cualquier costo en el
      que hubiera incurrido el Vendedor para vender el Producto. El Vendedor le
      otorgará al Comprador No Tomador un crédito por el valor de los importes
      recibidos por el Vendedor de parte del Comprador Tomador o de un Tercero en
      virtud de este Artículo 3.2(b) en el caso de que el Comprador No Tomador ya ha
      pagado al Vendedor los importes adeudados en virtud del Artículo 3.2(a)(junto
      con cualquier costo en el que hubiera incurrido el Vendedor para vender el
      Producto), dicho crédito será aplicado por el Vendedor para compensar facturas
      futuras emitidas por el Vendedor al Comprador pertinente.



                                         63
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 380 of 622




         (c) Modificación de Algunas Disposiciones al Momento de la Cancelación de los
             Préstamos. Sin perjuicio de las disposiciones en contrario contenidas en este
             contrato, luego de la cancelación por completo de los préstamos realizados por
             los prestatarios al Vendedor en virtud de los Contratos de Préstamo, con
             inclusión de toda refinanciación de los mismos, las obligaciones de los
             Compradores de tomar o pagar por Producto ofrecido en virtud del Artículo
             3.2.(a) supra finalizarán y las modificaciones a este Contrato establecidas en el
             Anexo B serán efectivas para todos los propósitos en virtud del presente desde
             esa fecha .
         3.3. Impuestos a los Ingresos. A excepción de lo se ha establecido específicamente
         en el Artículo 3.1.(f), cada Comprador deberá indemnizar y mantener indemne al
         Vendedor por cualquier impuesto determinado o reclamado contra tal Comprador
         que se fundamente en sus ingresos o se calcule en base a los mismos (incluyendo
         penalidades, intereses y gastos) impuestos por cualquier jurisdicción o subdivisión
         política (que no se trate de la República de Venezuela, algún estado venezolano,
         autoridad gubernamental o impositiva de ese lugar) surgida o relacionada con la
         venta de Productos en virtud del presente contrato o con el cumplimiento del
         Comprador de su obligación en virtud del presente contrato, ya sea que esos
         impuestos hubieran sido o no determinados de manera correcta o
         legal.”[Traducción del Tribunal]

4.15   El Artículo 11.1 del Offtake Agreement establece lo siguiente:

         “Vigencia del Contrato – De conformidad con los términos y condiciones del
         presente, este Contrato entrará en vigor desde la primera fecha escrita supra y estará
         vigente por un período inicial de veinte (20) Años Contractuales a partir de ese
         momento (“Período Inicial”); no obstante, en el supuesto de que los Bonos no fueran
         pagados en su totalidad o reembolsados y permanezcan adeudados en virtud de su
         cronograma de cancelación original al momento de finalización del Periodo Inicial,
         ninguno de los Compradores ni el Vendedor cancelarán este Contrato y el Período
         Inicial se extenderá por el período de tiempo en que los Bonos se encuentren
         adeudados en virtud de su cronograma de cancelación original. Este Contrato se
         renovará automáticamente luego del Período Inicial por uno o más períodos
         sucesivos de cinco (5) Años Contractuales (cada uno denominado “Período
         Secundario”) a menos que una de las Partes notificará lo contrario por escrito a las
         otras Partes al menos con seis (6) meses de anticipación a la finalización del Período
         Primario o del entonces vigente Período Secundario, según corresponda. En el
         supuesto de que este Contrato sea renovado por uno o más Períodos Secundarios,
         las Partes realizarán consultas entre ellas con una anticipación no menor a tres (3)
         meses previos al comienzo de cualquier Período Secundario a fin de determinar si



                                               64
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 381 of 622




             en virtud de las circunstancias que prevalezcan en ese momento deben aplicarse las
             disposiciones del Artículo 2.3”. [Traducción del Tribunal]

4.16       El Artículo 12.2 del Offtake Agreement establece lo siguiente:

             “(a) Arbitraje de Conformidad con las Reglas de la CCI. En el supuesto de que una
             Controversia no hubiera sido resuelta por medio de la negociación dentro del plazo
             de noventa (90) días posteriores a la fecha de notificación de la Controversia
             recibida en virtud del Artículo 12.1, la Controversia será resuelta de manera
             definitiva, mediante arbitraje de conformidad con las Reglas de la CCI, salvo en lo
             que respecta a las modificaciones a dichas Reglas de la CCI conforme lo dispuesto
             en el presente Artículo XII.
             “(c) Sede e Idioma. El procedimiento de arbitraje se llevará a cabo en la Ciudad de
             Miami, Estado de Florida, Estados Unidos de América, o en cualquier otro lugar
             que acuerden las partes del procedimiento de arbitraje, en idioma inglés. […]”
             “(f) Ley Aplicable. Deberá requerirse a los árbitros que apliquen la ley de fondo de
             Nueva York al decidir sobre cualquier Controversia de conformidad con la intención
             de las Partes expresada en el Artículo 13.1.” [Traducción del Tribunal]

4.17       El Artículo 13.1 del Offtake Agreement establece lo siguiente (impreso en mayúsculas):

             “[…] El presente Contrato se regirá, interpretará y ejecutará de conformidad con
             las leyes del Estado de Nueva York, Estados Unidos de América, sin consideración
             de sus normas de derecho internacional privado.” [Traducción del Tribunal]

(4)        El Decreto Urea 40
4.18       Comenzando por su Preámbulo el Decreto Urea establece lo siguiente:

             “CONSIDERANDO que la producción de alimentos es de interés nacional y
             fundamental para el desarrollo económico y social de la Nación, elemento esencial
             de la seguridad y soberanía nacional, […]”

4.19       El Artículo 1 del Decreto Urea establece lo siguiente:

             “Se declaran como bienes de primera necesidad en todo el territorio nacional, los
             fertilizantes nitrogenados y los insumos necesarios para su elaboración en sus
             distintos formatos y presentaciones, destinados a satisfacer la demanda nacional.”

4.20       El Artículo 2 del Decreto Urea establece lo siguiente:


40
     Decreto 5218 (26 de febrero de 2007) (C-80).


                                                    65
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 382 of 622




           “Los fabricantes, proveedores, comercializadores, distribuidores, importadores y
           exportadores de fertilizantes nitrogenados y de los insumos necesarios para su
           elaboración quedan obligados a suministrarlos prioritariamente en el mercado
           nacional, de acuerdo a la regulación de precios establecida para su venta.”

4.21    El Artículo 3 del Decreto Urea establece lo siguiente:

           “La actividad de comercialización de los fertilizantes nitrogenados y de los insumos
           necesarios para su elaboración, realizada por personas naturales y jurídicas, queda
           sometida a los precios, volúmenes, controles, regulaciones y fiscalizaciones que
           mediante Resoluciones conjuntas establezcan los Ministerios del Poder Popular
           para la Agricultura y Tierra, para las Industrias Ligeras y Comercio y para la
           Energía y Petróleo, las cuales deberán comenzar a dictarse dentro de los treinta días
           siguientes a la publicación del presente Decreto.”

(5)     La Resolución Urea 41
4.22    Comenzando con el Artículo 1 la Resolución Urea establece lo siguiente:

           “La presente Resolución tiene por objeto la regulación, control e inspección de la
           producción, comercialización, distribución y venta de urea, a fin de garantizar el
           abastecimiento del mercado nacional. Igualmente regula la exportación de la misma,
           una vez cubierta la demanda interna.”

4.23    El Artículo 10 de la Resolución Urea establece lo siguiente:

           “La Empresa del Estado, Petroquímica de Venezuela S.A. (Pequiven S.A.) podrá
           comprar la urea que requiera para cubrir las necesidades de la Nación, a cualquier
           fabricante establecido en el país, al precio máximo de venta a granel a puerta de
           planta, de 155.200/TM (Bolívares por Tonelada métrica).

(6)     El Decreto 5.835 42
4.24    En el Artículo 4 el Decreto 5.835 establece lo siguiente:

           “Se declaran, y por lo tanto son de utilidad pública e interés social, todos los bienes
           necesarios para desarrollar las actividades de producción, fabricación, importación,
           acopio, transporte, distribución y comercialización de alimentos o productos
           declarados de primera necesidad o sometidos a control de precios.

41
   Resolución Conjunta del Ministerio del Poder Popular Para La Agricultura y Tierras, el Ministerio Del Poder
    Popular Para Las Industrias Ligeras y Comercio y el Ministerio Del Poder Popular Para La Energía y Petróleo (3
    de mayo de 2007) (C-82).
42
   Decreto 5.835 (28 de enero de 2008) (R-23).


                                                       66
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 383 of 622




             El Ejecutivo Nacional podrá, sin mediar otra formalidad, iniciar la expropiación
             mediante decreto por razones de seguridad y soberanía alimentaria.”

(7)        El Decreto de Expropiación 43
4.25       Comenzando con el Artículo 1 el Decreto de Expropiación establece lo siguiente:

             “Se ordena la adquisición forzosa de los bienes muebles e inmuebles, incluyendo
             bienhechurías, instalaciones, plantas, equipos industriales, de oficina y demás
             activos requeridos o necesarios para la actividad de producción, procesamiento,
             transporte y almacenamiento de fertilizantes (urea y amoníaco), que pertenezcan o
             se encuentren en posesión de las sociedades mercantiles Fertilizantes Nitrogenados
             de Oriente, S.A., Fertilizantes Nitrogenados de Venezuela, S.R.L., Fertilizantes
             Nitrogenados de Oriente, C.E.C. y Fertilizantes Nitrogenados de Venezuela, C.E.C.,
             o cualesquiera empresas o personas relacionadas, a fin de lograr la cabal y efectiva
             realización de los planes nacionales de siembra y producción formulados por el
             Ejecutivo Nacional y que sean necesarios para la ejecución de la obra ‘Plan
             Socialista de Soberanía Agroalimentaria’.”

4.26       El Artículo 2 del Decreto de Expropiación establece lo siguiente:

             “La obra “Plan Socialista de Soberanía Agroalimentaria”, será ejecutada por la
             Petroquímica de Venezuela, S.A. (PEQUIVEN), adscrita al Ministerio del Poder
             Popular para La Energía y Petróleo, como ente expropiante, o la filial que esta
             designe.”

4.27       El Artículo 3 del Decreto de Expropiación establece lo siguiente:

             “Los bienes expropiados pasarán libres de gravámenes o limitaciones al Estado
             venezolano, a través de la empresa Petroquímica de Venezuela, S.A. (PEQUIVEN),
             como ente expropiante, o la filial que esta designe, de conformidad con lo dispuesto
             en el artículo 11 de la Ley de Expropiación por Causa de Utilidad Pública o Social.”

4.28       El Artículo 4 del Decreto de Expropiación establece lo siguiente:

             “De conformidad con lo previsto en el artículo 12 de la Ley de Expropiación por
             Causa de Utilidad Pública o Social, se autoriza a la Petroquímica de Venezuela, S.A.
             (PEQUIVEN), a fin que realice los trámites necesarios para la adquisición de los
             inmuebles y demás bienes a que se contrae el artículo 1 del presente Decreto,


43
     Decreto 7.713 (de fecha 10 de octubre de 2010) (C-9).


                                                             67
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 384 of 622




             subrogándose en todos los derechos y obligaciones que correspondan a la República
             Bolivariana de Venezuela por tales conceptos.”

4.29       El Artículo 5 del Decreto de Expropiación establece lo siguiente:

             “Petroquímica de Venezuela, S.A. (PEQUIVEN), iniciará y tramitará el
             procedimiento de expropiación previsto en la Ley de Expropiación por Causa de
             Utilidad Pública o Social, hasta la transferencia total y definitiva de la propiedad de
             los bienes indicados en el artículo 1º del presente Decreto.”

4.30       El Artículo 6 del Decreto de Expropiación establece lo siguiente:

             “De conformidad con lo dispuesto en el artículo 3º del Decreto con Rango, Valor y
             Fuerza de Ley Orgánica de Seguridad y Soberanía Agroalimentaria, se ordena la
             ocupación de los bienes indicados en el artículo 1º del presente Decreto, por parte
             de la sociedad mercantil Petroquímica de Venezuela, S.A. (PEQUIVEN), a los fines
             de su puesta en operatividad, administración y aprovechamiento.”

(8)        La Ley de Expropiación 44
4.31       Comenzando con el Artículo 2 la Ley de Expropiación establece lo siguiente:

             “Concepto de expropiación. La expropiación es una institución de Derecho Público,
             mediante la cual el Estado actúa en beneficio de una causa de utilidad pública o de
             interés social, con la finalidad de obtener la transferencia forzosa del derecho de
             propiedad o algún otro derecho de los particulares, a su patrimonio, mediante
             sentencia firme y pago oportuno de justa indemnización.”

4.32       El Artículo 7 de la Ley de Expropiación establece lo siguiente:

             “Requisitos de la expropiación. Solamente podrá llevarse a efecto la expropiación
             de bienes de cualquier naturaleza mediante el cumplimiento de los requisitos
             siguientes:
             1. Disposición formal que declare la utilidad pública.
             2. Declaración de que su ejecución exige indispensablemente la transferencia total
                 o parcial de la propiedad o derecho.
             3. Justiprecio del bien objeto de la expropiación.
             4. Pago oportuno y en dinero efectivo de justa indemnización.”



44
     Ley de Expropiación Por Causa De Utilidad Pública o Social (1 de julio de 2002) (C-140). Véase también R-53, el
     cual contiene otra traducción de la Ley de Expropiación. Las Partes no plantearon la cuestión de las diferentes
     traducciones durante el procedimiento.


                                                         68
         Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 385 of 622




4.33      El Artículo 31 de la Ley de Expropiación establece lo siguiente:

             “Derechos del Poseedor. El poseedor tiene derecho a hacerse parte en el juicio de
             expropiación, a fin de solicitar del precio del bien expropiado, la cuota que le
             corresponda por el valor de sus mejoras y por los perjuicios que se le causen.”

4.34       El Artículo 35 de la Ley de Expropiación establece lo siguiente:

             “Procedimiento si no hay avenimiento. De no lograrse el avenimiento, el Juez
             convocará a una hora del tercer día de despacho siguiente para el nombramiento de
             una Comisión de Avalúos designada, según lo establecido en el artículo 19 de esta
             Ley, que efectuará el justiprecio del bien, observándose las reglas del Código de
             Procedimiento Civil.”

4.35      El Artículo 36 de la Ley de Expropiación establece lo siguiente:

             “Elementos de obligatoria apreciación. En el justiprecio de todo bien que se trate
             de expropiar, total o parcialmente, se especificará su clase, calidad, situación,
             dimensiones aproximadas, su probable producción y todas las otras circunstancias
             que influyan en las operaciones y cálculos que se hayan hecho para fijar su justo
             valor. En todo caso, el justiprecio deberá representar el valor equivalente que
             corresponda al bien expropiado. Cuando se trate de inmuebles, entre los elementos
             del avalúo, se tomará en cuenta obligatoriamente:
             1. El valor fiscal del inmueble declarado o aceptado tácitamente, por el
             propietario.
             2. El valor establecido en los actos de transmisión, realizados por lo menos seis
             (6) meses antes del decreto de expropiación.
             3. Los precios medios a que se hayan vendido inmuebles similares, en los últimos
             doce (12) meses contados a partir de la fecha de elaboración del avalúo.
             En caso de ausencia de cualquiera de estos elementos de obligatoria apreciación,
             los peritos deberán razonarlo expresamente en el informe de avalúo. En ningún caso
             puede ser tomado en cuenta el mayor valor de los inmuebles, en razón de su
             proximidad a las obras en proyecto.”

(9)        Carta del Sr. Hernández de Fecha 28 de Febrero de 2012 45
4.36      El presente documento no es un texto jurídico, pero amerita que sea citado de manera
          completa aquí. Se trata de la carta de Betulio Hernández, Presidente de la Junta de



45
     Carta de B. Hernández a Koch Oil SA y Koch Nitrogen Company re: Offtake Agreement (28 de febrero de 2012)
     (C-114).


                                                       69
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 386 of 622




       Administradores Temporales ad-hoc, dirigida a KNI y que versa sobre el impacto causado
       en el Offtake Agreement por el Decreto de Expropiación (Decreto 7.713):

         “Por medio de la presente cumplo con notificarles que según Resolución emitida por
         la Junta de Administradores Temporales Ad-Hoc de Fertilizantes Nitrogenados de
         Venezuela, FertiNitro, C.E.C., (“FertiNitro”) según se evidencia de designación
         efectuada por Decretos emanados del Juzgado Segundo de Primera Instancia en lo
         Civil, Mercantil, Agrario y Tránsito de la Circunscripción Judicial del Estado
         Anzoátegui de fecha 08 y 09 de agosto de 2011 y 22 de septiembre de 2011, Asunto
         BP02-V-2011-000998, inscritos los dos primeros en el Registro Mercantil Primero
         del Estado Anzoátegui el 11 de agosto de 2011 bajo el Nº 09, Tomo 1, efectivo a
         partir de la fecha de la presente comunicación, FertiNitro no venderá más
         fertilizantes nitrogenados (urea y amoníaco) a Koch Oil, S.A. según el contrato de
         comercialización suscrito entre Petroquímica de Venezuela S.A., International
         Petrochemical Sales Limited, Koch Oil S.A., y Fertilizantes Nitrogenados de
         Venezuela, C.E.C. de fecha 8 de abril de 1998; todo en cumplimiento de lo
         establecido en el Decreto 7.713 publicado en Gaceta Oficial de la República
         Bolivariana de Venezuela Nº 39.528 de fecha 11 de octubre de 2010 mediante la cual
         se ordena la adquisición forzosa de los bienes muebles e inmuebles, incluyendo
         bienhechurías, instalaciones, plantas, equipos industriales, de oficina y demás
         activos, requeridos o necesarios para la actividad de producción, procesamiento,
         transporte y almacenamiento de fertilizantes (urea y amoníaco), que pertenezcan o
         se encuentren en posesión de las sociedades Fertilizantes Nitrogenados de Oriente,
         S.A., Fertilizantes Nitrogenados de Venezuela, S.R.L., Fertilizantes Nitrogenados de
         Oriente, C.E.C. y Fertilizantes Nitrogenados de Venezuela, C.E.C., o cualesquiera
         empresas o personas relacionadas.”

(10)   El Convenio CIADI
4.37   El Artículo 25 del Convenio CIADI establece lo siguiente:

         “(1) La jurisdicción del Centro se extenderá a las diferencias de naturaleza jurídica
         que surjan directamente de una inversión entre un Estado Contratante (o cualquiera
         subdivisión política u organismo público de un Estado Contratante acreditados ante
         el Centro por dicho Estado) y el nacional de otro Estado Contratante y que las partes
         hayan consentido por escrito en someter al Centro. El consentimiento dado por las
         partes no podrá ser unilateralmente retirado.

         (2) Se entenderá como “nacional de otro Estado Contratante”:

         (a) toda persona natural que tenga, en la fecha en que las partes consintieron


                                               70
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 387 of 622




         someter la diferencia a conciliación o arbitraje y en la fecha en que fue registrada
         la solicitud prevista en el apartado (3) del Artículo 28 o en el apartado (3) del
         Artículo 36, la nacionalidad de un Estado Contratante distinto del Estado parte en
         la diferencia; pero en ningún caso comprenderá las personas que, en cualquiera de
         ambas fechas, también tenían la nacionalidad del Estado parte en la diferencia; y

         (b) toda persona jurídica que, en la fecha en que las partes prestaron su
         consentimiento a la jurisdicción del Centro para la diferencia en cuestión, tenga la
         nacionalidad de un Estado Contratante distinto del Estado parte en la diferencia, y
         las personas jurídicas que, teniendo en la referida fecha la nacionalidad del Estado
         parte en la diferencia, las partes hubieren acordado atribuirle tal carácter, a los
         efectos de este Convenio, por estar sometidas a control extranjero.

         (3) El consentimiento de una subdivisión política u organismo público de un Estado
         Contratante requerirá la aprobación de dicho Estado, salvo que éste notifique al
         Centro que tal aprobación no es necesaria.

         (4) Los Estados Contratantes podrán, al ratificar, aceptar o aprobar este Convenio
         o en cualquier momento ulterior, notificar al Centro la clase o clases de diferencias
         que aceptarían someter, o no, a su jurisdicción. El Secretario General transmitirá
         inmediatamente dicha notificación a todos los Estados Contratantes. Esta
         notificación no se entenderá que constituye el consentimiento a que se refiere el
         apartado (1) anterior.”

4.38   El Artículo 41 del Convenio CIADI establece lo siguiente:

         “(1) El Tribunal resolverá sobre su propia competencia.
          (2) Toda alegación de una parte que la diferencia cae fuera de los límites de la
         jurisdicción del Centro, o que por otras razones el Tribunal no es competente para
         oírla, se considerará por el Tribunal, el que determinará si ha de resolverla como
         cuestión previa o conjuntamente con el fondo de la cuestión.”

4.39   El Artículo 42(1) del Convenio CIADI establece lo siguiente:

         “El Tribunal decidirá la diferencia de acuerdo con las normas de derecho acordadas
         por las partes. A falta de acuerdo, el Tribunal aplicará la legislación del Estado que
         sea parte en la diferencia, incluyendo sus normas de derecho internacional privado,
         y aquellas normas de derecho internacional que pudieren ser aplicables.”




                                               71
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 388 of 622




                          PARTE V: LOS HECHOS PRINCIPALES



(1)   Introducción
5.1   La principal controversia entre las Partes se relaciona con la supuesta expropiación por
      parte de la Demandada de lo siguiente: (i) el derecho de participación indirecto del
      veinticinco por ciento (25 %) de KOMSA en FertiNitro, proyecto de empresa en
      participación que comprende varias personas jurídicas, establecido por tres accionistas
      privadas (incluida KOMSA) y Pequiven, la empresa petroquímica Estatal venezolana; y
      (ii) el derecho de KNI en el Offtake Agreement entre (inter alios) FertiNitro, Pequiven y
      KNI.    FertiNitro se encarga de la producción y venta de fertilizantes nitrogenados
      (amoniaco y urea) a través de la operación y del mantenimiento de cuatro plantas
      petroquímicas ubicadas en José, Venezuela (también descriptas, en su conjunto, como la
      “Planta FertiNitro”).

5.2   El proyecto FertiNitro se originó en el año 1998; y las plantas iniciaron sus operaciones
      comerciales en el año 2001. Las plantas de FertiNitro enfrentaron varias dificultades
      técnicas y operativas.     Estas derivaron en un arbitraje comercial internacional entre
      FertiNitro y la contratista EPC y accionista minoritaria del proyecto, Snamprogetti. Las
      Partes disienten de las causas y consecuencias de las dificultades técnicas y operativas de
      las Plantas.

5.3   Tanto la producción alimentaria como la agricultura de Venezuela han estado marcadas por
      el subdesarrollo desde la década de 1990. En respuesta, la Demandada desarrolló una
      política a fin de obtener mayor seguridad alimentaria para el pueblo de Venezuela, que
      incluía, entre otras cuestiones, leyes y regulaciones destinadas a garantizar el control estatal
      sobre la producción interna de alimentos y productos relacionados con alimentos, lo que
      incluye fertilizantes para la agricultura interna.

5.4   El 11 de octubre de 2010, entró en vigor el Decreto de Expropiación N.º 7.713 de la
      Demandada de fecha 10 de octubre de 2010, que declaraba la adquisición forzosa de los
      bienes de FertiNitro. KOMSA no recibió compensación alguna por la expropiación de su
      derecho de participación indirecto en FertiNitro.


                                                72
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 389 of 622




5.5        El Tribunal incluye infra por orden cronológico ciertos hechos principales que son
           relevantes para sus decisiones con respecto a los dos reclamos de expropiación de las
           Demandantes en virtud del Artículo 6 del Tratado y a los “Reclamos Históricos” de
           KOMSA en virtud de los Artículos 4 y 11 del Tratado. Por consiguiente, sin perjuicio del
           elemento de repetición que aparece posteriormente en este Laudo, esta cronología no
           constituye un relato taxativo de todas las cuestiones de hecho en disputa entre las Partes.
           No obstante, el Tribunal ha considerado las pruebas en su totalidad, tal como las rindieran
           las Partes en el marco de este extenso arbitraje.

5.6        Esta cronología aborda, tal como concluyera el Tribunal sobre la base de los materiales
           rendidos por las Partes: (i) el desarrollo del proyecto FertiNitro; (ii) la construcción y
           operación de la Planta FertiNitro; (iii) las negociaciones de Pequiven destinadas a adquirir
           la totalidad de las accionistas privadas de FertiNitro (incluida KOMSA); (iv) el marco
           jurídico y regulatorio de Venezuela que derivó en el Decreto de Expropiación de fecha 10
           de octubre de 2010; (v) los sucesos posteriores al Decreto de Expropiación; y (vi) ciertas
           medidas adicionales adoptadas por la Demandada que, tal como alegan las Demandantes,
           han interferido en sus inversiones en violación del Tratado.

(2)        Cronología de los Hechos

           (i)   El Desarrollo del Proyecto FertiNitro

5.7        En la década de 1990, Venezuela (al igual que otros países de Latinoamérica) perseguía
           políticas económicas que pretendían, entre otras cuestiones, atraer inversión extranjera y
           reducir el control estatal sobre importantes sectores económicos. En el caso de Venezuela,
           dichas políticas comprendían el sector petroquímico e hidrocarburífero 46.




46
     Daniel Yergin, The Quest: Energy, Security, and the Remaking of the Modern World (Penguin Books 2011), (C-
     10). Véanse también Mem. Koch, Párrafo 25; Mem. C. Ven., Párrafo 31, que cita R-44. Como parte de su esfuerzo
     por atraer inversión extranjera a Venezuela, PDVSA y Pequiven participaron en conferencias promocionales del
     Sector petroquímico: Véase Industria Petroquímica en Venezuela: Oportunidad de Inversión (Caracas, Venezuela,
     8, 9 y 10 de abril de 1997, Hotel Tamanaco Intercontinental (C-15), pág. 6.


                                                        73
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 390 of 622




5.8      A fines de la década de 1990, Venezuela importaba más del 64 % de sus productos
         alimenticios y agrícolas 47; tenía un superávit de gas natural no comercializado, derivado de
         sus reservas petroleras; y pretendía desarrollar su sector petroquímico 48.

5.9      Pequiven, KOMSA 49, Snamprogetti Netherlands BV, sociedad constituida de conformidad
         con la legislación de los Países Bajos (“Snamprogetti”), y Polar Uno CA, sociedad
         constituida de conformidad con la legislación de Venezuela (“Polar”), celebraron una serie
         de acuerdos en calidad de “Propietarias” a efectos del desarrollo, de la construcción y de la
         operación de dos plantas de amoniaco y dos plantas de urea, que habrían de ubicarse en un
         complejo industrial en el estado venezolano de Anzoátegui, en el noreste del país (el
         “proyecto FertiNitro”). El amoniaco y la urea son fertilizantes nitrogenados que se utilizan
         para incrementar la productividad y el rendimiento de los cultivos en la agricultura 50. El
         amoniaco se requiere para producir urea; y, por lo tanto, “[e]l amoniaco es la piedra angular
         de la industria de los fertilizantes nitrogenados” 51.

5.10     El 8 de abril de 1998, las Propietarias celebraron el (“Joint Investors Agreement”)
         (Convenio de Inversionistas Conjuntos) (el “JIA”), que preveía la constitución y
         capitalización de cuatro sociedades venezolanas interrelacionadas 52, organizadas en una
         estructura de inversión a través de la cual las Propietarias serían titulares del proyecto




47
   Christina Schiavoni & William Camacaro, The Venezuelan Effort to Build a New Food and Agricultural System, en
   61 Monthly Review (1 de julio de 2009) (R-29), pág. 3.
48
   Global Forum, Flaring Reduction & Gas Utilisation: “Venezuelan Experiences and Perspectives about Natural Gas
   Flaring and Venting in the Oil Industry” Arcangelo Sena D’Anna & Janeth Lopez de Morena (C-11); véase también
   Circular de Oferta - Oferta de Bonos de USD 250.000.000 entre FertiNitro Finance Inc y FertiNitro (8 de abril de
   1998) (“Circular de Oferta - Oferta de Bonos de 1998”) (C-115), pág. 7.
49
   Koch Oil S.A fue constituida en Suiza el 24 de enero de 1972. El 11 de abril de 2003, Koch Oil S.A. cambió su
   denominación por Koch Minerals S.A. Véase Extracto del Registro de Comercio del Cantón de Friburgo, Informe
   (30 de junio de 1999) (C-2); y, en 2009, la sociedad cambió su tipo societario por Koch Minerals Sàrl, una de las
   Demandantes en el contexto del presente caso. Véase Solicitud de Inscripción en el Registro de Comercio del
   Cantón de Friburgo (20 de marzo de 2009) (C-3). En aras de facilitar la referencia, la sociedad, bajo sus distintas
   denominaciones y tipos societarios, se denomina “KOMSA” en este Laudo.
50
   Declaración de Testigo de Edgar Alonso Flórez (28 de febrero de 2013) (“Flórez DT1”), Párrafo 6.
51
   Flórez DT1, Párrafo 6. Según la Demandada, “Aproximadamente el 67 % del amoniaco producido por FertiNitro
   se emplea para hacer urea”. “El amoniaco se obtiene al combinar nitrógeno e hidrógeno con el uso de catalizadores,
   altos niveles de calor y de presión. El aire es la principal fuente de nitrógeno. El gas natural es la fuente más común
   de hidrógeno que se utiliza”. Véase también Mem. C. Ven., Párrafos 52, 54.
52
    A saber: (i) Fertilizantes Nitrogenados de Oriente S.A.; (ii) Fertilizantes Nitrogenados de Oriente CEC;
   (iii) Fertilizantes Nitrogenados de Venezuela, SRL; y (iv) Fertilizantes Nitrogenados de Venezuela, FertiNitro,
   CEC (esta última sociedad era la “Empresa Operadora”).


                                                           74
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 391 of 622




        FertiNitro, lo construirían y operarían 53.             Tal como se indicara supra, estas cuatro
        sociedades venezolanas interrelacionadas se describen como las “Empresas FertiNitro” o,
        en su conjunto, como “FertiNitro”.

5.11    Ese mismo día, con arreglo al JIA 54, FertiNitro Venezuela CEC, Pequiven, International
        Petrochemical Sales Limited (“IPSL”, subsidiaria de Pequiven) y KOMSA (posteriormente
        sucedida por KNI tal como se describirá infra) celebraron el Offtake Agreement 55.
        Conforme al Offtake Agreement, Koch y Pequiven/IPSL (las “compradoras” (Offtakers))
        se comprometieron a adquirir sobre la base de un contrato de compra que implica adquirir
        o pagar (take or pay) una cantidad garantizada de amoniaco y urea producida por FertiNitro
        a un precio fijo descontado 56, para el consumo propio de las Offtakers o su reventa en los
        mercados tanto local como de exportación, por un plazo de 20 años 57.                           El Offtake
        Agreement podía ser luego “renova[do] automáticamente” por plazos de cinco años,
        excepto que mediara notificación en contrario de cualquiera de las partes en el Offtake
        Agreement 58.

5.12    El 30 de junio de 2000, KOMSA le cedió sus derechos y obligaciones en virtud del Offtake
        Agreement a Koch Oil Marketing S.A. El 3 de abril de 2003, Koch Oil Marketing S.A. le
        cedió sus derechos en virtud del Offtake Agreement a KNI 59.

5.13    El Offtake Agreement le otorgaba a Pequiven/IPSL el derecho exclusivo de comercializar
        y vender amoniaco y urea tanto en el mercado interno como en Sudamérica, Centroamérica
        y el Caribe. Las ventas de Pequiven al mercado interno local no debían superar el 10 % de


53
   Convenio de Inversionistas Conjuntos entre Pequiven, Koch Oil SA, Snamprogetti Netherlands BV y Polar Uno,
    CA (8 de abril de 1998) (“JIA”) (C-18), Anexo A, Estructura de Inversión.
54
   Conforme al JIA, los inversionistas conjuntos reconocieron y acordaron que ciertos acuerdos eran “necesarios para
    poner en vigor [el JIA] y se suscribir[ían] en la Fecha de Entrada en Vigor o con posterioridad a ella” incluidos,
    entre otros, el Contrato EPC, los acuerdos de financiamiento, el Acuerdo de Aporte de Capital y el Offtake
    Agreement. [Traducción del Tribunal] JIA (C-18), Artículo IV.
55
   Véase Offtake Agreement entre Pequiven, IPSL y Koch Oil SA en calidad de Compradoras y FertiNitro en calidad
    de Vendedora (8 de abril de 1998) (“Offtake Agreement”) (C-19).
56
   La fijación de precios era ventajosa para los Offtakers. El precio de compra correspondiente al amoniaco se basaba
    en los precios publicados del amoniaco menos un “Descuento de la Tarifa de Comercialización del Amoniaco” del
    4 %, mientras que el precio de compra correspondiente a la urea se basaba en los precios publicados de la urea
    menos un “Descuento de la Tarifa de Comercialización de la Urea” del 3 %.
57
   Offtake Agreement (C-19), Art. 11.1.
58
   Íd.
59
   Véanse Cesión (30 de junio de 2000) (C-33), y Contrato de Cesión y Asunción (3 de abril de 2003) (C-34).


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        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 392 of 622




         su volumen total del producto adquirido con FertiNitro. Ese porcentaje aumentó al 15 %
         en el año 2004 y otro 1 % por año a partir de ese momento 60. KOMSA (posteriormente
         KNI) tenía los derechos de venta exclusivos para Norteamérica, incluido México. Cada
         una de KOMSA/KNI y Pequiven/IPSL compraron aproximadamente el 50 % de la
         producción total de urea y amoniaco de FertiNitro en cualquier mes determinado 61.

5.14     Además del JIA y del Offtake Agreement, se celebraron numerosos contratos en relación
         con el proyecto FertiNitro 62.           Estos incluían el Contrato de Ingeniería, Compras y
         Construcción entre FertiNitro (EPC, por sus siglas en inglés), CEC, y Snamprogetti a
         efectos de la construcción “llave en mano” por parte de Snamprogetti de las plantas de
         amoniaco y urea (el “Contrato EPC”) 63, al igual que contratos para el suministro de gas,
         electricidad y agua, entre muchos otros 64. En virtud de estos contratos de gas, FertiNitro
         recibía gas de PDVSA a precios preferenciales.

5.15     Tal como ya se indicara, FertiNitro era propiedad de KOMSA en un 35 %, propiedad de
         Pequiven, en un 35 %, propiedad de Snamprogetti, en un 20 % y propiedad de Polar en un
         10 %, con arreglo a los términos JIA 65. KOMSA era titular de su derecho en FertiNitro a
         través de Koch José, sociedad constituida de conformidad con la legislación de las Islas
         Caimán 66. KOMSA le transfirió el 28,571 % de su participación en Koch José a Latin
         American Infrastructure Fund (“LAIF) el 18 de febrero de 1998 67. En consecuencia,
         KOMSA y LAIF eran propietarias indirectas del 25 % y del 10 % de FertiNitro,
         respectivamente.


60
   Offtake Agreement (C-19), Art. 2.5.
61
   Offtake Agreement (C-19), Art. 2.2. El amoniaco se dividía alrededor del 75 % para KNI y el 25 % para
    Pequiven/IPSL; en cuanto a la urea, la distribución era del 43 % para KNI y del 57 % para Pequiven/IPSL. Véase
    Circular de Oferta - Oferta de Bonos de 1998 (C-115), pág. 5. Véanse también Mem. C. Ven., Párrafo 85; Répl.
    Koch, Párrafo 11.
62
   Para una lista de los acuerdos del proyecto, véase el Contrato de Garantía Común (21 de abril de 1998) (C-137),
    Apéndice G.
63
   Contrato de Ingeniería, Compras y Construcción entre FertiNitro y Snamprogetti (8 de abril de 1998) (“Contrato
    EPC”) (C-24).
64
   Véanse, p.ej., Contrato de Suministro de Gas Metano entre PDVSA Gas SA y FertiNitro (8 de abril de 1998) (C-
    25); Contrato de Suministro de Energía Eléctrica entre Pequiven y FertiNitro (8 de abril de 1998) (C-26); Contrato
    Industrial de Suministro de Agua Industrial entre Pequiven y FertiNitro (8 de abril de 1998) (C-27); y otros contratos
    de suministro de energía y servicios técnicos relacionados.
65
   JIA (C-18), Párrafos 2.1.1 a 2.1.4; véase también Circular de Oferta - Oferta de Bonos de 1998 (C-115), pág. 3.
66
   JIA (C-18), Párrafo 2.4 y Considerandos.
67
   Registro de Socios correspondiente a Koch Jose Cayman Limited (13 de mayo de 2011) (C-21).


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 393 of 622




5.16    El proyecto FertiNitro incluía una estructura de financiamiento del proyecto en la que los
        prestamistas “recib[ía]n un derecho de garantía sobre los activos y el flujo de caja del
        proyecto” 68; y dichos prestamistas y bonistas recurrían a los activos y al flujo de ingresos
        del proyecto para el reembolso. Bajo esta estructura, “la deuda del proyecto [estaba]
        garantizada por las cuentas por cobrar que Koch [KOMSA] y Pequiven le adeudaban a
        FertiNitro en virtud del Offtake Agreement” 69. [Traducción del Tribunal] Conforme a esta
        estructura de financiamiento, el Offtake Agreement había de permanecer en vigencia
        durante un período equivalente a la duración de las obligaciones financieras de FertiNitro
        y al menos durante 20 años 70.

5.17    FertiNitro estaba organizada como empresa comercial; y su gestión estaba a cargo de una
        junta directiva de nueve miembros de las Empresas FertiNitro 71. Luego de la transferencia
        de acciones a LAIF, la junta directiva de FertiNitro estaba integrada por tres directores
        nombrados por Pequiven, dos directores nombrados por KOMSA, dos directores
        nombrados por Snamprogetti, un director nombrado por LAIF y un director nombrado por
        Polar 72. El presidente de la junta directiva (que también se desempeñaba como Presidente
        de FertiNitro) alternaba entre una persona nombrada por KOMSA o Pequiven, durante un
        plazo de dos años o por cualquier otro período acordado por KOMSA y Pequiven 73. Con
        arreglo a las Cláusulas 5.4.1 y 5.4.2 del JIA, las decisiones de la junta directiva de
        FertiNitro y las decisiones de sus accionistas podían adoptarse exclusivamente con la
        aprobación mayoritaria de cada uno de los representantes de Pequiven, KOMSA y
        Snamprogetti.

         (ii)   La Construcción y el Funcionamiento de la Planta FertiNitro

5.18    1998-2001: La construcción de la Planta FertiNitro se inició en el año 1998, y la Planta
        comenzó la producción comercial en el mes de mayo de 2001 74.


68
   Declaración de Testigo de Brent W. Gwaltney (30 de mayo de 2012) (“Gwaltney DT1”), Párrafo 20.
69
   Memorándum de Davis Polk & Wardwell (18 de mayo de 2005) (C-118), pág. 2.
70
   Offtake Agreement (C-19), Art. 11.1.
71
   JIA (C-18), Párrafo 5.2.1.
72
   JIA (C-18), Párrafo 5.2.1; Mem. C. Ven., Párrafo 30.
73
   JIA (C-18), Párrafo 5.2.4.
74
   FertiNitro, Estado Financiero correspondiente al Ejercicio Finalizado el 31 de diciembre de 2004 y 2003 (sin fecha)
   (R-14), Nota 1, pág. 8. Véanse también Mem. Koch, Párrafos 52-53; Mem. C. Ven., Párrafo 27.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 394 of 622




5.19    De conformidad con el Contrato EPC, cada una de las plantas de amoniaco estaba
        construida para tener una capacidad “nominal” mínima de 1.800 toneladas métricas
        (“MT”); y cada una de las plantas de urea tenía una capacidad nominal de 2.200 MT 75. El
        costo total del proyecto ascendía a USD 1.100 millones, de los cuales más de USD 740
        millones estaban financiados por bonos y préstamos provenientes de un consorcio de
        bancos 76.

5.20    2001-2004: Entre 2001 y 2002, FertiNitro planteó reclamos de garantía en contra de
        Snamprogetti en virtud del Contrato EPC, relativas a “defectos, deficiencias y fallas” de
        los equipos y operaciones de la Planta 77. [Traducción del Tribunal]A partir del año 2002,
        FertiNitro experimentó cierres por reparaciones y problemas de mantenimiento. FertiNitro
        comenzó a retener pagos adeudados a Snamprogetti en su calidad de contratista EPC.

5.21    En el año 2002, Snamprogetti inició un arbitraje en virtud del Contrato EPC ante la Corte
        Internacional de Arbitraje de la Cámara de Comercio Internacional, en contra de FertiNitro
        (el “Arbitraje de Construcción CCI”), a fin de reclamar el pago de las sumas retenidas por
        FertiNitro. FertiNitro planteó reconvenciones sobre la base del supuesto incumplimiento
        por parte de Snamprogetti de las garantías contenidas en el Contrato EPC en relación con
        el diseño, la construcción y la ingeniería de la Planta. FertiNitro y Snamprogetti llegaron
        a un acuerdo transaccional en el marco del arbitraje el 14 de diciembre de 2004. El acuerdo
        incluía (inter alia) la remisión de ciertas deudas de FertiNitro frente a Snamprogetti y un
        pago en efectivo de Snamprogetti a FertiNitro de USD 6,5 millones 78.

5.22    2004-2009: Las Partes disienten de las condiciones operativas de la Planta FertiNitro luego
        del acuerdo transaccional en el contexto del Arbitraje de Construcción CCI y las
        reparaciones pertinentes de la Planta por parte de FertiNitro. Las Demandantes afirman

75
   Contrato EPC (C-24), Art. 1, Párrafo 1.97, pág. 12. Capacidad “nominal” es la capacidad sostenible proyectada de
   un equipo bajo condiciones operativas específicamente definidas. Véase Mem. C. Ven., Párrafo 56, que cita
   Declaración de Testigo de Aníbal José Villarroel García (28 de febrero de 2013) (“Villarroel DT1”), Párrafo 11.
76
   Véanse Informe de Contadores Independientes y Estados Financieros de FertiNitro al 31 de diciembre de 2000 y
   1999 (2 de febrero de 2001) (C-61); FertiNitro, Estados Financieros correspondientes a los Ejercicios Finalizados
   el 31 de diciembre de 1999 y 1998 (sin fecha) (R-4); Mem. C. Ven., Párrafo 28.
77
   FertiNitro, Estado Financiero correspondiente al Ejercicio Finalizado el 31 de diciembre de 2004 y 2003 (sin fecha)
   (R-14), Nota 9, pág. 16. Las Partes difieren en cuanto a la cantidad de reclamos de garantía, aunque al menos 77
   reclamos diferentes se remitieron al Arbitraje CCI. Véanse Mem. C. Ven., Párrafo 58; Répl. Koch, Párrafo 34.
78
   FertiNitro, Estado Financiero correspondiente al Ejercicio Finalizado el 31 de diciembre de 2004 y 2003 (sin fecha)
   (R-14), Nota 9, pág. 16; Gwaltney DT1, Párrafo 40; Villarroel DT1, Párrafo 17.


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Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 395 of 622
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 396 of 622




                                    2005                      72 %                      71 %
                                    2006                      91 %                      86 %
                                    2007                      83 %                      81 %
                                    2008                      77 %                      74 %
                                    2009                      78 %                      74 %


5.24    A partir del año 2006, hubo una clara disminución en los niveles de producción 86. Las
        Partes, sin embargo, disienten en cuanto a las causas. Según las Demandantes, los
        problemas operativos se relacionan con “los incumplimientos repetidos de PDVSA Gas y
        Pequiven en el suministro de los niveles contratados de gas y electricidad a la planta,
        combinados con la mayor interferencia por parte de la Demandada en la administración de
        la planta” 87. Por su parte, la Demandada admite que hubo problemas con el suministro de
        materias primas 88; pero agrega que los problemas operativos de FertiNitro “tienen su
        origen” en fallas en la construcción y el diseño de la planta atribuibles a la Contratista
        EPC 89.

5.25    FertiNitro también fue sometida a una “prueba de confiabilidad”, la cual no aprobó, y,
        posteriormente, continuó experimentando cierres planificados y no planificados,
        vinculados, entre otras cosas, a fallas mecánicas 90. En el periodo entre estas pruebas,
        FertiNitro sufrió “paradas de planta”. Una “parada de planta” es un período programado de
        tiempo de inactividad en el que toda la producción de la planta se detiene; y los
        catalizadores y las materias primas son removidos. FertiNitro tuvo su primera parada de
        planta en 2005. Luego, hubo paradas de planta en 2008, 2009 y 2010. El costo de las
        paradas de planta, así como los costos de mantenimiento anuales, superaron




86
   Informe Pericial de Tim Giles (2 de junio de 2012) (“Giles IP1”), Párrafo 4.21 (“el rendimiento desde 2006 a 2008
    estuvo por debajo de lo que podría esperarse de una Planta de este tipo”). Répl. Koch, Párrafo 36; Mem. Koch,
    Párrafo 158; Mem. C. Ven., Párrafo 75.
87
   Répl. Koch, Párrafo 36.
88
   Mem. C. Ven., Párrafos 75, 80, 83.
89
   Mem. C. Ven., Párrafo 76; Dúpl. Ven., Párrafos 61-67.
90
   Reunión de Junta Directiva de Fertinitro N.º 75 (31 de octubre de 2006) (R-58), pág. 2; Reunión de Junta Directiva
    de Fertinitro N.º 81 (24 de mayo de 2007) (R-61), pág. 4. Según la Demandada, las fallas mecánicas también
    crearon riesgos de seguridad para los trabajadores de la planta. Mem. C. Ven., Párrafos 64-76.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 397 of 622




         considerablemente el presupuesto asignado en un principio y también se incrementaron
         considerablemente con posterioridad a 2008 91.

         (iii) Las Negociaciones de Pequiven Para Adquirir La Totalidad de las Acciones de los
               Accionistas Privados de FertiNitro

5.26     2005-2006: Entre los meses de junio de 2005 y octubre de 2006, los directores nombrados
         por Pequiven presentaron ante la junta directiva de FertiNitro las propuestas de Pequiven
         a fin de comprarle cantidades adicionales de urea a FertiNitro, anuales a un precio reducido
         durante un período comprendido entre los años 2005 y 2007 92. La cantidad de urea que
         Pequiven estaba autorizada a adquirir en virtud de sus propuestas se limitaba a 75.000
         toneladas 93. Según la declaración del Sr. Gwaltney, el precio reducido propuesto era
         inferior a los costos de producción de FertiNitro 94.

5.27     Durante las reuniones de la junta directiva de FertiNitro, los directores nombrados por
         Pequiven explicaron que la urea adicional había de utilizarse para la reventa en el mercado
         interno y, de ese modo, apoyar los planes agrícolas del Gobierno 95. Los directores
         nombrados por Pequiven agregaron que las propuestas de Pequiven entrarían en vigor




91
   El 5 de agosto de 2010, la Junta Directiva de FertiNitro analizó los crecientes costos de funcionamiento de la Planta
   y señaló que, a partir del año 2008, los costos se habían aumentado en más de “dos veces” en términos de USD.
   Todas las paradas de planta excedían el presupuesto. La parada de planta del año 2005 costó USD 21,4 millones,
   aproximadamente USD 10 millones por arriba del presupuesto. La segunda parada de planta correspondiente al año
   2008 costó USD 40,4 millones. Se requirió trabajo de mantenimiento adicional en los años 2009 y 2010, y una
   tercera parada de planta no programada tuvo lugar en 2010, a un costo de USD 40 millones. Acta de Reunión de
   Junta Directiva de FertiNitro N.º 111 (5 de agosto de 2010) (C- 105). Véase también Mem. C. Ven., Párrafos 70-
   74.
92
   Acta de Reunión de Junta Directiva de FertiNitro N.º 57 (21 de junio de 2005) (C-74), punto 3; Presentación de
   Pequiven a la Junta Directiva de FertiNitro, “Precio Especial para la Urea dirigida al mercado nacional, por un
   período determinado” (junio de 2005) (C-75); Acta de Reunión de Junta Directiva de FertiNitro N.º 59 (20 de
   septiembre de 2005) (C-77), págs. 3-4; Acta de Reunión de Junta Directiva de FertiNitro N.º 65 (5 de abril de 2006)
   (C-51), pág. 17.
93
   Presentación de Pequiven a la Junta Directiva de FertiNitro, “Precio Especial para la Urea dirigida al mercado
   nacional, por un período determinado” (junio de 2005) (C-75).
94
   Segunda Declaración de Testigo de Brent Gwaltney (20 de agosto de 2013) (“Gwaltney DT2”); véase también Répl.
   Koch, Párrafo 74.
95
    Presentación de Pequiven ante la Junta Directiva de FertiNitro, “Precio Especial de la Urea destinada al mercado
    nacional, por un período determinado” (junio de 2005) (C-75), págs. 10-12; véanse también Acta de Reunión de
    Junta Directiva de FertiNitro N.º 57 (21 de junio de 2005) (C-74), pág. 4; Acta de Reunión de Junta Directiva de
    FertiNitro N.º 59 (20 de septiembre de 2005) (C-77), pág. 4.


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       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 398 of 622




        exclusivamente “en caso de que Pequiven no pueda cubrir la demanda con su propia
        producción” de las plantas ubicadas en El Morón y El Tablazo 96.

5.28    La junta directiva de FertiNitro (con su dirección general) analizó, consideró y finalmente
        rechazó la solicitud de Pequiven 97.

5.29    Durante este mismo período, se creó una comisión a fin de analizar el Offtake Agreement 98.
        Recomendó lo siguiente: (i) que la distribución del mercado entre loa Offtakers se
        eliminara; (ii) que el límite aplicable a las ventas internas se modificara; y (iii) que los
        límites de precios del Offtake Agreement se enmendarán 99. La junta directiva de FertiNitro
        no adoptó dichas recomendaciones.

5.30    En el año 2005, se presentó un proyecto de reforma de la Ley Petroquímica ante la
        Asamblea Nacional de la Demandada. Sus efectos respecto de FertiNitro fueron analizados
        en varias reuniones de la junta directiva de FertiNitro, celebradas entre los años 2005 y
        2007 100.

5.31    En ocasión de dichas reuniones, el Sr. Toro, director nombrado por Pequiven, les informó
        a los directores nombrados por las otras accionistas que, con arreglo al texto de la propuesta
        de reforma de ley: (i) FertiNitro debería abastecer la demanda interna de urea antes de
        exportar urea; y (ii) la Demandada debía tener una participación controlante de al menos el
        51 % de FertiNitro 101, de manera de tomar el control del negocio, y “el tiempo [se estaba]
        acaba[ndo]” 102. El Sr. Toro también aseveró que “Pequiven sometería propuestas

96
    Véase Acta de Reunión de Junta Directiva de FertiNitro N.º 57 (21 de junio de 2005) (C-74), pág. 4. Véanse
    también Mem. Koch, Párrafos 118-119; Mem. C. Ven., Párrafos 45, 99. Según las Demandantes, “[l]a información
    de FertEcon sobre las importaciones y exportaciones de fertilizante de Venezuela desmiente todo tipo de escasez
    de fertilizante o emergencia de éste en Venezuela” (Répl. Koch, Párrafo 86). Las cifras de exportación de
    Venezuela correspondientes a Latinoamérica fueron más elevadas en 2006 que en 2007. Véase Importaciones de
    urea de Venezuela, Perspectivas de FertEcon para la urea, Apéndice (C-138).
97
    FertiNitro les pidió a la “Gerencia General” y a los “Comités de Finanzas y Comercializacióne” que consideraran
    la propuesta y presentaran ante la junta directiva todas las consecuencias jurídicas, operativas y económicas de
    aceptar la propuesta y modificar el Offtake Agreement. Véanse Acta de Reunión de Junta Directiva de FertiNitro
    N.º 57 (21 de junio de 2005) (C-74), pág. 4 (ESP), pág. 16 (ING); Acta de Reunión de Junta Directiva de FertiNitro
    N.º 58 (21 de julio de 2005) (C-76), págs. 18-19 (ING) (que rechazaba la propuesta).
53
    Véanse Acta de Reunión de Junta Directiva de FertiNitro N.º 57 (21 de junio de 2005) (C-74), págs. 17-18; Acta
    de Reunión de Junta Directiva de FertiNitro N.º 69 (29 de junio de 2006) (C-52), pág. 19.
99
    Véase Acta de Reunión de Junta Directiva de FertiNitro N.º 57 (21 de junio de 2005) (C-74), págs. 17-18.
100
    Gwaltney DT1, Párrafos 64-66.
101
    Gwaltney DT1, Párrafo 65.
102
    Correo electrónico de T. Parra a F. Toro in re: FertiNitro – Iniciativas Futuras (18 de enero de 2007) (C-79).


                                                         82
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 399 of 622




        específicas a consideración de todos los accionistas” y que “todos los derechos y acuerdos
        de los accionistas serían respetados” 103. [Traducción del Tribunal]

5.32    2007: Con referencia a esas conversaciones, desde 2007 en adelante, Pequiven inició
        negociaciones de adquisición con todas las accionistas privadas en FertiNitro. El 7 de
        noviembre de 2007, los representantes de KOMSA presentaron un borrador de
        Memorándum de Entendimiento para la venta a Pequiven de las acciones de los accionistas
        ajenos a Pequiven en FertiNitro (el “Borrador del MdE de KOMSA”) 104.

5.33    Con arreglo al párrafo 2.1 del Borrador del MdE de KOMSA:

          “Las Partes por el presente acuerdan que el precio de compra total que ha de abonar
          Pequiven por las Acciones estará compuesto por (a) USD1.210.000.000,00, menos
          el saldo restante de capital e intereses devengados respecto del financiamiento
          bancario y en bonos existente de FertiNitro a la Fecha de Cierre, más (b) el
          Excedente de Efectivo (el ‘Precio de Compra’). ‘Excedente de Efectivo’ se definiría
          como el saldo en efectivo de FertiNitro a la Fecha de Cierre, incluidas todas las
          cuentas de reserva necesarias, menos USD 25.000.000 105” (Énfasis en el original).
          [Traducción del Tribunal]

5.34    2008: Las conversaciones vinculadas a las negociaciones de adquisición se suspendieron
        entre los meses de enero y abril de 2008 106. En octubre de 2008, Pequiven presentó un
        borrador de Memorándum de Entendimiento revisado (el “Borrador del MdE de
        Pequiven”) 107. De conformidad con el párrafo 1 del Borrador del MdE de Pequiven:

          “(a) El precio de compra (“Precio de Compra”) que Pequiven ha de pagarle a la
          Accionista Koch por las Acciones Adquiridas asciende a USD 297.500.000,00, que
          será pagadero en efectivo al cierre de la Transacción Propuesta (el “Cierre”).
          (b) Para efectos de referencia solamente y con el acuerdo de Pequiven y la Accionista
          Koch de que el Precio de Compra es un monto fijo y no se encuentra sujeto a ajuste,
          el Precio de Compra se determinó tomando un valor inicial correspondiente al 100
          % de las Empresas de USD 1.200.000.000,00, y (i) restando el saldo restante de
          capital y todos los intereses devengados respecto del financiamiento bancario y en

103
    Íd.
104
    Correo electrónico de T. Parra a F. Toro y J. Lazo in re: Borrador MdE (que adjunta el Borrador MdE KOMSA)
    (12 de noviembre de 2007) (C-92).
105
    Borrador MdE KOMSA (C-92), Párrafo 2.1.
106
    Gwaltney DT1, Párrafo 115.
107
    Borrador de Memorándum de Entendimiento de Pequiven (C-93).


                                                     83
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 400 of 622




           bonos existente de las Empresas al 6 de octubre de 2008, (ii) sumando el excedente
           de efectivo, con exclusión de las reservas, a tal fecha, y (iii) multiplicando el valor
           neto acordado resultante de USD 850.000.000,00 por los derechos de participación
           totales del 35 % en las Empresas de propiedad directa o indirecta de la Accionista
           Koch y LAIF 108” (Énfasis en el original). [Traducción del Tribunal]

5.35    Ni el Borrador del MdE de KOMSA ni el Borrador del MdE de Pequiven llegaron a
        firmarse. Las Partes disienten en cuanto a la causa de dicha ausencia de suscripción. Según
        las Demandantes, los borradores no se concretaron, puesto que Pequiven indicó que la
        venta ya no era una prioridad para la Demandada 109.                      Según la Demandada, las
        “[n]egociaciones fueron interrumpidas en noviembre de 2008 debido a problemas de
        financiación” 110.

5.36    En los meses de abril y octubre de 2008, FertiNitro les pagó dividendos a sus accionistas
        por una suma total de USD 150 millones 111.

5.37    2009: A fines de diciembre de 2009, FertiNitro se encontraba en déficit, en tanto sus
        pasivos superaban sus activos 112.

        (iv) Las Medidas de la Demandada y el Marco Jurídico Relevante

5.38    1998: El 6 de diciembre de 1998, el Presidente Chávez fue electo como Jefe de Estado de
        la Demandada. Asumió el cargo en el mes de febrero de 1999. Durante el período que
        condujo a su elección, Venezuela importaba el 64% de sus alimentos y era un “importador
        neto” de productos agrícolas 113. El Artículo 305 de la Constitución de Venezuela de 1999,
        promulgada bajo el Gobierno del Presidente Chávez, consagraba los objetivos políticos de


108
    Borrador de Memorándum de Entendimiento de Pequiven (C-93), Párrafo 1(a)–(b), págs. 2-3. El precio
    mencionado en el inciso (b), en tanto corresponde a Koch, habría representado USD 212,5 millones por su
    participación del 25 % de Fertinitro, luego del pago de aproximadamente USD 37,5 millones en concepto de
    dividendos en los meses de abril y octubre de 2008.
109
    Mem. Koch, Párrafo 151.
110
    Mem. C. Ven., Párrafo 92, y Dúpl. Ven., Párrafo 100, que cita Gwaltney DT1, Párrafo 118 (que afirma que
    “PDVSA iba a suspender de forma indefinida el financiamiento de Pequiven para la compra de las acciones de
    FertiNitro”).
111
    Véase FertiNitro, Estados Financieros correspondientes al Ejercicio Finalizado el 31 de diciembre de 2009 y 2008
    (30 de abril de 2010) (R-30), nota 16.
112
    Véase FertiNitro, Estados Financieros correspondientes al Ejercicio Finalizado el 31 de diciembre de 2009 y 2008
    (30 de abril de 2010) (R-30).
113
    Christina Schiavoni & William Camacaro, The Venezuelan Effort to Build a New Food and Agricultural System,
    en 61 Monthly Review (1 de julio de 2009) (R-29), pág. 3.


                                                        84
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 401 of 622




        procurar la seguridad alimentaria y la soberanía alimentaria 114. A partir de ese momento,
        la Demandada emprendió un proceso destinado a incrementar la capacidad de producción
        agrícola.

5.39    2001: En septiembre de 2001, la Demandada emitió un “Plan para el Desarrollo Económico
        y Social de la Nación” 115para el período comprendido entre los años 2001-2007. Según el
        párrafo 1.1.3.1-4 del Plan, el Gobierno debía priorizar la mejora de la productividad
        agrícola para satisfacer las demandas internas de alimentos. En 2002, la Demandada
        desarrolló un programa nacional de tres años para desarrollar la seguridad alimentaria y
        desarrollo rural, con la asistencia de la Organización de las Naciones Unidas para la
        Alimentación y la Agricultura 116.

5.40    2002: El 1 de julio de 2002, entró en vigor la Ley de Expropiación por causa de utilidad
        pública o social 117. De conformidad con el Artículo 2 de la Ley de Expropiación, la
        expropiación es una “institución de Derecho Público mediante la cual el Estado actúa en
        beneficio de una causa de utilidad pública o de interés social”. El Artículo 7 establece los
        requisitos obligatorios para cualquier expropiación, que incluyen: (i) una “disposición
        formal que declare la utilidad pública; (ii) una declaración de que su ejecución exige
        indispensablemente la transferencia total o parcial de la propiedad o derecho; (iii) un
        justiprecio del bien objeto de la expropiación; y (iv) pago oportuno y en dinero efectivo de
        justa indemnización”. El Artículo 5 de la Ley prevé lo siguiente:

           “El Decreto de Expropiación consiste en la declaración de que la ejecución de una
           obra requiere la adquisición forzosa de la totalidad de un bien o varios bienes, o de
           parte de los mismos. […] El Decreto de Expropiación requerirá la previa
           declaratoria de utilidad pública de conformidad con lo establecido en los Artículos
           13 y 14 de esta Ley”.

5.41    El 2 de diciembre de 2002, organizaciones políticas y cívicas comenzaron un paro cívico
        nacional en Venezuela. Este “Afectó seriamente a muchas de las actividades económicas


114
    Constitución de la República Bolivariana de Venezuela (sin fecha) (R-3).
115
    Plan para el Desarrollo Económico y Social de la Nación (septiembre de 2001) (R-5).
116
    Organización de las Naciones Unidas para la Alimentación y la Agricultura, Feature: FAO in Venezuela (2002)
    (R-7).
117
    Ley de Expropiación por causa de utilidad pública o social (“Ley de Expropiación”) (1 de julio de 2002) (R-53) y
    (R-9).


                                                        85
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 402 of 622




        del país, en especial a la industria del petróleo” 118. [Traducción del Tribunal]. Empleados
        de PDVSA participaron en el paro 119.                 Afectó a Pequiven, cuyas operaciones se
        detuvieron 120. El paro también introdujo cambios importantes en la plantilla de Pequiven,
        y en consecuencia en el personal de FertiNitro 121.                   Según las Demandantes, con
        posterioridad al paro, la Demandada reemplazó a la gerencia de PDVSA, Pequiven y
        FertiNitro con personas que eran consideradas leales al Gobierno, independientemente de
        sus competencias técnicas 122.

5.42    2004: En 2004, Pequiven debió importar urea para satisfacer la demanda local 123. En ese
        momento, Pequiven y FertiNitro eran las únicas compañías en Venezuela que producían
        urea. Las instalaciones de producción de Pequiven, “El Tablazo” y “Morón”, sufrieron
        problemas significativos.         Según la Demandada, las plantas de Pequiven no podían
        satisfacer la demanda local.

5.43    2005: En 2005, la Demandada adoptó un “Plan Nacional de Semillas”de cuatro años 124.
        En ese momento, la Demandada importaba más de 70% de sus alimentos, 100% de sus
        semillas vegetales y más de 60%-70% de sus semillas de maíz 125. El plan nacional
        procuraba reducir la dependencia de las importaciones y aumentar la producción
        alimentaria interna, mediante (inter alia) la producción y desarrollo alimentarios 126.




118
    FertiNitro, Estados Financieros para los Ejercicios Económicos finalizados el 31 de diciembre de 2004 y 2003 (10
    de febrero de 2005) (R-14), pág. 9.
119
    ICIS News, Venezuela Strike, crisis enter third and crucial week (16 de diciembre de 2002) (C-36).
120
    Íd.
121
    Entre otros trabajadores, su Presidente fue despedido, supuestamente como consecuencia de su apoyo al paro
    (Venezuela’s Pequiven boss sacked for backing strike, ICIS News (16 de diciembre de 2002) (C-37). Véase
    también Venezuela Strike, crisis enter third and crucial week, ICIS News (16 de diciembre de 2002) (C-36).
122
    Mem. Koch, Párrafos 99-100.
123
    Véase Declaración de Testigo de Víctor Daniel Barrientos (28 de febrero de 2013) (“Barrientos DT1”), Párrafo 23.
    Según las Demandantes, “la información de FertEcon sobre las importaciones y exportaciones de fertilizante de
    Venezuela desmiente todo tipo de escasez de fertilizante o emergencia de éste en Venezuela” (Répl. Koch, Párrafo
    86). Las Demandantes alegan además que las cifras de exportación de Venezuela para América Latina eran
    superiores en 2006 que en 2007 (Répl. Koch, Párrafo 87).
124
    Plan Nacional de Semillas: Cultivando la Sustentabilidad Alimentaria,2005-2009 (abril de 2005) (R-15) (“Plan
    Nacional de Semillas”).
125
    Plan Nacional de Semillas (R-15) pág. 5 (ESP), pág. 15 (ING).
126
    Plan Nacional de Semillas (R-15) pág. 8 (ESP).


                                                        86
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 403 of 622




5.44    2006: El 28 de julio de 2006, entró en vigor la “Ley de Reforma Parcial de la Ley de
        Estímulo al Desarrollo de las Actividades Petroquímica, Carboquímica y similares” 127. De
        conformidad con los Artículos 2 y 3 de esta ley, Pequiven “cumplirá y ejecutará las
        políticas que dicte el Ejecutivo Nacional […] y “serán de la exclusiva propiedad de […]
        Venezuela”.

5.45    En diciembre de 2006, el Presidente Chávez fue reelecto a un tercer mandato presidencial.

5.46    2007: El 6 de marzo de 2007, entró en vigor el Decreto 5.218 de fecha 26 de febrero de
        2007 (el “Decreto de la Urea”) 128. De conformidad con los Artículos 1 y 2, los fertilizantes
        nitrogenados y los insumos necesarios para su elaboración se “declaraban como bienes de
        primera necesidad en todo el territorio nacional”, y los fabricantes, proveedores, y
        exportadores de fertilizantes nitrogenados quedaban “obligados a suministrar [urea]
        prioritariamente en el mercado nacional”. De conformidad con los Artículos 3 y 5 del
        Decreto de la Urea el precio y producción de fertilizantes debían estar regulados por
        resoluciones conjuntas del Ministerio del Poder Popular para la Agricultura y Tierra, el
        Ministerio para las Industrias Ligeras y Comercio y el Ministerio del Poder Popular para la
        Energía y Petróleo.

5.47    En virtud del Decreto de la Urea, se adoptó una resolución conjunta, que entró en vigor el
        2 de mayo de 2007 (la “Resolución de la Urea”) 129. La Demandada consultó a Pequiven
        durante el proceso de redacción del Decreto de la Urea y de la Resolución de la Urea 130.

5.48    La Resolución de la Urea estableció el precio máximo al que los fabricantes de urea podrían
        venderle urea a Pequiven. Esta autorizaba a Pequiven a comprarle a cualquier fabricante
        en Venezuela las cantidades necesarias de urea para satisfacer la demanda nacional 131.
        Además, los fabricantes de urea en Venezuela debían informarle al ministerio relevante de



127
    Ley de Reforma Parcial de la Ley de Estímulo al Desarrollo de las Actividades Petroquímica, Carboquímica y
    similares (1 de noviembre de 2005) (C-7).
128
    Decreto 5.218 (26 de febrero de 2007) (“Decreto de la Urea”) (C-80).
129
    Resolución Conjunta del Ministerio del Poder Popular para la Agricultura y Tierra, el Ministerio del Poder Popular
    para las Industrias Ligeras y Comercio y el Ministerio del Poder Popular para la Energía y Petróleo (3 de mayo de
    2007) (“Resolución de la Urea”) (C-82).
130
    Mem. C. Ven., Párrafo 295; Répl. Koch, Párrafo 52.
131
    Resolución de la Urea (C-82), Art. 10.


                                                         87
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 404 of 622




        la Demandada la cantidad de urea producida por ellos, conjuntamente con los porcentajes
        de urea destinada para el consumo interno e internacional 132.

5.49    En este momento, como bien sabían las Demandantes y la Demandada, sólo Pequiven y
        FertiNitro producían urea en Venezuela 133. Por lo tanto, además de las instalaciones de
        producción de Pequiven, “El Tablazo” y “Morón”, que habían experimentado dificultades
        desde el año 2004, el Decreto de la Urea y la Resolución de la Urea, en la práctica sólo
        eran aplicables a la Planta de FertiNitro (La Demandada siendo propietaria en un 100% de
        FertiNitro).

5.50    De conformidad con el Decreto de la Urea y la Resolución de la Urea, se le exigía a
        FertiNitro venderle urea a Pequiven a precios inferiores al costo de producción e inferiores
        al precio especificado en el Offtake Agreement 134.              Tras la devaluación del Bolívar
        venezolano en el año 2010, aumentó la diferencia de valor entre el precio de producción y
        el precio regulado.

5.51    Durante el mismo período, la otra planta de Pequiven, El Tablazo, exportaba urea a otros
        mercados, incluido Ecuador, lo que podía afectar los niveles de urea que se le exigían a
        FertiNitro para satisfacer la demanda local de urea 135. El Sr. Toro, el entonces director
        designado de Pequiven, explicó que se exportaba urea por “motivos geopolíticos” y que
        esas cantidades eran independientes de aquellas destinadas al mercado local 136.

5.52    2008: El 31 de enero de 2008, entró en vigor el Decreto Ley 5.835 de Venezuela. De
        conformidad con el Artículo 4 del Decreto:

          “Se declaran, y por lo tanto son de utilidad pública e interés social, todos los bienes
          necesarios para desarrollar las actividades de producción, fabricación, importación,
          transporte, distribución y comercialización de alimentos o productos declarados de
          primera necesidad o sometidos a control precios.



132
    Íd., Art. 11.
133
    Mem. Koch, Párrafo 131; Mem. C. Ven., Párrafo 50; Barrientos DT1, Párrafos 16, 23.
134
    Informe Mensual de FertiNitro correspondiente a marzo de 2007 (13 de abril de 2007) (C-86), pág.13; Informe
    Mensual de FertiNitro correspondiente a enero de 2010 (25 de febrero de 2010) (C-87), pág. 13; Véase también
    Mem. Koch, Párrafo 136.
135
    Parra DT1, Párrafo 66; Gwaltney DT1, Párrafo 104.
136
    Acta de Reunión de Junta Directiva de FertiNitro N.° 83 (30 de julio de 2007) (C-88), pág. 7.


                                                      88
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 405 of 622




          El Ejecutivo Nacional podrá, sin mediar otra formalidad, iniciar la expropiación
          mediante decreto por razones de seguridad y soberanía alimentaria” 137.

5.53    El 31 de julio de 2008, entró en vigor la Ley de Seguridad y Soberanía Alimentaria 138. El
        Artículo 3 de la ley disponía que “[s]e declaran de utilidad pública e interés social, las
        actividades que aseguren la disponibilidad y acceso oportuno a los alimentos, de calidad y
        en cantidad suficiente a la población, [...]”y que “[e]l Ejecutivo Nacional, cuando existan
        motivos de seguridad agroalimentaria podrá decretar la adquisición forzosa, mediante justa
        indemnización y pago oportuno, de la totalidad de un bien o de varios bienes necesarios
        para la ejecución de obras o el desarrollo de actividades de producción, [...] de alimentos”.
        Además, el Artículo 20 le otorgaba al Ejecutivo la facultad, entre otras cuestiones, para
        “dictar medidas económicas y financieras necesarias para la ejecución de los planes de
        producción nacional”.

5.54    2009: El 18 de junio de 2009, entró el vigor la Ley Orgánica para el Desarrollo de las
        Actividades Petroquímicas de fecha 16 de junio de 2009 (la “Ley Petroquímica de
        2009”) 139. El Artículo 5 de esta Ley dispone lo siguiente:

          “Se reserva al Estado la actividad petroquímica básica e intermedia, así como las
          obras, bienes e instalaciones que su manejo requiera. Esta reserva será ejercida,
          directamente por el Ejecutivo Nacional o mediante empresas de su exclusiva
          propiedad. Igualmente podrá hacerlo mediante empresas mixtas donde tenga control
          de sus decisiones y una participación no menor al cincuenta por ciento (50%) del
          capital social.
          Las empresas mixtas, estarán sujetas a la previa autorización de la Asamblea
          Nacional, a cuyo efecto el Ejecutivo Nacional, por órgano del Ministerio del Poder
          Popular con competencia en materia de Energía y Petróleo, deberá informarla de
          las circunstancias y condiciones pertinentes a dicha constitución”.


5.55    El 15 de julio de 2009, el Sr. C. Inciarte, Presidente de FertiNitro y de Pequiven, le informó
        a la junta directiva de FertiNitro que, conforme la política oficial del Viceministro de
        Petroquímica de la Demandada (con la que Pequiven estuvo de acuerdo), la Ley



137
    Decreto 5.835 (28 de enero de 2008) (R-23), Art. 4.
138
    Decreto 6.071 (14 de mayo de 2008), Ley Orgánica de Seguridad y Soberanía Agroalimentaria (R-27).
139
    Ley Orgánica para el Desarrollo de las Actividades Petroquímicas (16 de junio de 2009) (C-8).


                                                      89
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 406 of 622




        Petroquímica de 2009, y en particular su Artículo 5, no sería aplicable a FertiNitro, en tanto
        no debía ser aplicada de manera retroactiva por parte de la Demandada 140.

5.56    2010: El 10 de octubre de 2010, el Presidente Chávez parece firmar el Decreto 7.713, frente
        a las cámaras de televisión durante su show semanal denominado “Aló Presidente.”
        (“Decreto 7.713”; o el “Decreto de Expropiación”). Mientras el Presidente Chávez firmaba
        el Decreto de Expropiación, se lo grabó declarando:

           “A fin de lograr la cabal y efectiva realización de los planes nacionales de siembra
           y producción formulados por el ejecutivo nacional y que sean necesarios para la
           ejecución de la obra Plan Socialista de Soberanía Alimentaria... Aprobado,
           exprópiese, y pásese a propiedad, a propiedad patria” 141.

5.57    Este Decreto de Expropiación de fecha 10 de octubre de 2010, que fuera publicado en la
        Gaceta Oficial de la Demandada el 11 de octubre de 2010 bajo la firma del Presidente
        Chávez, disponía, (inter alia) 142:

           “Artículo 1. Se ordena la adquisición forzosa de los bienes muebles e inmuebles,
           incluyendo bienhechurías, instalaciones, plantas, equipos industriales, de oficina y
           demás activos, requeridos o necesarios para la actividad de producción,
           procesamiento, transporte y almacenamiento de fertilizantes (urea y amoníaco), que
           pertenezcan o se encuentren en posesión de las sociedades mercantiles Fertilizantes
           Nitrogenados de Oriente, S.A., Fertilizantes Nitrogenados de Venezuela, S.R.L.,
           Fertilizantes Nitrogenados de Oriente, C.E.C. y [sic] Fertilizantes Nitrogenados de
           Venezuela C.E.C., o cualesquiera empresas o personas relacionadas, a fin de lograr
           la cabal y debida realización de los planes nacionales de siembra y producción
           formulados por el Ejecutivo Nacional y que sean necesarios para la ejecución de la
           obra ‘Plan Socialista de Soberanía Agroalimentaria’.

           Artículo 2. La obra ‘Plan Socialista de Soberanía Agroalimentaria’, será ejecutada
           por la Petroquímica de Venezuela, S.A. (PEQUIVEN), adscrita al Ministerio del
           Poder Popular para La Energía y Petróleo, como expropiante, o la filial que esta
           designe.

           Artículo 3. Los bienes expropiados pasarán libres de gravámenes o limitaciones al
           Estado venezolano, a través de la empresa Petroquímica de Venezuela,

140
    Acta de Reunión de Junta Directiva de FertiNitro N.° 101 (15 de julio de 2009) (C-72), pág. 6 (ESP), pág. 15 (ING).
141
    Transcripción de la transmisión de la VTV (11 de octubre de 2010) (R-33), pág. 6.
142
    Decreto 7.713 (10 de octubre de 2010) (“Decreto de Expropiación”) (C-9).


                                                         90
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 407 of 622




           S.A.(PEQUIVEN), como ente expropiante, o la filial que esta designe, de
           conformidad con lo dispuesto en el artículo 11 de la Ley de Expropiación por Causa
           de Utilidad Pública o Social.

           Artículo 4. De conformidad con lo previsto en el artículo 12 de la Ley de
           Expropiación por Causa de Utilidad Pública o Social, se autoriza a la empresa
           Petroquímica de Venezuela S.A. (PEQUIVEN), a fin de que realice los trámites
           necesarios para la adquisición de los inmuebles y demás bienes a que se contrae el
           artículo 1 del presente Decreto, subrogándose en todos los derechos y obligaciones
           que correspondan a la República Bolivariana de Venezuela por tales conceptos.

           Artículo 5. Petroquímica de Venezuela, S.A. (PEQUIVEN), iniciará y tramitará el
           procedimiento de expropiación previsto en la Ley de Expropiación por Causa de
           Utilidad Pública o Social, hasta la transferencia total y definitiva de la propiedad de
           los bienes indicados en el artículo 1° del presente Decreto.

           Artículo 6. De conformidad con lo dispuesto en el artículo 3° del Decreto con Rango,
           Valor y Fuerza de Ley Orgánica de Seguridad y Soberanía Agroalimentaria, se
           ordena la ocupación de los bienes indicados en el artículo 1° del presente Decreto,
           por parte de la sociedad mercantil Petroquímica de Venezuela, S.A.–(PEQUIVEN),
           a los fines de su puesta en operatividad, administración y aprovechamiento.
           […]

           Artículo 8. El Ministerio del Poder Popular para la Energía y Petróleo queda
           encargado de la ejecución del presente Decreto” 143.

5.58    Existe disenso entre las Partes respecto de la cuestión de si se notificó a las Demandantes
        (o a KOMSA) del Decreto de Expropiación.                     Las Demandantes sostienen que la
        Demandada no proporcionó aviso anticipado del Decreto de Expropiación 144.                            La
        Demandada sostiene, a su vez, que “Venezuela proporcionó avisos tanto reales como
        implícitos de que FertiNitro podría ser objeto de una adquisición forzosa” mediante una
        serie de acciones que comenzaron tempranamente ya en el año 2005 145.




143
    El Artículo 11 de la Ley de Expropiación (citado en el Decreto de Expropiación) se refiere a la “Liberación de
    gravámenes del bien expropiado” y el Artículo 12 a la Subrogación de Derechos. Véase Ley de Expropiación (1
    de julio de 2002) (R-53).
144
    Gwaltney DT1, Párrafo 120; Mem. Koch, Párrafo163; Répl. Koch, Párrafo 90.
145
    Mem. C. Ven., Párrafo 168 y ss.


                                                       91
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 408 of 622




5.59    El 11 de octubre de 2010, el día posterior a la firma televisada del Decreto de Expropiación
        por parte del Presidente Chávez, el Ministro de Energía y Petróleo de la Demandada (Sr.
        Rafael Ramírez) viajó en persona a la Planta de FertiNitro. Allí realizó la siguiente
        declaración durante una entrevista de periodistas transmitida en la televisión pública,
        dirigida asimismo a los empleados de FertiNitro, Pequiven y PDVSA reunidos en la Planta.
        Este discurso público merece ser citado casi en su totalidad, con números de párrafos
        agregados aquí para facilitar su posterior consulta 146:

           “[1]… [Ministro Rafael Ramírez no documentado] …el mandato de nuestras leyes,
           nuestro gobierno, nuestra revolución, porque esta es una planta fundamental para
           el desarrollo agrícola del país, nuestra soberanía alimentaria. Esta es una planta
           que hemos estado durante mucho tiempo en conversaciones sin éxito alguno para
           tratar de que se adaptara a lo que son nuestros requerimientos en el plan de
           desarrollo nacional. Para que veamos la importancia que esta planta [es decir,
           FertiNitro] 147tiene en el sistema agrícola nacional... bueno, lo primero es informar
           que nosotros a nivel nacional producimos unas 380.000 toneladas al año de
           fertilizantes, en particular urea, pero esta sola planta produce 1.500.000 toneladas
           al año de urea. Es decir, es una planta muy grande, la más grande que tenemos en
           el país.

           [2] Ahora bien, esta es una planta que, recibiendo gas que produce el Estado
           venezolano a un precio subsidiado, es decir, de 0,5 a 1,5 dólares el millón de BTU;
           hay que considerar que en el exterior el gas ha llegado a venderse entre 3 y 12
           dólares el millón de BTU, sin embargo, aunque damos este precio subsidiado, ha
           sido imposible que esta planta, en la cual Pequiven tenía una posición minoritaria,
           se ajustara a los requerimientos de suministro de fertilizantes para el desarrollo
           nacional.

           [3] Nosotros actualmente tenemos un consumo de 600.000 toneladas de urea, pero
           estamos ahora en nuestros planes de desarrollo con todo el plan de siembra que tiene
           diseñado el gobierno nacional de llegar hasta cinco millones de hectáreas. Estamos
           haciendo un requerimiento de más de 1.300.000 toneladas. Con el control que el
           Estado venezolano va a tomar de esta planta [es decir, la Planta de FertiNitro],


146
    Transcripción de la Transmisión de la VTV de la entrevista del Ministro Ramírez en idioma español (11 de octubre
    de 2010) (R-33 & C-107). Traducción de la versión citada en el Laudo en inglés se tomó de la traducción de la
    Demandada en R-33. No contó con el acuerdo de las Demandantes, quienes presentaron su propia traducción al
    idioma inglés (C-107). Véase también el archivo de vídeo en formato mp4 “Ministro Ramírez encabeza toma de
    control de FertiNitro” (11 de octubre de 2010) (C-139).
147
    La interpretación del Tribunal se agrega aquí entre corchetes, como también los agregados entre corchetes infra.


                                                        92
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 409 of 622




  entonces tenemos garantizado toda la urea que necesiten nuestros campesinos, toda
  la urea que necesite nuestro sector productivo para sostener este plan extraordinario
  de siembra y para sostener el desarrollo de la nación.

  [4] Por otra parte, esta planta, que tenía un conjunto de socios privados, teníamos
  serios problemas para la comercialización. Siendo un fertilizante producido con gas
  venezolano, bueno, nosotros teníamos un tope donde solamente podíamos adquirir
  hasta el 10% de su producción para el mercado interno, y, cuando nos lo vendían,
  nos lo vendían a un precio que era 2,5 a 3 veces por encima del precio al cual
  Pequiven vende sus fertilizantes. [Estas parecen ser referencias al Offtake
  Agreement].

  [5] De tal manera que, estamos acá muy satisfechos, porque sabemos que este paso
  es un paso más a garantizar nuestra soberanía. Estamos con los trabajadores, que
  son los actores fundamentales de este proceso y, por supuesto, atendiendo a los
  lineamientos de nuestro Comandante Chávez, del Presidente Chávez, en la
  profundización de nuestra revolución [B]olivariana”.
  […]
  [6] Bueno, aquí tenemos una plantilla de cerca de 400 trabajadores. Por supuesto,
  que los privados tenían la figura de la terciarización. Nosotros vamos a eliminar la
  terciarización, vamos a iniciar un proceso de absorción de trabajadores, regularizar
  toda la relación con nuestros obreros, porque el socialismo se trata de un sistema
  económico donde la base, las relaciones de producción, tienen que estar en el marco
  de la ética del socialismo. No podemos tener aquí obreros que estén explotados por
  empresas transnacionales mientras ellas son las que hacen las ganancias en el
  exterior. [Estas parecen ser referencias (inter alia) a las accionistas extranjeras de
  FertiNitro, incluida KOMSA].

  [7] Entonces ahora se inicia todo un proceso, por supuesto hay todo un
  procedimiento legal, se inician todos los mecanismos para completar los pasos
  legales de la expropiación. Pero nosotros estamos aquí con nuestros trabajadores,
  con trabajadores de Pequiven, trabajadores de FertiNitro, y trabajadores de
  PDVSA. Bueno, ya en el control de la planta y haciendo una inspección de nuestras
  instalaciones porque, por supuesto tenemos que garantizar que se preserven todos
  los activos, que de aquí en adelante son de la República.

  [8] Periodista: … ¿Los beneficios a los países del ALBA, que tendrá FertiNitro
  también? Ministro Rafael Ramírez: Bueno, mire. Primero que todo, nosotros con
  esto garantizamos nuestro suministro al mercado interno. Y luego, vamos a poder
  tener el control de la comercialización. Hasta este momento, la transnacional que



                                        93
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 410 of 622




  operaba aquí era la que manejaba los volúmenes de cotización de acuerdo a sus
  criterios, de acuerdo a su política comercial. Nosotros, como ustedes saben, en el
  seno del ALBA en América Latina y en nuestro propio mercado interno, tenemos una
  visión distinta. Nosotros disponemos de gente y recursos naturales como el gas, el
  gas natural, que es el que se usa en este caso, para convertirlo en insumos para la
  producción de alimentos. En ese sentido, esta planta nos va a permitir poder
  asegurar el desempeño de esa política hacia el futuro. [Estas parecen ser referencias
  (inter alia) al Offtake Agreement].

  [9] Periodista: (Incomprensible). Ministro Rafael Ramírez: Bueno, ya, estamos
  primero tomando acá, estamos garantizando. Fíjate que se ha iniciado una parada
  de planta, en este mismo momento, va a iniciar sus trabajos. Por eso hay mucho
  movimiento porque siempre estamos pendientes de, bueno, mantener nuestras
  instalaciones en óptimas condiciones.

  [10] Periodista: Ministro, ¿cuál va a ser el impacto de la nacionalización de
  FertiNitro hacia el pueblo? Ministro Rafael Ramírez: Bueno, muy positivo, porque
  entonces ahora nos va a permitir disponer de los volúmenes de fertilizantes que
  necesitemos de la urea al precio nacional. Fíjate que Pequiven vende el saco de 50
  kilos de urea a 19 [B]olívares, y aquí FertiNitro nos lo vendía a nosotros a 50
  Bolívares. Es decir, una diferencia de más de 2,5 veces. Ahora nosotros vamos a
  poder disponer al precio que está regulado por el estado, de 19,5, y vamos a poder
  disponer toda la urea que se requiera para el mercado nacional. En ese sentido,
  entre esta operación y la nacionalización de AgroIsleña, que ahora es AgroPatria,
  nosotros vamos a tener toda la cadena para poder abastecer a nuestro sector
  campesino allá en los Andes para que produzcan café, allá en los llanos para que
  produzcan maíz, para que produzcan sorgo, es decir, todo lo que hemos visto que es
  un elemento fundamental para nosotros superar el modelo rentista petrolero y es un
  modelo fundamental para garantizar la seguridad, la alimentación en nuestro
  pueblo. En la medida en que tengamos los insumos de toda la cadena controlados
  por el estado, lo cual garantiza que no se especule con ello, es decir, con los
  fertilizantes, con los químicos, los agroquímicos, nuestro pueblo va a poder seguir
  disponiendo de alimentos, va a haber más trabajo en el campo y, nuestra población,
  a través de las redes de distribución, sobre todo, las redes socialistas de distribución,
  va a poder, entonces, tener alimentos seguros a bajo precio, en abundancia para
  todo nuestro país. [Nuevamente, estas parecen ser referencias (inter alia) al Offtake
  Agreement].

  [11] Periodista: ¿Otro paso para nuestra soberanía nacional? Ministro Rafael
  Ramírez: Así es, yo también quiero resaltar y quiero agradecer el apoyo permanente



                                          94
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 411 of 622




  de nuestros trabajadores, el apoyo de nuestra FUTEP, que es la [F]ederación
  [U]nitaria de los trabajadores, [V]anguardia [O]brera [S]ocialista, todas las
  organizaciones populares, las organizaciones obreras, quienes desde ayer mismo
  que el Presidente hizo los anuncios, estamos acá, salvaguardando estas
  instalaciones, tanto acá en FertiNitro, como en paralelo, están nuestros trabajadores
  allá en el Estado de Carabobo, garantizando, salvaguardando las instalaciones de
  [I]ndustria Venoco que también ha sido nacionalizada por la revolución. Ambos
  pasos son muy importantes, porque es un sector en los cuales nosotros hemos
  garantizado la soberanía. En el caso de Venoco se trata de un sector fundamental
  para toda la producción de químicos, lubricantes, grasas, necesarias para el sector
  eléctrico y para el sector industrial, donde nuevamente se repite la misma situación.
  Siendo PDVSA, siendo el Estado venezolano quien suministra la materia prima,
  bueno, ellos tienen una política de comercialización que, de manera clara, impedía
  que se cumplieran los planes de disponer de nuestros recursos naturales para
  servicio del pueblo.

  [12] Periodista: ¿Cuánta gente? Ministro Rafael Ramírez: En FertiNitro, 400
  personas. En Venoco tenemos unas 360 personas. Sí, FertiNitro, FertiNitro. A nivel
  nacional tienen como unas 450 personas, es más o menos el número, que es la mayor
  concentración de personas.
  […]
  [13] Estas son acciones muy importantes porque estas empresas como ustedes bien
  saben eran empresas y negocios que venían remanentes de la Cuarta República.
  Eran empresas y negocios donde el capital privado transnacional y nacional se
  aprovechaba de los suministros de materia prima que de forma barata hace el Estado
  Venezolano a través de PDVSA en esta planta en particular.

  [14] Y quiero saludar a todas las organizaciones sociales y políticas. Quiero saludar
  a los trabajadores de la FUTEC. Quiero saludar a los trabajadores de la vanguardia
  obrera socialista. Quiero saludar a todos nuestros obreros quienes desde ayer mismo
  vinieron acá para asegurar y garantizar las operaciones de estos activos que son
  desde hoy del Estado venezolano. Nosotros sabemos que siempre contamos con los
  trabajadores petroleros, siempre contamos con los trabajadores de la industria
  petroquímica, que contamos con la clase obrera, que contamos con los trabajadores,
  los ingenieros, los técnicos que hacen posible que día a día acá se produzca una
  buena parte de nuestros insumos energéticos. Ustedes saben que nosotros hemos
  dado la batalla por la plena soberanía petrolera. Esa batalla el gobierno Bolivariano
  la impulsó y la consolidó y hoy gracias al Presidente Chávez podemos decir que
  somos soberanos en el manejo de nuestros recursos petroleros.




                                        95
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 412 of 622




  [15] Ahora estamos en ofensiva para profundizar la soberanía alimentaria. Hace
  apenas unos días el Comandante Chávez anuncio la nacionalización de la empresa
  Agro Isleña y hoy es la empresa Agro Patria, es una empresa que permite disponer
  para nuestros campesinos, para nuestro pueblo, de los insumos agrícolas que se
  producen en el país y que los privados tenían como una herramienta de especulación
  y llevar pobreza al campo. Eso está bajo control del Estado.

  [16] El día de ayer se anunció la nacionalización de FertiNitro. Para que veamos la
  importancia de esta planta, nosotros con nuestra industria petroquímica, con
  Pequiven, producimos a nivel nacional 380.000 toneladas año de urea, que como
  ustedes saben es fundamental para la producción de alimentos. Esta sola planta,
  FertiNitro, produce por sí sola 1.500.000 toneladas año de urea, es decir 5 veces
  más que lo que se produce en todas las plantas a nivel nacional.

  [17] Pero cuál era el problema? que siendo esta planta, esta planta recibe gas
  producido por Petróleos de Venezuela, gas de todos los venezolanos. Nosotros se lo
  vendemos a un precio subsidiado ente 0[,]5 y 1[,]5 dólares la tonelada, el millón de
  BTU. Hay que considerar que a nivel mundial el gas se vende entre 3 y ha llegado
  hasta 12 dólares el millón de BTU. Es decir que aquí hay un precio subsidiado: 12
  veces menos que lo que se vende en el exterior. Pero entonces estos señores, estos
  capitales privados extranjeros y nacionales, con ese gas producen urea, fertilizantes
  en grandes cantidades, que la mayoría de ellos se exporta. Es decir no viene a
  abastecer las necesidades nacionales. [Estas parecen ser referencias (inter alia) a
  las accionistas extranjeras de FertiNitro, incluida KOMSA, y KNI y al Offtake
  Agreement].

  [18] A nosotros nos costó mucho, nos ha costado mucho lograr que estos señores
  vendieran algo de fertilizantes al país y luego de muchas discusiones se pudo lograr
  que nos vendieran solo el 10% de su producción, y saben a qué precio nos lo
  vendían? Al triple del precio de cuando Pequiven vende fertilizantes a nivel nacional.
  De manera tal que todo el fertilizante que aquí se producía, lo disponían las
  empresas comercializadoras, en este caso una empresa norteamericana, la empresa
  Koch, que agarraba todos nuestros fertilizantes y los vendía en el exterior a precios
  de especulación. [Estas parecen ser referencias (inter alia) a KNI y al Offtake
  Agreement].

  [19] Con esta acción de nacionalización nosotros estamos garantizando en primera
  instancia, que todo el fertilizante que necesiten nuestros campesinos, todo el
  fertilizante que necesite nuestro plan de siembra nacional, todo el fertilizante que




                                        96
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 413 of 622




  necesitamos para producir alimentos para nuestro pueblo esté abundante, de manera
  barata y segura para todo nuestro pueblo, ese es, ese sería, esa es la única razón.

  [20] Esto es lo que ha indicado el Comandante Chávez. Estas grandes instalaciones
  industriales que ocupan territorio nacional, que explotan a los trabajadores, que
  especulan con nuestros propios recursos, deben pasar a manos del Estado
  venezolano, deben pasar a manos del pueblo. Con la adquisición, con la
  nacionalización de esta planta, nosotros lo que estamos haciendo es fortalecer la
  propiedad patria, la propiedad de todos los hombres y mujeres que habitan nuestro
  territorio nacional, pero además, y lo más importante, el control de plantas como
  ésta de FertiNitro nos va a permitir garantizar el plan de siembra nacional, la
  soberanía alimentaria del país. Va a permitir que el gas que producen nuestros
  obreros allá en PDVSA Gas, que producen en Anaco, con tanto esfuerzo y que tanto
  nos cuesta haber controlado nuestra industria petrolera se convierta entonces en
  fertilizante para nuestro pueblo, para que nuestros hombres, nuestras mujeres y
  nuestros niños tengan alimento seguro.

  [21] Igualmente, así como estamos hoy aquí en el Estado Anzoátegui, en el complejo
  José Antonio Anzoátegui, están nuestros compañeros trabajadores en el Estado
  Carabobo asegurando las instalaciones nacionalizadas de la empresa Venoco...

  [22] Finalmente, quiero decir en nombre de nuestro presidente, garantizarles a los
  trabajadores que todas las figuras oprobiosas capitalistas, como la tercerización y
  la explotación de los obreros se van a acabar en esta empresa. No puede haber
  tercerización alguna, no puede haber explotación alguna de nuestros trabajadores.

  [23] Vamos a construir el socialismo y en este sentido el Estado venezolano y la clase
  obrera tienen un extraordinario rol que jugar. Compañeros trabajadores, de ustedes
  es el futuro, para ustedes se construye el socialismo, para los hombre y mujeres que
  trabajan todos los días en nuestras industrias nacionales, para poder garantizar a
  nuestro pueblo, a nuestras comunidades las comunidades que habitan en todos
  nuestros complejos industriales, las comunidades del Viñedo, las comunidades de
  Barcelona, las comunidades de Puerto Espíritu y todo nuestro pueblo venezolano
  recibirá los beneficios de que el Estado venezolano y sus trabajadores controlen una
  empresa tan importante como esta que estamos controlando en FertiNitro.
  Compañeros y compañeras, trabajadores y trabajadoras, el llamado es a profundizar
  el combate, a seguir profundizando nuestra revolución y bajo la guía y la orientación
  del Comandante Chávez estamos seguros que vamos a vencer. Patria socialista o
  muerte, venceremos! Gracias compañeros.




                                        97
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 414 of 622




5.60       El Tribunal determina los siguientes hechos establecidos por los sucesos de 10 y 11 de
           octubre de 2010, tal como se hacen constar supra. Primero, la visita del Ministro a la Planta
           de FertiNitro y el discurso en dicha planta tuvieron lugar en el contexto del Decreto de
           Expropiación, en particular el Artículo 1 sobre la “adquisición forzosa de los bienes
           muebles e inmuebles” 148 de FertiNitro y el Artículo 6 sobre la “ocupación” de los bienes
           de FertiNitro. En virtud del Artículo 8 del Decreto, el Ministro era responsable de su
           ejecución, y el Ministro se refirió expresamente a los “anuncios” del Presidente Chávez de
           fecha 10 de octubre de 2010: véanse los párrafos [11] y [16] supra. Segundo, de
           conformidad con el Decreto de Expropiación, el Ministro estaba llevando a cabo o
           confirmando el “control” por parte de la Demandada de la Planta de FertiNitro: véanse los
           párrafos [3], [7], [20] y [23] supra. Tercero, ese control, en palabras del Ministro, tenía su
           origen en la “nacionalización” y “expropiación” por parte de la Demandada al amparo del
           Decreto de Expropiación: véanse los párrafos [7], [10], [16] y [20] supra. Cuarto, ese
           control se extendía necesariamente más allá de los bienes físicos y demás bienes de la
           Planta de FertiNitro, para incluir la derogación de cualquier restricción contractual
           existente en el producto de FertiNitro que no se vendiera al mercado interno de Venezuela,
           o según pudiera decidir de otro modo la Demandada: véanse los párrafos [3], [4], [8], [10],
           [17], [18] y [19]. El Decreto de Expropiación en sí nada decía expresamente respecto de la
           derogación de los contratos existentes de FertiNitro, pero su efecto, que se interpreta junto
           con el discurso del Ministro, no deja lugar a dudas de las intenciones de la Demandada para
           con el Offtake Agreement. Quinto, como uno de los motivos del Decreto de Expropiación,
           el Ministro hizo alusión en términos peyorativos a empresas “transnacionales” y
           capitalistas “extranjeros”: véanse los párrafos [6], [8], [13 y [17] supra. Por último, y no
           por eso menos importante, el Ministro fue cuidadoso al describir las acciones de la
           Demandada dentro del marco del derecho venezolano: véase su referencia a
           “procedimiento legal” y “pasos legales de la expropiación” en el párrafo [7] supra.

5.61       Según la Demandada, no hubo una ocupación física de la Planta en ese momento por parte
           de los empleados de Pequiven u otros empleados. En cambio, el Sr. Ramírez, en carácter


148
      Véase Decreto de Expropiación (C-9), Art. 1: “Se ordena la adquisición forzosa de los bienes muebles e inmuebles,
      incluyendo bienhechurías, instalaciones, plantas, equipos industriales, de oficina y demás activos, requeridos o
      necesarios para la actividad de producción, procesamiento, transporte y almacenamiento de fertilizantes […[”


                                                           98
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 415 of 622




        de Ministro a cargo “[asumió] el control de la planta e inspeccionaba las instalaciones con
        el fin de garantizar que todos los activos de FertiNitro se habían incautado” 149. El Tribunal
        no considera que esta descripción sea completa en cuanto a los hechos. En este momento,
        la Planta de FertiNitro se encontraba ocupada por personas que respondían a la Demandada
        (a diferencia de FertiNitro) y cuya conducta en la toma y control físico de la Planta de
        FertiNitro fue aprobada y ratificada por el Ministro de la Demandada, tal como lo
        demuestran los términos de su discurso público el 11 de octubre de 2010 y el Decreto de
        Expropiación citado supra.

5.62    Año 2011: El 26 de julio de 2011, Pequiven (representada por el Sr. Barrientos) dio curso
        a la petición de órdenes para “solicitar la expropiación de los bienes” [de FertiNitro] ante
        el Juzgado Segundo de Primera Instancia en lo Civil, Mercantil, Agrario y Tránsito de la
        Circunscripción Judicial del Estado Anzoátegui 150. Tal como lo explicaran los abogados
        de la Demandada durante la Tercera Audiencia (junio), de ese modo, Pequiven procuró
        obtener órdenes respecto de (inter alia) el nombramiento de una Junta de Administradores
        Judiciales (Temporales) Ad Hoc para asumir la dirección de FertiNitro con facultad jurídica
        de control de todos los aspectos del negocio 151.

5.63    En lo que se refiere a su facultad para solicitar estas órdenes, ante el Juzgado de Anzoátegui,
        la solicitud de Pequiven rezaba lo siguiente 152:

           “En virtud del Decreto de Expropiación[…], se autoriza a PEQUIVEN, a realizar
           los trámites necesarios para la adquisición de los bienes muebles e inmuebles
           propiedad de FertiNitro, subrogándose en todos los derechos y obligaciones que
           correspondan a la República Bolivariana de Venezuela por tales conceptos.
           Asimismo, se autoriza a PEQUIVEN a iniciar y tramitar el procedimiento de
           expropiación previsto en la Ley de Expropiación por Causa de Utilidad Pública o
           Social, publicada en la Gaceta Oficial de la República Bolivariana de Venezuela N.°
           37.475 de fecha 1 de julio de 2002 (en lo sucesivo “Ley de Expropiación”) hasta la
           transferencia total y definitiva de la propiedad de los bienes allí indicados a la


149
    Dúpl. Ven., Párrafo 158.
150
    Petición de Reparación Provisional y de Expropiación ante el Juzgado de Primera Instancia en lo Civil, Mercantil,
    Agrario y Tránsito de la Circunscripción Judicial de Anzoátegui (26 de julio de 2011). Cada una de las Partes
    proporcionó su propia traducción en los anexos documentales R-36 y C-141 (la “Petición de Expropiación”).
151
    Tercera Audiencia (junio), D1.158.2-8.
152
    VéasePetición de Expropiación (C-141), pág. 84.


                                                         99
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 416 of 622




           República Bolivariana de Venezuela, a través de PEQUIVEN o la filial que esta
           designe”.

5.64    El 29 de julio y el 8, 9 y 10 de agosto de 2011, según lo solicitara Pequiven, el Juzgado de
        Anzoátegui dictó órdenes de conformidad con el Artículo 6 del Decreto de Expropiación,
        en las que se trataba a Pequiven como ente expropiante en virtud del Decreto 153. Estas
        órdenes del juzgado derogaron los estatutos de administración de FertiNitro al amparo del
        derecho venezolano 154. Sin embargo, mucho tiempo antes, de hecho, ya no se aplicaban
        estos estatutos dentro de FertiNitro ni a esta última.

         (v)   Otros Acontecimientos que Siguieron al Decreto de Expropiación

5.65    2010: Según la Demandada, al momento del Decreto de Expropiación (de fecha 10 de
        octubre de 2010), el personal de KOMSA en FertiNitro ya no desempeñaba sus tareas 155.Se
        había interrumpido el control que ejerciera la junta directiva de FertiNitro, ya que “se le
        concedió a Pequiven el control sobre las operaciones, la administración y la capitalización
        de FertiNitro” 156.

5.66    Con posterioridad al Decreto de Expropiación no se convocaron más reuniones de la junta
        directiva ni de los comités de FertiNitro 157. El 9 de noviembre de 2010, los directores de
        FertiNitro designados por KOMSA renunciaron formalmente a sus cargos 158. Los
        directores de FertiNitro designados por Polar renunciaron formalmente unos días más
        tarde, el 22 de noviembre de 2010 159.

5.67    El 26 de noviembre de 2010, el Sr. Flores (de FertiNitro) le envió una carta al Sr. Strand
        (de KNI), en la que afirmaba lo siguiente:




153
    Expedientes Judiciales ante el Juzgado Segundo de Primera Instancia en lo Civil, Mercantil, Agrario y Tránsito de
    la Circunscripción Judicial del Estado Anzoátegui, Resoluciones de fecha 8, 9, 10 de agosto de 2010 (C-141), págs.
    38 y ss. (ESP), págs. 116 y ss. (ING).
154
    Expedientes Judiciales ante el Juzgado Segundo de Primera Instancia en lo Civil, Mercantil, Agrario y Tránsito de
    la Circunscripción Judicial del Estado Anzoátegui, Resoluciones de fecha 8, 9 y 10 de agosto de 2010 (C-141),
    págs. 24, 52-55 (ESP), págs. 122, 130-133 (ING).
155
    Mem. C. Ven., Párrafo 69, Dúpl. Ven., Párrafo 159; Villarroel DT1, Párrafo 27.
156
    Dúpl. Ven., Párrafo 159.
157
    Parra DT1, Párrafo 73; Mem. Koch, Párrafo 167.
158
    Cartas de renuncia de Koch (9 de noviembre de 2010) (C-109).
159
    Cartas de Renuncia de Polar (22 de noviembre de 2010) (C-110).


                                                        100
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 417 of 622




           “De conformidad con nuestra conversación de esta tarde, FertiNitro confirma la
           continuidad del Offtake Agreement en virtud del cumplimiento de cada cláusula,
           tales como: precio, asignación de productos, cesiones de mercados, y todas las
           demás cláusulas correspondientes en ese contrato.

           Con base en ello FertiNitro enviará el FNSTOCK antes del término de la jornada
           laboral de modo tal que cada uno de los [offtakers] pueda conocer los volúmenes
           disponibles en diciembre” 160. [Traducción del Tribunal]

5.68    El 1 de diciembre de 2010, el Sr. Jorge Perdomo, Gerente General de FertiNitro, envió una
        carta al Sr. Strand (de KNI) en los siguientes términos:

           “Tras el anuncio del gobierno venezolano de la nacionalización de FertiNitro. Por
           la presente, FertiNitro confirma la continuidad y cumplimiento del Offtake
           Agreement celebrado el 8 de abril de 1998 […]

           Sobre la base de la puesta en marcha actual de las plantas, FertiNitro ha enviado la
           asignación de productos de diciembre y enero a cada uno de los Compradores y se
           espera cumplir con el cincuenta por ciento (50%) de la producción total real de las
           plantas, tal como se estipula en el contrato. Sírvanse observar que el volumen total
           para Koch en diciembre es el siguiente:
           Amoníaco: 23,000MT +/- 10%
           Urea: 34,345 MT +/- 10%
           Sírvanse hacernos saber el programa de diciembre de modo tal que FertiNitro pueda
           adoptar las medidas necesarias con las autoridades, tales como permisos aduaneros,
           de exportación, etc.” 161. [Traducción del Tribunal]

5.69    El 3 de diciembre de 2010, el Sr. Gwaltney (de KNI) envió un correo electrónico al Sr.
        Perdomo (de FertiNitro) respondiendo en los siguientes términos:

           “He recibido su carta de fecha 1 de diciembre de 2010 dirigida a Jacob Strand de
           KNI reconociendo la nacionalización de FertiNitro y KNI me ha autorizado a
           contestar en su representación. Como es de su conocimiento, la reciente acción del
           gobierno constituye una expropiación de la participación de KNI y sus empresas
           vinculadas en FertiNitro, incluido, a título enunciativo, el Offtake Agreement.




160
    Correo electrónico de E. Flores a J. Strand in re: Offtake Agreement de FertiNitro (26 de noviembre de 2010) (C-
    111).
161
    Carta de J. Perdomo a J. Strand (1 de diciembre de 2010) (C-112).


                                                       101
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 418 of 622




           El Sr. Francisco García me informó recientemente que ha sido designado por
           Pequiven para liderar un equipo comercial para negociar y compensar a los
           accionistas de KNI y FertiNitro por la expropiación. Entiendo asimismo que
           Pequiven ha confirmado que han tomado el offtake en su totalidad, como parte de la
           expropiación, y que compensarán a KNI por eso. Entiendo además que Pequiven ha
           solicitado que KNI compre el producto conforme a términos y condiciones similares
           a las del Offtake Agreement durante un período de tiempo limitado mientras que
           Pequiven negocia con los prestamistas, de modo tal de garantizar un flujo de caja
           constante, en gran parte en beneficio de los prestamistas. Aunque aún estamos
           analizando el impacto total y las ramificaciones de las acciones del gobierno,
           entendemos que existe el deseo por parte de Pequiven y FertiNitro de continuar la
           relación comercial con KNI a pesar de haber expropiado sus bienes y los de sus
           empresas vinculadas.

           En este contexto, y entendiendo que Pequiven pretende compensar a KNI, y sus
           empresas vinculadas, según el derecho que las asiste por la expropiación de sus
           bienes al amparo del derecho internacional, durante un período limitado hasta nuevo
           aviso, KNI acuerda comprar el producto conforme a términos consistentes con el
           Offtake Agreement. El pago por el producto se realizará a las mismas cuentas
           bancarias históricas. KNI espera asimismo que FertiNitro lleve adelante sus asuntos
           comerciales de manera consistente con todas y cada una de las obligaciones
           crediticias y en pleno cumplimiento de la legislación pertinente.

           Esta comunicación y la actuación de KNI al acordar la adquisición del producto de
           FertiNitro es estrictamente sin perjuicio y sujeto a reservas. Por la presente, KNI y
           sus empresas vinculadas, se reservan expresamente todos y cada uno de los derechos
           que pudieran existir en virtud del Offtake Agreement, incluidos, a título enunciativo,
           derechos en virtud de cualquier legislación interna o internacional, que sean
           resultado de acciones gubernamentales, o que se vinculen de alguna forma a
           estas” 162. [Traducción del Tribunal]

5.70    2011: A partir del año 2010, Pequiven celebró acuerdos con los ejecutivos bancarios y
        tenedores de bono del proyecto FertiNitro para saldar las deudas de FertiNitro.
        Aparentemente, este ejercicio se completó hacia el mes de enero de 2012 163.




162
    Correo electrónico de B. Gwaltney a J. Perdomo, con copia a J. Strand, M. Parra, F. García in re: Comercialización
    de KNI (3 de diciembre de 2010) (C-113).
163
    Barrientos DT1, Párrafo 44.


                                                        102
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 419 of 622




5.71    Durante el año 2011, representantes de Pequiven y de los otros accionistas de FertiNitro se
        reunieron en diversas ocasiones para discutir el monto de la compensación adeudada a estos
        otros accionistas (incluida KOMSA) por parte de la Demandada. Estas reuniones se
        celebraron el 16 de febrero de 2011 en Nueva York 164;el 6 de abril y el 23 de mayo de 2011
        en Caracas y el 1 de septiembre de 2011 en Miami 165.Un tema esencial entre Pequiven y
        estos accionistas fue el análisis y la metodología de valoración de FertiNitro.

5.72    Las negociaciones entre Pequiven y los accionistas de FertiNitro finalmente redundaron en
        acuerdos de resolución amigables con LAIF (en carácter de accionista titular del 10% de
        participación). Snamprogetti (en carácter de accionista titular del 20% de participación y
        Contratista de EPC) también arribó a un acuerdo incipiente con Pequiven 166.Parece que no
        existió acuerdo suscripto alguno con Polar. No se celebró acuerdo alguno con KOMSA,
        mucho menos con KNI que no estaba al tanto de estas negociaciones.

5.73    El 28 de junio de 2011, es decir con anterioridad a la última reunión en el mes de septiembre
        de 2011, las Demandantes presentaron su Solicitud de Arbitraje ante el CIADI.

5.74    Como se indicó anteriormente, el 26 de julio de 2011, Pequiven presentó una Petición ante
        el Juzgado de Primera Instancia de la Circunscripción Judicial de Anzoátegui con el fin de
        llevar a cabo la adquisición forzosa y solicitando que se estableciera una Junta de
        Administradores Judiciales Temporales Ad Hoc para dirigir FertiNitro, en relación con la
        legislación venezolana sobre el procedimiento local de expropiación 167. Poco tiempo
        después, el Juzgado designó a la Junta Ad Hoc conforme lo solicitado 168. El 29 de julio de
        2011, el Juzgado de Primera Instancia de la Circunscripción Judicial de Anzoátegui dictó
        una decisión aceptando la jurisdicción para entender de la Solicitud de Adquisición
        Forzosa 169. Con posterioridad, estos procesos legales continuaron y, aparentemente, aún

164
    Véase Carta de Betulio Hernández, Director Ejecutivo, Pequiven, a los Accionistas (28 de febrero de 2011) (R-35).
165
    Gwaltney DT2, Párrafo 39; Barrientos DT1, Párrafos 35-37; Segunda Declaración de Testigo de Víctor Daniel
    Barrientos Casanova (30 de diciembre de 2013) (“Barrientos DT2”), Párrafos 37 y ss.
166
    Barrientos DT2, Párrafo 41; Dúpl. Ven., Párrafo 151.
167
    Petición de Expropiación (R-36).
168
    Medidas Provisionales del Juzgado de Primera Instancia de la Circunscripción Judicial de Anzoátegui (11 de agosto
    de 2011) (R-37) (C-141).
169
    Juzgado de Primera Instancia de la Circunscripción Judicial de Anzoátegui, Decisión de aceptar la jurisdicción para
    entender la Solicitud de Adquisición Forzosa (29 de julio de 2011) (R-63). Posteriormente, el 28 de noviembre de
    2013, el Juzgado de Primera Instancia, “recibió el certificado de gravámenes de la Oficina de Registros”; y el 12
    de diciembre de 2013, “el juez emitió el Edicto ordenando su publicación en dos periódicos importantes de


                                                         103
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 420 of 622




        continúan, sin pago de compensación alguna a las Demandantes en virtud del Decreto de
        Expropiación.

5.75    En el verano de 2011, durante sus negociaciones, Pequiven presentó a los accionistas de
        FertiNitro (incluida KOMSA) informes de valoración confeccionados por los consultores
        financieros denominados Advantis (también denominado en forma incorrecta en las
        pruebas “Adventis”). Advantis había sido creada por ex funcionarios de Booz Allen en
        Venezuela 170. Hubo dos informes escritos de mayo y julio de 2011, ambos de fecha
        “septiembre de 2010” 171.Esa no era la fecha de exhibición de los documentos, sino
        (presuntamente) la fecha de cierre de los cálculos realizados por Advantis. Advantis eran
        consultores independientes contratados por Pequiven para valuar FertiNitro en sus
        negociaciones con (inter alios) KOMSA. Advantis no prestaba asesoramiento ni actuaba
        en manera alguna en representación de las Demandantes. Sus informes no eran “informes
        conjuntos”, tampoco se aceptaron como correctas las valoraciones por parte de KOMSA o
        (así parece) por parte de la propia Demandada. Ninguna valoración fue declarada por
        Pequiven como una oferta de la Demandada pasible de aceptación por parte de KOMSA,
        sin otras negociaciones. Además, Pequiven les había indicado a los accionistas que no
        tenía la autoridad ni los fondos - para perfeccionar por sí misma - acuerdo alguno en
        representación de la Demandada. 172

5.76    Las circunstancias por las cuales estos dos informes fueron transmitidos a KOMSA en el
        año 2011 se mantienen poco claras con base a las pruebas aducidas en el presente arbitraje.
        En cuanto al primer informe Advantis de mayo de 2011 titulado “Valoración de
        FertiNitro”, surge de mensajes de correos electrónicos contemporáneos de fecha 18 y 19
        de mayo de 2011 que fueran enviados por Advantis a Pequiven y por Pequiven a KOMSA
        en carácter de accionista en FertiNitro 173,presuntamente para la reunión que tuviera lugar

    conformidad con la Ley de Expropiación”. Véase Oficina de Registros, Certificado de cargas y gravámenes (28 de
    noviembre de 2013) (R-70); y Edictos emitidos por el Juzgado de Primera Instancia de la Circunscripción Judicial
    de Anzoátegui (13 de diciembre de 2013) (R-72). Posteriormente KOMSA debía comparecer ante el juzgado y,
    posteriormente se establecería el comité de valuación. Véase Dúpl. Ven., Párrafo 152.
170
    Segunda Audiencia (noviembre) D.6. 432-433 (Flores).
171
    Informe Advantis de Valoración de FertiNitro (julio de 2011) (C-157); Informe Advantis de Valoración de
    FertiNitro (mayo de 2011) (R-86).
172
    Gwaltney DT2, Párrafo 41.
173
    Véase correo electrónico de fecha 18 de mayo de 2011, de Ignacio Pulido de Advantis (Director), a Francisco
    García de Pequiven, presuntamente transmitiendo el Primer Informe Advantis a Pequiven (“correo electrónico de


                                                       104
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 421 of 622




        entre sus representantes el 23 de mayo de 2011 en Caracas 174.El Sr. Gwaltney (de KOMSA)
        le envió una carta de fecha 19 de mayo de 2011 a Pequiven criticando esta primera
        valoración de Advantis 175.En cuanto al segundo informe Advantis de julio de 2011 también
        titulado “Valoración de FertiNitro”, las Demandantes aceptaron que, al igual que el primer
        informe, fue transmitido por Pequiven a KOMSA en su carácter de accionista en
        FertiNitro 176.

5.77    El Sr. Barrientos (de Pequiven) explicó los antecedentes de estos informes Advantis en su
        testimonio oral durante la Primera Audiencia (septiembre) 177:

           “En la primera reunión que tuvimos en febrero de 2011 una de las solicitudes que
           hizo Pequiven fue que, de común acuerdo con los socios que habían sido
           expropiados, contratáramos un tercero que fungiera como valuador y que, en virtud
           de esa evaluación, comenzáramos las discusiones de compensación. Esa solicitud no
           fue aceptada por ninguno de los accionistas expropiados, y eso trajo como resultado
           que Pequiven contratara por su parte una empresa para hacer una evaluación […]
           Adventis ha sido una empresa que ha prestado servicios a diferentes empresas mixtas
           y a Pequiven en valoraciones en otros asuntos. Es una empresa bastante reconocida
           y, por supuesto, que esto se tomaba con mucha seriedad. Era un mandato de la
           República por un Decreto en donde nos nombraba a Pequiven como ente
           expropiante, no podíamos tomarlo a la ligera. Se escogió a Adventis. Como le dije,
           nosotros tratamos de buscar un consenso con los socios expropiados para tener su
           consentimiento y su participación en la escogencia de un valuador único, y bueno,
           como ellos no estuvieron de acuerdo, nosotros nos sentimos en libertad de escoger a
           la empresa que nos pareció más competente, la cual fue Adventis, y tiene suficientes
           credenciales para respaldar su competencia en hacer este tipo de evaluaciones. Y,
           bueno, por eso fue que se tomó esa decisión […] como parte del grupo negociador
           me reuní con ellos, como todo el grupo […] le puedo decir que Adventis es una
           empresa bastante reconocida y no creo que ellos se hayan prestado, en el supuesto
           negado de que eso haya sido así, no creo que ellos se hayan prestado para ese tipo
           de requerimiento”.



    fecha 18 de mayo 2011”); y correo electrónico de fecha 19 de mayo de 2011 de Francisco García a representantes
    de los accionistas de FertiNitro, incluidos M. Parra y G. Gwaltney de KOMSA/KNI, V. Barrientos y Jorge Luis
    Perdomo de Pequiven, R. Biondi de Snamprogetti y O. Grossman de Polar, transmitiendo los Informes de Pequiven
    a los demás accionistas (R-86), pág. 2.
174
    Correo electrónico de fecha 18 de mayo de 2011 (R-86), véase asimismo Párrafo 5.71 supra.
175
    Gwaltney DT2, Párrafo 40.
176
    Tercera Audiencia (junio), D2. 312-313.
177
    Primera Audiencia (septiembre), D3. 77 y ss.


                                                      105
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 422 of 622




           Se le había preguntado al testigo si Pequiven le había dado instrucciones a Advantis
           de “que realizara una valuación lo más baja posible” 178.

5.78    El Tribunal retoma el contenido de estos dos Informes Advantis más adelante, en la Parte
        IX del presente Laudo. A los fines presentes, basta con dejar constancia de que el primer
        informe valuó a FertiNitro en la suma de USD 398 millones al 30 de septiembre de 2010 179
        (valuando así la participación de KOMSA del 25% en la suma de USD 99,5 millones); y
        el segundo informe valuó a FertiNitro en la suma de USD 452 millones al 30 de septiembre
        de 2010 bajo un primer escenario 180;ese informe contenía asimismo un escenario
        alternativo que contenía elementos que aumentaban y otro que reducían el valor de
        FertiNitro con un valor total de USD 561 millones (valuando así la participación de
        KOMSA del 25% en la suma de USD 113 millones bajo un primer escenario y en la suma
        de USD 140,25 millones bajo el segundo) 181. Ambos emplearon una metodología FCD.

5.79    2012: Para enero de 2012, como ya se ha indicado, FertiNitro había saldado las deudas con
        sus tenedores de bonos y bancos. Tal como lo confirmaran los abogados de la Demandada
        durante la Tercera Audiencia (junio):

           “En diciembre 2011 FertiNitro pudo satisfacer sus obligaciones frente a los bonistas
           y bancos. En ese punto, una vez que aquellas obligaciones fueron satisfechas, ya no
           existía un requerimiento comercial de que se mantuviese en pie el acuerdo offtake.
           Como parte de su obligación de operar con el fin comercial para FertiNitro, la junta
           de administradores judiciales ad hoc tomo la decisión de que al deshacerse del
           acuerdo offtake, tendría la oportunidad de buscar acuerdos de ventas más lucrativos
           con otros clientes; o, en la medida necesaria, utilizar su producción para satisfacer
           necesidades nacionales” 182

5.80    El 28 de febrero de 2012, el Presidente de la junta de administradores fiduciarios ad hoc de
        FertiNitro envió una carta a KOMSA y a KNI, a la atención del Sr. Gwaltney y del Sr.
        Parra, afirmando (inter alia):

           “Por medio de la presente cumplo con notificarles que según Resolución emitida por
           la Junta de Administradores Temporales Ad-Hoc de Fertilizantes Nitrogenados de

178
    La inserción entre corchetes le pertenece al Tribunal.
179
    Informe Advantis de Valoración de FertiNitro (mayo de 2011) (R-86), pág. 11.
180
    Informe Advantis de Valoración de FertiNitro (julio de 2011); (C-157), pág. 3.
181
    Informe Advantis de Valoración de FertiNitro (julio de 2011); (C-157), pág. 5.
182
    Tercera Audiencia (junio), D1. 168.6-15.


                                                        106
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 423 of 622




           Venezuela, FertiNitro, C.E.C (‘FertiNitro’) según se evidencia de designación
           efectuada por Decretos emanados por Decretos emanados del [Juzgado de
           Anzoategui] […]; efectivo a partir de la fecha de la presente comunicación.
           FertiNitro no venderá más fertilizantes nitrogenados (urea y amónico) a Koch Oil,
           S.A. según el contrato de comercialización suscrito entre Petroquímica de Venezuela
           S.A., International Petrochemical Sales Limited, Koch Oil S.A., y Fertilizantes
           Nitrogenados de Venezuela, C.E.C. de fecha 8 de abril de 1998; todo en
           cumplimiento de lo establecido en el Decreto 7.713 publicado en Gaceta Oficial de
           la República Bolivariana de Venezuela N.o 39.528 de fecha 11 de octubre de 2010
           mediante la cual se ordena la adquisición forzosa de los bienes muebles e inmuebles
           […]” 183.

5.81    Las Partes disienten de la naturaleza de las operaciones de venta de amoníaco y urea de
        FertiNitro a KNI realizadas desde la fecha del Decreto de Expropiación (de fecha10 de
        octubre de 2010) hasta el envío de la carta de FertiNitro supra (28 de febrero de 2012).

5.82    Según la Demandada, todo el amoniaco y la urea de FertiNitro eran vendidos de
        conformidad con el Offtake Agreement; y, hasta el mes de febrero de 2012, FertiNitro
        siguió “[cumpliendo] con los porcentajes permitidos en virtud del Offtake Agreement para
        atender el mercado nacional” 184. No fue sino hasta después de febrero de 2012 que el
        porcentaje asignado al mercado nacional aumentó sustancialmente para atender las
        necesidades de la Demandada 185. De modo similar, “KNI y Pequiven recibieron su cuota
        de urea y amoníaco, al mismo precio descontado” 186. Asimismo, el Sr. Barrientos (en
        calidad de Gerente de Proyectos y Gerente General de Pequiven) declaró que, con
        posterioridad a la emisión del Decreto N.º 7.713, FertiNitro celebró un Stand Still
        Agreement con sus bancos y tenedores de bonos que preveía la continuación del Offtake
        Agreement; y que solo fue rescindido posteriormente por motivos comerciales 187.

5.83    El Tribunal nota que este Stand Still Agreement aparentemente fue preparado en el mes de
        diciembre de 2010 por Pequiven para FertiNitro. La Demandada no presentó como prueba
        en el marco del presente arbitraje. Las Demandantes no fueron partes de este Stand Still

183
    Carta del Sr. Betulio Hernández (de FertiNitro) a Koch Oil SA y Koch Nitrogen Company in re: Offtake Agreement
    (28 de febrero de 2012) (C-114). Esta carta se cita de forma más exhaustiva en la Parte 4 supra.
184
    Mem. C. Ven., Párrafos 15, 84.
185
    Dúpl. Ven., Párrafo 125.
186
    Dúpl. Ven., Párrafo 126.
187
    Barrientos DT1, Párrafo 43.


                                                      107
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 424 of 622




        Agreement. No hay pruebas de que KNI conociera sus términos en ese momento, excepto
        en la medida en que Pequiven eligió describirle su efecto a las Demandantes.

5.84    En respuesta a los argumentos de la Demandada, las Demandantes alegan que las “compras
        de productos hechas por KNI a FertiNitro luego de la expropiación fueron realizadas en
        virtud de un nuevo acuerdo ad hoc” 188. Afirman que “después de la expropiación, los
        tenedores de bonos y los acreedores continuaron esperaban [sic] las compras de productos
        y los ingresos que generaban, siguieron teniendo poder, a través del fideicomisario
        (‘trustee’), sobre las Cuentas en el Exterior, y podrían haber tomado acciones reparatorias,
        incluyendo al asumir al control de la planta en caso [de impago]” 189.

5.85    El Tribunal concluye, sobre la base de las limitadas pruebas rendidas en el contexto del
        presente arbitraje, que la conducta de la Demandada fue ambigua, en tanto dependía de
        distintas perspectivas. Incluso desde la propia perspectiva de Pequiven, tal como el Sr.
        Barrientos reconociera en su testimonio: “Sin duda alguna, inmediatamente después del
        Decreto [N.º 7.713], se generó mucha incertidumbre” 190. Frente a los bancos y tenedores
        de bonos de FertiNitro, se tornó importante que la Demandada mantuviera ostensiblemente
        la eficacia permanente del Offtake Agreement, lo que en apariencia se había logrado
        mediante el Stand Still Agreement, de manera de evitar un incumplimiento cruzado en
        virtud del Contrato de Garantía Común y otros acuerdos con los bancos y tenedores de
        bonos. Desde la perspectiva de la Demandada frente a KNI, dicha necesidad no existió. El
        Tribunal retoma la postura de KNI en la Parte VII infra.

        (vi) Los “Reclamos Históricos” (con respecto a Impuestos e IVA)

5.86    Tal como se sintetizará en la Parte II supra, KOMSA plantea reclamos vinculados a tres
        medidas tributarias y créditos IVA, como parte de sus “Reclamos Históricos”.

5.87    Impuestos Nuevos: En el mes de agosto de 2005, la Demandada promulgó la Ley Orgánica
        de Ciencia, Tecnología e Innovación (“Ley de Ciencia y Tecnología”) 191. Con arreglo a


188
    Répl. Koch, Párrafos 17, 92.
189
    Répl. Koch, Párrafo 17.
190
    Barrientos DT1, Párrafo 41.
191
    Ley Orgánica de Ciencia, Tecnología e Innovación, 3 de agosto de 2005, en vigor a partir del 1 de enero de 2006
    (C-43).


                                                       108
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 425 of 622




        los Artículos 35 y 42 de esta Ley, “[l]as grandes empresas del país que se dediquen a las
        actividades establecidas en las Leyes Orgánicas de Hidrocarburos e Hidrocarburos
        Gaseosos” deberán aportar el dos por ciento de sus ingresos brutos obtenidos en el territorio
        venezolano, a actividades que serían “consideradas inversión en ciencia, tecnología,
        innovación y sus aplicaciones” 192. Según la Demandada, el Artículo 39 de la Ley de
        Ciencia y Tecnología prevé que los aportes pueden deducirse de los impuestos 193.

5.88    Esta Ley de Ciencia y Tecnología, ley de aplicación general, se estaba implementando antes
        de que FertiNitro comenzara a funcionar y, tras el inicio de operaciones de FertiNitro,
        también se tornó aplicable a ella. Luego de promulgarse la Ley Petroquímica de 2009, la
        tasa de aporte de FertiNitro en virtud de la Ley de Ciencia y Tecnología se disminuyó del
        2 % al 0,5 %, dado que las actividades petroquímicas dejaron de ser categorizadas como
        una actividad dentro del sector hidrocarburífero 194.

5.89    Según las Demandantes, la suma total con la cual FertiNitro contribuyó en cumplimiento
        de la Ley de Ciencia y Tecnología, en el período 2006 a 2010, fue de aproximadamente
        USD 22,35 millones 195.           Según la Demandada, “[l]os aportes de FertiNitro fueron
        invertidos casi exclusivamente de manera interna” 196 y, “en raras ocasiones, [FertiNitro]
        hizo aportes a un proyecto público” 197.

5.90    Impuestos Más Elevados: El 30 de diciembre de 2005, el municipio Simón Bolívar, en el
        estado de Anzoátegui (donde se encuentra ubicada la Planta FertiNitro), emitió una
        ordenanza que establecía o modificaba la tasa impositiva aplicable a todas las empresas
        que se consideraban comprendidas en las “actividades económicas de industria, comercio,
        servicios o de índole similar” en el municipio (la “Ordenanza Municipal”) 198. La




192
    Ley Orgánica de Ciencia, Tecnología e Innovación, 3 de agosto de 2005, en vigor a partir del 1 de enero de 2006
    (C-43), Arts. 35 y 42 (10).
193
    Mem. C. Ven., Párrafo 123.
194
    FertiNitro, Declaraciones 2006-2012 (R-40); FertiNitro, Declaraciones 2006-2013 (R-74); Dúpl. Ven., Párrafo 165.
    Véase también FertiNitro, Cuadro sobre Aportes (R-47).
195
    Mem. Koch, Párrafo 78, que cita Giles IP1, Párrafo 3.23.
196
    Mem. C. Ven., Párrafo 122.
197
    Mem. C. Ven., Párrafo 120.
198
    Ordenanza para Impuestos sobre Actividades Económicas de Industria, Comercio, Servicios o de Índole Similar
    (30 de diciembre de 2005) (C-45).


                                                       109
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 426 of 622




        Ordenanza Municipal, aplicable a FertiNitro durante el ejercicio fiscal 2006, estableció un
        incremento en la tasa del impuesto municipal del 1 % al 4 % 199.

5.91    Conforme a la Ordenanza Municipal, “[t]oda actividad económica de industria ejercidas
        [sic]por Consorcios o cualquier otro tipo de asociaciones […] del Sector Energético,
        Producción de Gas Natura[sic] y toda actividad relacionada con la industria petrolera y
        petroquímica […] vinculada con la actividad que se ejerce directa o indirectamente con el
        Complejo Petroquímico de José” estaría sujeta a una tasa impositiva del 4 % respecto de
        los ingresos brutos de la empresa 200. Las Partes disienten en cuanto a los tipos de empresas
        que se encuentran ubicadas en el Complejo Petroquímico de José y se verían afectadas por
        la Ordenanza 201.

5.92    En el 2006, antes de que FertiNitro comenzara a pagar los impuestos a la tasa más elevada,
        Pequiven inició negociaciones con el municipio en aras de disminuir el impuesto municipal
        respecto de todas las empresas mixtas en que Pequiven tenía inversiones de capital,
        incluidas FertiNitro, Metor, Superoctoanos y Supermetanol 202. La Junta Directiva de
        FertiNitro aceptó encomendarles dichas negociaciones a Pequiven 203.

5.93    En relación con estas negociaciones, el 14 de noviembre de 2006, el Municipio emitió un
        decreto en virtud del cual a FertiNitro se le aplicaría un impuesto municipal del 2 % para
        2006 y del 2,4 % para 2007, y no del 4 % (el “Decreto Municipal”) 204. FertiNitro fue
        notificada formalmente del Decreto el 6 de diciembre de 2006 205.


199
    Véase Informe de Auditores Independientes y Estados Financieros de FertiNitro al 31 de diciembre de 2005 y 2004,
     de fecha 1 de marzo de 2006 (C-49), pág. 22. Véase también Mem. Koch, Párrafo 82, que cita “Cuadro de
     Impuestos Municipales para 2005” (C-46).
200
    Ordenanza para Impuestos sobre Actividades Económicas de Industria, Comercio, Servicios o de Índole Similar
     (30 de diciembre de 2005) (C-45), Grupo 1-D, pág. 14.
201
    Según las Demandantes, todas las empresas que se encuentran ubicadas en el Complejo Petroquímico de José son
     de propiedad parcialmente extranjera y, por lo tanto, eran las afectadas por la Ordenanza Municipal (Mem. Koch,
     Párrafo 82). La Demandada rechaza esta caracterización y afirma que la Ordenanza era aplicable a “todas las
     compañías que operan en el Municipio Simón Bolívar”, lo que incluye a las empresas mixtas, ubicadas en el
     Complejo de José (Mem. C. Ven., Párrafo 125; Dúpl. Ven., Párrafo 177).
202
    Véanse Correo electrónico de Oswaldo Parilli, consejero jurídico de Pequiven, a Saúl Ameliach y otros
     representantes de Pequiven (28 de noviembre de 2006) (C-48), págs. 3-4; y Correo electrónico de Oswaldo Parilli
     a los representantes de Pequiven in re: Impuestos Municipales (28 de noviembre de 2006) (C-53) págs. 5-6.
203
    Acta de Reunión de Junta Directiva de FertiNitro N.º 65 (5 de abril de 2006) (C-51).
204
    Decreto D.A.M.S.B.-042-A-2006 (14 de noviembre de 2006) (C-48), págs. 20-22.
205
    Véase Notificación N.º 1093-06 de SABAT/Alcaldía del Municipio Simón Bolívar a FertiNitro (6 de diciembre de
     2006) (C-48), pág. 5 (ESP), pág. 19 (ING).


                                                       110
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 427 of 622




5.94    El 14 de diciembre de 2006, la Junta Directiva de FertiNitro emitió una Resolución que
        “ratificó la decisión de la Gerencia General de aceptar la alícuota del 2% para el 2006 y
        […] aprobó aceptar la alícuota del 2,4% para el 2007” 206.

5.95    IVA: En calidad de exportadora proveniente de Venezuela, FertiNitro tenía el derecho en
        virtud de la legislación venezolana de recuperar los créditos IVA soportados por la
        adquisición e importación de bienes y servicios utilizados en la fabricación de bienes a
        efectos de exportación 207.          Dichos créditos fiscales se proporcionaban en forma de
        Certificados Especiales de Reintegro Tributario (“CERT”, por sus siglas en español) y se
        regían por la Ley de mayo de 1999 de Reforma Parcial de la Ley que establece el Impuesto
        al Valor Agregado (la “Ley de IVA”) 208. Los CERT podían “ser cedidos o utilizados para
        el pago de tributos nacionales […] obligación tributaria, sanciones tributarias y costas
        procesales” 209. Los CERT se emiten en Bolívares, y el impuesto a las ganancias también
        está gravado en Bolívares. La Demandada no le hizo “pagos reales” a FertiNitro de
        conformidad con las solicitudes de créditos IVA.

5.96    La Sra. Carolina Núñez, ex empleada del SENIAT, declaró lo siguiente: “[e]ntre 2007 y
        2012, el proceso se demoraba entre dos y tres años desde la presentación de una solicitud
        hasta la emisión final de un CERT” (aunque la Ley prescribe un período de 30 días); y
        afectaba a todos los contribuyentes por igual 210.

5.97    En el curso de sus operaciones, FertiNitro presentaba en forma periódica solicitudes de
        reintegro ante las autoridades competentes de la Demandada. En 2007, o alrededor de ese
        año, y a partir de ese momento, las autoridades tributarias de la Demandada no emitieron


206
    Acta de Reunión de Junta Directiva de FertiNitro N.º 76 (14 de diciembre de 2006) (C-54) (véase también Dúpl.
    Ven., Párrafo 179). Según las Demandantes, Pequiven celebró este acuerdo sin consultar a las otras accionistas de
    FertiNitro y sin la autoridad para hacerlo. (Véase Mem. Koch, Párrafo 84).
207
    Ley de Reforma Parcial de la Ley que establece el Impuesto al Valor Agregado (29 de julio de 2004) (C-55) (“Ley
    de IVA”), Art. 43.
208
    Ley de IVA.
209
    Íd., Art. 43.
210
    Declaración de Testigo de Carolina Núñez (28 de febrero de 2013) (“NúñezDT1”), Párrafo 16 (véase Mem. C.
    Ven., Párrafo 131). Según los Reglamentos de IVA, la solicitud de CERT había de dirigirse al “Servicio Nacional
    Integrado de Administración Aduanera y Tributaria” (SENIAT, por sus siglas en español), que decidiría aprobarla
    o rechazarla. Luego, todas las solicitudes aprobadas son revisadas por el Ministerio deFinanzas, a cargo de emitir
    los CERT para los contribuyentes (lo que agrega más tiempo). Véase Reglamento Parcial N.º 1 de la Ley que
    establece el Impuesto al Valor Agregado en materia de Recuperación de Créditos Fiscales para Contribuyentes
    Exportadores (16 de septiembre de 2003) (C-59), Arts. 8-16, págs. 14-19.


                                                        111
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 428 of 622




        algunos de los CERTs solicitados para FertiNitro oportunamente 211. FertiNitro presentó
        sus quejas ante las autoridades tributarias pertinentes 212.

5.98    Las Partes disienten de si los créditos IVA solicitados se le otorgaron finalmente a
        FertiNitro. Según la Demandada, “cada uno de los créditos tributarios en razón del IVA
        reclamados por los Demandantes en este procedimiento arbitral fueron entregados a
        FertiNitro” 213. Agrega que los montos emitidos para FertiNitro podían diferir del monto
        solicitado inicialmente; y que FertiNitro nunca presentó quejas por esas diferencias 214.

5.99    El Informe del Comisario: Con arreglo al derecho venezolano, se exigía que FertiNitro
        obtuviera informes auditados anuales de un Comisario. Las Partes coinciden en que “[un]
        Comisario” es un “auditor exigido en virtud de la legislación venezolana para revisar las
        auditorías efectuadas por auditores privados” 215.

5.100 Conforme al Código de Comercio de Venezuela, los Comisarios son nombrados por los
        accionistas de la sociedad; y tienen que responder a los accionistas de la sociedad auditada.
        Junto con el informe en que explican los resultados de su evaluación de los balances y
        prácticas de gestión, los Comisarios pueden incluir propuestas, sugerencias y
        observaciones. Dichas recomendaciones no son vinculantes para la sociedad auditada.

5.101 El 7 de septiembre de 2006, el Comisario de FertiNitro emitió su informe que contenía
        determinadas recomendaciones y críticas (el “Informe del Comisario”) 216. Se trata de un
        documento de aproximadamente cuatro páginas, con apéndices adicionales.                             Las
        Demandantes alegan que este Comisario tenía una relación previa con Pequiven, y, por lo
        tanto, el Informe del Comisario está sesgado en favor de Pequiven 217. El Tribunal no acepta


211
    Carta de Ikbal Samad (en nombre y representación de FertiNitro) al Ministro del Poder Popular de Economía y
    Finanzasin re: Solicitud de Otorgamiento de Certificados de Reintegro y Órdenes Administrativas para
    Fertilizantes Nitrogenados de Venezuela, FertiNitro, CEC. (21 de diciembre de 2009) (C-60), págs. 11-12.
212
    Carta de Ikbal Samad (en nombre y representación de FertiNitro) al Ministro del Poder Popular de Economía y
    Finanzasin re: Solicitud de Otorgamiento de Certificados de Reintegro y Órdenes Administrativas para
    Fertilizantes Nitrogenados de Venezuela, FertiNitro, CEC. (21 de diciembre de 2009) (C-60), págs. 8-10.
213
    Dúpl. Ven., Párrafo 21.
214
    Declaración de Testigo de Carolina Núñez (28 de febrero de 2013), Párrafo 17 y Anexo A; Mem. C. Ven., Párrafo
    132.
215
    Mem. Koch, Párrafo 103; Dúpl. Ven., Párrafo 75.
216
    Informe Resumido del Comisario y Estados Financieros Consolidados de FertiNitro (7 de septiembre de 2006)
    (“Informe del Comisario”) (C-63).
217
    Mem. Koch, Párrafos 103-110.


                                                      112
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 429 of 622




que esta crítica afecte el contenido pertinente del informe (que retoma posteriormente en
este Laudo).




                                       113
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 430 of 622




                      PARTE VI: CUESTIONES DE JURISDICCIÓN



(1)   Introducción
      La Demandada se opone a la jurisdicción del CIADI y a la competencia ratione materiae
      del Tribunal, al alegar que el Offtake Agreement no constituye una “inversión” en virtud
      del Tratado y del Convenio CIADI y que, por lo tanto, el Tribunal carece de competencia
      o jurisdicción para dirimir los reclamos de KNI contra la Demandada en este arbitraje. Tal
      como ya fuera indicado, la Demandada no presenta ninguna excepción preliminar ante los
      reclamos de KOMSA.

      A los efectos del presente, los argumentos principales de la Demandada se pueden resumir
      de la siguiente manera: (i) hay un significado inherente del término “inversión”, tanto en
      el Artículo 25(1) del Convenio CIADI como en el Artículo 1(2) del Tratado, que exige,
      entre otras cosas, una contribución y un riesgo; (ii) KNI no realizó contribuciones ni asumió
      el tipo de riesgo necesario para que hubiera “inversión”; (iii) el Offtake Agreement es un
      simple contrato de compraventa y la complejidad, la duración, las implicancias financieras
      del proyecto o el concepto general de unidad de la inversión no lo convierten en una
      “inversión”; (iv) el Offtake Agreement no cumple el requisito de territorialidad del Artículo
      2 del Tratado ya que no aportó ningún tipo de beneficio a Venezuela; y (v) el reclamo de
      KNI se encuentra cubierto por las disposiciones sobre resolución de controversias del
      Artículo 12 del Offtake Agreement, que contempla la solución de “cualquier conflicto”
      relacionado con ese contrato, incluso su extinción.

      Los principales argumentos en respuesta de KNI, en las cuales sostenía la jurisdicción y
      competencia del CIADI y del Tribunal, también se pueden resumir de la siguiente manera:
      (i) es sujeto a controversia que un significado “objetivo e inherente” de “inversión”
      conforme al Convenio CIADI puede suplantar el alcance del consentimiento de las partes
      del tratado en cuanto al significado del término “inversión” en el tratado; (ii) ni el Tratado
      ni el Convenio CIADI contienen requisito alguno de realización de contribuciones para el
      desarrollo de Venezuela; estos factores relacionados con la contribución y el riesgo no son
      requisitos jurisdiccionales estrictos, sino meros indicios o “marca distintiva” de las



                                               114
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 431 of 622




           inversiones conforme al Convenio CIADI; (iii) en cualquier caso, el Offtake Agreement
           satisface estos factores de contribución y riesgo; (iv) el derecho internacional establece que
           las transacciones en materia de inversiones se deben considerar en su totalidad; y, por ende,
           el Offtake Agreement no se puede considerar como un contrato comercial aislado de todo
           el proyecto FertiNitro, sino como parte esencial y crítica de la financiación, estructura,
           rentabilidad y finalidad de dicho proyecto; (v) el Artículo 2 del Tratado es una cláusula
           estándar que “se limita a establecer el alcance temporal y el objeto del Tratado” y, por lo
           tanto, no se puede interpretar en el sentido de que incorpora requisitos de que el Tratado
           deba contribuir al desarrollo del Estado receptor; y (vi) los derechos de KNI en virtud del
           Offtake Agreement y del Tratado son conceptualmente distintos; y las disposiciones sobre
           resolución de controversias del Artículo 12 del Offtake Agreement no cubren el reclamo
           de KNI contra la Demandada en relación con el Tratado conforme al derecho internacional.

           A continuación, se desarrollarán algunos de estos argumentos en relación con la
           Demandada y KNI, por separado. El Tribunal examinó todo el material fáctico y jurídico
           que presentaron las Partes con respecto a las excepciones preliminares de la Demandada.
           El Tribunal se limitará a abordar sólo aquel material que considere determinante para
           resolver esa excepción al reclamo de KNI.

(2)        El Argumento de la Demandada
           “Inversión”: La Demandada aduce que el término “inversión” tiene un significado objetivo
           e inherente en virtud del (i) Tratado y del (ii) Convenio CIADI. La carga de la prueba recae
           sobre el supuesto inversionista que alega la supuesta inversión, quien debe demostrar que
           ha realizado la supuesta inversión en los términos del Tratado y del Convenio CIADI 218.

           Con respecto al Artículo 25(1) del Convenio CIADI, la Demandada afirma que los
           tribunales de arbitraje en varios casos, como Global Trading c. Ucrania, Joy Mining c.
           Egipto y Saba Fakes c. Turquía, han reconocido que el término “inversión” tiene un
           significado objetivo en virtud del Convenio CIADI o, según la redacción del Artículo 31(1)
           de la Convención de Viena sobre el Derecho de los Tratados (“CVDT”), un “sentido
           corriente” que no se puede establecer solo por referencia al Tratado, como instrumento de


218
      Excepciones Preliminares de la Demandada, Párrafo 14.


                                                        115
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 432 of 622




        consentimiento 219. Cita la decisión del tribunal en GEA Group c. Ucrania, para alegar que
        “no es tanto el término ‘inversión’ en el Convenio del CIADI, sino el término ‘inversión’
        per se al que se considera a menudo tener un significado objetivo en sí mismo, bien sea
        que se mencione en el Convenio del CIADI o en un TBI” 220.

        En cuanto al significado objetivo del Artículo 1(2) del Tratado, la Demandada asevera que:
        “[e]l argumento que ‘todo tipo de activo’ constituye una ‘inversión protegida’ en virtud del
        [Tratado] es insostenible”. Y concluye: “[la] lista indicativa de los tipos de activos que el
        término puede cubrir […] [no fue realizada] con el objetivo de indicar que todos los tipos
        de activos listados son una inversión en todas las circunstancias. Esta es la razón por la cual
        la definición usa la frase ‘inversión incluye’ en vez de ‘inversión significa’” 221.

        La Demandada sostiene que KNI no ha “realizado una contribución” o asumido algún
        “riesgo de inversión” en relación con el Offtake Agreement. El término “inversión” tiene
        el mismo significado inherente y objetivo según el Convenio CIADI y el Tratado 222. Ese
        significado requiere una contribución, una duración y un riesgo, cada uno de los cuales
        constituye un requisito sine qua non para que haya “inversión” 223. La Demandada alega,




219
    Excepciones Preliminares de la Demandada, Párrafos 20-27.
220
    Excepciones Preliminares de la Demandada, Párrafo 34, con cita de GEA Group Aktiengesellschaft c. Ucrania,
    Caso CIADI N.° ARB/08/16, Laudo (31 de marzo de 2011) (“GEA Group c. Ucrania”) (RLA-30), Párrafo 141.
221
    Réplica de la Demandada sobre Jurisdicción, Párrafos 49, 50.
222
    Excepciones Preliminares de la Demandada, Párrafo 38; Réplica de la Demandada sobre Jurisdicción, Párrafo 27.
    De modo similar, la Demandada invoca Romak c. Uzbekistán—en cuyo caso el tribunal tuvo que analizar una
    disposición sobre resolución de controversias supuestamente idéntica en el Tratado entre Suiza y Uzbekistán—y
    alega que “el término ‘inversión” en el Artículo 1(2) del [Tratado] tiene un significado objetivo e inherente”.
    (Excepciones Preliminares de la Demandada, Párrafos 32-33, con cita de Romak S.A. c. República de Uzbekistán,
    Caso CPA N.° AA280, Laudo (26 de noviembre de 2009) (“Romak c. Uzbekistán”) (RLA-24), Párrafo 207)).
223
    Excepciones Preliminares de la Demandada, Párrafo 38; Réplica de la Demandada sobre Jurisdicción, Párrafos 51-
    55, con cita de Ulysseas, Inc. c. La República de Ecuador, CNUDMI, Laudo Definitivo (12 de junio de 2012)
    (RLA-108), Párrafos 251-252; Abaclat y otros (anteriormente, Giovanna A. Beccara y otros) c. La República
    Argentina, Caso CIADI N.° ARB/07/5, Decisión sobre Jurisdicción y Admisibilidad (4 de agosto de 2011)
    (“Abaclat c. Argentina”) (RLA-31), Párrafo 371, con respecto a la afirmación de que el Artículo 1 del Tratado
    requiere estos tres elementos, y Saba Fakes c. República de Turquía, Caso CIADI N.° ARB/07/20, Laudo (14 de
    julio de 2010) (RLA-26), Párrafo 110; Deutsche Bank AG c. La República Socialista Democrática de Sri Lanka,
    Caso CIADI N.° ARB/09/02, Laudo (31 de octubre de 2012) (“Deutsche Bank c. Sri Lanka”) (CLA-100), Párrafos
    294-295, con respecto al argumento de que el Artículo 25(1) requiere efectuar una contribución y asumir un riesgo.


                                                        116
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 433 of 622




        asimismo, que estos requisitos mínimos han sido identificados tanto por Tribunales del
        CIADI 224 como por Tribunales ajenos al CIADI 225.

        La Demandada reconoce, como un hecho, que KOMSA fue parte original del Offtake
        Agreement. No obstante, la Demandada sostiene que la cesión de derechos y obligaciones
        en virtud del Offtake Agreement de KOMSA a KNI fue parte de una restructuración interna
        de la compañía, y que ni KOMSA ni su cesionario, KNI, realizaron una “contribución” o
        asumieron un “riesgo” con respecto al Offtake Agreement, a los fines del Artículo 25(1) del
        Convenio CIADI y el Artículo 1(2) del Tratado 226.

        Contribución: En cuanto a la “contribución” pertinente, la Demandada asevera que KNI se
        creó principalmente para vender y distribuir el rendimiento de la Planta de FertiNitro a
        Norteamérica, pero que KNI no realizó ningún tipo de “contribución” ni “desplegó la
        acción de invertir” cuando se le cedieron los derechos contractuales de KOMSA en el
        Offtake Agreement 227. La inversión de KOMSA, por su parte, estaba relacionada con la
        formación de la empresa mixta que comprendía el proyecto FertiNitro; y el Offtake
        Agreement fue un contrato de compraventa complementario que celebraron la empresa
        mixta y KOMSA para la compra de urea y amoníaco. Nunca hubo una contribución por
        parte de KOMSA en relación con el Offtake Agreement que se pudiera haber transferido a
        KNI junto con los derechos de KOMSA en ese contrato de compraventa 228. La Demandada
        alega que el cumplimiento del Offtake Agreement no califica como contribución, la cual se
        debe realizar en su comienzo y no en retrospectiva 229.

        La Demandada cita la decisión de Standard Chartered c. Tanzania para alegar que “el
        tratado protege inversiones “realizadas” por un inversionista de cierta forma activa, en



224
    EPA Ven., Párrafo 19, con cita de Electrabel S.A. c. La República de Hungría, Caso CIADI N.º ARB/07/19,
    Decisión sobre Jurisdicción, Derecho Aplicable y Responsabilidad (30 de noviembre de 2012) (“Electrabel c.
    Hungría”) (RLA-110), Párrafo 5.43.
225
    Réplica de la Demandada sobre Jurisdicción, Párrafo 43, con cita de Caratube International Oil Company LLP c.
    La República de Kazajstán, Caso CIADI N.° ARB/08/12, Laudo (5 de junio de 2012) (RLA-107), Párrafo 360, en
    el que se indica que tanto los tribunales del CIADI como aquellos ajenos al CIADI exigen los mismos requisitos
    mínimos.
226
    Excepciones Preliminares de la Demandada, Párrafo 8; Réplica de la Demandada sobre Jurisdicción, Párrafo 57.
227
    Excepciones Preliminares de la Demandada, Párrafo 68.
228
    Réplica de la Demandada sobre Jurisdicción, Párrafo 60.
229
    Réplica de la Demandada sobre Jurisdicción, Párrafos 63-64.


                                                      117
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 434 of 622




        lugar de simplemente tratarse de una propiedad pasiva” 230. Concluye que la mera
        aceptación de derechos y obligaciones contractuales, activos y titularidad de acciones
        resulta insuficiente para constituir una inversión o probar una contribución de dinero o
        activos 231.

        Riesgo: Con respecto al “riesgo” pertinente, la Demandada afirma que los riesgos que
        alegan las Demandantes, como el riesgo de demanda, el riesgo de precio, el riesgo de
        contraparte y el riesgo de incumplimiento no son más que los riesgos ordinarios del
        incumplimiento de la contraparte de un contrato comercial.                     Son riesgos puramente
        comerciales relacionados, por lo general, con el hecho de hacer negocios 232.

        La Demandada sostiene también que estos riesgos comerciales se encontrarían cubiertos y
        mitigados, en gran medida, por las disposiciones del Offtake Agreement 233. Además, dado
        que KNI tenía garantizado el Offtake a un descuento significativo predeterminado, “[e]l
        riesgo de precio total permanecía sobre el productor, FertiNitro”. Por otra parte, conforme
        el Offtake Agreement, KOMSA garantizó la obligación de KNI en virtud de dicho contrato
        y todo riesgo relacionado con ella 234. La Demandada señala que en el caso improbable de
        la desaparición total de la “demanda internacional” para los productos del proyecto
        FertiNitro, “el mecanismo de precios privaría de cualquier efecto a la disposición de
        ‘compra obligatoria’ del Offtake Agreement” 235.




230
    EPA Ven., Párrafo 23, con cita de Standard Chartered Bank c. La República Unida de Tanzania, Caso CIADI N.º
    ARB/10/12, Laudo (2 de noviembre de 2012) (RLA-109), Párrafo 225.
231
    EPA Ven., Párrafo 24; Excepciones Preliminares de la Demandada, Párrafos 65-68, con cita de Quiborax S.A., Non
    Metallic Minerals S.A. y Allan Fosk Kaplún c. Estado Plurinacional de Bolivia, Caso CIADI N.° ARB/06/2,
    Decisión sobre Jurisdicción (27 de septiembre de 2012) (RLA-33), Párrafos232-233 (“[s]i bien una inversión puede
    materializarse jurídicamente en acciones u otros títulos, la mera propiedad de una acción en sí misma resulta
    insuficiente para probar una contribución en dinero o en especie”); Réplica de la Demandada sobre Jurisdicción,
    Párrafo 61. La Demandada también afirma que, sin perjuicio de si los términos “contribución” o “realizar” están
    incluidos en el Tratado o en el Convenio CIADI, “una contribución” es un requisito fundamental que “no solo es
    consistente con la mayoría de la doctrina, sino que también obedece al uso común del término ‘inversión’”.
    Excepciones Preliminares de la Demandada, Párrafo 41.
232
    EPA Ven., Párrafo 21; Excepciones Preliminares de la Demandada, Párrafos 71-74, con cita de Romak c.
    Uzbekistán (RLA-24), Párrafo 229; Véase, también, Excepciones Preliminares de la Demandada, Párrafos 43-44,
    con cita de Joy Mining Machinery Limited c. República Árabe de Egipto, Caso CIADI N.° ARB/03/11, Laudo
    sobre Jurisdicción (6 de agosto de 2004) (“Joy Mining c. Egipto”) (RLA-10), Párrafo 57.
233
    EPA Ven., Párrafo 21.
234
    Réplica de la Demandada sobre Jurisdicción, Párrafos 65-68.
235
    Réplica de la Demandada sobre Jurisdicción, Párrafo 68.


                                                       118
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 435 of 622




        La Demandada sostiene que el Offtake Agreement fue un simple contrato comercial de
        compraventa y que la complejidad, la duración, las implicancias financieras del proyecto o
        el ‘concepto de unidad de la inversión’ no transforman el Offtake Agreement en una
        “inversión”. El Offtake Agreement fue y siguió siendo un clásico contrato de compraventa,
        en el sentido de que KNI pagó un precio rebajado (fijado a través de una fórmula del precio
        de compra) por la compra de amoníaco y urea 236, y los pagos se realizaban de conformidad
        con los términos comerciales habituales 237.

        Según la Demandada, numerosas fuentes jurídicas, incluso los travaux préparatoires del
        Convenio CIADI y comentarios magistrales confirman que los meros contratos de
        compraventa, como tipo de transacción comercial, no constituyen “inversiones” dentro del
        significado del Artículo 25(1) del Convenio CIADI 238. La Demandada también cita las
        decisiones de SGS c. Paraguay y MHS c. Malasia, que confirmaron que los contratos de
        compraventa no constituyen inversiones en el derecho internacional 239, y la decisión del
        Secretariado del CIADI de negarse a registrar una disputa sobre la base de que la operación
        subyacente no podía considerarse como una inversión ya que “se originó de una operación
        de compraventa de bienes” 240.

        Unidad de la inversión: La Demandada también afirma que la aplicación del concepto de
        ‘unidad de la inversión’ en este caso ampliaría indebidamente el alcance de la jurisdicción
        del CIADI. La Demandada invoca las decisiones de ATA Constructions c. Jordania y
        CSOB c. República Eslovaca, para sustentar su posición de que para formar parte de una

236
    Excepciones Preliminares de la Demandada, Párrafo 9.
237
    Excepciones Preliminares de la Demandada, Párrafo 61.
238
    EPA Ven., Párrafo 13, con cita de Primera Audiencia (septiembre) D1. 11; CIADI, Convention on the Settlement
    of Investment Disputes between States and Nationals of Other States: Documents Concerning the Origin and the
    Formulation of the Convention, Tomo II, Parte 1, Documentos 1-43, 54 (1968) (segunda impresión 2001) (RLA-
    6), Párrafo 54; y Christoph H. Schreuer et al., The ICSID Convention: A Commentary 117 (2d ed. 2009) (“ICSID
    Convention: A Commentary”) (citas omitidas) (RLA-21).
239
    EPA Ven., Párrafo 13, con cita de SGS Société Générale de Surveillance S.A. c. República de Paraguay, Caso
    CIADI N.° ARB/07/29, Decisión sobre Jurisdicción (10 de febrero de 2010) (“SGS c. Paraguay”) (RLA-25),
    Párrafo 93; y Malaysian Historical Salvors Sdn Bhd c. Malasia, Caso CIADI N.° ARB/05/10, Decisión sobre la
    Solicitud de Anulación (16 de abril de 2009) (“MHS c. Malasia”) (RLA-23), Párrafo 69; véase, también.
    Excepciones Preliminares de la Demandada, Párrafos 48-50, en los que también se hace referencia a Global
    Trading Res. Corp. y Globex Int’l c. Ucrania, Caso CIADI N.° ARB/09/11, Laudo (1 de diciembre de 2010) (RLA-
    27), Párrafo 45.
240
    Excepciones Preliminares de la Demandada, Párrafo 46, en el que se hace referencia a Ibrahim Shihata & Antonio
    Parra, The Experience of the International Centre for Settlement of Investment Disputes, 14 ICSID Rev.–F.I.L.J.
    299 (1999) (RLA-4)


                                                       119
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 436 of 622




        “inversión”, la transacción específica “no puede ser disociada de [todas las otras
        transacciones que involucran el propósito económico de la inversión]” y debe ser
        “inseparable de [las] otras o comparativamente independiente” 241.

        Según la Demandada, el Offtake Agreement está relacionado con las actividades de la
        Planta de FertiNitro, pero no es un elemento inseparable. El objetivo del JIA era totalmente
        alcanzable sin el Offtake Agreement. El Offtake Agreement no fue imprescindible para
        ningún objetivo económico, y el Tribunal puede “analizar por separado cada parte
        componente de toda la transacción” y evaluar si cumpliría los requisitos jurisdiccionales
        del Tratado y del Convenio CIADI 242.

        La Demandada asevera que la participación accionaria de KOMSA y otros accionistas de
        FertiNitro en FertiNitro no se vio afectada por la extinción del Offtake Agreement, lo que
        demuestra que el Offtake Agreement es complementario y separable del proyecto
        FertiNitro—a diferencia de la situación reflejada en las decisiones de Inmaris y Ambiente
        Ufficio 243. El Offtake Agreement se puede disociar fácilmente de la inversión de capital:
        aun si FertiNitro no hubiese rescindido el Offtake Agreement, KOMSA podría incoar su
        reclamo de inversión en este arbitraje 244. El Offtake Agreement fue crítico para el proyecto
        FertiNitro, pero no fue crítico que el contrato se celebrara justamente con KOMSA. Lo que
        era critico era que hubiera un Offtake Agreement a largo plazo para garantizar la
        cancelación de los préstamos solicitados para financiar el proyecto. El Offtake Agreement
        no constituyó un incentivo para persuadir a KOMSA de que se convirtiera en accionista de
        FertiNitro 245.

        Artículo 2: La Demandada arguye que el Artículo 2 del Tratado contiene un requisito de
        territorialidad que el Offtake Agreement no cumplió. El Artículo 2 del Tratado establece
        que el Tratado sólo es aplicable a “inversiones efectuadas en el territorio de una Parte
        Contratante”. También se resaltó el nexo territorial en los Artículos 1, 3, 4, 7 y 8, y en el
        Preámbulo del Tratado, en el que se menciona la intención de los signatarios de “crear y


241
    Réplica de la Demandada sobre Jurisdicción, Párrafo 17.
242
    Réplica de la Demandada sobre Jurisdicción, Párrafo 22.
243
    EPA Ven., Párrafo 15.
244
    Id.
245
    Dúpl. Ven., Párrafo 29.


                                                       120
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 437 of 622




        mantener condiciones favorables para las inversiones [...] en el territorio de la otra Parte
        Contratante”. (Énfasis agregado)

        La Demandada alega, asimismo, que los tribunales arbitrales han evaluado el nexo de
        territorialidad al escudriñar el beneficio de la inversión en el Estado anfitrión 246. Dado que
        el Offtake Agreement “permitió que a nivel doméstico solo se llevaran a cabo menos de un
        5 % de las reventas totales y la mayor parte de lo obtenido se designó para reventa en el
        extranjero” 247, el beneficio del Offtake Agreement para Venezuela fue mínimo. Por ende,
        no cumplió el requisito de territorialidad del Tratado.

        Artículo 12: La Demandada alega que el Offtake Agreement contiene una cláusula de
        selección de foro de varios niveles para la resolución de “cualquier Controversia”
        relacionada con el Offtake Agreement, incluso el presente reclamo controvertido de KNI.
        Según el Artículo 12 del Offtake Agreement, “toda controversia”, incluso los reclamos por
        rescisión del Offtake Agreement, “estaría inicialmente sujeta a negociación […] [seguida
        de] arbitraje de conformidad con las Normas de la CCI” si las negociaciones no
        prosperan 248. Y agrega que el Tratado no prevalece sobre el Artículo 12.

        La Demandada afirma que fue la Junta de Directores Temporales Ad Hoc de FertiNitro la
        que tomó la decisión de rescindir el Offtake Agreement por razones comerciales. KNI tiene,
        a lo sumo, una controversia comercial con FertiNitro con respecto a la supuesta rescisión
        ilícita de un contrato de compraventa, que KNI no interpuso con arreglo a la cláusula de
        resolución de controversias del Artículo 12 del Offtake Agreement 249. Por lo tanto,
        concluye la Demandada, este Tribunal carece de jurisdicción para resolver el reclamo de
        KNI 250. Si bien KNI presentó un reclamo por incumplimiento de contrato bajo la apariencia
        de un reclamo por expropiación, dicha demanda sigue siendo una controversia comercial




246
    Réplica de la Demandada sobre Jurisdicción, Párrafo 72.
247
    EPA Ven., Párrafo 28 (citas omitidas).
248
    Excepciones Preliminares de la Demandada, Párrafo 62.
249
    Excepciones Preliminares de la Demandada, Párrafos 83 y ss.
250
    Excepciones Preliminares de la Demandada, Párrafos 86-87; Réplica de la Demandada sobre Jurisdicción, Párrafo
    12.


                                                      121
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 438 of 622




        que debería ser resuelta exclusivamente conforme a la cláusula de resolución de
        controversias del Artículo 12 del Offtake Agreement 251.

(3)     El Argumento de las Demandantes
        “Inversión”: KNI acepta que la tarea de interpretación del Tribunal en relación con el
        Tratado y el Convenio CIADI debería regirse por el Artículo 31 de la CVDT. Con respecto
        al Tratado, según KNI, “el sentido corriente del artículo 1(2) del [Tratado] establece
        claramente y sin ambigüedades que los derechos contractuales, como los otorgados por el
        Offtake Agreement, eran contemplados como inversiones por las Partes Contratantes” 252.
        En consecuencia, explica KNI, los derechos de KNI de suministro de urea y amoníaco
        conforme al Offtake Agreement están contemplados en párrafo introductorio no exhaustivo
        del Artículo 1(2) del Tratado: “[e]l término ‘inversiones’ incluye todo tipo de bienes”.
        También corresponde al tipo de inversión definida en el Artículo 1(2)(c) del Tratado: “[l]os
        derechos al pago de dinero o a cualquier prestación contractual” 253. A fortiori, concluye
        KNI, “si un ‘reclamo de ejecución’ en virtud de un contrato es una inversión, se deduce
        […] que los derechos contractuales son también una forma de inversión” 254.

        KNI asevera que toda interpretación que restrinja el alcance de la definición tan amplia y
        no exhaustiva de “inversión” del Artículo 1(2) del Tratado sería contraria al lenguaje simple
        del Tratado, y socavaría el objeto y fin de este, que es promover la inversión 255. Esto se
        lograba, según KNI, aun si se consideraba la Comercialización por separado:

          “Fue un componente crítico que permitió que FertiNitro recaudara
          aproximadamente USD 750 millones en deuda. Esto a su vez permitió la construcción
          de una planta de fertilizantes sustancial, que a su vez permitió a la Demandada
          monetizar el gas natural que de otro modo hubiera quemado. Aun suponiendo a
          efectos de argumentación que se tratara de un “simple” acuerdo de venta, el
          Contrato de Comercialización fue un acuerdo a largo plazo, de veinte años (o más)
          que significó desembolsos y riesgos significativos para KNI, ya que requería que KNI




251
    EPA Ven., Párrafo 16.
252
    Répl. Koch, Párrafo 338.
253
    Mem. Koch, Párrafo 182.
254
    Répl. Koch, Párrafo 340; EPA Koch, Párrafo 29.
255
    Répl. Koch, Párrafo 341; EPA Koch, Párrafo 30.


                                                     122
        Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 439 of 622




           adquiriera o pagara la mitad de la producción de la planta, independientemente de
           la necesidad real [como comprador]” 256.

         En cuanto al Convenio CIADI, KNI afirma que no hay una definición objetiva e inherente
         del término “inversión” en el Artículo 25(1) del Convenio CIADI, y que el Convenio
         CIADI deja que las partes, a través de su consentimiento, definan el alcance de las
         inversiones del Tratado 257. Según KNI:

           “[J]urisprudencia reciente confirma la prioridad de un [Tratado] sobre un Convenio
           CIADI al determinar el alcance del consentimiento aplicable en el arbitraje CIADI
           y confirma además que una demandante no debe acordar la existencia de una
           ‘inversión’ según un tratado de inversiones relevante y el Artículo 25(1) del
           Convenio CIADI” 258.

         KNI señala asimismo que:

           “[E]n ausencia de restricciones al consentimiento del artículo 25(4) [que ofrece a
           los Estados la posibilidad de limitar la jurisdicción ratione materiae del CIADI a
           ciertos tipos de inversiones], el alcance del término ‘inversión’ debe interpretarse
           dentro de los contornos definidos por [los Estados correspondientes en el
           instrumento pertinente]”259.

         Es por eso que, alega KNI, a falta de restricciones en virtud del Artículo 25(4) del Convenio
         CIADI y teniendo en cuenta la supremacía de la definición de “inversión” en el Tratado,
         los derechos contractuales de KNI caen claramente dentro de la definición de “inversión”
         en el marco del Convenio CIADI 260. KNI rechaza el argumento de que la definición de
         inversión en virtud del Artículo 25 del Convenio CIADI pueda confinarse a ciertos “límites

256
    Répl. Koch, párrafo 344 (citas omitidas).
257
    EPA Koch, Párrafo 26; Répl. Koch, Párrafo 305.
258
    EPA Koch, Párrafo 25, con cita de SGS c. Paraguay (RLA-25), Párrafo 93 (el tribunal sostiene que “en la mayoría
    de los casos—incluido, a juicio del Tribunal, el caso de que aquí se trata—será apropiado dejar librada a los Estados
    Partes del instrumento de consentimiento (por ejemplo el [Tratado]) la determinación del contenido del término
    inversión”; Inmaris Perestroika Sailing Maritime Services GmbH y otros c. Ucrania, Caso CIADI N.° ARB/08/8,
    Decisión sobre Jurisdicción (8 de marzo de 2010) (“Inmaris c. Ucrania”) (CLA-91), Párrafo 130. Véase, también,
    Répl. Koch, Párrafo 352; Dúpl. Koch, Párrafos 51-55.
259
    Répl. Koch, Párrafo 350. Véase, también, EPA Koch, Párrafo 28. Esta interpretación, según las Demandantes, se
    apoya también en los trabajos preparatorios de la Convención a los que el Tribunal podrá recurrir de conformidad
    con el Artículo 32 de la CVDT. El Informe de los Directores citado a menudo vincula expresamente la falta de una
    definición del término ‘inversión’, en primer lugar, con el ‘requisito esencial del consentimiento de las partes’ y,
    en segundo lugar, al ‘mecanismo’ del Art. 25(4) del Convenio CIADI (Véase Répl. Koch, Párrafo 349 (cita
    omitida)).
260
    Répl. Koch, Párrafo 350.


                                                          123
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 440 of 622




        exteriores”, ya que dicho concepto no sería fiel al sentido corriente, al contexto inmediato
        o al objeto y fin de esta disposición 261. De modo similar, sostiene KNI, la definición de
        inversión que brinda Artículo 1(2) del Tratado no se puede sustituir por una definición
        presuntamente “objetiva e inherente,” como lo alega la Demandada. Esto sería contrario a
        las normas de interpretación del derecho internacional consuetudinario codificadas en los
        Artículos 31 y 32 de la CVDT 262. KNI alega por ende que sus derechos en virtud del Offtake
        Agreement califican como una “inversión” de conformidad con el Convenio CIADI y el
        Tratado, y que tales derechos cumplen también con los indicios que son no-
        jurisdiccionales 263.

        KNI afirma que el sentido corriente del término “inversión” también debe interpretarse en
        el contexto más amplio de la disposición en la que se encuentra y el resto del texto del
        tratado 264. Aun si se considerase el Offtake Agreement de manera independiente del resto
        del proyecto FertiNitro, y no como parte integrante de este, igual calificaría como inversión
        de conformidad con el Convenio CIADI y con el Tratado. Según KNI, los criterios de
        Salini no son requisitos jurisdiccionales, sino meros indicios o ‘marcas distintivas’ de las
        inversiones según el Artículo 25(1) del Convenio CIADI, a los que los tribunales les han
        atribuido diferentes grados de importancia 265. Además, es bien sabido que los elementos
        de Salini “deben considerarse colectivamente bajo una prueba de equilibrio, en lugar de
        requerir que todos los elementos se cumplan o que cualquiera de los criterios sea más
        importante que otro” 266. KNI concluye que realizó una “inversión” en los términos del
        Artículo 25(1) del Convenio CIADI, y que su inversión cumplió con los criterios de Salini
        de duración, riesgo, contribución, desarrollo económico, nexo territorial, y regularidad de
        ganancias y rentabilidad.




261
    Répl. Koch, Párrafos 351-364.
262
    Dúpl. Koch, Párrafos 56-57.
263
    EPA Koch, Párrafo 14.
264
    Répl. Koch, Párrafo 347.
265
    EPA Koch, Párrafos 31-32; Répl. Koch, Párrafos 367-371, con cita de Biwater Gauff (Tanzania) Ltd. c. República
    Unida de Tanzania, Caso CIADI N°. ARB/05/22, Laudo (18 de julio de 2008) (“Biwater c. Tanzania”) (CLA-24),
    Párrafos 312, 314; Abaclat c. Argentina (RLA-31), Párrafo 364; y SGS c. Paraguay (RLA-25), Párrafo 98; Dúpl.
    Koch, Párrafos 3, 54.
266
    Répl. Koch, Párrafo 373.


                                                      124
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 441 of 622




        Contribución: Con respecto a la “contribución” pertinente, KNI afirma que KOMSA
        realizó una contribución inicial sustancial de patrimonio al proyecto FertiNitro, de la cual
        la participación proporcional en el capital de KOMSA fue de treinta y cinco por ciento 267,
        y que luego KOMSA cedió sus derechos y obligaciones en virtud del Offtake Agreement a
        KNI en abril de 2003. De esta manera, el mismo inversionista inicial (KOMSA) hizo la
        contribución inicial tanto con respecto a la inversión de capital como al Offtake Agreement,
        y todo lo que ocurrió luego fue una cesión de derechos y obligaciones como parte de una
        estructuración interna de la inversión, a KNI 268.

        KNI señala que la cesión, como parte esencial de la restructuración, es totalmente aceptable
        en el derecho internacional en materia de inversiones y no menoscaba la protección
        sustantiva y procesal del posterior titular en virtud del tratado, siempre que haya un
        continuum ininterrumpido en la nacionalidad 269. KNI alega asimismo que el compromiso
        jurídico de KOMSA (y posteriormente de KNI) de tomar la mitad de la producción de la
        Planta de FertiNitro en virtud del Offtake Agreement fue una contribución por sí misma,
        que KNI acordó la compra de grandes cantidades de la producción durante dos décadas y
        que fue este compromiso lo que permitió financiar, construir y operar la planta de FertiNitro
        con el apoyo de crédito internacional de bancos y entidades crediticias.

        KNI rechaza la invocación por parte de la Demandada de la decisión de Deutsche Bank c.
        Sri Lanka para alegar que la existencia de una inversión debe ser valorada “al momento de
        su concepción y no en retrospectiva”. Según KNI, la cuestión de si el inversionista realizó
        una contribución debe evaluarse “al momento de iniciar el juicio”, al igual que otros
        criterios jurisdiccionales. Es irrelevante si la contribución existió desde el inicio, ya que se
        puede extender durante un cierto período de tiempo 270.

        KNI también alega que: “no hay ningún requisito según el Convenio CIADI o el [Tratado]
        que obligue a KNI a realizar la ‘acción de invertir’ [o realizar una ‘nueva inversión’] para




267
    Répl. Koch, Párrafo 9.
268
    Répl. Koch, Párrafos 385-386 (citas omitidas).
269
    Répl. Koch, Párrafo 388.
270
    Dúpl. Koch, Párrafos 79-82.


                                                     125
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 442 of 622




         que sus derechos en el Offtake Agreement se consideren una ‘inversión’” 271. Dicha
         interpretación sería contraria a las disposiciones del Tratado y del Convenio: “Por lo tanto,
         una vez que el Tribunal haya establecido a su satisfacción de que existe un ‘activo’ en
         consonancia con las definiciones del Artículo 1 del TBI entre Suiza y Venezuela, no le
         resultara necesario seguir indagando que los sucesores interesados en dichos activos hayan
         realizado ‘contribuciones’ adicionales” 272.

         KNI sostiene asimismo que, tal como decidieron los tribunales de Salini c. Marruecos,
         Deutsche Bank c. Sri Lanka y Jan Ooestergetel c. República Eslovaca, las contribuciones
         no se limitan a términos financieros, sino que pueden adoptar diversas formas, entre ellas,
         know-how, equipos, personal y servicios. Teniendo en cuenta esto, “KNI y su personal
         hicieron una contribución inestimable al proyecto FertiNitro a través de su actuación en el
         Contrato de Comercialización” 273.

         Riesgo: En cuanto al “riesgo” pertinente, KNI alega que los riesgos de KNI en virtud del
         Offtake Agreement no se circunscribían al riesgo de incumplimiento identificado en los
         casos SGS c. Paraguay y Romak c. Uzbekistán que citó la Demandada. Los riesgos de KNI
         en virtud del Offtake Agreement incluyeron el “riesgo de inversión” que definió el tribunal
         de Romak de la siguiente manera: “una situación en la que el inversor no puede estar seguro
         del retorno de su inversión, y no puede saber la cantidad que va a terminar gastando, incluso
         si todas las contrapartes pertinentes cumplen sus obligaciones contractuales” 274.

         KNI procura tener soporte adicional en la declaración testimonial del Sr. Sorlie que se adujo
         en este arbitraje, quien declaró lo siguiente:



271
    EPA Koch, Párrafo 33 (“Los tribunales han sostenido que existe:a) una continuidad de inversión aun cuando cambia
    la identidad de un inversor; b) una “inversión” aun cuando resulta de la adquisición de acciones sin cargo; y c) una
    “inversión” aun cuando los bienes o fondos no han sido una contribución del mismo inversor”; con cita de Fedax
    N.V. c. República de Venezuela, Caso CIADI N.° ARB/96/3, Decisión sobre Jurisdicción (11 de julio de
    1997)(CLA-142), Párrafo 40; Víctor Pey Casado y Fundación Presidente Allende c. La República de Chile, Caso
    CIADI N.° ARB/98/2, Laudo (8 de mayo de 2008) (RLA-102), Párrafo 542; Renée Rose Levy de Levi c. República
    del Perú, Caso CIADI N.° ARB/10/17, Laudo (26 de febrero de 2014) (CLA-150), Párrafo 146; y (c) CME Czech
    Republic B.V. c. República Checa, CNUDMI, Laudo Parcial (13 de septiembre de 2001) (CLA-14), Párrafo 418.
    Véase, también, Répl. Koch, Párrafos 382-392; Primera Audiencia (septiembre) D1.35-36.
272
    Dúpl. Koch, Párrafos 67-71.
273
    Répl. Koch, Párrafo 392; Oostergetel c. República Eslovaca, CNUDMI, Decisión sobre Jurisdicción (30 de abril
    de 2010) (CLA-147), Párrafos 170-171.
274
    Répl. Koch, Párrafo 379, con cita de Romak c. Uzbekistán (RLA-24), Párrafo 230.


                                                         126
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 443 of 622




          “KNI asumió ciertos riesgos económicos con respecto al Offtake Agreement; riesgos
          que de otro modo hubiera tenido que asumir FertiNitro (e, indirectamente, los
          accionistas) de no existir el Offtake Agreement. Por ejemplo, KNI asumió el riesgo
          de mercado relacionado con la aceptación de una obligación firme de compra
          (“take-or-pay”). Esto implicó que, siempre que FertiNitro pudiera producir y ofrecer
          productos, KNI tenía la obligación de tomar posesión o pagar, o no tomar posesión,
          pero igualmente pagar por el producto independientemente de las condiciones de
          mercado. Estos riesgos de mercado incluían: riesgo de demanda (el riesgo de que la
          demanda del mercado para el producto pueda ser muy bajo, lo que daría como
          resultado dificultades para encontrar una contraparte interesada en tomar posesión
          del producto), riesgo de precio (muy relacionado con el riesgo de demanda, KNI
          enfrentó el riesgo de las fluctuaciones de precios de mercado) y riesgo de contraparte
          (esto se refiere al riesgo de que la contraparte principal de KNI no cumpla con su
          compromiso, como por ejemplo, que no pague el producto en tiempo y forma). Estos
          riesgos de mercado se aplican también al flete, que incluirían los riesgos adicionales
          relacionados con el transporte de bienes más los riesgos mayores relacionados con
          el transporte de amoníaco” 275.

        KNI también alude a que KOMSA garantiza las obligaciones de KNI en virtud del Offtake
        Agreement, la cual anulaba todos los riesgos en relación con dicho contrato ya que KNI
        seguiría siendo responsable en el supuesto de insolvencia de KOMSA. Además, si
        KOMSA hubiera tenido que cumplir las obligaciones de KNI en cualquier momento,
        KOMSA podría haber reclamado indemnización a KNI 276: “Una vez que se haya
        identificado el riesgo relativo a esa inversión, […] no resulta necesario buscar riesgos
        adicionales que deban afrontar los cesionarios subsiguientes ya que los riesgos que implica
        la inversión original no se han atenuado” 277.

        Unidad de la inversión: Si el Offtake Agreement no se considerase una “inversión” por
        separado (contrariamente al argumento principal de KNI), KNI señala que el Offtake
        Agreement era parte integral de la inversión y de la estructura global del proyecto
        FertiNitro, y no puede desestimarse como si se tratara de un simple contrato de
        compraventa que no califica como inversión 278. El Offtake Agreement no fue un contrato


275
    Répl. Koch, Párrafo 380, con cita de la Segunda Declaración Testimonial de Jim Sorlie (26 de julio de 2013),
    Párrafo 15.
276
    Dúpl. Koch, Párrafo 86.
277
    Dúpl. Koch, Párrafo 84.
278
    Répl. Koch, Párrafo 7; véase, también, EPA Koch, Párrafo 13.


                                                     127
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 444 of 622




        de compraventa “única”, sino que—al igual que todos los contratos de comercialización en
        financiación de proyectos—fue un contrato con obligación firme de compra (take or pay)
        a largo plazo en relación con la producción de una planta específica, suscrito con el objeto
        de garantizar la financiación del proyecto FertiNitro 279.

        Conforme al Convenio CIADI y al Tratado, toda operación en materia de inversiones debe
        considerarse en su totalidad, sin analizar cada transacción específica que compone “la
        operación total” 280. KNI invoca las decisiones de Inmaris c. Ucrania y Ambiente Ufficio c.
        Argentina para alegar que, a efectos jurisdiccionales, las inversiones deben evaluarse de
        “manera holística”, considerando su “contenido económico” y su “contexto más
        amplio” 281.

        Según KNI, la teoría de la “unidad de la inversión” no requiere que todos los contratos
        subyacentes compartan los mismos objetivos económicos y derechos, sino el hecho de si
        la controversia surge directamente de la totalidad de la inversión 282. Es irrelevante que el
        objeto del Offtake Agreement fuera la compraventa de amoníaco y urea, en lugar de la
        construcción, titularidad y operación de la Planta de FertiNitro (objeto del JIA). KNI
        asevera que “el objetivo del proyecto no fue simplemente construir la planta sino operarla
        y vender su producción, un objetivo que KNI ayudó a FertiNitro a conseguir a través del
        Offtake Agreement” 283. En el presente caso, la controversia surge de la totalidad de la
        inversión, de la cual el Offtake Agreement constituye una parte inseparable. KNI cita las
        decisiones de Mytilineos, Electrabel y CSOB, y alega que el Tribunal debería adoptar una
        “perspectiva holística” con respecto a la inversión de las Demandantes 284.


279
    Dúpl. Koch, Párrafos 45-47.
280
    Répl. Koch, Párrafos 310-311, con cita de Schreuer et al, The ICSID Convention: A Commentary (CLA-108), Art.
    25, Párrafo 104.
281
    Répl. Koch, Párrafos 306-308, con cita, inter alia, de Ambiente Ufficio S.p.A. y otros c. República Argentina, Caso
    CIADI N.° ARB/08/9 (anteriormente, Giordano Alpi y otros c. República Argentina), Decisión sobre Jurisdicción
    y Admisibilidad (8 de febrero de 2013) (“Ambiente Ufficio c. Argentina”) (CLA-90), Párrafos 422-34; e Inmaris
    c. Ucrania (CLA-91), Párrafo 98.
282
    Dúpl. Koch, Párrafo 37, con cita de Inmaris c. Ucrania (CLA-91), Párrafo 98.
283
    Dúpl. Koch, Párrafo 35.
284
    Dúpl. Koch, Párrafos 38-39, con cita de Mytilineos Holdings SA c. Unión Estatal de Serbia y Montenegroy
    República de Serbia, CNUDMI, Laudo Parcial sobre Jurisdicción (8 de septiembre de 2006) (CLA-92), Párrafos
    123-125; Electrabel c. Hungría (RLA-110), Párrafo 5.44; y Československá Obchodní Banka, A.S. (ČSOB) c.
    República Eslovaca, Caso CIADI N.° ARB/97/4, Decisión sobre Excepciones a la Jurisdicción (24 de mayo de
    1999) (“CSOB c. República Eslovaca”) (RLA-5), Párrafo 80.


                                                         128
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 445 of 622




        KNI afirma que “[l]a inversión de capital de KOMSA y el compromiso offtake de KOMSA
        (posteriormente KNI) eran interdependientes e inseparables. […] [T]odas las partes
        consideraron las inversiones offtake y de capital como un ‘paquete’” 285. Dado que KOMSA
        y Pequiven siguieron un modelo de financiamiento de proyecto, “el Offtake Agreement era
        esencial para distribuir de la forma adecuada el riesgo total del proyecto y, por extensión,
        para asegurar el financiamiento de los prestamistas internacionales” 286. KOMSA estaba
        interesada en FertiNitro no sólo como una inversión de capital, sino también como una
        nueva fuente de amoníaco y urea para sus propias ventas y operaciones comerciales de
        fertilizante 287. Uno de los principales objetivos de la inversión de KOMSA radicaba en
        obtener la producción a un precio inferior al de mercado, junto con la capacidad de
        comercializar ese producto en determinadas áreas geográficas 288. Por ende, “además de
        mitigar el riesgo del proyecto, sin el valor económico del Offtake Agreement, ‘KOMSA no
        habría realizado su inversión en FertiNitro’” 289, “ni el proyecto [FertiNitro] hubiera
        recibido la financiación necesaria de los mercados internacionales necesarios para su
        finalización y consecuente éxito” 290.

        KNI afirma que el proyecto FertiNitro consistió de un conjunto de contratos integrados y
        entrelazados, firmados el mismo día y definidos como los “Documentos del Proyecto”,
        ninguno de los cuales era autónomo, tal como surge de las pruebas documentales, las
        pruebas periciales y las declaraciones de testigos 291. KNI invoca el testimonio pericial del
        Profesor Esty, quien consideró el Offtake Agreement como una parte “crucial, integrada y
        económicamente inseparable” del proyecto FertiNitro global 292. De cualquier manera,


285
    Dúpl. Koch, Párrafo 13.
286
    Répl. Koch, Párrafos 12-16; EPA Koch, Párrafos 18-19.
287
    El Offtake Agreement contenía un compromiso de compra por un plazo de 20 años, prorrogable, con respecto al 50
    por ciento de la producción de la Planta de FertiNitro para KNI y Pequiven; véanse EPA Koch, Párrafo 19; Répl.
    Koch, Párrafos 315-316.
288
    Véanse EPA Koch, Párrafos 16, 21.
289
    Répl. Koch, Párrafos 18; véase, también, Répl. Koch, Párrafo 315; EPA Koch, Párrafo 16.
290
    Répl. Koch, Párrafo 8; véase, también, EPA Koch, Párrafo 20, con cita de la Declaración Testimonial go de Brent
    W. Gwaltney (30 de mayo de 2012) (“Gwaltney DT1”), Párrafo 33.
291
    EPA Koch, Párrafos 13, 23, nota al pie 4 y Párrafo 24, con cita de Circular de Oferta – Oferta de Bonos de
    USD 250.000.000 entre FertiNitro Finance Inc y FertiNitro (8 de abril de 1998) (“Circular de Oferta de Bonos”)
    (C-115), Página 5; y Declaración de Testigo de Víctor D. Barrientos (28 de febrero de 2013), Párrafos 41-44; Répl.
    Koch, Párrafos 321-325; Dúpl. Koch, Párrafos 17-25.
292
    Véase Répl. Koch, Párrafos 300-320, con cita de Dictamen Pericial de Benjamin C. Esty (23 de agosto de 2013)
    (“Esty IP1”), Párrafos 25, 37.


                                                        129
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 446 of 622




        según KNI, KNI no necesita demostrar que el Offtake Agreement fue esencial para la
        realización del proyecto FertiNitro para que sea parte integral de la transacción económica
        general 293.

        En la financiación de proyectos, explica KNI, como no hay otro recurso más allá que el
        proyecto en sí, el prestamista y los tenedores de bonos “ven principalmente al flujo de caja
        del proyecto como fuente de fondos para cubrir sus préstamos” 294. Como tales, los
        contratos de comercialización suelen ser la principal fuente de ingresos del proyecto. Este
        Offtake Agreement garantizaba el flujo de ingresos del proyecto FertiNitro y los pagos de
        los Offtakers se remitían a una cuenta de depósito en garantía administrada por los
        prestamistas 295. En particular, “[l]os prestamistas confiaron en que el Contrato de
        Comercialización estableciera un canal de distribución asegurado para la producción de la
        planta al igual que el respaldo crediticio, la liquidez y la mitigación del riesgo de la moneda
        inherentes en las obligaciones de los Offtakers de tomar y pagar un producto ofertado por
        las plantas [de FertiNitro]” 296. El propio Offtake Agreement contempla “conexiones
        fundamentales entre los documentos del proyecto y sirven para integrar el Offtake
        Agreement con derechos y obligaciones clave de otras partes, especialmente los
        patrocinadores y los prestamistas, según los otros documentos centrales del proyecto” 297.
        Así lo confirman, inter alia, los Artículos 11.4 y 11.5 del Offtake Agreement 298. Conforme
        al Artículo 11.4, si la participación accionaria en FertiNitro por parte de un comprador caía
        por debajo de 20%, FertiNitro tenía derecho a renegociar los términos y condiciones del
        Offtake Agreement con respecto a dicho comprador.                 Según el Artículo 11.5, si la
        participación accionaria caía por debajo del 5%, los respectivos derechos y obligaciones de
        dicho comprador en virtud del Offtake Agreement se extinguirían 299 . Además, la duración
        de las obligaciones de KNI en virtud del Offtake Agreement estaba directamente vinculada




293
    Dúpl. Koch, Párrafos 26-32.
294
    Répl. Koch, Párrafo 319.
295
    Véase EPA Koch, Párrafos 16-18; véase, también, Dúpl. Koch, Párrafos 10-12.
296
    Cita de Memorándum del Offtake Agreement del Comité de Revisión de la Junta Directiva de FertiNitro (18 de
    mayo de 2005) (C-118), página 2; Répl. Koch, Párrafos 326.
297
    Dúpl. Koch, Párrafo 22.
298
    EPA Koch, Párrafo 22.
299
    Répl. Koch, Párrafo 325; Dúpl. Koch, Párrafo 14.


                                                    130
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 447 of 622




         al estado de la deuda del proyecto. El plazo original de 20 años con arreglo al Offtake
         Agreement debía prorrogarse si los bonos aún estaban pendientes de pago 300.

         KNI hace una distinción entre los hechos de este caso y los de los casos Joy Mining y
         Global Trading c. Ucrania, y alega que el Offtake Agreement fue una parte mucho más
         importante de todo el proyecto FertiNitro que el contrato en cuestión en Joy Mining. En
         Global Trading, el tribunal adoptó un criterio pragmático al considerar si la venta de aves
         de corral podía ser una inversión; y no excluyó categóricamente de la definición de
         inversión, todas las transacciones comerciales puras 301.

         Artículo 2: KNI arguye que el Offtake Agreement fue una “[inversión efectuada] en el
         territorio de una Parte Contratante, de conformidad con sus leyes y reglamentos, por
         inversionistas de la otra Parte Contratante”, de acuerdo con el Artículo 2 del Tratado.
         Según KNI, el Artículo 2 del Tratado es una cláusula estándar de los tratados bilaterales de
         inversión que “se limita a establecer el alcance temporal y el objeto del Tratado” 302. Esta
         disposición no se puede interpretar en el sentido de que incorpora requisitos de que la
         inversión deba contribuir al desarrollo económico del Estado receptor. Además, muchos
         tribunales descartaron la existencia de dicho requisito de desarrollo, dada su naturaleza tan
         subjetiva 303. Por otra parte, los casos en los que la Demandada pretende apoyarse “se
         focalizan en las conexiones geográficas en las cuales la inversión dejó un impacto”, y no
         en el hecho de si la inversión benefició al estado receptor 304.

         En cualquier caso, alega KNI, el argumento de la Demandada debe desestimarse porque
         “se pronosticaba que el proyecto traería y de hecho ha traído considerables beneficios para
         la población local y del país a gran escala, en particular a través de la monetización a precios
         considerables de gas natural que de otro modo hubiera sido quemado y por el pago de
         diversos impuestos nacionales” 305. Además:




300
    Dúpl. Koch, Párrafo 16.
301
    Répl. Koch, Párrafos 355-361.
302
    Répl. Koch, Párrafo 394.
303
    Id.
304
    Dúpl. Koch, Párrafos 90-92.
305
    Répl. Koch, párrafo 395 (citas omitidas).


                                                   131
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 448 of 622




          “Luego de pasar por las cuentas en el extranjero y la cascada del proyecto, una
          porción de las ganancias del offtake, el ingreso neto, llegaría a FertiNitro en
          Venezuela. También existían ventas internas derivadas en Venezuela. El Offtake
          Agreement claramente tuvo un impacto en Venezuela que cumplió con creces todo
          requisito territorial” 306.

        Artículo 12: KNI asevera que las disposiciones en materia de resolución de controversias
        del Artículo 12 del Offtake Agreement no impiden al Tribunal resolver el reclamo de KNI
        contra la Demandada en virtud del Tratado. El Artículo 41 del Convenio CIADI permite a
        este Tribunal determinar su propia jurisdicción.

        KNI sostiene que los derechos de KNI en virtud del Offtake Agreement y en virtud del
        Tratado son conceptualmente distintos. El Artículo 12 del Offtake Agreement se refiere
        únicamente al arbitraje comercial de controversias contractuales entre sus partes
        contratantes, es decir, FertiNitro, Pequiven, IPSL y KNI. En cambio, esta controversia
        comprende reclamos en virtud del derecho internacional formulados por KNI contra la
        Demandada sobre la base del consentimiento de la Demandada a la jurisdicción del CIADI
        reflejada en el Tratado, en relación con la expropiación ilícita de la inversión de KNI por
        parte de la Demandada al amparo del Tratado. Por lo tanto, la cláusula de arbitraje del
        Offtake Agreement no afecta a la jurisdicción de este Tribunal 307.

(4)     La Decisión y el Análisis del Tribunal
        El Tribunal comienza con el Artículo 41 del Convenio CIADI.                     No es objeto de
        controversia ni podría serlo que el Tribunal “resolverá sobre su propia competencia”. Como
        ya se indicó, esta cuestión sobre jurisdicción concierne a KNI y a la Demandada, con
        respecto al reclamo de KNI por la supuesta expropiación ilícita de su supuesta inversión
        que comprende su interés en el Offtake Agreement, en virtud del Artículo 6 del Tratado 308.

        Las excepciones preliminares de la Demandada sólo guardan relación con el reclamo de
        KNI. En opinión del Tribunal, la Demandada actuó correctamente al no plantear ninguna
        excepción preliminar similar con respecto a los reclamos de KOMSA en este arbitraje: está


306
    Dúpl. Koch, Párrafo 92.
307
    Répl. Koch, Párrafo 397.
308
    Offtake Agreement entre Pequiven, IPSL y Koch Oil SA en calidad de Compradoras y FertiNitro en calidad de
    Vendedora (8 de abril de 1998) (C-19).


                                                    132
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 449 of 622




        claro que KOMSA realizó una “inversión” como accionista indirecto en FertiNitro desde
        el comienzo del proyecto FertiNitro, en los términos del Artículo 25(1) del Convenio
        CIADI y el Artículo 1(2) del Tratado.

        El Tribunal acepta el alegato de la Demandada de que KNI debe satisfacer las definiciones
        de “inversión” del Tratado y del Convenio CIADI, con respecto a lo cual KNI tiene la carga
        legal de fundamentar sus alegatos sobre la jurisdicción del Tribunal. Es un test doble que
        KNI debe demostrar, sujeto a las normas del derecho internacional consuetudinario sobre
        interpretación de tratados codificadas en la CVDT, en particular, el Artículo 31 (1),
        conforme con el cual “[u]n tratado deberá interpretarse de buena fe conforme al sentido
        corriente que haya de atribuirse a los términos del tratado en el contexto de estos y teniendo
        en cuenta su objeto y fin.

        Este test doble se describió en el párrafo 25 del Informe de los Directores Ejecutivos acerca
        del Convenio CIADI:

           “Aunque el consentimiento de las partes constituye un requisito previo esencial para
           dar jurisdicción al Centro, el mero consentimiento no es suficiente para someter una
           diferencia a su jurisdicción. En concordancia con la finalidad del convenio, la
           jurisdicción del Centro resulta además limitada por la naturaleza de la diferencia y
           de las partes” 309.

        Más recientemente, los editores de Schreuer comentaron:

           “Si la jurisdicción se establece en función de un tratado que contenga una oferta de
           consentimiento, la definición de inversión del tratado será relevante. Además, el
           tribunal deberá establecer que la actividad representa una inversión según el sentido
           del Convenio [CIADI]. Este test doble se ha denominado a veces como el enfoque de
           ‘doble cerrojo’ o como el test ‘compuesto’” 310. [Traducción del Tribunal]

        El Tribunal procederá a ocuparse del Tratado, como primera parte de este test doble.

        El Tratado: El Tribunal acepta el alegato de KNI de que la definición de “inversión” del
        Artículo 1(2) del Tratado es muy amplia. Sus palabras de apertura definen sucintamente

309
    Informe de los Directores Ejecutivos acerca del Convenio sobre Arreglos de Diferencias Relativas a Inversiones
    entre Estados y Nacionales de Otros Estados, páginas 43-44. Véase, también, Georges R. Delaume, ICSID and the
    Transnational Financial Community, (1986) (CLA-96), página 104.
310
    ICSID Convention: A Commentary (CLA-3), página 117.


                                                      133
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 450 of 622




           “inversión” como incluyendo “todo tipo de bienes”.                 En opinión del Tribunal, esta
           expresión no permite requisitos adicionales que no estén implícitos en el significado del
           término “inversión”. Sin embargo, a continuación, brinda una lista de cinco ejemplos
           específicos, no exhaustivos, de tales bienes que satisfacen la definición de “inversión”.
           KNI se basa en los Artículos 1(2)(b) y (c) del Tratado que mencionan “acciones, cuotas
           sociales o cualquier forma de participación en compañías” y “derechos […] a cualquier
           prestación contractual”.

           Para el caso que nos ocupa, según el Artículo 2 del Tratado y el Convenio CIADI (analizado
           infra), el Tribunal considera que su jurisdicción respecto de la “inversión” cubierta
           conforme al Tratado queda establecida con arreglo a los Artículos 1(2)(b) y (c) del Tratado.
           El Tratado define expresamente las acciones o participación en compañías y las
           prestaciones contractuales como bienes que se ajustan a su propia definición de
           “inversión”. El sentido corriente de estas palabras, en su contexto y a la luz del objeto y
           fin del Tratado en virtud del Artículo 31 de la CVDT, no presente ambigüedad alguna.

           Tal como se decidió en Rosinvest c. Rusia sobre la interpretación de una definición
           similarmente amplia de inversión:

             “La amplia redacción de esa definición no contiene ningún término que limite
             ‘inversión’ a algo creado de conformidad con el derecho nacional vigente. Según la
             definición, ‘inversión’ incluye todo tipo de bienes. Luego, brinda una lista no taxativa
             de tipos de bienes que comprenden ‘acciones, bonos y debentures o cualquier otra
             forma de participación en compañías o empresas’. Al redactar esta simple y tan
             amplia definición, los Estados partes del IPPA [el TBI entre el Reino Unido y la
             URSS] expresaron claramente la intención de incluir todo tipo de bienes y el
             Tribunal considere como tales las acciones Yukos de titularidad de las
             Demandantes” 311. [Traducción del Tribunal]

           En estas circunstancias, sería inapropiado, conforme al Artículo 31 de la CVDT o cualquier
           otra disposición, agregar otros requisitos a esta definición expresa y estos ejemplos
           específicos. Sin embargo, aunque este resultado no sea el adecuado para tratar la
           “inversión” de KNI por separado, se obtendría el mismo resultado conforme al Artículo

311
      RosInvestCo UK Ltd. c. Federación Rusa, Arbitraje CCE V (079/2005), Laudo Definitivo (12 de septiembre de
      2010) (CLA-9), Párrafo 388. (Este laudo fue anulado por los tribunales suecos por motivos jurisdiccionales no
      relacionados).


                                                        134
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 451 of 622




           1(2) del Tratado si aplicamos el concepto de “unidad de la inversión”, tal como se analiza
           infra conforme al Artículo 25(1) del Convenio CIADI.

           El   Convenio     CIADI:     El   Tribunal     interpreta   el   Artículo   1(2)    del   Tratado
           independientemente del Artículo 25(1) del Convenio CIADI, teniendo en cuenta la
           admonición en la decisión sobre anulación de MHS c. Malasia:

             “Son esos tratados bilaterales y multilaterales que hoy en día representan el motor
             de la jurisdicción eficaz del CIADI. Ignorar o menospreciar la importancia de la
             jurisdicción que otorgan al CIADI y, en cambio, formular interpretaciones
             controvertidas del término ‘inversión’, tal como se lo define en el Artículo 25(1) del
             Convenio, pone en riesgo la integridad de la institución” 312. [Traducción del
             Tribunal]

           Por ende, la cuestión sobre la jurisdicción del Tribunal debe centrarse ahora en el
           significado del Artículo 25(1) del Convenio CIADI, como segunda parte de este ‘test
           doble’.

           El Tribunal acepta el argumento jurídico de la Demandada de que un “contrato de
           compraventa puro” no puede, por sí, satisfacer el significado de “inversión” del Artículo
           25(1) del Convenio CIADI. Sin embargo, tal como se decidió en Pantechniki c. Albania:
           ese alegato “puede perder terreno rápidamente ante la realidad económica” 313 [Traducción
           del Tribunal].

           En opinión del Tribunal, el Offtake Agreement no fue un “contrato de compraventa puro”
           desde el punto de vista jurídico o económico. A la luz de las pruebas presentadas, es
           imposible separarlo como si se tratase de una transacción independiente sin relación alguna
           con el proyecto FertiNitro que, bajo cualquier punto de vista, fue un gigante jurídico y
           económico. Tal como se decidiera en CSOB c. Eslovaquia:

             “Por lo general, una inversión es una operación bastante compleja, compuesta por
             varias transacciones interrelacionadas, cada elemento de las cuales podría, de
             manera independiente, no calificar como inversión en todos los casos. Por lo tanto,
             una diferencia sometida a la jurisdicción del Centro debe considerarse surgida

312
      MHS c. Malasia (RLA-23), Párrafo 73.
313
      Pantechniki S.A. Contractors & Engineers c. República de Albania, Caso CIADI N.º ARB/07/21, Laudo (30 de
      julio de 2009) (CLA-97), Párrafo 44.


                                                      135
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 452 of 622




          directamente en una inversión, aunque se base en una transacción que, por sí sola,
          no califique como inversión conforme al Convenio, en tanto la transacción específica
          forme parte de una operación global que sí califique como inversión […] El análisis
          precedente indica que el término ‘directamente’, tal como se utiliza en el Artículo
          25(1) del Convenio, no se debe interpretar de modo restrictivo para concluir que el
          reclamo de CSOB se encuentra fuera del ámbito de jurisdicción del Centro y de
          competencia del Tribunal simplemente porque se basa en una obligación de la
          República Eslovaca que, por sí sola, no califica como inversión” 314. [Traducción del
          Tribunal]

        Otros tribunales arbitrales han adoptado el mismo enfoque holístico con respecto al
        significado de “inversión” del Artículo 25(1) del Convenio CIADI, sin necesariamente
        utilizar ese término o la expresión similar “unidad de la inversión”. El Tribunal hace
        referencia a las decisiones de Inmaris c. Ucrania 315, en cuyo caso el tribunal consideró las
        “supuestas inversiones como parte de una operación de inversión integral más grande”
        [Traducción del Tribunal]; Ambiente Ufficio c. Argentina 316, en el cual el tribunal resolvió
        que “cuando el tribunal se encuentra en presencia de una operación compleja, debe
        concentrarse en el fundamento económico de la operación en cuestión en forma holística”;
        ADC Affiliate c. Hungría 317, en el cual el tribunal consideró “la totalidad de la transacción
        comprendida en los Acuerdos del Proyecto” [Traducción del Tribunal]; Electrabel c.
        Hungría 318, en el cual el tribunal decidió que “se deben considerar todos los elementos de
        la operación de la Demandante a fines de determinar si hay inversión conforme al Artículo
        25”; y Chevron c. Ecuador 319, en el cual se afirmó que “[l]as inversiones también deben
        examinarse en su integridad y no separadas en sus componentes”. Es por eso que no está
        permitido dividir una transacción en sus distintas partes constitutivas, como una salchicha,
        con el fin de argüir que una parte, por sí sola, no es una “inversión”, mientras que como
        parte integral de la transacción entera sí lo es.




314
    CSOB c. República Eslovaca (RLA-5), Párrafos 72, 74.
315
    Inmaris c. Ucrania (CLA-91), Párrafo 92.
316
    Ambiente Ufficio c. Argentina (CLA-90), Párrafos 428, 453.
317
    ADC Affiliate Ltd. c. República de Hungría, Caso CIADI N.° ARB/03/16, Laudo (27 de septiembre de 2006)
    (CLA-16), Párrafo 331.
318
    Electrabel c. Hungría (RLA-110), Párrafo 5.44.
319
    Chevron Corp. (EE. UU.) c. República de Ecuador, CNUDMI, Laudo Definitivo (31 de agosto de 2011) (CLA-
    63), Párrafo 19.


                                                  136
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 453 of 622




        La pregunta sigue siendo si el Offtake Agreement fue parte integral de la inversión original
        de KOMSA en el proyecto FertiNitro en general. El Tribunal advierte, de nuevo, que la
        Demandada no alega que KOMSA no fuera inversionista con una inversión conforme al
        Artículo 25(1) del Convenio CIADI, en relación con su participación accionaria en el
        proyecto FertiNitro. (El Tribunal procederá a analizar la postura de KNI en carácter de
        cesionaria de KOMSA nuevamente infra).

        Según la opinión del Tribunal, las pruebas económicas son abrumadoras. El Profesor Esty
        (de la Universidad de Harvard y experto en economía empresarial) declaró que “un offtake
        agreement constituye una parte crucial, integrada y económicamente inseparable de una
        compañía de proyecto, y así es considerado por todos los participantes del proyecto, entre
        otros, los prestamistas, promotores y analistas de crédito” 320; este Offtake Agreement “era
        una parte crucial, integrada y económicamente inseparable de la compañía del proyecto
        FertiNitro”; también fue crucial “para el éxito del proyecto y su capacidad para pagar
        gastos, cumplir con obligaciones de deuda, y generar rentabilidad para los promotores” 321;
        y “[n]o considero que este proyecto [el proyecto FertiNitro] pudiera haberse financiado sin
        un contrato de comercialización. De hecho, el Offtake Agreement es precisamente el que
        proporcionó el respaldo crediticio necesario para financiar el proyecto” 322 [Traducción del
        Tribunal]. El Tribunal advierte que el proyecto FertiNitro requirió respaldo crediticio de
        prestamistas para financiar USD 700 millones (USD 250 millones como Bonos y USD 450
        millones como Préstamos Bancarios), garantizado (inter alia) con el flujo de ingresos de
        FertiNitro en virtud del Offtake Agreement.                Como resultado, en ese entonces, la
        calificación de Moody del proyecto FertiNitro se vio influenciada, en gran medida, por el
        Offtake Agreement 323.

        El Offtake Agreement también estuvo integrado legalmente con el proyecto FertiNitro. Su
        preámbulo aludía expresamente al JIA; el Artículo 11.1 contemplaba un plazo de 20 años
        o hasta tanto FertiNitro hubiera cancelado los Bonos; y los Artículos 11.4 y 11.5 establecían
        que la producción disponible para los compradores dependía de los niveles continuos de


320
    Esty IP1, Párrafo 27 (énfasis omitido).
321
    Esty IP1, Párrafos 28-29.
322
    Segundo Informe Pericial de Benjamin C. Esty (14 de marzo de 2014) (“Esty IP2”), Párrafo 4.
323
    P. List, A Chemical Storm, 8 Proj. Fin. 35 (junio de 1998) (C-17), página 36.


                                                      137
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 454 of 622




        participación accionaria de tales compradores en FertiNitro 324. El Offtake Agreement
        también mencionaba otros Documentos del Proyecto: véanse los Artículos 3.2 y 4.2. A su
        vez, el Artículo IV del JIA hacía referencia al Offtake Agreement, en el cual las partes
        acordaron que el Offtake Agreement era “necesario para dar efecto a este [JIA] […]” y
        “[…] necesario y apropiado para dar efecto a la intención de los Propietarios, expresada en
        este [JIA], y permitir la construcción de las Plantas y el desarrollo de la Actividad”.
        [Traducción del Tribunal]

        La Sección 3.01(b) y (c) del Contrato de Garantía Común con los Bancos Sénior dejó
        asentada la declaración de FertiNitro de que estaba facultada para celebrar el Offtake
        Agreement y que el Offtake Agreement era vinculante para FertiNitro; las Secciones 5.01(b)
        y 5.03(b) exigían a FertiNitro impartir instrucciones irrevocables a los Offtakers (incluso
        KOMSA y, posteriormente, KNI) de realizar pagos a cuentas en el exterior en USD en
        virtud del Offtake Agreement, en beneficio de los bancos prestamistas (tal como se indicara
        previamente en la Circular de Oferta de Bonos) 325; la Sección 6.01(a)(iii) contemplaba la
        prenda de FertiNitro frente a los bancos prestamistas de todos sus derechos en el Offtake
        Agreement; la Sección 9.01(c) convertía el Offtake Agreement en condición suspensiva del
        Contrato de Garantía Común; y la Sección 10.01(g) establecía que el incumplimiento de
        KOMSA (posteriormente, KNI) en virtud del Offtake Agreement constituía un hecho de
        incumplimiento por parte de FertiNitro en virtud del Contrato de Garantía Común 326.

        Las pruebas de hecho de los testigos contemporáneos coinciden con este análisis
        económico y jurídico. El Sr. Barrientos (de Pequiven) declaró que el propósito del Offtake
        Agreement, si bien (en su dictamen jurídico) se trataba de un contrato de compraventa
        separado, “era el de proporcionar un flujo continuo de ingresos a FertiNitro. Eso permitía
        a FertiNitro cumplir sus obligaciones, sobre todo con los bancos y tenedores de bonos […].
        Fue bajo este concepto que se implementó el Offtake Agreement, no para asegurar ingresos
        a KOMSA o a ningún accionista en particular” 327. En ese entonces, los abogados


324
    Convenio de Inversionistas Conjuntos entre Pequiven, Koch Oil SA, Snamprogetti Netherlands BV y Polar Uno,
    CA (8 de abril de 1998) (C-18).
325
    Circular de Oferta de Bonos (C-115).
326
    Contrato de Garantía Común (21 de abril de 2008) (C-137).
327
    Segunda Declaración de Testigo de Víctor D. Barrientos (30 de diciembre de 2013), Párrafo 28.


                                                    138
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 455 of 622




           estadounidenses de FertiNitro, Davis Polk & Wardwell, aconsejaron a su junta directiva,
           mediante carta de fecha 18 de mayo de 2005, lo siguiente 328:

             “Como sabrá la Junta, los términos del Offtake Agreement vigente son el producto
             de amplias negociaciones entre los offtakers, los accionistas de FertiNitro y los
             acreedores de FertiNitro, son jurídicamente vinculantes y reflejan no sólo las
             condiciones del mercado de fertilizantes, actuales o previstas en el momento, sino
             también todo el marco contractual […] del proyecto y su impacto financiero
             esperado sobre las partes. Por lo tanto, cualquier modificación del Offtake
             Agreement no puede considerarse de forma aislada como una negociación entre los
             accionistas de FertiNitro y los offtakers, sino que también debe contemplar a los
             acreedores, así como los roles previos y actuales de los participantes, que no sean
             accionistas y offtakers (por ejemplo, Pequiven y sus afiliadas como proveedoras de
             materia prima y otros servicios del proyecto y Snamprogetti como contratista
             constructor para el proyecto).
             En particular, los prestamistas se apoyaron en el Offtake Agreement para establecer
             un canal de distribución asegurado para la producción de la planta al igual que el
             respaldo crediticio, la liquidez y la mitigación del riesgo de la moneda inherentes en
             las obligaciones de los offtakers de tomar y pagar un producto ofertado por las
             plantas. La deuda del proyecto es asegurada por las cuentas por cobrar debidas por
             Koch y Pequiven a FertiNitro en virtud del Offtake Agreement (lo que incluye un
             compromiso de IPSL de sus propias cuentas por cobrar de las ventas de
             exportación). Los atributos del Offtake Agreement eran fundamentales para los
             prestamistas y los prestamistas ven a la fortaleza financiera del proyecto vinculada
             a la fortaleza financiera y comercial de los offtakers y sus respectivos compromisos
             con el proyecto”. [Traducción del Tribunal]

           El Sr. Gwaltney (de Koch, y director suplente de FertiNitro, designado por KOMSA)
           declaró que el Offtake Agreement era “una parte integral de la inversión general y la
           estructura del proyecto FertiNitro. Se trataba de un ‘paquete’. KOMSA obtendría una
           participación en el capital de las Compañías FertiNitro y también se comprometería a
           adquirir los productos a largo plazo y de forma obligatoria”. Asimismo, declaró:

             “El Offtake Agreement era un elemento esencial de la inversión de Koch. Sin estos
             valiosos derechos, KOMSA no habría realizado su inversión en FertiNitro. Aún más,
             considerando que el Offtake Agreement obligaba a KNI a comprar producto a


328
      Memorándum del Offtake Agreement del Comité de Revisión de la Junta Directiva de FertiNitro (18 de mayo de
      2005) (C-118), página 2.


                                                       139
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 456 of 622




              FertiNitro y durante un período prolongado de tiempo, cumplía con un requisito
              crítico de los prestamistas de financiamiento del proyecto” 329.

           A la luz de este material, el Tribunal considera que el Offtake Agreement fue parte integral
           y esencial de la inversión global realizada por KOMSA. No fue una parte única o separada
           que deba considerarse como si se tratase de una transacción diferente. Tampoco fue un
           ‘contrato de compraventa puro’, ya sea desde el punto de vista económico, jurídico o de
           manera más amplia comercial. Por lo tanto, el hecho de si la participación de KOMSA en
           el Offtake Agreement fue una inversión conforme al Convenio CIADI depende de la
           transacción entera de KOMSA en relación con el proyecto FertiNitro.

           En síntesis, el Tribunal concluye que la transacción de KOMSA en su totalidad, con su
           correspondiente aporte de capital y los derechos y obligaciones con respecto a la
           producción, formaban parte de una única inversión integral según la definición del Artículo
           25(1) del Convenio CIADI. Además del Offtake Agreement (aun si se tratase de una
           transacción separada, hipótesis que el Tribunal descartó), la Demandada no alega otra cosa.
           En cuanto a esta transacción (incluido el Offtake Agreement), el Tribunal resuelve que
           cumple con todos los indicios de las inversiones en cuanto a contribución, riesgo, duración
           y desarrollo económico conforme al test de Salini, independientemente del modo en que se
           lo aplique 330.

           Artículo 2 del Tratado: Como parte integral de una transacción entera, el Tribunal acepta
           el alegato de KNI de que el Offtake Agreement fue una “[inversión efectuada] en el
           territorio de una Parte Contratante, de conformidad con sus leyes y reglamentos, por
           inversores de la otra Parte Contratante”, de conformidad con el Artículo 2 del Tratado.

           Artículo 12: El Tribunal también puede considerar brevemente la invocación por parte de
           la Demandada de las disposiciones sobre resolución de controversias del Artículo 12 del
           Offtake Agreement. Si bien quizá resulta relevante para cuestiones de responsabilidad


329
      Gwaltney DT1, Párrafo 33.
330
      Salini Costruttori S.P.A. e Italstrade S.P.A. c. Reino de Marruecos, Caso CIADI N.° ARB/00/4, Decisión sobre
      Jurisdicción (16 de julio de 2001) (RLA-7), Párrafos 50-58. Véanse, también, Phoenix Action c. República Checa,
      Caso CIADI N.° ARB/06/05, Laudo (15 de abril de 2009) (RLA-22), Párrafos 82-85; y Philip Morris Brand Sàrl
      y otros c. República Oriental del Uruguay, Caso CIADI N.° ARB/10/7, Decisión sobre Jurisdicción (2 de julio de
      2013) (CLA-144), Párrafo 200.


                                                         140
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 457 of 622




conforme al Artículo 6 del Tratado (de lo cual el Tribunal se ocupará infra), el Tribunal
resuelve que estas disposiciones no respaldan la excepción jurisdiccional de la Demandada.
El reclamo de KNI en este arbitraje es contra la Demandada y no contra FertiNitro. KNI
invoca las obligaciones de la Demandada en virtud del Tratado y del derecho internacional
(como su derecho aplicable), no las obligaciones de FertiNitro establecidas en el Offtake
Agreement y la legislación de Nueva York (como su derecho aplicable). Todos los
derechos de acción, textos jurídicos, leyes aplicables y partes contendientes son
sustancialmente diferentes.

Por último, ¿tiene algún impacto sobre el análisis el hecho de que KOMSA haya cedido (o
novado) posteriormente su participación en el Offtake Agreement a KNI, por lo cual (se
podría decir) el Offtake Agreement dejó de ser parte de una transacción integrada en su
totalidad? Esta cuestión también pudo haber presentado dificultades aquí, si no fuera por
un factor importante. La cesión de KOMSA a KNI fue una reorganización interna entre
empresas asociadas dentro del mismo grupo societario Koch. No introdujo terceros no
relacionados ni modificó sustancialmente la transacción. Tampoco podría haberlo hecho
teniendo en cuenta lo dispuesto por los Artículos 11.4 y 11.5 del Offtake Agreement. La
Demandada no cuestiona la eficacia de la cesión en virtud del Offtake Agreement. Por ende,
si bien difiere en la forma, dadas las diversas personerías jurídicas de KOMSA y KNI, la
cesión no generó ninguna diferencia económica, jurídica o comercial importante.

Decisión: En conclusión, por todos los motivos expuestos supra, el Tribunal desestima la
excepción preliminar de la Demandada respecto del reclamo de KNI en este arbitraje, en
conformidad con los Artículos 1(2) y 2 del Tratado y el Artículo 25(1) del Convenio
CIADI.




                                       141
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 458 of 622




                            PARTE VII: CUESTIONES DE EXPROPIACIÓN



(1)        Introducción
           Tal como ya fuera indicado, las Demandantes sostienen que la Demandada podría incurrir
           responsabilidad en virtud de seis disposiciones del Tratado; a saber: (1) Artículo 6
           (“Expropiación”), (2) Artículo 4(1) (“TJE”), (3) Artículo 4(1) (“SPP”) (4) Artículo 4(1)
           (“Medidas Arbitrarias y Discriminatorias”); (5) Artículo 4(2) (“Trato Nacional”); y (6)
           Artículo 11(2) (“Cláusula Paraguas”). En esta Parte VII del Laudo, el Tribunal procede a
           analizar la cuestión de la responsabilidad relativa a los reclamos de las Demandantes por
           expropiación ilícita en virtud del Artículo 6 del Tratado. Las cuestiones de responsabilidad
           relativas a los reclamos no expropiatorios se analizan en la Parte VIII infra.

           Resulta nuevamente necesario sintetizar los argumentos respectivos de las Partes sobre las
           cuestiones de expropiación. Al igual que con las cuestiones jurisdiccionales y, de hecho,
           con todas las demás cuestiones, el Tribunal ha examinado los argumentos sobre
           responsabilidad de las Partes en su totalidad; no debe asumirse que una omisión en estos
           resúmenes de cualquier escrito u otro material invocado por cualquiera de las Partes ha
           pasado inadvertido por parte del Tribunal.

(2)        El Argumento de las Demandantes
           En síntesis, las Demandantes afirman que la redacción del Artículo 6 del Tratado recoge
           cualquier apropiación de bienes, tangibles o intangibles, lo cual incluye así las acciones, la
           participación de capital y los derechos contractuales; y que prohíbe la expropiación a menos
           que se cumpla con una prueba de cuatro puntos, a saber: (I) la medida debe ser tomada por
           causa de interés público, (ii) de manera no discriminatoria, (iii) sujeta al debido proceso
           legal, y (iv) mediante el pago de una compensación 331. Las Demandantes abordan luego
           las dos presuntas expropiaciones ilícitas por parte de la Demandada; a saber: La
           participación de KOMSA en FertiNitro y los derechos de KNI respecto del Offtake
           Agreement 332.


331
      Mem. Koch, Párrafos 200-214.
332
      Mem. Koch, Párrafos 215-220.


                                                    142
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 459 of 622




        KOMSA: Respecto de la participación de KOMSA en FertiNitro, KOMSA aduce que la
        medida de la Demandada, el Decreto 7713 (Decreto de Expropiación) considerada en
        conjunto con las declaraciones públicas del Ministro, constituyó una expropiación ilícita
        indirecta. En primer lugar, la Demandada no puede demostrar la arista del interés público
        debido a que no había una escasez de fertilizantes que impactara su producción nacional
        de alimentos, y la apropiación fue, en todo caso, desproporcionada 333. En segundo lugar,
        la medida fue discriminatoria porque promovió la participación de Pequiven en detrimento
        de todos los demás accionistas de FertiNitro. KOMSA rechaza el argumento de la
        Demandada de que Pequiven y KOMSA no estaban posicionadas de manera similar porque
        operaban en diferentes mercados y, por lo tanto, no eran competidoras 334. En tercer lugar,
        la medida violó el debido proceso dado que no se brindó preaviso a KOMSA, puesto que
        la expropiación fue notificada en el programa semanal de televisión del Presidente durante
        el cual el Presidente firmó el Decreto de Expropiación. KOMSA rechaza el argumento de
        la Demandada de que varios canales de información, incluidas las amenazas anteriores o
        acciones gubernamentales no relacionadas, podrían haber constituido un preaviso adecuado
        para KOMSA en virtud del derecho internacional 335.            En cuarto lugar, no se ha
        proporcionado compensación efectiva alguna a KOMSA 336. KOMSA afirma que el
        Artículo 6 requiere una compensación efectiva para que la Demandada cumpla con sus
        obligaciones, no meras negociaciones o un procedimiento judicial extenso a nivel
        nacional 337.

        KNI: Respecto de los derechos de KNI en virtud del Offtake Agreement, KNI arguye que
        el Decreto 7713 constituye una expropiación indirecta ilícita por las mismas razones que
        aquellas presentadas por KOMSA. KNI sostiene que la Demandada anuló los derechos de
        KNI a la ejecución por FertiNitro del Offtake Agreement 338. Según KNI, el hecho de que
        el Offtake Agreement fuera rescindido exclusivamente por FertiNitro en febrero de 2012
        (tal como afirma la Demandada), varios meses después del Decreto de Expropiación y de


333
    Répl. Koch, Párrafos 133-146; EPA Koch Párrafo 86.
334
    Répl. Koch, Párrafos 147-161; EPA Koch Párrafos 87-91.
335
    Répl. Koch, Párrafos 162-177; EPA Koch Párrafos 92-94.
336
    Mem. Koch, Párrafos 221-235.
337
    Répl. Koch, Párrafos 120-132; 178-179; EPA Koch Párrafos 95-100.
338
    Mem. Koch, Párrafos 236-241; Répl. Koch, Párrafos 180-186.


                                                     143
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 460 of 622




           las declaraciones del Ministro, es irrelevante debido a que el objeto del Offtake Agreement
           ya había sido afectado negativamente el 11 de octubre de 2010 y, en cualquier caso, su
           terminación posterior fue atribuible a la Demandada (por su control de Pequiven y, en
           consecuencia, de FertiNitro) 339. Además, KNI rechaza el argumento de la Demandada de
           que no expropió los derechos de KNI respecto del Offtake Agreement porque dicho
           argumento es incompatible con su defensa de la causa de interés público que sustenta la
           expropiación de FertiNitro. Tal defensa se basa en la supuesta crisis de producción
           alimentaria de Venezuela, que sólo podía ser mitigada si la Demandada también se
           apropiaba, es decir expropiaba, el cumplimiento por parte de FertiNitro de sus obligaciones
           contractuales respecto de KNI de adquirir urea 340. Al igual que en el caso de KOMSA, la
           Demandada no ha pagado ninguna compensación a KNI, a la fecha de este laudo.

(3)        El Argumento de la Demandada
           En síntesis, la Demandada afirma que el Decreto 7713 ordenó la adquisición obligatoria de
           los bienes de FertiNitro, de conformidad con la legislación nacional de Venezuela y tal
           como lo autoriza expresamente el Artículo 6 del Tratado. Niega cualquier responsabilidad
           en virtud del Artículo 6 respecto de KOMSA o KNI.

           KOMSA: La Demandada sostiene que esta adquisición se llevó a cabo por causa de interés
           público y para un fin público, respecto de lo cual los Estados gozan de amplia libertad en
           virtud del derecho internacional. Específicamente, la Demandada deseaba asegurar el
           control soberano sobre los medios de producción nacional de alimentos. La Demandada
           argumenta que existe un vínculo directo entre el sector de los fertilizantes y la producción
           de alimentos. Señala la crisis alimentaria venezolana del año 1998 y el potencial impacto
           general de la malnutrición respecto de la paz social de un país.

           La Demandada rechaza el elevado test de las Demandantes según el cual la Demandada
           también debe probar las dificultades subyacentes que dieron lugar a la política y demostrar
           que la nueva política no está influenciada por motivos políticos. Arguye que el criterio de
           proporcionalidad alegado por las Demandantes es erróneo.           Sólo resulta pertinente



339
      Répl. Koch, Párrafos 187-199.
340
      EPA Koch, Párrafo 85.


                                                   144
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 461 of 622




           determinar si ciertas medidas pueden alcanzar el nivel de una expropiación. No tiene nada
           que ver con la evaluación de la política alimentaria de la Demandada (que, según la
           Demandada, era en cualquier caso razonable y proporcionada) 341.

           La Demandada sostiene que su adquisición de FertiNitro se llevó a cabo de manera no
           discriminatoria debido a que Pequiven y KOMSA no estaban situadas de manera similar.
           No operaban en los mismos mercados, particularmente respecto del Offtake Agreement. La
           Demandada sostiene que la mera actuación en el mismo sector no resulta suficiente para
           estar en una situación similar. Además, Pequiven es una entidad estatal que se encargaba
           de promover la seguridad alimentaria (incluso antes de la promulgación del Decreto 7713),
           mientras que KOMSA es una empresa suiza privada. Además, existía una justificación
           razonable para tratar a Pequiven y KOMSA de manera diferente, dada la política de
           garantizar la seguridad alimentaria de Venezuela. Además, Pequiven no se benefició de la
           adquisición de FertiNitro. Dicha adquisición meramente facilitó el proceso administrativo;
           y (en última instancia) Pequiven también tuvo que renunciar a su propia participación
           accionaria en FertiNitro, al igual que todos los demás accionistas de FertiNitro. Por lo
           tanto, la Demandada no tenía ninguna intención de ir específicamente en contra de los
           extranjeros. Pequiven no fue en última instancia titular de los activos de FertiNitro; y
           KOMSA no recibió ningún trato adverso diferenciado. 342

           La Demandada sostiene que la adquisición de FertiNitro se llevó a cabo en virtud del debido
           proceso. KOMSA había recibido múltiples notificaciones de la futura adquisición. Ante la
           ausencia de tal redacción en el Artículo 6, la Demandada objeta al argumento de KOMSA
           de que en toda instancia se requiere un preaviso sujeto a un estándar de debido proceso en
           virtud del derecho internacional. La Demandada había manifestado anteriormente un
           fuerte interés por el sector de los fertilizantes; y KOMSA había recibido notificación a
           través de diversos canales (incluida la prensa, empleados de Pequiven y otras leyes o
           decretos) que demostraban el interés de la Demandada relativo al sector. Además, existían




341
      Mem. C. Ven., Párrafos 144-148; Dúpl. Ven., Párrafos 196-203; EPA Ven., Párrafos 66-80.
342
      Mem. C. Ven., Párrafos 149-164; Dúpl. Ven., Párrafos 204-216; EPA Ven., Párrafos 83-97.


                                                        145
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 462 of 622




           vías de recurso jurídico a disposición de KOMSA en virtud de las leyes nacionales,
           incluidas las negociaciones amistosas, para impugnar la adquisición de FertiNitro 343.

           La Demandada aduce que cumplió con sus obligaciones en virtud del derecho internacional
           y del Artículo 6 porque ofreció negociar una compensación efectiva y adecuada para
           KOMSA. Sólo el importe de la compensación, no el principio de compensación, fue
           disputado entre la Demandada y KOMSA en ese momento. Asimismo, según la
           Demandada, el Artículo 6 no exige el pago inmediato de una compensación por parte de la
           Demandada. La Demandada también sostiene que Pequiven (para la Demandada) siempre
           negoció de buena fe y ofreció una oferta razonable de compensación, hasta que la propia
           KOMSA puso fin a las negociaciones. En virtud del derecho internacional, según sostiene
           la Demandada, sólo cuando la valoración del activo permanece controvertida, la oferta de
           compensación es suficiente para que el Estado cumpla con su obligación de compensación
           en virtud del tratado. La Demandada también sostiene que el litigio pendiente de resolución
           ante los tribunales venezolanos en relación con el monto de la compensación dará lugar a
           que la Demandada pague a la Demandante una compensación a su debido tiempo 344.

           KNI: La Demandada sostiene que no expropió el derecho contractual de KNI respecto del
           Offtake Agreement, aun suponiendo (de manera contraria a su excepción preliminar) que
           tal interés era una “inversión” en virtud del Tratado.

           Según la Demandada, el Decreto 7713 no incluye ninguna disposición con respecto a los
           derechos contractuales de KNI de comprar urea y amoníaco de conformidad con el Offtake
           Agreement; los derechos contractuales de KNI no fueron afectados por el Decreto; y tales
           derechos no constituían un “activo” en virtud del Decreto.

           Además, KNI continuó comprando dichos productos en virtud del Offtake Agreement
           después de octubre de 2010. Ello no se hizo (tal como afirma KNI) en virtud de un acuerdo
           ad hoc conformado por un intercambio de cartas posterior a la promulgación del Decreto
           de Expropiación 7713. Por consiguiente, los derechos de KNI en el Offtake Agreement no
           fueron expropiados por el Decreto 7713.               La Demandada objeta las declaraciones


343
      Mem. C. Ven., Párrafos 165-175; Dúpl. Ven., Párrafos 217-224; EPA Ven., Párrafos 98-104.
344
      Mem. C. Ven., Párrafos 176-177; Dúpl. Ven., Párrafos 225-232; EPA Ven., Párrafos 105-115.


                                                        146
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 463 of 622




        testimoniales de los testigos de las Demandantes según las cuales KNI se vio confundida
        por el Decreto y entendió que el Offtake Agreement fue expropiado, por lo que se exigía
        que los productos fueran entregados conforme a un nuevo acuerdo ad hoc para el futuro.
        La Demandada señala que no existen pruebas convincentes que respalden la posición de
        KNI. En última instancia, conforme las afirmaciones de la Demandada, FertiNitro (y no la
        Demandada) rescindió el Offtake Agreement por sus propias razones comerciales
        claramente manifestadas en el mes de febrero de 2012 345.

        En cualquier caso, la Demandada sostiene además que el alegado tratamiento de los
        derechos de KNI respecto del Offtake Agreement no puede atribuirse a la Demandada en
        virtud del derecho internacional porque FertiNitro no formaba parte de la estructura
        orgánica de la Demandada, no ejercía facultades gubernamentales ni estaba bajo el control
        efectivo de la Demandada. Pequiven fue la única entidad que gestionó administrativamente
        la adquisición de FertiNitro, sin ser en última instancia tenedora de los activos 346.

        La rescisión del Offtake Agreement por parte de FertiNitro en el mes de febrero de 2012
        constituyó una decisión comercial que no puede calificarse de expropiación en virtud del
        Artículo 6 del Tratado; ni puede dar lugar a ninguna responsabilidad en virtud del derecho
        internacional, ya que sería, a lo sumo, una violación contractual ordinaria por parte de
        FertiNitro que no puede equivaler a una “apropiación” de la Demandada de conformidad
        con el Tratado 347.

(4)     Análisis del Tribunal
        El punto de partida del Tribunal es necesariamente las políticas estatales de la Demandada
        sobre la seguridad alimentaria y la producción nacional de alimentos para el pueblo
        venezolano, anteriores al Decreto 7713 (Decreto de Expropiación de fecha 10 octubre de
        2010).    Estas políticas son ostensiblemente loables, con orígenes que anteceden las
        inversiones de las Demandantes. Según el Tribunal, salvo por el Decreto de Expropiación
        del 10 de octubre de 2010, no hay aspectos en estas políticas gubernamentales que, por sí
        mismas, constituyan una violación de los derechos de las Demandantes en virtud del


345
    Mem. C. Ven., Párrafos 181-184; Dúpl. Ven., Párrafo 237; EPA Ven., Párrafos 30-63.
346
    Mem. C. Ven., Párrafos 185-194; Dúpl. Ven., Párrafos 238-249; EPA Ven., Párrafos 64-65.
347
    Mem. C. Ven., Párrafos 195-200; Dúpl. Ven., Párrafos 250-251.


                                                     147
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 464 of 622




        Artículo 6 del Tratado. El Tribunal acepta que estas políticas fueron adoptadas por la
        Demandada de buena fe, con el fin público de alimentar al pueblo de Venezuela, de acuerdo
        con la ley venezolana y dentro de los límites de la racionalidad.

        Además, no es función de este Tribunal cuestionar el diseño o la existencia de dichas
        políticas en virtud del Tratado, a menos que su ejecución por parte de la Demandada viole
        los derechos de KOMSA o KNI relativos al Tratado. En tal sentido, en su carácter de
        Demandantes, KOMSA y KNI tienen la carga jurídica de probar sus respectivas
        alegaciones con respecto al Decreto de Expropiación y las declaraciones del Ministro.

        Por lo tanto, la vara relativa a los reclamos de la Demandante es elevada en virtud del
        derecho internacional, tal como lo confirma la ‘jurisprudence constante’ establecida a lo
        largo de muchos años. Como fuera resuelto por el tribunal del TLCAN en el caso Methanex
        c. EE.UU. 348, una norma intencionalmente discriminatoria contra un inversionista
        extranjero puede satisfacer un requisito clave para establecer la expropiación.                      Sin
        embargo, también concluyó:

          “[C]omo cuestión de derecho internacional general, una norma no discriminatoria
          para un fin público, promulgada de conformidad con el debido proceso y, que afecta,
          inter alia, a un inversionista o inversión extranjera no se considera expropiatoria y
          compensable a menos que se hubieran asumido compromisos específicos por parte
          del gobierno regulador al entonces inversionista extranjero putativo que
          contemplara la inversión con respecto a que el gobierno se abstendría de dicha
          norma”. [Traducción del Tribunal]

        Más recientemente, el tribunal del caso Philip Morris c. Uruguay decidió 349:

          “Tal como indicaran decisiones anteriores al amparo de tratados de inversión, para
          que las acciones de un Estado en el ejercicio de sus potestades regulatorias no
          conformen una expropiación indirecta, las acciones deben cumplir ciertas
          condiciones. Entre aquellas mencionadas con mayor frecuencia se encuentra la
          condición de que las acciones se tomen de buena fe en aras de proteger el bienestar
          público, y deban ser no discriminatorias y proporcionadas”.


348
    Methanex Corporation c. Estados Unidos de América, CNUDMI, Laudo Definitivo del Tribunal sobre Jurisdicción
    y Fondo (3 de agosto de 2005), Parte IV, Capítulo D, Página 4, Párrafo 7.
349
    Philip Morris Brand Sàrl, Philip Morris Products S.A. y Abal Hermanos S.A. c. República Oriental del Uruguay,
    Caso CIADI N.° ARB/10/7, Laudo (8 de julio de 2016), Párrafo 305.


                                                      148
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 465 of 622




        En consecuencia, el estándar de revisión de la conducta de un Estado que ha de adoptar un
        tribunal internacional incluye una deferencia de hacia el Estado que formula la medida
        impugnada de medidas significativas. Tal tribunal no puede ponerse simplemente en la
        posición del Estado y ponderar la medida desde cero, particularmente en retrospectiva. En
        el caso Lemire c. Ucrania 350, el tribunal del CIADI se refirió al “derecho legítimo de
        Ucrania a sancionar legislación y adoptar medidas para proteger lo que, como soberano,
        percibe como su interés público” (Énfasis agregado). También resolvió:

          “Como Estado soberano, Ucrania posee el derecho inherente de regular sus asuntos
          y adoptar leyes en aras de proteger el bien común de su pueblo, tal como lo define el
          Parlamento y el Gobierno. La prerrogativa se extiende a la promulgación de normas
          que definen la propia política cultural del Estado [...]. La ‘gran medida de deferencia
          que el derecho internacional generalmente extiende al derecho de las autoridades
          nacionales a regular las cuestiones dentro de sus propias fronteras’ se refuerza en
          los casos en que el propósito de la legislación afecta los rasgos culturales o
          lingüísticos de la comunidad más arraigados”. (Énfasis omitido). [Traducción del
          Tribunal]

        El pasaje citado allí fue tomado del laudo del tribunal TLCAN en el caso SD Myers c.
        Canadá 351.

        Ese mismo pasaje sobre la deferencia fue adoptado por el tribunal en el laudo del caso
        Saluka 352:

          “Ningún inversionista puede razonablemente esperar que las circunstancias que
          prevalecen al momento en que se realiza la inversión permanezcan completamente
          sin cambios. A fin de determinar si la frustración de las expectativas del inversionista
          extranjero era justificada y razonable, también debe subsiguientemente tenerse en
          cuenta el derecho legítimo del Estado receptor de regular las cuestiones nacionales
          por causa del interés público. Tal como lo resolviera el tribunal del caso S.D. Myers,
          la determinación de un incumplimiento de la obligación de ‘trato justo y equitativo’
          por parte del Estado receptor ‘debe realizarse a la luz de la gran medida de




350
    Joseph Charles Lemire c. Ucrania, Caso CIADI N.° ARB/06/18, Decisión sobre Jurisdicción y Responsabilidad
    (14 de enero de 2010) (CLA-89), Párrafos 273, 505.
351
    S.D. Myers, Inc. c. Canadá, CNUDMI, Laudo Parcial (13 de noviembre de 2000) (RLA-52), Párrafo 263.
352
    Saluka Investments BV (Países Bajos) c. República Checa, CNUDMI, Laudo Parcial (17 de marzo de 2006) (CLA-
    19), Párrafo 305.


                                                    149
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 466 of 622




          deferencia que el derecho internacional generalmente extiende al derecho de las
          autoridades nacionales a regular las cuestiones dentro de sus propias fronteras”.

        La Demandada también citó pasajes de las decisiones correspondientes a los casos
        Kardassopolous c. Georgia y LIAMCO c. Libia. El primer caso registró la opinión del
        tribunal de que “la Demandada tiene derecho a una medida de deferencia” con respecto a
        la expropiación de los derechos del demandante “por causa del interés público
        georgiano” 353 [Traducción del Tribunal]. El segundo caso registró la decisión del tribunal
        de que “los motivos son indiferentes al derecho internacional, siendo cada Estado libre ‘de
        juzgar por sí mismo lo que considera útil o necesario para el bien público […]’”354
        [Traducción del Tribunal]. El Tribunal acepta esta declaración general como la línea
        máxima de la ‘jurisprudence constante’ en materia de deferencia. En este caso, el Tribunal
        prefiere una marca inferior. Los motivos no son totalmente irrelevantes y pueden ser
        importantes para determinar si el acto de un Estado es ilícito. Si bien es inapropiado
        cuestionar los procesos de toma de decisiones de un Estado, por ejemplo, en lo que respecta
        a cuestiones de interés público, resulta pertinente analizar si tales procesos tomaban en
        cuenta esas cuestiones en el momento pertinente.

        Según el Tribunal, incluso con esta marca inferior, las Demandantes (tanto KOMSA como
        KNI) no han probado la primera parte de su prueba de cuatro aristas, a saber, que las
        medidas en litigio no fueron tomadas por causas de interés público. En cuanto a los
        aspectos segundo y tercero relacionados con la discriminación y el debido proceso, los
        Demandantes también tienen la carga legal de la prueba. El Tribunal decide que las
        Demandantes no han probado sus alegaciones fácticas relacionadas con la discriminación.
        En cuanto al debido proceso, el Tribunal no considera que aquí se requirió notificación
        anticipada del Decreto de Expropiación - no bajo el Tratado, el derecho internacional
        consuetudinario o el derecho venezolano.

        KOMSA: En lo que respecta a la cuarta arista, el Decreto de Expropiación 7713 y sucesos
        posteriores hablan en gran medida por sí mismos. El Decreto dispuso la adquisición


353
    Kardassopolous c. República de Georgia, Caso CIADI N.° ARB/05/18, Laudo (28 de febrero de 2010) (CLA-20),
    Párrafo 391.
354
    Libyan American Oil Company (LIAMCO) c. República Árabe Libia, Laudo, 20 I.L.M. 1 (12 de abril de 1977)
    (RLA-37), Párrafo 114.


                                                    150
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 467 of 622




inmediata de todos los activos de FertiNitro por parte de la Demandada el 11 de octubre de
2010. En caso de que existiera alguna ambigüedad en cuanto a sus términos o efectos (que
el Tribunal descarta en cuanto a la participación de KOMSA en FertiNitro), las
declaraciones públicas del Ministro de Energía y Petróleo de la Demandada, realizadas en
la Planta FertiNitro también el 11 de octubre de 2010, confirmaron que la Demandada
estaba adquiriendo, nacionalizando y tomando el control forzoso de todos los bienes de
FertiNitro: el Tribunal se remite a sus conclusiones de la Parte V supra. En ese momento,
ninguna compensación fue pagada a KOMSA por la Demandada. A pesar de las
sugerencias de la Demandada en sentido contrario, todavía no se ha pagado ninguna
compensación a KOMSA, más de 7 años más tarde.

En tales circunstancias, el Tribunal decide que la Demandada expropió indirectamente la
participación de KOMSA en FertiNitro el 11 de octubre de 2010. A esa fecha, la
Demandada debía haber cumplido con la condición expresa del Artículo 6, la cual le exigía
(inter alia) tomar “medidas […] [para que una] compensación efectiva y adecuada” fuera
pagada “sin demora” a KOMSA por su participación expropiada respecto de FertiNitro, en
ese momento o subsiguientemente. La Demandada no lo hizo. No objeta a la declaración
de que no se ha pagado en ningún momento una compensación a KOMSA, incluso a la
fecha de este Laudo. A partir del 11 de octubre de 2010, la participación de KOMSA en
FertiNitro quedó completamente extinguida a todos los efectos prácticos: ninguno de los
derechos asociados a su tenencia de acciones en FertiNitro (vía Koch José) podía ejercerse
debido al control que ejercía la Demandada sobre la gestión de FertiNitro y a su toma de
todos los activos de FertiNitro.

El Tribunal no considera que las posteriores ofertas de la Demandada de negociar una
compensación con KOMSA (a través de Pequiven) cumplieran con la condición del
Artículo 6, y menos cuando se recuerda que la Demandada no ha ofrecido ni pagado ni una
pequeña parte de lo que consideraba indudablemente debido a KOMSA. El Tribunal
tampoco considera que la condición fuera cumplida por la oportunidad otorgada a KOMSA
de involucrarse en procedimientos legales extensos e inciertos ante los tribunales de la
Demandada en Venezuela, de conformidad con la legislación venezolana. Tales procesos
jurídicos fueron iniciados por Pequiven el 26 de julio de 2011 y no han llegado a ninguna



                                       151
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 468 of 622




        conclusión en relación con la compensación pagadera a KOMSA 355. El Tribunal recuerda
        la sincera declaración realizada por la Demandada en la primera sesión de este arbitraje:
        “[...] como Estado, somos conscientes de que existe una expropiación y que toda
        expropiación requiere una compensación, una compensación justa [...]” 356 [Traducción del
        Tribunal]. Para KOMSA, la cuestión se entendía correctamente como el importe adecuado
        de compensación debido a KOMSA, no como la determinación de si existía o no una
        responsabilidad por parte de la Demandada de pagar una compensación a KOMSA en
        virtud del Artículo 6 del Tratado. Aun así, la Demandada no ofreció ninguna compensación
        a KOMSA.

        La Demandada citó un pasaje del laudo CIADI en el caso Venezuela Holdings, B.V. et al
        (caso anteriormente conocido como “Mobil Corporation, Venezuela Holdings B.V. et al”),
        c. Venezuela, en el cual el tribunal resolvió:

           “[…] el mero hecho de que un inversor no haya recibido compensación no convierte
           en sí mismo a una expropiación en ilegal. Pudo haberse realizado una oferta de
           compensación al inversor y, en tal caso, la legalidad de la expropiación dependerá
           de los términos de esa oferta. Para decidir si una expropiación fue ilegal [sic] o no
           ante la ausencia del pago de una compensación, un tribunal debe considerar los
           hechos del caso” 357.

        Este Tribunal no rechaza dicho enfoque de la redacción del Artículo 6 del Tratado en
        cuestión en este arbitraje. Sin embargo, en base a los hechos de este caso en particular, no
        existió tal oferta firme de compensación hacia KOMSA por parte de la propia Demandada,
        sino solamente negociaciones tardías, limitadas e infructuosas con diferentes cifras
        presentadas por Pequiven sujetas a mayor análisis y aprobación previa por parte de la
        Demandada.          Tales negociaciones no constituyeron “medidas […] [para que una]
        compensación efectiva y adecuada” fuera pagada “sin demora” a KOMSA, tal como lo
        exige el Artículo 6 del Tratado.



355
    Solicitud por Expropiación y Petitorio Provisional al Juzgado de Primera Instancia de la Circunscripción Judicial
    del Estado Anzoátegui (26 de julio de 2011) (R-36).
356
    Primera Sesión (21 de diciembre de 2011), Transcripción, pág. 103.
357
    Venezuela Holdings, B.V. y otros c. República Bolivariana de Venezuela, Caso CIADI N.° ARB/07/27, Laudo (9
    de octubre de 2014) (RLA-153), Párrafo 301. (Este laudo fue parcialmente anulado por diferentes motivos; véase
    Decisión Sobre Anulación (9 de marzo de 2017), Párrafo 196.4)


                                                        152
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 469 of 622




En estas circunstancias de hecho, conforme al enfoque adoptado por el tribunal del caso
Mobil, el Tribunal concluye que la Demandada no ha presentado una oferta significativa
de compensación ni ha brindado ningún procedimiento significativo de compensación a
KOMSA tal como exige el Artículo 6 del Tratado.

Por tales motivos, el Tribunal decide que la Demandada expropió ilícitamente e
indirectamente la participación de KOMSA en FertiNitro el 11 de octubre de 2010 en
violación del Artículo 6 del Tratado, tal como demuestran el Decreto de Expropiación 7713
y las declaraciones públicas del Ministro, de fecha 11 de octubre de 2010, atribuibles a la
Demandada. En virtud de lo dispuesto en el Artículo 9(4) del Tratado (descripto en la Parte
IV supra), el Tribunal confirma que dicha expropiación, según lo resuelto por el Tribunal,
es ilícita debido a que la Demandada no cumplió con sus obligaciones en virtud del Artículo
6 del Tratado. Era una expropiación indirecta puesto que, como lo acepta el Tribunal, no
había una transferencia formal de la propiedad de los bienes de FertiNitro hasta julio de
2011, conforme con el derecho venezolano, pero tenía, en tanto era una medida
expropiatoria, el mismo efecto que una expropiación directa el 11 de octubre de 2010.

KNI: El Decreto de Expropiación 7713 dictado el 11 de octubre de 2010 no contó con una
referencia expresa al Offtake Agreement ni a KNI. Sin embargo, el mismo día, el Ministro
responsable de la ejecución del Decreto explicó su efecto inmediato en declaraciones
públicas incompatibles con la ejecución futura del Offtake Agreement por parte de
FertiNitro, conforme con sus términos existentes. Según lo explicara el Ministro, el efecto
del Decreto se extendía más allá de los activos físicos de FertiNitro e incluía la derogación
de cualquier restricción contractual existente sobre la entrega de los productos de FertiNitro
en Venezuela por fuera del control total de la Demandada, principalmente en el caso del
mercado nacional venezolano. De hecho, ese fue el motivo por el que la Demandada se
apoderó de FertiNitro. En palabras del Ministro: “Con el control que el Estado venezolano
va a tomar de esta planta, entonces tenemos garantizado toda la urea que necesiten nuestros
campesinos, toda la urea que necesite nuestro sector productivo para sostener este plan
extraordinario de siembra y para sostener el desarrollo de la nación” (véase Parte V supra).
No tenía sentido que la Demandada se apoderara de los bienes de FertiNitro sin que la
Demandada asumiera el control total y efectivo de toda su producción futura en Venezuela.



                                         153
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 470 of 622




        Por lo tanto, el Decreto 7713 y el discurso del Ministro deben tomarse en conjunto, como
        un acto compuesto.

        En ese momento, ese fue el entendimiento de los funcionarios de Pequiven y de KNI. En
        su declaración testimonial oral, el Sr. Barrientos (de Pequiven) sostuvo que las referencias
        del Ministro, el 11 de octubre de 2010, al nuevo suministro de la Demandada de 1,5
        millones de toneladas de fertilizantes para la Demandada, se referían a la producción total
        de FertiNitro de 1,5 millones de toneladas 358. El Sr. Gwaltney (testigo de KNI) también
        entendió, tal como lo confirmara el 12 de octubre de 2010 el Sr. Inciarte (entonces
        Presidente de FertiNitro y Presidente de Pequiven), que la Demandada había tomado el
        completo control de FertiNitro 359. El Sr. Parra (de KNI) también entendió del Sr. Inciarte
        “que el offtake de KNI también seria expropiado por el Gobierno” 360. El Sr. Inciarte no fue
        ofrecido por la Demandada como testigo en este arbitraje.

        Sin embargo, la Demandada se enfrentaba ahora a un problema significativo con los
        tenedores de bonos y los bancos prestamistas de FertiNitro, para quienes el producto de la
        venta pagado por KNI conforme al Offtake Agreement operaba como garantía. Para evitar
        un incumplimiento, con posibles amplias ramificaciones para FertiNitro y la Demandada
        en ese momento, la Demandada (a través de Pequiven) invitó a KNI a continuar comprando
        el producto de FertiNitro.

        El primer intercambio pertinente entre FertiNitro y KNI fue la carta de fecha 26 de
        noviembre de 2010 remitida por el Sr. Edgar Alonso Flóres (gerente comercial de
        FertiNitro) al Sr. Strand (en nombre de KNI) en la que se confirmaba “la continuación del
        Offtake Agreement en virtud del cumplimiento de cada cláusula [...]” 361 [Traducción del
        Tribunal].Fue seguido por la carta de fecha 1 de diciembre de 2010 del Sr. Perdomo
        (gerente general de FertiNitro) también al Sr. Strand (testigo para KNI), confirmando “la




358
    Primera Audiencia (septiembre), D3.99-101.
359
    Declaración Testimonial de Brent W. Gwaltney (30 de mayo de 2012) (“Gwaltney DT1”), Párrafo 122.
360
    Declaración Testimonial de Melquíades A. Parra (29 de mayo de 2012) (“Parra WS1”), Párrafo 73.
361
    Correo electrónico de E. Flores a J. Strand in re: FertiNitro (26 de noviembre de 2010) (C-111).


                                                    154
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 471 of 622




        continuación y el cumplimiento del Offtake Agreement” 362 [Traducción del Tribunal].
        (Ambas cartas se citan en mayor grado de detalle en la Parte V supra).

        En cuanto a esta primera carta, el Sr. Flóres declaró que FertiNitro no tenía ningún producto
        disponible para su entrega a KNI en octubre de 2010 debido a que la Planta de FertiNitro
        estaba cerrada: y que el Sr. Perdomo le había solicitado enviar su carta al KNI 363. En cuanto
        a esta segunda carta, el Sr. Perdomo no fue presentado por la Demandada como testigo en
        este arbitraje.

        El próximo intercambio relevante se produjo con la visita del Sr. García (de Pequiven y
        miembro del consejo de administración ad hoc de FertiNitro) a los Sres. Gwaltney y Parra
        (de KNI) el 2 de diciembre de 2010. El Sr. Gwaltney declaró: “[El Sr. García] [r]ecalcó
        que su tarea principal era mantener la estabilidad en FertiNitro mientras que se gestaban
        las negociaciones de Pequiven con los prestamistas para repagar la deuda pendiente. Dijo
        que Pequiven quería que KNI tomara producto de FertiNitro hasta que Pequiven hubiera
        llegado a algún acuerdo con los prestamistas para prevenir el caer en una situación de
        impago. Agregó que una vez que se llegara a un acuerdo con los prestamistas, Pequiven
        trabajaría para compensar a los accionistas y asumiría la obligación de KNI de comprar el
        producto” 364. El Sr. Parra declaró en términos similares: “Nos dijo que Pequiven quería
        que KNI siguiera llevándose el producto de FertiNitro hasta que Pequiven hubiese llegado
        a una resolución con los prestamistas y los tenedores de bonos. Agregó que una vez que se
        avanzara un acuerdo con los prestamistas y tenedores de bonos, Pequiven se dedicaría a
        compensar a los accionistas y compraría la parte del offtake correspondiente a KNI” 365. El
        Sr. García no fue ofrecido por la Demandada como testigo en este arbitraje.

        En respuesta a la correspondencia de Pequiven y la visita de García, el Sr. Gwaltney
        escribió el mensaje de correo electrónico de KNI, de fecha 3 de diciembre de 2010, al Sr.
        Perdomo (de FertiNitro), que fue citado nuevamente en la Parte V supra 366. Se puede


362
    Carta de J. Perdomo a J. Strand (1 de diciembre de 2010) (C-112).
363
    Primera Audiencia (septiembre), D4.74 y ss.
364
    Gwaltney DT1, Párrafo 126.
365
    Parra DT1, Párrafo 75.
366
    Correo electrónico de B. Gwaltney a J. Perdomo, con copia a J. Strand, T. Parra, F. Garcia re: KNI Offtake (3 de
    diciembre de 2010) (C-113).


                                                       155
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 472 of 622




        suponer que, para ambas partes, los abogados estaban ahora involucrados activamente en
        la redacción o el control de toda la correspondencia entre Pequiven y KNI. Las palabras
        ahora importaban para todas las partes; sin embargo, conforme la opinión del Tribunal, la
        conducta contemporánea de las partes es más significativa, vista objetivamente.

        El Sr. Flóres (de FertiNitro) vio el correo electrónico enviado por el Sr. Gwaltney al Sr.
        Perdomo “[d]ías después que lo recibió el Sr. Perdomo” 367.Confirmó que ni él ni nadie en
        FertiNitro respondió al Sr. Gwaltney ni formuló ninguna objeción a KNI con respecto a su
        correo electrónico 368. Si FertiNitro no estaba de acuerdo con el entendimiento de KNI
        respecto a la posición después de los acontecimientos del 11 de octubre de 2010, FertiNitro
        debería haberlo dicho en ese momento antes de que las entregas a KNI se reiniciaran al
        final del 2010. No se presentaron pruebas ante este Tribunal de que la omisión de FertiNitro
        derivara de cualquier inadvertencia o error. En estas circunstancias, KNI podía
        razonablemente entender, como lo hizo, que FertiNitro compartía la comprensión de KNI
        de la situación.

        En los casos en que sus relatos difieren en relación con estos diversos hechos, la mayoría
        del Tribunal considera más convincente la declaración testimonial del Sr. Gwaltney y el
        Sr. Parra convocados por KNI sobre los testigos de hecho llamados por la Demandada.

        A partir del 3 de diciembre de 2010, la mayoría del Tribunal observó que KNI retiró una
        cantidad de producto de FertiNitro bajo los términos del mensaje de correo electrónico del
        Sr. Gwaltney, de fecha 3 de diciembre de 2010, durante unos 15 meses, y alcanzó un total
        de aproximadamente 333.000 toneladas de amoniaco y 650.000 toneladas de urea. Dicha
        repartición del producto cesó con la carta de FertiNitro de fecha 28 de febrero de 2012,
        firmada por el Sr. Hernández (en su carácter de presidente del consejo de administración
        ad hoc de FertiNitro) 369. Esta carta fue redactada con el asesoramiento jurídico del Sr.
        Barrientos, tal como confirmara en su declaración testimonial 370. El Sr. Barrientos también
        declaró, algo descontento, que FertiNitro hubiera continuado vendiendo productos a KNI,


367
    Primera Audiencia (septiembre), D4.76.
368
    Primera Audiencia (septiembre), D4.76-77.
369
    Carta de B. Hernández a Koch Oil SA y Koch Nitrogen Company re: Offtake Agreement (28 de febrero de 2012)
    (C-114).
370
    Primera Audiencia (septiembre), D3.69.


                                                    156
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 473 of 622




           de no haber sido por el Decreto de Expropiación y la renuncia del directorio de
           FertiNitro 371. El Sr. Hernández no fue ofrecido por la Demandada como testigo en este
           arbitraje. (Los términos relevantes de esta carta también se recitan en la Parte V supra).

           La carta de FertiNitro de fecha 28 de febrero de 2012 no fue expresada como una rescisión
           del Offtake Agreement. Anunciaba que FertiNitro ya no vendería su producto a KNI en
           virtud del Offtake Agreement, “todo en cumplimiento de lo establecido en el [Decreto de
           Expropiación] mediante el cual se ordena la adquisición forzosa de los bienes muebles e
           inmuebles […]”. Al parecer, en dicho momento, FertiNitro y la Demandada ya no corrían
           el riesgo de incumplimiento respecto de los tenedores de bonos y los bancos, ya que
           FertiNitro aparentemente había satisfecho la deuda con sus prestamistas para el mes de
           diciembre de 2011, siguiendo el Acuerdo Stand Still de diciembre de 2010 (no presentado
           por la Demandada en este arbitraje). Por lo tanto, pareciera que los ingresos de venta de
           KNI ya no eran necesarios para evitar un acto de incumplimiento por parte de FertiNitro.
           No queda claro para la mayoría del Tribunal, en base a las pruebas disponibles en este
           arbitraje, que el Offtake Agreement fuera rescindido en febrero de 2012, ya sea por
           FertiNitro, Pequiven o la Demandada (no fue rescindido por KNI). Lo que se extinguió
           fue el arreglo ad hoc descrito en el mensaje de correo electrónico del Sr. Gwaltney de fecha
           3 de diciembre de 2010.

           A juicio de la mayoría del Tribunal, existe una diferencia sustancial entre la posición de las
           partes bajo el Offtake Agreement antes de la expropiación el 11 de octubre de 2010 y su
           posición posterior al 28 de febrero de 2012 en los términos del correo electrónico del Sr.
           Gwaltney de fecha 3 de diciembre de 2010.

           El Sr. Parra (del grupo de empresas Koch y ex director de FertiNitro) declaró respecto de
           esta diferencia para el período iniciado el 11 de octubre de 2010 372:

             “Ya no había Contrato Offtake. Comprábamos según el Mercado Spot. Para mí las
             cosas estaban ya clarísimas. Esto era un acuerdo estilo Spot, y ya no un Contrato de
             Offtake. Si Ud. quiere, se lo explico. Las condiciones de compra eran muy distintas
             de las condiciones de compra anteriores, que correspondían, por supuesto, al

371
      Primera Audiencia (septiembre), D3.76-77.
372
      Primera Audiencia (septiembre), D2.80-81.


                                                    157
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 474 of 622




  Contrato Offtake. Ahora, teníamos la obligación de comprar según el Mercado Spot.
  El suministrador no tenía la menor obligación de suministro efectivo del producto.
  El mecanismo de precio, las dos partes, se pusieron de acuerdo para que fuese el
  mismo mecanismo, pero fue esta una cuestión sencillamente práctica, porque la
  fórmula había funcionado hasta ese entonces, y se decidió continuar con la misma
  fórmula. Pero las ventas no eran en absoluto lo mismo que antes de la expropiación.
  No había periodos específicos en juego, no había obligación de compra, no había
  obligación de tomar el producto. Era un contratado de naturaleza totalmente distinta
  a la del Contrato Offtake”.

El cambio significó que, con el control pleno de FertiNitro y su producción por parte de la
Demandada, KNI perdió toda garantía contractual de suministro de FertiNitro. Así pues,
KNI no pudo optimizar las futuras ventas de productos ni optimizar los futuros acuerdos
de transporte de mercancías. Tal como declarara el Sr. Parra, la modificación exigía que
KNI actuara, efectivamente, en el mercado spot. Esta operación disminuida mitigó las
pérdidas resultantes de KNI, hasta el 28 de febrero de 2012; no obstante, si bien es
pertinente para la evaluación de la compensación (que se aborda en la Parte IX infra), no
puede afectar la cuestión de la responsabilidad al 11 de octubre de 2010. Conforme la
opinión de la mayoría del Tribunal, los derechos de KNI relativos al Offtake Agreement
fueron anulados a partir del 11 de octubre de 2010.

Independientemente de las numerosas sugerencias en sentido contrario, incluida la oferta
provisional de compensación del Sr. García de fecha 2 de diciembre de 2010 (tal como sea
describiera supra), la Demandada no ha presentado ninguna oferta significativa de
compensación ni proporcionado ningún procedimiento significativo de compensación a
KNI conforme lo exige el Artículo 6 del Tratado.

Así como el Offtake Agreement formaba parte integral de la inversión única de las
Demandantes en el proyecto FertiNitro (inicialmente ambas realizadas por KOMSA),
también fue objeto de la expropiación de la Demandada, que comprendía tanto la
participación de KOMSA en FertiNitro como los derechos de KNI relativos al Offtake
Agreement. A partir del 11 de octubre de 2010, FertiNitro estuvo completamente controlada
y permanentemente impedida por la Demandada para cumplir con sus obligaciones
respecto de KNI en virtud del Offtake Agreement, salvo y en la medida en que la
Demandada pudiera permitir a FertiNitro vender productos a KNI en términos


                                       158
         Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 475 of 622




          sustancialmente diferentes de los proporcionados por el Offtake Agreement; es decir, en los
          términos del correo electrónico del Sr. Gwaltney de fecha 3 de diciembre de 2010. A raíz
          de los sucesos del 11 de octubre de 2010, FertiNitro, su producción y ventas quedaron
          sujetas al pleno y efectivo control de la Demandada debido a la nacionalidad venezolana
          de FertiNitro y su ubicación en Venezuela, con el lugar de ejecución del Offtake Agreement
          por parte de FertiNitro también ubicado en Venezuela.

          El 28 de febrero de 2012, mediante una referencia expresa al Decreto de Expropiación, la
          Demandada (a través de Pequiven y FertiNitro) dejó de permitir tales ventas a KNI.
          FertiNitro permaneció plena y efectivamente controlada por la Demandada, por lo que la
          Demandada no le permitió a FertiNitro realizar nuevas ventas ad hoc a KNI a partir del 28
          de febrero de 2012, de la misma manera en que se le había impedido ejecutar el Offtake
          Agreement a partir del 11 de octubre de 2010. A lo largo de todo esto, por lo tanto,
          FertiNitro (con Pequiven) actuaron bajo la “dirección o control” de la Demandada en el
          sentido del Artículo 8 de los Artículos de la CDI sobre la Responsabilidad del Estado.

          El Tribunal no considera que el Offtake Agreement pueda ser tratado como un mero acuerdo
          de venta offshore no relacionado con la participación de KOMSA en FertiNitro. Es
          necesario considerar las medidas de la Demandada de fecha 11 de octubre de 2010 como
          la expropiación indirecta de una sola inversión integrada. Tal como resolviera el tribunal
          CIADI del caso Electrabel c. Hungría 373:

             “Si fuera posible analizar con facilidad una inversión en varias partes componentes,
             cada una formando una inversión [...] separada, se convertiría en insignificante el
             enfoque del tribunal [en el caso Tecmed] relativo a la expropiación indirecta basada
             en la ‘privación radical’ y la ‘privación de cualquier objeto real’ por ser similar en
             efecto a una expropiación directa o nacionalización. También significaría,
             absurdamente, que un inversionista siempre podría cumplir la prueba de la
             expropiación indirecta dividiendo su inversión en tantas partes como las
             circunstancias particulares lo requiriesen, sin que la inversión en su conjunto
             pudiera cumplir jamás esa misma prueba”. [Traducción del Tribunal]




373
      Electrabel S.A. c. República de Hungría, Caso CIADI N.° ARB/07/19, Decisión sobre Jurisdicción, Derecho
      Aplicable y Responsabilidad (30 de noviembre de 2012) (RLA-110) Párrafo 6.57.


                                                     159
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 476 of 622




           La mayoría del Tribunal considera tanto la inversión original de KOMSA como el Offtake
           Agreement como un paquete unitario. Al igual que la inversión original no habría tenido
           lugar sin el Offtake Agreement, la expropiación del 11 de octubre de 2010 no se limitaba a
           los activos físicos ni a los accionistas de FertiNitro, tal como expresan las declaraciones
           públicas del Ministro al explicar el efecto previsto del Decreto de Expropiación. La
           inversión de KNI no puede ser cortada y aislada, como un trozo de salchicha.

           Por otra parte, la mayoría del Tribunal no considera que se trate de un caso en el que los
           derechos de KNI relativos al Offtake Agreement (por razón de su legislación aplicable
           extranjera y sede arbitral extranjera) no podrían ser objeto de ningún reclamo con arreglo
           al Artículo 6 del Tratado contra la Demandada debido a que cualquier reclamo de KNI sólo
           podría ser un reclamo contractual contra FertiNitro, sujeto a una ley sustantiva extranjera
           y, en teoría, con un recurso arbitral en un país extranjero. Tal como KNI ha puesto de
           manifiesto desde el inicio de este arbitraje, su reclamo es presentado contra la Demandada
           en virtud del Tratado y el derecho internacional y no como un reclamo contractual contra
           su co-contratista, FertiNitro, en virtud de cualquier ley nacional. La Demandada nunca fue
           parte del Offtake Agreement; los procedimientos nacionales e internacionales resultan de
           diferentes causas de acción con diferentes formas de reparación bajo diferentes sistemas
           jurídicos aplicables; y en este caso no existe satisfacción de una triple prueba de identidad.
           En este caso, tal recurso contractual (si es que en la práctica existía) no extingue el recurso
           de KNI contra la Demandada por la expropiación indirecta de sus derechos relativos al
           Offtake Agreement conforme al Artículo 6 del Tratado, conforme lo alegado por KNI.

           En tal sentido, no es necesario enumerar aquí la larga lista de laudos desde Vivendi
           Anulación I en adelante, que distingue consistentemente entre un reclamo contractual y un
           reclamo al amparo de un tratado en un arbitraje CIADI u otro arbitraje internacional
           inversionista-Estado 374. El reclamo de KNI basado en el Artículo 6 es manifiestamente un
           reclamo al amparo de un tratado formulado en virtud del Tratado contra la Demandada y
           no un reclamo contractual en virtud del Offtake Agreement contra FertiNitro.                       Es
           igualmente innecesario enumerar los materiales jurídicos que establecen que el derecho

374
      Compañía de Aguas del Aconquija S.A. and Vivendi Universal S.A. c. República Argentina, Caso CIADI N.°
      ARB/97/3, Laudo (21 de noviembre de 2000); véase también Christoph H. Schreuer et al, The ICSID Convention:
      A Commentary (2nd ed., 2009), 73 y ss.


                                                       160
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 477 of 622




        internacional general prohíbe la expropiación ilícita de derechos contractuales, tanto
        directa como indirectamente, como así también lo hace el Tratado 375. En virtud del
        Tratado, por ende, no existen motivos para anular los derechos del inversionista extranjero
        respecto de la ejecución de su contrato por su contraparte, cuando dicha ejecución ha sido
        deliberadamente frustrada y despojada de valor por el Estado receptor en el lugar de
        ejecución mediante el ejercicio ilícito de una facultad iure imperii dentro del propio
        territorio del Estado.

        En estas circunstancias, el Tribunal decide (por mayoría) que la Demandada expropió ilícita
        e indirectamente los derechos de KNI relativos al Offtake Agreement el 11 de octubre de
        2010 en violación del Artículo 6 del Tratado, tal como demuestran el Decreto de
        Expropiación 7713 y las declaraciones públicas del Ministro, ambos de fecha 11 de octubre
        de 2010, atribuibles a la Demandada. Así lo confirmó la carta de FertiNitro de fecha 28 de
        febrero de 2012, en la que se hacía referencia al “cumplimiento de lo establecido en el
        [Decreto de Expropiación] mediante el cual se ordena la adquisición forzosa de los bienes
        muebles e inmuebles” 376. Al igual que en el caso de KOMSA, en virtud de lo dispuesto en
        el Artículo 9(4) del Tratado, el Tribunal (por mayoría) confirma que dicha expropiación es
        ilícita porque la Demandada violó las obligaciones que le incumben en virtud del Artículo
        6 del Tratado.

        Es evidente, pero es preferible confirmarlo expresamente, que el Tribunal ha hecho todo lo
        posible para comprender, quizás durante demasiado tiempo, el razonamiento diferente de
        sus miembros, tanto en lo que respecta a la responsabilidad de la Demandada por el reclamo
        de KNI como también (como se verá en la Parte IX infra) la cuantía del reclamo de KNI,
        si se asume dicha responsabilidad. Aunque la discrepancia de la minoría plantea factores
        que no se encuentran en la primera línea de los argumentos respectivos de las Partes,
        lamentablemente estas diferencias persisten entre la mayoría y la minoría del Tribunal; y,


375
    Véase, por ejemplo, Caso The Norwegian Shipowners (Noruega c. Estados Unidos), RIAA (13 de octubre de 1922),
    Volumen I, Página 307 (1948), 325; Southern Pacific Properties (Middle East) Limited c. República Árabe de
    Egipto, Caso CIADI N.° ARB/84/3, Laudo (20 de mayo de 1992), Párrafo 165; y Bayindir Insaat Turizm Ticaret
    Ve Sanayi A.Ş. c. República Islámica de Pakistán, Caso CIADI N.° ARB/03/29, Decisión sobre Jurisdicción (14
    de noviembre de 2005) (CLA-11), Párrafo 255.
376
    Carta de B. Hernández a Koch Oil SA y Koch Nitrogen Company re: Offtake Agreement (28 de febrero de 2012)
    (C-114).


                                                     161
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 478 of 622




           como es su derecho, la minoría ha asentado su desacuerdo con la mayoría en una opinión
           disidente adjunta a este Laudo, tal como lo requiere la Regla 47(3) de las Reglas de
           Arbitraje CIADI 377.

(5)        Decisiones del Tribunal
           KOMSA: El Tribunal decide que la Demandada es responsable ante KOMSA respecto de
           su reclamo por la violación por parte de la Demandada del Artículo 6 del Tratado el día 11
           de octubre de 2010.

           KNI: El Tribunal (por mayoría) decide que la Demandada es responsable ante KNI respecto
           de su reclamo por la violación por parte de la Demandada del Artículo 6 del Tratado el día
           11 de octubre de 2010.




377
      La génesis de la disidencia del árbitro disidente puede encontrarse en A. Mann ‘State Contracts and State
      Responsibility’ in Studies in International Law (OUP, 1973), citado en la disidencia de la minoría.


                                                      162
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 479 of 622




                     PARTE VIII: CUESTIONES AJENAS A LA EXPROPIACIÓN



(1)        Introducción
           Las “Pérdidas Históricas” de KOMSA se presentan como reclamos contra la Demandada
           en virtud del Artículo 4(1), del Artículo 4(2) y del Artículo 11(2) del Tratado. Comprenden
           las pérdidas supuestamente sufridas por KOMSA resultantes de las pérdidas supuestamente
           sufridas originalmente por FertiNitro, a causa de: (i) impuestos nuevos y más altos, (ii) el
           incumplimiento con el pago (o pago tardío) de créditos tributarios en razón del IVA, (iii)
           el efecto del Decreto de la Urea y la Resolución de la Urea y (iv) la interferencia en la
           actividad comercial de FertiNitro.

           La compensación total reclamada por KOMSA en concepto de sus “Pérdidas Históricas”
           asciende a USD 42 millones. Para KOMSA, el Sr. Giles calcula el desglose de este importe
           total de la siguiente manera: (i) USD 4,7 millones para el aumento de los impuestos
           nacionales y USD 5,4 millones para el nuevo Impuesto de Ciencia y Tecnología; (ii) USD
           7,7 millones para el IVA; (iii) USD 22,4 millones como resultado para el Decreto de la
           Urea y la Resolución de la Urea; y (iv) en cuanto a la interferencia en la actividad comercial
           de FertiNitro, el Sr. Giles no ofrece ninguna cifra específica 378.

           Para la Demandada, el Dr. Flores no ofrece ninguna cifra específica de “Pérdidas
           Históricas”. Sin embargo, en relación con el IVA, el Dr. Flores declaró que incluyó los
           créditos del IVA, de FertiNitro, que estaban pendientes, como capital circulante dentro de
           sus cálculos de FCD para la participación expropiada de KOMSA en FertiNitro (sin llegar
           a una cifra específica individual). El Dr. Flores también testificó que KOMSA no tuvo
           pérdida alguna a partir de la devaluación de la moneda de Venezuela con respecto a créditos
           del IVA porque FertiNitro utilizó sus créditos del IVA con el fin de abonar impuestos
           locales en moneda venezolana 379.




378
      EPA Koch, Tabla 4, “Puntos de Desacuerdo - Pérdidas Históricas” (descriptos a continuación en la Parte IX).
379
      Informe Pericial de Daniel Flores (28 de febrero de 2013) (“Flores IP1”), Párrafo 168; Segundo Informe Pericial
      de Daniel Flores (3 de marzo de 2014) (“Flores IP2”), Párrafo 240.


                                                         163
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 480 of 622




        El Tribunal resume a continuación los argumentos respectivamente planteados por
        KOMSA y la Demandada, en cuanto a la ley aplicable y los hechos. A continuación, aborda
        a su vez el fondo de cada reclamo. Existe una superposición significativa en cuanto a las
        bases legales y fácticas de los reclamos de KOMSA.

(2)     El Estándar de TJE - Artículo 4(1) del Tratado
        El argumento de KOMSA: En síntesis, en cuanto al derecho, KOMSA aduce que el
        estándar de TJE de conformidad con el Artículo 4(1) protege las expectativas legítimas de
        los inversionistas en relación con su inversión 380, mediante cita del caso Tecmed c.
        México 381. Concluye que los Estados no deben frustrar las expectativas legítimas de un
        inversionista de que no actuará de manera arbitraria o inconsistente con su marco legal y,
        más en general, que las modificaciones del marco jurídico, regulatorio y comercial en el
        que confió el inversionista constituyen una violación del estándar de TJE, y cita además
        los casos Thunderbird c. México 382,Occidental c. Ecuador 383,y National Grid c.
        Argentina 384. KOMSA aduce también que, de conformidad con el estándar de TJE, el
        requisito de transparencia y equidad procesal incluye la apertura en el proceso de toma de
        decisiones de un Estado en relación con las inversiones, así como la participación de los
        inversionistas en ese proceso 385, y cita a tal efecto los casos Tecmed c. México y Waste
        Management c. México 386.

        KOMSA invoca también, en virtud del estándar de TJE, el requisito de mantener un entorno
        jurídico y empresarial estable y predecible, lo cual se superpone con los requisitos relativos
        a la expectativa legítima y la transparencia 387, al citar los casos CMS c. Argentina 388, LG&E

380
    Mem. Koch, Párrafos 242-253.
381
    Técnicas Medioambientales Tecmed, S.A. c. Estados Unidos Mexicanos, Caso CIADI N.° ARB (AF)/00/2, Laudo
    (29 de mayo de 2003) (CLA-28).
382
    International Thunderbird Gaming Corp. c. Estados Unidos Mexicanos, CNUDMI (TLCAN), Laudo (26 de enero
    de 2006) (CLA-31).
383
    Occidental Exploration and Production Co. c. República del Ecuador, CNUDMI (LCIA) Caso N.° UN 3467,
    Laudo Definitivo (1 de julio de 2004) (CLA-27).
384
    National Grid P.L.C. c. República Argentina, CNUDMI, Laudo (3 de noviembre de 2008) (“National Grid c.
    Argentina”) (CLA-32).
385
    Répl. Koch, Párrafos 242-245; 278-283; Répl. Koch, Párrafos 232-233.
386
    Waste Management, Inc. c. Estados Unidos Mexicanos, Caso CIADI N.° ARB(AF)/00/3, Laudo (30 de abril de
    2004) (CLA-34).
387
    Mem. Koch, Párrafos 293-299.
388
    CMS Gas Transmission Co c. República Argentina, Caso CIADI N.º ARB/01/8, Laudo (12 de mayo de 2005)
    (CLA-36), Párrafo 276 (anulado parcialmente).


                                                   164
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 481 of 622




        c. Argentina 389, PSEG c. Turquía 390 y Bayindir c. Pakistán 391. KOMSA invoca el requisito
        de coherencia, al citar el caso Tecmed, siendo aplicable a todas las partes constitutivas del
        Estado 392; y el requisito de que los Estados no deben abusar de su autoridad 393.

        En cuanto a los hechos, KOMSA alega las siguientes violaciones del estándar de TJE del
        Tratado 394:

        Impuestos: La Demandada impuso una serie de impuestos nuevos y más altos a FertiNitro
        que perjudicaron su rentabilidad en perjuicio de KOMSA, a saber, el nuevo Impuesto de
        Ciencia y Tecnología (2% de los ingresos brutos que en última instancia causó que
        FertiNitro pagara USD 22,35 millones desde el año 2006 hasta el mes de octubre 2010) y
        el aumento de los impuestos municipales (del 1 al 4%, lo que eventualmente generó que
        FertiNitro abonara USD 18,82 millones también desde el año 2006 al mes de octubre de
        2010) 395.

        IVA: La Demandada repetidamente no otorgó, ya sea prontamente o en absoluto, créditos
        del IVA a FertiNitro desde el año 2005, lo que eventualmente resultó en una deuda por
        parte de la Demandada en favor de FertiNitro de USD 28,3 millones en créditos del IVA 396.

        Decreto de la Urea y Resolución de la Urea: Estas nuevas normas relativas a la urea
        afectaron a FertiNitro desde el año 2007.La Demandada había dado garantías a un tercero
        (METOR) de que estas nuevas normas no se aplicarían a las empresas existentes, tales
        como FertiNitro. Dicha imposición interfirió con la fijación de precios de los productos de
        FertiNitro y, también, con la asignación de los mercados de exportación entre FertiNitro y
        Pequiven en virtud del Offtake Agreement 397.


389
    LG&E Energy Corp., LG&E Capital Corp. y LG&E International Inc. c. República Argentina, Caso CIADI N.º
    ARB/02/1, Decisión sobre Responsabilidad (3 de octubre de 2006) (CLA-39), Párrafo. 131.
390
    PSEG Global Inc. y Konya Ilgin Elektrik Üretim ve Ticaret Limited Sirketi c. República de Turquía, Caso CIADI
    N.º ARB 02/5, Laudo (19 de enero de 2007) (CLA-40) Párrafo 254.
391
    Bayindir Insaat Turizm Ticaret Ve Sanayi A.Ş. v. República Islámica del Pakistán, Caso CIADI N.º ARB/03/29,
    Decisión sobre Jurisdicción (14 de noviembre de 2005) (CLA-11), Párrafo 240.
392
    Mem. Koch, Párrafos 311-313.
393
    Mem. Koch, Párrafo 316.
394
    EPA Koch, Párrafos 103-108.
395
    Mem. Koch, Párrafos 256-260.256-260, 285, 315, 318; Répl. Koch, Párrafos 220-225; 236-240.
396
    Mem. Koch, Párrafos 261-267, 285, 286-288, 300-304, 315, 318; Répl. Koch, Párrafos 226-227; 241-242.
397
    Mem. Koch, Párrafos 268-277, 305-310, 315, 319-324; Répl. Koch, Párrafos 228-231, 243-244; EPA Koch, Párrafo
    103.


                                                      165
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 482 of 622




        Interferencia: La Demandada interfirió progresivamente con la gestión, las operaciones y
        la rentabilidad de FertiNitro, si bien KOMSA había recibido garantías de que Pequiven
        actuaría exclusivamente en carácter de “socio comercial”. Como ejemplo, los Demandantes
        se refieren al Informe del Comisario del 7 de septiembre de 2006 398, como prueba de la
        interferencia indebida en la actividad comercial de FertiNitro. La Demandada expropió en
        última instancia la participación de KOMSA en FertiNitro de manera ilícita en el mes de
        octubre de 2010 399. (El Tribunal ya ha analizado este reclamo de expropiación con arreglo
        al Artículo 6 del Tratado, en la Parte VII supra, por lo cual no es necesario volver a hacerlo
        aquí).

        El argumento de la Demandada: En síntesis, en cuanto al derecho, la Demandada aduce
        que KOMSA se basa en una definición demasiado general del estándar de TJE, ignorando
        así tanto el texto del Tratado como el derecho internacional 400. La Demandada hace
        hincapié en la redacción “de conformidad con las normas y criterios del Derecho
        Internacional” del Artículo 4(1) del Tratado. También cita las decisiones 401 de los casos
        Lauder c. República Checa 402, Glamis Gold c. EE.UU. 403 y El Paso c. Argentina 404. Afirma
        que los estándares de TJE redactados de la misma forma en estos casos se interpretaron
        correctamente como el estándar mínimo bajo derecho consuetudinario internacional. La
        Demandada también se basa en la decisión del caso Flughafen c. Venezuela (en el cual se
        analizó el mismo Tratado), y alega que el tribunal de dicho caso interpretó el Artículo 4(1)
        del Tratado como el estándar mínimo en virtud del derecho internacional
        consuetudinario 405.

        La Demandada cuestiona que KOMSA se base en la formulación general del estándar de
        TJE del caso Tecmed. Afirma que el laudo del caso Tecmed ha sido ampliamente criticado


398
    Informe del Comisario (C-63).
399
    Mem. Koch, Párrafos 289-292, 315; EPA Koch, Párrafo 103.
400
    Mem. C. Ven., Párrafo 202.
401
    Mem. C. Ven., Párrafos 204-207.
402
     Ronald S. Lauder c. República Checa, CNUDMI, Laudo Definitivo (3 de septiembre de 2001) (“Lauder c.
    República Checa”) (CLA-45).
403
    Glamis Gold, Ltd. c. Estados Unidos de América, CNUDMI, Laudo (8 de junio de 2009) (RLA-83).
404
    El Paso Energy International Company c. República Argentina, Caso CIADI N.° ARB/03/15, Laudo (31 de octubre
    de 2011) (“El Paso c. Argentina”) (CLA-52).
405
    Flughafen Zurich A.G. y Gestión e Ingeniería IDC S.A. c. República Bolivariana de Venezuela, Caso CIADI N.º
    ARB/10/19, Laudo (18 de noviembre de 2014) (“Flughafen c. Venezuela”) (RLA-154).


                                                     166
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 483 of 622




           y que contradice la redacción expresa del Artículo 4(1) del Tratado. Rechaza también otras
           decisiones citadas por KOMSA como inapropiadas debido a que los estándares de TJE en
           dichos casos no se refieren expresamente al derecho internacional consuetudinario, como
           en el presente caso. La Demandada concluye que, incluso al adoptar una interpretación
           amplia del estándar de TJE, KOMSA no articula las fuentes probatorias relativas a sus
           expectativas ni respecto de cómo esas expectativas eran, de hecho, legítimas 406.

           Generalmente, al igual que con todas las “Pérdidas Históricas” de KOMSA, la Demandada
           sostiene que las supuestas pérdidas de KOMSA no son posibles de ser recuperadas bajo el
           Tratado, a menos que KOMSA pruebe que las acciones presuntamente ilícitas de la
           Demandada afectaron la propia situación financiera de KOMSA (como “daños
           trasladados”), y que no sólo afectaron a FertiNitro (lo cual, respecto de ambos, es negado
           por la Demandada). La Demandada arguye que KOMSA no ha podido probar que sufrió
           pérdidas propias, tales como la pérdida de dividendos en su carácter de accionista
           minoritario indirecto en FertiNitro.

           La Demandada niega las alegaciones de hecho presentadas por KOMSA, de la siguiente
           manera:

           Impuestos: La Demandada afirma que las medidas tributarias nuevas e incrementadas no
           violan el estándar de TJE debido a que KOMSA no podía tener ninguna expectativa
           legítima de que las tasas de impuestos permanecerían sin cambios a falta de declaraciones
           o compromisos específicos de la Demandada. No existieron tales declaraciones ni
           garantías; tampoco ningún acuerdo de estabilización celebrado entre KOMSA (o
           FertiNitro) y la Demandada 407. Además, la Demandada sostiene que el aumento de esos
           impuestos no fue ni flagrante ni alarmante. La Demandada se refiere a las decisiones de los




406
      Mem. C. Ven., Párrafos 204-217; Dúpl. Koch, Párrafos 252-274; EPA Ven., Párrafos 116-121.
407
      Dúpl. Ven., Párrafos 279, 515.


                                                       167
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 484 of 622




        casos Paushok c. Mongolia 408, EnCana c. Ecuador 409, EDF c. Rumania 410 y El Paso c.
        Argentina 411.

        La Demandada sostiene además que las medidas fiscales eran transparentes y que no eran
        procesalmente injustas; asimismo, KOMSA no señaló ninguna prueba que pudiera
        demostrar lo contrario. Además, la Demandada sostiene que el estándar de TJE conforme
        al derecho internacional consuetudinario no impone un requisito tal en cuanto a
        transparencia 412.

        IVA: La Demandada arguye que su tratamiento de los créditos del IVA de FertiNitro no
        violó el estándar de TJE porque: (a) se emitieron créditos del IVA por cada solicitud
        presentada por FertiNitro, aunque sujetas a demoras comunes en Venezuela; (b) el
        procesamiento de la devolución de créditos fue transparente y procesalmente justo, de
        conformidad con la legislación venezolana; (c) las demoras de la Demandada relativas al
        tratamiento de los créditos del IVA no crearon un marco jurídico incoherente, inestable o
        impredecible, ya que dichos retrasos se aplicaban generalmente a cualquier solicitante en
        Venezuela, incluido FertiNitro. Además, según lo alegado por la Demandada, FertiNitro
        contaba con recursos legales para objetar a las demoras ante los tribunales venezolanos, lo
        cual FertiNitro optó por no hacer 413. La Demandada también rechaza la afirmación de
        KOMSA de que los créditos del IVA podían ser reembolsados directamente a KOMSA, en
        su carácter de accionista minoritario de FertiNitro (el contribuyente del IVA) 414.

        La Demandada también sostiene que KOMSA se equivoca al señalar que parte del IVA
        pendiente posible de recuperación fue ‘cancelado’ por la Demandada durante el período
        comprendido entre los años 2006-2010.En su lugar, tal como la Demandada alega,
        FertiNitro simplemente tomó las provisiones contables (o asignaciones) de su balance
        conforme a las normas de presentación de informes. La Demandada sostiene que la

408
    Sergei Paushok, CJSC Golden East Co. y CJSC Vostokneftegaz Co c. Gobierno de Mongolia, CNUDMI, Laudo
    sobre Jurisdicción y Responsabilidad (28 de abril de 2011) (“Paushok c. Mongolia”) (RLA-94).
409
    EnCana Corporation c. República de Ecuador, CNUDMI, Laudo (3 de febrero de 2006) (“EnCana c. Ecuador”)
    (RLA-71).
410
    EDF (Services) Ltd. c. Rumania, Caso CIADI N.° ARB/05/13, Laudo (8 de octubre de 2009) (RLA-85).
411
    Mem. C. Ven., Párrafos 225-235; Dúpl. Koch, Párrafos 276-287; EPA Ven., Párrafos 124-129.
412
    Mem. C. Ven., Párrafos 236-239; Dúpl. Koch, Párrafo 291; EPA Ven., Párrafo 144.
413
    Dúpl. Ven., Párrafo 107.
414
    Mem. C. Ven., Párrafos 240-248; Dúpl. Koch, Párrafo 287; EPA Ven., Párrafos 133-139.


                                                  168
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 485 of 622




           documentación financiera demuestra que los créditos fueron de hecho recuperados, de
           manera que ningún daño fue eventualmente sufrido por FertiNitro. La Demandada aduce
           que, en cambio, el enfoque del Sr. Giles es defectuoso, ya que da lugar a un cómputo doble,
           triple y cuádruple.

           Decreto de la Urea y Resolución de la Urea: Las nuevas normas de urea no frustraron
           ninguna de las expectativas legítimas de KOMSA porque no tenían derecho a ninguna
           estabilización reglamentaria en ausencia de un compromiso contractual específico asumido
           por parte de la Demandada hacia KOMSA. En cualquier caso, las normas fueron
           promulgadas para promover una política legítima de la Demandada relacionada con la
           seguridad de los alimentos; y podían ser impugnadas ante los tribunales venezolanos si
           FertiNitro (junto con KOMSA) así lo deseaba; pero no fueron objetadas de tal manera 415.

           Interferencia: La Demandada afirma que la participación de Pequiven en la administración
           y las operaciones de FertiNitro no violó el estándar de TJE debido a que Pequiven era
           administrada como una entidad comercial, no política; Pequiven era accionista de
           FertiNitro; era una parte del Offtake Agreement; y FertiNitro no estaba controlada por
           Pequiven. Asimismo, KOMSA contaba con los recursos jurídicos, en virtud del derecho
           societario venezolano, para impugnar ciertas medidas tales como la designación de nuevos
           directores por parte de Pequiven, los cuales decidió no utilizar.

           La Demandada sostiene que el Informe del Comisario (el cual KOMSA alega que
           constituye una prueba de la interferencia de la Demandada en la actividad comercial de
           FertiNitro) es irrelevante para dicha cuestión. Dicho Comisario fue designado auditor legal
           de FertiNitro por todo el directorio de FertiNitro y, por lo tanto, tal como sostiene la
           Demandada, con el apoyo de KOMSA. Asimismo, la propuesta de Pequiven de adquirir
           más fertilizantes (presuntamente bajo las instrucciones de la Demandada) cumplía con un
           procedimiento normal conforme al derecho societario venezolano; y fue rechazada por
           FertiNitro. Además, las presuntas garantías dadas a un tercero (METOR) de que las nuevas
           leyes no se aplicarían a las empresas extranjeras son irrelevantes. No son atribuibles a la
           Demandada. También se derivan de una carta enviada una década después del suceso y


415
      EPA Ven., Párrafos 140-143; Dúpl. Ven., Párrafo 107.


                                                        169
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 486 of 622




        dependen de una interpretación errónea de dicha carta. Por último, conforme sostiene la
        Demandada, Pequiven sólo participó en la redacción de las normas de la urea en capacidad
        consultiva sobre la base de su experiencia en fertilizantes, sin interferir ilícitamente en la
        actividad comercial de FertiNitro 416.

(3)      El Estándar de SPP - Artículo 4(1)
        El argumento de KOMSA: En síntesis, KOMSA sostiene que el estándar de SPP protege
        a las inversiones contra las interferencias tanto físicas como no físicas de la Demandada 417,
        y cita las decisiones de los casos ELSI 418 y Azurix c. Argentina 419.El estándar SPP, según
        KOMSA, obliga al Demandado, como Estado receptor, a garantizar que ofrece al
        inversionista un entorno legal y regulatorio seguro y estable, es decir, a KOMSA 420.

        KOMSA señala que (i) el incumplimiento del pago de créditos del IVA, (ii) las normas que
        forzaban la venta de urea por parte de FertiNitro a Pequiven, y (iii) la progresiva
        interferencia en la gestión y la operación de FertiNitro que finalmente condujo a la
        expropiación de derechos contractuales, constituyen individualmente un incumplimiento
        del estándar SPP por parte de la Demandada 421.

        El argumento de la Demandada: En síntesis, la Demandada afirma, al igual que con el
        estándar TJE, que el estándar de SPP del Artículo 4 del Tratado se refiere al estándar
        mínimo bajo derecho internacional consuetudinario 422.La Demandada interpreta dicho
        estándar como referente a la seguridad física, y cita 423 la decisión de los casos Saluka c.
        República Checa 424, Lauder c. República Checa 425, Noble Ventures c. Rumania426, y
        Paushok c. Mongolia 427. Sostiene que este estándar sólo impone “un nivel de diligencia

416
    Mem. C. Ven., Párrafos 249-254; Dúpl. Koch, Párrafos 288-290; EPA Ven., Párrafos 130-132.
417
    Mem. Koch, Párrafos 325-330.
418
    Elettronica Sicula S.p.A. (ELSI) (Estados Unidos de América c. Italia), CIJ, Sentencia, (20 de julio de 1989) (CLA-
    41).
419
    Azurix Corp. c. República Argentina, Caso CIADI N.° ARB/01/12, Laudo (14 de julio de 2006) (CLA-43).
420
    Mem. Koch, Párrafos 256-261; Répl. Koch, Párrafos 253-261; EPA Koch, Párrafo 109.
421
    Mem. Koch, Párrafos 331-339; Répl. Koch, Párrafos 262-265.
422
    Mem. C. Ven., Párrafo 257.
423
    Mem. C. Ven., Párrafos 256-258.
424
    Saluka Investments BV (Países Bajos) c. República Checa, CNUDMI, Laudo Parcial (17 de marzo de 2006)
    (“Saluka c. República Checa”) (CLA-19).
425
    Lauder c. República Checa (CLA-45).
426
    Noble Ventures, Inc. c. Rumania, Caso CIADI N.° ARB/01/11, Laudo (12 de octubre de 2005) (RLA-67).
427
    Paushok c. Mongolia (RLA-94).


                                                         170
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 487 of 622




       para tratar de asegurar que las inversiones extranjeras no se vean perjudicadas durante el
       período de conflictos o violencia”. La Demandada también invoca 428Gold Reserve c.
       República Bolivariana de Venezuela 429, en el que el tribunal interpretó una cláusula
       idéntica en el TBI Canadá-Venezuela y encontró que el estándar SPP se limitaba al daño
       físico a personas y bienes 430.Por consiguiente, la Demandada rechaza el argumento de
       KOMSA de que el estándar se extiende a la protección jurídica, sostiene que, si lo hiciera,
       ello confundiría erróneamente el estándar SPP con el estándar de TJE.

       La Demandada procede luego a abordar las presuntas violaciones del estándar SPP.
       Sostiene que el tratamiento de los créditos del IVA no podía infringir el estándar SPP
       porque las solicitudes de reembolso fueron finalmente aprobadas; y que cualquier demora
       en el procesamiento (que se aplicaba a todos los contribuyentes de Venezuela) no puede
       constituir un incumplimiento del estándar SPP. La promulgación del Decreto de la Urea y
       las Resoluciones de la Urea no violó el estándar SPP porque fueron razonablemente creadas
       en virtud de las políticas de seguridad y alimentación de la Demandada y podían ser
       impugnadas en los tribunales venezolanos, si así lo hubiera deseado KOMSA (lo cual no
       fue así).La Demandada no interfirió en ningún momento con la gestión y la operación de
       la actividad comercial de FertiNitro; y su conducta no podría equivaler a ningún
       incumplimiento del estándar de SPP 431.

(4)    “Medidas Arbitrarias y Discriminatorias” - Artículo 4(1)
       El argumento de KOMSA: En síntesis, KOMSA aduce que el estándar para las medidas
       arbitrarias y discriminatorias en virtud del Artículo 4(1) del Tratado impone a la
       Demandada el requisito de no tratar a los inversionistas de manera arbitraria o
       discriminatoria, incluida aquella medida que es “incoherente y suscita confusiones” 432.
       Tales medidas pueden constituir una violación del Artículo 4(1) si son arbitrarias o (no “y”)
       discriminatorias 433.


428
    EPA Ven., Párrafo 148.
429
    Gold Reserve Inc. c. República Bolivariana de Venezuela, Caso CIADI N.º ARB(AF)/09/1, Laudo, (22 de
    septiembre de 2014) (CLA-156).
430
    Mem. C. Ven., Párrafos 255-261; Dúpl. Ven., Párrafos 292-310.
431
    Mem. C. Ven., Párrafos 262-266; Dúpl. Ven., Párrafos 311-324; EPA Ven., Párrafos 149-150.
432
    Mem. Koch, Párrafos 340-343.
433
    Répl. Koch, Párrafos 266-274.


                                                 171
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 488 of 622




        KOMSA afirma que: (i) la imposición de las medidas fiscales sobre FertiNitro tuvo un
        impacto discriminatorio en KOMSA debido a que los impuestos nuevos y más altos se
        dirigían a entidades mayoritariamente detenidos por intereses extranjeros o que eran
        grandes empresas (a la inversa, estas medidas fiscales eximían a las entidades del sector
        público tales como Pequiven o aplicaban tasas más bajas a otras empresas); (ii) el Decreto
        de la Urea y la Resolución de la Urea obligaron a FertiNitro a vender urea a Pequiven a
        precios por debajo del valor de mercado (dichas medidas eran medidas discriminatorias
        porque KNI no se beneficiaba de precios preferenciales, ni KOMSA (o KNI) participaba
        en la redacción de estas regulaciones sobre la Urea, a diferencia de Pequiven; y (iii) el
        Decreto de Expropiación N.° 7713 fue discriminatorio porque promovió los intereses de
        Pequiven en detrimento de KOMSA 434.

        El argumento de la Demandada: En síntesis, la Demandada arguye que la prueba de
        conducta arbitraria consiste en determinar si las medidas constituían un desprecio
        deliberado del debido proceso bajo la ley que sacude o sorprende el sentido de lo que es
        adecuado legalmente. También se extiende a si las medidas pueden ser defendidas como
        razonables, es decir, cuando las acciones del Estado pueden vincularse a una política
        razonable. La prueba de discriminación consiste en determinar si el Estado ofreció un trato
        diferente, sin justificación, a las entidades que de alguna forma se encontraban en
        situaciones similares. La Demandada rechaza la prueba de KOMSA de medidas
        inconsistentes o confusas ante la ausencia de prejuicio maligno o sobre la base de
        preferencias 435.

        La Demandada sostiene que las medidas fiscales no fueron ni arbitrarias ni
        discriminatorias, ya que se aplicaban a todas las entidades situadas en situaciones similares,
        tanto nacionales como extranjeras. Uno de los impuestos fue una contribución destinada a
        ser reinvertida en FertiNitro con fines de investigación y desarrollo, beneficiando así a
        FertiNitro y sin causar perjuicio a KOMSA en absoluto 436. Además, las normas sobre la
        urea no podían ser discriminatorias porque KOMSA y Pequiven no estaban en posiciones
        similares. Operaban en distintos mercados y no eran competidores, aunque estuvieran

434
    Mem. Koch, Párrafos 344-356; Répl. Koch, Párrafos 275-280; EPA Koch, Párrafos 110-111.
435
    Mem. C. Ven., Párrafos 267-277; Dúpl. Ven., Párrafos 326-331; EPA Ven., Párrafos 151-153.
436
    Mem. C. Ven., Párrafos 278-281; Dúpl. Ven., Párrafos 332-335.


                                                     172
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 489 of 622




        involucrados en el mismo sector de la economía venezolana. En cualquier caso, las medidas
        fueron adoptadas de conformidad con la política alimentaria de la Demandada y no fueron
        discriminatorias 437.

(5)     Trato Nacional – Artículo 4(2)
        El argumento de KOMSA: En síntesis, KOMSA señala que el estándar de Trato Nacional
        presente en el Artículo 4(2) del Tratado habilita a los inversionistas a recibir un trato no
        menos favorable que el concedido por el Estado a sus propios nacionales. Afirma que esta
        cuestión gira en torno a los hechos particulares del caso, por lo cual es necesario tener en
        cuenta todas las circunstancias 438. KOMSA sostiene que al intentar añadir el texto “en
        circunstancias similares” que no se encuentra en el Artículo 4(2), la Demandada
        erróneamente genera que dicho estándar sea menos protector para el inversionista 439.

        KOMSA argumenta que las medidas discriminatorias de la Demandada constituyen
        violaciones del estándar de Trato Nacional. KOMSA arguye que: (i) las medidas fiscales
        favorecieron a Pequiven, una entidad nacional, debido a que estaba exenta, y las
        regulaciones sobre la urea, redactadas para aparentar ser neutras, apuntaban a las empresas
        extranjeras y, a su vez, a KOMSA; (ii) las regulaciones sobre la urea concedieron a
        Pequiven condiciones de compra ventajosas, ya que podía comprar urea por debajo del
        precio de mercado, una opción que no estaba disponible para KNI; y (iii) la expropiación
        del mes de octubre de 2010 transfirió activos y bienes a Pequiven, una entidad nacional
        que disfrutó de beneficios en detrimento de KOMSA 440.

        El argumento de la Demandada: En síntesis, la Demandada determina que el estándar es
        necesariamente una comparación entre el trato otorgado a los extranjeros y el trato otorgado
        a los nacionales en posiciones similares, en consideración de la totalidad de las
        circunstancias. La Demandada se opone a la prueba de KOMSA según la cual no sería
        necesario encontrar un comparador nacional situado de manera similar. La Demandada
        señala que la prueba de “circunstancias similares” siempre se aplica en virtud del derecho


437
    Mem. C. Ven., Párrafos 382-384; Dúpl. Ven., Párrafos 337; EPA Ven., Párrafos 154-158.
438
    Mem. Koch, Párrafos 357-359.
439
    Répl. Koch, Párrafos 281-286.
440
    Mem. Koch, Párrafos 360-366; Répl. Koch, Párrafos 287-291; EPA Koch, Párrafo 112.


                                                     173
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 490 of 622




        internacional, independientemente de que se encuentre o no un lenguaje a dicho efecto en
        el TBI. Añade que los Estados siempre pueden recurrir a los derechos discrecionales
        soberanos para implementar determinadas políticas 441.

        La Demandada sostiene que ningún nacional venezolano se benefició de un trato más
        favorable debido a que Pequiven, a pesar de estar exenta de ciertos impuestos, fue afectada
        de manera similar a KOMSA, en su carácter de accionista directo de FertiNitro (el real
        contribuyente). En cuanto a las regulaciones sobre la urea, eran de naturaleza racional en
        lo relativo a la promoción de la política alimentaria de la Demandada. Por último, el
        Decreto de Expropiación N.° 7713 no favoreció a Pequiven porque, en última instancia,
        Pequiven no era tenedor de los activos adquiridos en virtud del mismo 442.

(6)     Cláusula Paraguas – Artículo 11(2)
        El argumento de KOMSA: En síntesis, KOMSA sostiene que la Demandada se
        comprometió a cumplir cualquier obligación, ya sea contractual o derivada de su derecho
        interno 443. KOMSA afirma entonces que la violación de su derecho local por parte de la
        Demandada (con respecto a las devoluciones del IVA a FertiNitro) constituye una violación
        de dicho estándar por parte de la Demandada 444.

        El argumento de la Demandada: En síntesis, la Demandada sostiene que no se violó
        ninguna obligación en relación con los créditos del IVA, ya que estos últimos fueron
        emitidos y en última instancia pagados 445.

(7)     El Análisis y las Decisiones del Tribunal
        Tal como se sintetizara supra, los reclamos ajenos a la expropiación por parte de KOMSA
        con relación a las “Pérdidas Históricas” en virtud de los Artículos 4 y 11 del Tratado
        derivan de impuestos nuevos y más altos, la falta de pago (o los pagos tardíos) de los
        créditos del IVA, los efectos del Decreto de la Urea y la Resolución de la Urea y la
        interferencia con la actividad comercial de FertiNitro. Si bien fueron presentadas en virtud


441
    Mem. C. Ven., Párrafos 285-290; Dúpl. Ven., Párrafos 338-347; EPA Ven., Párrafos 159-163.
442
    Mem. C. Ven., Párrafos 291-296; Dúpl. Ven., Párrafos 350-358; EPA Ven., Párrafos 164-165.
443
    Mem. Koch, Párrafos 367-369; Répl. Koch, Párrafos 292-295.
444
    Mem. Koch, Párrafos 370-374; EPA Koch, Párrafo 113.
445
    Mem. C. Ven., Párrafos 297-301; Dúpl. Ven., Párrafos 359-363; EPA Ven., Párrafos 166-168.


                                                     174
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 491 of 622




           de cinco disposiciones diferentes del Tratado, cada reclamo está sujeto a ciertos factores
           fácticos comunes.

           Artículo 1(1) y (2): El daño alegado fue sufrido por FertiNitro de manera directa y como
           consecuencia de ello por KOMSA, en su carácter de accionista minoritario indirecto de
           FertiNitro. En este arbitraje, KOMSA presenta su propio reclamo por sus propias pérdidas
           y no como un reclamo derivado de las pérdidas sufridas exclusivamente por FertiNitro. De
           no ser así, el reclamo de KOMSA se enfrentaría a evidentes dificultades de jurisdicción en
           virtud del Artículo 1(1) y 1(2) del Tratado y del Artículo 25 del Convenio CIADI.KOMSA
           es legalmente distinto de FertiNitro (como también lo es Koch José). FertiNitro es una
           persona jurídica de nacionalidad venezolana; y no es un inversionista cubierto por el
           Tratado con inversiones protegidas en virtud del Tratado 446.

           En consecuencia, KOMSA sólo puede reclamar una compensación por la pérdida
           efectivamente sufrida por dicha entidad, derivada de su propia inversión minoritaria
           indirecta en FertiNitro. En principio, un accionista minoritario, incluso que cuente con
           acciones detenidas indirectamente por una empresa asociada, puede reclamar una
           compensación por pérdidas indirectas comprobadas. Tal como se resolviera en el caso
           Rosinvest c. Rusia: “[e]l arbitraje moderno sobre tratados de inversión no determina que
           un accionista sólo pueda reclamar protección respecto de medidas que afecten directamente
           a las acciones por derecho propio, sino que el inversionista también puede reclamar
           protección respecto del efecto sobre sus acciones generado por medidas tomadas por el
           Estado receptor contra la empresa” 447 [Traducción del Tribunal].Sin embargo, el
           inversionista debe probar aún la pérdida efectiva cristalizada por el efecto indirecto sobre
           su participación accionaria, independiente de la pérdida sufrida por la empresa.




446
      Véase HICEE B.V. c. República Eslovaca, CNUDMI, Laudo Parcial (23 de mayo de 2011).
447
      RosInvestCo UK Ltd. c. Federación Rusa, SCC Arbitration V (079/2005), Laudo Definitivo (12 de septiembre de
      2010) (CLA-9), Párrafo 608. (Este laudo, tal como se indicara supra, fue anulado por los tribunales suecos por
      causales jurisdiccionales no relacionadas). Para analizar un enfoque más moderado, véase el caso GAMI
      Investments, Inc. c. Estados Unidos Mexicanos, CNUDMI, Laudo (15 de noviembre de 2004) (RLA-64). Un
      miembro del Tribunal no acepta que la amplia declaración sobre la admisibilidad de los reclamos de los accionistas
      en RosInvestCo sea correcta, sin embargo, dada la conclusión final del Tribunal sobre estos reclamos, el mismo no
      ve ninguna utilidad en expandirse sobre el punto de desacuerdo en este Laudo.


                                                           175
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 492 of 622




Según la opinión del Tribunal, no existen pruebas convincentes de que KOMSA, respecto
de su participación indirecta como accionista minoritario en FertiNitro, sufriera una pérdida
suficientemente cuantificable en términos monetarios por cualesquiera de sus “Reclamos
Históricos”. No se presentaron pruebas suficientes de un simple “traslado” de la pérdida
sufrida por FertiNitro, de modo tal que se convierta en una pérdida prorrateada de KOMSA
en su carácter de accionista indirecto parcial de FertiNitro. KOMSA también presentó
pruebas insuficientes de sus propias pérdidas directas reales, diferenciadas de las pérdidas
sufridas por FertiNitro. La posición podría ser diferente si KOMSA fuera titular pleno de
FertiNitro; pero nunca lo fue.

Este enfoque sería suficiente para que el Tribunal desestime los reclamos de KOMSA “por
Pérdidas Históricas” in limine. No obstante, el Tribunal considera que este enfoque podría
imponer injustamente un obstáculo probatorio demasiado elevado para KOMSA en este
caso; y, debido a los esfuerzos realizados por las Partes y sus expertos sobre la
cuantificación de daños, sería descortés detener el análisis aquí. Por ende, a los efectos
actuales, el Tribunal está dispuesto a asumir que parte de las supuestas pérdidas de
FertiNitro “se trasladaron” a KOMSA en lo que respecta a impuestos, IVA, el Decreto de
la Urea y la Resolución de la Urea. Sin embargo, ante la ausencia de una cifra individual y
cuantificable para la interferencia en la actividad comercial de FertiNitro, el Tribunal no
asume ninguna suposición sobre la pérdida. Asimismo, si y en la medida en que KOMSA
estuviera promoviendo un reclamo por pérdidas sufridas por KNI (no cuantificadas) como
resultado de “Pérdidas Históricas”, independientemente del reclamo de KNI por
expropiación, el Tribunal desestima dicho reclamo por falta de justificación probatoria.

Artículo 4(1): Los estándares de TJE y de SPP que asisten a las inversiones cubiertas por
el Artículo 4(1) del Tratado están precedidas por las palabras: “de conformidad con las
normas y criterios del Derecho Internacional”. En opinión del Tribunal, como se explica
infra, tal redacción importa los estándares mínimos de derecho internacional
consuetudinario, en lugar de estándares autónomos más elevados, mediante la aplicación
de la regla de interpretación codificada en el Artículo 31.1 de la CVDT conforme al
“sentido corriente que haya de atribuirse a los términos del tratado en el contexto de estos”.




                                         176
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 493 of 622




        El Tribunal no necesita aquí debatir sobre la jurisprudencia o los textos de doctrina, tan
        perfectamente capturados por el Dr. Mann hace mucho tiempo. Como es sabido, en su
        publicación de 1982, el Dr. Mann concluyó que un estándar de TJE: “[...] en esencia, es un
        deber impuesto por el derecho internacional consuetudinario [...] que en la ley es poco
        probable que sea más que una confirmación de la obligación de actuar de buena fe, o
        abstenerse de abusos o de la arbitrariedad” 448 [Traducción del Tribunal]. Fue quizás una
        conclusión más considerada que su anterior opinión en sentido contrario:

           “Los términos” ‘trato justo y equitativo’ contemplan comportamientos que van
           mucho más allá del estándar mínimo y otorgan protección en mayor medida y de
           acuerdo con un estándar mucho más objetivo que cualquier forma de palabras
           empleada anteriormente. Un tribunal no debe preocuparse por un estándar mínimo,
           máximo o promedio. Tendrá que decidir si en todas las circunstancias la conducta
           en cuestión es justa y equitativa o injusta e inequitativa. Ningún estándar definido
           por otras palabras es probable que sea relevante. Los términos deben ser entendidos
           y aplicados de forma independiente y autónoma” 449.[Traducción del Tribunal]

        Este debate ha continuado en decisiones arbitrales posteriores, tal como se citan en los
        escritos de las Partes con diferentes fines; pero tal debate no es relevante en el presente
        caso.

        Los estándares de TJE y de SPP de este Tratado están precedidos por la condición expresa:
        “de conformidad con las normas y criterios del Derecho Internacional”. Según la opinión
        del Tribunal, esta formulación expresa adicional es concluyente para confirmar el
        significado de los estándares de TJE y SPP como obligaciones impuestas por el derecho
        internacional consuetudinario y para impedir que se le otorgue un significado
        independiente o autónomo. En el caso AAPL c. Sri Lanka, fue la “falta de referencia al
        derecho internacional” lo que llevó a ese tribunal a adoptar un estándar de SPP autónomo;
        y (dada la disidencia), está claro que el tribunal habría decidido de manera diferente con la
        redacción adicional expresa en este Tratado 450. [Traducción del Tribunal]



448
    F.A. Mann, The Legal Aspect of Money (4thed, 1982), pág. 510.
449
    F.A. Mann, British Treaties for the Promotion and Protection of Investments, 52 British Yearbook of International
    Law 241 (1981) (CLA-86), pág. 244.
450
    Asian Agricultural Products Limited c. República Socialista Democrática de Sri Lanka, Caso CIADI N.°
    ARB/87/3, Laudo (27 de junio de 1990) (RLA-42), Párrafo 52.


                                                        177
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 494 of 622




           El Tribunal adopta también el razonamiento de la decisión del caso Flughafen c. Venezuela,
           citada por la Demandada, con la misma redacción que el Artículo 4(1) del Tratado 451.Ese
           caso también se refería (inter alia) al mismo TBI Suiza-Venezuela, en el cual la condición
           adicional expresa fue traducida al inglés como: “in accordance with the norms and criteria
           of international law”. El tribunal de dicho caso decidió:

             “Si los AAPRI se deben interpretar de acuerdo con el Derecho internacional
             consuetudinario, y si el trato mínimo forma parte de ese conjunto de usos y
             costumbres, se impone la conclusión que un intérprete, a la hora de dilucidar si una
             determinada actuación viola o no los artículos 4 de los AAPRI, deberá tomar en
             cuenta cómo define el Derecho internacional consuetudinario el TJE. Por ello, el
             Tribunal estima que la previsión contenida en los AAPRI, exigiendo que el TJE se
             defina de conformidad con el Derecho internacional, necesariamente incorpora una
             referencia al nivel de protección que el Derecho internacional otorga a los
             extranjeros, es decir a lo que se conoce como estándar mínimo consuetudinario”.

           La interpretación del Tribunal basta para desestimar el reclamo de KOMSA en virtud del
           estándar de SPP sobre los hechos alegados por KOMSA. En su sentido bien establecido en
           el derecho internacional consuetudinario, el estándar de SPP se limita a la protección física
           de los extranjeros contra los actos de terceros no imputables al Estado receptor 452.Como
           tal, puede dar lugar a una forma limitada de responsabilidad en circunstancias de hecho en
           las que el Estado receptor no ha ejercido una diligencia razonable para impedir tales actos.
           Eso claramente no ocurre en este caso.

           Respecto del estándar de TJE conforme al derecho internacional consuetudinario, las
           pruebas fácticas siguen siendo pertinentes, y se analizarán infra. No obstante, en cuanto a
           tales pruebas, el Tribunal no considera que el resultado en este caso sería sustancialmente
           diferente en virtud de un estándar autónomo de TJE. No se presentaron pruebas
           convincentes de las expectativas legítimas de KOMSA inducidas por alguna acción o
           declaración específica presentada a KOMSA por la Demandada para generar la inversión
           de KOMSA. Está bien establecido que las disposiciones de la legislación general o las




451
      Flughafen c. Venezuela (RLA-154), Párrafo 573 (traducción no oficial proporcionada por los abogados).
452
      BG Group Plc. c. República Argentina, CNUDMI, Laudo Definitivo (24 de diciembre de 2007) (CLA-37), Párrafos
      326 a 328; El Paso c. Argentina (CLA-52), Párrafo 522.


                                                        178
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 495 of 622




políticas estatales aplicables a una pluralidad de personas no bastan en general para
establecer las expectativas legítimas requeridas por un estándar autónomo de TJE.

En cuanto a la tercera parte del Artículo 4(1) del Tratado, a saber, la protección contra
“medidas arbitrarias o discriminatorias”, surge la cuestión de si se trata de lo que dice tout
court; o si, debido a la utilización de un punto y coma (a diferencia de un punto final o de
una subcláusula separada), esta última parte también debe leerse con sujeción a la redacción
adicional expresa. En la opinión del Tribunal, esta tercera parte debe leerse por separado,
sin referencia a un estándar mínimo de derecho internacional consuetudinario (si existiera).
No obstante, su significado está claramente dirigido a “la administración, gestión,
mantenimiento, uso, disfrute, ampliación, venta o liquidación” de las “inversiones” de
KOMSA, a saber, la participación minoritaria indirecta de KOMSA en FertiNitro, de
manera separada a FertiNitro mismo. KOMSA no está aquí promoviendo un reclamo por
cualquier interferencia directa con su propia participación accionaria en FertiNitro, como
tal. Según la opinión del Tribunal, el reclamo de KOMSA en relación con esta parte del
Artículo 4(1) es mejor (o no peor) presentada en virtud del estándar de TJE, respecto del
cual su reclamo prospera o fracasa sobre la base de las pruebas pertinentes. En
consecuencia, el Tribunal procede sobre dicho fundamento infra.

Artículo 4(2): El Tribunal no considera que Pequiven, en carácter de sociedad estatal local
y controlada por el Estado, sea un ‘comparador’ apropiado para KOMSA con arreglo al
Artículo 4(2) del Tratado. Es cierto que ambas eran accionistas de FertiNitro; y que ambas
sociedades estaban involucradas, directa o indirectamente, en el negocio de fertilizantes en
Venezuela; pero las semejanzas cesan allí. Pequiven era un participante directo y activo en
esa actividad comercial local, mientras que KOMSA era un inversionista extranjero
indirecto. KOMSA no puede, en ese sentido, asimilarse a FertiNitro. En consecuencia, ante
la ausencia de un comparador adecuado, el Tribunal desestima los reclamos de KOMSA
relativos al “Trato Nacional” en virtud del Artículo 4(2) del Tratado.

Artículo 11(2): KOMSA no plantea ninguna cláusula de “estabilización” con respecto a su
inversión en FertiNitro; y, como testificara el Sr. Parra (de KOMSA), KOMSA no recibió
de la Demandada ninguna “ninguna garantía por escrito ni ninguna carta, sólo lo que se




                                         179
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 496 of 622




        plasmaba en la política de apertura” 453.El Tribunal no ha visto ninguna prueba convincente
        de ninguna declaración relevante, garantía o compromiso por parte de la Demandada hacia
        KOMSA en relación con su interés en FertiNitro, ya sea de manera explícita o incluso
        necesariamente implícita, en ningún documento o acuerdo contemporáneo. Por
        consiguiente, el Tribunal desestima el reclamo de KOMSA con arreglo al Artículo 11(2),
        la “Cláusula Paraguas” del Tratado.

        El estándar de TJE: El Tribunal comienza con algunas observaciones generales. En primer
        lugar, desde el inicio, todos los participantes, incluido KOMSA, sabían que el proyecto
        FertiNitro estaba sujeto a importantes incertidumbres políticas, económicas y de otra índole
        en Venezuela. Tal como se registra en el Memorándum de Oferta de Bonos de 1998 del
        proyecto FertiNitro 454, tales incertidumbres incluyen “cambios en las políticas tributarias”,
        por lo que se espera que los resultados de FertiNitro “se vean afectados en general por […]
        cambios en el liderazgo gubernamental venezolano, las políticas y los factores impositivos
        [...]” [Traducción del Tribunal].También se sabía que las próximas elecciones
        presidenciales en Venezuela tendrían lugar más tarde en el mes de diciembre de 1998.En
        esas elecciones, el Sr. Chávez fue elegido Presidente de Venezuela y posteriormente
        reelegido hasta su fallecimiento en el año 2013.

        En segundo lugar, las protecciones concedidas a los inversionistas y a sus inversiones en
        virtud del Tratado no funcionan como un seguro contra riesgos comerciales normales,
        modificaciones en las leyes locales o medidas reglamentarias adoptadas por parte del
        Estado receptor. Como se decidiera en el caso Saluka c. República Checa (ya citado en la
        parte VI supra): “[H]a quedado establecido en el derecho internacional que los Estados no
        son responsables de pagar indemnizaciones a los inversionistas extranjeros cuando, en el
        ejercicio normal de sus facultades regulatorias, adoptan en forma no discriminatoria
        regulaciones de buena fe en aras del bienestar general” [Traducción del Tribunal] 455.Dichos
        facultades regulatorias se extienden a la tributación. Tal como se decidiera en el caso
        EnCana; “[e]n ausencia de un compromiso especifico del Estado anfitrión, el inversionista


453
    Primera Audiencia (septiembre), D2.75-76 (Parra).
454
    Circular de Oferta - Oferta de Bonos de USD 250.000.000 entre FertiNitro Finance Inc y FertiNitro (8 de abril de
    1998) (C-115), página 50.
455
    Saluka c. República Checa (CLA-19), Párrafos 255 y ss.


                                                       180
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 497 of 622




           extranjero no tiene ningún derecho ni expectativa legitima de que el régimen fiscal no
           cambie, quizá para su desventaja, durante el periodo de la inversión” 456.Tal como se
           manifestara expresamente en el Memorándum de la Oferta de Bonos (citado supra), esto
           no es más que sentido común comercial, como habría sido bien entendido por KOMSA en
           ese momento.

           Por lo tanto, lo que debe determinarse no es si la Demandada ha ejercido sus facultades
           regulatorias o de otra naturaleza causando pérdidas a KOMSA, sino si al hacerlo, la
           Demandada ha violado sus obligaciones respecto de KOMSA en virtud del Tratado. En
           cuanto a esa cuestión, como ya se explicara supra, las medidas de la Demandada deben ser
           sopesadas, con la debida deferencia, en base a la prueba objetiva ofrecida en este arbitraje.

           En tercer lugar, FertiNitro fue, mucho antes de los acontecimientos del mes de octubre de
           2010, una empresa problemática y poco satisfecha (o más bien, “empresas”). El Tribunal
           se remite al Informe del Comisario de fecha 7 de septiembre de 2006, presentado por el
           auditor legal designado de FertiNitro a todos sus accionistas. Este identificó “conflictos de
           intereses entre los directores [que] dificultan la toma de decisiones con rapidez”; “excesivas
           controversias en especial los problemas relacionados con las Plantas y el contrato
           OFFTAKE”; “incertidumbre sobre la seguridad y continuidad operacional de las Plantas”;
           “el reclamo sindical por beneficios laborables [que] […]no se han solucionado”; una
           “[f]alta de manuales aprobados por La Junta Directiva sobre las políticas, normas y
           procedimientos de funciones y actividades técnicas, operativas, administrativas y
           contables”; y la necesidad de “[a]justar el organigrama de la Compañía a la realidad de las
           necesidades” 457.Luego de 2006 y para 2010, la situación de FertiNitro empeoró
           significativamente.       En    tales    circunstancias,     confirmadas       por    otras    pruebas
           contemporáneas, las dificultades comerciales de FertiNitro no pueden atribuirse
           ligeramente a efectos por los cuales la Demandada podría ser legalmente responsable en
           virtud del Tratado o del derecho internacional.




456
      EnCana c. Ecuador (RLA-71) Párrafos 173.
457
      Informe del Comisario y Estados Financieros Consolidados de FertiNitro (7 de septiembre de 2006) (C-63).


                                                         181
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 498 of 622




        Impuestos: Por lo menos al parecer, los impuestos impugnados eran de aplicación general.
        En cuanto a los impuestos nacionales, el clasificador para el Grupo 1-D identificó 458:
        “[t]oda actividad económica de industria ejercidas por […] entidades […] jurídicas […]del
        Sector Energético, Producción de Gas Natura[l], toda actividad relacionada con la industria
        petrolera y petroquímica que esté vinculada con la actividad que se ejerce directa o
        indirectamente con el Complejo Petroquímico de José [...]”.En cuanto al impuesto sobre
        Ciencia y Tecnología, el Artículo 37 de la Ley se dirigió en general “[l]as grandes empresas
        del país que se dediquen a otros sectores de producción de bienes y de prestación de
        servicios [...]” 459. Por otra parte, esta Ley le otorgó a FertiNitro beneficios directos.

        El Tribunal no considera que KOMSA, sobre la base de la prueba de hecho, haya
        demostrado una violación del estándar de TJE por parte de la Demandada (o la tercera
        arista del Artículo 4(1)). En particular, estas no fueron medidas fiscales tomadas
        fehacientemente de mala fe, de manera arbitraria, irracional o con la intención inadecuada
        de discriminar directamente contra FertiNitro (o indirectamente contra KOMSA). Habida
        cuenta de los sucesos posteriores ocurridos en el mes de octubre de 2010, podría resultar
        tentador utilizar la retrospectiva para evaluar estas medidas fiscales; pero el Tribunal lo
        considera inapropiado. Tales medidas deben ser evaluadas en el momento de su
        promulgación, cuando imperaban circunstancias diferentes.

        IVA: En lo relativo al IVA, la Demandada sostiene que todos los créditos del IVA
        solicitado por FertiNitro han sido pagados, tal como lo demuestran sus tablas del IVA desde
        2001 a 2010 460. Durante la Tercera Audiencia (junio), la Demandada reconoció que los
        créditos del IVA fueron pagados con retraso, como también lo demuestran sus propias
        tablas del IVA.

        No existen pruebas convincentes de ninguna pérdida monetaria específica sufrida por
        FertiNitro debido a las demoras de la Demandada, menos aún de cualquier pérdida
        monetaria específica resultante para KOMSA. El Sr. Giles, si bien no es un testigo de



458
    Ordenanza de impuestos sobre actividades económicas de industria, comercio, servicios, o de índole similar (29 de
    diciembre de 2005) (C-45), página 14.
459
    Ley Orgánica de Ciencia, Tecnología e Innovación (en vigor a partir del 1 de enero de 2006) (C-43), página 8.
460
    FertiNitro, Créditos del IVA 2001-2010 (actualizado a diciembre de 2010) (R-73).


                                                        182
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 499 of 622




         hecho, declaró que por cada año transcurrido en el período comprendido entre los años
         2006 y 2010, “parte del IVA pendiente y recuperable fue cancelado” por la Demandada. El
         Dr. Flores testificó que esto era incorrecto; y que las previsiones contables de FertiNitro no
         tenían “efectos reales sobre el flujo de caja” [Traducción del Tribunal], como sugiriera el
         Sr. Giles 461. El Dr. Flores tampoco fue un testigo de hecho.

         El Tribunal lamenta la escasez de pruebas convincentes sobre esta cuestión. Está claro que
         la Demandada emitió créditos del IVA con demora a FertiNitro; pero esa era la práctica
         habitual en Venezuela sufrida por todos los contribuyentes del IVA con derecho a créditos
         fiscales. La prueba fue unidireccional en cuanto a tales retrasos regulares. En dichas
         circunstancias, el Tribunal no considera que KOMSA, sobre la base de la prueba de hecho,
         haya demostrado la existencia de una violación del estándar de TJE por parte de la
         Demandada (o la tercera arista del Artículo 4(1)). En particular, no se demostró que tales
         retrasos se hubieran cometido de mala fe, arbitrariamente, irracionalmente o con la
         intención indebida de discriminar directamente contra FertiNitro (o indirectamente contra
         KOMSA).

         Decreto de la Urea y Resolución de la Urea: El Decreto de la Urea y la Resolución de la
         Urea se publicaron en los meses de marzo y mayo de 2007, respectivamente 462.La
         Demandada arguye que el Decreto de la Urea y la Resolución de la Urea fueron emitidos
         por la Demandada como parte de su función regulatoria en aras de asegurar el suministro
         de alimentos y la seguridad alimentaria para el pueblo venezolano 463.En ese momento,
         KOMSA no se opuso activamente al Decreto de la Urea o a la Resolución de la Urea
         mediante litigios o acciones administrativas similares dentro del ordenamiento jurídico
         venezolano; ni fue el caso del propio FertiNitro 464.

         Tal como ya se ha señalado en la Parte VII supra, el Tribunal, en ejercicio de la deferencia
         debida a la Demandada, considera que tales normas sobre la urea han sido adoptadas en

461
    Informe Pericial de Tim Giles (2 de junio de 2012), Párrafo 3.14; Flores IP1, Párrafos 165-168; Flores IP2, Párrafos
     229 y ss.
462
    Decreto 5.218 (26 de febrero de 2007) (C-80); Resolución Conjunta del Ministerio del Poder Popular para la
     Agricultura y Tierras, del Ministerio del Poder Popular para las Industrias Ligeras y Comercio, y del Ministerio
     del Poder Popular para la Energía y Petróleo (Gaceta Oficial N.º 38.674) (3 de mayo de 2007) (C-82).
463
    Resp Rej., Párrafos 319-320.
464
    Mem. Koch, Párrafo 85.


                                                         183
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 500 of 622




cumplimiento de las políticas de la Demandada sobre seguridad y suministro alimentario
para el pueblo venezolano. Evidentemente, aunque ello genera una pérdida directa a
FertiNitro, el Tribunal no considera que KOMSA, sobre la base de la prueba de hecho,
haya demostrado la existencia de una violación del estándar de TJE por parte de la
Demandada (o la tercera arista del Artículo 4(1)).En particular, no se demostró que estas
normas relativas a la urea hubiesen sido promulgadas de mala fe, arbitrariamente,
irracionalmente o con la intención indebida de discriminar directamente contra FertiNitro
(o indirectamente contra KOMSA).Del mismo modo, habida cuenta de los sucesos
posteriores ocurridos en el mes de octubre de 2010, si bien podría resultar tentador utilizar
la retrospectiva para evaluar estas normas relacionadas con la urea (como sugiere
KOMSA), el Tribunal nuevamente lo considera inapropiado. Estas regulaciones de la urea
también deben ser evaluadas dentro del momento de su promulgación.

Decisiones: Por tales motivos, en relación con la responsabilidad, el Tribunal decide
desestimar los reclamos de KOMSA contra la Demandada por “Pérdidas Históricas” en
virtud de los Artículos 4(1), 4(2) y 11(2) del Tratado.




                                        184
      Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 501 of 622




                     PARTE IX: CUESTIONES DE COMPENSACIÓN



(1)   Introducción
      A la luz de las decisiones del Tribunal en materia de jurisdicción y responsabilidad
      mencionadas supra, ahora, es necesario considerar el monto de compensación adecuado,
      pagadero por la Demandada a cada una de las Demandantes, es decir, a KOMSA por la
      expropiación de su participación en FertiNitro y a KNI por la expropiación de sus derechos
      respecto del Offtake Agreement. El Tribunal comienza con una breve descripción de su
      enfoque general en materia de compensación y, posteriormente, procede a exponer una
      síntesis de los intentos de las Partes de negociar la compensación adeudada por la
      Demandada a KOMSA, que ya ha sido abordada en mayor detalle en la cronología
      presentada en la Parte V supra. A continuación, es pertinente resumir las alegaciones en
      materia de cuantificación de daños de las Demandantes y las alegaciones de la Demandada
      en respuesta a ellas, antes de que el Tribunal proceda a considerar esas presentaciones
      contrapuestas y se pronuncie en lo que respecta a las sumas adecuadas de compensación.

      Dado el desarrollo evolutivo de los argumentos respectivos de las Partes en materia de
      compensación durante el presente arbitraje, las diferencias sumamente significativas entre
      el testimonio de sus respectivos expertos (el Sr. Giles y el Dr. Flores) y las complejidades
      de las cuestiones relacionadas con la compensación (tanto para KOMSA como para KNI),
      el Tribunal ha determinado que es necesario resumir en detalle las alegaciones consecutivas
      de las Partes en materia de compensación. Esa síntesis podría proporcionar también una
      referencia útil en cuanto a lo que fue y lo que no fue alegado por las Partes respecto de
      dichas cuestiones durante el presente arbitraje, lo que ha de leerse conjuntamente con las
      listas de cuestiones expuestas en la Parte III supra. Aun así, indefectiblemente, algunas
      partes de esta síntesis son redundantes y (dada la evolución de los argumentos de las Partes)
      no son completamente consistentes.

      En cuanto a su enfoque general, el Tribunal tiene muy en cuenta, tal como afirmara la
      Demandada, que normalmente les corresponde a las Demandantes la carga jurídica de
      probar sus respectivos argumentos en materia de compensación. Este principio general se



                                              185
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 502 of 622




        encuentra bien consolidado en virtud del derecho internacional: onus probandi actori
        incumbit.

        El Tribunal también tiene en cuenta que las cuestiones complejas en materia de
        compensación, que dividen a las partes contendientes y a sus expertos, pueden requerir un
        margen de apreciación por parte de un tribunal de arbitraje que aplica el texto de un TBI y
        el derecho internacional. Por lo tanto, el ejercicio que se requiere puede ser menos que una
        ciencia exacta. El Tribunal recurre al enfoque adoptado por tribunales internacionales de
        arbitraje, tales como aquellos que dictaron los laudos en los casos Sistem c. República
        Kirguisa 465 y ADC c. Hungría 466.

        Tal como se decidiera en Sistem c. República Kirguisa:

          “154. El Tribunal es consciente de la conveniencia de claridad conceptual en la
          valoración de activos a los fines de calcular la compensación adeudada y es
          consciente de la crítica de los métodos de ‘triangulación’, que seleccionan una cifra
          que se encuentra más o menos en un punto medio de las estimaciones planteadas por
          las partes.
          155. El Tribunal también es consciente de que, en ausencia de una venta real, todas
          las valoraciones constituyen proyecciones y es consciente de su deber legal de dictar
          un laudo en virtud de un proceso que la Demandada ha acordado libremente
          establecer y que la Demandante ha optado libremente por impulsar, y de hacerlo
          sobre la base del material que las partes han decidido presentar ante él. Eso es,
          necesariamente, un ejercicio en el arte de lo posible; y el Tribunal ha procurado
          arribar a una estimación racional y justa, conforme al TBI, de la pérdida afrontada
          por la Demandante en lugar de involucrarse en una búsqueda de la quimera de una
          suma que constituya una determinación única e indiscutiblemente correcta del valor
          de aquello que la Demandante perdió. El Tribunal obtiene algo de alivio en la
          observación de Immanuel Kant de que ‘Con un leño torcido como aquel del que ha
          sido hecho el ser humano nada puede forjarse que sea del todo recto’”. [Traducción
          del Tribunal]

        En ADC c. Hungría, el tribunal de manera similar decidió que:


465
    Sistem Muhendislik Insaat Sanayi ve Ticaret A.S. c. República Kirguisa, Caso CIADI N.º ARB(AF)/06/1, Laudo
    (9 de septiembre de 2009) (“Sistem c. Kirguistán”).
466
    ADC Affiliate Limited y ADC & ADMC Management Limited c. República de Hungría, Caso CIADI N.º
    ARB/03/16, Laudo (2 de octubre de 2006) (CLA-16), Párrafo 521. Véase también Gold Reserve Inc. c. República
    Bolivariana de Venezuela, Caso CIADI N.º ARB(AF)/09/1, Laudo (22 de septiembre de 2014) (“Gold Reserve c.
    Venezuela”) (CLA-156), Párrafo 832.


                                                     186
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 503 of 622




              “[E]l cálculo de daños no es una ciencia. Es cierto que los expertos utilizan una
              variedad de metodologías y herramientas para intentar arribar a la cifra correcta.
              Pero, al fin y al cabo, el Tribunal puede tomar distancia y observar el resultado del
              trabajo y llegar a una cifra con la que se sienta cómodo en todas las circunstancias
              del caso”. [Traducción del Tribunal]

           Al amparo del derecho internacional, existe hasta la fecha una ‘jurisprudence constante’
           arraigada al efecto de que, por difícil que sea, un tribunal internacional debe esforzarse al
           máximo para cuantificar una pérdida, siempre y cuanto esté convencido de que la ofensa
           de la demandada le ha ocasionado alguna pérdida a la demandante 467. Según el Tribunal,
           no hay duda de que ambas Demandantes han experimentado pérdidas a causa de las
           violaciones de la Demandada del Artículo 6 del Tratado.

           Las dificultades en este caso surgen de la cuantificación de los daños pecuniarios que se
           requieren de la Demandada al efecto de compensar a cada una de las dos Demandantes.
           Como ya se ha indicado, tradicionalmente, los tribunales internacionales han resuelto estas
           dificultades aplicando un criterio razonable, en lugar de una norma que exija certeza para
           calcular la compensación sobre la base de cifras calculadas con precisión.              Casi
           invariablemente, este enfoque exige que ahora los tribunales rechacen el alcance total de
           los argumentos principales de las partes en materia de cuantificación de daños y los
           resultados a menudo extremadamente diferentes de las metodologías, los supuestos y las
           instrucciones de sus respectivos expertos. Por razones tácticas, una demandante tal vez
           prefiera no aplicar un descuento al monto total del reclamo invocado; y una demandada
           que niega la pérdida, de manera similar, tal vez prefiera no ofrecer una metodología que
           tenga como resultado el otorgamiento de una indemnización por daños significativa en
           favor de la demandante. Así, un tribunal deberá trabajar por sí solo, de la mejor manera
           posible, en lo que es, racionalmente “una tierra de nadie” que dejan vacío las partes y sus
           expertos.      En el presente caso, el Tribunal ha enfrentado serias dificultades para
           comprender cómo las Partes y sus respectivos expertos en daños han podido presentar cifras
           tan disímiles.




467
      Véase, por ejemplo, Sistem c. Kirguisia, Párrafos 154 y 155.


                                                          187
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 504 of 622




(2)      Las Negociaciones de la Compensación
         En síntesis, tal como se describiera en la Parte V supra, se llevaron a cabo negociaciones
         entre Pequiven, en representación de la Demandada (en calidad de entidad expropiadora
         designada en virtud del Decreto de Expropiación) y los accionistas extranjeros de
         FertiNitro, incluida KOMSA, entre febrero y septiembre de 2011. Estas negociaciones no
         incluyeron a KNI, a quien se le había hecho suponer un tratamiento separado, aunque no
         distinto. En ese momento, Pequiven (en representación de la Demandada) describió que
         estas negociaciones con los accionistas de FertiNitro incluyeron conversaciones al efecto
         de un acuerdo amistoso en materia de compensación “contemplado tanto por la legislación
         venezolana aplicable como por los Tratados Bilaterales de Protección de Inversiones” 468
         [Traducción del Tribunal].

         En las cuatro reuniones estuvo presente el Sr. Barrientos (en representación de Pequiven).
         El Sr. Barrientos declaró durante la Primera Audiencia (septiembre) que estaba al tanto de
         la decisión de Pequiven de contratar a Advantis, en calidad de consultores para brindar
         asesoramiento respecto del monto de la compensación adeudada a los accionistas
         extranjeros de FertiNitro 469. El Sr. Barrientos no pudo explicarle al Tribunal la diferencia
         entre la valoración que realizara Advantis de la participación de KOMSA en FertiNitro en
         la suma de alrededor de USD 113 millones (a la que consideró en ese momento una
         valoración justa y una “estimación genuina de lo que valía la compañía” y la valoración
         del Dr. Flores (en calidad de experto de la Demandada en el presente arbitraje) de USD
         34,6 millones 470. Sin embargo, tal como confirmara el Sr. Barrientos, la persona que
         trabajó con Advantis fue el Sr. García (que no fue citado como testigo por la Demandada
         en el presente arbitraje) 471.

         El Tribunal retomará los dos Informes Advantis de mayo y julio de 2011 infra.




468
    Carta de Betulio Hernández, Director Ejecutivo, Pequiven, a los Accionistas (28 de febrero de 2011) (R-35), Párrafo
    1.
469
    Primera Audiencia (septiembre) D3.77-78.
470
    Primera Audiencia (septiembre) D3.80-81.
471
    Primera Audiencia (septiembre) D3.79.


                                                         188
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 505 of 622




(3)     Las Alegaciones de las Demandantes en Materia de Cuantificación de Daños
        En resumen, el argumento de las Demandantes en materia de cuantificación de daños
        consta de diez alegaciones principales, cada una de las cuales es abordada por separado en
        las sub-secciones infra. Estas son:

          (a)   Primero, las Demandantes han demostrado que la Demandada debe pagar
                compensación íntegra en virtud del derecho internacional;
          (b)   Segundo, el testimonio de la Segunda Audiencia (noviembre) demostró que los
                expertos en daños de las Partes han adoptado criterios fundamentalmente diferentes
                respecto del ejercicio de valoración;
          (c)   Tercero, los expertos en daños de las Partes coinciden en varios parámetros de
                compensación, pero sus diferencias de hecho y de experiencia con respecto a
                asuntos de daño siguen siendo significativas;
          (d)   Cuarto, se han identificado los puntos centrales de acuerdo y desacuerdo
                relacionados con los flujos de caja futuros en FertiNitro;
          (e)   Quinto, se han identificado los puntos centrales de acuerdo y desacuerdo
                relacionados con la valoración del Offtake Agreement;
          (f)   Sexto, se han identificado los puntos centrales de acuerdo y desacuerdo
                relacionados con la tasa de descuento y la prima de riesgo país;
          (g)   Séptimo, el laudo dictado en el contexto del caso Gold Reserve c. Venezuela472
                respalda la prima de riesgo país específica de FertiNitro adoptada por el experto en
                daños de las Demandantes, el Sr. Giles, y desacredita la prima de riesgo país general
                adoptada por el experto en daños de la Demandada, el Dr. Flores. Por el contrario,
                los laudos dictados en los casos ExxonMobil y Mobil 473 no identifican ninguna
                prima de riesgo país para Venezuela y se distinguen claramente;
          (h)   Octavo, el precio ajustado del MdE de USD 360 millones para la participación de
                capital de KOMSA al 30 de septiembre de 2010 (según las presentaciones del Sr.
                Giles en su primer informe y sobre la base del borrador del MdE de Pequiven de
                octubre de 2008) 474 constituye una verificación de la razonabilidad de las
                valoraciones de las Partes para la participación de KOMSA en FertiNitro,
                demuestra que la valoración de capital del Sr. Giles es conservadora y, por

472
    Gold Reserve c. Venezuela (CLA-156).
473
    A saber, Mobil Cerro Negro Ltd c. Petróleos de Venezuela, S.A. y PDVSA Cerro Negro, S.A., Caso CCI N.º
    15416/JRF/CA, Laudo Definitivo (23 de diciembre de 2011) (“Mobil c. PDVSA” o “Mobil”) (EO-45); Venezuela
    Holdings, B.V., Mobil Cerro Negro Holding, Ltd. Mobil Venezolana De Petróleos Holdings, Inc. Mobil Cerro
    Negro, Ltd. y Mobil Venezolana De Petróleos, Inc. c. República Bolivariana de Venezuela, Caso CIADI N.º
    ARB/07/27, Laudo (9 de octubre de 2014) (“Venezuela Holdings c. Venezuela” o “ExxonMobil”) (RLA-153).
474
    Informe de Experto de Tim Giles (2 de junio de 2012) (“Giles IP1”), Párrafos 4.88-4.89; véase también Mem.
    Koch, Párrafo 150.


                                                    189
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 506 of 622




                    contraste, que la supuesta valoración justa de mercado del Dr. Flores es menos del
                    10 % del precio que fuera acordado por las Partes en 2007/2008 bajo amenaza de
                    expropiación;
             (i)    Noveno, hay varias comprobaciones de la realidad adicionales que validan la
                    razonabilidad de las valoraciones del Sr. Giles de la inversión de capital de KOMSA
                    y la participación de KNI en el Offtake Agreement; y
             (j)    Décimo, existen muchas otras verificaciones de razonabilidad para el “límite
                    inferior” que desacreditan la valoración del Dr. Flores, como un caso atípico sin
                    fundamentos.

                    (i) Las Demandantes Han Demostrado que la Demandada Debe Pagar
                        Compensación Íntegra en Virtud Del Derecho Internacional

           Tal como afirmaran las Demandantes, la cuestión fundamental es la determinación del
           estándar adecuado mediante el cual el Tribunal ha de calcular la compensación.

           Las Demandantes afirman que, como cuestión de derecho internacional consuetudinario,
           el estándar de reparación íntegra articulado en el Caso relativo a la Fábrica de Chorzów475
           es el estándar de compensación adecuado para la conducta ilícita de la Demandada.

           Por otro lado, tal como se explicará en mayor detalle infra, la Demandada sostiene que
           debería aplicarse el estándar de compensación previsto en el Artículo 6 del Tratado en lo
           que se refiere a su supuesta expropiación ilícita de las inversiones de las Demandantes y
           sus demás violaciones del tratado.

           En respuesta, las Demandantes sostienen que el estándar previsto en el Artículo 6 del
           Tratado es inaplicable cuando una expropiación se ha realizado en forma ilícita, tal como
           en este caso. En consecuencia, las Demandantes afirman que tienen derecho a una
           compensación íntegra en virtud del estándar del derecho internacional consuetudinario en
           pos de eliminar todas las consecuencias de la conducta ilícita de la Demandada.

           Las Demandantes aceptan que, en principio, existe una distinción entre el estándar de
           compensación para una expropiación “lícita” y el estándar de compensación para una
           expropiación “ilícita”. Es decir, tal como afirman, el estándar de compensación para una


475
      Caso relativo a la Fábrica de Chorzów (Alemania c. Polonia), PCIJ Series A, No. 17, Decisión sobre el Fondo (13
      de septiembre de 1928) (CLA-49).


                                                         190
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 507 of 622




        expropiación lícita está previsto en el Artículo 6 del Tratado, pero el estándar de
        compensación para una expropiación ilícita es la reparación íntegra en virtud del derecho
        internacional consuetudinario.

        Sin perjuicio de esta distinción, las Demandantes aceptan que, en el presente caso, no existe
        una diferencia sustancial en el resultado entre el estándar aplicable en virtud del derecho
        internacional consuetudinario para una “expropiación ilícita” y el estándar aplicable en
        virtud del Tratado para una “expropiación lícita”.               En efecto, tal como afirman las
        Demandantes, ambos estándares derivan en el cálculo del “valor justo de mercado” de las
        inversiones expropiadas en ausencia de las violaciones múltiples de la Demandada.

        Las Demandantes sostienen que la aplicación del estándar correcto sustenta sus tres
        alegaciones en lo que se refiere a la compensación adecuada. Estas incluyen, a título
        enunciativo, decisiones arbitrales recientes que confirman que la Demandada debe pagar
        una compensación íntegra a las Demandantes en un escenario “contrafáctico” por la
        expropiación ilícita de las inversiones de las Demandantes.

        Las Demandantes afirman que decisiones recientes sustentan el principio de compensación
        íntegra en un escenario “contrafáctico” por la expropiación ilícita de sus inversiones. Las
        Demandantes citan Hulley Enterprises Limited (Chipre) c. La Federación Rusa 476, donde
        el tribunal, haciendo referencia al Artículo 35 de los Artículos de la CDI sobre
        Responsabilidad del Estado, explicó que un “Estado responsable de una expropiación
        ilegal, en primer lugar, se encuentra obligado a la restitución, colocando a la parte
        damnificada en la posición en la que se encontraría en el caso de que el hecho ilícito no
        hubiese ocurrido” [Traducción del Tribunal].                    De manera similar, mencionan
        ConocoPhillips c. Venezuela 477, donde el tribunal decidió lo siguiente:

           “El Tribunal, volviendo a los términos del TBI, no considera que la medida de la
           compensación adeudada con respecto a una expropiación ilícita de una inversión,
           por ejemplo porque resulta violatoria de un ‘compromiso’ en los términos del

476
    Hulley Enterprises Limited (Chipre) c. La Federación Rusa, Caso CPA N.º AA 226, Laudo Definitivo (18 de julio
    de 2014) (CLA-152), Párrafo 1766 (anulado por el Tribunal de Distrito de La Haya por otras causales, aunque en
    la actualidad en fase de apelación).
477
    ConocoPhillips Petrozuata B.V., ConocoPhillips Hamaca B.V. y ConocoPhillips Gulf of Paria B.V. c. República
    Bolivariana de Venezuela, Caso CIADI N.º ARB/07/30, Decisión sobre Jurisdicción y Fondo (3 de septiembre de
    2013) (“ConocoPhillips c. Venezuela”) (CLA-155), Párrafo 342.


                                                      191
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 508 of 622




  Artículo 6(b), deba estar determinada en virtud del Artículo 6(c): esa disposición
  establece una condición que debe cumplirse en el supuesto de que la expropiación
  sea de conformidad con el Artículo 6 en todos los demás aspectos. Así, en el caso
  Chorzớw, el Tribunal no determinó una reparación de conformidad con las
  disposiciones de la Convención ante sí, porque correspondía a una confiscación en
  violación de esas disposiciones. Decidió de conformidad con el “principio esencial”
  citado anteriormente, que es un principio del derecho internacional consuetudinario,
  que no está subordinado a las disposiciones de la Convención”.

En consecuencia, las Demandantes sostienen que la jurisprudencia arbitral confirma que
KOMSA tiene derecho a una compensación íntegra en virtud del derecho internacional por
las pérdidas causadas por las violaciones no expropiatorias del Tratado por parte de la
Demandada.

(ii)   El Testimonio de la Segunda Audiencia (noviembre) Demostró Que Los Expertos en
       Daños de las Partes Han Adoptado Criterios Fundamentalmente Diferentes Respecto
       del Ejercicio de Valoración

Las Demandantes observan que existe una diferencia de más de USD 518 millones entre la
prueba de los expertos de las Partes en relación con la valoración de capital, la valoración
de offtake y las Pérdidas Históricas de KOMSA (las últimas de las cuales ya han sido
abordadas en la Parte VIII supra). Las Demandantes sostienen que la brecha entre las dos
valoraciones de los expertos en daños puede explicarse, en gran medida, por la adopción
de criterios fundamentalmente diferentes respecto del ejercicio de valoración.           Las
Demandantes se basan en su experto en daños, el Sr. Giles, quien, según las afirmaciones
de las Demandantes, ha adoptado un enfoque forense para la determinación de sus
parámetros de valoración en contraposición al Dr. Flores.

Específicamente, las Demandantes afirman que la valoración del Sr. Giles refleja la prueba
documental contemporánea disponible relacionada con las ganancias que se obtuvieron y
los costos en los que se incurrió en la Planta FertiNitro. Así, tal como afirman las
Demandantes, el Sr. Giles pudo determinar si las ganancias y los costos que aparecen en
las cuentas de FertiNitro son confiables a los fines de proyectar ganancias y costos futuros
en la Planta en un “escenario contrafáctico”.




                                        192
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 509 of 622




           Las Demandantes sostienen además que fue correcto que el Sr. Giles ignorara las graves
           irregularidades y una falta de transparencia con respecto a ciertos datos importantes de
           costos registrados en las cuentas de FertiNitro para llegar a una valoración justa de
           mercado. Ese enfoque, tal como se afirma, es coherente con lo que harían un comprador
           dispuesto y un vendedor dispuesto, a saber, analizarían la producción histórica de la Planta
           FertiNitro para determinar si esos datos son una fuente confiable para proyectar la
           producción a largo plazo de la Planta.

           Según las Demandantes, la prueba del Sr. Giles también se encuentra sustentada por la
           prueba del Sr. Sanders, quien, en la Segunda Audiencia (noviembre), confirmara que, en
           octubre de 2010, un comprador dispuesto habría considerado a FertiNitro una planta con
           importantes oportunidades de mejoras tanto en los costos como en la producción. Las
           Demandantes describen al Sr. Sanders como “el único experto independiente de la industria
           en este arbitraje” 478. Las Demandantes sostienen que la prueba del Sr. Sanders es coherente
           con aquello de lo que la propia Demandada se ha dado cuenta mediante la supervisión de
           varias mejoras a la Planta FertiNitro, desde la expropiación. En efecto, las Demandantes
           señalan específicamente la prueba del Sr. Sanders que su análisis de los documentos
           contemporáneos reveló 479:

             “Antes de la expropiación la junta de FertiNitro expresó su preocupación por estos
             costes descontrolados y pidieron documentación adicional que pudiera comparar y
             explicar los costes y permitiera ver de manera transparente en que se estaba
             gastando el dinero. Estos costes sin embargo no están apoyados por la menor
             documentación. Los documentos solicitados que deberían explicar la ventilación de
             los costes para el mantenimiento han sido solicitados. Sin embargo jamás han sido
             facilitados por Venezuela.

           Según las Demandantes, la prueba pericial del Sr. Giles, en tanto demuestra que la Planta
           FertiNitro no era una “planta con errores”, está sustentada no sólo por el Sr. Sanders, sino
           por las declaraciones del testigo de la Demandada, el Sr. Aníbal Villarroel. En particular,
           las Demandantes señalan que los trenes de amoniaco en la Planta FertiNitro habían operado




478
      EPA Koch, Párrafo 136.
479
      Segunda Audiencia (noviembre) D5.165 (Sanders).


                                                        193
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 510 of 622




        casi al 100 % de su capacidad nominal sobre una base anualizada en 2006 480 y el hecho de
        que los trenes de urea en FertiNitro eran capaces de producir 2200 toneladas diarias 481.

        Las Demandantes concluyen que los elementos de flujos de caja adoptados por el Sr. Giles
        se encuentran sustentados por documentos contemporáneos, el testimonio experto
        independiente del Sr. Sanders y las declaraciones del testigo de la Demandada, el Sr.
        Villarroel, en el contrainterrogatorio.

        Las Demandantes señalan asimismo varias deficiencias en la prueba de la Demandada. En
        particular, las Demandantes sostienen que la Demandada no ha proporcionado ninguna
        cuenta creíble de los costos de mantenimiento e inspección general y recorrida irregulares
        y en aumento en los que se incurrió en FertiNitro desde 2008. En el contrainterrogatorio,
        el Dr. Flores declaró que había confiado en la cuenta del Sr. Villarroel de costos de
        mantenimiento e inspección general y recorrida de la planta 482:

           “P. […] [Le] citaba al señor Villarroel porque usted [creía] que él comprendía muy
           bien todos los temas que tenían que ver con estos gastos de mantenimiento y de
           mantenimiento mayor. ¿No?
           R. Sí. O sea, yo suponía que él conocía bien estos temas de costos de mantenimiento
           porque trabajaba en FertiNitro”.

        Sin embargo, las Demandantes señalan que el Sr. Villarroel admitió que, como Gerente de
        Operaciones, no era responsable de los costos de FertiNitro ni los conocía 483:

           “Yo me refiero a la parte técnica y la realidad que vivo en el día a día de la empresa.
           Pero, obviamente, este tipo de cosas, de costos, a ese grado de detalle, y si están o
           no están autorizados, eso no nos compete. Y, realmente, en el día a día no tenemos
           contacto con esa información”.

        Las Demandantes sostienen que no se puede invocar la prueba pericial del Dr. Flores
        porque es una combinación errónea de:



480
    Primera Audiencia (septiembre) D3.129 (Villarroel).
481
    Primera Audiencia (septiembre) D3.130 (Villarroel).
482
    Segunda Audiencia (noviembre) D6.475-476 (Flores).
483
    Primera Audiencia (septiembre) D4.33 (Villarroel). Las Demandantes señalan también el reconocimiento del Sr.
    Villarroel de que “no [tenía] ningún tiempo para dedicárselo a los costos”: Primera Audiencia (septiembre) D4.31
    (Villarroel).


                                                       194
         Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 511 of 622




            (a)    una serie de afirmaciones que están al margen del expediente probatorio o fuera
                   de su experiencia; y
            (b)    un promedio de datos y fuentes, realizado mecánicamente sin consideración de la
                   prueba contemporánea e industrial.

          En cuanto a (a), la crítica de las Demandantes es de gran alcance. Sostienen que el Dr.
          Flores pretendió testificar sobre asuntos, tales como: la seguridad de las calles de
          Venezuela; el procedimiento legal en Venezuela; y el mercado laboral y los procesos de
          contratación de Venezuela.            Durante su testimonio, también asumió lo que las
          Demandantes describen como:

             “la responsabilidad de la planta de fertilizante, la comercialización de los productos
             y la experiencia legal y opinó sobre problemas como (1) inspección general y
             recorrida, mantenimiento y operaciones de la planta; (2) ingeniería y construcción
             de plantas de fertilizante; (3) costos incurridos en las plantas de fertilizantes; (4)
             procedimientos y decisiones de arbitrajes; y (5) comercialización de amoníaco y
             materias primas” 484.

          En cuanto a (b), las Demandantes afirman que, en contraposición al Sr. Giles, el Dr. Flores
          ha “adoptado un promedio mecánico de datos de costos y producción sin considerar si un
          comprador dispuesto y un vendedor dispuesto adoptarían esos datos para proyectar flujos
          de caja futuros en la planta FertiNitro” 485. En particular, las Demandantes señalan que el
          Dr. Flores no analizó los documentos contemporáneos disponibles ni investigó los costos
          excepcionalmente altos de mantenimiento e inspección general y recorrida en los que se
          incurrió en FertiNitro desde 2008. Surge, según afirman las Demandantes, que, debido a
          que no se investigaron las irregularidades, su valoración “se reduce de la peor manera” 486.

           (iii) Los Expertos en Daños de las Partes Coinciden en Varios Parámetros De
                 Compensación; Sin Embargo, Las Notables Diferencias De Hecho Y De Experiencia
                 Con Respecto A Asuntos De Daño Siguen Siendo Significativas

          En la Segunda Audiencia (noviembre), se les solicitó a las Partes, que en sus presentaciones
          posteriores identificaran cualquier punto de acuerdo y desacuerdo entre sus respectivos
          expertos en daños; y, en relación con cada uno de los puntos de desacuerdo, que indicaran


484
      EPA Koch, Párrafo 144 (citas omitidas).
485
      EPA Koch, Párrafo 146.
486
      EPA Koch, Párrafo 148.


                                                     195
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 512 of 622




        si los expertos en daños estaban en desacuerdo debido a un hecho o debido a una diferencia
        de experiencia.

        Las presentaciones ulteriores de las Demandantes adoptaron esa estructura. Sus Tablas 1 a
        4 en el Párrafo 149 de su Escrito Post-Audiencia identifican, respectivamente:

          (a)   las cuestiones relevantes objeto de acuerdo entre el Sr. Giles y el Dr. Flores, así
                como la naturaleza de su acuerdo (Tabla 1);

          (b)   los puntos de desacuerdo relacionados con la Valoración de Capital (Tabla 2);

          (c)   los puntos de desacuerdo relacionados con la Valoración de Offtake (Tabla 3); y

          (d)   los puntos de desacuerdo relacionados con las Pérdidas Históricas (Tabla 4). (El
                Tribunal ya ha abordado y desestimado estas “Pérdidas Históricas” en la Parte VIII
                supra).

        Estas Tablas se reproducen en las páginas siguientes 487. Posteriormente, la Demandada
        agregó sus comentarios a las Tablas 1 a 3 de las Demandantes durante la Tercera Audiencia
        (junio) 488, a las cuales, a su vez, las Demandantes agregaron sus respuestas vía mensaje de
        correo electrónico de fecha 30 de junio de 2016. Estos comentarios y respuestas se
        incluyen en las Tablas aledañas, como “Comentario de la Demandada” y “Comentario de
        las Demandantes”, respectivamente [Traducción del Tribunal]. En la medida que sea
        necesario, a pesar de las controversias procesales de las Partes, el Tribunal de todos modos
        ha tenido en cuenta sus contenidos, que decidió admitir en el expediente del arbitraje como
        parte de los respectivos escritos de las Partes, pero no como testimonio pericial del Sr. Giles
        ni del Dr. Flores 489.




487
    En aras de la integridad, aquí se incluye la Tabla 4 sobre “Pérdidas Históricas”, aunque el Tribunal ya haya
    abordado estas pretensiones de KOMSA en la Parte VIII supra.
488
    Tercera Audiencia (junio) D2.339 y ss.
489
    Tercera Audiencia (junio) D2.413 y ss.


                                                     196
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 513 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 514 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 515 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 516 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 517 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 518 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 519 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 520 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 521 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 522 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 523 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 524 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 525 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 526 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 527 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 528 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 529 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 530 of 622




Las Demandantes identificaron los puntos de desacuerdo entre las Partes más
significativos, en relación con lo siguiente: las proyecciones de los expertos en daños para
flujos de caja futuros en FertiNitro (sub-sección (d) infra); el Offtake Agreement (sub-
sección (e) infra); y la tasa de descuento y la prima de riesgo país aplicables a las
Valoraciones de capital y de offtake (sub-sección (f) infra).

(iv) Puntos Centrales de Acuerdo y Desacuerdo Relacionados con los Flujos de Caja
     Futuros en FertiNitro

Según las Demandantes, tal como se indicara supra, los expertos en daños de las Partes
concuerdan en que el cálculo de la producción futura en la Planta de FertiNitro debe basarse
en los niveles reales de producción de amoníaco y urea que se lograron en la Planta durante
cierto período. Sin embargo, más allá de este simple acuerdo, los expertos disienten
respecto del período de tiempo histórico que debe usarse para proyectar la producción
futura en FertiNitro. Ese desacuerdo es significativo, tal como afirmaran las Demandantes.

Tal como se estableciera en la Tabla 2 supra, el Sr. Giles usa el promedio de producción
logrado en FertiNitro entre 2006 y 2008. El Dr. Flores, por otra parte, usa el promedio de
producción logrado en FertiNitro entre 2006 y 2010. La diferencia entre los expertos en
daños en este punto reduce la valoración de capital del Sr. Giles en USD 25,7 millones y
la valoración de offtake en otros USD 9,2 millones.

En tanto que ambos expertos concuerdan en que el período comprendido entre 2006 y 2008
es un punto de referencia adecuado para proyectar la producción futura de FertiNitro, su
desacuerdo principal cuestiona en gran medida si la reducción de la producción de
FertiNitro durante 2009 y 2010 también debe incluirse en el período de referencia o no.

La explicación del Sr. Giles durante la Segunda Audiencia (noviembre) acerca de la
disfuncionalidad de 2009 y 2010 fue la siguiente:

  “[E]l [período] 2009-2010 ese es el mal momento para basarse en eso [para
  calcular la producción futura de FertiNitro], porque había costos únicos, porque
  empezó el proyecto 2, y esto no se puede incluir en un presupuesto constante de
  rendimiento, en una estimación de rendimiento. Y h[ubo] casos graves de descontrol




                                        214
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 531 of 622




           y de mala gestión. Pienso que el 2006 a 2008 da una idea equilibrada, no idealizada
           y tampoco tremendista” 499.

        El Sr. Giles declaró que el período 2006 a 2008 (que él usa) estuvo lejos de ser un escenario
        de producción “ideal”, ya que la Planta FertiNitro logró una producción que estuvo “10 por
        ciento por debajo de la capacidad prevista en el contrato”. Surge, tal como afirman las
        Demandantes, que su prueba es conservadora: la Planta había demostrado la capacidad de
        lograr la producción nominal. En este sentido, las Demandantes nuevamente señalan la
        prueba del Sr. Villarroel en el contrainterrogatorio de que podría esperarse que la planta de
        urea en FertiNitro lograra el 100 % del nivel del EPC 500.

        En relación con la prueba pericial del Dr. Flores, las Demandantes sostienen que no hace
        más que adherir mecánicamente a su enfoque de promedio. Específicamente, ignora los
        factores que debilitaron los resultados en 2009 y 2010. Proyectó un nivel de resultados
        futuros que es, de hecho, incluso más bajo que la propia proyección de la Demandada
        posterior a la expropiación. En cambio, las Demandantes señalan la valoración preparada
        por Advantis a los fines de las negociaciones para llegar a un acuerdo, la que demostró que
        la Demandada esperaba que, en el futuro, FertiNitro produjera cifras más elevadas 501. (El
        Dr. Flores, por otra parte, proyectó sólo 1730 TM/día de amoníaco y 2150 TM/día de
        urea) 502. Las Demandantes sostienen que el hecho de que la valoración de Advantis a los
        fines de las negociaciones posteriores a la expropiación sea mayor que las proyecciones de
        producción del Dr. Flores socava fatalmente la credibilidad de su prueba.

        Según las Demandantes, la segunda fuente principal de desacuerdo entre los expertos en
        daños de las Partes gira en torno a los costos de mantenimiento e inspección general y
        recorrida de la Planta FertiNitro. Las Demandantes, por una parte, afirman que el Sr. Giles
        ha evaluado los registros documentales y ha determinado que la fuente más confiable para

499
    Segunda Audiencia (noviembre) D6.280.
500
    Primera Audiencia (septiembre) D.3.128-129 (Villarroel) (para una explicación del concepto de “nominal”, véase
    Segunda Audiencia (noviembre) D5.81-82 (El Alegato de Apertura de las Demandantes sobre Cuantificación de
    daños).
501
    Informe Advantis intitulado “Valoración de FertiNitro” (mayo de 2011) (“Primer Informe Advantis”) (R-86),
    página 4.
502
    Modelo de Econ One Actualizado. A modo de comparación, las Demandantes señalan las proyecciones de
    producción del Sr. Giles de amoníaco de 1708 MT/día y de urea de 2058 MT/día. Las Demandantes sostienen que
    las proyecciones de producción del Sr. Giles son más conservadoras que las propias proyecciones de la Demandada
    en la valoración preparada por Advantis.


                                                       215
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 532 of 622




proyectar los costos futuros de mantenimiento son los presupuestos preparados por la
administración de la planta de FertiNitro entre 2006 y 2008. El Sr. Giles declaró que la
fuente más confiable para proyectar los costos futuros de inspección general y recorrida es
el presupuesto preparado por la administración de la planta de FertiNitro respecto de la
inspección general y recorrida de 2008. Por otra parte, las Demandantes afirman que el
Dr. Flores ha adherido a su promedio mecánico de los costos de mantenimiento reales
incurridos en FertiNitro entre 2006 y septiembre de 2010. Más específicamente, con
respecto a su proyección del costo futuro de inspección general y recorrida, el Dr. Flores
ha promediado: (1) los costos de inspección general y recorrida de 2008; y (2) los costos
presupuestados preparados por la administración de la planta de FertiNitro respecto de la
inspección general y recorrida de 2010.

Las Demandantes realizan cuatro alegaciones principales en sustento de su postura:

 (a)   Primero, alegan que los presupuestos de FertiNitro representan la única fuente
       confiable para la proyección de los costos futuros de mantenimiento e inspección
       general y recorrida de la Planta;

 (b)   Segundo, existen lo que el Sr. Giles describe como “graves irregularidades” con
       los importes reales que les restan confiabilidad en cuanto a las proyecciones de los
       costos futuros de mantenimiento e inspección general y recorrida en FertiNitro;

 (c)   Tercero, las suposiciones sobre los costos de mantenimiento e inspección general
       y recorrida del Dr. Flores se basan en un enfoque mecánico que ignora la prueba
       contemporánea de “graves irregularidades” con los costos de mantenimiento e
       inspección general y recorrida de FertiNitro; y

 (d)   Cuarto, la supuesta teoría de la “inflación” de la Demandada no explica los altos
       costos de mantenimiento e inspección general y recorrida incurridos en la Planta.

Nuevamente es necesario describir en mayor detalle cada una de estas alegaciones.

En cuanto a (a) – la “confiabilidad de los presupuestos de FertiNitro”: El Sr. Giles explica
que los presupuestos de administración proporcionan el indicador más confiable respecto




                                          216
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 533 of 622




        de los costos futuros de mantenimiento e inspección general y recorrida de la Planta 503. En
        efecto, afirman las Demandantes, los tribunales del CIADI a menudo han adoptado dichos
        presupuestos para proyectar los costos futuros. Señalan el caso Venezuela Holdings c.
        Venezuela (al que también se hace alusión como el caso ExxonMobil) 504, donde, tras
        habérsele presentado una serie de opciones (una de las cuales incluyó el plan de negocios
        de 2006 que detallaba los gastos operativos presupuestados para 2007), Venezuela
        argumentó que el presupuesto de 2007 requería “varios ajustes para desarrollar las
        proyecciones de costos operativos” 505. El tribunal rechazó este argumento y sostuvo que
        “[los gastos presupuestados fueron] el mejor indicador de lo que los participantes del
        Proyecto esperan en el futuro en ausencia de medidas adversas tomadas por las autoridades
        venezolanas” 506.

        Las Demandantes afirman que aquí se aplica exactamente el mismo fundamento. Surge
        que las razones de la utilización de presupuestos de administración para la proyección de
        los costos futuros en FertiNitro son abrumadoras. Esto es así particularmente en lo que se
        refiere al carácter poco fiable de los supuestos costos reales de FertiNitro previo a la
        expropiación en octubre de 2010.

        En cuanto a (b) – las “graves irregularidades”: las Demandantes sostienen que los
        presupuestos representan la única fuente confiable para el Tribunal a los efectos de la
        proyección de los costos futuros de mantenimiento e inspección general y recorrida de la
        Planta.

        Las Demandantes señalan, en particular, el Acta de la reunión de la Junta Directiva de
        FertiNitro de agosto de 2010. Allí se describió que los costos escalaban “fuera de
        control” 507. Las Demandantes sostienen que, para 2010, la Junta tenía en claro que los
        costos en FertiNitro se habían inflado burdamente a través de la adjudicación de contratos




503
    Segunda Audiencia (noviembre) D6.277-278 (Giles).
504
    Venezuela Holdings c. Venezuela (RLA-153).
505
    Venezuela Holdings c. Venezuela (RLA-153), Párrafo 343.
506
    Venezuela Holdings c. Venezuela (RLA-153), Párrafo 342 (cita omitida).
507
    Acta de la reunión de la Junta Directiva de FertiNitro No. 111 (5 de agosto de 2010) (C-105), página 4.


                                                        217
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 534 of 622




           no autorizados por parte del personal de administración de la planta de Pequiven. En
           efecto, el Acta de esa reunión de la Junta Directiva registra lo siguiente 508:

              “[…] cinco (5) contratos que en conjunto implicaban obligaciones para FertiNitro
              de aproximadamente 56 millones USD, y que la nueva Gerencia procedió a rescindir,
              pues los mismos no cumplieron con procesos licitatorios adecuados y carecían
              algunos de los contratistas calificados que justificaran su selección. Igualmente se
              informó que en todos esos Contratos, el Gerente General actuó en violación de los
              límites de autorización y delegación financiera aprobados por la Junta Directiva”.

           Las Demandantes sostienen que estos contratos no autorizados sin duda contribuyeron a
           los costos excepcionalmente altos de mantenimiento e inspección general y recorrida
           incurridos en la Planta.

           Aunque durante la reunión de la Junta Directiva de FertiNitro de agosto de 2010 se
           adoptaron resoluciones que establecieron procedimientos específicos y una línea de tiempo
           para la selección de auditores externos y la designación de un departamento de auditoría
           interna, no se llevaron a cabo ninguna de estas resoluciones o solicitudes de la junta
           directiva, ya que (tal como afirman las Demandantes) la Demandada expropió FertiNitro
           en octubre de 2010.

           En cuanto a (c) – ignorancia de las “graves irregularidades”: las Demandantes afirman que
           el propio Dr. Flores aceptó que existían irregularidades que deberían haberse contemplado
           al emprender el ejercicio de valoración. En particular, hacen alusión a su reconocimiento
           de que “si uno estuviera muy preocupado, posiblemente se puedan excluir” 509.
           Independientemente de estas cuestiones, el Dr. Flores calculó los costos sobre un simple
           promedio. Las Demandantes afirman que estas cuestiones son importantes y exigen el
           rechazo de su prueba.

           En cuanto a (d) – la teoría de la “inflación”: las Demandantes afirman que la Demandada
           no ha brindado ninguna explicación creíble en cuanto a los costos de mantenimiento e
           inspección general y recorrida incurridos en la Planta. En lo que las Demandantes



508
      Acta de la reunión de la Junta Directiva de FertiNitro No. 111 (5 de agosto de 2010) (C-105), página 5.
509
      Segunda Audiencia (noviembre) D7.567 (Flores).


                                                           218
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 535 of 622




        describieron como un “último intento desesperado de explicar estos costos” 510, la
        Demandada planteó la explicación de que los considerables costos de mantenimiento e
        inspección general y recorrida eran el resultado de la inflación. El Dr. Flores adoptó esa
        teoría por primera vez en la Audiencia. Las Demandantes sostienen que debe rechazarse,
        señalando el rechazo de la inflación del Sr. Giles 511, conjuntamente con la ausencia de
        documentos contemporáneos 512.

        Según las Demandantes, el tercer punto importante de desacuerdo se refiere a los períodos
        de inspección general y recorrida. Las Demandantes sostienen que, de conformidad con la
        prueba del Sr. Giles, la base de la propuesta de EPC confirmó que los patrocinadores del
        proyecto esperaban que hubiera una inspección general y recorrida en FertiNitro cada tres
        años. Las Demandantes critican el enfoque adoptado por la Demandada, sobre la base de
        la prueba del Dr. Flores, a saber, que debería aplicarse un promedio simple. Es decir, en
        lugar de adoptar una inspección general y recorrida de tres años, la utilización por parte del
        Dr. Flores de una inspección general y recorrida de 2,5 años es errónea, en tanto se basa en
        la ocurrencia de dos inspecciones generales y recorridas en el período comprendido entre
        2006 y 2010. Surge, según afirman las Demandantes, que la evaluación del Sr. Giles es la
        única que está respaldada por la prueba contemporánea, los puntos de referencias
        internacionales y la opinión independiente del Sr. Sanders.

        (v)    Puntos centrales de acuerdo y desacuerdo relacionados con la valoración del Offtake
               Agreement

        Las Demandantes identifican el punto central de desacuerdo entre los expertos en daños de
        las Partes en relación con el Offtake Agreement como la metodología que debe usarse para
        la valoración de la participación de KNI en el Offtake Agreement.

        Las Demandantes señalan lo que afirman constituye el enfoque más deseable del Sr. Giles,
        es decir, tres pasos, de la siguiente manera:



510
    EPA Koch, Párrafo 173.
511
    Segunda Audiencia (noviembre) D6.287-288 (Giles).
512
    Las Demandantes se basan particularmente en el acta de la reunión de la Junta Directiva de fecha 5 de agosto de
    2010, que omite cualquier referencia a la “inflación”. Acta de la reunión de la Junta Directiva de FertiNitro No.
    111 (5 de agosto de 2010) (C-105)


                                                        219
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 536 of 622




             (a)   cálculo del precio de venta de la urea y el amoníaco en los Estados Unidos (según
                   las proyecciones de FertEcon de octubre de 2010);

             (b)   el precio de compra del amoníaco y la urea conforme al Offtake Agreement
                   (nuevamente, según las proyecciones de FertEcon de octubre de 2010); y

             (c)   el costo de envío entre FertiNitro y los Estados Unidos.

           El Sr. Giles posteriormente aplica su tasa de descuento para calcular el valor actual neto
           del Offtake Agreement.

           Las Demandantes señalan el sustento probatorio para este enfoque del Sr. Jim Sorlie, quien
           declarara acerca del mercado de fertilizantes del Caribe. Dicha prueba habiendo sido
           “irrefutada” por parte de la Demandada y desacreditando la suposición del Dr. Flores de
           un mercado al contado de productos fertilizantes al supuesto precio “medio del Caribe”.

           Las Demandantes sostienen que el Dr. Flores no ha realizado una valoración del Offtake
           Agreement a octubre de 2010. En cambio, las Demandantes afirman que la utilización del
           valor de reemplazo empleado por el Dr. Flores contradice el estándar de compensación
           conforme al derecho internacional consuetudinario.           Dicho enfoque exige una
           determinación del valor justo de mercado (no del valor de reemplazo) a la fecha de la
           expropiación.

           En relación con el enfoque del Dr. Flores, las Demandantes señalan también una serie de
           cuestiones que lo debilitan, a saber (tal como afirman las Demandantes):

             (a)   Su suposición sin fundamento de que KNI podía reemplazar las toneladas perdidas
                   a un “precio medio del Caribe”. Esta suposición contradice la prueba irrefutable
                   del Sr. Sorlie de que prácticamente no hay productos disponibles para que KNI
                   compre en el mercado del Caribe 513;




513
      Primera Audiencia (septiembre) D2.105-106 (Sorlie).


                                                        220
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 537 of 622




             (b)   Sus suposiciones de hecho sin fundamento, incluida su afirmación de que “el
                   amoníaco producido en Venezuela no tiene ninguna diferencia respecto al que se
                   produce en el Mar Negro” 514; y

             (c)   No mencionar que casi todos los artículos en los que se basó corresponden a una
                   fecha posterior a la expropiación de octubre de 2010.

           Por último, en relación con la afirmación de la Demandada de que el descubrimiento y
           explotación de gas de esquisto en los Estados Unidos tiene un impacto, las Demandantes
           sostienen que los desarrollos de gas de esquisto de los Estados Unidos posteriores a 2010
           no pueden influir en el valor justo de mercado del Offtake Agreement de octubre de 2010.
           En realidad, tal como afirman las Demandantes invocando la prueba del Sr. Sorlie, incluso
           en 2014 (cuatro años después de la expropiación), se esperaba que los Estados Unidos se
           mantuvieran como un importador neto muy importante de fertilizantes 515. Por otra parte,
           la prueba del Sr. Sorlie confirmó que la explotación de gas de esquisto en los Estados
           Unidos no afectaría considerablemente la valoración del Offtake Agreement del Sr. Giles,
           incluso en 2014. Esa prueba, tal como afirman las Demandantes, no es refutada por la
           Demandada.

           Por consiguiente, en resumen, las Demandantes sostienen que la Valoración de Offtake del
           Sr. Giles cumple con el estándar jurídico aplicable, se basa en prueba documental y
           testimonial confiable, y refleja una clara comprensión del mercado de fertilizantes del
           Caribe. Esto debe contrastarse, afirman las Demandantes, con la Valoración de Offtake del
           Dr. Flores, que es errónea tanto desde el punto de vista de hecho como de derecho, revela
           una interpretación equivocada del mercado de fertilizantes del Caribe y se ve debilitada por
           prueba documental y testimonial.




514
      Segunda Audiencia (noviembre) D7.687 (Flores).
515
      Primera Audiencia (septiembre) D2.153-154 (Sorlie).


                                                        221
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 538 of 622
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 539 of 622




        Por otra parte, las Demandantes describen la tasa de descuento del Dr. Flores como una
        tasa de descuento más elevada “artificial” 516 [Traducción del Tribunal]. En resumen, las
        Demandantes critican al Dr. Flores por seleccionar una prima de riesgo de mercado
        exagerada y una prima de riesgo país general inflada que no tiene en cuenta la exposición
        específica de FertiNitro al riesgo país de Venezuela. Según las Demandantes, existen
        diversos elementos en esa crítica.

        Primero, las Demandantes sostienen que el Dr. Flores ha adoptado una prima de riesgo de
        mercado inflada que debilita su valoración de las inversiones de las Demandantes. Esa
        prima de riesgo de mercado era del 6,7 %. Durante la Segunda Audiencia (noviembre), el
        Sr. Giles explicó que, de 12 posibles fuentes de primas de riesgo de mercado en el
        expediente de este arbitraje (del 3 % al 6,7 %), el Dr. Flores seleccionó la fuente que
        produce la prima de riesgo de mercado más elevada posible 517. Las Demandantes aseveran
        que esto establece un claro contraste con la prima de riesgo de mercado del Sr. Giles, que
        se ubica en el punto medio del rango de fuentes posibles de prima de riesgo de mercado.
        Las Demandantes sostienen que la selección de una prima de riesgo de mercado exagerada
        es una “demostración evidente de ingeniería financiera inversa por parte del Dr. Flores” 518.
        En este sentido, las Demandantes señalan que la prima de riesgo de mercado seleccionada
        por el Dr. Flores es casi el doble de la prima de riesgo de mercado del 3,5 % adoptada por
        la Demandada en su propia valoración de capital posterior a la expropiación encargada a
        Advantis a los efectos de las negociaciones para llegar a un acuerdo 519. En síntesis, las
        Demandantes afirman que el enfoque del Dr. Flores no representa de manera realista lo que
        un comprador dispuesto y un vendedor dispuesto habrían acordado en una transacción a
        octubre de 2010.

        Segundo, a pesar de comenzar en el mismo punto de partida general (a saber, la prima de
        riesgo país general del Profesor Damodaran para Venezuela), las Demandantes afirman
        que el análisis del Dr. Flores toma tres medidas respecto del riesgo país de Venezuela, las
        promedia y luego se abstiene de analizar los atributos individuales de FertiNitro para


516
    EPA Koch, Párrafo 200.
517
    Segunda Audiencia (noviembre) D6.282-283 (Giles).
518
    EPA Koch, Párrafo 203.
519
    Primer Informe Advantis (R-86), página 23.


                                                    223
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 540 of 622




           determinar la exposición al riesgo país. Las Demandantes se concentran en el hecho de
           que el Dr. Flores no ha explicado por qué el promedio de varias fuentes (cada una de las
           cuales redundaba en una diferencia importante en las tasas de riesgo país) ofrece una
           metodología precisa para calcular la tasa de riesgo país de Venezuela.

           Surge, tal como afirman las Demandantes, que debe preferirse la metodología del Sr. Giles.
           El Sr. Giles utilizó una prima de riesgo país general del 6 %, que luego ajustó: (1) para
           eliminar el impacto de iliquidez (dado que el estándar de valor justo de mercado requiere
           que uno asuma que no existen problemas de liquidez) y (2) para reflejar la exposición
           específica de FertiNitro al riesgo país de Venezuela, es decir, el factor lambda.

           Las Demandantes sostienen que debe preferirse el análisis del Sr. Giles porque reconoce
           que FertiNitro, como toda inversión, es única. Basó su prima de riesgo país general en la
           proyección del Profesor Damodaran del 6,75 % para el riesgo país general en Venezuela.
           Posteriormente redujo el cálculo del Profesor Damodaran un 0,75 % para considerar los
           datos de encuestas que son representativos de lo que los participantes del mercado utilizan
           en lo que denomina transacciones “reales”.

           Surge, tal como afirman las Demandantes, que el Tribunal debe usar la única fuente que
           acuerdan ambos expertos en este arbitraje como una fuente adecuada para evaluar el riesgo
           país genérico de Venezuela; es decir, el cálculo proporcionado por el Profesor Damodaran
           - con los ajustes realizados por el Sr. Giles.

           Sobre este último punto, las Demandantes concluyen que la tasa apropiada debería ajustarse
           por vía de referencia a un ajuste de liquidez. Esto es, debe reducirse el riesgo país genérico
           para eliminar el riesgo de un mercado con problemas de liquidez. Esto deriva, tal como
           declara el Sr. Giles, en una reducción del 1 % (del 6 % al 5 %).

           Tercero, las Demandantes señalan que los expertos acuerdan, en principio, la aplicación de
           un ajuste del riesgo país específico de FertiNitro mediante un factor lambda. Los expertos
           acuerdan que, en principio, se debe aplicar un factor lambda para determinar una prima de
           riesgo país específica de la inversión. Tal como explicara el Sr. Giles 520:


520
      Segunda Audiencia (noviembre) D6.285 (Giles).


                                                      224
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 541 of 622




             “Creo que todos aceptan, incluso el doctor Flores, que un inversor va a pagar más
             por una inversión más aislada del riesgo país de lo que lo puede estar una empresa
             cualquier en Venezuela. Eso está claro. También lo vemos en la obra del doctor
             Damodaran. Así que hay que formarse una opinión sobre la exposición relativa de
             FertiNitro al riesgo país venezolano”.

           Las Demandantes se quejan de que el Dr. Flores, en realidad, no ha calculado un factor
           lambda. El resultado final, tal como aseveran las Demandantes, es que el Dr. Flores está
           de acuerdo con la aplicación de un factor lambda, aunque no llevó a cabo el análisis
           detallado específico de la inversión que este enfoque requiere.

           Cuarto, las Demandantes concluyen que el Sr. Giles es el único experto en daños que ha
           aplicado efectivamente el enfoque lambda acordado y evaluado así la medida en la que
           FertiNitro está expuesto al riesgo país venezolano.

           Las Demandantes sostienen que, aunque el Dr. Flores posteriormente afirmó haber
           aplicado un factor lambda, la prueba aportada durante la Segunda Audiencia (noviembre)
           confirmó que sólo el Sr. Giles ha realizado un examen adecuado de la exposición de
           FertiNitro al riesgo país venezolano. Señalan el análisis detallado del Sr. Giles de la medida
           en la cual FertiNitro está expuesto a 22 factores de riesgo distintos que comprenden el
           riesgo país de Venezuela. En definitiva, el Sr. Giles determinó que debía aplicarse un factor
           lambda adecuado de 0,4. Tal como explicara el Sr. Giles 521:

             “Primero del lado de los ingresos, no hay riesgos de precios específicos en
             Venezuela. Sin decreto urea todos los precios se fijan a escala internacional según
             el off-take, así que pase lo que pase en la economía venezolana los precios se fijan a
             escala internacional.
             La demanda es internacional, el mercado internacional e, el precio internacional y
             aceptan todos los volúmenes que puede producir FertiNitro, así que pase lo que pase
             en Venezuela FertiNitro puede vender su producto. Lo que no es lo mismo que una
             empresa tipo, no sé un hotel, una panadería. Una empresa tipo está muy expuesta a
             las condiciones económicas del lugar”.

           Las Demandantes señalan que el Sr. Giles ha implementado un enfoque forense que analiza
           un conjunto de factores de riesgo país. Las Demandantes señalan también que el Sr. Giles


521
      Segunda Audiencia (noviembre) D6.286 (Giles).


                                                      225
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 542 of 622




           hace hincapié en que la Planta FertiNitro está ubicada en un lugar seguro y tiene una baja
           exposición a riesgos asociados al disturbio social, las huelgas políticas y el crimen
           organizado. Tiene acceso a un muelle dedicado para exportar sus productos; y FertiNitro
           no requiere financiación externa para operar. Además, tiene una exposición baja a los
           riesgos de transporte e infraestructura venezolanos.

           Las Demandantes sostienen que debe contrastarse al Sr. Giles con el Dr. Flores, quien
           admitiera durante el contrainterrogatorio en la Segunda Audiencia (noviembre) que no
           había analizado de manera independiente cada uno de los 22 elementos de riesgo país
           analizados por el Sr. Giles cuando se calculó el factor lambda 522.

           Las Demandantes sostienen además que la evaluación del Sr. Giles y las conclusiones
           acerca del factor lambda son coherentes con aquellas de la agencia de calificación crediticia
           internacional, Moody’s, en su determinación contemporánea de los riesgos asociados con
           la deuda corporativa de FertiNitro. Al comienzo del proyecto, Moody’s llevó a cabo un
           análisis comparativo de las calificaciones de riesgo de Venezuela y el proyecto FertiNitro.
           El enfoque analítico llevado a cabo por Moody’s en la determinación de la calificación de
           los bonos corporativos de FertiNitro es, afirman las Demandantes, similar al enfoque
           adoptado por el Sr. Giles en la determinación del factor lambda. Además, las agencias de
           calificación crediticia internacionales calificaron los bonos de FertiNitro como menos
           riesgosos que la deuda soberana de Venezuela.

           En cambio, las Demandantes sostienen que las evaluaciones contemporáneas de las
           agencias de calificación crediticia internacionales contradicen la implementación ad hoc
           del Dr. Flores de un lambda de 1,0. En el contrainterrogatorio, el Dr. Flores estuvo de
           acuerdo en que el informe de Moody’s (Anexo BE-19) confirma la posición aceptada de
           que se debe medir el riesgo país con respecto a los bienes específicos o la inversión en
           cuestión. En este sentido, explicó lo siguiente 523:

             “Así que Moody’s dice: En este tipo de evaluación hay que examinar cada proyecto
             por sí solo. ¿Correcto? R Sí”.


522
      Segunda Audiencia (noviembre) D7.604-606 (Flores).
523
      Segunda Audiencia (noviembre) D7. 643 (Flores).


                                                      226
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 543 of 622




        Las Demandantes sostienen que, notablemente, el Dr. Flores reconoció que, al comienzo
        del proyecto FertiNitro, Moody’s había confirmado que FertiNitro estaba menos expuesta
        al riesgo país venezolano que otras empresas que operaban en Venezuela 524.                           Las
        Demandantes señalan criterios analíticos similares utilizados por otras agencias, por
        ejemplo, Fitch 525 y Duff & Phelps 526. Así, surge tal como afirman las Demandantes, que
        estas conclusiones contemporáneas corroboran las conclusiones a las que arribó el Sr. Giles
        acerca del lambda e igualmente, confirman que la conclusión del Dr. Flores es fuera de lo
        común.

        Además, las Demandantes destacan que Moody’s observó que los inversionistas
        extranjeros pueden disminuir la exposición al riesgo país mediante la estructuración de las
        transacciones a fin de beneficiarse de las protecciones otorgadas en tratados de inversión.
        Sin embargo, el Dr. Flores asumió lo opuesto, suponiendo que la existencia del Tratado no
        mitiga, de ninguna forma, el riesgo país con respecto a las inversiones de las Demandantes.
        Esto demuestra lo que, según las Demandantes, se trata de otra falla con la suposición del
        Dr. Flores de que un comprador y vendedor dispuestos considerarían que FertiNitro y el
        Offtake Agreement están expuestos al riesgo país venezolano al igual que el activo
        promedio ubicado en Venezuela, lo que ocasiona un lambda de 1,00.

        Las Demandantes alegan que la arbitrariedad del lambda del Dr. Flores de 1,00 es ilustrada
        aún más por el hecho de que omitió por completo el Offtake Agreement en su análisis. El
        Sr. Giles confirmó en su segundo informe que “el Offtake Agreement es inmune a los
        cambios de los costos locales en Venezuela; por lo tanto, lo hace aún menos similar a una
        firma típica en Venezuela” 527. Y, sin embargo, tal como confirmara en la Segunda
        Audiencia (noviembre), el Dr. Flores simplemente ha aplicado el mismo lambda de 1,00 a
        la Valoración de Offtake sin una evaluación separada de la exposición del Offtake
        Agreement al riesgo país venezolano 528.



524
    Segunda Audiencia (noviembre) D7. 623-624 (Flores).
525
    Comunicado de prensa de calificación de Fitch (30 de marzo de 1998) (C-119).
526
    Duff & Phelps Credit Rating Co., FertiNitro Finance Inc. – Credit Analysis Update (septiembre de 1998) (BE-23),
    página 188.
527
    Segundo Informe de Experto de Tim Giles (30 de agosto de 2013) (“Giles IP2”), Párrafo 1.26.
528
    Segunda Audiencia (noviembre) D7. 682-683 (Flores).


                                                       227
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 544 of 622




        Las Demandantes señalan nuevamente que el análisis del Dr. Flores entra en conflicto con
        el registro contemporáneo y la práctica de valoración de la vida real. Las agencias de
        calificación internacional, por ejemplo, han confirmado que la existencia de un Offtake
        Agreement mitiga la exposición al riesgo país 529.

        Por eso, en resumen, las Demandantes afirman que la exposición turbia, superficial e
        interesada del Dr. Flores sobre el tema lambda es flagrante dado el efecto dramático que
        tiene el lambda en las Valoraciones de Capital y de Offtake.

        (vii) El laudo dictado en el contexto del caso Gold Reserve c. Venezuela respalda la prima
              de riesgo país específica de FertiNitro adoptada por el experto en daños de las
              Demandantes, el Sr. Giles, y desacredita la prima de riesgo país general adoptada
              por el experto en daños de la Demandada, el Dr. Flores; por el contrario, los laudos
              dictados en los casos de ExxonMobil y Mobil no identifican ninguna prima de riesgo
              país para Venezuela y se distinguen claramente

        En relación con la cuestión del riesgo país, las Demandantes sostienen que el laudo dictado
        en el contexto del caso Gold Reserve c. Venezuela 530 respalda la prima de riesgo pías
        específica de FertiNitro adoptada por el Sr. Giles y desacredita la prima de riesgo país
        general adoptada por el Dr. Flores. Además, las Demandantes sostienen que los dos laudos
        dictados en el marco de los casos ExxonMobil y Mobil 531 no identifican ningún riesgo país
        para Venezuela y se distinguen claramente.

        Las Demandantes sostienen que el laudo de Gold Reserve es de importancia central debido
        a su tratamiento de la tasa de descuento y el riesgo país venezolano. El tribunal en ese caso
        adoptó una tasa de descuento según un costo de capital promedio ponderado (“CCPP”) del
        10,09 % 532 (que es casi idéntico a la tasa de descuento comparable del Sr. Giles del 10,1
        %). Al hacerlo, el tribunal incorporó una prima de riesgo país del 4 % al costo del capital.

        Las Demandantes presentan cuatro argumentos en este sentido que (según argumentan)
        sustentan su enfoque, a saber:


529
    Véanse, por ejemplo, Duff & Phelps Credit Rating Co. – Rating Approach to Project Finance (BE-18), página 13;
    Thomas Coleman, Moody's Investors Service – Piercing the Sovereign Ceiling: Issues in Oil and Gas Project
    Financing – (23 de febrero de 1998) (BE-11), página 9.
530
    Gold Reserve c. Venezuela (CLA-156).
531
    Es decir, Mobil c. PDVSA (EO-45); Venezuela Holdings c. Venezuela (RLA-153).
532
    Gold Reserve c. Venezuela (CLA-156), Párrafo 842.


                                                      228
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 545 of 622




        En primer lugar, el tribunal del caso Gold Reserve concluyó que una prima de riesgo país
        del 4 % “considera adecuadamente riesgos políticos, junto con otros riesgos, pero no se
        infla en exceso a causa de riesgos de expropiación” 533. Según ese tribunal, “no es adecuado
        aumentar la prima de riesgo país para reflejar la percepción del mercado acerca de que un
        estado podría tener una tendencia a expropiar inversiones en incumplimiento de las
        obligaciones del TBI” 534.       Las Demandantes sostienen además que este aspecto del
        razonamiento del tribunal concuerda con el principio de derecho internacional establecido
        de nullus commodum capere de sua injuria propria 535.

        Este principio ha sido reafirmado por el tribunal en Flughafen c. Venezuela, donde el
        tribunal explicó lo siguiente: “El estado que aumenta el riesgo país a través de la adopción
        de nuevas actitudes políticas, adoptadas después de que se haya materializado la inversión,
        no puede beneficiarse de un acto ilícito que se le atribuya para reducir la compensación que
        se pagará” 536.

        En segundo lugar, la prima de riesgo país adoptada por el tribunal en Gold Reserve
        confirma que se requiere un enfoque específico de la inversión para medir el riesgo país a
        los fines de la valoración. El tribunal rechazó específicamente el cálculo de riesgo país
        “general” de Venezuela debido a que se “basó en el riesgo país completo y ‘general’ para
        una inversión en Venezuela” 537. En cambio, se refirió a una valoración de mercados de
        capital de RBC que fue específica de la inversión de Gold Reserve con el fin de llegar a su
        prima de riesgo país del 4 %.

        En tercer lugar, en el laudo de Gold Reserve, la prima de riesgo país del 4 % se relacionó
        con el costo del capital. Esto ocasionó un costo total de capital del 11,92 % y un CCPP del
        10,09 %. El elemento de la prima de riesgo país del CCPP fue en consecuencia menor que
        el 4%, ya que el CCPP es una medida no solo de capital, sino también de deuda (que tendría
        una prima de riesgo país más baja o nula adjunta a este). Las Demandantes alegan que los


533
    Id.
534
    Gold Reserve c. Venezuela (CLA-156), Párrafo 841.
535
    Ningún Estado puede beneficiarse de sus propios actos ilícitos.
536
    Flughafen Zürich A.G. y Gestión e Ingeniería IDC S.A. c. República Bolivariana de Venezuela, Caso CIADI N.º
    ARB/10/19, Laudo (18 de noviembre de 2014) (“Flughafen c. Venezuela”) (RLA-154), Párrafo 905.
537
    Gold Reserve c. Venezuela (CLA-156), Párrafo 840.


                                                     229
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 546 of 622




        expertos de las Partes aceptan que la tasa de descuento adecuada que ha de aplicarse en
        este caso es el retorno sobre los bienes. Esta tasa es efectivamente idéntica al CCPP (con
        la excepción del tratamiento de escudos fiscales de deuda). El retorno sobre los bienes es,
        al igual que el CCPP, el retorno sobre los acreedores y los accionistas. Como tal, al efecto
        de comparar la prima de riesgo país aplicada en el laudo de Gold Reserve con la prima del
        riesgo país que se aplicará a FertiNitro, no es necesario observar el 4 % agregado por el
        tribunal de Gold Reserve al costo del capital, sino la prima que se aplicó al CCPP. Aunque
        el laudo no especifica qué prima se aplicó al CCPP en el caso de Gold Reserve, debe ser
        menor al 4 % que el tribunal aplicó al costo del capital.

        En cuarto lugar, tal como explicara el Sr. Giles (véase supra) FertiNitro está mucho menos
        expuesto al riesgo país de Venezuela que la mina de oro en cuestión en el caso de Gold
        Reserve. La mina se ubicaba en la “Reserva Forestal de Imataca, frágil desde el punto de
        vista ecológico” en el interior de Venezuela 538. No se puede acceder fácilmente a esta área
        del sudeste de Venezuela y tiene vías de transporte deficientes, incluso en comparación con
        otras ubicaciones remotas de Venezuela.

        A diferencia del caso Gold Reserve, las Demandantes afirman que los casos de ExxonMobil
        y Mobil se distinguen claramente del presente arbitraje y los laudos resultantes no ofrecen
        un precedente significativo sobre la evaluación del riesgo país y la tasa de descuento.
        ExxonMobil obtuvo estos laudos en dos arbitrajes separados contra Venezuela y sus
        empresas estatales. Estos laudos se relacionan con la expropiación de Venezuela de un
        proyecto de petróleo extra pesado y otras inversiones llevadas a cabo formalmente por el
        grupo de ExxonMobil en Venezuela.

        En relación con el arbitraje CCI, Mobil Cerro Negro (“Mobil”) inició un procedimiento de
        arbitraje contra PDVSA Cerro Negro SA (“PDVSA-CN”) y Petróleos de Venezuela SA
        (“PDVSA”) conforme a dos acuerdos interrelacionados: (1) el “Acuerdo de Asociación” y
        (2) la “garantía de PDVSA” 539. La tarea del tribunal CCI fue “aplicar la intención común
        de las Partes reflejada en el [Acuerdo de Asociación]” 540. En particular, se le solicitó al


538
    Gold Reserve c. Venezuela (CLA-156), Párrafo 283.
539
    Mobil c. PDVSA (EO-45).
540
    Mobil c. PDVSA (EO-45), Párrafo 767.


                                                        230
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 547 of 622




           tribunal CCI que otorgara una compensación de acuerdo con una fórmula de indemnización
           prevista en el Acuerdo de Asociación. En esas circunstancias, el tribunal CCI no respaldó
           ningún cálculo de riesgo país particular para Venezuela. En cambio, el tribunal CCI analizó
           la valoración de flujos de caja futuros en virtud de la fórmula de indemnización
           proporcionada en el Acuerdo de Asociación. Cuando analizó este asunto, el tribunal CCI
           enfatizó que “hay una diferencia entre valorar flujos de caja futuros en virtud de una
           fórmula de indemnización y valorar flujos de caja futuros de un proyecto” 541.

           En estas circunstancias, las Demandantes sostienen que los factores considerados por el
           tribunal CCI al efecto de determinar la tasa de descuento apropiada que ha de aplicarse a
           los daños contractuales no son relevantes de manera demostrable para el cálculo de la tasa
           de descuento de una valoración de FCD de una inversión. Las Demandantes alegan que
           ninguna Parte ni experto en el presente caso ha propuesto un análisis de tasa de descuento
           comparable con el que se llevó a cabo en el laudo de la CCI.

           Las Demandantes señalan asimismo el hecho de que otra característica de distinción de los
           casos ExxonMobil y Mobil es que la demandante había argumentado consistentemente a
           favor de una tasa libre de riesgos (es decir, una tasa de descuento que excluyera cualquier
           prima de riesgo de mercado y cualquier prima de riesgo país). Por el contrario, la fórmula
           de tasa de descuento de las Demandantes incluye una prima de riesgo de mercado sustancial
           (4,75 %) y una prima de riesgo país (2 %).         El estándar del derecho internacional
           consuetudinario de reparación íntegra no desempeñó papel alguno en el análisis del tribunal
           CCI.

           Paralelamente al caso CCI, varias subsidiarias de ExxonMobil incoaron un arbitraje CIADI
           en contra de Venezuela en virtud del TBI Países Bajos-Venezuela 542. Como en el caso
           CCI, en el caso CIADI no existió prueba alguna de cálculo de riesgo país. Las demandantes
           habían argumentado que el riesgo país está conformado en gran parte por “una
           expropiación no compensada, que no se puede tener en cuenta para valorar dicha
           expropiación”. En esas circunstancias, las Demandantes sostienen el laudo del CIADI no
           contiene ningún análisis del riesgo país venezolano, y menos aún un análisis del riesgo

541
      Mobil c. PDVSA (EO-45), Párrafo 774.
542
      Venezuela Holdings c. Venezuela (RLA-153).


                                                   231
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 548 of 622




           específico de la inversión ni ningún cálculo final para el riesgo país. En cambio, el tribunal
           CIADI adoptó una tasa de descuento del 18 % a los fines de su valoración de FCD.

           Así, según afirman las Demandantes, a diferencia de los casos ExxonMobil y Mobil, la
           prueba aportada en el presente arbitraje conlleva argumentos detallados en sustento del
           enfoque de riesgo país de las Demandantes. A diferencia de los casos ExxonMobil y Mobil,
           tal como afirman las Demandantes, los expertos de ambas Partes han propuesto argumentos
           enfocados en el riesgo país y ambos expertos aceptan que la prima de riesgo país que será
           adoptada por el Tribunal debe ser específica de la inversión (es decir, utilizando un factor
           lambda). Por lo tanto, los casos ExxonMobil y Mobil no pueden ser de utilidad para el
           Tribunal en su evaluación de riesgo país ni de lambda en el presente arbitraje.

           Las Demandantes señalan otro ejemplo de una evaluación de riesgo país que involucra a
           Venezuela en el laudo dictado en Flughafen c. Venezuela 543. En ese caso, la demandada
           propuso una prima de riesgo país del 7,9% y una tasa de descuento del 14,4% 544. El tribunal
           adoptó la prima de riesgo país de la demandada sobre la base de los hechos específicos del
           caso: en particular, que, cuando las demandantes realizaron sus inversiones en 2004, el
           riesgo país ya existía, los inversionistas estaban muy conscientes de este y el riesgo no se
           había modificado para el momento de la expropiación poco tiempo después, en diciembre
           de 2005.

           Por lo tanto, a modo de resumen, las Demandantes concluyen que el laudo del tribunal
           CIADI en el caso Gold Reserve c. Venezuela es la autoridad legal más importante en
           relación con el riesgo país (y particularmente el riesgo de expropiación) y el análisis
           lambda que se le requiere al Tribunal que lleve a cabo en el presente caso. Esa decisión
           respalda la prima de riesgo país específica de FertiNitro adoptada por el Sr. Giles y
           desacredita la prima de riesgo país general adoptada por el Dr. Flores. Por el contrario, tal
           como afirman las Demandantes, los laudos dictados los casos ExxonMobil y Mobil se
           distinguen claramente. En lo que respecta al laudo de Flughafen, es de importancia en la
           medida en que respalde la proposición de que no se le debe permitir a ninguna demandada



543
      Flughafen c. Venezuela (RLA-154).
544
      Flughafen c. Venezuela (RLA-154), Párrafos 899-902.


                                                       232
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 549 of 622




           beneficiarse de su propia conducta expropiatoria, pero de otro modo se diferencia en los
           hechos.

           (viii) El precio ajustado del MdE constituye una comprobación eficaz de la realidad
                  respecto de las valoraciones de las Partes; demuestra que la Valoración de Capital
                  del Sr. Giles es conservadora y, por contraste, que la supuesta valoración justa de
                  mercado del Dr. Flores es menos del 10 % del precio que fuera acordado por las
                  Partes en 2007 bajo amenaza de expropiación.

           También en sustento de la aplicación de la valoración propuesta, las Demandantes señalan
           el precio ajustado del MdE en 2007 del Sr. Giles como comprobación eficaz de la realidad.
           Afirman que demuestra que la Valoración de Capital del Sr. Giles es conservadora y, por
           contraste, que la supuesta valoración justa de mercado del Dr. Flores es menos del 10% del
           precio que fuera (supuestamente) “acordado” por las Partes en 2007 bajo amenaza de
           expropiación.

           En este sentido, las Demandantes afirman que la prueba confirma que la Valoración de
           Capital del Sr. Giles (es decir, USD 361,0 millones para la participación del 25% de
           KOMSA) es casi la misma que el precio del MdE ajustado en un escenario “contrafáctico”
           (USD 360,8 millones) 545. Para esta comparación, las Demandantes sostienen que el Sr.
           Giles ha calculado simplemente el precio del MdE en ausencia de las violaciones del
           Tratado anteriores a la expropiación por parte de la Demandada (es decir, “contrafáctico”
           al impacto económico del Decreto de la Urea y los impuestos ilícitos). En consecuencia,
           las Demandantes sostienen que el precio ajustado del MdE confirma que el Sr. Giles ha
           producido una Valoración de Capital conservadora que minimiza muy probablemente el
           valor de la inversión de capital de KOMSA en un escenario “contrafáctico”.

           En contraposición, las Demandantes señalan que el Dr. Flores ha realizado una serie de
           ajustes arbitrarios al precio del MdE que tiene el efecto de reducir el valor empresarial




545
      Véase, por ejemplo, Giles IP1, Párrafos 4.86, 4.88. Las Demandantes observan que el Sr. Giles aumenta el precio
      del MdE (es decir, USD 212,5 millones) en un “25 % del impacto esperado durante la vida útil de la planta, del
      Decreto de la Urea y los impuestos ilícitos (es decir, uso compartido de esta pérdida de KOMSA)” –este aumento
      es el que tiene como resultado un precio del MdE ajustado de USD 360,8 millones al 30 de septiembre de 2010.


                                                         233
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 550 of 622




        enumerado en el MdE de 2008 en un 55 %. Las Demandantes describen este enfoque como
        una “pieza de ingeniería inversa financiera” 546.

        Las Demandantes sostienen que la prueba del Dr. Flores es en el sentido de que la distorsión
        del precio del MdE se basa en que el borrador MdE de noviembre de 2007 fue sólo “una
        primera oferta de Koch” 547. Esto le permite afirmar que el único momento en el tiempo en
        que el MdE se “acordó” fue casi un año después, en octubre de 2008. Las Demandantes
        sostienen que esta prueba es artificial, y que ese artilugio queda expuesto en virtud de la
        prueba contemporánea. Las Demandantes señalan que, durante su contrainterrogatorio, el
        Dr. Flores fue remitido a un mensaje de correo electrónico del Sr. Toro (en calidad de
        director de Pequiven), a los Sres. Parra y Gwaltney (por KOMSA) de fecha 9 de octubre
        de 2007 (es decir, aproximadamente un mes antes de la fecha del MdE de 2007), que
        afirmaba 548:

           “Hemos estimado a partir de una valoración independiente de Boo[z] Allen,
           contratado por Pequiven 549, y de valoraciones adicionales hechas y discutidas con
           el resto de los socios, un justiprecio de mil ciento setenta y cinco millones de USD
           para el 100 % de las acciones [en FertiNitro]”.

        Las Demandantes sostienen que el mensaje de correo electrónico del Sr. Toro, enviado sólo
        un mes antes del MdE de noviembre de 2007, confirma de manera inequívoca que la
        “primera oferta” fue, de hecho, realizada por Pequiven. Por lo tanto, el MdE de noviembre
        de 2007 (redactado por Koch) contenía un precio que fue acordado entre las Partes en
        noviembre de 2007. Las Demandantes concluyen que, por consiguiente, la prueba del Dr.
        Flores debería rechazarse 550.


546
    EPA Koch, Párrafo 265.
547
    Segundo Informe de Experto de Daniel Flores (3 de marzo de 2014) (“Flores IP2”), Párrafo 169.
548
    Correo electrónico de F. Toro a B. Gwaltney y T. Parra Asunto: Negociaciones de FertiNitro (9 de octubre de 2007)
    (C-90).
549
    Posteriormente conocido como Advantis.
550
    Según el Tribunal, no existe prueba convincente de que se “acordara” algún precio del MdE en 2007 entre Pequiven
    y KOMSA. La primera oferta tuvo lugar vía correo electrónico de fecha 9 de octubre de 2007 del Sr. Toro de
    Pequiven (C-90) con una valoración de USD 1175 millones por el 100% del capital de FertiNitro, menos la suma
    pendiente a sus bancos y tenedores de bonos (que coloca en USD 450.000, presuntamente USD 450 millones). El
    7 de noviembre de 2007, KOMSA regresó con su borrador MdE con una valoración de USD 1210 millones menos
    las deudas a los bancos y tenedores de bonos más el Superávit de Efectivo en FertiNitro. Las conversaciones se
    interrumpieron a comienzos de 2008. Sin embargo, Pequiven regresó nuevamente en octubre de 2008 con un
    borrador MdE revisado (C-93) que disponía un pago de USD 212,5 millones a KOMSA por su participación de


                                                        234
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 551 of 622




        (ix) Hay varias comprobaciones de la realidad adicionales que validan la razonabilidad
             de las valoraciones del Sr. Giles de la inversión del capital y el Offtake Agreement

        Las Demandantes señalan asimismo “varias comprobaciones de la realidad adicionales que
        validan la razonabilidad de las valoraciones del Sr. Giles de la inversión del capital y el
        Offtake Agreement” 551, a saber:

        En primer lugar, las Demandantes señalan la “inversión de proyectos” para plantas de
        fertilizantes nuevas idénticas en Guiria y en el Complejo José por medio de la cual
        Pequiven (en su Plan Estratégico 2007-2013) anunció que pretendía invertir USD 2800
        millones para construir cada planta, cada una con una capacidad nominal equivalente a la
        Planta FertiNitro. La prueba que aportó Sr. Giles fue que “[e]l valor de reemplazo por ello
        ha de ser la cifra mínima que considera un inversor que vale la pena” y que ese valor es un
        indicador económico de valor bien conocido 552.

        En segundo lugar, las Demandantes hacen referencia a la ganancia neta real de FertiNitro
        de USD 116,2 millones para 2011, comparada con una ganancia neta presupuestada de
        USD 117,2 millones para 2011. Si (tal como explicara el Sr. Giles) la metodología FCD
        “supone la proyección de las ganancias y los costos a futuro”, estos montos constituyen
        una simple comprobación de la realidad posterior a la expropiación, que debilita la
        credibilidad de la valoración de capital del Dr. Flores y demuestra el conservadurismo de
        las proyecciones del Sr. Giles. En cuanto al primero, el Dr. Flores proyecta que FertiNitro
        habría obtenido ganancias netas en 2011 en la suma de USD 36,3 millones,
        aproximadamente un tercio de la ganancia neta que lograra FertiNitro en 2011. En lo que
        respecta al último, el Sr. Giles proyecta ganancias netas en 2011 en la suma de USD 92,1
        millones, 20 % menos de lo que esperaban los gerentes de FertiNitro y de lo que en
        definitiva se logró.




    capital en FertiNitro. En definitiva, nunca se acordó ni se firmó MdE alguno. Pequiven afirmó que la compra de
    los accionistas privados de FertiNitro ya no era una prioridad. Sin embargo, el Sr. Parra (de KOMSA) testificó en
    su declaración testimonial (Párrafo 69) que los representantes de KOMSA comprendieron que no existía alternativa
    real más que aceptar la propuesta de Pequiven (Véase también Mem. Koch, Párrafos 144-153).
551
    EPA Koch, Párrafos 272-284.
552
    Segunda Audiencia (noviembre) D6.293 (Giles).


                                                        235
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 552 of 622




En tercer lugar, las Demandantes hacen alusión al pago de dividendos a los accionistas de
FertiNitro en la suma de USD 150 millones en 2008 (USD 37,5 millones de los cuales
fueron distribuidos a KOMSA). Observan que dicho dividendo se pagó con las ganancias
que ya habían disminuido debido a las violaciones anteriores a la expropiación cometidas
por la Demandada pero que, sin embargo, el monto es superior a toda la Valoración de
Capital del Dr. Flores.

En cuarto lugar, las Demandantes señalan el valor neto actual de las ganancias no
percibidas por KNI de USD 172 millones si se aplica el propio cálculo del Dr. Flores de
las ganancias de KNI durante el período del acuerdo ad hoc durante el resto del plazo del
Offtake Agreement. Esta comprobación de la realidad se basa en los “volúmenes extraídos”
identificados por el propio Dr. Flores durante la Segunda Audiencia (noviembre). Si la
ganancia mensual durante el período del acuerdo ad hoc, es decir, USD 2,49 millones, se
aplica durante el resto del plazo del Offtake Agreement (a saber, 123 meses), la ganancia
neta total no percibida asciende a la suma de USD 306 millones. Aplicando la tasa de
descuento del Sr. Giles, el valor neto actual del lucro cesante asciende a la suma de USD
172,7 millones. Esa cifra es aproximadamente USD 33,8 millones menos que la valoración
del Offtake Agreement del Sr. Giles y, tal como afirman las Demandantes, corrobora aún
más su razonabilidad.

Las Demandantes sostienen que estos cuatro factores deberían ser considerados por el
Tribunal en tanto otros tribunales han considerado aleccionador hacer referencia a
“comprobaciones de la realidad” para probar la razonabilidad de las valoraciones
controvertidas presentadas ante ellos.

(x)   Existen muchas otras comprobaciones de la realidad para el “límite inferior” que
      desacreditan la valoración del Dr. Flores como un caso atípico sin fundamentos

Además de estos factores, las Demandantes señalan otras comprobaciones de la realidad
para el “límite inferior” para desacreditar las valoraciones del Dr. Flores por considerarlas
un caso atípico sin fundamentos, a saber:

Primero, el valor contable de FertiNitro a la fecha de la expropiación ascendía a
USD 168,1 millones para la participación del 25 % de KOMSA en FertiNitro, tras la



                                         236
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 553 of 622




        deducción de deuda. Esa cifra equivale a cinco veces la Valoración de Capital del Dr.
        Flores. El valor contable casi siempre es inferior al valor justo de mercado, especialmente
        cuando de valora una empresa en marcha rentable 553.

        Segundo, sólo los costos de construcción de FertiNitro ascendían a USD 273 millones para
        el 25% de FertiNitro. Una vez más, las Demandantes señalan las múltiples valoraciones
        del Dr. Flores. En este caso, los costos de construcción son ocho veces su valoración.

        Tercero, la propia posición de la Demandada con posterioridad a la expropiación preparada
        por Advantis al efecto de entablar negociaciones para llegar a un acuerdo fue equivalente
        a USD 113 millones para el 25 % de FertiNitro. Las Demandantes señalan nuevamente
        este monto como una “comprobación de la realidad”, afirmando que demuestra que el Dr.
        Flores adoptó una tasa de descuento y una prima de riesgo país infladas, y una proyección
        extremadamente pesimista de los niveles futuros de producción de FertiNitro.              La
        valoración de Advantis fue más de tres veces la cifra a la que arribó el Dr. Flores.

        Cuarto, la “inversión estimada del proyecto” de la Demandada para la planta de fertilizantes
        más pequeña ubicada en Morón fue de USD 1550 millones, y los costos de construcción
        de la planta ascendieron a USD 2000 millones. Como la planta de Móron tiene una
        producción de urea de 726.000 toneladas métricas por año, esto significa que USD 2755
        del costo de construcción producirán una tonelada métrica de urea en el futuro
        inmediato 554. En tanto la Valoración de Capital del Dr. Flores equivale a USD 355 por
        tonelada métrica de urea, el Sr. Giles explicó que ningún comprador razonable consideraría
        que puede comprar FertiNitro por USD 355 por tonelada métrica cuando una entidad
        comercial tiene planes de construir una planta que costará USD 2755 por tonelada métrica.

        Teniendo en cuenta todos estos factores, las Demandantes sostienen que las valoraciones
        del Dr. Flores ni siquiera cumplen las comprobaciones de la realidad para el límite inferior.
        Las Demandantes afirman que, al igual que en el caso Flughafen c. Venezuela 555, el
        Tribunal debería rechazar cualquier valoración fuera de esos límites. En síntesis, tal como
        concluyen las Demandantes, la valoración del Dr. Flores es un caso atípico que no puede

553
    Véase ConocoPhillips c. Venezuela (CLA-155), Párrafos 400-401.
554
    Que invoca la presentación de Tim Giles, Diapositiva 26.
555
    Flughafen c. Venezuela (RLA-154).


                                                     237
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 554 of 622




           sustentarse.    Se trata, tal como afirman las Demandantes, de “una demostración
           sorprendente de lo poco razonable que son las valoraciones reducidas del Dr. Flores” 556.

(4)        Las Alegaciones de la Demandada en Materia de Cuantificación de años
           La Demandada afirma, en primer lugar, que el Tribunal no necesita llegar al punto de
           determinar ninguna cuestión en materia de cuantificación de daños.         En efecto, las
           alegaciones de la Demandada se realizan en forma expresa “solamente por razones de
           precaución” 557. Sin embargo, el Tribunal ha ratificado su jurisdicción; y la Demandada es
           responsable ante las Demandantes conforme al Artículo 6 del Tratado, tal como fuera
           decidido supra por el Tribunal, en lo que respecta a KOMSA y, por la mayoría del Tribunal,
           en lo que respecta a KNI. Por lo tanto, el Tribunal debe ahora considerar las alegaciones
           de la Demandada en materia de cuantificación de daños.

           En resumen, el argumento de la Demandada en materia de cuantificación de daños consta
           de cuatro alegaciones principales. Estas son:

            (a)    Sus alegaciones generales en cuanto a los errores en las alegaciones en materia de
                   cuantificación de daños de las Demandantes;

            (b)    Las compensaciones que tanto KOMSA como KNI reclaman son enormemente
                   exageradas;

            (c)    El valor justo de mercado de la participación de KOMSA en FertiNitro no era mayor
                   a USD 34,6 millones; y

            (d)    La valoración de KNI de su participación en el Offtake Agreement es exagerada.

           (i)    Las alegaciones generales de la Demandada

           La Demandada realiza, tal como ya se indicara, siete alegaciones generales en cuanto al
           tratamiento apropiado de las cuestiones en materia de cuantificación de daños tanto para
           KOMSA como para KNI.




556
      EPA Koch, Párrafo 295.
557
      EPA Ven., Párrafo 169.


                                                  238
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 555 of 622




           Primero, la Demandada afirma que las Demandantes han propuesto un valor sumamente
           inflado que supera por mucho lo que valdrían los reclamos de las Demandantes en ausencia
           de los hechos controvertidos. Esto no es compatible con el estándar de valor justo de
           mercado (“VJM”) que ambas Partes coinciden que es aplicable a la cuantificación de daños.
           El VJM constituye un estándar objetivo que no deja lugar para lo que, según la Demandada,
           es la valoración arbitraria, sumamente especulativa y basada en argumentos artificiales que
           las Demandantes solicitan al Tribunal realizar en el presente caso.

           Segundo, en lo que se refiere a KOMSA, la Demandada sostiene que las Demandantes
           ignoran los principios convencionales de valoración de FCD al “seleccionar a la carta”
           datos que incrementan el resultado de su valoración y al utilizar datos presupuestados
           desactualizados, incluso cuando datos mucho más actuales se encuentran absolutamente
           disponibles. La Demandada critica lo que considera el único sustento de las Demandantes
           para su argumento, a saber, la experiencia del Sr. Sanders con dos plantas ubicadas,
           respectivamente, en Oklahoma y Trinidad y Tobago, las cuales el propio Sr. Sanders
           reconoce que no son comparables con la Planta FertiNitro. Además, la Demandada afirma
           que el Tribunal no debería basarse en las evaluaciones de costos de un testigo que
           desconoce las diferencias significativas en indicadores económicos clave, tales como tasas
           de inflación, entre los tres países relevantes para su evaluación comparativa de costos.

           Tercero, la Demandada sostiene que las Demandantes sugieren, de manera equivocada, una
           tasa de descuento completamente irracional. Esa sugerencia se contradice directamente
           con al menos tres laudos de arbitraje internacional recientes contra la Demandada, dos de
           los cuales 558 conciernen un proyecto ubicado en el mismo complejo industrial que
           FertiNitro y que comparten varias otras similitudes en común con FertiNitro. Asimismo,
           la Demandada sostiene que la tasa de riesgo país del 2 % contenida en la tasa de descuento
           de las Demandantes es inapropiada, ya que se basa, entre otras cosas, en una encuesta que
           se acepta no es representativa, en una aplicación sin precedentes de un descuento por
           liquidez y en un factor lambda arbitrario y sin fundamentos. Una tasa de riesgo país del 2
           % es, afirma la Demandada, la tasa que se aplica normalmente a países como Italia.
           Además, dicha tasa tampoco encuentra sustento en el laudo dictado por el tribunal en el

558
      A saber, Mobil c. PDVSA (EO-45); Venezuela Holdings c. Venezuela (RLA-153).


                                                      239
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 556 of 622




           caso Gold Reserve c. Venezuela 559 que las Demandantes—también incorrectamente—
           afirman justifica su posición.

           Cuarto, la Demandada sostiene que los chequeos originales de “razonabilidad” de las
           Demandantes no sustentan su valoración. Asimismo, las comparaciones adicionales que
           introdujeron las Demandantes por primera vez en la Segunda Audiencia (noviembre), tales
           como el valor contable de FertiNitro o las inversiones de proyecto estimadas para nuevas
           plantas en Guiria y José, no alteran esa conclusión.

           Quinto, la Demandada alega que la valoración que realiza KNI de su participación en el
           Offtake Agreement utiliza un método de valoración erróneo, se basa en prueba insuficiente
           e ignora los cambios fundamentales en la industria de fertilizantes mundial y de los EE.
           UU. que ya estaban ocurriendo a la fecha de la valoración.

           Sexto, la Demandada sostiene que el experto de las Demandantes, el Sr. Giles, se ha basado
           ciegamente, en reiteradas ocasiones, en la supuesta expertise ofrecida por otros, tales como
           el Sr. Sanders o el Sr. Sorlie, sin aplicar su propia opinión crítica. Por el contrario, la
           Demandada afirma que su experto, el Dr. Flores, ha considerado cuidadosamente la historia
           de la Planta FertiNitro y sus condiciones operacionales actuales en Venezuela, para su
           propio ejercicio de valoración.      Los reiterados intentos de las Demandantes para
           desacreditar al Dr. Flores al solicitarle su testimonio en cuestiones de hecho relacionadas
           con la valoración no deberían prosperar ante el presente Tribunal.         La familiaridad
           particular y la experiencia personal del Dr. Flores con las condiciones y procesos en
           Venezuela son lo que hace que su valoración sea especialmente convincente y al mismo
           tiempo la distingue de la “confianza ciega” que el Sr. Giles 560 tiene en cualquier
           información que le brindan las Demandantes.

           En síntesis, por los motivos que se expondrán en mayor detalle a continuación, la
           Demandada sostiene que los reclamos por daños de las Demandantes por la suma de
           aproximadamente USD 672,4 millones son enormemente exagerados.




559
      Gold Reserve c. Venezuela (CLA-156).
560
      EPA Ven., Párrafo 177.


                                                   240
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 557 of 622




           (ii)    La compensación que KOMSA y KNI reclaman es enormemente exagerada

           La Demandada realiza tres alegaciones principales en lo que se refiere, en su opinión, a la
           enorme exageración de la compensación que proponen las Demandantes. Esas alegaciones
           son las siguientes:

             (a)    Primero, el estándar relevante de compensación se encuentra en el Tratado y no
                    en el derecho internacional consuetudinario;

             (b)    Segundo, independientemente del estándar legal de compensación, las Partes están
                    de acuerdo en que los expertos en daños deben aplicar el estándar de VJM; y

             (c)    Tercero, las Demandantes finalmente omiten aplicar el estándar de VJM.

           En cuanto a (a) – el estándar relevante de compensación: la Demandada, en contraposición
           a las Demandantes, sostiene que el estándar relevante de compensación para los reclamos
           de las Demandantes está establecido en el Artículo 6 del Tratado, y no en el derecho
           internacional consuetudinario. Afirma que el Artículo 6 del Tratado es lex specialis ante
           la norma de reparación íntegra del derecho internacional consuetudinario. Como tal, en
           virtud del estándar del Tratado, los reclamos de las Demandantes se limitan al “valor de
           mercado de la inversión antes de que se llevara a cabo la acción expropiatoria o de que se
           hiciera pública, según lo que ocurriese primero”. Al ser un estándar objetivo, el valor de
           mercado en este caso significa que la valoración de la participación de KOMSA en
           FertiNitro no debería excluir los presuntos efectos de determinadas medidas del Gobierno
           anteriores al anuncio de la adquisición forzosa 561. La Demandada observa que todas las
           medidas de la Demandada sobre las cuales las Demandantes presentan reclamos eran de
           carácter general y no eran específicas a FertiNitro.

           La Demandada sostiene que el estándar del Tratado es aplicable independiente de si la
           adquisición de la Demandada fue lícita o ilícita.



561
      Estos deben identificarse por vía de referencia al Alegato de Apertura de las Demandantes durante la Segunda
      Audiencia (noviembre), Diapositiva 31, que sugiere que los efectos del Decreto de la Urea, el impuesto municipal,
      la contribución de Ciencia y Tecnología; el retraso en la expedición de devoluciones del IVA y la interferencia de
      la Demandada en la dirección y en las operaciones de FertiNitro deberían excluirse. La Demandada afirma que
      las presuntas medidas no violaron ninguna obligación de derecho internacional de la Demandada.


                                                           241
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 558 of 622




        En cuanto a (b) – el acuerdo de las Partes de que debería aplicarse el estándar de VJM: la
        Demandada señala el acuerdo entre el Sr. Giles y el Dr. Flores de que los reclamos de las
        Demandantes deberían valorarse sobre la base del estándar de VJM a la fecha de valoración
        de 30 de septiembre de 2010 562.

        En lo que respecta al estándar de VJM, el Dr. Flores se basa en la reconocida definición
        contenida en las Directrices del Banco Mundial que hacen referencia a “un monto que un
        comprador interesado pagaría normalmente a un vendedor interesado” 563. Esta definición
        es, tal como afirma la Demandada, esencialmente idéntica a la definición de VJM que
        proporciona el Sr. Giles al comienzo de su Primer Informe, en el cual hacía referencia “al
        valor al que un comprador interesado y un vendedor interesado intercambiarían un
        activo” 564. Además, la Demandada afirma que es consistente con las definiciones de VJM
        usadas por el Consejo de Normas Internacionales de Valoración 565. La Demandada
        sostiene que el Sr. Giles interpreta equivocadamente el significado de VJM como si
        significara un mercado desprovisto inclusive de limitantes de ventas puramente
        comerciales. La Demandada adopta el análisis del Dr. Flores, que, según ella, muestra que
        la interpretación del Sr. Giles “invierte” el estándar de VJM, ya que permitiría
        inapropiadamente valorar un activo a un valor más alto que el que habría tenido en ausencia
        de los hechos controvertidos.

        En cuanto a (c) – la omisión por parte de las Demandantes de aplicar el estándar de VJM:
        la Demandada sostiene que, aunque las Demandantes están de acuerdo en el uso del
        estándar de VJM, finalmente el Sr. Giles no aplicó ese estándar. En efecto, la Demandada
        sostiene que la valoración de FCD del Sr. Giles es “parcializada, llena de inconsistencias y
        basada en una selección arbitraria de datos — evidentemente no busca establecer el valor
        “justo” de mercado de la planta sino crear un “valor arbitrario” que ignora de manera
        impermisible las complicadas realidades de la planta” 566. Asimismo, la Demandada

562
    Giles IP1, Párrafo 1.3; Giles IP2, Párrafo 1.9.
563
    Flores IP2, Párrafo 154, que cita las Directrices del Banco Mundial, págs. 41-42.
564
    Giles IP1, Párrafo 4.78.
565
    IVS Framework, Consejo de Normas Internacionales de Valoración (2011), Párrafos 30, 32. Véase también Flores
    IP2, Párrafos 155-156.
566
    EPA Ven., Párrafo 183. Estas cuestiones, según las Demandantes, incluyen un historial de defectos de construcción,
    decisiones pobres de mantenimiento en los comienzos de la planta, un número de cierres no planificados por arriba
    del promedio, problemas persistentes con el suministro de gas y electricidad fuera del alcance del control de


                                                        242
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 559 of 622




        sostiene que el Sr. Giles se desvía arbitrariamente de la práctica convencional de
        valoración, incluso al basarse en la información de una encuesta que él mismo admite que
        “no se puede considerar representativa” 567 para su cálculo de tasas de riesgo país. También
        reduce su tasa de descuento a través de un descuento de liquidez, mientras que dicho
        descuento, en la práctica convencional de valoración, se aplica únicamente para
        incrementar la tasa de descuento. En cambio, la Demandada se basa en el testimonio del
        Dr. Flores, en el sentido de que ninguna posible transacción de venta se podría haber basado
        en proyecciones tan obviamente inventadas.

        (iii) El Valor Justo de Mercado (VJM) de la participación de KOMSA en FertiNitro no
              era mayor a USD 34,6 millones

        La Demandada sostiene que la participación de 25% de KOMSA en FertiNitro no era
        mayor a USD 34,6 millones. (Esta cifra no incluye intereses y supone que se habría
        mantenido la aplicación del Decreto de la Urea). Por otra parte, según la Demandada, la
        valoración (corregida) del Sr. Giles en la suma de USD 361 millones es enormemente
        exagerada y excede por mucho el VJM de la participación accionaria de KOMSA en
        FertiNitro.

        La Demandada basa estas alegaciones en errores en la valoración de FCD del Sr. Giles que
        se indica son cuatro.

        Primero, el análisis de FCD de las Demandantes es inconsistente y altamente especulativo.
        Conlleva “seleccionar arbitrariamente” diferentes períodos de tiempo (es decir, 2006-2008,
        2006-2010 y 2008 y 2010 por separado), así como datos reales contra datos presupuestados.
        Su valoración depende de qué alternativa se elija, permitiéndole así arribar a una valoración
        más alta. Por el contrario, el Dr. Flores aplica de manera consistente el mismo período de
        datos, a saber, el período de datos de 2006-2010, y, por consiguiente, garantiza la
        consistencia. La Demandada señala que esto es apropiado debido a que abarca las dos
        paradas programadas que se llevaron a cabo en la planta durante el período de 5 años




    FertiNitro y de la Demandada, y altos costos de mantenimiento y paradas programadas derivados de los defectos
    pasados y de los cierres de la planta y de la situación económica especial de la Demandada.
567
    Giles IP1, Párrafo B.32.


                                                      243
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 560 of 622




        anterior a la adquisición forzosa (en 2008 y 2010), lo cual coincide con su pronóstico de
        que las paradas programadas tendrían lugar cada dos años y medio.

        Además, la Demandada se basa en la demostración del Dr. Flores de que la valoración del
        Sr. Giles es inapropiada: Primero, el Sr. Giles ignora la interrelación de los criterios
        individuales de valoración.         Es decir, los costos de mantenimiento y de paradas
        programadas afectan las inversiones de capital; ambos, a su vez, afectan los niveles de
        producción, que, a su vez, afectan los ingresos y los costos variables y, en definitiva, el
        capital de trabajo. El desconocimiento de estas relaciones por parte del Sr. Giles es uno de
        los factores que lo llevan a sobrevalorar los supuestos reclamos de compensación de las
        Demandantes. Segundo, el enfoque del Sr. Giles de basar su valoración en períodos breves
        de datos de tan solo tres años de información real (2006-08) o, en algunos casos, de sólo
        un año de información real (o presupuestada) contradice el principio fundamental que
        subyace a toda valoración de FCD de proyectar ingresos futuros sobre la base de una
        cantidad razonable de datos históricos en una empresa en marcha en función de su
        disponibilidad.

        Posteriormente, la Demandada sostiene que es inapropiado basarse en información
        presupuestada en el presente caso debido a las incertidumbres inherentes y a las fallas en
        el proceso de elaboración de presupuestos. Tal como observara el Sr. Sanders en su prueba,
        se necesitan registros detallados para preparar los presupuestos de manera adecuada y, por
        ende, las deficiencias en la elaboración de registros afectarían la precisión de un
        presupuesto debido a que no reflejaría necesariamente el estado real del equipo o del trabajo
        a realizar durante ese año 568. Las Demandantes no pueden basarse en el laudo CIADI
        dictado en Venezuela Holdings c. Venezuela 569 para argumentar que los presupuestos son
        una base confiable para realizar previsiones. En cambio, en ese laudo, usar los presupuestos
        para el año en que se llevó a cabo la expropiación fue apropiado porque la información real
        no se encontraba disponible para el año completo 570. Sin embargo, en el presente caso, el



568
    Segunda Audiencia (noviembre) D5.182-183 (Sanders).
569
    Venezuela Holdings c. Venezuela (RLA-153). Véase Segunda Audiencia (noviembre), Alegato de Apertura de las
    Demandantes, Diapositiva 39.
570
    Venezuela Holdings c. Venezuela (RLA-153), Párrafos 342, 307.


                                                    244
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 561 of 622




        Sr. Giles pretende usar presupuestos durante los años en los que estaban disponibles los
        datos reales.

        Segundo, la Demandada sostiene que la valoración de FCD de las Demandantes excluye
        de manera inapropiada los volúmenes reales de producción de 2009 y 2010 al proyectar la
        producción futura. En efecto, la Demandada afirma que el enfoque de las Demandantes
        “se trata de un intento calculado de presentar una imagen más prometedora de los
        volúmenes de producción de la planta que lo que indica la información real disponible” 571.
        La Demandada señala diversos factores que demuestran por qué motivo este enfoque es
        inapropiado, de la siguiente manera.

        El enfoque del Sr. Giles no se corresponde con el ciclo de paradas programadas de
        FertiNitro debido a que el ciclo fue menor a tres años. Su enfoque es erróneo porque el Sr.
        Sanders (y, a su vez, el Sr. Giles) basaron su ciclo en una supuesta similitud (inapropiada)
        entre la Planta FertiNitro y las plantas de Terra OK y Point Lisa 572. En cambio, la
        Demandada sostiene que el ciclo de paradas programadas de 2 años y medio que estimó el
        Dr. Flores refleja la historia real de los ciclos de paradas programadas de la Planta
        FertiNitro, y es conservador teniendo en cuenta los importantes defectos de construcción
        de FertiNitro y sus antecedentes de frecuentes cierres no planificados.

        Los cortes de gas y electricidad, así como también las interrupciones no planificadas, no
        fueron significativamente mayores en 2009 y 2010 que en años anteriores 573.

        Un comprador hipotético y realista en 2010 no habría supuesto que FertiNitro podría lograr
        de manera consistente la producción nominal en el futuro. Según la Demandada, esto se
        debe a que FertiNitro nunca había logrado de manera consistente niveles de producción
        nominal. La prueba aportada durante las Audiencias no proporcionó fundamento alguno

571
    EPA Ven., Párrafo 192.
572
    cf. Informe de Experto de Richard Sanders (30 de mayo de 2012) (“Sanders IP1”), Párrafos 9-11, 43-45.
573
    La Demandada señala la siguiente prueba: Con respecto a la planta de amoniaco, hubo un total de 30 cierres totales
    en 2006 (con la planta en producción durante 332 días); 22 cierres totales en 2007 (con la planta en producción
    durante 309 días); 21 cierres totales en 2008 (con la planta en producción durante 299 días); 32 cierres totales en
    2009 (con la planta en producción durante 308 días); y 17 cierres totales en 2010 (con la planta en producción
    durante 304 días). Igualmente, con respecto a la planta de urea, no hubo un incremento significativo en los cierres
    desde el período 2006-2008 hasta el periodo 2009-2010; en 2006 la planta estuvo en producción por un total de
    315 días, en 2007 por 306 días, en 2008 por 289,7 días, en 2009 por 292 días y en 2010 por 284,25 días. Véase
    Niveles de Producción y Días Operativos 2003-2010 (EO-41).


                                                         245
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 562 of 622




        para suponer que esto cambiaría en un futuro próximo. En particular, la maquinaria y el
        equipo de la Planta eran insuficientes para producir a niveles nominales de manera
        consistente.

        La Demandada se basa en la prueba del Sr. Villarroel de que los trenes de urea podían
        alcanzar una capacidad nominal diaria de manera consistente pero no así los trenes de
        amoniaco 574. La opinión del Sr. Sanders de que FertiNitro “debería poder alcanzar una
        capacidad nominal de manera consistente” 575 debería rechazarse, ya que, nuevamente, se
        basa en una comparación de la Planta FertiNitro con las plantas Terra OK y Point Lisa, que
        (tal como admitiera el Sr. Sanders durante el contrainterrogatorio) no son comparables con
        FertiNitro.     La alegación de las Demandantes de que la capacidad nominal real de
        FertiNitro se puede evaluar sobre la base del Informe Jacobs de 2003 debería rechazarse,
        debido a que el Informe Jacobs de 2006 superó claramente a ese informe, este último
        sugiriendo que no era realista esperar que FertiNitro pudiera alcanzar de manera consistente
        niveles de producción nominal.

        Asimismo, la Demandada señala que las Demandantes no pudieron probar su alegato de
        que la producción nominal anual se podría lograr a través de mejoras en los procesos. La
        Demandada describe ese alegato como “una simple ilusión vana” 576. La Demandada
        sostiene que los equipos de la Planta FertiNitro estaban tan deteriorados que los arreglos
        operativos no podían aportar mucho a la resolución de la baja confiabilidad de la
        maquinaria y los equipos de la Planta. La Demandada sostiene que la invocación de “dos
        breves publicaciones de marketing” creadas por Honeywell (que no son, en contraposición
        a la nomenclatura de las Demandantes, “documentos de posición”) es irrelevante, y,
        además, esos documentos tienden a exagerar y simplificar en demasía 577. Según la
        Demandada, el hincapié de las Demandantes en los errores operativos también es engañoso,
        ya que la mayoría de los cierres de operaciones no planificados en FertiNitro se produjeron
        por fallas mecánicas, pérdidas de agua y gas, e incendio, además de las interrupciones de



574
    Primera Audiencia (septiembre) D3.130-131 (Villarroel).
575
    Sanders IP1, Párrafo 13.
576
    EPA Ven., Párrafo 201.
577
    EPA Ven., Párrafo 202.


                                                      246
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 563 of 622




        suministro que estaban fuera del control de FertiNitro 578. Además, el Informe de KBC de
        2007, que analiza las causas y consecuencias de las fallas en los procesos, no considera los
        cierres de operaciones no planificados una consecuencia de ninguna de las deficiencias
        operativas o basadas en los procesos que encuentra.

        En consecuencia, la Demandada sostiene que, si bien las mejoras posteriores en los
        procesos pueden haber reducido la cantidad limitada de cierres de operaciones provocados
        por errores operativos, un número mucho mayor de cierres de operaciones causados por
        fallas mecánicas y cortes externos seguía obstaculizando la productividad de la Planta. En
        cualquier caso, la Demandada sostiene que no existen pruebas de que la implementación
        de las recomendaciones del Informe de KBC habría permitido que FertiNitro lograra la
        producción nominal consistentemente. Tal como testificara el Sr. Villarroel, cualquier
        mejora en los niveles de producción requeriría de “[u]Una fuerte inversión y un periodo de
        tiempo no corto” 579. Después de más de diez años de funcionamiento sin el suficiente
        mantenimiento preventivo, se lograría poco para mejorar la producción en FertiNitro solo
        reformando el liderazgo de la Planta y mejorando su planificación operativa, dado el grave
        estado de degradación de los equipos de la Planta. Por último, el ejercicio de valoración
        debe tener en cuenta que este caso se refiere a la adquisición de una participación del 25 %
        en FertiNitro y, por lo tanto, solo la participación minoritaria de KOMSA en el negocio 580.

        En relación con la exclusión de los volúmenes reales de producción del período 2009-2010,
        la Demandada sostiene que la afirmación de las Demandantes, de que dicha exclusión se
        justifica por una cuestión de derecho, es infundada.                    La Demandada presenta seis
        argumentos principales de por qué razón debería rechazarse esta afirmación. Primero, las
        Demandantes no han proporcionado prueba alguna de que las interrupciones se debieron
        enteramente a las interrupciones de suministro por PDVSA y Pequiven.                              Segundo,

578
    En efecto, la Demandada sostiene que una evaluación de las causas de los cierres de operaciones de la Planta entre
    2003 y 2010 no menciona ni una sola vez los errores operativos como causa significativa de los cierres de
    operaciones en ninguno de los años para ese período. (Véase Niveles de Producción y Días Operativos 2003-2010
    (EO-41)). Igualmente, en una sección intitulada “FertiNitro’s Complex History of Unplanned Shutdowns”
    (Historial de cierres de operaciones no planificados del complejo de FertiNitro), Jacobs Consultancy ni siquiera
    menciona errores operativos como causa de la histórica alta tasa de cierres de operaciones no planificados de la
    Planta. (Véase Informe de Jacobs Consultancy, Informe de segunda prueba de confiabilidad diferida, Complejo de
    FertiNitro, José Venezuela, Razones para la no certificación (octubre de 2006) (R-57)).
579
    Primera Audiencia (septiembre) D3.134 (Villarroel).
580
    Segunda Audiencia (noviembre) D7.513 (Flores).


                                                        247
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 564 of 622




           Pequiven no sería responsable por ningún incumplimiento de los contratos de suministro
           por parte de PDVSA y Pequiven con FertiNitro. Tercero, PDVSA Gas no ha incumplido
           con sus obligaciones de suministro a FertiNitro. Cuarto, la exclusión propuesta por las
           Demandantes de 2009 y 2010 de la valoración contradice la presunción básica del método
           de valoración de FCD. Quinto, la existencia del Tratado no justifica la exclusión de los
           datos del período 2009-2010. Sexto, la Demandada no es responsable de las dificultades
           operativas de FertiNitro en el período 2009-2010 que fueron principalmente resultado de
           defectos de construcción originales 581.

           La tercera cuestión invocada por la Demandada (en sustento de su afirmación de que la
           valoración del Sr. Giles es errónea) es que las proyecciones que realizan las Demandantes
           de los costos futuros de FertiNitro se encuentran subestimadas.

           En este sentido, la Demandada señala que las Demandantes se basan irracionalmente en los
           costos presupuestados de paradas programadas y mantenimiento en lugar de los costos
           reales. Por el contrario, la Demandada sostiene que el uso por parte del Dr. Flores de los
           datos de los costos reales de FertiNitro, disponibles a la fecha de valoración, tiene sentido,
           dado que dichos datos reales reflejan adecuadamente el estado de la Planta y las
           condiciones operativas en Venezuela. La Demandada también caracteriza este enfoque
           como justificable, dado que dichos datos reflejan adecuadamente el estado de la Planta y
           las condiciones operativas en Venezuela. Rechazando las alegaciones de las Demandantes
           que, tal como sostiene la Demandada, pretenden atribuirle responsabilidad a esta última
           por los mayores costos, la Demandada afirma que estas alegaciones distraen la atención del
           hecho de que son las Demandantes quienes no cumplieron con la carga de la prueba para
           demostrar que pueden ignorar legítimamente los costos reales de FertiNitro (y así desviarse
           de las prácticas convencionales de valoración) y en su lugar utilizar datos presupuestados.

           La Demandada señala que el motivo para estos costos es la necesidad de mayores costos
           de paradas programadas y mantenimiento que surgen del deterioro anticipado de las




581
      Dúpl. Ven., Párrafos 414-420.


                                                      248
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 565 of 622




        máquinas y los equipos 582. Al contrario de lo que se sostiene en los alegatos de las
        Demandantes, estos defectos iniciales en la construcción no fueron resueltos en su mayoría
        a través del Plan Principal de Mantenimiento (“MMP”, por sus siglas en inglés) en 2005,
        tal como confirmara el testimonio oral del señor Villarroel 583. Asimismo, la Demandada
        sostiene que la Planta sufrió una cantidad de cierres de operaciones no planificados superior
        al promedio 584.      Además, el daño que se sufrió por los cierres de operaciones no
        planificados a menudo fue magnificado por la falta, o mal funcionamiento, de los sistemas
        de protección estándares que automáticamente toman el control de las operaciones cuando
        se producen cortes de energía y que protegen a los equipos principales contra los daños 585.

        La Demandada señala asimismo las tasas de inflación en aumento en Venezuela que
        redundaron en mayores costos en moneda local, que (tal como afirma la Demandada) las
        Demandantes han ignorado 586. La Demandada también afirma que la inflación creciente
        incidió también de manera significativa en los costos de paradas programadas de FertiNitro.
        De hecho, entre 2007, cuando se presupuestó la segunda parada más importante de
        FertiNitro, y 2008, cuando dicha parada tuvo lugar, la inflación anual de Venezuela
        aumentó 11,7 puntos porcentuales, del 18,7 % al 30,4 % 587. La creciente inflación llevó
        inevitablemente a un gran aumento en los costos de paradas programadas, ya que las
        paradas programadas requieren el uso de cientos de trabajadores locales externos, quienes
        son remunerados en Bolívares.

        Al tratar la prueba pericial del Sr. Giles, la Demandada sostiene que el Sr. Giles se equivoca
        al alegar que la exposición de FertiNitro a la inflación local es “muy baja”, ya que sólo
        “buena parte de sus costes están en bolívares” 588. La Demandada describe esto como una
        “[e]valuación muy simplista [...] de los costos locales de la planta basada […] en una


582
    Véase Informe de Jacobs Consultancy, Informe de segunda prueba de confiabilidad diferida, Complejo de
    FertiNitro, José Venezuela, Razones para la no certificación) (octubre de 2006) (R-57), páginas 10-11; Segunda
    Audiencia (noviembre) D5.217-218, 229-231.
583
    Primera Audiencia (septiembre) D3.136 (Villarroel).
584
    Véase Informe de Jacobs Consultancy, Informe de segunda prueba de confiabilidad diferida, Complejo de
    FertiNitro, José Venezuela, Razones para la no certificación) (octubre de 2006) (R-57), páginas 10-11.
585
    Primera Audiencia (septiembre) D3.155-156 (Villarroel).
586
    La Demandada señala el reconocimiento de esta cuestión por parte del Sr. Villaroel: Primera Audiencia
    (septiembre), D4.28, 30, 32.
587
    La Demandada señala las Tasas de Inflación del Fondo Monetario Internacional, 2004-2011 (R-90).
588
    Segunda Audiencia (noviembre) D6.287 (Giles).


                                                      249
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 566 of 622




        selección oportunista de datos sobre costos (usando, por ejemplo, los costos presupuestados
        de 2008 de las paradas programadas, en lugar de los costos reales mucho más elevados) y
        se limita al período 2006-2008 (excluyendo así precisamente los años en que se disparó la
        inflación)” 589. La afirmación de las Demandantes de que la inflación es una “nueva
        supuesta explicación” para los costos de FertiNitro más elevados que los presupuestados,
        tal como afirma la Demandada, debería ser rechazada por el Tribunal 590.

        Posteriormente, la Demandada señala que los elevados costos de mantenimiento y paradas
        programadas no se deben principalmente a errores operativos en los últimos años. En
        cambio, sobre la base de diversos informes 591 (la totalidad de los cuales, tal como afirma
        la Demandada, demuestran que los procesos en la Planta no fueron los ideales desde el
        principio), la prueba del Sr. Gwaltney establece que hubo una “ruptura en la estructura de
        la organización” 592 después de que KOMSA saliera de la administración de la Planta en
        octubre de 2007.         La Demandada señala también el propio reconocimiento de las
        Demandantes de que había habido cambios frecuentes en el personal de administración de
        FertiNitro, incluso durante los primeros años de la Planta 593. La Demandada concluye que
        los procesos no fueron los ideales desde el principio 594.

        En cuanto a las proyecciones subestimadas de costos futuros de FertiNitro por parte de las
        Demandantes, la Demandada señala la subestimación de otros costos, los que describe no
        sólo como “subestimados” sino también “muy especulativos” 595. Con respecto a los gastos
        de capital, después de no tenerlos en cuenta para nada en su primer informe, el Sr. Giles
        proyecta un importe de USD 10 millones en su segundo informe, sobre la base de las



589
    EPA Ven., Párrafo 218.
590
    Véase Segunda Declaración Testimonial de Aníbal Villarroel (30 de diciembre de 2013), Párrafo 13.
591
    EPA Ven., Párrafo 220, que cita Haldor Topsoe, Efecto de la composición del gas natural en la producción de
    amoniaco (26 de agosto de 2003) (R-54), Informe de Jacobs Consultancy, FertiNitro Fertilizer Project, Plan
    Improvement Cost Estimates and Revised Production Forecast (14 de marzo de 2003) (C-125) (Véanse los
    resultados del Informe de Ingeniería de Thielsch de2006). EPA Ven., Párrafo 220 en referencia al Informe de
    KBC, Plant Performance Optimization Assessment Report (18 de mayo de 2007) (C-158).
592
    Declaración Testimonial de Brent W. Gwaltney (30 de mayo de 2012) (“Gwaltney DT1”), Párrafo 60.
593
    Primera Audiencia (septiembre) D4.15 (Villaroel).
594
    La Demandada sostiene que un error operativo admitido – el no implementar un plan de mantenimiento eficaz en
    materia de costos – se cometió al principio de la historia de la Planta cuando KOMSA era la encargada de dirigir
    la Planta.
595
    EPA Ven., Párrafo 222.


                                                       250
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 567 of 622




        sugerencias del Sr. Sanders 596. Pero la Demandada señala que ni el Sr. Sanders, ni el Sr.
        Giles, explican este importe. Más aún, el Sr. Sanders en última instancia admitió en el
        contrainterrogatorio que “todo depende de cuáles son [los equipos] que se han de [instalar]”
        es “sin duda” posible que FertiNitro necesitara más gastos de capital que los USD 10
        millones de referencia que indicó en función de su experiencia en la planta de Terra OK 597.

        En cuanto a los costos de gas, el Sr. Giles basó su proyección del precio base del gas natural
        en un solo dato: el precio del gas natural presupuestado de FertiNitro correspondiente a
        2010, el cual, según la Demandada, es el precio base más bajo para todos los años del
        presupuesto que él analizó 598. El intento del Sr. Giles de defender su elección como
        “conservadora” 599 debería ser rechazado por el Tribunal, en tanto ignora tanto el registro
        de precios históricos más extenso de FertiNitro como las predicciones de reconocidos
        analistas. El Tribunal debería preferir la proyección del Dr. Flores, basada en tres de estos
        analistas de largo plazo 600.

        Cuarto, la Demandada afirma que la tasa de descuento del 10,12 % propuesta por las
        Demandantes se encuentra infravalorada, en tanto que la tasa de descuento del 20,37 %
        propuesta por el Dr. Flores se encuentra plenamente justificada. Sostiene que los cálculos
        de la tasa descuento del Sr. Giles son irrazonables en al menos los siguientes aspectos, a
        saber:

        El Sr. Giles utiliza en forma inapropiada los datos de las primas de riesgo del mercado
        global. La prima de mercado tiene por objeto medir el retorno adicional por encima de la
        tasa libre de riesgo requerida por los inversionistas en títulos de los EE. UU. (Este riesgo
        de mercado refleja riesgos no relacionados con Venezuela). El Sr. Giles calcula una tasa
        de un 4,75 % sobre la base de las estimaciones de riesgo de mercado global publicadas en
        2006 (es decir, cuatro años antes de la adquisición forzosa). La tasa de mercado del Sr.
        Giles no es apropiada porque los datos en los que se basa no están actualizados y el uso de


596
    Giles IP2, Párrafo 7.34; Segundo Informe de Experto de Richard Sanders (27 de agosto de 2013) (“Sanders IP2”),
    Párrafo 69.
597
    Segunda Audiencia (noviembre) D5.248-250 (Sanders).
598
    Flores IP2, Párrafo 49.
599
    Giles IP2, Párrafos 7.2-7.4; Segunda Audiencia (noviembre) D6.319 (Giles).
600
    Flores IP2, Párrafo 55.


                                                      251
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 568 of 622




        estimaciones de riesgo de mercado global no es compatible con el método aditivo del Sr.
        Giles para calcular la tasa de descuento.

        Conforme al método aditivo, el experto en valoración debe (tal como ha hecho el Dr.
        Flores) calcular los elementos de la tasa de descuento, incluida la tasa de riesgo de mercado,
        como si se aplicaran a una compañía con sede en los EE. UU. y luego aplicar una prima de
        riesgo país que refleje los riesgos adicionales de operar en cualquier otro país, en este caso,
        Venezuela 601. Por lo tanto, el Sr. Giles debería haber usado datos de riesgo de mercado de
        los EE. UU. en lugar de datos globales. Más aún, el Artículo de Fernández (en el cual se
        basa el Sr. Giles) contradice su propia tasa de riesgo de mercado.

        El Sr. Giles se basa inapropiadamente en los datos limitados de un estudio para determinar
        la prima de riesgo país de Venezuela. En este sentido, la Demandada señala que el Dr.
        Flores calculó una tasa de riesgo país del 11,26 % en función del promedio de tres métodos
        muy reconocidos: (i) modelo de país de Morningstar/Ibbotson (12,75%); (ii) modelo de
        calificación de riesgo país de Morningstar/Ibbotson (14,27 %), y (iii) estimación del
        Profesor Damodaran (6,75 %) 602. Según la Demandada, el Dr. Flores no aplicó otros
        modelos reconocidos, tales como el Indicador de Bonos de Mercados Emergentes de JP
        Morgan (EMBI, por sus siglas en inglés), que habría dado como resultado una prima de
        riesgo país comparativamente mayor para Venezuela del 12,41 %.

        La Demandada afirma que la invocación por parte del Sr. Giles de un estudio (en lugar de
        modelos establecidos de primas de riesgo), que sugiere una prima de riesgo país para
        Venezuela del 5,5 %, es completamente infundada. Nuevamente, la Demandada señala la
        propia prueba del Sr. Giles de que el estudio no puede considerarse representativo 603.
        Señala, además, que el modelo de país de Morningstar/Ibbotson es identificado por el
        propio estudio como la fuente principal y preferida entre los participantes del estudio para
        determinar el riesgo país 604. La Demandada afirma también que es inadecuado que el Sr.


601
    Flores IP2, Párrafo 106.
602
    Flores IP1, Gráfico 11.
603
    Giles IP1, Párrafo B.32.
604
    EPA Ven., Párrafo 229. Fernandez, Aguirreamolla & Corres, Prima de riesgo del mercado usada en 56 países en
    2011: Una encuesta con 6014 respuestas 7 (mayo de 2011) (CRA-27), Tabla 4. Ibbotson/Morningstar fue la fuente
    más citada con 256 respuestas, mientras que los estudios ocuparon el décimo lugar entre las fuentes más citadas


                                                       252
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 569 of 622




         Giles se base en el estudio, ya que no ha realizado ajustes de posibles parcialidades
         resultantes del hecho de que la mayoría de los participantes del estudio evaluaron el riesgo
         país de sus propios países, respecto de lo cual, naturalmente, no son neutrales, y los propios
         autores del estudio no poseen una metodología de corrección de este tipo de parcialidades
         en el estudio.

         El Sr. Giles excluye arbitrariamente el riesgo político de su tasa de riesgo país. La
         Demandada sostiene que, sin brindar justificación económica alguna, el Sr. Giles excluyó
         “varios de los riesgos que generalmente se asocian con el concepto de riesgo país (por
         ejemplo, la expropiación)” 605, “cuando se le indicó que el Tratado ofrecía una posible
         protección” 606.      La Demandada sostiene que este enfoque resulta completamente
         irrazonable y contrario a decisiones recientes del CIADI, incluido el laudo en el caso
         ExxonMobil donde el tribunal sostuvo que “el riesgo de confiscación forma parte del riesgo
         país y debe considerarse al determinar la tasa de descuento” 607. El tribunal en ese caso
         decidió que:

           “[E]l riesgo de una posible expropiación existe, precisamente, en el momento
           anterior a que ésta se produzca (o de que una expropiación inminente sea de
           conocimiento público) y que el comprador hipotético lo tendrá en cuenta al momento
           de definir la suma que está dispuesto a pagar en ese momento” 608.

         La Demandada afirma que los riesgos de expropiación o nacionalización se conocían con
         claridad desde el inicio, ya que se habían estipulado específicamente en la Circular de
         Oferta de 1998 609. Además, en contraposición al enfoque de las Demandantes de que los
         TBI reducen la exposición al riesgo país (un enfoque descripto por las Demandantes como
         “trillado” 610), la Demandada afirma que, en general, los inversionistas no perciben que los




    con solo 33 respuestas. De hecho, el Dr. Flores destacó que “[d]ice sí las encuestas hay que mirarlas, todo el mundo
    usa Ibbotson Morningstar, pero él no”. Segunda Audiencia (noviembre) D6.364 (Flores).
605
    Giles IP1, Párrafo B.8; Segunda Audiencia (noviembre) D6.64 (Giles).
606
    Giles IP1, Párrafo B.77.
607
    Venezuela Holdings c. Venezuela (RLA-153), Párrafo 365.
608
    Venezuela Holdings c. Venezuela (RLA-153), Párrafo 365.
609
    Circular de Oferta – Emisión de bonos por USD 250.000.000 entre FertiNitro Finance Inc. y FertiNitro (8 de abril
    de 1998), página 38.
610
    Segunda Audiencia (noviembre), Alegato de Apertura de las Demandantes, Diapositiva 56.


                                                         253
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 570 of 622




        TBI reduzcan el riesgo país 611 y tampoco existen fundamentos que sostengan la
        especulación de las Demandantes que indica que “sin duda, se esperará que un comprador
        goce de la protección del TBI en caso de una transacción hipotética a precio de
        mercado” 612.

        El Sr. Giles aplica un factor lambda irrazonable. La Demandada sostiene que se basa
        “únicamente en especulaciones” 613. La Demandada invoca prueba del Dr. Flores, en la que
        afirma que ha considerado la exposición de FertiNitro al riesgo país de Venezuela, pero (en
        contraposición al Sr. Giles) concluyó que no era necesario apartarse del factor lambda
        estándar de 1 debido a que, para hacerlo, “tenemos que aportar pruebas contundentes de
        que hay diferencias efectivas” 614. El Dr. Flores afirma que tales pruebas no existen. La
        Demandada describe la evaluación de riesgo del Sr. Giles como “totalmente confusa,
        imprecisa y desequilibrada” 615, citando cuatro factores, que se enumeran a continuación.

        Primero, la Demandada señala que el Sr. Giles no ha proporcionado cálculos ni ningún tipo
        de metodología que explique el modo en que alcanzó como resultado una exposición al
        riesgo del 40 %. Afirma que, si bien el Sr. Giles ha identificado 22 factores de riesgo, no
        ha podido explicar su importancia relativa 616. La Demandada señala nuevamente que la
        exclusión por parte del Sr. Giles de los factores de riesgo supuestamente protegidos por el
        Tratado no tiene justificación económica alguna, sino que, por el contrario, se basa en
        instrucciones de los abogados de las Demandantes 617.

        Segundo, la Demandada afirma que el Sr. Giles ha infravalorado la exposición al riesgo de
        FertiNitro, incluyendo factores de riesgo que no están relacionados en absoluto con el
        riesgo de expropiación. Por ejemplo, la Demandada rechaza la prueba del Sr. Giles que
        calificó, los seis factores de riesgo asociados con el desorden de carácter social, como

611
    EPA Ven., Párrafo 232. Véase Lauge Skovgaard Poulsen, “The Importance of BITs for Foreign Direct Investment
    and Political Risk Insurance: Revisiting the Evidence”, Yearbook on International Investment Law and Policy
    (2010), páginas 539-542; Jason Webb Yackee, “Do Bilateral Investment Treaties Promote Foreign Direct
    Investment? Some Hints from Alternative Evidence”, 51(2) Virginia Journal of International Law (2010) (EO-49),
    página 397; Segunda Audiencia (noviembre) D6.64-65 (Flores); Flores IP1, Párrafo 126; Flores IP2, Párrafo 122.
612
    Segunda Audiencia (noviembre) D8.776.
613
    EPA Ven., Párrafo 233.
614
    Segunda Audiencia (noviembre) D7.673 (Flores). Inglés: D7.161
615
    EPA Ven., Párrafo 234.
616
    Flores IP2, Párrafo 149.
617
    Giles IP1, Párrafo B.77.


                                                      254
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 571 of 622



                                   618
        “bajo”, para FertiNitro          . El Sr. Giles realiza esta calificación porque cree que “es fácil
        ver cómo la ubicación estratégica de la planta FertiNitro en un complejo industrial seguro
        en la costa sería menos riesgoso que una planta ubicada en Caracas central, al considerar
        los efectos potenciales del malestar social” 619. Sin embargo, el Dr. Flores señala que la
        Planta se encuentra ubicada en un área poco segura, y, aunque ningún integrante del
        personal de FertiNitro vive en la Planta, las situaciones de malestar social que tengan lugar
        en las comunidades cercanas afectarán en forma directa a FertiNitro, ya que tanto los
        miembros de la gerencia como los trabajadores deben trasladarse hasta y desde la Planta.
        En vista de la seguridad, concluye que, “[s]i se le dice a un inversor que puede obtener un
        dólar de ganancia al invertir en una planta de fertilizantes en Wichita o al invertir en una
        planta de fertilizantes en el Complejo José, creo que un dólar en el Complejo José se
        descartaría drásticamente” 620. Además, debido a que todas las instalaciones de producción
        de FertiNitro están ubicadas en Venezuela, la empresa estaba expuesta, en forma inevitable,
        al riesgo país venezolano, a pesar de recibir la mayor parte de sus ingresos del exterior.

        Tercero, la Demandada señala que el Sr. Giles ha ignorado factores de riesgo que
        incrementan la exposición de FertiNitro al riesgo país de Venezuela, incluida la
        dependencia de FertiNitro de un único proveedor de gas natural y el hecho de que, mientras
        que las empresas más pequeñas en Venezuela se encuentran exentas de determinados
        impuestos, como empresa de gran tamaño en el sector formal de la economía, FertiNitro se
        encuentra expuesta a una amplia gama de impuestos y, por lo tanto, se enfrenta a mayores
        riesgos en caso de que se produzcan aumentos en los impuestos.

        Cuarto, la Demandada afirma que el sentido común tampoco se encuentra a favor del factor
        lambda de 0,4 determinado por el Sr. Giles, que produce como resultado una supuesta tasa
        de riesgo país para FertiNitro de sólo 2 %. Esa tasa corresponde a la tasa que, generalmente,
        se aplica a las inversiones realizadas en países como, por ejemplo, Italia 621. Sin embargo,
        tal como se pregunta la Demandada, si tuviera disponible un dólar para invertirlo, ¿le



618
    Segunda Audiencia (noviembre) D7.606 (Giles).
619
    Giles ER 2, Párrafo 1.26.
620
    Segunda Audiencia (noviembre) D6.368 (Flores).
621
    Véase Dúpl. Ven., Párrafo 458.


                                                      255
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 572 of 622




        resultaría indiferente invertirlo en Venezuela o en Italia por el mismo rendimiento
        estimado?

        El Sr. Giles deduce un descuento de liquidez del 1 % de su tasa de riesgo país, que la
        Demandada sostiene no encuentra sustento en la práctica convencional de valoración. El
        Dr. Flores explicó que “nunca ha visto que un perito hiciera lo que el Sr. Giles hizo aquí”.
        En efecto, la Demandada sostiene que la aplicación de un descuento de liquidez a la tasa
        de riesgo país que realiza el Sr. Giles se basa en una interpretación equivocada del estándar
        de valor de mercado provista en CMS c. Argentina, el cual requiere de un “mercado abierto
        y no restringido” 622.

        Sin embargo, el requisito de un “mercado abierto y sin restricciones” no permite excluir
        restricciones de facto impuestas en la venta de los activos de importancia que habrían
        existido independientemente de los hechos controvertidos; y no permite que el experto en
        valoración cree un contexto en el que la participación de KOMSA en FertiNitro tenga
        mayor valor que el que tendría si los hechos controvertidos no existieran. Además, la
        Demandada sostiene que la valoración del Sr. Giles, y su aplicación de un descuento de
        liquidez, ignora que el capital de KOMSA en FertiNitro es una participación minoritaria
        en una sociedad cerrada en un mercado pequeño y en desarrollo.

        Asimismo, y yendo más allá de los errores en la propia tasa, la Demandada sostiene que la
        irracionalidad de la tasa de descuento de las Demandantes se ve confirmada por los dos
        laudos dictados en los casos ExxonMobil y Mobil 623 y el laudo dictado en Flughafen c.
        Venezuela 624. La Demandada señala estos tres laudos, todos los cuales han aplicado tasas
        de descuento similares a aquellas propuestas por el Dr. Giles, es decir, 18 % en el caso del
        laudo de ExxonMobil y Mobil 625 y una tasa nominal de descuento del 17,28 % en el caso


622
    CMS Gas Transmission Company c. República Argentina, Caso CIADI N.º ARB/01/8, Laudo (12 de mayo de
    2005) (“CMS c. Argentina”) (CLA-130), Párrafo 402. Además, la Demandada sostiene que el requisito de que el
    mercado sea “abierto y no restringido” no constituye un elemento estándar de las definiciones de VJM. Por
    ejemplo, señala Occidental Petroleum Corporation y Occidental Exploration and Production Company c. La
    República del Ecuador, Caso CIADI N.º ARB/06/11, Laudo (5 de octubre de 2012) (“Occidental c. Ecuador”)
    (CLA-129), donde la definición de VJM (que citaran las Demandantes en la Diapositiva 24 de su Alegato de
    Apertura en materia de Cuantificación de Daños) no contiene este elemento.
623
    A saber, Mobil c. PDVSA (EO-45); Venezuela Holdings c. Venezuela (RLA-153).
624
    Flughafen c. Venezuela (RLA-154).
625
    Mobil c. PDVSA (EO-45), Párrafos 768, 777; Venezuela Holdings c. Venezuela (RLA-153), Párrafos 367-368.


                                                     256
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 573 of 622




        del laudo de Flughafen 626. Además, tal como estableciera el tribunal del CIADI en el
        contexto del caso ExxonMobil, “[o]tros tribunales arbitrales [...] han utilizado, en
        circunstancias comparables con el presente caso, [...] tasas que van desde el 18,5 % al 21
        %” 627.

        Posteriormente, la Demandada realiza alegaciones acerca de Gold Reserve c. Venezuela 628,
        al observar que, en ese caso, se aplicó una tasa de descuento comparativamente menor que
        aquella del tribunal del caso ExxonMobil. Explica que “no corresponde aumentar la prima
        de riesgo país a fin de reflejar la percepción del mercado en virtud de la cual un Estado
        podría ser propenso a expropiar inversiones en violación de las obligaciones establecidas
        en el TBI” 629. En cualquier caso, la Demandada sostiene que el Tribunal no debería
        considerar al laudo Gold Reserve relevante para el presente caso, ya que dicho laudo se
        relaciona con un proyecto que no tiene casi ninguna relación con el proyecto de FertiNitro.
        Por el contrario, el proyecto de ExxonMobil es muy comparable con el proyecto FertiNitro,
        o hasta idéntico a este 630. Debido a las similitudes del caso FertiNitro con el proyecto
        valuado en los laudos de los casos ExxonMobil y Mobil (y la falta de tales similitudes en
        relación con el proyecto Gold Reserve), la Demandada sostiene que el Tribunal debe
        considerar las decisiones en ExxonMobil y Mobil a fin de determinar la razonabilidad de
        las tasas de descuento de los expertos.

        En contraposición a la prueba del Sr. Giles, la Demandada sostiene que el enfoque del Dr.
        Flores es claro. Señala que, para calcular su tasa de descuento, consultó las fuentes más
        ampliamente aceptadas y las aplicó de manera objetiva. Afirma que el enfoque del Dr.
        Flores ciertamente no es arbitrario, ni tampoco “simplemente una herramienta que el Dr.
        Flores utiliza para reducir sustancialmente la valoración de las inversiones de las

626
    Flughafen c. Venezuela (RLA-154), Párrafo 839. La Demandada señala que el tribunal en el caso Flughafen no
    aplicó una tasa de descuento nominal del 17,28 % sino una tasa de descuento en términos reales del 14,4 % (es
    decir, sin considerar la inflación) a fin de conservar la coherencia con las proyecciones del flujo de caja que, a
    diferencia del presente caso, también se realizaron en términos reales.
627
    Venezuela Holdings c. Venezuela (RLA-153), Párrafo 367.
628
    Gold Reserve c. Venezuela (CLA-156).
629
    Gold Reserve c. Venezuela (CLA-156), Párrafo 841.
630
    En este sentido, la Demandada se basó en la similitud demostrada por los siguientes aspectos clave en común: (a)
    instalaciones de producción ubicadas en el Complejo José; (b) producción destinada principalmente a la
    exportación; (c) ingresos obtenidos principalmente en dólares estadounidenses; (d) celebración de un offtake
    agreement; (e) proyecto iniciado durante el período de “Apertura”; (f) uso de un memorando de emisión de bonos
    de 1998; (g) uso de financiamiento para el proyecto; y (h) existencia de varios accionistas, entre ellos PDVSA.


                                                        257
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 574 of 622




        Demandantes” 631 [Traducción del Tribunal]; por el contrario, refleja la práctica
        convencional de valoración.

        Posteriormente, la Demandada afirma que los supuestos “controles de razonabilidad” de
        las Demandantes no sustentan su valoración de la participación del 25% de KOMSA en
        FertiNitro. En este sentido, la Demandada realiza cuatro alegaciones principales.

        En primer lugar, la Demandada sostiene que el precio del MdE de octubre de 2008, si se lo
        ajusta correctamente, confirma la valoración del Dr. Flores, y no la valoración del Sr. Giles.
        Es decir, el precio del MdE de octubre de 2008 (USD 212,5 millones) para la participación
        de KOMSA en FertiNitro, si se lo ajusta correctamente a los fines de una valoración de
        VJM al 30 de septiembre de 2010 (a USD 55,3 millones), sustenta la valoración de la
        Demandada. En tanto el valor de la Planta depende de los flujos de caja futuros, toda
        valoración que se base en determinaciones de valor anteriores en este sentido debe ser
        ajustada para dar cuenta de los cambios en el precio de las mercaderías vendidas, en este
        caso, amoníaco y urea. Por consiguiente, el valor de la Planta en septiembre de 2010 no
        puede ser el mismo que en octubre de 2008, cuando los precios y las proyecciones de
        precios fueron significativamente superiores.

        En segundo lugar, la Demandada sostiene que los costos de construcción de otras plantas
        carecen de relevancia. Más específicamente, los costos de construcción de la planta de
        Morón carecen de relevancia para la valoración de FertiNitro, ya que estos costos no
        proporcionan información acerca del valor de la Planta FertiNitro. Lo mismo se aplica a
        los costos proyectados de construcción de las plantas de Guiria y José, que las Demandantes
        plantearon por primera vez en la Segunda Audiencia (noviembre) 632. De hecho, debido a
        las demoras en la construcción o a los cambios del mercado, el valor de una construcción
        suele ser menor que lo que le costó la construcción al propietario 633.

        En tercer lugar, la Demandada sostiene que los dos informes Advantis confirman la
        valoración del Dr. Flores. A la vez, demuestran que la valoración del Sr. Giles del capital
        de KOMSA en la suma de USD 361 millones es una clara exageración. La primera

631
    Segunda Audiencia (noviembre) D8.784.
632
    Segunda Audiencia (noviembre) D6.293.
633
    Segunda Audiencia (noviembre) D5.141-142.


                                                 258
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 575 of 622




           valoración de Advantis, preparada en el contexto de las negociaciones para llegar a un
           acuerdo, valoró la participación del 25 % de KOMSA en la suma de
           USD 30-48 millones (o USD 120-194 millones para el 100 %), asumiendo que el Decreto
           de la Urea continuaba siendo aplicable, y en USD 99 millones (o USD 398 millones para
           el 100 %), en el supuesto de que las ventas nacionales según el Decreto de la Urea dejaran
           de estar en vigencia en 2012 634.

           El segundo informe Advantis calculó un valor superior de USD 113 millones para la
           participación del 25 % de KOMSA en FertiNitro (o USD 452 millones para el 100 %) en
           el supuesto de que las ventas según el Decreto de la Urea dejaran de estar en vigencia en
           2012. Sin embargo, en el supuesto de que las ventas nacionales según el Decreto de la
           Urea continuaran en vigencia (y asumiendo el mismo impacto que la Primera Valoración
           de Advantis), el Dr. Flores ha demostrado que la Segunda Valoración de Advantis se reduce
           a USD 43,5-62 millones (la participación del 25 % de KOMSA) o USD 248-174 millones
           (100 % de FertiNitro) 635.

           Surge, tal como afirma la Demandada, que la valoración que realiza el Dr. Flores de la
           participación de KOMSA en la suma de USD 34,6-64,3 millones se encuentra dentro del
           rango de los resultados de ambas valoraciones de Advantis en el rango de los USD 30-113
           millones, o al menos son cercanos a estos, mientras que la valoración presentada por el Sr.
           Giles de USD 361 millones es un valor claramente atípico y supera las valoraciones de
           Advantis en alrededor de tres a diez veces. Además, el Sr. Giles plantea el nuevo
           argumento de que la tasa de descuento aplicable sería del 13,1 % utilizando la prima de
           riesgo de mercado y la prima de riesgo país de Advantis (que son inferiores a las respectivas
           presunciones del Dr. Flores), junto con la tasa libre de riesgo y el factor beta del Dr. Flores
           (que, a su vez, son respectivamente inferiores a los utilizados en los informes de Advantis).
           La Demandada sostiene que este enfoque arbitrario y no explicado carece de lógica y lo
           describe como “otro ejemplo del enfoque inadecuado de manipulación del Sr. Giles, que




634
      Véase Primer Informe Advantis (R-86), páginas 5, 9 y 19.
635
      Informe Advantis intitulado “Valoración de FertiNitro” (julio de 2011) (C-157) (“Segundo Informe Advantis”).
      Véase presentación del Dr. Flores durante la Segunda Audiencia (noviembre), Diapositiva 55.


                                                        259
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 576 of 622




        considera solo aquellos elementos que aumentan su valuación y excluye a aquellos
        elementos que la disminuyen” 636.

        En cuarto lugar, la Demandada sostiene que el nuevo argumento de las Demandantes
        basado en el valor contable de FertiNitro es irrelevante. La Demandada sostiene que,
        durante la Segunda Audiencia (noviembre), las Demandantes plantearon el nuevo
        argumento de que la valoración que realiza el Dr. Flores de la participación de KOMSA en
        FertiNitro en la suma de USD 34,6 millones se encuentra subestimada, ya que el valor
        contable del 25 % de FertiNitro de KOMSA en 2010 era supuestamente de USD 168,1
        millones 637. No obstante, el valor contable es irrelevante cuando se valora a una empresa
        en función del estándar de VJM. En efecto, la Demandada señala lo que el Tribunal
        indagara durante la Audiencia, es decir, que “la disposición del vendedor a vender no está
        obligatoriamente conectada de manera causal o existencial con el supuesto valor entendido
        como factor objetivo de los activos” 638.

        (iv) La valoración de KNI de sus derechos relativos al reclamo del Offtake Agreement es
             exagerada

        La Demandada sostiene principalmente que los derechos contractuales de KNI en virtud
        del Offtake Agreement no constituyen una “inversión” y/o que no ha habido ninguna
        expropiación de tales derechos por lo que, por consiguiente, no se debe compensación
        alguna a KNI. Sin embargo, el Tribunal ha resuelto de otro modo la cuestión de la
        jurisdicción y, por mayoría, la cuestión de responsabilidad: véase supra. En estas
        circunstancias, la Demandada aquí sostiene que el Tribunal debe determinar dicha
        compensación sobre la base de la valoración del Dr. Flores de USD 56,2 millones y no
        sobre la base de la valoración exagerada de USD 206,5 millones del Sr. Giles. Ni el Dr.
        Flores ni la Demandada -aducen- que, suponiendo que las cuestiones de jurisdicción y
        responsabilidad fueran resueltas a favor de KNI, KNI no ha sufrido ninguna pérdida como
        consecuencia de la expropiación de sus derechos respecto del Offtake Agreement.




636
    EPA Ven., Párrafo 252.
637
    EPA Ven., Párrafo 253, que hace referencia a la Segunda Audiencia (noviembre) D5.31 (Fietta).
638
    Segunda Audiencia (noviembre) D5.47 (Feliciano).


                                                      260
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 577 of 622




En primer lugar, la Demandada sostiene que las Demandantes formulan las mismas
hipótesis inapropiadas en lo que se refiere a volúmenes de venta y tasas de descuento que
en su valoración de la participación accionaria de KOMSA en FertiNitro.

En segundo lugar, la Demandada afirma que el período valuatorio de las Demandantes
incluye indebidamente un período de dieciséis meses durante el cual KNI no sufrió pérdida
alguna. Dice que la valoración de los derechos de KNI en virtud del Offtake Agreement
debe necesariamente, por razones de hecho y de derecho, excluir los volúmenes de
producción que KNI obtuvo entre octubre de 2010 y febrero de 2012 en virtud del Offtake
Agreement. Esto es así porque (tal como arguye la Demandada) no es un tema controvertido
entre las Partes que KNI continuó comprando productos fertilizantes a FertiNitro a precios
del Offtake Agreement durante esos dieciséis meses. La Demandada señala que el Sr. Giles
realiza su valoración como si estas compras nunca hubieran ocurrido y, por lo tanto, calcula
daños por volúmenes de producción que KNI nunca perdió. Dicha doble compensación
debe rechazarse independientemente del método de valoración que se aplique. Por el
contrario, la Demandada argumenta que el Dr. Flores examina “precisamente lo que
sucedió” y, en consecuencia, excluye de su valoración las compras de KNI durante el
período comprendido entre octubre de 2010 y febrero de 2012.

En tercer lugar, la Demandada señala que la valoración de las Demandantes se basa en
supuestos fácticos poco realistas, a saber:

 (a)   las Demandantes calculan de manera inadecuada el lucro cesante de KNI en lugar
       del valor de los supuestos derechos de KNI en virtud del Offtake Agreement;

 (b)   las Demandantes no demuestran que nunca habrían podido reemplazar los
       derechos de comercialización de FertiNitro a través de compras en el mercado
       abierto; y

 (c)   los cálculos de lucro cesante de las Demandantes son erróneos y sumamente
       especulativos.

En cuanto a (a), el Sr. Giles calcula el lucro cesante de KNI en lugar del valor de los
supuestos derechos de KNI en virtud del Offtake Agreement. Además, asume que, tras la



                                         261
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 578 of 622




        terminación del Offtake Agreement, KNI podría entonces y para siempre reemplazar las
        cantidades debidas bajo el Offtake Agreement sólo a través de compras a precios NOLA y
        TAMPA, perdiendo así todas y cada una de las oportunidades de revender las cantidades
        de reemplazo de amoniaco y urea con una ganancia. La Demandada aduce, sin embargo,
        que el Dr. Flores calcula correctamente el valor de los derechos alegados por KNI en virtud
        del Offtake Agreement como la diferencia entre el precio medio del Caribe para el amoníaco
        y la urea en el mercado abierto, por un lado, y el más favorable Precio del Offtake
        Agreement (a saber, precio bajo del Caribe menos un descuento del 3 % para la urea o del
        4 % para el amoníaco), por el otro. La Demandada afirma que el intento de las Demandantes
        de cuestionar la existencia y credibilidad de un precio medio del Caribe es
        “sorprendente” 639, ya que fue su propio perito (Sr. Giles) el que primero analizó este precio
        en su primer informe pericial 640.

        En cuanto a (b), la Demandada afirma que los desarrollos en los mercados de fertilizantes
        de los Estados Unidos e internacional conocidos antes de la fecha de valoración indican
        que KNI habría podido obtener cantidades de reemplazo de amoníaco y urea a costos por
        debajo de los de los valores NOLA/TAMPA, y probablemente lo hizo. Como consecuencia
        del incremento considerable en la oferta nacional estadounidense de gas natural barato (que
        es el componente clave del amoniaco y la urea) desde comienzos de 2008, según las propias
        fuentes de las Demandantes, tanto las empresas nacionales como las extranjeras han creado
        nuevas plantas de fertilizantes o han reactivado las plantas cuyas actividades habían
        suspendido anteriormente en los Estados Unidos. Este desarrollo se traduce en un aumento
        en la oferta de productos fertilizantes estadounidenses y mundiales, así como en una caída
        en la demanda de fertilizante importado (del Caribe) en los Estados Unidos, y en otros
        sitios. De hecho, la Demandada sostiene que las Demandantes han reconocido los nuevos
        beneficios de producir fertilizantes en los Estados Unidos 641.

        En este sentido, la Demandada arguye que fuentes estadounidenses e internacionales
        esperan que las nuevas inversiones en la industria de fertilizantes estadounidenses den


639
    EPA Ven., Párrafo 259.
640
    Giles IP1, Párrafos 4.14-4.15; D.3.
641
    Primera Audiencia (septiembre) D2.110-111 (Sorlie); Koch Nitrogen Company, LLC, Koch Nitrogen construirá
    nueva planta de urea y aumentará la producción existente (15 de mayo de 2013) (EO-71), página 1.


                                                   262
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 579 of 622




        como resultado entre 3 y 7 millones de toneladas de capacidad adicional de fertilizantes de
        nitrógeno en los EE. UU. 642. La Demandada sostiene que el aumento significativo de la
        oferta nacional de fertilizantes de los Estados Unidos ya ha comenzado a impactar la
        demanda de importación estadounidense. De ello se deduce, tal como afirma la Demandada
        que, como EE. UU. era el principal importador de fertilizantes provenientes del Caribe, una
        disminución en la importación estadounidense dará lugar a la disponibilidad de más
        productos del Caribe para su compra en el Caribe. La Demandada hace referencia a un
        reporte en el que se señala, inter alia, que Trinidad será “la más afectada” por la
        disminución general de las necesidades de importación de EE.UU. 643 Asimismo, la
        Demandada argumenta que los datos que proporcionó sobre el impacto de la revolución
        del gas de esquisto de los EE. UU. en los mercados mundiales de fertilizantes son
        confiables. Finalmente, el Sr. Sorlie testificó que existe la oportunidad de comprar
        toneladas listas de amoniaco y urea en el mercado caribeño 644. Incluso si tal oportunidad
        fuera limitada, la Demandada señala que esto sería contradictorio con los alegatos de las
        Demandantes de que no podían (actualmente ni a futuro) sustituir ninguna de las cantidades
        de offtake de FertiNitro a los precios de mercado abierto del Caribe. Por consiguiente, tal
        como afirma la Demandada, las Demandantes, que tienen la carga de la prueba, no han
        aportado la prueba necesaria para el cumplimiento de esa carga.

        En tercer lugar, la Demandada sostiene que los cálculos de lucro cesante de las
        Demandantes son “erróneos y altamente especulativos” 645. En este sentido, la Demandada
        señala que las Demandantes simplemente asumen que KNI habría podido exportar a EE.
        UU. las mismas cantidades de producto fertilizante a los mismos precios que en el pasado.
        Sin embargo, la Demandada sostiene que esto ignora completamente los cambios
        importantes en el mercado estadounidense de fertilizantes, lo que sugiere que la demanda
        estadounidense de productos fertilizantes extranjeros continuará disminuyendo y que los
        precios de los mercados NOLA/TAMPA bajarán; de esta forma, se generarán márgenes de


642
    Documento de posición del CEIFIC, Las implicaciones de la revolución del gas de esquisto para la industria
    química europea (15 de marzo de 2013) (R-88).
643
    eAmmonia, ¿Es el auge del amoníaco en América del Norte un peligro para las plantas de amoníaco de Trinidad?
    (21 de mayo de 2013) (R-87).
644
    Primera Audiencia (septiembre) D2.105-106 (Sorlie).
645
    EPA Ven., Párrafo 266.


                                                     263
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 580 of 622




        ganancia y volúmenes de venta reducidos para KNI a lo largo de los años. Señala el
        reconocimiento del Sr. Giles “[d]el aumento de manera drástica de las reservas de gas en
        los EE. UU. y la consiguiente reducción de los precios y de la demanda de GNL importado
        en EE. UU.” 646. Lo que resulta cierto para el GNL es cierto en relación con el amoníaco y
        la urea.

        Asimismo, la Demandada arguye que los cálculos de lucro cesante del Sr. Giles no son
        confiables debido a que los costos de transporte que éste utiliza son altamente
        especulativos. No puede utilizarse como base la prueba del Sr. Sorlie de que la estimación
        de costos del Sr. Giles es razonable, ya que se basó solamente en las facturas de dos años
        (2009 y 2010), que es claramente un período demasiado corto para cualquier evaluación
        apropiada 647. En cambio, tal como explicara el Dr. Flores, “[en] la industria naviera cuando
        los precios de los productos básicos ascienden en 2006, 7, 8, los costos de envío suben
        también y luego recaen en el 2009, 2010. Y me parece un poco sospechoso que aquí se nos
        hayan dado solamente unos pocos datos del año 2010, unas cifras que dicen que han
        obtenido internamente para el 2009 y no se da el menor dato para el 2007, 8” 648. Además,
        el cálculo de los costos de transporte del Sr. Giles también resulta “descuidado”, puesto
        que ha utilizado de manera incorrecta datos de transporte para Taft, Luisiana, en vez de
        Tampa, Florida, para calcular los costos de transporte de amoniaco desde José a Tampa.

        Por último, la Demandada señala que el Sr. Giles ignora los costos asociados con la
        empresa, tales como los costos fijos. La alegación de las Demandantes de que los costos
        fijos eran irrelevantes para los cálculos de los costos sigue sin haberse demostrado.

(5)     Análisis y Decisiones del Tribunal
        Cuestiones Principales: Teniendo en cuenta las alegaciones de las Partes resumidas supra,
        en relación con la cuestión de la compensación en virtud del Artículo 6 del Tratado, las tres
        cuestiones principales que se plantean para la determinación del Tribunal son las
        siguientes:



646
    Giles IP1, Párrafo 2.16.
647
    cf. Segunda Declaración Testimonial de Jim Sorlie (26 de julio de 2013) (“Sorlie DT2”), Párrafo 23 (Tabla 1).
648
    Segunda Audiencia (noviembre) D6.375 (Flores). Inglés: D6.139


                                                        264
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 581 of 622




 Cuestión (1): ¿Cuál es el estándar adecuado de compensación por expropiación ilícita
                 en virtud del Artículo 6 del Tratado?

 Cuestión (2): ¿Cuál es la compensación pagadera a KOMSA por su participación
                 expropiada en FertiNitro?

 Cuestión (3): ¿Cuál es la compensación pagadera a KNI por sus derechos expropiados
                 respecto del Offtake Agreement?

Cada una de estas cuestiones plantea muchas cuestiones secundarias, cuya naturaleza se
desprende claramente de las amplias presentaciones escritas y orales de las Partes,
resumidas supra. Las cuestiones secundarias se abordarán en la medida apropiada a
continuación, como parte de las tres cuestiones principales.

 Cuestión (1): ¿Cuál es el estándar adecuado de compensación?

El Tribunal comienza con el Artículo 9(3) del Tratado. Exige que el Tribunal se limite a
otorgar una compensación por daños y perjuicios pagaderos por la Demandada a KOMSA
o KNI en los casos en que el Tribunal haya determinado que la Demandada no ha cumplido
con una obligación en virtud del Tratado. En cuanto a dicha compensación ante un
incumplimiento del Artículo 6 del Tratado, tal disposición se refiere, en el caso de una
expropiación lícita, a una “compensación efectiva y adecuada” que “representará el valor
de mercado de la inversión expropiada inmediatamente antes de que las medidas
expropiatorias fueren tomadas o se hicieren del conocimiento público, si ocurriere antes”.
Es evidente que todas las Partes coinciden en que un valor de mercado tal, o valor justo de
mercado (VJM), es el estándar adecuado de compensación que se aplicará a los reclamos
de compensación tanto de KOMSA como de KNI en contra de la Demandada (véanse las
síntesis de las alegaciones respectivas de las Partes supra).

En las circunstancias de este caso, tanto para KOMSA como para KNI, la fecha para dicha
valoración es el 10 de octubre de 2010 inmediatamente antes del Decreto de Expropiación
y de las declaraciones públicas del Ministro responsable (que deberán tratarse como un
suceso compuesto) del 11 de octubre de 2010. Las Partes han utilizado la fecha del 30 de
septiembre de 2010. Para Tribunal, la diferencia no es relevante a los efectos de este Laudo.



                                         265
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 582 of 622




           La fecha del 10 de octubre de 2010 o 30 de septiembre de 2010 (utilizada por las Partes)
           es la fecha pertinente para calcular la compensación debida a KOMSA y a KNI, sin
           retrospectiva y basada en factores posteriores. El Tribunal ha tomado conocimiento del
           debate no resuelto en otros arbitrajes sobre si, y en caso afirmativo, en qué medida, los
           factores posteriores a la expropiación ilícita (en sus diferentes formas) hasta la fecha del
           laudo pueden ser pertinentes para el cálculo de la compensación, en particular, las
           decisiones emitidas en el marco de los casos Quiborax c. Bolivia y Burlington c.
           Ecuador 649. No es necesario entrar en este debate en el presente caso, habida cuenta de los
           términos expresos del Tratado aplicados por las Partes.

           En este caso, es innecesario que el Tribunal decida sobre cualquier diferencia entre una
           expropiación ilícita en violación del Artículo 6 del Tratado y una expropiación conforme
           al Artículo 6 que no sería ilícita si la Parte Contratante hubiese tomado medidas para dar
           lugar a “una compensación efectiva y adecuada”. Si bien otros tribunales han realizado
           esfuerzos para dirimir esta cuestión controversial en virtud del derecho internacional y los
           términos del tratado, las Partes en el caso que nos ocupa han acordado que, cualquiera sea
           la respuesta correcta, la compensación correspondiente a KOMSA y a KNI debe basarse
           en el valor justo de mercado de la inversión expropiada a la fecha pertinente en ausencia
           de cualquier violación del Tratado por parte de la Demandada (el “estándar de VJM”), o
           en su escenario contrafáctico. Por lo tanto, la respuesta para la expropiación ilícita es la
           misma que para la expropiación lícita, bajo el Artículo 6 del Tratado. Por lo tanto, aquí la
           compensación a KOMSA y KNI debe estar basada en el mismo VJM

           En cuanto a sus respectivas metodologías, en su carácter de expertos en daños, tanto el Sr.
           Giles (para los Demandantes) como el Dr. Flores (para la Demandada) se refieren a un
           valor justo de mercado (VJM) como el valor al que un comprador dispuesto y un vendedor
           dispuesto intercambiarían un activo en efectivo, actuando en condiciones de plena
           competencia en un mercado abierto y sin restricciones, ambos con conocimiento razonable
           de los hechos pertinentes.



649
      Quiborax S.A. y Non Metallic Minerals S.A. c. Estado Plurinacional de Bolivia, Caso CIADI No. ARB/06/2, Laudo
      (16 de septiembre de 2015) (RLA-157); Burlington Resources, Inc. c. República de Ecuador, Caso CIADI No.
      ARB/08/5, Decisión sobre Reconsideración y Laudo (7 de febrero de 2017).


                                                        266
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 583 of 622




           En consecuencia, este estándar de VJM, conforme a dicha formulación, es un criterio
           común entre las Partes y sus expertos en daños como metodología de compensación para
           este caso 650. El enfoque de las Partes es consistente con las decisiones sobre metodología
           de cuantificación de daños, tales como CMS c. Argentina y Occidental c. Ecuador 651. En
           estas circunstancias, el Tribunal está conforme de adoptar el enfoque común de las Partes
           tanto para KOMSA como para (por mayoría) KNI.

           No obstante, al calcular el VJM para la participación accionaria de KOMSA en FertiNitro,
           los dos expertos de las Partes, el Sr. Giles y el Dr. Flores, aplicaron metodologías que
           produjeron resultados muy diferentes, respecto de los cuales el Tribunal ha tenido reservas,
           tal como se explicará infra. Al calcular el VJM de los derechos de KNI respecto del Offtake
           Agreement, los mismos dos expertos también han empleado supuestos diferentes, a saber,
           el Sr. Giles ha calculado el lucro cesante partir de 2010 (al calcular básicamente los precios
           de reventa de Tampa/NOLA menos el precio del Offtake Agreement menos los costos de
           transporte); y el Dr. Flores ha excluido el período anterior al 28 de febrero de 2012 (al
           calcular básicamente las diferencias de precios con el mercado abierto del Caribe).

            Cuestión (2): ¿Cuál es la compensación pagadera a KOMSA por su participación
            expropiada en FertiNitro?

           En sus respectivos cálculos del VJM, tal como se ha resumido supra, los expertos de las
           Partes difieren significativamente, en particular, en cuanto a las tasas de descuento
           aplicables y a la producción y los costos de FertiNitro. El Tribunal se refiere a los puntos
           de desacuerdo entre estos expertos en la Tabla 2 supra.

           En cuanto a las tasas de descuento, el Dr. Flores y la Demandada presentan una mayor tasa
           de riesgo de mercado, tasa de riesgo país, lambda, “Riesgos del TBI” y ajuste de liquidez.
           En cuanto a la producción y los costos de la Planta FertiNitro, el Dr. Flores y la Demandada
           invocan deficiencias existentes en la construcción de la Planta FertiNitro, mantenimiento
           poco satisfactorio en los primeros años de operación de la Planta, excesivos cierres no
           planificados de la Planta, altos costos de mantenimiento debido a la historia y condición



650
      Segunda Audiencia (noviembre) D5.44; Tercera Audiencia (junio), Diapositiva 3.4 (Demandada).
651
      CMS c. Argentina (CLA-130), Párrafo 402; Occidental c. Ecuador (CLA-129).


                                                       267
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 584 of 622




defectuosa de la Planta; problemas con el suministro de gas y electricidad a la Planta; y la
situación económica generalmente adversa de Venezuela.

La Demandada también acusa al Sr. Giles de seleccionar ventajosamente la información,
en particular, en lo que respecta a los costos de gas natural, las paradas programadas, el
mantenimiento, los gastos de capital y, en cuanto a los datos de producción, la exclusión
de 2009 y 2010. La Demandada rechaza los controles de razonabilidad del Sr. Giles en
relación con el MdE de octubre de 2008, los costos de construcción de otras plantas en
otros lugares y el valor contable de FertiNitro.

En cuanto a las tasas de descuento, el Sr. Giles aplica diferente información inicial. Como
riesgo de mercado, utiliza una prima histórica “ajustada” que, con otras diferencias, deriva
en una tasa de descuento total del 10,1 %, en contraposición con la tasa del Dr. Flores del
20,4 %. En lo que se refiere a las cifras de producción y costos, el Sr. Giles utilizó valores
reales, pero, en los casos en que consideró que estos no eran confiables, utilizó cifras
presupuestadas (en particular, para 2008, 2009 y 2010). El Sr. Giles estaba claramente
preocupado por el nivel históricamente alto de costos reales de paradas y mantenimiento
de la Planta.

En cuanto a las verificaciones de validez, el Sr. Giles utilizó un valor contable para los
activos de FertiNitro y calculó así la participación del 25 % de KOMSA en USD 168,1
millones (pero también reconoció que el valor contable de los activos por sí solo no
constituye una valoración de FertiNitro como empresa en marcha). En cuanto a los costos
de construcción históricos de FertiNitro, ellos ascendían a USD 273 millones para KOMSA
(a precios de 2001). Respecto de las valoraciones del MdE en 2008 para la participación
del 25 % de KOMSA, el Sr. Giles ajustó estas cifras para excluir el impacto del Decreto de
la Urea, revirtió el efecto de los nuevos impuestos e incrementos fiscales de FertiNitro y
llegó a una cifra de USD 360,8 millones.

En opinión del Tribunal, no existen pruebas convincentes de que realmente alguno de los
precios de los MdE en 2007 o 2008 entre Pequiven y KOMSA fueran objeto de un acuerdo.
La primera oferta llegó a través de un mensaje de correo electrónico de fecha 9 de octubre
de 2007 del Sr. Toro de Pequiven con una valoración de USD 1,175 millones por el 100%



                                         268
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 585 of 622




        del capital de FertiNitro, menos el monto pendiente de pago a sus bancos y tenedores de
        bonos (que calculó en USD 450.000, presuntamente USD 450 millones) 652. El 7 de
        noviembre de 2007, KOMSA respondió con su borrador de MdE y una valoración de USD
        1,210 millones menos las deudas con los bancos y tenedores de bonos más el excedente de
        efectivo en FertiNitro 653. Las discusiones se interrumpieron entre estas partes a principios
        de 2008. Sin embargo, Pequiven reapareció en octubre de 2008 con un borrador de MdE
        revisado que preveía un pago de USD 212,5 millones a KOMSA por su participación en el
        capital de FertiNitro 654. En última instancia, ningún MdE o valoración fueron acordados o
        firmados entre KOMSA y Pequiven. Pequiven declaró que la compra de las acciones de
        los accionistas privados en FertiNitro ya no era una prioridad. No obstante, el Sr. Parra (de
        KOMSA) afirmó en su declaración testimonial (párrafo 69) que los representantes de
        KOMSA entendieron que no había “otra alternativa racional más que acceder a la propuesta
        de Pequiven” 655. En estas circunstancias, la única cifra equivalente a una valoración
        “acordada” era la suma de USD 212,5 millones propuesta por Pequiven a KOMSA en
        octubre de 2008 (que mantuvo el Decreto de la Urea y los diversos impuestos). Sin
        embargo, tal como se indicara, esta cifra nunca fue de hecho acordada entre KOMSA y
        Pequiven o la Demandada.

        En estas circunstancias, el Tribunal no atribuye peso alguno a estas negociaciones
        incompletas en 2007 y 2008 con el fin de llegar al VJM apropiado mucho más tarde en
        septiembre/octubre de 2010.

        De manera más significativa, a la fecha de valoración requerida del 10 de octubre de 2010
        (o del 30 de septiembre de 2010) en virtud del Artículo 6 del Tratado, la Planta FertiNitro
        no era lo que había sido en 2007 y 2008. Estaba en una situación de dificultad, operada por
        una empresa con problemas, con un directorio dividido, dentro de una economía nacional
        en deterioro. También estaba mal gestionada, mal mantenida, mal administrada y con


652
    Correo electrónico de F. Toro a B. Gwaltney y T. Parra re: Negociaciones de FertiNitro (9 de octubre de 2007) (C-
    90).
653
    Borrador de Memorándum de Entendimiento de KOMSA (sin fecha) (C-92). Este proyecto había sido presentado
    anteriormente por los Sres. Parra y Gwaltney (testigos para KOMSA) a los Sres. Toro y Lazo (de Pequiven) en
    una reunión celebrada el 7 de noviembre de 2007 (véase Gwaltney DT1, Párrafo 112).
654
    Borrador de Memorándum de Entendimiento de Pequiven (sin fecha) (C-93)
655
    Véase Mem. Koch, Párrafos 144-152.


                                                        269
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 586 of 622




           costos que eran un “espiral fuera de control” en los términos de su directorio el 5 de agosto
           de 2010. En ese momento ya existían altas tasas de inflación en Venezuela; y, con la
           devaluación de la moneda venezolana, sus costos expresado en USD habían aumentado
           significativamente (aunque en cierta medida reducían los costos locales). También había
           un creciente malestar industrial y social que perjudicaba el funcionamiento de la Planta
           FertiNitro, tal como declarara el Sr. Gwaltney 656. Por ende, el Tribunal no considera que la
           situación de FertiNitro el 10 de octubre de 2010 sea comparable a su estado anterior en el
           período 2007-2008, por lo que los datos anteriores son sustancialmente irrelevantes,
           incluidos los costos de construcción históricos, los niveles de producción más altos y (tal
           como se resolviera supra) las valoraciones del borrador de MdE para 2007 o 2008.

           En estas circunstancias, el Tribunal considera que ninguno de los dos expertos, a pesar de
           su obvia competencia profesional y pericia, ha logrado establecer un valor justo de mercado
           confiable para la participación de KOMSA en FertiNitro. En general, las diferencias de los
           expertos se pueden atribuir principalmente a desacuerdos amplios en cuanto a la relevancia
           y al alcance de las inferencias fácticas y los supuestos fácticos. El Tribunal ha resumido
           ampliamente su enfoque supra y de ello puede observarse que cada uno critica severamente
           el análisis y las conclusiones del otro. Aunque ninguno de ellos logra afianzar su enfoque
           en su propio fundamento, partes de esa crítica bastan para menoscabar la confianza del
           Tribunal en el enfoque del otro en su carácter de experto en daños. Es como si dos
           boxeadores en el ring generaran un knock out simultáneo, sin ganar la contienda.

           Por consiguiente, el Tribunal aborda los dos informes Advantis, en particular, su segundo
           informe de julio de 2011, el cual presenta dos escenarios. El primer escenario pareciera ser
           una mera revisión del primer informe de mayo de 2011, ya que no se da ninguna
           explicación para la cifra alcanzada de USD 113 millones como el valor de la participación
           del 25 % de KOMSA en FertiNitro 657. Al aplicar una metodología FCD para llegar a un
           VJM y al tener en cuenta varios factores no considerados en el primer informe, este
           segundo escenario valoró la participación del 25 % de KOMSA en FertiNitro en USD
           140,25 millones (el 25 % de un valor total de USD 561 millones) a septiembre de 2010,


656
      Gwaltney DT1, Párrafos 60 y ss.
657
      Primer Informe Advantis (R-86).


                                                   270
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 587 of 622




        sobre la base exclusiva de los datos disponibles hasta 2010. Ni KOMSA ni la Demandada
        aceptan ninguna de las valoraciones de Advantis; pero las Partes y los expertos en daños
        de las Partes (el Sr. Giles y el Dr. Flores) se refirieron a los informes Advantis en numerosas
        ocasiones con diferentes fines.

        Los informes Advantis se realizaron con la forma de presentaciones PowerPoint,
        preparadas en idioma español. Aunque en parte lacónicos, posiblemente incompletos y con
        autores no puestos a disposición del Tribunal como testigos en este arbitraje, el Tribunal
        considera que estos informes son suficientes a los efectos actuales, en particular, el
        “segundo escenario” del segundo informe.

        En su primer informe de mayo de 2011, Advantis valoró la participación de KOMSA en
        USD 30-48.5 millones si el Decreto de la Urea continuaba en vigor (en diferentes
        escenarios) y en USD 99.5 millones si finalizaba a finales de 2012. 658

        En su segundo informe de julio de 2011, Advantis valoró la participación de KOMSA en
        dos escenarios adicionales. En virtud de un primer escenario, calculado en un valor base
        de USD 452 millones, Advantis valoró dicha participación en USD 113 millones 659. En
        virtud del segundo escenario, Advantis calculó un valor base para FertiNitro de USD 561
        millones, ajustado del valor base de USD 452 millones para tener en cuenta seis factores
        lo que incluía precios más altos para amoniaco y urea (algunos de dichos factores que
        aumentaban y otros que disminuían el valor de FertiNitro, resultando en un aumento neto
        de USD 109 millones). Este segundo escenario dentro del segundo informe Advantis valoró
        la participación de KOMSA en FertiNitro en USD 140,25 millones, correspondiente al 25%
        de USD 561 millones. 660

        Estos seis factores eran los siguientes: los precios ajustados del amoníaco y la urea, según
        se establece en un apéndice separado para el período 2011-2016 (+ USD 125 millones); 10
        % en concepto de descuentos para nuevas inversiones, según se establece en un apéndice
        separado para el período 2011-2016 (+ USD 4 millones); créditos fiscales tendientes a
        reducir la tasa vigente del impuesto a las ganancias para el período 2007-2010, según se

658
    Primer Informe Advantis (R-86), páginas 9 y 19, calculado sobre un valor base de FertiNitro de USD 398 millones.
659
    Segundo Informe Advantis (C-157) (versión en inglés), página 2.
660
    Segundo Informe Advantis (C-157) (versión en inglés), página 4.


                                                       271
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 588 of 622




           establece en un apéndice separado (+ USD 35 millones); mayor depreciación (+ USD 59
           millones); tipos de cambio ajustados para las deudas de PDVSA y Pequiven, según se
           establece en un apéndice separado (- USD 41 millones); y tasas de inflación ajustadas para
           el impuesto a las ganancias (- USD 68 millones). El Tribunal acepta estos ajustes.

           El primer informe Advantis se discutió con los accionistas extranjeros de FertiNitro. En
           su momento, lo recibió y estudió KOMSA. El Sr. Gwaltney (para KOMSA) declaró que
           Pequiven suministró a KOMSA ambos Informes Advantis y que el segundo informe fue
           en respuesta a la carta que enviara el Sr. Gwaltney a Pequiven con las críticas respecto del
           primer informe 661. A la luz de las pruebas disponibles al Tribunal, no pareciera que
           KOMSA haya analizado el segundo informe con Pequiven o Advantis en ese entonces.

           El Tribunal consideró los distintos comentarios sobre los Informes Advantis, que realizaron
           las Partes y sus respectivos expertos, el Sr. Giles y el Dr. Flores.

           En función de los dos informes Advantis, el Dr. Flores valoró la participación de KOMSA
           en USD 34.6 millones si el Decreto de la Urea continuaba y en USD 64,3 millones si
           quedaba sin efecto en 2012. Tal como alegó también la Demandada en la Tercera Audiencia
           (junio):

             “[…] el informe Advantis es una mejor verificación de validez de esos precios del
             MOU debido simplemente al hecho de que contiene una valoración a partir de
             septiembre 2010, que es el mismo período que analizamos respecto de FertiNitro y
             el TBI. La valoración de Advantis, tanto la primera en mayo 2011 y la segunda
             valoración en julio 2011, sostienen la valoración de 34,6 millones, la valoración del
             doctor Flores, que es más razonable que 161 millones del doctor (Flores) [sic]. Y
             estamos hablando de ese por ciento de participación de KOMSA en FertiNitro”662.

             Posteriormente, afirmó lo siguiente:

             “[La tasa de descuento s]olo se tiene en cuenta en una de las valuaciones. Pero como
             ambos [informes] se refieren a FertiNitro desde septiembre de 2010, es lógico que
             Advantis utilizó la misma tasa de descuento en ambos informes. Advantis calculó la
             prima de mercado y la prima de riesgo de capital a comparación con la tasa sin
             riesgo durante diez años. No se suele estimar así. Y la prima de riesgo de capital de

661
      Segunda Declaración de Testigo de Brent W. Gwaltney (20 de agosto de 2013), Párrafo 40.
662
      Tercera Audiencia (junio) D2.311-312 (Sra. Tevini).


                                                        272
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 589 of 622




              Advantis, ahí hay que entender que al hacer el cálculo Advantis utiliza un EBITDA
              y una tasa sin riesgo superior, lo cual se repercute en el resultado. Pero tiene más
              sentido comparar las tasas de descuento de Advantis con las de Giles y Flores que
              examinar cada cual de los factores por sí solo. Hay que enfocarlo todo junto para
              ver si es razonable y no entrar en matices del informe Advantis” 663.

           Por el contrario, el Sr. Giles (inter alia) valoró la participación de KOMSA en USD 361
           millones, con un impacto separado del Decreto de la Urea calculado en USD 22,4 millones.
           En sus presentaciones, KOMSA comparó los cálculos del Dr. Flores, de manera
           desfavorable, con los de Advantis, en lo que concierne a la prima de riesgo del mercado
           (3,5 % vs. 6,7 %), la prima de riesgo país general (7,6 % vs. 11,26 %), la producción diaria
           de amoníaco de la Planta FertiNitro (96 % vs. 91,3 % de capacidad nominal), y la
           producción de urea (98 % vs. 90,8 % de capacidad nominal). KOMSA se basa en los
           informes Advantis para el enfoque del Sr. Giles, pero rechaza los informes Advantis como
           ‘verificación de validez’. No obstante, tal como KOMSA alegara finalmente en la Tercera
           Audiencia (junio) 664:

              “El informe Advantis [de julio de 2011] no puede utilizarse como comprobación.
              Advantis fue contratado como consultor interno -- perdón, independiente, por
              Venezuela. Ellos no reflejan el valor de mercado justo. […] Hay algunos rasgos
              interesantes dentro de Advantis que se están examinando. Por ejemplo, prima de
              mercado, riesgo de mercado de Advantis es mucho menor que la prima adoptada por
              el doctor Flores, más cercana a la de Giles. Luego, prima de riesgo por país genérico
              más alto, 7,6 Advantis, doctor Flores 11,2. Producción: los niveles son altos, mucho
              más altos que el doctor Flores, 96 por ciento de capacidad nominal para Advantis y
              91,3 en el caso de Flores. Eso para amoníaco. Y para urea, 98 por ciento Advantis y
              casi 91 por ciento Flores. Y esto es importante porque Advantis fue contratada por
              Venezuela para realizar esta evaluación. Y muchos de estos criterios revelan unos
              valores que se acercan mucho más a la valoración independiente de Flores”.

           El Tribunal considera que es inapropiado escoger diferentes partes de los Informes
           Advantis y procurar ajustar, de una manera u otra, los diversos factores que invocan el Sr.
           Giles y el Dr. Flores. Este ejercicio sería difícil, o incluso imposible, para el Tribunal, ya
           que cada uno de los expertos que lo hizo fue criticado por la Parte contraria por hacerlo.


663
      Tercera Audiencia (junio) D1.273-274 (Sr. Ryan).
664
      Tercera Audiencia (junio) D1.232-233 (Sr. Beckett).


                                                            273
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 590 of 622




           Además, sería inevitablemente un ejercicio subjetivo e interesado. Según el Tribunal, los
           informes de Advantis deben aceptarse tal como se presentan, aceptando en su totalidad el
           segundo escenario descrito en el segundo informe Advantis e interpretándolo junto con el
           resto de los informes de Advantis. Al menos, es justo concluir que Pequiven no habría
           presentado a los otros accionistas el segundo informe Advantis si no considerase que estaba
           proponiendo un valor justo de mercado para FertiNitro 665. Asimismo, cabe destacar, tal
           como declaró el Sr. Barrientos en su testimonio oral, que “dos de los accionistas aceptaron
           ese valor y fue con los cuales pudimos llegar a un acuerdo amistoso” 666.

           El Tribunal puede describir brevemente el resultado de su análisis de las respectivas
           presentaciones de las Partes, junto con el testimonio pericial de sus respectivos testigos, el
           Sr. Giles y el Dr. Flores. Tanto en términos generales (tal como ya se indicara supra) como
           en función de los Informes Advantis, el Tribunal no puede fundarse en testimonios y
           presentaciones tan divergentes, que producen resultados tan extremos e incompatibles
           basados en datos, inferencias y supuestos sustancialmente diferentes. En síntesis, el
           Tribunal considera que la valoración del Dr. Flores es demasiado baja, pero también
           considera que la valoración del Sr. Giles es demasiado alta. Asimismo, tuvo dificultades
           para adoptar en sentido literal las metodologías de cualquiera de los expertos cuando, con
           pequeñas variaciones fácticas entre ellas, el resultado final se puede sesgar tan radicalmente
           de un modo u otro.

           Por ende, el Tribunal retoma el segundo escenario del segundo informe Advantis de julio
           de 2011, como valoración profesional independiente contemporánea (si bien fue realizada
           por expertos en valoración contratados por Pequiven, ante la falta de acuerdo con los otros
           accionistas sobre la designación conjunta de un valuador) calculada a la fecha pertinente
           sin retrospectiva importante. Según el Tribunal, este segundo escenario descripto en el
           segundo informe ofrece la mejor respuesta disponible a la cuestión objeto de consideración
           en virtud del Artículo 6 del Tratado, es decir, el valor (justo) de mercado de la participación
           de KOMSA en FertiNitro inmediatamente antes de su expropiación ilícita por parte de la
           Demandada el 11 de octubre de 2010.


665
      Primera Audiencia (septiembre) D3.79-80 (Barrientos).
666
      Primera Audiencia (septiembre) D3.80 (Barrientos).


                                                        274
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 591 of 622




           En la Tercera Audiencia (junio), el Tribunal efectivamente solicitó a las Partes las versiones
           de software de los cálculos de sus expertos, en forma de matriz interactiva acordada, a fin
           de intentar realizar sus propios aportes y analizar los distintos resultados 667.
           Lamentablemente para el Tribunal, mediante los mensajes conjuntos de correo electrónico
           de fecha 12 de julio de 2016, las Partes rechazaron esta solicitud por considerarla imposible
           de realizar 668. En particular, el Tribunal no pudo analizar las conclusiones respectivas de
           los expertos sobre la base de los diferentes supuestos de hecho.

           En cuanto a las verificaciones de validez, el Tribunal reconoce que su método de VJM
           basado en este segundo escenario da lugar a una importante reducción del reclamo de
           KOMSA y de la valoración del Sr. Giles. Por el contrario, representa un aumento muy
           significativo respecto de la valoración del Dr. Flores (USD 34,6 millones). El Tribunal ha
           contemplado verificaciones de razonabilidad invocados por las Partes, pero, en su opinión,
           ninguno resulta muy útil. En particular, mientras el valor contable de USD 168,1 millones
           que propone el Sr. Giles podría respaldar ampliamente el enfoque del Tribunal, el Tribunal
           reconoce que un valor contable semejante no es compatible con el VJM de una empresa en
           marcha. De modo similar, el Tribunal acepta las críticas de la Demandada con respecto a
           otras verificaciones de razonabilidad del Sr. Giles, tal como los costos de construcción en
           otras áreas.

           En consecuencia, de conformidad con el Artículo 6 del Tratado, el Tribunal estima, de la
           mejor manera posible en función del material disponible, que el valor justo de mercado de
           la participación expropiada del 25 % de KOMSA en FertiNitro al 10 de octubre de 2010 (o
           al 30 de septiembre de 2010) era de USD 140,25 millones.

             Cuestión (3): ¿Cuál es la compensación, en su caso, pagadera a KNI por sus derechos
             expropiados respecto del Offtake Agreement?

           Es necesario recordar en qué se funda esta cuestión. En primer lugar, el Tribunal (por
           mayoría) concluyó que la Demandada es responsable conforme al Artículo 6 del Tratado



667
      Tercera Audiencia (junio) D2.412-413.
668
      Véanse los respectivos mensajes de correo electrónico de las Partes de fecha 12 de Julio de 2016 (“Las partes están
      de acuerdo en que preparar la tabla solicitada con un nivel de detalle útil para el Tribunal sería una tarea muy
      complicada y costosa y llevaría mucho tiempo”) [Traducción del Tribunal].


                                                           275
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 592 of 622




por la expropiación indirecta ilícita de los derechos de KNI respecto del Offtake Agreement,
tal como alegara KNI. El reclamo de KNI es un reclamo promovido exclusivamente bajo
el Tratado en virtud de la disposición del Tratado sobre arbitraje ante el CIADI. No se
presenta como reclamo contractual en virtud del Offtake Agreement de KNI con FertiNitro.
La Demandada no es parte en el Offtake Agreement. El Tribunal carece de jurisdicción
respecto de los reclamos contractuales de KNI en contra de FertiNitro en virtud del Offtake
Agreement en si mismo.         De hecho, el Offtake Agreement contiene sus propias
disposiciones sobre arbitraje comercial y derecho nacional (no internacional). En segundo
lugar, el tema de la responsabilidad en virtud del Artículo 6 es jurídicamente distinto al
tema de la compensación por dicha responsabilidad. Si bien el primero proviene del
segundo, el tema de la compensación es, desde luego, muy distinto en virtud del Tratado.
En tercer lugar, las Partes y sus respectivos expertos estuvieron de acuerdo en que la
pérdida de KNI debía calcularse teniendo en cuenta el VJM de sus derechos respecto del
Offtake Agreement a la fecha pertinente requerida en virtud del Tratado, es decir, 30 de
septiembre de 2010 (o 10 de octubre 2010). Ninguna de ellas abogó por una medición
contractual de daños y perjuicios; y cabe destacar que el Dr. Flores no arribó a una cifra de
compensación cero. Por último, pero no menos importante, por una cuestión de equidad
procesal para todas las Partes, es necesario limitar las cuestiones resueltas en este Laudo a
aquellas planteadas por las Partes en función de las presentaciones legales y pruebas
realizadas y aducidas por ellas en este arbitraje.

Una cuestión importante entre las Partes se relaciona con la exclusión o inclusión de las
compras de KNI a la Planta FertiNitro entre el 11 de octubre de 2010 y el 28 de febrero de
2012. Las otras diferencias principales son los diversos supuestos de las Partes con respecto
a los precios de mercado, los volúmenes de ventas a partir de la producción en la Planta
FertiNitro, las tasas de descuento y la fecha de corte relevante para los factores ex post. En
la Tabla 3 supra, el Tribunal hace referencia a los puntos de desacuerdo entre los expertos
de las Partes.    Sus diferencias resultantes son muy claras: el Sr. Giles calcula la
compensación de KNI en USD 206,5 millones, mientras que el Dr. Flores la estima en
USD 56,2 millones.




                                         276
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 593 of 622




Al comienzo, el Tribunal advierte que el testimonio pericial del Sr. Giles, con respecto a
los supuestos fácticos y de mercado, contó con un respaldo importante del testimonio del
Sr. Sorlie. El Sr. Sorlie fue un testigo que impresionó al Tribunal. Al Tribunal le inspiró
confianza, tanto en su declaración escrita como en su presentación oral. No hubo un testigo
de hecho de refutación equivalente de parte de la Demandada. Por lo tanto, mientras que
el testimonio pericial del Sr. Giles contó con el respaldo de las pruebas fácticas, no se puede
afirmar lo mismo respecto del testimonio pericial del Dr. Flores.

En cuanto a la cuestión del periodo que abarca desde octubre de 2010 hasta febrero de
2012, el Tribunal ha decidido a favor de KNI, tal como se decidiera en la Parte VII supra,
con respecto a la responsabilidad. En cuanto a la fecha de corte de los supuestos de hecho,
el Tribunal se pronuncia en contra del uso por parte de la Demandada de factores que
tuvieron lugar después del 10 de octubre (o 30 de septiembre) de 2010, obtenidos sólo en
retrospectiva, especialmente relacionados con los desarrollos recientes de la producción de
gas de esquisto en los EE. UU., la mayor oferta de amoníaco y urea en el mercado mundial
y los costos de transporte diferenciales. Se trata de factores ex post irrelevantes para
calcular la compensación a la fecha pertinente requerida por el Tratado (30 de septiembre
o 10 de octubre de 2010).

En opinión del Tribunal, las compras de KNI durante el período comprendido entre el 11
de octubre de 2010 y el 28 de febrero de 2012 redujeron la pérdida de KNI calculada en la
fecha pertinente. Era muy poco probable, o incluso imposible, que la Planta FertiNitro
entregara a KNI durante este período tanto esas compras como el offtake al cual KNI tenía
derecho conforme al Offtake Agreement, además de sus otros compromisos locales. La
Planta FertiNitro no contaba con esa capacidad confiable de reserva de amoníaco y urea.
En estas circunstancias, si bien esas compras no reemplazaron tales offtakes, operaron
como forma razonable de mitigación a fin de reducir la pérdida de KNI como resultado de
sus derechos expropiados respecto del Offtake Agreement. El Tribunal calcula el valor de
este factor en USD 21,7 millones, sobre la base de las pruebas del Sr. Giles en la Segunda




                                         277
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 594 of 622




           Audiencia (noviembre) 669. En consecuencia, a criterio del Tribunal, deben deducirse
           USD 21,7 millones del reclamo de KNI.

           En cuanto a otras cuestiones importantes, la mayoría del Tribunal considera que KNI y el
           Sr. Giles tienen razón al identificar el suministro principal de reemplazos con la costa
           estadounidense del Golfo de México a precios de esa zona (NOLA para urea y Tampa para
           amoníaco) en un mercado líquido, en lugar de un mercado de la zona media del Caribe a
           precios de esa zona en un mercado muy limitado. Por ende, la mayoría del Tribunal
           concluye que no había suministro de reemplazos disponible para KNI a precios
           comparables con el Offtake Agreement para KNI.

           En particular, la mayoría del Tribunal acepta las pruebas fácticas del Sr. Sorlie, en las que
           el Sr. Giles basó sus pruebas periciales. Vale la pena detenerse en ellas. En su segunda
           declaración testimonial, el Sr. Sorlie afirmó lo siguiente:

             “12. […] KNI es un offtaker dedicado con tres plantas productoras de amoníaco en
             Trinidad y Tobago. Incluso cuando KNI compraba toneladas a FertiNitro, su
             demanda norteamericana de productos superaba los volúmenes de suministro del
             Caribe. Como tal, KNI siempre buscó, y continúa buscando, comprar fertilizante
             nitrogenado rentable que esté disponible bajo condiciones Libre a Bordo (“FOB”)
             en el Caribe. Sin embargo, dados los acuerdos de offtake a largo plazo descritos
             anteriormente y el hecho de que los exportadores de Trinidad y Tobago ya han
             establecido redes de clientes fijos, muy pocas toneladas del Caribe han estado
             disponibles en los últimos años para que KNI las adquiera.

             13. Desde 2006, KNI sólo ha podido adquirir una pequeña cantidad de toneladas
             provenientes del Caribe fuera de sus arreglos de offtake a largo plazo. El ejemplo
             principal fue la capacidad de KNI, entre 2006 y 2010, de adquirir un total de 211.000
             toneladas métricas de amoníaco de una planta de Trinidad y Tobago perteneciente
             parcialmente a Terra Industries. Este volumen equivale a aproximadamente el 1 %
             de la producción total de Trinidad y Tobago durante este período. En 2010, CF
             Industries adquirió Terra Industries. Esto derivó en el transporte de casi todo el
             excedente de amoníaco de esa planta a los Estados Unidos por parte de CF
             Industries para usarlo como materia prima en su negocio norteamericano o para la
             venta a los clientes de CF. Como consecuencia, desde el 2011, KNI solo ha podido
             adquirir 3.500 toneladas métricas de amoníaco, lo cual equivale a aproximadamente
             el 0,1 % de la producción total de amoníaco de Trinidad y Tobago.


669
      Segunda Audiencia (noviembre), presentación de Tim Giles, Diapositiva 24.


                                                        278
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 595 of 622




          14. Debido a las razones mencionadas anteriormente, es incorrecto que el Dr. Flores
          suponga que KNI puede reemplazar los volúmenes de offtake perdidos de FertiNitro
          al adquirir otros productos bajo condiciones Libre a Bordo (“FOB”) en el Caribe.
          En cambio, la alternativa de KNI es adquirir amoníaco y urea a precios equivalentes
          a los precios de NOLA y de Tampa” 670.
        En la Primera Audiencia (septiembre), la Demandada contrainterrogó al Sr. Sorlie, inter
        alia, en los siguientes términos:

          “PREGUNTA.- […] ¿Tengo yo razón en suponer que KNI ha seguido abasteciendo
          a sus clientes estadounidenses que inicialmente recibían producto del Acuerdo
          Offtake?
          RESPUESTA.- Como dije anteriormente, seguimos efectuando ventas en los Estados
          Unidos debido a que tenemos un negocio sumamente competitivo y que es rentable.
          Así que seguiremos efectuando esas ventas con o sin el producto del Offtake de
          FertiNitro. Pero sin este producto, tenemos que ubicar esas toneladas en otros
          lugares para abastecer este mercado que tenemos.
          PREGUNTA.- Entonces, ¿nos dice que han sido capaces de reemplazar los montos
          que en el pasado tenían bajo el Acuerdo Offtake?
          RESPUESTA.- Sí. Sí, en una estructura de precios de NOLA y Tampa.
          PREGUNTA.- ¿Dice Ud. que están comprando esos mismos productos bajo los
          precios NOLA y Tampa?
          RESPUESTA.- Puesto que no tenemos el Offtake de FertiNitro, hemos tenido que
          meternos al mercado y comprar esas toneladas, y eso lo estamos haciendo a precios
          NOLA y Tampa” 671.

        La Demandada no aceptó el testimonio del Sr. Sorlie, pero no adujo ninguna prueba fáctica
        convincente. Tal como ya se indicara, el Tribunal acepta el testimonio del Sr. Sorlie en
        cuanto a que, sin perjuicio de qué suministros alternativos estaban a disposición de KNI
        como reemplazo del offtake en virtud del Offtake Agreement, estos fueron a precios NOLA
        y Tampa o equivalentes.

        El Sr. Giles y el Dr. Flores parecen haber valorado este factor específico en USD 92,2
        millones 672. En opinión del Tribunal, a la luz de sus conclusiones supra, el reclamo de KNI
        no requiere ninguna reducción con respecto a este factor.


670
    Sorlie DT2, Párrafos 12-14.
671
    Primera Audiencia (septiembre) D2.148 y ss (Sorlie).
672
    Segunda Audiencia (noviembre), presentación de Tim Giles, Diapositiva 24.


                                                      279
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 596 of 622




           En cuanto a los costos de flete asumidos, el Tribunal acepta el argumento de KNI basado
           en la muestra de costos de flete reales del Sr. Giles desde José, Venezuela hasta la costa
           estadounidense del Golfo de México. A pesar de limitarse a facturas de transporte en
           2009/2010, sigue siendo la mejor prueba de esos costos de flete aproximados, tal como
           confirmara el testimonio del Sr. Sorlie 673.

           Con respecto al factor lambda y las tasas de descuento, el Tribunal acepta las pruebas
           periciales del Sr. Giles de que el factor lamda debe reducirse debido a que la exposición de
           FertiNitro al riesgo país se vio atenuada mediante el acceso a sus propias instalaciones
           portuarias para exportaciones de offtakes a KNI con arreglo al Offtake Agreement. En estas
           circunstancias, el Tribunal adopta el factor lambda del Sr. Giles como 0,40 (hacia su límite
           superior) para FertiNitro, y no el factor de 1,0 que propone el Dr. Flores. En cuanto a la
           tasa de descuento, es decir, el monto que se debe descontar de la pérdida de flujos de caja
           futuros de KNI para obtener su valor a la fecha pertinente, el Tribunal adopta el enfoque
           propuesto por el Sr. Giles. Para estas cuestiones, parece que la diferencia total entre el Sr.
           Giles y el Dr. Flores asciende a USD 36,4 millones 674. Además, el Dr. Flores reduce la
           valoración del Sr. Giles por la suma de USD 2 millones debido a diferencias entre los dos
           expertos con respecto a los volúmenes de producción. Según el Tribunal, el reclamo de
           KNI no requiere ningún tipo de reducción por estos factores invocados por el Dr. Flores.

           En cuanto al Decreto de la Urea y la Resolución de la Urea, el Tribunal adopta el enfoque
           de Advantis al suponer que, al mes de septiembre de 2010, estas regulaciones de la urea no
           habrían continuado en vigencia. El enfoque del Sr. Giles no contempló para el cálculo de
           la compensación de KNI el efecto de las regulaciones de la urea después del 28 de febrero
           de 2012 (a diferencia de su cálculo separado de compensación por “Pérdidas Históricas”).
           El Dr. Flores asumió que las regulaciones de la urea continuarían en vigencia después del
           28 de febrero de 2012. Según el Tribunal, partiendo de la premisa lógica de Advantis para
           septiembre de 2010, el reclamo de KNI (calculado por el Sr. Giles) no requiere ningún tipo
           de reducción por el efecto del Decreto de la Urea y la Resolución de la Urea.



673
      Sorlie DT2, Párrafo 23.
674
      Segunda Audiencia (noviembre) D6, presentación de Tim Giles, Diapositiva 24.



                                                        280
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 597 of 622




La aritmética resultante es relativamente clara en vista de las cifras enunciadas supra. Tras
distribuir la diferencia de USD 150,3 millones entre las valoraciones opuestas del Sr. Giles
y del Dr. Flores, el Tribunal resuelve lo siguiente: rechaza las reducciones del Dr. Flores
de USD 92,2 millones (con respecto a los precios de la zona media del Caribe) y USD 36,4
millones (con respecto a los supuestos del factor lambda y la tasa de descuento) y rechaza
la otra reducción de USD 2 millones que propone el Dr. Flores (con respecto a los
supuestos de producción), que en total ascienden a USD 128,6 millones. En cambio, el
Tribunal reduce el reclamo por USD 21,7 millones (con respecto al producto entregado a
KNI durante el período que abarcó desde el 10 de octubre de 2010 hasta el 28 de febrero
de 2012), como se explica en el párrafo 9.226, supra.

Por lo tanto, haciendo lo mejor que puede a la luz del material disponible, el Tribunal (por
mayoría) calcula en virtud del Artículo 6 del Tratado el valor justo de mercado de los
derechos expropiados de KNI respecto del Offtake Agreement al 10 de octubre de 2010 (o
30 de septiembre de 2010) en USD 184,8 millones (es decir, USD 206,5 millones menos
USD 21,7 millones).

Decisiones: Por estos motivos, en virtud del Artículo 6 del Tratado, el Tribunal resuelve lo
siguiente: (i) la compensación de KOMSA se fija en la suma total de capital de USD 140,25
millones; y (ii) por mayoría, la compensación de KNI se fija en la suma total de capital de
USD 184,8 millones, ambas calculadas al 10 de octubre de 2010 (o, por ser prácticamente
lo mismo, 30 de septiembre de 2010).




                                        281
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 598 of 622




                   PARTE X: SÍNTESIS Y CONCLUSIONES



El Tribunal a continuación sintetiza sus numerosas conclusiones alcanzadas en las partes
precedentes de este Laudo.

Jurisdicción: El Tribunal rechaza la excepción preliminar planteada por la Demandada ante
el reclamo de KNI con respecto a sus derechos relativos al Offtake Agreement, tal como se
concluyera en la Parte VI supra. El Tribunal confirma su jurisdicción para resolver todos
los reclamos planteados por las Demandantes contra la Demandada en este arbitraje, en
virtud del Tratado y del Convenio CIADI.

Responsabilidad: El Tribunal resuelve que la Demandada es responsable ante KOMSA por
la expropiación ilícita de su participación indirecta en FertiNitro en virtud del Artículo 6
del Tratado, tal como se concluyera en la Parte VII supra. El Tribunal (por decisión de la
mayoría) resuelve que la Demandada es responsable ante KNI por la expropiación ilícita
de sus derechos relativos al Offtake Agreement, como también se estableciera en la Parte
VII supra.

El Tribunal desestima los reclamos de KOMSA ajenos a la expropiación presentados como
“Pérdidas Históricas” en virtud de los Artículos 4 y 11 del Tratado, tal como se concluyera
en la Parte VIII supra.

Compensación: El Tribunal determina la compensación de KOMSA en una suma total de
capital de USD 140,25 millones en virtud del Tratado, tal como se estableciera en la Parte
IX supra. El Tribunal (por decisión de la mayoría) determina la compensación de KNI una
suma total de capital de USD 184,8 millones, tal como también fuera establecido en la Parte
IX supra.

Cuestiones principales: El Tribunal ha utilizado las listas de las principales cuestiones
expuestas en la Parte III supra como una lista de verificación, en los casos en que fuera
aplicable, para sus numerosas conclusiones y decisiones. Con excepción de lo sintetizado
supra, el Tribunal no considera necesario exponer aquí su enfoque respecto de cada una de
estas cuestiones principales punto por punto.



                                        282
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 599 of 622




                                   PARTE XI: INTERESES Y COSTOS




(1)        Introducción
           Con respecto a los intereses, las Partes completaron sus respectivas presentaciones
           referidas a los intereses mediante mensajes conjuntos de correo electrónico de fecha 26 de
           julio de 2016. La cuestión principal radica en determinar si el Tribunal debería ordenar que
           se aplique un interés simple o un interés compuesto a los montos de capital que la
           Demandada se encuentra obligada a pagar a las Demandantes. La cuestión secundaria se
           encuentra relacionada con la utilización de la tasa Libor a tres meses (tal como alegan las
           Demandantes) o bien el uso de la tasa Libor a tres meses o las letras del Tesoro de los EE.
           UU. a seis meses (tal como sostiene la Demandada).

           Con el propósito de decidir acerca de los costos en este Laudo, el Tribunal ha tenido en
           cuenta, además de las presentaciones escritas de las Partes del 13 de febrero de 2015, las
           presentaciones posteriores de las Partes de fechas 8 y 12 de julio de 2016 con respecto a la
           asignación y al cálculo de los costos actualizados al 12 de julio de 2016.

(2)        Intereses
           El Argumento de las Demandantes: En resumen 675, las Demandadas alegan que ellas
           tienen derecho a recibir intereses compuestos anteriores al laudo y posteriores al laudo
           respecto de la compensación ordenada por el Tribunal. Realizan tres alegaciones
           principales a favor de su argumento.

           En primer lugar, las Demandantes sostienen que el Tratado confirma que la Demandada
           debe pagar un interés compuesto. El Artículo 6 del TBI requiere que la compensación que
           deba pagarse en caso de expropiación incluya intereses a una tasa comercial normal. Esa
           tasa comercial normal, según las Demandantes, debe incluir un elemento de capitalización.
           Ese enfoque es consistente con la decisión del tribunal en el contexto del caso Venezuela
           Holdings c. Venezuela 676: “[G]eneralmente, los intereses que se calculan a una tasa

675
      EPA Koch, Párrafos 296-310.
676
      Venezuela Holdings, B.V. y otros c. República Bolivariana de Venezuela, Caso CIADI No. ARB/07/27, Laudo (9
      de octubre de 2014) (RLA-153), Párrafo 399.


                                                       283
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 600 of 622




        comercial normal incluyen intereses compuestos […] [H]ay una tendencia creciente entre
        los tribunales internacionales a aplicar dicho tipo de intereses con el objetivo de garantizar
        la plena compensación de los daños” 677.

        En segundo lugar, las Demandantes sostienen que la “jurisprudencia constante” del CIADI
        confirma que la Demandada debe pagar el interés compuesto. En ese sentido, las
        Demandantes hacen referencia a la decisión adoptada en el caso Gemplus SA c. Estados
        Unidos Mexicanos 678:

           “[E]s claro que, sobre la base del material jurídico que citaron las Demandantes
           […] la practica actual de los tribunales internacionales (incluidos los del CIADI) es
           adjudicar intereses compuestos y no simples. Según este Tribunal, en la actualidad,
           existe una suerte de “jurisprudencia constante”, según la cual la presunción que
           existía hace aproximadamente una década ha cambiado, por lo que, hoy por hoy,
           resultaría más apropiado conceder intereses compuestos, a menos que se demuestre
           que no son apropiados y que en cambio los intereses simples sı́ lo son, y no al
           revés” 679.

        En tercer lugar, las Demandantes señalan los comentarios de la doctrina que confirman que
        deben pagarse intereses compuestos en las circunstancias actuales 680.

        En cuanto a la tasa, las Demandantes proponen una tasa Libor a 3 meses en dólares
        estadounidenses más un 2 % capitalizado en forma trimestral.

        El Argumento de la Demandada: En resumen 681, la Demandada alega que lo que
        corresponde son intereses simples y no intereses compuestos. Sostiene que el Artículo 6


677
    Véase también Occidental Petroleum Corporation y Occidental Exploration y Production Company c. La
    República del Ecuador, Caso CIADI No. ARB/06/11, Laudo (5 de octubre de 2012) (CLA-129) (“Occidental c.
    Ecuador”), Párrafo 844.
678
    Gemplus S.A., SLP, S.A. y Gemplus Industrial, S.A. de C.V. c. Estados Unidos Mexicanos Casos CIADI Nos.
    ARB(AF)/04/3 y ARB(AF)/04/4, Laudo (16 junio de 2010) (CLA-54), Párrafos 16-26.
679
    Véanse también Joseph Charles Lemire c. Ucrania, Caso CIADI No. ARB/06/18, Laudo (28 de marzo de 2011)
    en Párrafos 360-361; El Paso Energy International Company c. La República Argentina, Caso CIADI No.
    ARB/03/15, Laudo (31 de octubre de 2011) (CLA-52), Párrafos 743-745; Occidental c. Ecuador (CLA129),
    Párrafo 848; Gold Reserve Inc. c. República Bolivariana de Venezuela, Caso CIADI No. ARB(AF)/09/1, Laudo
    (22 de septiembre de 2014) (CLA-156), Párrafo 854.
680
    En especial, S Ripinsky y K Williams, Damages in International Investment Law (British Institute of International
    and Comparative Law, 2008) (“Ripinsky – Damages”) (CLA-134), página 387.
681
    EPA Ven., Párrafos 271-273; Dúpl. Ven., Párrafos 518-524 (citando, a saber, Southern Pacific Properties (Middle
    East) Ltd. c. República Árabe de Egipto, Caso CIADI No. ARB/84/3, Laudo (20 de mayo de 1992) (CLA-12),
    Párrafo 222; Autopista Concesionada de Venezuela, C.A. c. República Bolivariana de Venezuela, Caso CIADI No.


                                                        284
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 601 of 622




        del Tratado no autoriza el otorgamiento de intereses compuestos, a menos que (lo que no
        ocurre en este caso) un demandante pueda probar que realmente ha sufrido intereses
        compuestos como daños y perjuicios. En el supuesto de que el Tribunal decidiera otorgar
        intereses compuestos, la Demandada sostiene que la capitalización debería ser anual y no
        trimestral (tal como solicitan las Demandantes) o mensual (tal como propone el Sr. Giles).

        En cuanto a la tasa, la Demandada alega que lo adecuado es una tasa libre de riesgo, tal
        como la de las letras del Tesoro de los EE. UU. a seis meses. La propuesta de las
        Demandantes tendiente a calcular intereses sobre la base de la tasa LIBOR a tres meses en
        dólares estadounidenses más un 2 % es inapropiada para calcular intereses en el marco de
        una controversia entre un inversionista y un Estado. La función de los intereses anteriores
        al laudo es la de compensar a un demandante por el valor del dinero en el tiempo y la
        pérdida de la oportunidad de invertir el dinero. Sin embargo, a diferencia de las
        obligaciones contractuales de los negocios, no existe riesgo comercial alguno involucrado
        en un laudo monetario en un arbitraje entre un inversionista y un Estado en virtud del
        Convenio CIADI 682.

        La Decisión del Tribunal: El Tribunal decide otorgar intereses compuestos y no intereses
        simples. En su opinión, la referencia que se hace en el Artículo 6 del Tratado a “intereses”
        incluye el interés compuesto. El texto claramente no lo excluye. De hecho, en tiempos
        modernos, sería “anormal” que intereses se encontraran limitados a un interés simple. Ante
        la falta de un texto en contrario en el TBI, el enfoque general acerca de los intereses fue
        confirmado hace mucho tiempo por la decisión adoptada en el contexto del caso Santa
        Elena c. Costa Rica 683.

          “En especial, cuando el dueño de una propiedad hubiera perdido en algún momento
          previo el valor de su bien, pero no hubiese recibido el equivalente monetario que se


    ARB/00/5, Laudo (23 de septiembre de 2003) (RLA-60), Párrafos 366-397; Desert Line Projects LLC c. La
    República de Yemen, Caso CIADI No. ARB/05/17, Laudo (6 de febrero de 2008) (RLA-79), Párrafos 292-298.
682
    Dúpl. Ven., Párrafos 525-529 (que cita BG Group Plc. c. República Argentina, CNUDMI, Laudo Definitivo (24
    de diciembre 2007) (CLA-37), Párrafo 455; Siemens A.G. c. República Argentina, Caso CIADI No. ARB/02/8,
    Laudo (6 de febrero de 2007) (CLA-15), Párrafo 396; LG&E Energy Corp., LG&E Capital Corp. y LG&E
    International Inc. c. República Argentina, Caso CIADI No. ARB/02/1, Decisión sobre Responsabilidad (3 de
    octubre de 2006) (RLA-123), Párrafo 102.
683
    Compañía del Desarrollo de Santa Elena S.A. c. República de Costa Rica, Caso CIADI No. ARB/96/1, Laudo (17
    de febrero de 2000) (CLA-136), Párrafos 103 y ss.


                                                    285
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 602 of 622




             le adeudara, el monto de la compensación debería reflejar, al menos en parte, la
             suma adicional que habría ganado su dinero, y el ingreso generado por él, si hubiera
             sido reinvertido cada año a tasas de interés normalmente vigentes. No es el propósito
             del interés compuesto atribuir culpa o castigar a alguien por el retraso en el pago
             realizado al expropiado; es un mecanismo para asegurar que la compensación
             otorgada al demandante sea apropiada en las circunstancias…”. [Traducción del
             Tribunal]

           Sería posible agregar referencias a muchas otras decisiones a este efecto, sumadas a los
           textos de doctrina de muchos años. Es innecesario hacerlo aquí 684.

           En cuanto a la tasa, el Tribunal considera que la tasa Libor en USD es una tasa comercial
           más internacional que la tasa para las letras del Tesoro de los EE. UU. Es también utilizada
           más usualmente tanto en los arbitrajes entre inversionistas y Estados como en los arbitrajes
           comerciales. El Tribunal elije como la tasa apropiada para este caso la tasa Libor a seis
           meses en USD más el 2 % capitalizado con intervalos de ajuste a seis meses, para el interés
           tanto anterior al laudo como posterior al laudo. Con respecto a la mejora, ésta no refleja la
           presencia o ausencia de riesgo comercial, sino más bien el hecho de que la tasa Libor es
           calculada para su utilización entre instituciones financieras por períodos relativamente
           cortos ‒ nada de lo cual es de aplicación aquí.

           En cuanto a la fecha de inicio del primero, el Tribunal fija el 11 de octubre de 2010, siendo
           éste el día de la expropriación bajo el Artículo 6.

           En conclusión, el Tribunal decide ordenar intereses anteriores al laudo desde el 11 de
           octubre de 2011 hasta la fecha de este Laudo sobre los montos de capital que deben ser
           pagados a las Demandantes respectivamente, calculados a una tasa Libor a seis meses en
           USD más el 2 %, capitalizado con intervalos de ajuste a seis meses. En cuanto a los
           intereses posteriores al laudo desde la fecha de este Laudo hasta el pago a las Demandantes


684
      Por ejemplo, con respecto a los textos de doctrina, véasne F. A. Mann, Further Studies in International Law -
      Compound Interest as an Item of Damage (1990) (CLA-60), página 385;21:3 U.C. Davis Law Review 577 en 586;
      N. Affolder, “Awarding Compound Interest in International Arbitration”(2001), 12 Am Rev Int’l Arb 45 en 92; JY
      Gotanda, Compound Interest In International Disputes (2003) Law and Policy in International Business (CLA-
      61), página 393; J.M. Colón & M.S. Knoll, “Prejudgment Interest in International Arbitration”, (2007) 4:6 TDM 1
      en 7; Ripinsky - Damages (CLA-134), página 387; I. Marboe, Calculation of Compensation and Damages in
      International Investment Law, Oxford University Press, (2009) (CLA-137), Párrafos 6.102, 6.103 & 6.300; y
      Dolzer & Schreuer, Principles of International Investment Law (2a. ed.; 2012), pág. 298.


                                                         286
          Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 603 of 622




           respectivamente, el Tribunal decide ordenar intereses calculados a la tasa Libor a seis
           meses en USD más el 2 % capitalizado con intervalos de ajuste a seis meses para los montos
           de capital mencionados precedentemente (junto a los intereses anteriores al laudo).

(3)        Costos
           Tanto las Demandantes como la Demandada solicitan que se emita una resolución sobre
           los costos con respecto a los honorarios y gastos en los que incurrieron (“Costos Legales”),
           así como los costos, honorarios y gastos del Tribunal y del CIADI relacionados con este
           arbitraje por los cuales las Partes son responsables en forma solidaria (“Costos del
           Arbitraje”).

            Costos Legales: Con respecto a sus Costos Legales, los honorarios y gastos de las
           Demandantes ascienden a USD 23.248.113,56. En cuanto a los Costos del Arbitraje, las
           Demandantes han realizado un pago adelantado al CIADI de USD 650.000,00 (como así
           también el pago de un derecho de registro de USD 25.000) de los cuales USD 628,836.435
           ha sido utilizado para cubrir los cargos administrativos y gastos del CIADI, así como los
           honorarios y gastos del Tribunal 685.

           Con respecto a sus Costos Legales, los honorarios y gastos de la Demandada ascienden a
           USD 11.039.280,39. En cuanto a los Costos del Arbitraje, la Demandada ha realizado un
           pago adelantado al CIADI de USD 650.000,00 de los cuales USD 628,836.435 ha sido
           utilizado para cubrir tanto los cargos administrativos y gastos del CIADI como los
           honorarios y gastos del Tribunal 686.

           Derechos, Honorarios y Cargos: Las Demandantes y la Demandada dividieron sus
           respectivos Costos Legales en las categorías mencionadas a continuación:

           (i)    La declaración de costos actualizada de las Demandantes:

                    a. Honorarios y gastos de sus abogados

                        Ítem                                                                Importes (USD)
                        Honorarios y gastos de sus abogados (pagados)                         17.455.259,46


685
      Declaración de Costos Corregida y Actualizada de las Demandantes (12 de julio de 2016).
686
      Presentación sobre Costos de la Demandada (8 de julio de 2016).


                                                         287
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 604 of 622




         Honorarios y gastos de sus abogados                  1.063.346,50
         (facturados y aún no pagados)
                                                Subtotal     18.518.605,96


      b. Honorarios y gastos de sus expertos

         Ítem                                               Importes (USD)
         Honorarios y gastos de sus expertos (pagados)        2.432.898,36
         Honorarios y gastos de sus expertos                    173.095,73
         (facturados y aún no pagados)
                                                Subtotal      2.605.994,08


      c. Gastos de sus testigos

         Ítem                                               Importes (USD)
         Gastos de sus testigos (pagados)                       425.117,84
         Gastos de sus testigos (facturados y aún no                     -
         pagados)
                                                Subtotal        425.117,84


      d. Otros costos

         Ítem                                               Importes (USD)
         Costos del cliente adicionales a los detallados      1.048.395,68
         supra (pagados)
         Costos del cliente adicionales a los detallados                 -
         supra (facturados y aún no pagados)
         Honorarios del Tribunal y del CIADI                    650.000,00
         (pagados)
                                                 Subtotal     1.698.395,68


      e. Total

         Costos y gastos totales de las Demandantes con     Importe (USD)
         relación al arbitraje
                                                             23.248.113,56




                                     288
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 605 of 622




(ii)   La declaración de costos de la Demandada:

        a. Honorarios y gastos de sus abogados

            Ítem                                                      Importes (USD)
            Importes pagados                                       Honorarios legales:
                                                                          6.786.084,21
                                                                  Gastos: 1.511.651,42
            Importes facturados y aún no pagados                   Honorarios legales:
                                                                            778.491,64
                                                                   Gastos: 102.838,73
                                                   Subtotal                  9.179.066


        b. Honorarios y gastos de sus expertos

            Ítem                                                       Importes (USD)
            Importes pagados                                  Honorarios profesionales:
                                                                          1.012.264,97
                                                                    Gastos: 16.742,73
            Importes facturados y aún no pagados              Honorarios profesionales:
                                                                             89.901,03
                                                                      Gastos: 2.450,85
                                             Subtotal                     1.121.359,58


        c. Gastos de testigos y otros costos internos

            Ítem                                                       Importes (USD)
            Importes pagados                            Gastos de testigos: 85.344,91
                                                               Otros costos internos:
                                                                             3.509,90
                                             Subtotal                 USD 88.854,81


        d. Total

            Costos y gastos totales de la Demandada                     Importe (USD)
                                                                         11.039.280,39




                                       289
       Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 606 of 622




        Costos del Arbitraje: A continuación, se detallan tanto los honorarios y gastos totales del
        Tribunal como los cargos administrativos y gastos directos del CIADI (en USD) 687:

                   Honorarios y gastos de los árbitros:
                           V.V. Veeder                                199,186.29
                           Marc Lalonde                               268,828.92

                           Zachary Douglas                             72,610.72


                           Juez Feliciano                             145,920.97



                   Cargos administrativos del
                                                                      180,000.00
                   CIADI:

                   Gastos directos 688:                               391,125.97

                   Total                                            1,257,672.87

        Los costos del arbitraje mencionados supra fueron abonados mediante los pagos
        adelantados realizados al CIADI en partes iguales por las Demandantes y la Demandada 689.
        Como resultado de ello, sus respectivas participaciones en los costos del arbitraje ascienden
        a USD 628,836.435.

        La Decisión del Tribunal: El Artículo 61(2) del Convenio CIADI establece que: “[E]l
        Tribunal determinará, salvo acuerdo contrario de las partes, los gastos en que estas hubieren
        incurrido en el procedimiento, y decidirá la forma de pago y la manera de distribución de
        tales gastos, de los honorarios y gastos de los miembros del Tribunal y de los derechos
        devengados por la utilización del Centro. Tal fijación y distribución formarán parte del
        laudo”. La Regla 47(1) de las Reglas de Arbitraje CIADI establece que el Laudo del
        Tribunal “contendrá […] (j) la decisión […] sobre las costas procesales”.

        Según el Tribunal, el Convenio CIADI le concede al Tribunal una amplia discrecionalidad
        para asignar todos los costos del arbitraje, incluidos los honorarios de los abogados y otros


687
    El Secretariado del CIADI les suministrará a las partes un Estado Financiero detallado de la cuenta del caso.
688
    Este importe incluye los cargos con relación al envío de este Laudo (mensajería, impresiones y fotocopias).
689
    Todo saldo restante será reembolsado a las partes en proporción a los pagos que ellas adelantaron al CIADI.


                                                         290
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 607 of 622




costos, entre las partes según lo considere apropiado en vista de las circunstancias. El
Tribunal no cree que tal discrecionalidad sea objeto de disputa entre las Partes.

El Tribunal considera que estas circunstancias son claras en este caso. Los argumentos de
las Demandantes han prevalecido en forma sustancial pero no en forma total sobre los
argumentos presentados por la Demandada, en lo relativo a la jurisdicción, la
responsabilidad (salvo en cuanto a las “Pérdidas Históricas” de KOMSA), la compensación
(en parte) y los intereses. Por lo tanto, como principio general, las Demandantes deberían
recuperar de la Demandada un porcentaje de sus costos legales y los costos de arbitraje que
fueron asumidos por las Demandantes. En cambio, la Demandada debería afrontar sus
propios costos legales y los costos de arbitraje de las Partes en su totalidad, sin posibilidad
de repetición en contra de las Demandantes.

El Tribunal consideró la cuestión que consiste en determinar si los costos legales en los que
incurrieron las Demandantes han sido razonables, como así también lo han sido sus
importes. Existe una notable disparidad entre los importes totales de los respectivos costos
legales de las Partes, aun teniendo en cuenta la carga legal de las Demandantes para probar
sus respectivos argumentos. En otras circunstancias, sería necesario efectuar consultas
adicionales para determinar el motivo por el cual las Demandantes gastaron casi el doble
que la Demandada en concepto de costos legales. Sin embargo, este caso ha tenido desde
su inicio ciertas características inusuales, agravantes y especiales. Tal como ya se ha
indicado, comenzó con la controversia principal limitada al monto de compensación
adeudado a KOMSA; pero pronto se tornó mucho más complicado y extenso. Este
procedimiento también fue dilatado, particularmente mediante las dos recusaciones a los
miembros del Tribunal planteadas sin éxito por la Demandada, las consiguientes
suspensiones del arbitraje de conformidad con la Regla 9(6) de las Reglas de Arbitraje
CIADI, el prematuro fallecimiento de uno de los miembros del Tribunal y el procedimiento
para reemplazar a ese árbitro. Por otra parte, es una tarea difícil para cualquier tribunal
cuestionar, en una fecha muy posterior, lo que una parte creyó necesario gastar en ese
momento en aras de su reclamo, con su propio dinero. Por todas estas razones, el Tribunal
acepta las cifras de los costos legales presentadas por las Demandantes, con sujeción a lo
siguiente.



                                         291
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 608 of 622




La pretensión de KOMSA en cuanto a sus “Reclamos Históricos” no prosperó; y los
reclamos de compensación de KOMSA y KNI sólo prosperaron en forma parcial. El
Tribunal decide que el éxito incompleto debería reflejarse en una deducción del 25 % en el
recupero de los costos legales de las Demandantes. El Tribunal considera que no es posible
separar los costos legales entre KOMSA o KNI. Con respecto a los costos del arbitraje de
las Demandantes, el Tribunal decide que deben ser asumidos en su totalidad por la
Demandada sin deducciones.

En conclusión, el resultado de las decisiones del Tribunal puede exponerse del siguiente
modo: las Demandantes recuperarán de la Demandada el importe total de USD
17.436.085,10 en concepto de Costos Legales y el importe total de USD 628.836,435, en
concepto de Costos del Arbitraje. El Tribunal resuelve que estos importes totales
devengarán intereses posteriores al laudo desde la fecha de este Laudo hasta su pago, a la
misma tasa que resulta de aplicación a los montos de compensación adeudados a las
Demandantes; pero resuelve no otorgar intereses anteriores al laudo sobre estos importes.




                                       292
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 609 of 622




                     PARTE XII: LA PARTE OPERATIVA


Por las razones expuestas supra, el Tribunal resuelve y ordena lo siguiente:

Se desestima la excepción de la Demandada a la jurisdicción del CIADI y la competencia
del Tribunal respecto del reclamo presentado por la Segunda Demandante (KNI).

La Demandada violó el Artículo 6 del Tratado al expropiar el 11 de octubre de 2010 la
participación de la Primera Demandante (KOMSA) en FertiNitro, lo cual generó pérdidas
a KOMSA por la suma total de capital de USD 140,25 millones.

La Demandada violó el Artículo 6 del Tratado al expropiar el 11 de octubre de 2010 la
participación de la Segunda Demandante (KNI) en el Offtake Agreement, lo cual generó
pérdidas a KNI por la suma total de capital de USD 184,8 millones (esta decisión es por
mayoría del Tribunal).

La Demandada deberá pagar, en concepto de compensación, a la Primera y Segunda
Demandantes, respectivamente, dichas sumas de capital, junto con intereses compuestos
anteriores al laudo, desde el 11 de octubre de 2010 hasta la fecha de este Laudo, calculados
a la tasa USD Libor 6 meses en más 2% por períodos semestrales (o pro rata).

La Demandada deberá pagar a la Primera y Segunda Demandantes, en forma conjunta, la
suma total de capital de USD 17,436,085.10 para cubrir los Costos Legales.

La Demandada deberá pagar a la Primera y Segunda Demandantes, en forma conjunta, la
suma total de capital de USD 628,836.435 para cubrir los Costos del Arbitraje.

La Demandada deberá pagar a la Primera y Segunda Demandantes, respectivamente,
intereses compuestos posteriores al laudo sobre: (i) las cuatro sumas de capital; y también
(ii) la suma total de intereses anteriores al laudo respecto de las sumas de capital de
USD 140,25 millones y USD 184,8 millones, desde la fecha de este Laudo hasta el pago
calculado a la tasa Libor a 6 meses para operaciones en USD más 2% por períodos
semestrales (o pro rata); y




                                        293
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 610 of 622




Salvo resolución en contrario supra, se desestimen por medio de la presente todas las demás
pretensiones, requerimientos y solicitudes de las Partes.




                                        294
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 611 of 622
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 612 of 622




     Kocx ~u~v~x~~,s sus.~ xocx zvz°rxoG~cr~ nvxExr~,~Tzozv.~,sou..
                                                                                 Demandantes

                                              -c.~



                    REPt7I3LIGA BULIVARIt~N.t~ DE V'L:N~ZU~Z.A

                                                                                   Derxx    dada

                               CASO GTADI No. A.Tt$/11/19




                  ~OPIl'~TI~N PARCIA.LM[ENTE DISIDENTE DEL

                           PROF.ZACHARY DOUGLAS QC




A    TNTRQT)UCCI~~T

     Gc~snczda con la decisinn de la mayoria. en materia de respc~nsabilidad y en el ccalc~o de
     ciazios y pexjtucios e inter~ses e~ to que respeeta a la reclan~acicin de expropiacxUn de
     KUMS.~ pox su partici~aeibn en FertiiVs'tro: Tarnbien estoy dispuesto a acompanar a la
     maypr a en to que respecca a su decision relacionada con las costal.

2.   Sin embargo, disienro, con todo respeto, de la decision de la mayoria eri maeeria de
     res~~vns~hilidac3 y del ~alculo de Banns y perjui.cios e uuereses en to qi~e respects al
     reclatzio por la expropiacion de .T~.N~ p4r su pardcipacibn en el O~j'take A,~menient pis los
     motivos esgrimidos a continuaco~n.


B    RECI.ANIO PAR LA EXI'ROPIACI~N DE KNI:RESPONSABI.LTllAD

3.   El ur~ico reclamo de ~NI en to que respects al Qfftake .A~greenrent es pox exprapiacion..
     Una expropiacic~n exige la ~xivacion taeal }r pez~nanente de un dereclio de pxopiedad.
     Los dereehos de propiedad sobre bienes inmateriales, tales como urn dereck~o opoz~ibl.e
     a texceros (~hoce-i~t-action) cse~do pox un contrato, ciertamente pueden ser objeto de
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 613 of 622




       expropiacion. ~~videnterner~ee Tos dexechos de propiedad sobre bienes inmateriales no
       poseen exiszencia fisica;.se trata r~etamente do czeaciones del dere~ho'.

4.     El ~fftake~lgreementse rige porla ley del estado de Nueva YorkZ. ~'ar consigue~~te, todo
       derecho de ~roj~ieciad sobre bienes inmateriales su~do cie~ D~t~e Agree»ient es creado
       y sustentado pqt.laley de Nueva York.

5.     La mayoria ha llegacio ~ la conclusion de q~~e el Decreto de E~zpropiacion de Eecha 10
       de octub~e de 20~ O expropYo los rlerechos de KNI eza virtud deb O~"take Agrr~emeni. El
       Decreco de Expropi;~cion cansti~.ii}~e un aet~a j~.~idico c~u~ sbla time efecta clentro del
       oxcienam eizto juridico venezolano. No puec~e operas Sara dcspojar o uiv~ilidar los
       derechos de propiedad sobre benes izunateriales de ~ KNI creadas y suste~tados al
       amparo de la ley de Nueva. Yozk, aI gual que no podria despajax a auular cualquier
       c~erechc~ ~ cle prop~c3ad sobre berzes tangibles pertenecientes a :KNI y situatlos
       ~s camente en Niaejra York3; Los ~erechos cue KNI en virfud del O~Qtaks Agree~nerrt
       siguen sieado validos y vinculantes ante sus contrapartes en ese co~trato con
       postezi~ridad at Decreto de Expropiacior►. KNI puede pacer valet esos derechos
       nneciiante la uivocaci.~~ de la el~usul~n de axla craje contienida en el t~fJtakeAgreement, qty
       preve e1 arbitraje de Ia Camara de Comercit~ Tntemacional (CClj en Miami,. Floridan.

G,     El Offtake f]greernent claramenre fue disenado Para sex protegida de cualquier
       ~nter£erencia snberana pvz paxte de Venezuela. AI seleccionar la ley de Nueva 'Yc+rk
       cotno el derecho aplicaule, Venezuela zoo suede utilizar sus facultades sol~eranas Para
       moc~ificat o anular los derechos y obligacones estableczdos en el O~take flgreemeat. Al
       seleccionar el art~itr~je de la CCI ern Mitami, Florida, Venezuela no puede urili~ar sus
       facultades so~aeranas paza .inter£erix en la resolution c~~ cualgtue~ controversia due surja
       del UjJtakeA$nement

7.     I.,a premisa juridica que subyace a este analisis es ~cilmente conuovertida. Segun e1
       destacado escritar eu esta matieria, ~,A. Matte:

               Siun~ se pregur~ta en que c~cunstancas un acto ilicito international
               cameudo pox un Estado extranjero puede im~licar un
               incumpli~nientp de un conuato c~Iebradp poi el snistno Estadc~ con
               u~ extranjero, eI ambito, analizado correctamente, es ir►uy luntado,



     Puede enconuarse un analisis valaoso en matexia cle dereehos inmatezia)es wino objeto de expropiaci6n en:
     Ernmirinttrnalional.~~o/dix~, B.V. otrvt r.I~rrngrra, Caso CIADI Nn. ~1RB/12/2, Laudo, ] G de ab~il de 2014,
     §§y 59-149.

~    C7~ta~kR ~Igrcen~enC (C•19), §13.1.

     Por to Canto, el presente caso se diferencia de otros precedentes iaternacionales en los que se ha concluido
     quc un Estad4 es internatioraalmente responsaUle de anular un conaato sujeto a su pro[~ia legislacitin
     mediai~re el dictado de un decreco qne rime efecto e~~ su propio ordenamienc~ juridico: vease, pot ejemplo,
     Shrfeldt Claim (I~audo, 1~3~} 2 RI:9A ]479,

-0   Optnke.Agreement (C-'19), Q12.2.



                                                      -2-
 Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 614 of 622




                 en Canto la cuesrion tiene s~ntida solo cuanda coincade~ rtes
                 cc~ndiciones,

              En primer Lugar; el eo~ztrato debe ~egirse por la ley del Estado pa~:te
              en el contrato que ha coznetido el acto a]cato. Sz el eontxato se rige
              por. cualqu ez otro drde~aamze~.to juridicU, es sumamente improbable
              tjue el ncumplisni~nto sea juridicame~te relevance en algun sentida.
              I'or!o tarato, un contcato de concesian otargado,aungtxe denunciado
              o modificado de rnanera legal, pox un Esrado cie dexecho
              detezrninado, necesaxiamente se mantiene inalterado si se tige por el
              dexccha de otro Estada o por el derecho internacianal (supaniendo
              que la ulrima alternat va sea posible). La extuncion r~ znod fieacic n cue
               un contrato se eneuent;ea sujeta a 'su respecriva ley. Vista na
              zec~nocera inter~'erenc a pox paste de otro oxdenamiento juridico
              excepta Como hecho clue cree am~osibztidad de ejecuci6n, Aun asi,
              ~s cliffcil irnaginar algun ordenazniento juridico quc le pemvtiria a una
              r3e Las panes en el con. trato que invoc~~ie ]a imposibilidad autainducida
              de prescindir rle sus obli~acones jurdcas o de reseindit un contrato
              contra la valun:tad d~ la 4tra pastes.[Traduccion del Mieznbrc~ del
              'Tribunal

8.      Estas observaciones san app cables con mayor fuerza con zeiac on a un contrato en el
        clue el propio ~stado ni sic~uiera es paxte, tal Como sucede en to que respects al 0,~take
        Agreeriaent(KNI es conuaparte de PertiNirro).

9,      El expedients c3e hechos ei~ cl ~resente caso acseciita yue el Estad+a rle Venezuela fio ha
        iz~tentada pacer ]r~ que es jeuidicamenie imposible {es decir, pretender expxopiar un
        contratci segido por la ley de Nueva 'Yorl~}:

        9.1. No hay mention exptesa del O~(jtakeAgr~ementen cl Decseto de Ex~ropiaciou,

        9.2. 'I'ampacn hay;cnencic n ixz~pllcita alguna. T:.a Erase intcoduetoria del Articulo]alude
              a Ia `adgrr%cicr6nfor~osa de for biener nlueblece innerreble.~, la qua coi-~stitu}re una referenda
              claxa a bienes tangibles. El vinculo entze Ios 6ieraes p FertiN.itro se describe c~irnc~
              titulariclad o pdsesion to que tambien es consistcnte con. el objeto del Ardculo 2,
              que son bitenes tangibles en lugax de dexechos inrn~ateriales en virtud de contratos.
             Posteriarmente, el Articulo 3 alude a Los `bicn~r e.~~npiador' clue `pasara~r fibres de
             ~orauamenes o Cimitgciones', to gue const tupe nuevamente un lenguaje apta pars
              describe bienes tangibles, perms no derechos uunateriales. Por ulrimo, el .t~.rt culo

     1'.A. Main, `T"bt Coxsegxentt.~ of`an In~crnotional lY~rong in I~rkrnatioaa/ and Nadara/ L.a~J, Frtrther Studies in
     Ixte»talio~ra171nv(OUP, 1990), ~a~i. 188-189. ~1 entendido autos CxprCSo IO rll3Sin0 R)uCL10b ar105 anC~s Cn
     `Starr Contracts and State Rtr~ionrihility', Sludier »r InternationaJZ.aw(Ot:P, 1973), pag. 3()3: `L-zn peitz~es Lugar, na
      puede surgir. el ptoblema particular que zequiera de una solution salvo que el concrato en cuesrion,}a sea en
     tcxlo o en ate,se rija pot 1a ley del Lswdo toys res[>vnaabilidad se encuencra inv~lucrada, en tanto, Begun
      Los principi~s establecidos del cierecho international privado, sota:nente en ese caste el acto del ~srac3o
      contxatante puedc sex de al,g~in modo xclevinte. Si e! cor~trato se e~icuentra sujeto a .la ley de u.a psis distinto
      dcl Estacio conts~tance,la clefensa zesultante del ~3ereehr~ pertuientc my puede set extraconuacival [en virruc3
      del. detecho interiiacional] (y la defense resultante del derecho del. Lstada demaadado debe set irretevante)"
     [Tzaduccion del Miembro del TribunaTj.


                                                             -3-
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 615 of 622




                6 hace alusion a la `oca1hacion de los bier~er i~dicado.r en el a~xict~lo 1... a fo rfirer de .r~i~huesia
                en pmdactiuidad, udmirristracr6n y a~raveehamrento'. Esta fxase ~axec~ de senzido en
                retacion con derechos inmatetiales en virtud de un contrato.

         9 3, ~°.as cartes en el O~takeAgreemerrts guieron comprando y vendiendo productos del
              make (amoniaco ~ urea} a los precies ~ijar3os par el O„(Jtake A~reemerrt durance
              alrededor de d~ec leis mews can pester oridad al Decreto de Expropiacion.

         9,4. F~rtiNitco ~nvio dos camunicaciones por separado con;postcxio.~dad al Decxeto
              de Expropacion, el 26 de noviembre de 20106 y e7. 1 .de diciembre de 201Q',
              confim~ando yue seguir3a cumpliendo con sus obligaciones en vrtud del D~~lakt
              ~r~esr~en~

         9.5. rit~almente,F~ttiNitro xepuc3io el 4~tokeAgreementxnecliar~te t~rta cle f~cha 28 de
              febxezo de 2012,to que habria siclo superflua si se hub ese expropaado de algt'ui
              modo el O~jtake~,g~ement el 10 de octubre de 2020 y si en el interin las parses no
              hubiesen cum~lido eon sus obligacioncs sn virrud del O~"take Agreement.

1fl.     La,mayaria Eunda su posican contraria en dos docu~nentas. El primero as un regstro
         ~3e un dscurso dri~;idc~ a las trabajadoxes en la planta de FerraNitco gue pro~unciara el.
         tv~~stra de Energia y I'etrole~ de Venezuela.(Sr. Rafael Ramirez)al otro rlia del Decreto
         de Expropiacioz~~. La znayotia consiciera qua ese discurso conuene referencias imps vitas
         al t~~take Ag,,~enrent, y, s~hre esa base,la ~ayaria llega a to ~onclusibn cue que el Decxeto
         tie Ex~ropiacion debe interpreta~e de manes que su alcance se exrienda a derechos
         incnaterales bajo el 0~1ake ~greement. Con.relacion a eska p~ueba:

         101.< xndependier~tcrnez~te de si el discursa del Muiist~o cotitiene xeferenci~s it~p~iciz~s
               a1 Of~take Agreement o no, el alcarace del Decreto de Cxpropaacion no puede
               extenderse a derechos areados y sasrentados por el ordenamiento jurldico de ouo
               Estada. Ean el suguesto de que el. Miciiscro hal~iese cieclarado que el Decreto de
               Ex~ropiaci~n exj~ropiaba tarnbien, por ejemplo, amoniacc~ y urea ubicados
               fisicament~ fuera de Venezuela, esto tamp~co habria sido ~osibleR tanto el
               dexecho in#crnat anal pubtico coma el dexecht~ u~ternacional privada
               circunscsiben e1 alcance del Decxeco de E~propiacion al territorio nacional de
               Venezuela.

         10.2. El propio texlo deI Decxeta c3e ~xpxnpiaciein no abarda de manes e~presa ni
               irnplicita los dercchas inmateriales. No se presentaron alegacioncs al Tribunal, ni
               de paste de los expertos ni" de otro modo, res~ecto de si el I7ecreto de
               ~xpropiac ran se extendia a !os dexeclxds uunatcriales camp cuc:stioz~ de c~erecho


b      Comunicacibn de I~erti\itro del 2b de noviembre de 2410(Gti l).

~      Comunicacion de Ferri'~Iicra del]de diciembre de 2010(C-112).

g      Comunicacioa de FertiNitro dcI 28 de febrero de 2012(C-114).

g      tlrticulo titul~,dn "Rafael Itacnirex ptesidib la tams de instalaciancs de I~~rdniteo en e) estadc~ Anznategvi,"
       Noticias 24, 11 de ocmbre de 2010 (C-~0'n.


                                                          -4-
 Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 616 of 622




               venczolai~o. Lo clue diga un I4~inistro en un discursa politico a las trabajadazcs
               en un~ Manta na puede llenar este varac~.

11.     El otzo dbcument~ es invc>ca~ic~ ~aox is ~za~>ori:~ ~~a~ refutar la absetvacion que se hic ~xa
        anteriorment~ de que las panes siguieron cumpliendo cnn e1 Q~?oke Agreement cc~n.
        pvseetioridad a1 ~?ecreta d~ Expropiacion, Se tra#a cis un cotzeo e~ectrtiniCo de I{1^dI a
        F~rtN tro de fecha ~ de diciezn~ire de 2Q10 que esCablece clue KNT `acuerda conr~irar el
        producto ronforrr~re a ldrnrinos <an.ristentes con el D~j1u~e Ag~emen~P y que el paga a cambio del
        praducto se rea~lice `a las ~rrisnras crrcnt~c bancarias hfstoyrca.~'° [Traducczcsn clef Miem~ro dei
        Tribunal]. EI rnismo cosxeQ el~ctxpnico kZace alusion a la xecXamacibn pie expropiacion
        ~e 5~.~1I p sus derechas en v stud del cierecho incernacionaL Sobre la ~iase de este correo
        e2ectroiuco,KM y lamaynta afirman c~a~e las a~c~uu,~zciones de urea y anrar~iaco clurante
        el perado de dieras~is zneses posteriores -al Decreco de ~xpropiacion se realizaron
        conforme a `acrrerdos dd-hog'[Traduccion del Miembro del:Tzibunal] cou exactamente:los
        rz~zsmns ten~ninc~s que eI 0,~takeAgreenretrt y a las zz~ismas euentas bancarias, ~unque no
        coyforme a1 CJ~takc Areemex~t, ya que, en su o~in Qn., est~ ya habia silo ~xpro~iado. En
        relaci~n con este documento:

         11.x. El correo eiectscinico de KNT,c~Ele Eue claruxiente redactac~a con Ia intetvencic~n
               de asesores juriclicos nt~rnacic~nales, no suede rnodi6car ~e znanera unilacexal la
               xea:liciad }uricl~ca que consist s en clue ~1 C~£ftake Agreementzeg do pax la iep cle.
               Nueva ~'axk—contz~uaba en ~~Ic:na va:,~encia con posteroridad. al I~ecreto de
               Expropacbn.

        1`1.2. Si, en realidad, Ias panes no cazrapraban p vendan urea. y amaniaco confoz~ne al:
               ~Ufftake f'~~reement du~arice las dieciseis mews posteriors al Decr~to de
               EacprQpiacxbz~ (s~o se controvierte que las compras se rea3izazon exactamente a los
               rr~smos ~teci~s fija~c s for el t)~srrke 19$reer~enl}, la ulterior tepudi~e on del ~~ake
               A~reernert~ por `paste' de lyertiNitro el 28 de febrerci ale 20 2 no habria tenido
               sentida.

        ~1„3, La mayaz~a ha accptado que KI~II nra deberfa tenet derecho a una indetniuzacian
              ~~r dancjs durante este periodo de diecises meses, 1a que es coherente con la
              re:ili~ad rle que K~~ti no sufrici perelda algur~a en tantc~ Fertil`3irrr~ siguo
                 tnpliendo sus obli~ac ones en vsrn d del C),fjtake.flgreeme~at hasty la. zepuciiacion
              de este.

        1~.4. FertNiuo afirmo en dos ocasiones separacias con J~osterioridad al 17ecreto de
              ~.~:propiacion que segturia cumpliendo con el O~tu;~e.~greement.

12.     Llego a la conclusion de que KNI no ha establecidu qt~e Slenezu~la ex~ropia sus
        derechos en vrtucl del O~ftake Agreeme~rt. No ol~ra prueba alguna en eI expediente del
        presente arl~i.tr~je ~e qc~e se hayan. anulado a revocado los desechos de KN:I eri vixtud
        de un cantrato regic#o pox la l~~r d~ Nue.=a Yoxk. 1~NS na ha explicado par clue mouvr~
        sY~s 'clexechc~~ al ampazcs del O~"trr,~e Agreement no son oponil~les a sus cantra~rutes,
        incluida FerriNitrc~,im~~uIsandc~ un arbSnraje de la ~C~ en v~rtud de la I~~r urbi~re c3e i1~Iiatni,


1q    Cornunicacion c3e KNI u I~eziiNiuo del 3 de dieiembtc de 200(C-i l3)(enfass a~egado;.


                                                    _ ~_
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 617 of 622




           Flozicla, En tanto ios cierech~~ ele ~NI a1 amparo c3e1(~,~~akeAgreenaer~t se rraanten~;aza
           p1eF~am~nce adc~uiridvs y exigib3cs ~s jur£d camente impt~szble hablar cue sty expropiac are.
          .c~~nquc Ia perdida ~e valor nca pu~~la ~oastinxi~ ~l xe£exente cxclusi.~-o do una
          e~cprop acion, el hec~a de due            ~ conserve el c3ereeha al otorgan~ienta d.e urea
          indemtiizacic~n poi ctanos y perjuie os par cualgxuer vialacion de sus cler~chos al arnparo
           dei O~ftn;~e ~igreerncr~ de uestxa ~l~ manes concluye~te clue los derechos de kt~Il ~o haxu
          sic~o despojac~c~s de to totalidad de su ~valox.


  G       RE~LA'M(7 P(3R LA EXZ~'RG►PIA.GIt~N LlE                              I` G~T.Ci3I.fl E17A:NUS

 I3.      Fl dezeclao internaraUnal nc} des pia. carte blanche a los expertos en valorac:i<~n ~Saxa
          determivar cl m~nto do la competssacion que surge del incumplinniento de una
          c~bligac .r"rn international. Ei ciereeho de~'uxe 1r~s litnites rl~ ut~a peXclida rec~perable y pie
          que t~az~.era ha de evaluarse. ~uando se hays exprop%ado un dezecho de prop .edad so1~re
          bien~s i~materiates en virtud de un contrato, c1 objeto de la com~ensacicn en cl c3execha
          i~reri~acional cons.ste eni goner a is pazte uiacer~te e~ ~a posicics~ en 1a que se ha6r a
          ~~cor~t~ado s ~l ~ontr~Co se h~.tbi~~a ~u:tn~iido de la xnaneta prevista por las cartes esz el
          tniomentio de su celebracionfa, E1dexecho intemar.~anal ewe clue la pezdida recuperable
          pudies~ hai~er sidtr ar~ti~pada o ~ze~uista pox las partcs en c~ znnmento c3e la ~eiebra~icn
          dei ~ontrato'`. I.,a perclida ~que pudo habe~ s 3o pxevista por lt~s panes ~~ el Qfftdke
          A~~ement en caso de que se anulara o revocara el derecho cle KNI a adquirix uzea y
          amoniaco a Ias pzecic~s y en las eantt3ades ~i~adns par e1 c4ntrato constituye el lurxc~
          c~;sante de L{Nl ocasi~nado a1 FertiN tro no habex prUporc onadc~ a ITT Ias
          rnercaderas cn cuesticin. EI lucro cesainte ctel cc~mprador en el contextQ de un cantrat~
          de c~mpr~uenta d~ mexcaderias se calcula Como Ia diferencia entte el pr~cio del cnz~trato
          y el pxecio pagado pox el comprldor poz las x~.ercade~as de reemplazo~3 a la ciitexencia
          entre el preca del.. ca~trafiv ~~ el pzecia de mercada en el rnc~meneo en que se ~iebcrian




  r'   SQp~7hirr 7ntcrrtalwnalPc~rolex~N v. NIDC {14&3) 35 XI_.I~ 1,3b, 185-6 (`Segvn la c~piniri~ geaecalizt~da, el ol~jexo
       cansiste ea coloca~ a la paste a quien se 1e ocorga is cam~,ensacidn en 3a misma position pecuniarsa en ~a que
       se hatiLia eucontracio si cl c~nzraEo 5e hubicxa ~umplido de la manes pcev sta pox las panes ~n el mot~it'ztto
       cue sa celebracio~x'~ ('Traduccion ~3e1 Miembzo del 'I`nbunaiJ; Amto f7.ria Cori., tt a~ c. tZe~i3blrca rte ladoneun,
       Gasp CIADI No. ARI3/81/1,1.aud+a, 31 de rnapo de ]990, § 783-(i (.~mm <, Iriduneriu X~.

  rz   ~ro ~~ G'or~.~p otros t. RtJiriblicn d~ I~ttloxetin, Caso CL~DT No. .AltCij~7 /1, 'Lau~lo, 2(l tie noviembre dei
       1984, §26B (`[Sfegun los jizincpias y n~rmas comuries a las pxiracipales sistemas juridicos nacionales y al
       dezecho intercaacioc~ai, 1~ indemaizac on por Banos que se otoc~ue Glebe cuUr z so3a el pex}uicio rlirecm }
       previsrb3e~(enfasis ornitido) ~!`raduccicin del S~tiembro del Tribunalj;..9mco r. t~rdonesi~ 11, ~~172, l7$. 1."I
       ~rincipio c~c pxcvasibziidaci cs t,~mbir'ri e~licable a escenarigs tao contz'~ctuales: Joseph Cbarlec T,tmirc r, tJcratafu,.
       C:asn C'Ir1DT Nn. ARB/4G/ 18, I~audo, 28 de marzo de 2Q3 1> ~~1G9-772; 7aa~rnis Knrrlrumpoulos y Ron £Fuchs r.
       l~eprihlira de Georgia, Casa Cliq.i~3 Nas. t1RB/$3 /lA1~23J05/38 & AR73/U7/7i, l,audo, 3 de matzo de 2010,
        469. Y~~ttse tannbien ios Princpzos C.~N1JaRUIT sc>bze los contsatos comerciales intcznaci~nales (20Q4)
       (`Pr~ncipios UN]T~FiO7T'~ .,?ut. 7.3:4; Cpsz~cnci4n de las Naci~nes Lrzidas sot~re los Coatratas car.
       C;ompxaventa lnteraacioaal de ~Iescadesias (1980} {`CISG' pot sus siglas en iz~gles}, A.rt. ?4.

  ~~   'Veanse, pot ejempla, CISG, i~rt. 7~; Prancipios U~~L7ROT'I`, i1rt. 7.4.5.
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 618 of 622




          haber real zadfl Ias enfregas ez~ el supucst~ cue que no se adquicraza mezcaderias de
          reem~Iazo~°.

14,      E~ el presente Faso,e15r,Soxlie fue el testigo j~rinc pal cue K:NT en xela~it~n coin el C? ke
         Agr~eman# y e£ectivamente fine Za per~oz~ xcsponsable de adnxinist~ar Ias adquis clones de
         uzca ~ ametxi~ca en virtud de ese cozxtrato por Sarre de KNI. ~l Sr. Sorlie n~ presento
         ~n rz~€;una de sus:dos declata~io~~es testmorziades pruel~as respecto de sx K.~l adquii~ici
         o nQ mercaderias de ~eem~laza tsas 1a supuesta ex~sropiaeian del 0~"takeAgreement e110
         de-octul~xe de 2~10, Esta coast tuye una oamisio~a sozpx~i3dente ciado due se trata de uzaa
         prueba cnactal, exig da pazley, Para establecer ~a peed da zeal de KNI,

15.      Recae~ en el contr~nterrogatorio el S.r. ~orl~ px~stti detlazacvn sabxe esta cu.estio~,
         l~ectazo gue% tzas la expropiac on deb O,~take Agreement; I{.NI: adgczis7a crcaderias de
         reemplazp en las cantidades equiv~lentes de la ex t.7niosa Sovie~ca y Eg~to,asfe~mo de
         `ais~:r r~ga4~est5, I~To se ncarpazo of expcdzente prueba alguz~a respe~ta de ins j~rerios que
         se pa~arQnfax esas tue~cadexias de reemplazo. sl experts en val~x~cion de k NI declato
         clue lYabza ccniclo a ~a vista esas ~ruebas, pern que habia ~~itado pn~ `e~clzrrrlrr~' a 3os fines
         deI cal~ulo cle ~a perdida cte.KN~ r~.

1'6.     En sintes s,KNI ~o ha ~resentado prueba algur~a de los ze~ias clue rc~lrrsezite pa,go por
         las cantidades cie ~eetnplaza de urea. y amoniaca rxas 1a pxesunta expropiacion del C3~,~e
         Agx~errrent, y el expe~o en valox~cicn de KNI ha excluido esta prueba a lvs £uYes cie sus
         calc~los~

17.      No se t~at~ de un caso en el qne las ~tuebas de ias perdicias reaies del n~vcrsaonista ya
         no se encuentran disponbies det~~o a un a~ta atri6uibie al Estado receptor (por
         ejemplo, cuando las autoridades del. Estado ~eceptc~r han destnzido o con~iscado
         doc~unentacicin perreneciente a1 ir~vexsionsta). Se trata de un caso en el que las prue~as
         se encon~trabar~ clararnec~te dispanible~, p~zo fu~r~n excluidas del~eradamente por el
          nuearsic~zvsta ~~ su experto en valoracon. En es~as circunstancias, la unica concluscin
         acepzat~~e es qae KNI no ha l~~za~io cstabl~cex su pezdida sobxe la base del ~rte~o de
         preponaexancaa ~e la ~rueba--es deer, en cumplim entp del estazzdar j~robator o
         habitual.

18.      ~.n cambo;l~ que han hechr~ KNI }r su e~perto en valU~acion es plantear ucaa ceoria en
         mate~a do ii~dsmni~aciozx por Banos q perjui.~ios clue viola el principia cie ~revisi~ilic3ad
         de Ia perciida retonocido por ei dereCho i~temaci~anal y que es inviable e~ lc~s hethos.
         KNI af~rma due su indemnizacion per dar►os debe calcularse sobr~ 1a base de la siguiente
         hipotesis al efectc~ d~ llegar al `uu/nrjrrrto ale mercadd del p~take.A~r~emen~;

         1.£3,1. Dora anterior dad a Za expxr~piacion. KNI podia compr~ al precio do o~fta,~e,
                 enviarlo a NOI.,~/Tampa (Costa deI Go]€o de los ~:.stados Unzdos) ~i crender a


'a     Veaas~, por ejemplo, CT~C;, rtrt. 7b, Pri~~cipius UNTT~R(:?I'Z', tlrt. 7.4.G. Siemgze existe n~a obligacx6n de
       zningaz la p~rdic3a: CISG, Art. 77; Yrincipios UNIDRi7IT, test. 7.4.8,

15     Primes tli~cliencia (dept embre) D2/Pl48jL9-75 {Sozlie}.
S~     5e~;unda Audiencia (no~'iembce) D6/T'394/I..1'-22 (Giles).


                                                         ~ ~~
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 619 of 622




                    precios NO.I.f~jTampa. Porto tanto,la reatabilidad exa eJ, pr~cio ~10LA/Tampa
                    mends las costos de envio mends el pxecio cue afftake.

             18.2, Con. posteroridad a la expropzac~tn: KNI solo podia comprar a ~recios
                   NOLAJTampa y vender a precios NC)X,AJTampa. Pox Its tac~tc~; Ta re~tat~iJ clad
                   era Hula.

    19,     Para scr clam; arnk~c~s aspeccos de 1a hipritesis no son to que rcalmente ocuxrici, sir~,o qne
            se tsata do su~uestos basados ez~ ]o que razonablemer►te podria haber ocunrido seglSn el
            experto en valaracicin de Ki~3I".

    20.     Hay una grin cantidad de e roves en este enfaque:

             2~.1. Vi~1a el pnincipia de piev sibilidad, ya que nin~una de 1as pastes en el O~jtake
                   Ag~emen~ poclria haber conternplado ciicha perdicla, quc se basa en una serie de
                   supuestos y sigve un enfoque clue carece de precedentes en el calculo de Banos cn
                   este escenario.

             2~.2. Es inadmisble sustituir la pn~~ba de la pezclida real por una teoria de pexdida
                   hipotetrca en el caleulc~ de dams'$. En Canto ~a ~erdida real cie KN~ se podtia
                   habez talculac3o sabre la base de operaeiones aritrneticas senc~llas par via de
                   refecencia a las pxueba~ disponibles, la deduccion ine~corable es que KNI prefario
                   una teoria de perdida lupotetica porque redundaba en una cifra sustancialrnente
                   mayor. F:1 xesultado es que la pexdida alegacla pc~x I~NI ~~obablemcnte se
                   encue~tra excesivamente sabrevalorada,

             20.3. T.a hipotesis caxece de sentido. L1n enfaque que pretenda calcuLar el `valorjusta de
                   me~t'add del O~rrke Aprrement del~c fundarse ec~ el ~rincipia de que tui tercera
                   compradt~r habria estado dispuesto a pagan un pxecia equivalence a ese valox en la
                   feeha de eacpropincion. En el caso c3e KNI, ester signifzca que un tezce~o hab~fa
                   estado dispucsto ~ pagan USI? 206,5 mttlones pUz sus dcrechos en virtud del
                   Offlake.Agreement en c>ctubre de 2Ql () (es decir., Ana sazna significarivamente znayoz
                   al valor de la participacion accionaria de KOMSA en FerttNitro e~~ ese mismo
                   momei~to). Pero uxi tercero cax~~prador, cama I~NI, habria podido"adquirir las
                   productos en cuesdon—urea y amoniaco--en mercados de todo el mundo. ~Por
                   que motivo un tcrcero compradc~r calcularia ~I ~=aloz del Offtuke ~Igreement en
                   octubre de 201(} sabre la base de que los pzoductos solo podria~ ha}~rse adquirido
                   en NQI:.A/Tampa, cuando la demaza.da es siempre muy elevada y, en
                   consecuenc a, lc~s ~reeios sin tarnbien anuy elevar3ns? Ua tercero com~radoz
                   calcularia el valor clel C?,f~ta~e~fgreement sobxe la ~~se de la pn~eba de las tendencias
                   a largo plaza de los ~r~cios de urea p axnoruaco en Sos mercadas mundiales y
                   calculaxia la ~3iferencia entre esos precio5 de mercado y los precios 6jados par cl
                   C)~ake Agreernenl. Un tercero comj>~ador no calcularia el valor del Q~ta~e

    1'    Segu»da eludicncia (nat~ieinbre) ia6/ P$G/ 7..7-Z4 (C~i/er).

    y~    ~3moca 7nternutianal Finanaa/ C'or~ r. Iran (Laudo Paccial, t4 de Julio de 7987 Tribunal de Iteclamaciones de
          I.zan•.~k. 11U. Caro No. 5G, §238 `(i~o ~r~ede orocgarse mparac on alguna par damns especulativos a
          incierrns' [Traduccion del Miembro del TzibunalJ.


                                                             . ~.
     Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 620 of 622




                tlgr~emen~ sabare la base de una o~ligacion ~nexistenee cie ar3quiti.c estas produetos
                exclusivarz~e~lte en el mismo lunar en que era ~i~as luerativo vender esos pzoductos,

        2(3:4. El su~u~sto c3e la hiptites s cnntrad ce la pxop~a prueba de K~NI de Como
               fu~cionan 1Qs ~exc~dc~s intc~nacio~al~s Gaza el amoniaco y Ia ure~3. EI ~r.:Sorlie
               de.clar6 que: `.~1r~nro~riaco~!n-urea imporlaclvs hr~ca IosEE. ~t7~mvier,~ert tiprCanrente de
               unrr d~ las cuatm ~r~aa~princifiuter alej~roduccirn defe~-ti7~as~te ns`t~n~enadorPara c.~ortacaon
               ~n e1 mundo» el G'aribe, ~,frzca delNorte,!a rrgia~~ dellVlrr~ Negr-oy rl GolfoArcrbe'`9 tPor
               que motivo un tercez~ campradox no zeciirxirfa a adquirsr los productos en esafi
               regiones ~a~a s~ yenta a N(?LA/Tampa y aproveelia~a el drferencial de precios?
              '~ camo ya se observaxa, el supuesto de 1a hipotess contrac3zce taml~ien l~ que
               hicieta sealmente I~NI tras Ia exprapiacion c~e7 ~fftake ~gre~merr~: sc~iin et. Sr.
               Sortie, K.l~1I adquir o znercade~as ~e rcernplazn cic 3a ex Union Sovictica, E~ pto
              ~y otras rcgiones. ~~'or c~u~ motiva s~ k~abraa tc~znado KNT:Ia molesaa de hacez eso
               s scilo,podria habex ~bterido e~ miszaao pxecia que en NC~L~'1.JTampa?

21.     ~n relation con este uttirzso pinto, la mayor a paze~e adjud:icarle un peso deci:sivQ al.
        tesurnonit~ del Sr. Snz~ie err et contrairiterrc~~ataric3 dc. qua ICI ~~ur~a adguirir amonuco
        y urea d~ Yeem~laro `en Ana estrrr<-txr~ r~,e~ir~cia de I~(7I.A~~ Tamf~d20.Z.a anayc~ri~ establece
        due `ace,jita e!ttstimonao de!Sr Sortie en cuarito u gut, sr'rr ~erju c o de que ru~rrin stros altenratra~as
        estnban rr dir~5oric~on de KNIcamo reemfila~o deIo~j"take ett virlrr~ deI Q,fftake ~3greement, ertoffuemtr
        aj~recioc~aCJZ..~i,y ~'amJ~a d ~~srualentes' pazqu~ la ~en~aradada `~ao aduja r~araguna prxaeb~fac~z~a
        convintente'~~. ~ncuentrca vareas di~culrades en esta conclusions

        21.1.. El' ntertagante, adoptando la metoc~ologia enmateria de Banos de T~, no es que
               sumnstros alternari~ros estaban a drsposicion de K~'Z~, sno ~que sutr,.nistros
               estabax~ a disposition de un tezcero coznpzadox hipote't~co del, 0~lrikeA,~r~cment en
               la fecha de ex~ropiacion y a fiicuro.

        21,2.. La utiica prueba que obra en el e~ped~ence en sustento de la eonclusnn de la
               za~ayo~ia es 1a c3eclazac yin deb Sr. 5orlie en el contraimterrogatc~rio. Esa declar~c oza
               se ve zeFut~~►da ~ao~ el testitizonio del Sz. Sortie en cuanto a clue KNI ac3s~r~irica
               rrzercaderias de reem~lazo de la ex Union 5ovi~tica, Egipto y otras r~giones (y nc~
               ~al7ria existido mo~ivo carnercial alguno par; hacerlo si solo pudierar~ obt~nerse a
               precios i~C3I.r~.,~Tampaj, La afirmacon del. Sr. Sortie de q~.ie KNS ac3c~ui~eio
               merc~derias de reemplazo ~ lns to stuns precaos clue ei7 NOLAITarra~}a no se
               abc~rda en rungxina dc; sus dos declarz~ianes tesrimonial~s, }~ ~TX no pzt~gatcona
               pxueba alguna en to que respecta a los pzecias que ~a~o re:~lmeate par 1as
               snezcad~~as de ee~nplazc~ ~~ prueba al~una en to que respetta a los ~cecios en los
               distintas rnercadas a nivei mundi~.l. I~.hTI time Ia c~x~a de establec:er es~a prcmisa
               facuca ~'tandamenxal Para su calculo ~de la zndemn zacion pay c~anos ~~ no ha
               cumplitl~ con esa cazga.


'y    Primes 13eclaracian `i'estirnonial tle dim Sarlie (29 de mayo de 2 12), ~i17,

x'    T.audo, §9229.

      ~.audo, ~9.23Q.


                                                         •9-
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 621 of 622




        X1.3. La Derna~dada h~ ~xkubido sus pro~~as pzuebas facracas y son mas solidas que.
              una a£trm~cicir~ sin, fi~ndan-~e~to de un vnico testi~o clurantc el
              coratraintezrogatoria. Fertecan es el ~xinc~pal p~c~veedpr nciuuz~dal de uiformacion
              y analisis d~ ercxda sabre fertiLi~antes q material p~in~~s fertilizantes, El expertU
              de la pemm~ndada exhibio infprmes de Fertecon pars urea y at~on aco ~ n 2010
              {que constituyen en su conjunto mas de 350. paginas de analisis} ~. ~~a que
              muestrat~ estos informes, que no ~est~3ta sorprendentc, es clue los precic~s de urea.
              y ~tz~tan aco en los ciistineos m~rcadc~s rnundiales c# fesian d~ manes s gxizfZcativa
              tanto his~bzicanaente como en 2(31? y los precos en NolaJ'~`am~a en 1os ~,stados
              Un c3os er n Iasi invaxzablenxente leas mas elevac~os.

22.     ~n cvneiu~cin, aun si Venezuela.'hubiera expr4piado efectivamen~e e O~ftake~gr~ement
        m~diai~te e1 dictado del Decreto" rie Expropiac o~, Ire que no aec~t~, habria 1legado a la
        conclusion de que KNI no ha demoscraclo su herd ~a de manes satisfactoria. Erz
        cans~cuencia, habria concluicla asiznismo que KNI no time derech~ a perei~iz uat~reses.




 ~z   Tnfarmes Pesici~les de 17anicl Mores (~C3-7 y Ed-8).


                                                     _ ]Q_
Case 1:17-cv-02559-ZMF Document 1-1 Filed 11/28/17 Page 622 of 622




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